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AV1 Bitstream & Decoding Process
Specification
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   Version 1.0.0 with Errata 1
   This version 1.0.0 with Errata 1 of the AV1 Bitstream Specification supercedes all previous versions of the AV1
   Bitstream Specification, most notably version 1.0.0, which is now obsolete.

   This version 1.0.0 with Errata 1 of the AV1 Bitstream Specification corresponds to the Git tag v1.0.0-errata1 in the
   AOMediaCodec/av1-spec project. Its content has been validated as consistent with the reference decoder
   provided by libaom v1.0.0-errata1.

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                                                                        AV1 Bitstream & Decoding Process Specification



Abstract
This document defines the bitstream formats and decoding process for the Alliance for Open Media AV1 video codec.


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1. Scope
This document specifies the Alliance for Open Media AV1 bitstream formats and decoding process.


2. Terms and definitions
For the purposes of this document, the following terms and definitions apply:

AC coefficient
Any transform coefficient whose frequency indices are non-zero in at least one dimension.

Altref
(Alternative reference frame) A frame that can be used in inter coding.

Base layer
The layer with spatial_id and temporal_id values equal to 0.

Bitstream
The sequence of bits generated by encoding a sequence of frames.

Bit string
An ordered string with limited number of bits. The left most bit is the most significant bit (MSB), the right most bit is the
least significant bit (LSB).

Block
A square or rectangular region of samples.

Block scan
A specified serial ordering of quantized coefficients.

Byte
An 8-bit bit string.

Byte alignment
One bit is byte aligned if the position of the bit is an integer multiple of eight from the position of the first bit in the
bitstream.

CDEF
Constrained Directional Enhancement Filter designed to adaptively filter blocks based on identifying the direction.

CDF
Cumulative distribution function representing the probability times 32768 that a symbol has value less than or equal to a
given level.

Chroma
A sample value matrix or a single sample value of one of the two color difference signals.




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   Note: Symbols of chroma are U and V.


Coded frame
The representation of one frame before the decoding process.

Component
One of the three sample value matrices (one luma matrix and two chroma matrices) or its single sample value.

Compound prediction
A type of inter prediction where sample values are computed by blending together predictions from two reference frames
(the frames blended can be the same or different).

DC coefficient
A transform coefficient whose frequency indices are zero in both dimensions.

Decoded frame
The frame reconstructed out of the bitstream by the decoder.

Decoder
One embodiment of the decoding process.

Decoding process
The process that derives decoded frames from syntax elements, including any processing steps used prior to and for the
film grain synthesis process.

Dequantization
The process in which transform coefficients are obtained by scaling the quantized coefficients.

Encoder
One embodiment of the encoding process.

Encoding process
A process not specified in this Specification that generates the bitstream that conforms to the description provided in this
document.

Enhancement layer
A layer with either spatial_id greater than 0 or temporal_id greater than 0.

Flag
A binary variable - some variables and syntax elements (e.g. obu_extension_flag) are described using the word flag to
highlight that the syntax element can only be equal to 0 or equal to 1.

Frame
The representation of video signals in the spatial domain, composed of one luma sample matrix (Y) and two chroma
sample matrices (U and V).




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Frame context
A set of probabilities used in the decoding process.

Golden frame
A frame that can be used in inter coding. Typically the golden frame is encoded with higher quality and is used as a
reference for multiple inter frames.

Inter coding
Coding one block or frame using inter prediction.

Inter frame
A frame compressed by referencing previously decoded frames and which may use intra prediction or inter prediction.

Inter prediction
The process of deriving the prediction value for the current frame using previously decoded frames.

Intra coding
Coding one block or frame using intra prediction.

Intra frame
A frame compressed using only intra prediction which can be independently decoded.

Intra prediction
The process of deriving the prediction value for the current sample using previously decoded sample values in the same
decoded frame.

Inverse transform
The process in which a transform coefficient matrix is transformed into a spatial sample value matrix.

Key frame
An Intra frame which resets the decoding process when it is shown.

Layer
A set of tile group OBUs with identical spatial_id and identical temporal_id values.

Level
A defined set of constraints on the values for the syntax elements and variables.

Loop filter
A filtering process applied to the reconstruction intended to reduce the visibility of block edges.

Luma
A sample value matrix or a single sample value representing the monochrome signal related to the primary colors.


   Note: The symbol representing luma is Y.




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Mode info
Syntax elements sent for a block containing an indication of how a block is to be predicted during the decoding process.

Mode info block
A luma sample value block of size 4x4 or larger and its two corresponding chroma sample value blocks (if present).

Motion vector
A two-dimensional vector used for inter prediction which refers the current frame to the reference frame, the value of
which provides the coordinate offsets from a location in the current frame to a location in the reference frame.

OBU
All structures are packetized in “Open Bitstream Units” or OBUs. Each OBU has a header, which provides identifying
information for the contained data (payload).

Parse
The procedure of getting the syntax element from the bitstream.

Prediction
The implementation of the prediction process consisting of either inter or intra prediction.

Prediction process
The process of estimating the decoded sample value or data element using a predictor.

Prediction value
The value, which is the combination of the previously decoded sample values or data elements, used in the decoding
process of the next sample value or data element.

Profile
A subset of syntax, semantics and algorithms defined in a part.

Quantization parameter
A variable used for scaling the quantized coefficients in the decoding process.

Quantized coefficient
A transform coefficient before dequantization.

Raster scan
Maps a two dimensional rectangular raster into a one dimensional raster, in which the entry of the one dimensional raster
starts from the first row of the two dimensional raster, and the scanning then goes through the second row and the third
row, and so on. Each raster row is scanned in left to right order.

Reconstruction
Obtaining the addition of the decoded residual and the corresponding prediction values.

Reference
One of a set of tags, each of which is mapped to a reference frame.




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Reference frame
A storage area for a previously decoded frame and associated information.

Reserved
A special syntax element value which may be used to extend this part in the future.

Residual
The differences between the reconstructed samples and the corresponding prediction values.

Sample
The basic elements that compose the frame.

Sample value
The value of a sample. This is an integer from 0 to 255 (inclusive) for 8-bit frames, from 0 to 1023 (inclusive) for 10-bit
frames, and from 0 to 4095 (inclusive) for 12-bit frames.

Segmentation map
A 3-bit number containing the segment affiliation for each 4x4 block in the image. A segmentation map is stored for each
reference frame to allow new frames to use a previously coded map.

Sequence
The highest level syntax structure of coding bitstream, including one or several consecutive coded frames.

Superblock
The top level of the block quadtree within a tile. All superblocks within a frame are the same size and are square. The
superblocks may be 128x128 luma samples or 64x64 luma samples. A superblock may contain 1 or 2 or 4 mode info
blocks, or may be bisected in each direction to create 4 sub-blocks, which may themselves be further subpartitioned,
forming the block quadtree.

Switch Frame
An inter frame that can be used as a point to switch between sequences. Switch frames overwrite all the reference frames
without forcing the use of intra coding. The intention is to allow a streaming use case where videos can be encoded in
small chunks (say of 1 second duration), each starting with a switch frame. If the available bandwidth drops, the server
can start sending chunks from a lower bitrate encoding instead. When this happens the inter prediction uses the existing
higher quality reference frames to decode the switch frame. This approach allows a bitrate switch without the cost of a full
key frame.

Syntax element
An element of data represented in the bitstream.

Temporal delimiter OBU
An indication that the following OBUs will have a different presentation/decoding time stamp from the one of the last frame
prior to the temporal delimiter.

Temporal unit
A Temporal unit consists of all the OBUs that are associated with a specific, distinct time instant. It consists of a temporal
delimiter OBU, and all the OBUs that follow, up to but not including the next temporal delimiter.



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Temporal group
A set of frames whose temporal prediction structure is used periodically in a video sequence.

Tile
A rectangular region of the frame that can be decoded and encoded independently, although loop-filtering across tile
edges is still applied.

Transform block
A rectangular transform coefficient matrix, used as input to the inverse transform process.

Transform coefficient
A scalar value, considered to be in a frequency domain, contained in a transform block.

Uncompressed header
High level description of the frame to be decoded that is encoded without the use of arithmetic encoding.




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3. Symbols and abbreviated terms
DCT
Discrete Cosine Transform

ADST
Asymmetric Discrete Sine Transform

LSB
Least Significant Bit

MSB
Most Significant Bit

WHT
Walsh Hadamard Transform

The specification makes use of a number of constant integers. Constants that relate to the semantics of a particular
syntax element are defined in section 6.

Additional constants are defined below:


 Symbol name                                       Value              Description

  REFS_PER_FRAME                                     7                Number of reference frames that can be used for
                                                                      inter prediction

  TOTAL_REFS_PER_FRAME                               8                Number of reference frame types (including intra
                                                                      type)

  BLOCK_SIZE_GROUPS                                  4                Number of contexts when decoding y_mode

  BLOCK_SIZES                                        22               Number of different block sizes used

  BLOCK_INVALID                                      22               Sentinel value to mark partition choices that are not
                                                                      allowed

  MAX_SB_SIZE                                       128               Maximum size of a superblock in luma samples

  MI_SIZE                                            4                Smallest size of a mode info block in luma samples

  MI_SIZE_LOG2                                       2                Base 2 logarithm of smallest size of a mode info
                                                                      block

  MAX_TILE_WIDTH                                   4096               Maximum width of a tile in units of luma samples

  MAX_TILE_AREA                                 4096 * 2304           Maximum area of a tile in units of luma samples

  MAX_TILE_ROWS                                      64               Maximum number of tile rows

  MAX_TILE_COLS                                      64               Maximum number of tile columns



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Symbol name                                Value               Description

 INTRABC_DELAY_PIXELS                          256             Number of horizontal luma samples before intra
                                                               block copy can be used

 INTRABC_DELAY_SB64                             4              Number of 64 by 64 blocks before intra block copy
                                                               can be used

 NUM_REF_FRAMES                                 8              Number of frames that can be stored for future
                                                               reference

 IS_INTER_CONTEXTS                              4              Number of contexts for is_inter

 REF_CONTEXTS                                   3              Number of contexts for single_ref , comp_ref ,
                                                                comp_bwdref , uni_comp_ref ,
                                                                uni_comp_ref_p1 and uni_comp_ref_p2

 MAX_SEGMENTS                                   8              Number of segments allowed in segmentation map

 SEGMENT_ID_CONTEXTS                            3              Number of contexts for segment_id

 SEG_LVL_ALT_Q                                  0              Index for quantizer segment feature

 SEG_LVL_ALT_LF_Y_V                             1              Index for vertical luma loop filter segment feature

 SEG_LVL_REF_FRAME                              5              Index for reference frame segment feature

 SEG_LVL_SKIP                                   6              Index for skip segment feature

 SEG_LVL_GLOBALMV                               7              Index for global mv feature

 SEG_LVL_MAX                                    8              Number of segment features

 PLANE_TYPES                                    2              Number of different plane types (luma or chroma)

 TX_SIZE_CONTEXTS                               3              Number of contexts for transform size

 INTERP_FILTERS                                 3              Number of values for interp_filter

 INTERP_FILTER_CONTEXTS                        16              Number of contexts for interp_filter

 SKIP_MODE_CONTEXTS                             3              Number of contexts for decoding skip_mode

 SKIP_CONTEXTS                                  3              Number of contexts for decoding skip

 PARTITION_CONTEXTS                             4              Number of contexts when decoding partition

 TX_SIZES                                       5              Number of square transform sizes

 TX_SIZES_ALL                                  19              Number of transform sizes (including non-square
                                                               sizes)

 TX_MODES                                       3              Number of values for tx_mode

 DCT_DCT                                        0              Inverse transform rows with DCT and columns
                                                               with DCT



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Symbol name                                Value               Description

 ADST_DCT                                      1               Inverse transform rows with DCT and columns
                                                               with ADST

 DCT_ADST                                      2               Inverse transform rows with ADST and columns
                                                               with DCT

 ADST_ADST                                     3               Inverse transform rows with ADST and columns
                                                               with ADST

 FLIPADST_DCT                                  4               Inverse transform rows with DCT and columns
                                                               with FLIPADST

 DCT_FLIPADST                                  5               Inverse transform rows with FLIPADST and
                                                               columns with DCT

 FLIPADST_FLIPADST                             6               Inverse transform rows with FLIPADST and
                                                               columns with FLIPADST

 ADST_FLIPADST                                 7               Inverse transform rows with FLIPADST and
                                                               columns with ADST

 FLIPADST_ADST                                 8               Inverse transform rows with ADST and columns
                                                               with FLIPADST

 IDTX                                          9               Inverse transform rows with identity and columns
                                                               with identity

 V_DCT                                         10              Inverse transform rows with identity and columns
                                                               with DCT

 H_DCT                                         11              Inverse transform rows with DCT and columns
                                                               with identity

 V_ADST                                        12              Inverse transform rows with identity and columns
                                                               with ADST

 H_ADST                                        13              Inverse transform rows with ADST and columns
                                                               with identity

 V_FLIPADST                                    14              Inverse transform rows with identity and columns
                                                               with FLIPADST

 H_FLIPADST                                    15              Inverse transform rows with FLIPADST and
                                                               columns with identity

 TX_TYPES                                      16              Number of inverse transform types

 MB_MODE_COUNT                                 17              Number of values for YMode

 INTRA_MODES                                   13              Number of values for y_mode




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Symbol name                                Value               Description

 UV_INTRA_MODES_CFL_NOT_ALLOWED                13              Number of values for uv_mode when chroma from
                                                               luma is not allowed

 UV_INTRA_MODES_CFL_ALLOWED                    14              Number of values for uv_mode when chroma from
                                                               luma is allowed

 COMPOUND_MODES                                 8              Number of values for compound_mode

 COMPOUND_MODE_CONTEXTS                         8              Number of contexts for compound_mode

 COMP_NEWMV_CTXS                                5              Number of new mv values used when constructing
                                                               context for compound_mode

 NEW_MV_CONTEXTS                                6              Number of contexts for new_mv

 ZERO_MV_CONTEXTS                               2              Number of contexts for zero_mv

 REF_MV_CONTEXTS                                6              Number of contexts for ref_mv

 DRL_MODE_CONTEXTS                              3              Number of contexts for drl_mode

 MV_CONTEXTS                                    2              Number of contexts for decoding motion vectors
                                                               including one for intra block copy

 MV_INTRABC_CONTEXT                             1              Motion vector context used for intra block copy

 MV_JOINTS                                      4              Number of values for mv_joint

 MV_CLASSES                                    11              Number of values for mv_class

 CLASS0_SIZE                                    2              Number of values for mv_class0_bit

 MV_OFFSET_BITS                                10              Maximum number of bits for decoding motion
                                                               vectors

 MAX_LOOP_FILTER                               63              Maximum value used for loop filtering

 REF_SCALE_SHIFT                               14              Number of bits of precision when scaling reference
                                                               frames

 SUBPEL_BITS                                    4              Number of bits of precision when choosing an inter
                                                               prediction filter kernel

 SUBPEL_MASK                                   15               ( 1 << SUBPEL_BITS ) - 1

 SCALE_SUBPEL_BITS                             10              Number of bits of precision when computing inter
                                                               prediction locations

 MV_BORDER                                     128             Value used when clipping motion vectors

 PALETTE_COLOR_CONTEXTS                         5              Number of values for color contexts




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Symbol name                                Value               Description

 PALETTE_MAX_COLOR_CONTEXT_HASH                8               Number of mappings between color context hash
                                                               and color context

 PALETTE_BLOCK_SIZE_CONTEXTS                   7               Number of values for palette block size

 PALETTE_Y_MODE_CONTEXTS                       3               Number of values for palette Y plane mode
                                                               contexts

 PALETTE_UV_MODE_CONTEXTS                      2               Number of values for palette U and V plane mode
                                                               contexts

 PALETTE_SIZES                                 7               Number of values for palette_size

 PALETTE_COLORS                                8               Number of values for palette_color

 PALETTE_NUM_NEIGHBORS                         3               Number of neighbors considered within palette
                                                               computation

 DELTA_Q_SMALL                                 3               Value indicating alternative encoding of quantizer
                                                               index delta values

 DELTA_LF_SMALL                                3               Value indicating alternative encoding of loop filter
                                                               delta values

 QM_TOTAL_SIZE                             3344                Number of values in the quantizer matrix

 MAX_ANGLE_DELTA                               3               Maximum magnitude of AngleDeltaY and
                                                               AngleDeltaUV

 DIRECTIONAL_MODES                             8               Number of directional intra modes

 ANGLE_STEP                                    3               Number of degrees of step per unit increase in
                                                               AngleDeltaY or AngleDeltaUV.

 TX_SET_TYPES_INTRA                            3               Number of intra transform set types

 TX_SET_TYPES_INTER                            4               Number of inter transform set types

 WARPEDMODEL_PREC_BITS                         16              Internal precision of warped motion models

 IDENTITY                                      0               Warp model is just an identity transform

 TRANSLATION                                   1               Warp model is a pure translation

 ROTZOOM                                       2               Warp model is a rotation + symmetric zoom +
                                                               translation

 AFFINE                                        3               Warp model is a general affine transform

 GM_ABS_TRANS_BITS                             12              Number of bits encoded for translational
                                                               components of global motion models, if part of a
                                                               ROTZOOM or AFFINE model




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Symbol name                                Value               Description

 GM_ABS_TRANS_ONLY_BITS                         9              Number of bits encoded for translational
                                                               components of global motion models, if part of a
                                                               TRANSLATION model

 GM_ABS_ALPHA_BITS                             12              Number of bits encoded for non-translational
                                                               components of global motion models

 DIV_LUT_PREC_BITS                             14              Number of fractional bits of entries in divisor lookup
                                                               table

 DIV_LUT_BITS                                   8              Number of fractional bits for lookup in divisor
                                                               lookup table

 DIV_LUT_NUM                                   257             Number of entries in divisor lookup table

 MOTION_MODES                                   3              Number of values for motion modes

 SIMPLE                                         0              Use translation or global motion compensation

 OBMC                                           1              Use overlapped block motion compensation

 LOCALWARP                                      2              Use local warp motion compensation

 LEAST_SQUARES_SAMPLES_MAX                      8              Largest number of samples used when computing
                                                               a local warp

 LS_MV_MAX                                     256             Largest motion vector difference to include in local
                                                               warp computation

 WARPEDMODEL_TRANS_CLAMP                   1<<23               Clamping value used for translation components of
                                                               warp

 WARPEDMODEL_NONDIAGAFFINE_CLAMP           1<<13               Clamping value used for matrix components of
                                                               warp

 WARPEDPIXEL_PREC_SHIFTS                   1<<6                Number of phases used in warped filtering

 WARPEDDIFF_PREC_BITS                          10              Number of extra bits of precision in warped filtering

 GM_ALPHA_PREC_BITS                            15              Number of fractional bits for sending non-
                                                               translational warp model coefficients

 GM_TRANS_PREC_BITS                             6              Number of fractional bits for sending translational
                                                               warp model coefficients

 GM_TRANS_ONLY_PREC_BITS                        3              Number of fractional bits used for pure translational
                                                               warps

 INTERINTRA_MODES                               4              Number of inter intra modes

 MASK_MASTER_SIZE                              64              Size of MasterMask array




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Symbol name                                Value               Description

 SEGMENT_ID_PREDICTED_CONTEXTS                  3              Number of contexts for segment_id_predicted

 IS_INTER_CONTEXTS                              4              Number of contexts for is_inter

 SKIP_CONTEXTS                                  3              Number of contexts for skip

 FWD_REFS                                       4              Number of syntax elements for forward reference
                                                               frames

 BWD_REFS                                       3              Number of syntax elements for backward reference
                                                               frames

 SINGLE_REFS                                    7              Number of syntax elements for single reference
                                                               frames

 UNIDIR_COMP_REFS                               4              Number of syntax elements for unidirectional
                                                               compound reference frames

 COMPOUND_TYPES                                 2              Number of values for compound_type

 CFL_JOINT_SIGNS                                8              Number of values for cfl_alpha_signs

 CFL_ALPHABET_SIZE                             16              Number of values for cfl_alpha_u and
                                                                cfl_alpha_v

 COMP_INTER_CONTEXTS                            5              Number of contexts for comp_mode

 COMP_REF_TYPE_CONTEXTS                         5              Number of contexts for comp_ref_type

 CFL_ALPHA_CONTEXTS                             6              Number of contexts for cfl_alpha_u and
                                                                cfl_alpha_v

 INTRA_MODE_CONTEXTS                            5              Number of each of left and above contexts for
                                                                intra_frame_y_mode

 COMP_GROUP_IDX_CONTEXTS                        6              Number of contexts for comp_group_idx

 COMPOUND_IDX_CONTEXTS                          6              Number of contexts for compound_idx

 INTRA_EDGE_KERNELS                             3              Number of filter kernels for the intra edge filter

 INTRA_EDGE_TAPS                                5              Number of kernel taps for the intra edge filter

 FRAME_LF_COUNT                                 4              Number of loop filter strength values

 MAX_VARTX_DEPTH                                2              Maximum depth for variable transform trees

 TXFM_PARTITION_CONTEXTS                       21              Number of contexts for txfm_split

 REF_CAT_LEVEL                                 640             Bonus weight for close motion vectors

 MAX_REF_MV_STACK_SIZE                          8              Maximum number of motion vectors in the stack

 MFMV_STACK_SIZE                                3              Stack size for motion field motion vectors



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Symbol name                                Value               Description

 MAX_TX_DEPTH                                   2              Maximum times the transform can be split

 WEDGE_TYPES                                   16              Number of directions for the wedge mask process

 FILTER_BITS                                    7              Number of bits used in Wiener filter coefficients

 WIENER_COEFFS                                  3              Number of Wiener filter coefficients to read

 SGRPROJ_PARAMS_BITS                            4              Number of bits needed to specify self guided filter
                                                               set

 SGRPROJ_PRJ_SUBEXP_K                           4              Controls how self guided deltas are read

 SGRPROJ_PRJ_BITS                               7              Precision bits during self guided restoration

 SGRPROJ_RST_BITS                               4              Restoration precision bits generated higher than
                                                               source before projection

 SGRPROJ_MTABLE_BITS                           20              Precision of mtable division table

 SGRPROJ_RECIP_BITS                            12              Precision of division by n table

 SGRPROJ_SGR_BITS                               8              Internal precision bits for core
                                                               selfguided_restoration

 EC_PROB_SHIFT                                  6              Number of bits to reduce CDF precision during
                                                               arithmetic coding

 EC_MIN_PROB                                    4              Minimum probability assigned to each symbol
                                                               during arithmetic coding

 SELECT_SCREEN_CONTENT_TOOLS                    2              Value that indicates the
                                                               allow_screen_content_tools syntax element is
                                                               coded

 SELECT_INTEGER_MV                              2              Value that indicates the force_integer_mv syntax
                                                               element is coded

 RESTORATION_TILESIZE_MAX                      256             Maximum size of a loop restoration tile

 MAX_FRAME_DISTANCE                            31              Maximum distance when computing weighted
                                                               prediction

 MAX_OFFSET_WIDTH                               8              Maximum horizontal offset of a projected motion
                                                               vector

 MAX_OFFSET_HEIGHT                              0              Maximum vertical offset of a projected motion
                                                               vector

 WARP_PARAM_REDUCE_BITS                         6              Rounding bitwidth for the parameters to the shear
                                                               process




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Symbol name                                   Value             Description

 NUM_BASE_LEVELS                                2               Number of quantizer base levels

 COEFF_BASE_RANGE                               12              The quantizer range above NUM_BASE_LEVELS
                                                                above which the Exp-Golomb coding process is
                                                                activated

 BR_CDF_SIZE                                    4               Number of values for coeff_br

 SIG_COEF_CONTEXTS_EOB                          4               Number of contexts for coeff_base_eob

 SIG_COEF_CONTEXTS_2D                           26              Context offset for coeff_base for horizontal-only
                                                                or vertical-only transforms.

 SIG_COEF_CONTEXTS                              42              Number of contexts for coeff_base

 SIG_REF_DIFF_OFFSET_NUM                        5               Maximum number of context samples to be used in
                                                                determining the context index for coeff_base and
                                                                 coeff_base_eob .

 SUPERRES_NUM                                   8               Numerator for upscaling ratio

 SUPERRES_DENOM_MIN                             9               Smallest denominator for upscaling ratio

 SUPERRES_DENOM_BITS                            3               Number of bits sent to specify denominator of
                                                                upscaling ratio

 SUPERRES_FILTER_BITS                           6               Number of bits of fractional precision for upscaling
                                                                filter selection

 SUPERRES_FILTER_SHIFTS                     1 <<          Number of phases of upscaling filters
                                     SUPERRES_FILTER_BITS

 SUPERRES_FILTER_TAPS                           8               Number of taps of upscaling filters

 SUPERRES_FILTER_OFFSET                         3               Sample offset for upscaling filters

 SUPERRES_SCALE_BITS                            14              Number of fractional bits for computing position in
                                                                upscaling

 SUPERRES_SCALE_MASK                       (1 << 14) - 1        Mask for computing position in upscaling

 SUPERRES_EXTRA_BITS                            8               Difference in precision between
                                                                SUPERRES_SCALE_BITS and
                                                                SUPERRES_FILTER_BITS

 TXB_SKIP_CONTEXTS                              13              Number of contexts for all_zero

 EOB_COEF_CONTEXTS                              9               Number of contexts for eob_extra

 DC_SIGN_CONTEXTS                               3               Number of contexts for dc_sign

 LEVEL_CONTEXTS                                 21              Number of contexts for coeff_br




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Symbol name                                  Value             Description

 TX_CLASS_2D                                   0               Transform class for transform types performing
                                                               non-identity transforms in both directions

 TX_CLASS_HORIZ                                1               Transform class for transforms performing only a
                                                               horizontal non-identity transform

 TX_CLASS_VERT                                 2               Transform class for transforms performing only a
                                                               vertical non-identity transform

 REFMVS_LIMIT                            ( 1 << 12 ) - 1       Largest reference MV component that can be
                                                               saved

 INTRA_FILTER_SCALE_BITS                       4               Scaling shift for intra filtering process

 INTRA_FILTER_MODES                            5               Number of types of intra filtering

 COEFF_CDF_Q_CTXS                              4               Number of selectable context types for the coeff( )
                                                               syntax structure

 PRIMARY_REF_NONE                              7               Value of primary_ref_frame indicating that there
                                                               is no primary reference frame

 BUFFER_POOL_MAX_SIZE                          10              Number of frames in buffer pool




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4. Conventions
4.1. General
The mathematical operators and their precedence rules used to describe this Specification are similar to those used in the
C programming language. However, the operation of integer division with truncation is specifically defined.

In addition, a length 2 array used to hold a motion vector (indicated by the variable name ending with the letters Mv or
  Mvs ) can be accessed using either array notation (e.g. Mv[ 0 ] and Mv[ 1 ] ), or by just the name (e.g., Mv ). The
only operations defined when using the name are assignment and equality/inequality testing. Assignment of an array is
represented using the notation A = B and is specified to mean the same as doing both the individual assignments A[ 0
] = B[ 0 ] and A[ 1 ] = B[ 1 ]. Equality testing of 2 motion vectors is represented using the notation A == B and
is specified to mean the same as (A[ 0 ] == B[ 0 ] && A[ 1 ] == B[ 1 ]) . Inequality testing is defined as A != B
and is specified to mean the same as (A[ 0 ] != B[ 0 ] || A[ 1 ] != B[ 1 ]) .

When a variable is said to be representable by a signed integer with x bits, it means that the variable is greater than or
equal to -(1 << (x-1)) , and that the variable is less than or equal to (1 << (x-1))-1 .

The key words “must”, “must not”, “required”, “shall”, “shall not”, “should”, “should not”, “recommended”, “may”, and
“optional” in this document are to be interpreted as described in RFC 2119.


4.2. Arithmetic operators
 +          Addition

 –          Subtraction (as a binary operator) or negation (as a unary prefix operator)

 *          Multiplication

 /          Integer division with truncation of the result toward zero. For example, 7/4 and -7/-4 are truncated to 1
            and -7/4 and 7/-4 are truncated to -1 .

 a%b        Remainder from division of a by b . Both a and b are positive integers.

 ÷          Floating point (arithmetical) division.

 ceil(x)    The smallest integer that is greater or equal than x .

 floor(x) The largest integer that is smaller or equal than x .



4.3. Logical operators
 a && b                Logical AND operation between a and b

 a || b                Logical OR operation between a and b

 !                     Logical NOT operation.




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4.4. Relational operators
>                 Greater than

>=                Greater than or equal to

<                 Less than

<=                Less than or equal to

==                Equal to

!=                Not equal to



4.5. Bitwise operators
&       AND operation

|       OR operation

^       XOR operation

~       Negation operation

a >> b Shift a in 2’s complement binary integer representation format to the right by b bit positions. This operator is
       only used with b being a non-negative integer. Bits shifted into the MSBs as a result of the right shift have a
       value equal to the MSB of a prior to the shift operation.

a << b Shift a in 2’s complement binary integer representation format to the left by b bit positions. This operator is
       only used with b being a non-negative integer. Bits shifted into the LSBs as a result of the left shift have a
       value equal to 0 .



4.6. Assignment
=    Assignment operator

++ Increment, x++ is equivalent to x = x + 1 . When this operator is used for an array index, the variable value is
   obtained before the auto increment operation

--   Decrement, i.e. x-- is equivalent to x = x - 1 . When this operator is used for an array index, the variable value
     is obtained before the auto decrement operation

+= Addition assignment operator, for example x += 3 corresponds to x = x + 3

-=   Subtraction assignment operator, for example x -= 3 corresponds to x = x - 3



4.7. Mathematical functions
The following mathematical functions (Abs, Clip3, Clip1, Min, Max, Round2 and Round2Signed) are defined as follows:




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The definition of Round2 uses standard mathematical power and division operations, not integer operations. An
equivalent definition using integer operations is:


   Round2(( x,, n ) {
     if ( n == 0 )
       return x
     return ( x + ( 1 << (n - 1) ) ) >> n
   }


The FloorLog2(x) function is defined to be the floor of the base 2 logarithm of the input x.

The input x will always be an integer, and will always be greater than or equal to 1.

This function extracts the location of the most significant bit in x.




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An equivalent definition (using the pseudo-code notation introduced in the following section) is:


   FloorLog2(( x ) {
     s = 0
     while ( x != 0 ) {
       x = x >> 1
       s++
        ++
     }
     return s - 1
   }


The CeilLog2(x) function is defined to be the ceiling of the base 2 logarithm of the input x (when x is 0, it is defined to
return 0).

The input x will always be an integer, and will always be greater than or equal to 0.

This function extracts the number of bits needed to code a value in the range 0 to x-1.

An equivalent definition (using the pseudo-code notation introduced in the following section) is:


   CeilLog2(( x ) {
     if ( x < 2 )
       return 0
     i = 1
     p = 2
     while ( p < x ) {
       i++
        ++
       p = p << 1
     }
     return i
   }



4.8. Method of describing bitstream syntax
The description style of the syntax is similar to the C programming language. Syntax elements in the bitstream are
represented in bold type. Each syntax element is described by its name (using only lower case letters with underscore
characters) and a descriptor for its method of coded representation. The decoding process behaves according to the
value of the syntax element and to the values of previously decoded syntax elements. When a value of a syntax element
is used in the syntax tables or the text, it appears in regular (i.e. not bold) type. If the value of a syntax element is being
computed (e.g. being written with a default value instead of being coded in the bitstream), it also appears in regular type
(e.g. tile_size_minus_1).

In some cases the syntax tables may use the values of other variables derived from syntax elements values. Such
variables appear in the syntax tables, or text, named by a mixture of lower case and upper case letter and without any
underscore characters. Variables starting with an upper case letter are derived for the decoding of the current syntax




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structure and all depending syntax structures. These variables may be used in the decoding process for later syntax
structures. Variables starting with a lower case letter are only used within the process from which they are derived. (Single
character variables are allowed.)

Constant values appear in all upper case letters with underscore characters (e.g. MI_SIZE).

Constant lookup tables appear as words (with the first letter of each word in upper case, and remaining letters in lower
case) separated with underscore characters (e.g. Block_Width[…]).

Hexadecimal notation, indicated by prefixing the hexadecimal number by 0x , may be used when the number of bits is an
integer multiple of 4. For example, 0x1a represents a bit string 0001 1010 .

Binary notation is indicated by prefixing the binary number by 0b . For example, 0b00011010 represents a bit string
 0001 1010 . Binary numbers may include underscore characters to enhance readability. If present, the underscore
characters appear every 4 binary digits starting from the LSB. For example, 0b11010 may also be written as 0b1_1010 .

A value equal to 0 represents a FALSE condition in a test statement. The value TRUE is represented by any value not
equal to 0.

The following table lists examples of the syntax specification format. When syntax_element appears (with bold face
font), it specifies that this syntax element is parsed from the bitstream.

                                                                                                              Type
 /* A statement can be a syntax element with associated
 descriptor or can be an expression used to specify its
 existence, type, and value, as in the following
 examples */

 syntax_element                                                                                               f(1)

 /* A group of statements enclosed in brackets is a
 compound statement and is treated functionally as a single
 statement. */

 {
     statement
     …
 }

 /* A “while” structure specifies that the statement is
 to be evaluated repeatedly while the condition remains
 true. */

 while ( condition )
     statement

 /* A “do .. while” structure executes the statement once,
 and then tests the condition. It repeatedly evaluates the
 statement while the condition remains true. */


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 do
     statement
 while ( condition )

 /* An “if .. else” structure tests the condition first. If
 it is true, the primary statement is evaluated. Otherwise,
 the alternative statement is evaluated. If the alternative
 statement is unnecessary to be evaluated, the “else” and
 corresponding alternative statement can be omitted. */

 if ( condition )
      primary statement
 else
      alternative statement

 /* A “for” structure evaluates the initial statement at the
 beginning then tests the condition. If it is true, the primary
 and subsequent statements are evaluated until the condition
 becomes false. */

 for ( initial statement; condition; subsequent statement )
     primary statement

 /* The return statement in a syntax structure specifies
 that the parsing of the syntax structure will be terminated
 without processing any additional information after this stage.
 When a value immediately follows a return statement, this value
 shall also be returned as the output of this syntax structure. */

 return x


4.9. Functions
Bitstream functions used for syntax description are specified in this section.

Other functions are included in the syntax tables. The convention is that a section is called syntax if it causes syntax
elements to be read from the bitstream, either directly or indirectly through subprocesses. The remaining sections are
called functions.

The specification of these functions makes use of a bitstream position indicator. This bitstream position indicator locates
the position of the bit that is going to be read next.

get_position( ): Return the value of the bitstream position indicator.

init_symbol( sz ): Initialize the arithmetic decode process for the Symbol decoder with a size of sz bytes as specified in
section 8.2.2.

exit_symbol( ): Exit the arithmetic decode process as described in section 8.2.4 (this includes reading trailing bits).



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4.10. Descriptors
4.10.1. General
The following descriptors specify the parsing of syntax elements. Lower case descriptors specify syntax elements that are
represented by an integer number of bits in the bitstream; upper case descriptors specify syntax elements that are
represented by arithmetic coding.


4.10.2. f(n)
Unsigned n-bit number appearing directly in the bitstream. The bits are read from high to low order. The parsing process
specified in section 8.1 is invoked and the syntax element is set equal to the return value.


4.10.3. uvlc()
Variable length unsigned n-bit number appearing directly in the bitstream. The parsing process for this descriptor is
specified below:

 uvlc() {                                                                                                     Type
     leadingZeros = 0
     while ( 1 ) {
          done                                                                                                f(1)
          if ( done )
               break
          leadingZeros++
     }
     if ( leadingZeros >= 32 ) {
          return ( 1 << 32 ) - 1
     }
     value                                                                                             f(leadingZeros)
     return value + ( 1 << leadingZeros ) - 1
 }


4.10.4. le(n)
Unsigned little-endian n-byte number appearing directly in the bitstream. The parsing process for this descriptor is
specified below:

 le(n) {                                                                                                      Type
     t = 0
     for ( i = 0; i < n; i++) {
         byte                                                                                                 f(8)
         t += ( byte << ( i * 8 ) )
     }
     return t
 }


   Note: This syntax element will only be present when the bitstream position is byte aligned.



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4.10.5. leb128()
Unsigned integer represented by a variable number of little-endian bytes.


   Note: This syntax element will only be present when the bitstream position is byte aligned.


In this encoding, the most significant bit of each byte is equal to 1 to signal that more bytes should be read, or equal to 0
to signal the end of the encoding.

A variable Leb128Bytes is set equal to the number of bytes read during this process.

The parsing process for this descriptor is specified below:

 leb128() {                                                                                                      Type
     value = 0
     Leb128Bytes = 0
     for ( i = 0; i < 8; i++ ) {
         leb128_byte                                                                                             f(8)
         value |= ( (leb128_byte & 0x7f) << (i*7) )
         Leb128Bytes += 1
         if ( !(leb128_byte & 0x80) ) {
             break
         }
     }
     return value
 }

It is a requirement of bitstream conformance that the value returned from the leb128 parsing process is less than or equal
to (1 << 32) - 1.

leb128_byte contains 8 bits read from the bitstream. The bottom 7 bits are used to compute the variable value. The most
significant bit is used to indicate that there are more bytes to be read.

It is a requirement of bitstream conformance that the most significant bit of leb128_byte is equal to 0 if i is equal to 7. (This
ensures that this syntax descriptor never uses more than 8 bytes.)


   Note: There are multiple ways of encoding the same value depending on how many leading zero bits are encoded.
   There is no requirement that this syntax descriptor uses the most compressed representation. This can be useful
   for encoder implementations by allowing a fixed amount of space to be filled in later when the value becomes
   known.



4.10.6. su(n)
Signed integer converted from an n bits unsigned integer in the bitstream. (The unsigned integer corresponds to the
bottom n bits of the signed integer.) The parsing process for this descriptor is specified below:




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 su(n) {                                                                                                       Type
     value                                                                                                     f(n)
     signMask = 1 << (n - 1)
     if ( value & signMask )
         value = value - 2 * signMask
     return value
 }


4.10.7. ns(n)
Unsigned encoded integer with maximum number of values n (i.e. output in range 0..n-1).

This descriptor is similar to f(CeilLog2(n)), but reduces wastage incurred when encoding non-power of two value ranges
by encoding 1 fewer bits for the lower part of the value range. For example, when n is equal to 5, the encodings are as
follows (full binary encodings are also presented for comparison):


      Value                            Full binary encoding                                    ns(n) encoding

          0                                     000                                                   00

          1                                     001                                                   01

          2                                     010                                                   10

          3                                     011                                                  110

          4                                     100                                                  111


The parsing process for this descriptor is specified as:

 ns( n ) {                                                                                                     Type
     w = FloorLog2(n) + 1
     m = (1 << w) - n
     v                                                                                                       f(w - 1)
     if ( v < m )
         return v
     extra_bit                                                                                                 f(1)
     return (v << 1) - m + extra_bit
 }

The abbreviation ns stands for non-symmetric. This encoding is non-symmetric because the values are not all coded with
the same number of bits.


4.10.8. L(n)
Unsigned arithmetic encoded n-bit number encoded as n flags (a “literal”). The flags are read from high to low order. The
syntax element is set equal to the return value of read_literal( n ) (see section 8.2.5 for a specification of this process).




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4.10.9. S()
An arithmetic encoded symbol coded from a small alphabet of at most 16 entries.

The symbol is decoded based on a context sensitive CDF (see section 8.3 for the specification of this process).


4.10.10. NS(n)
Unsigned arithmetic encoded integer with maximum number of values n (i.e. output in range 0..n-1).

This descriptor is the same as ns(n) except the underlying bits are coded arithmetically.

The parsing process for this descriptor is specified as:

 NS( n ) {                                                                                                  Type
     w = FloorLog2(n) + 1
     m = (1 << w) - n
     v                                                                                                    L(w - 1)
     if ( v < m )
         return v
     extra_bit                                                                                              L(1)
     return (v << 1) - m + extra_bit
 }




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5. Syntax structures
5.1. General
This section presents the syntax structures in a tabular form. The meaning of each of the syntax elements is presented in
Section 6.


5.2. Low overhead bitstream format
This specification defines a low-overhead bitstream format as a sequence of the OBU syntactical elements defined in this
section. When using this format, obu_has_size_field must be equal to 1. For applications requiring a format where it is
easier to skip through frames or temporal units, a length-delimited bitstream format is defined in Annex B.

Derived specifications, such as container formats enabling storage of AV1 videos together with audio or subtitles, should
indicate which of these formats they rely on. Other methods of packing OBUs into a bitstream format are also allowed.


5.3. OBU syntax
5.3.1. General OBU syntax
 open_bitstream_unit( sz ) {                                                                                Type
     obu_header()
     if ( obu_has_size_field ) {
         obu_size                                                                                         leb128()
     } else {
         obu_size = sz - 1 - obu_extension_flag
     }
     startPosition = get_position( )
     if ( obu_type != OBU_SEQUENCE_HEADER &&
           obu_type != OBU_TEMPORAL_DELIMITER &&
           OperatingPointIdc != 0 &&
           obu_extension_flag == 1 )
     {
         inTemporalLayer = (OperatingPointIdc >> temporal_id ) & 1
         inSpatialLayer = (OperatingPointIdc >> ( spatial_id + 8 ) ) & 1
         if ( !inTemporalLayer || ! inSpatialLayer ) {
              drop_obu( )
              return
         }
     }
     if ( obu_type == OBU_SEQUENCE_HEADER )
         sequence_header_obu( )
     else if ( obu_type == OBU_TEMPORAL_DELIMITER )
         temporal_delimiter_obu( )
     else if ( obu_type == OBU_FRAME_HEADER )
         frame_header_obu( )
     else if ( obu_type == OBU_REDUNDANT_FRAME_HEADER )
         frame_header_obu( )


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     else if ( obu_type == OBU_TILE_GROUP )
          tile_group_obu( obu_size )
     else if ( obu_type == OBU_METADATA )
          metadata_obu( )
     else if ( obu_type == OBU_FRAME )
          frame_obu( obu_size )
     else if ( obu_type == OBU_TILE_LIST )
          tile_list_obu( )
     else if ( obu_type == OBU_PADDING )
          padding_obu( )
     else
          reserved_obu( )
     currentPosition = get_position( )
     payloadBits = currentPosition - startPosition
     if ( obu_size > 0 && obu_type != OBU_TILE_GROUP &&
           obu_type != OBU_TILE_LIST &&
           obu_type != OBU_FRAME ) {
          trailing_bits( obu_size * 8 - payloadBits )
     }
 }


5.3.2. OBU header syntax
 obu_header() {                                                                                  Type
     obu_forbidden_bit                                                                           f(1)
     obu_type                                                                                    f(4)
     obu_extension_flag                                                                          f(1)
     obu_has_size_field                                                                          f(1)
     obu_reserved_1bit                                                                           f(1)
     if ( obu_extension_flag == 1 )
         obu_extension_header()
 }


5.3.3. OBU extension header syntax
 obu_extension_header() {                                                                        Type
     temporal_id                                                                                 f(3)
     spatial_id                                                                                  f(2)
     extension_header_reserved_3bits                                                             f(3)
 }


5.3.4. Trailing bits syntax
 trailing_bits( nbBits ) {                                                                       Type
     trailing_one_bit                                                                            f(1)
     nbBits--
     while ( nbBits > 0 ) {
         trailing_zero_bit                                                                       f(1)
         nbBits--
     }


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 }


5.3.5. Byte alignment syntax
 byte_alignment( ) {                                                                                            Type
     while ( get_position( ) & 7 )
         zero_bit                                                                                               f(1)
 }


5.4. Reserved OBU syntax
 reserved_obu( ) {                                                                                              Type
 }


     Note: Reserved OBUs do not have a defined syntax. The obu_type reserved values are reserved for future use.
     Decoders should ignore the entire OBU if they do not understand the obu_type. Ignoring the OBU can be done
     based on obu_size. The last byte of the valid content of the payload data for this OBU type is considered to be the
     last byte that is not equal to zero. This rule is to prevent the dropping of valid bytes by systems that interpret
     trailing zero bytes as a continuation of the trailing bits in an OBU. This implies that when any payload data is
     present for this OBU type, at least one byte of the payload data (including the trailing bit) shall not be equal to 0.



5.5. Sequence header OBU syntax
5.5.1. General sequence header OBU syntax
 sequence_header_obu( ) {                                                                                       Type
     seq_profile                                                                                                f(3)
     still_picture                                                                                              f(1)
     reduced_still_picture_header                                                                               f(1)
     if ( reduced_still_picture_header ) {
         timing_info_present_flag = 0
         decoder_model_info_present_flag = 0
         initial_display_delay_present_flag = 0
         operating_points_cnt_minus_1 = 0
         operating_point_idc[ 0 ] = 0
         seq_level_idx[ 0 ]                                                                                     f(5)
         seq_tier[ 0 ] = 0
         decoder_model_present_for_this_op[ 0 ] = 0
         initial_display_delay_present_for_this_op[ 0 ] = 0
     } else {
         timing_info_present_flag                                                                               f(1)
         if ( timing_info_present_flag ) {
              timing_info( )
              decoder_model_info_present_flag                                                                   f(1)
              if ( decoder_model_info_present_flag ) {
                  decoder_model_info( )
              }



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          } else {
              decoder_model_info_present_flag = 0
          }
          initial_display_delay_present_flag                                                       f(1)
          operating_points_cnt_minus_1                                                             f(5)
          for ( i = 0; i <= operating_points_cnt_minus_1; i++ ) {
              operating_point_idc[ i ]                                                            f(12)
              seq_level_idx[ i ]                                                                  f(5)
              if ( seq_level_idx[ i ] > 7 ) {
                   seq_tier[ i ]                                                                   f(1)
              } else {
                   seq_tier[ i ] = 0
              }
              if ( decoder_model_info_present_flag ) {
                   decoder_model_present_for_this_op[ i ]                                          f(1)
                   if ( decoder_model_present_for_this_op[ i ] ) {
                       operating_parameters_info( i )
                   }
              } else {
                   decoder_model_present_for_this_op[ i ] = 0
              }
              if ( initial_display_delay_present_flag ) {
                   initial_display_delay_present_for_this_op[ i ]                                  f(1)
                   if ( initial_display_delay_present_for_this_op[ i ] ) {
                       initial_display_delay_minus_1[ i ]                                          f(4)
                   }
              }
          }
     }
     operatingPoint = choose_operating_point( )
     OperatingPointIdc = operating_point_idc[ operatingPoint ]
     frame_width_bits_minus_1                                                                      f(4)
     frame_height_bits_minus_1                                                                     f(4)
     n = frame_width_bits_minus_1 + 1
     max_frame_width_minus_1                                                                       f(n)
     n = frame_height_bits_minus_1 + 1
     max_frame_height_minus_1                                                                      f(n)
     if ( reduced_still_picture_header )
          frame_id_numbers_present_flag = 0
     else
          frame_id_numbers_present_flag                                                            f(1)
     if ( frame_id_numbers_present_flag ) {
          delta_frame_id_length_minus_2                                                            f(4)
          additional_frame_id_length_minus_1                                                       f(3)
     }
     use_128x128_superblock                                                                        f(1)
     enable_filter_intra                                                                           f(1)
     enable_intra_edge_filter                                                                      f(1)
     if ( reduced_still_picture_header ) {



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         enable_interintra_compound = 0
         enable_masked_compound = 0
         enable_warped_motion = 0
         enable_dual_filter = 0
         enable_order_hint = 0
         enable_jnt_comp = 0
         enable_ref_frame_mvs = 0
         seq_force_screen_content_tools = SELECT_SCREEN_CONTENT_TOOLS
         seq_force_integer_mv = SELECT_INTEGER_MV
         OrderHintBits = 0
     } else {
         enable_interintra_compound                                                                f(1)
         enable_masked_compound                                                                    f(1)
         enable_warped_motion                                                                      f(1)
         enable_dual_filter                                                                        f(1)
         enable_order_hint                                                                         f(1)
         if ( enable_order_hint ) {
              enable_jnt_comp                                                                      f(1)
              enable_ref_frame_mvs                                                                 f(1)
         } else {
              enable_jnt_comp = 0
              enable_ref_frame_mvs = 0
         }
         seq_choose_screen_content_tools                                                           f(1)
         if ( seq_choose_screen_content_tools ) {
              seq_force_screen_content_tools = SELECT_SCREEN_CONTENT_TOOLS
         } else {
              seq_force_screen_content_tools                                                       f(1)
         }

          if ( seq_force_screen_content_tools > 0 ) {
              seq_choose_integer_mv                                                                f(1)
              if ( seq_choose_integer_mv ) {
                   seq_force_integer_mv = SELECT_INTEGER_MV
              } else {
                   seq_force_integer_mv                                                            f(1)
              }
          } else {
              seq_force_integer_mv = SELECT_INTEGER_MV
          }
          if ( enable_order_hint ) {
              order_hint_bits_minus_1                                                              f(3)
              OrderHintBits = order_hint_bits_minus_1 + 1
          } else {
              OrderHintBits = 0
          }
     }
     enable_superres                                                                               f(1)
     enable_cdef                                                                                   f(1)



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     enable_restoration                                                                           f(1)
     color_config( )
     film_grain_params_present                                                                    f(1)
 }


5.5.2. Color config syntax
 color_config( ) {                                                                                Type
     high_bitdepth                                                                                f(1)
     if ( seq_profile == 2 && high_bitdepth ) {
         twelve_bit                                                                               f(1)
         BitDepth = twelve_bit ? 12 : 10
     } else if ( seq_profile <= 2 ) {
         BitDepth = high_bitdepth ? 10 : 8
     }
     if ( seq_profile == 1 ) {
         mono_chrome = 0
     } else {
         mono_chrome                                                                              f(1)
     }
     NumPlanes = mono_chrome ? 1 : 3
     color_description_present_flag                                                               f(1)
     if ( color_description_present_flag ) {
         color_primaries                                                                          f(8)
         transfer_characteristics                                                                 f(8)
         matrix_coefficients                                                                      f(8)
     } else {
         color_primaries = CP_UNSPECIFIED
         transfer_characteristics = TC_UNSPECIFIED
         matrix_coefficients = MC_UNSPECIFIED
     }
     if ( mono_chrome ) {
         color_range                                                                              f(1)
         subsampling_x = 1
         subsampling_y = 1
         chroma_sample_position = CSP_UNKNOWN
         separate_uv_delta_q = 0
         return
     } else if ( color_primaries == CP_BT_709 &&
                  transfer_characteristics == TC_SRGB &&
                  matrix_coefficients == MC_IDENTITY ) {
         color_range = 1
         subsampling_x = 0
         subsampling_y = 0
     } else {
         color_range                                                                              f(1)
         if ( seq_profile == 0 ) {
              subsampling_x = 1
              subsampling_y = 1



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          } else if ( seq_profile == 1 ) {
              subsampling_x = 0
              subsampling_y = 0
          } else {
              if ( BitDepth == 12 ) {
                   subsampling_x                                                                     f(1)
                   if ( subsampling_x )
                        subsampling_y                                                                f(1)
                   else
                        subsampling_y = 0
              } else {
                   subsampling_x = 1
                   subsampling_y = 0
              }
          }
          if ( subsampling_x && subsampling_y ) {
              chroma_sample_position                                                                 f(2)
          }
     }
     separate_uv_delta_q                                                                             f(1)
 }


5.5.3. Timing info syntax
 timing_info( ) {                                                                                   Type
     num_units_in_display_tick                                                                      f(32)
     time_scale                                                                                     f(32)
     equal_picture_interval                                                                         f(1)
     if ( equal_picture_interval )
        num_ticks_per_picture_minus_1                                                               uvlc()
 }


5.5.4. Decoder model info syntax
 decoder_model_info( ) {                                                                            Type
     buffer_delay_length_minus_1                                                                    f(5)
     num_units_in_decoding_tick                                                                     f(32)
     buffer_removal_time_length_minus_1                                                             f(5)
     frame_presentation_time_length_minus_1                                                         f(5)
 }


5.5.5. Operating parameters info syntax
 operating_parameters_info( op ) {                                                                   Type
     n = buffer_delay_length_minus_1 + 1
     decoder_buffer_delay[ op ]                                                                      f(n)
     encoder_buffer_delay[ op ]                                                                      f(n)
     low_delay_mode_flag[ op ]                                                                       f(1)
 }




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5.6. Temporal delimiter obu syntax
 temporal_delimiter_obu( ) {                                                                                   Type
     SeenFrameHeader = 0
 }


   Note: The temporal delimiter has an empty payload.



5.7. Padding OBU syntax
 padding_obu( ) {                                                                                              Type
     for ( i = 0; i < obu_padding_length; i++ )
         obu_padding_byte                                                                                      f(8)
 }


   Note: obu_padding_length is not coded in the bitstream but can be computed based on obu_size minus the
   number of trailing bytes. In practice, though, since this is padding data meant to be skipped, decoders do not need
   to determine either that length nor the number of trailing bytes. They can ignore the entire OBU. Ignoring the OBU
   can be done based on obu_size. The last byte of the valid content of the payload data for this OBU type is
   considered to be the last byte that is not equal to zero. This rule is to prevent the dropping of valid bytes by
   systems that interpret trailing zero bytes as a continuation of the trailing bits in an OBU. This implies that when any
   payload data is present for this OBU type, at least one byte of the payload data (including the trailing bit) shall not
   be equal to 0.



5.8. Metadata OBU syntax
5.8.1. General metadata OBU syntax
 metadata_obu( ) {                                                                                            Type
     metadata_type                                                                                          leb128()
     if ( metadata_type == METADATA_TYPE_ITUT_T35 )
         metadata_itut_t35( )
     else if ( metadata_type == METADATA_TYPE_HDR_CLL )
         metadata_hdr_cll( )
     else if ( metadata_type == METADATA_TYPE_HDR_MDCV )
         metadata_hdr_mdcv( )
     else if ( metadata_type == METADATA_TYPE_SCALABILITY )
         metadata_scalability( )
     else if ( metadata_type == METADATA_TYPE_TIMECODE )
         metadata_timecode( )
 }




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   Note: The exact syntax of metadata_obu is not defined in this specification when metadata_type is equal to a
   value reserved for future use or a user private value. Decoders should ignore the entire OBU if they do not
   understand the metadata_type. The last byte of the valid content of the data is considered to be the last byte that is
   not equal to zero. This rule is to prevent the dropping of valid bytes by systems that interpret trailing zero bytes as
   a padding continuation of the trailing bits in an OBU. This implies that when any payload data is present for this
   OBU type, at least one byte of the payload data (including the trailing bit) shall not be equal to 0.



5.8.2. Metadata ITUT T35 syntax
 metadata_itut_t35( ) {                                                                                         Type
     itu_t_t35_country_code                                                                                     f(8)
     if ( itu_t_t35_country_code == 0xFF ) {
         itu_t_t35_country_code_extension_byte                                                                  f(8)
     }
     itu_t_t35_payload_bytes
 }


   Note: The exact syntax of itu_t_t35_payload_bytes is not defined in this specification. External specifications can
   define the syntax. Decoders should ignore the entire OBU if they do not understand it. The last byte of the valid
   content of the data is considered to be the last byte that is not equal to zero. This rule is to prevent the dropping of
   valid bytes by systems that interpret trailing zero bytes as a padding continuation of the trailing bits in an OBU.
   This implies that when any payload data is present for this OBU type, at least one byte of the payload data
   (including the trailing bit) shall not be equal to 0.



5.8.3. Metadata high dynamic range content light level syntax
 metadata_hdr_cll( ) {                                                                                          Type
     max_cll                                                                                                    f(16)
     max_fall                                                                                                   f(16)
 }


5.8.4. Metadata high dynamic range mastering display color volume
syntax
 metadata_hdr_mdcv( ) {                                                                                         Type
     for ( i = 0; i < 3; i++ ) {
         primary_chromaticity_x[ i ]                                                                            f(16)
         primary_chromaticity_y[ i ]                                                                            f(16)
     }
     white_point_chromaticity_x                                                                                 f(16)
     white_point_chromaticity_y                                                                                 f(16)
     luminance_max                                                                                              f(32)
     luminance_min                                                                                              f(32)
 }




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5.8.5. Metadata scalability syntax
 metadata_scalability( ) {                                                                       Type
     scalability_mode_idc                                                                        f(8)
     if ( scalability_mode_idc == SCALABILITY_SS )
         scalability_structure( )
 }


5.8.6. Scalability structure syntax
 scalability_structure( ) {                                                                      Type
     spatial_layers_cnt_minus_1                                                                  f(2)
     spatial_layer_dimensions_present_flag                                                       f(1)
     spatial_layer_description_present_flag                                                      f(1)
     temporal_group_description_present_flag                                                     f(1)
     scalability_structure_reserved_3bits                                                        f(3)
     if ( spatial_layer_dimensions_present_flag ) {
         for ( i = 0; i <= spatial_layers_cnt_minus_1 ; i++ ) {
             spatial_layer_max_width[ i ]                                                       f(16)
             spatial_layer_max_height[ i ]                                                      f(16)
         }
     }
     if ( spatial_layer_description_present_flag ) {
         for ( i = 0; i <= spatial_layers_cnt_minus_1; i++ )
             spatial_layer_ref_id[ i ]                                                           f(8)
     }
     if ( temporal_group_description_present_flag ) {
         temporal_group_size                                                                     f(8)
         for ( i = 0; i < temporal_group_size; i++ ) {
             temporal_group_temporal_id[ i ]                                                     f(3)
             temporal_group_temporal_switching_up_point_flag[ i ]                                f(1)
             temporal_group_spatial_switching_up_point_flag[ i ]                                 f(1)
             temporal_group_ref_cnt[ i ]                                                         f(3)
             for ( j = 0; j < temporal_group_ref_cnt[ i ]; j++ ) {
                 temporal_group_ref_pic_diff[ i ][ j ]                                           f(8)
             }
         }
     }
 }


5.8.7. Metadata timecode syntax
 metadata_timecode( ) {                                                                         Type
     counting_type                                                                              f(5)
     full_timestamp_flag                                                                        f(1)
     discontinuity_flag                                                                         f(1)
     cnt_dropped_flag                                                                           f(1)
     n_frames                                                                                   f(9)
     if ( full_timestamp_flag ) {
         seconds_value                                                                          f(6)


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         minutes_value                                                                          f(6)
         hours_value                                                                            f(5)
     } else {
         seconds_flag                                                                           f(1)
         if ( seconds_flag ) {
              seconds_value                                                                     f(6)
              minutes_flag                                                                      f(1)
              if ( minutes_flag ) {
                  minutes_value                                                                 f(6)
                  hours_flag                                                                    f(1)
                  if ( hours_flag ) {
                      hours_value                                                               f(5)
                  }
              }
         }
     }
     time_offset_length                                                                         f(5)
     if ( time_offset_length > 0 ) {
         time_offset_value                                                             f(time_offset_length)
     }
 }


5.9. Frame header OBU syntax
5.9.1. General frame header OBU syntax
 frame_header_obu( ) {                                                                           Type
     if ( SeenFrameHeader == 1 ) {
         frame_header_copy()
     } else {
         SeenFrameHeader = 1
         uncompressed_header( )
         if ( show_existing_frame ) {
              decode_frame_wrapup( )
              SeenFrameHeader = 0
         } else {
              TileNum = 0
              SeenFrameHeader = 1
         }
     }
 }


5.9.2. Uncompressed header syntax
 uncompressed_header( ) {                                                                           Type
     if ( frame_id_numbers_present_flag ) {
         idLen = ( additional_frame_id_length_minus_1 +
                   delta_frame_id_length_minus_2 + 3 )
     }



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     allFrames = (1 << NUM_REF_FRAMES) - 1
     if ( reduced_still_picture_header ) {
         show_existing_frame = 0
         frame_type = KEY_FRAME
         FrameIsIntra = 1
         show_frame = 1
         showable_frame = 0
     } else {
         show_existing_frame                                                                        f(1)
         if ( show_existing_frame == 1 ) {
              frame_to_show_map_idx                                                                 f(3)
              if ( decoder_model_info_present_flag && !equal_picture_interval ) {
                   temporal_point_info( )
              }
              refresh_frame_flags = 0
              if ( frame_id_numbers_present_flag ) {
                   display_frame_id                                                               f(idLen)
              }
              frame_type = RefFrameType[ frame_to_show_map_idx ]
              if ( frame_type == KEY_FRAME ) {
                   refresh_frame_flags = allFrames
              }
              if ( film_grain_params_present ) {
                   load_grain_params( frame_to_show_map_idx )
              }
              return
         }
         frame_type                                                                                 f(2)
         FrameIsIntra = (frame_type == INTRA_ONLY_FRAME ||
                           frame_type == KEY_FRAME)
         show_frame                                                                                 f(1)
         if ( show_frame && decoder_model_info_present_flag && !equal_picture_interval ) {
              temporal_point_info( )
         }
         if ( show_frame ) {
              showable_frame = frame_type != KEY_FRAME
         } else {
              showable_frame                                                                        f(1)
         }
         if ( frame_type == SWITCH_FRAME ||
                ( frame_type == KEY_FRAME && show_frame ) )
              error_resilient_mode = 1
         else
              error_resilient_mode                                                                  f(1)
     }
     if ( frame_type == KEY_FRAME && show_frame ) {
         for ( i = 0; i < NUM_REF_FRAMES; i++ ) {
              RefValid[ i ] = 0
              RefOrderHint[ i ] = 0



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          }
          for ( i = 0; i < REFS_PER_FRAME; i++ ) {
              OrderHints[ LAST_FRAME + i ] = 0
          }
     }
     disable_cdf_update                                                                              f(1)
     if ( seq_force_screen_content_tools == SELECT_SCREEN_CONTENT_TOOLS ) {
          allow_screen_content_tools                                                                 f(1)
     } else {
          allow_screen_content_tools = seq_force_screen_content_tools
     }
     if ( allow_screen_content_tools ) {
          if ( seq_force_integer_mv == SELECT_INTEGER_MV ) {
              force_integer_mv                                                                       f(1)
          } else {
              force_integer_mv = seq_force_integer_mv
          }
     } else {
          force_integer_mv = 0
     }
     if ( FrameIsIntra ) {
          force_integer_mv = 1
     }
     if ( frame_id_numbers_present_flag ) {
          PrevFrameID = current_frame_id
          current_frame_id                                                                         f(idLen)
          mark_ref_frames( idLen )
     } else {
          current_frame_id = 0
     }
     if ( frame_type == SWITCH_FRAME )
          frame_size_override_flag = 1
     else if ( reduced_still_picture_header )
          frame_size_override_flag = 0
     else
          frame_size_override_flag                                                                   f(1)
     order_hint                                                                                f(OrderHintBits)
     OrderHint = order_hint
     if ( FrameIsIntra || error_resilient_mode ) {
          primary_ref_frame = PRIMARY_REF_NONE
     } else {
          primary_ref_frame                                                                          f(3)
     }
     if ( decoder_model_info_present_flag ) {
          buffer_removal_time_present_flag                                                           f(1)
          if ( buffer_removal_time_present_flag ) {
              for ( opNum = 0; opNum <= operating_points_cnt_minus_1; opNum++ ) {
                   if ( decoder_model_present_for_this_op[ opNum ] ) {
                       opPtIdc = operating_point_idc[ opNum ]



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                       inTemporalLayer = ( opPtIdc >> temporal_id ) & 1
                       inSpatialLayer = ( opPtIdc >> ( spatial_id + 8 ) ) & 1
                       if ( opPtIdc == 0 || ( inTemporalLayer && inSpatialLayer ) ) {
                           n = buffer_removal_time_length_minus_1 + 1
                           buffer_removal_time[ opNum ]                                               f(n)
                       }
                   }
              }
          }
     }
     allow_high_precision_mv = 0
     use_ref_frame_mvs = 0
     allow_intrabc = 0
     if ( frame_type == SWITCH_FRAME ||
           ( frame_type == KEY_FRAME && show_frame ) ) {
         refresh_frame_flags = allFrames
     } else {
         refresh_frame_flags                                                                          f(8)
     }
     if ( !FrameIsIntra || refresh_frame_flags != allFrames ) {
         if ( error_resilient_mode && enable_order_hint ) {
              for ( i = 0; i < NUM_REF_FRAMES; i++) {
                  ref_order_hint[ i ]                                                           f(OrderHintBits)
                  if ( ref_order_hint[ i ] != RefOrderHint[ i ] ) {
                      RefValid[ i ] = 0
                  }
              }
         }
     }
     if ( FrameIsIntra ) {
         frame_size( )
         render_size( )
         if ( allow_screen_content_tools && UpscaledWidth == FrameWidth ) {
              allow_intrabc                                                                           f(1)
         }
     } else {
         if ( !enable_order_hint ) {
            frame_refs_short_signaling = 0
         } else {
            frame_refs_short_signaling                                                                f(1)
            if ( frame_refs_short_signaling ) {
              last_frame_idx                                                                          f(3)
              gold_frame_idx                                                                          f(3)
              set_frame_refs()
            }
         }
         for ( i = 0; i < REFS_PER_FRAME; i++ ) {
              if ( !frame_refs_short_signaling )
                ref_frame_idx[ i ]                                                                    f(3)



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              if ( frame_id_numbers_present_flag ) {
                  n = delta_frame_id_length_minus_2 + 2
                  delta_frame_id_minus_1                                                              f(n)
                  DeltaFrameId = delta_frame_id_minus_1 + 1
                  expectedFrameId[ i ] = ((current_frame_id + (1 << idLen) -
                                          DeltaFrameId ) % (1 << idLen))
              }
          }
          if ( frame_size_override_flag && !error_resilient_mode ) {
              frame_size_with_refs( )
          } else {
              frame_size( )
              render_size( )
          }
          if ( force_integer_mv ) {
              allow_high_precision_mv = 0
          } else {
              allow_high_precision_mv                                                                 f(1)
          }
          read_interpolation_filter( )
          is_motion_mode_switchable                                                                   f(1)
          if ( error_resilient_mode || !enable_ref_frame_mvs ) {
              use_ref_frame_mvs = 0
          } else {
              use_ref_frame_mvs                                                                       f(1)
          }
          for ( i = 0; i < REFS_PER_FRAME; i++ ) {
              refFrame = LAST_FRAME + i
              hint = RefOrderHint[ ref_frame_idx[ i ] ]
              OrderHints[ refFrame ] = hint
              if ( !enable_order_hint ) {
                   RefFrameSignBias[ refFrame ] = 0
              } else {
                   RefFrameSignBias[ refFrame ] = get_relative_dist( hint, OrderHint) > 0
              }
          }
     }
     if ( reduced_still_picture_header || disable_cdf_update )
          disable_frame_end_update_cdf = 1
     else
          disable_frame_end_update_cdf                                                                f(1)
     if ( primary_ref_frame == PRIMARY_REF_NONE ) {
          init_non_coeff_cdfs( )
          setup_past_independence( )
     } else {
          load_cdfs( ref_frame_idx[ primary_ref_frame ] )
          load_previous( )
     }
     if ( use_ref_frame_mvs == 1 )



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          motion_field_estimation( )
     tile_info( )
     quantization_params( )
     segmentation_params( )
     delta_q_params( )
     delta_lf_params( )
     if ( primary_ref_frame == PRIMARY_REF_NONE ) {
          init_coeff_cdfs( )
     } else {
          load_previous_segment_ids( )
     }
     CodedLossless = 1
     for ( segmentId = 0; segmentId < MAX_SEGMENTS; segmentId++ ) {
          qindex = get_qindex( 1, segmentId )
          LosslessArray[ segmentId ] = qindex == 0 && DeltaQYDc == 0 &&
                                        DeltaQUAc == 0 && DeltaQUDc == 0 &&
                                        DeltaQVAc == 0 && DeltaQVDc == 0
          if ( !LosslessArray[ segmentId ] )
               CodedLossless = 0
          if ( using_qmatrix ) {
               if ( LosslessArray[ segmentId ] ) {
                   SegQMLevel[ 0 ][ segmentId ] = 15
                   SegQMLevel[ 1 ][ segmentId ] = 15
                   SegQMLevel[ 2 ][ segmentId ] = 15
               } else {
                   SegQMLevel[ 0 ][ segmentId ] = qm_y
                   SegQMLevel[ 1 ][ segmentId ] = qm_u
                   SegQMLevel[ 2 ][ segmentId ] = qm_v
               }
          }
     }
     AllLossless = CodedLossless && ( FrameWidth == UpscaledWidth )
     loop_filter_params( )
     cdef_params( )
     lr_params( )
     read_tx_mode( )
     frame_reference_mode( )
     skip_mode_params( )
     if ( FrameIsIntra ||
            error_resilient_mode ||
            !enable_warped_motion )
          allow_warped_motion = 0
     else
          allow_warped_motion                                                                         f(1)
     reduced_tx_set                                                                                   f(1)
     global_motion_params( )
     film_grain_params( )
 }




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5.9.3. Get relative distance function
This function computes the distance between two order hints by sign extending the result of subtracting the values.

 get_relative_dist( a, b ) {                                                                               Type
     if ( !enable_order_hint )
         return 0
     diff = a - b
     m = 1 << (OrderHintBits - 1)
     diff = (diff & (m - 1)) - (diff & m)
     return diff
 }


5.9.4. Reference frame marking function
 mark_ref_frames( idLen ) {                                                                                Type
     diffLen = delta_frame_id_length_minus_2 + 2
     for ( i = 0; i < NUM_REF_FRAMES; i++ ) {
         if ( current_frame_id > ( 1 << diffLen ) ) {
             if ( RefFrameId[ i ] > current_frame_id ||
                   RefFrameId[ i ] < ( current_frame_id - ( 1 << diffLen ) ) )
                  RefValid[ i ] = 0
         } else {
             if ( RefFrameId[ i ] > current_frame_id &&
                   RefFrameId[ i ] < ( ( 1 << idLen ) +
                                       current_frame_id -
                                       ( 1 << diffLen ) ) )
                  RefValid[ i ] = 0
         }
     }
 }


5.9.5. Frame size syntax
 frame_size( ) {                                                                                           Type
     if ( frame_size_override_flag ) {
         n = frame_width_bits_minus_1 + 1
         frame_width_minus_1                                                                               f(n)
         n = frame_height_bits_minus_1 + 1
         frame_height_minus_1                                                                              f(n)
         FrameWidth = frame_width_minus_1 + 1
         FrameHeight = frame_height_minus_1 + 1
     } else {
         FrameWidth = max_frame_width_minus_1 + 1
         FrameHeight = max_frame_height_minus_1 + 1
     }
     superres_params( )
     compute_image_size( )
 }




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5.9.6. Render size syntax
 render_size( ) {                                                                                 Type
     render_and_frame_size_different                                                              f(1)
     if ( render_and_frame_size_different == 1 ) {
         render_width_minus_1                                                                    f(16)
         render_height_minus_1                                                                   f(16)
         RenderWidth = render_width_minus_1 + 1
         RenderHeight = render_height_minus_1 + 1
     } else {
         RenderWidth = UpscaledWidth
         RenderHeight = FrameHeight
     }
 }


5.9.7. Frame size with refs syntax
 frame_size_with_refs( ) {                                                                        Type
     for ( i = 0; i < REFS_PER_FRAME; i++ ) {
         found_ref                                                                                f(1)
         if ( found_ref == 1 ) {
              UpscaledWidth = RefUpscaledWidth[ ref_frame_idx[ i ] ]
              FrameWidth = UpscaledWidth
              FrameHeight = RefFrameHeight[ ref_frame_idx[ i ] ]
              RenderWidth = RefRenderWidth[ ref_frame_idx[ i ] ]
              RenderHeight = RefRenderHeight[ ref_frame_idx[ i ] ]
              break
         }
     }
     if ( found_ref == 0 ) {
         frame_size( )
         render_size( )
     } else {
         superres_params( )
         compute_image_size( )
     }
 }


5.9.8. Superres params syntax
 superres_params() {                                                                             Type
   if ( enable_superres )
     use_superres                                                                                f(1)
   else
     use_superres = 0
   if ( use_superres ) {
     coded_denom                                                                       f(SUPERRES_DENOM_BITS)
     SuperresDenom = coded_denom + SUPERRES_DENOM_MIN
   } else {
     SuperresDenom = SUPERRES_NUM


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     }
     UpscaledWidth = FrameWidth
     FrameWidth = (UpscaledWidth * SUPERRES_NUM +
                   (SuperresDenom / 2)) / SuperresDenom
 }


5.9.9. Compute image size function
 compute_image_size( ) {                                                                           Type
     MiCols = 2 * ( ( FrameWidth + 7 ) >> 3 )
     MiRows = 2 * ( ( FrameHeight + 7 ) >> 3 )
 }


5.9.10. Interpolation filter syntax
 read_interpolation_filter( ) {                                                                    Type
     is_filter_switchable                                                                          f(1)
     if ( is_filter_switchable == 1 ) {
         interpolation_filter = SWITCHABLE
     } else {
         interpolation_filter                                                                      f(2)
     }
 }


5.9.11. Loop filter params syntax
 loop_filter_params( ) {                                                                           Type
     if ( CodedLossless || allow_intrabc ) {
         loop_filter_level[ 0 ] = 0
         loop_filter_level[ 1 ] = 0
         loop_filter_ref_deltas[ INTRA_FRAME ] = 1
         loop_filter_ref_deltas[ LAST_FRAME ] = 0
         loop_filter_ref_deltas[ LAST2_FRAME ] = 0
         loop_filter_ref_deltas[ LAST3_FRAME ] = 0
         loop_filter_ref_deltas[ BWDREF_FRAME ] = 0
         loop_filter_ref_deltas[ GOLDEN_FRAME ] = -1
         loop_filter_ref_deltas[ ALTREF_FRAME ] = -1
         loop_filter_ref_deltas[ ALTREF2_FRAME ] = -1
         for ( i = 0; i < 2; i++ ) {
             loop_filter_mode_deltas[ i ] = 0
         }
         return
     }
     loop_filter_level[ 0 ]                                                                        f(6)
     loop_filter_level[ 1 ]                                                                        f(6)
     if ( NumPlanes > 1 ) {
         if ( loop_filter_level[ 0 ] || loop_filter_level[ 1 ] ) {
             loop_filter_level[ 2 ]                                                                f(6)
             loop_filter_level[ 3 ]                                                                f(6)
         }


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     }
     loop_filter_sharpness                                                                       f(3)
     loop_filter_delta_enabled                                                                   f(1)
     if ( loop_filter_delta_enabled == 1 ) {
         loop_filter_delta_update                                                                f(1)
         if ( loop_filter_delta_update == 1 ) {
             for ( i = 0; i < TOTAL_REFS_PER_FRAME; i++ ) {
                 update_ref_delta                                                                f(1)
                 if ( update_ref_delta == 1 )
                     loop_filter_ref_deltas[ i ]                                               su(1+6)
             }
             for ( i = 0; i < 2; i++ ) {
                 update_mode_delta                                                               f(1)
                 if ( update_mode_delta == 1 )
                     loop_filter_mode_deltas[ i ]                                              su(1+6)
             }
         }
     }
 }


5.9.12. Quantization params syntax
 quantization_params( ) {                                                                        Type
     base_q_idx                                                                                  f(8)
     DeltaQYDc = read_delta_q( )
     if ( NumPlanes > 1 ) {
         if ( separate_uv_delta_q )
           diff_uv_delta                                                                         f(1)
         else
           diff_uv_delta = 0
         DeltaQUDc = read_delta_q( )
         DeltaQUAc = read_delta_q( )
         if ( diff_uv_delta ) {
           DeltaQVDc = read_delta_q( )
           DeltaQVAc = read_delta_q( )
         } else {
           DeltaQVDc = DeltaQUDc
           DeltaQVAc = DeltaQUAc
         }
     } else {
         DeltaQUDc = 0
         DeltaQUAc = 0
         DeltaQVDc = 0
         DeltaQVAc = 0
     }
     using_qmatrix                                                                               f(1)
     if ( using_qmatrix ) {
         qm_y                                                                                    f(4)
         qm_u                                                                                    f(4)



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          if ( !separate_uv_delta_q )
               qm_v = qm_u
          else
               qm_v                                                                               f(4)
     }
 }


5.9.13. Delta quantizer syntax
 read_delta_q( ) {                                                                                Type
     delta_coded                                                                                  f(1)
     if ( delta_coded ) {
         delta_q                                                                                su(1+6)
     } else {
         delta_q = 0
     }
     return delta_q
 }


5.9.14. Segmentation params syntax
 segmentation_params( ) {                                                                         Type
     segmentation_enabled                                                                         f(1)
     if ( segmentation_enabled == 1 ) {
         if ( primary_ref_frame == PRIMARY_REF_NONE ) {
             segmentation_update_map = 1
             segmentation_temporal_update = 0
             segmentation_update_data = 1
         } else {
             segmentation_update_map                                                              f(1)
             if ( segmentation_update_map == 1 )
                  segmentation_temporal_update                                                    f(1)
             segmentation_update_data                                                             f(1)
         }
         if ( segmentation_update_data == 1 ) {
             for ( i = 0; i < MAX_SEGMENTS; i++ ) {
                  for ( j = 0; j < SEG_LVL_MAX; j++ ) {
                      feature_value = 0
                      feature_enabled                                                             f(1)
                      FeatureEnabled[ i ][ j ] = feature_enabled
                      clippedValue = 0
                      if ( feature_enabled == 1 ) {
                          bitsToRead = Segmentation_Feature_Bits[ j ]
                          limit = Segmentation_Feature_Max[ j ]
                          if ( Segmentation_Feature_Signed[ j ] == 1 ) {
                              feature_value                                                 su(1+bitsToRead)
                              clippedValue = Clip3( -limit, limit, feature_value)
                          } else {
                              feature_value                                                  f(bitsToRead)
                              clippedValue = Clip3( 0, limit, feature_value)


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                            }
                        }
                        FeatureData[ i ][ j ] = clippedValue
                    }
               }
           }
       } else {
           for ( i = 0; i < MAX_SEGMENTS; i++ ) {
                for ( j = 0; j < SEG_LVL_MAX; j++ ) {
                    FeatureEnabled[ i ][ j ] = 0
                    FeatureData[ i ][ j ] = 0
                }
           }
       }
       SegIdPreSkip = 0
       LastActiveSegId = 0
       for ( i = 0; i < MAX_SEGMENTS; i++ ) {
           for ( j = 0; j < SEG_LVL_MAX; j++ ) {
                if ( FeatureEnabled[ i ][ j ] ) {
                    LastActiveSegId = i
                    if ( j >= SEG_LVL_REF_FRAME ) {
                        SegIdPreSkip = 1
                    }
                }
           }
       }
 }

The constant lookup tables used in this syntax are defined as:


     Segmentation_Feature_Bits[[ SEG_LVL_MAX ]    = { 8, 6, 6, 6, 6, 3, 0, 0 }
     Segmentation_Feature_Signed[[ SEG_LVL_MAX ] = { 1, 1, 1, 1, 1, 0, 0, 0 }
     Segmentation_Feature_Max[[ SEG_LVL_MAX ] = {
       255
       255,, MAX_LOOP_FILTER,, MAX_LOOP_FILTER,,
       MAX_LOOP_FILTER,, MAX_LOOP_FILTER,, 7,
       0, 0 }



5.9.15. Tile info syntax
 tile_info ( ) {                                                                                          Type
     sbCols = use_128x128_superblock ? ( ( MiCols + 31 ) >> 5 ) : ( ( MiCols + 15 ) >> 4 )
     sbRows = use_128x128_superblock ? ( ( MiRows + 31 ) >> 5 ) : ( ( MiRows + 15 ) >> 4 )
     sbShift = use_128x128_superblock ? 5 : 4
     sbSize = sbShift + 2
     maxTileWidthSb = MAX_TILE_WIDTH >> sbSize
     maxTileAreaSb = MAX_TILE_AREA >> ( 2 * sbSize )
     minLog2TileCols = tile_log2(maxTileWidthSb, sbCols)
     maxLog2TileCols = tile_log2(1, Min(sbCols, MAX_TILE_COLS))



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     maxLog2TileRows = tile_log2(1, Min(sbRows, MAX_TILE_ROWS))
     minLog2Tiles = Max(minLog2TileCols,
                        tile_log2(maxTileAreaSb, sbRows * sbCols))

     uniform_tile_spacing_flag                                                                     f(1)
     if ( uniform_tile_spacing_flag ) {
         TileColsLog2 = minLog2TileCols
         while ( TileColsLog2 < maxLog2TileCols ) {
             increment_tile_cols_log2                                                              f(1)
             if ( increment_tile_cols_log2 == 1 )
                  TileColsLog2++
             else
                  break
         }
         tileWidthSb = (sbCols + (1 << TileColsLog2) - 1) >> TileColsLog2
         i = 0
         for ( startSb = 0; startSb < sbCols; startSb += tileWidthSb ) {
           MiColStarts[ i ] = startSb << sbShift
           i += 1
         }
         MiColStarts[i] = MiCols
         TileCols = i

         minLog2TileRows = Max( minLog2Tiles - TileColsLog2, 0)
         TileRowsLog2 = minLog2TileRows
         while ( TileRowsLog2 < maxLog2TileRows ) {
              increment_tile_rows_log2                                                             f(1)
              if ( increment_tile_rows_log2 == 1 )
                   TileRowsLog2++
              else
                   break
         }
         tileHeightSb = (sbRows + (1 << TileRowsLog2) - 1) >> TileRowsLog2
         i = 0
         for ( startSb = 0; startSb < sbRows; startSb += tileHeightSb ) {
           MiRowStarts[ i ] = startSb << sbShift
           i += 1
         }
         MiRowStarts[i] = MiRows
         TileRows = i
     } else {
         widestTileSb = 0
         startSb = 0
         for ( i = 0; startSb < sbCols; i++ ) {
              MiColStarts[ i ] = startSb << sbShift
              maxWidth = Min(sbCols - startSb, maxTileWidthSb)
              width_in_sbs_minus_1                                                             ns(maxWidth)
              sizeSb = width_in_sbs_minus_1 + 1
              widestTileSb = Max( sizeSb, widestTileSb )



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              startSb += sizeSb
          }
          MiColStarts[i] = MiCols
          TileCols = i
          TileColsLog2 = tile_log2(1, TileCols)

          if ( minLog2Tiles > 0 )
               maxTileAreaSb = (sbRows * sbCols) >> (minLog2Tiles + 1)
          else
               maxTileAreaSb = sbRows * sbCols
          maxTileHeightSb = Max( maxTileAreaSb / widestTileSb, 1 )

          startSb = 0
          for ( i = 0; startSb < sbRows; i++ ) {
              MiRowStarts[ i ] = startSb << sbShift
              maxHeight = Min(sbRows - startSb, maxTileHeightSb)
              height_in_sbs_minus_1                                                                       ns(maxHeight)
              sizeSb = height_in_sbs_minus_1 + 1
              startSb += sizeSb
          }
          MiRowStarts[ i ] = MiRows
          TileRows = i
          TileRowsLog2 = tile_log2(1, TileRows)
      }
      if ( TileColsLog2 > 0 || TileRowsLog2 > 0 ) {
                                                                                                         f(TileRowsLog2
          context_update_tile_id                                                                                 +
                                                                                                          TileColsLog2)
          tile_size_bytes_minus_1                                                                              f(2)
          TileSizeBytes = tile_size_bytes_minus_1 + 1
      } else {
          context_update_tile_id = 0
      }
 }


5.9.16. Tile size calculation function
tile_log2 returns the smallest value for k such that blkSize << k is greater than or equal to target.

 tile_log2( blkSize, target ) {                                                                             Type
   for ( k = 0; (blkSize << k) < target; k++ ) {
   }
   return k
 }


5.9.17. Quantizer index delta parameters syntax
 delta_q_params( ) {                                                                                        Type
     delta_q_res = 0
     delta_q_present = 0


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     if ( base_q_idx > 0 ) {
         delta_q_present                                                                            f(1)
     }
     if ( delta_q_present ) {
         delta_q_res                                                                                f(2)
     }
 }


5.9.18. Loop filter delta parameters syntax
 delta_lf_params( ) {                                                                               Type
     delta_lf_present = 0
     delta_lf_res = 0
     delta_lf_multi = 0
     if ( delta_q_present ) {
         if ( !allow_intrabc )
             delta_lf_present                                                                       f(1)
         if ( delta_lf_present ) {
             delta_lf_res                                                                           f(2)
             delta_lf_multi                                                                         f(1)
         }
     }
 }


5.9.19. CDEF params syntax
 cdef_params( ) {                                                                                   Type
     if ( CodedLossless || allow_intrabc ||
          !enable_cdef) {
         cdef_bits = 0
         cdef_y_pri_strength[0] = 0
         cdef_y_sec_strength[0] = 0
         cdef_uv_pri_strength[0] = 0
         cdef_uv_sec_strength[0] = 0
         CdefDamping = 3
         return
     }
     cdef_damping_minus_3                                                                           f(2)
     CdefDamping = cdef_damping_minus_3 + 3
     cdef_bits                                                                                      f(2)
     for ( i = 0; i < (1 << cdef_bits); i++ ) {
         cdef_y_pri_strength[i]                                                                     f(4)
         cdef_y_sec_strength[i]                                                                     f(2)
         if ( cdef_y_sec_strength[i] == 3 )
             cdef_y_sec_strength[i] += 1
         if ( NumPlanes > 1 ) {
             cdef_uv_pri_strength[i]                                                                f(4)
             cdef_uv_sec_strength[i]                                                                f(2)
             if ( cdef_uv_sec_strength[i] == 3 )
                  cdef_uv_sec_strength[i] += 1


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          }
     }
 }


5.9.20. Loop restoration params syntax
 lr_params( ) {                                                                                      Type
     if ( AllLossless || allow_intrabc ||
           !enable_restoration ) {
         FrameRestorationType[0] = RESTORE_NONE
         FrameRestorationType[1] = RESTORE_NONE
         FrameRestorationType[2] = RESTORE_NONE
         UsesLr = 0
         return
     }
     UsesLr = 0
     usesChromaLr = 0
     for ( i = 0; i < NumPlanes; i++ ) {
         lr_type                                                                                     f(2)
         FrameRestorationType[i] = Remap_Lr_Type[lr_type]
         if ( FrameRestorationType[i] != RESTORE_NONE ) {
              UsesLr = 1
              if ( i > 0 ) {
                  usesChromaLr = 1
              }
         }
     }
     if ( UsesLr ) {
         if ( use_128x128_superblock ) {
              lr_unit_shift                                                                          f(1)
              lr_unit_shift++
         } else {
              lr_unit_shift                                                                          f(1)
              if ( lr_unit_shift ) {
                  lr_unit_extra_shift                                                                f(1)
                  lr_unit_shift += lr_unit_extra_shift
              }
         }
         LoopRestorationSize[ 0 ] = RESTORATION_TILESIZE_MAX >> (2 - lr_unit_shift)
         if ( subsampling_x && subsampling_y && usesChromaLr ) {
              lr_uv_shift                                                                            f(1)
         } else {
              lr_uv_shift = 0
         }
         LoopRestorationSize[ 1 ] = LoopRestorationSize[ 0 ] >> lr_uv_shift
         LoopRestorationSize[ 2 ] = LoopRestorationSize[ 0 ] >> lr_uv_shift
     }
 }

where Remap_Lr_Type is a constant lookup table specified as:


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  Remap_Lr_Type[[4] = {
    RESTORE_NONE,, RESTORE_SWITCHABLE,, RESTORE_WIENER,, RESTORE_SGRPROJ
  }



5.9.21. TX mode syntax
 read_tx_mode( ) {                                                                                 Type
     if ( CodedLossless == 1 ) {
         TxMode = ONLY_4X4
     } else {
         tx_mode_select                                                                            f(1)
         if ( tx_mode_select ) {
              TxMode = TX_MODE_SELECT
         } else {
              TxMode = TX_MODE_LARGEST
         }
     }
 }


5.9.22. Skip mode params syntax
 skip_mode_params( ) {                                                                             Type
     if ( FrameIsIntra || !reference_select || !enable_order_hint ) {
         skipModeAllowed = 0
     } else {
         forwardIdx = -1
         backwardIdx = -1
         for ( i = 0; i < REFS_PER_FRAME; i++ ) {
              refHint = RefOrderHint[ ref_frame_idx[ i ] ]
              if ( get_relative_dist( refHint, OrderHint ) < 0 ) {
                  if ( forwardIdx < 0 ||
                       get_relative_dist( refHint, forwardHint) > 0 ) {
                      forwardIdx = i
                      forwardHint = refHint
                  }
              } else if ( get_relative_dist( refHint, OrderHint) > 0 ) {
                  if ( backwardIdx < 0 ||
                       get_relative_dist( refHint, backwardHint) < 0 ) {
                      backwardIdx = i
                      backwardHint = refHint
                  }
              }
         }
         if ( forwardIdx < 0 ) {
              skipModeAllowed = 0
         } else if ( backwardIdx >= 0 ) {
              skipModeAllowed = 1
              SkipModeFrame[ 0 ] = LAST_FRAME + Min(forwardIdx, backwardIdx)


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              SkipModeFrame[ 1 ] = LAST_FRAME + Max(forwardIdx, backwardIdx)
          } else {
              secondForwardIdx = -1
              for ( i = 0; i < REFS_PER_FRAME; i++ ) {
                   refHint = RefOrderHint[ ref_frame_idx[ i ] ]
                   if ( get_relative_dist( refHint, forwardHint ) < 0 ) {
                       if ( secondForwardIdx < 0 ||
                            get_relative_dist( refHint, secondForwardHint ) > 0 ) {
                           secondForwardIdx = i
                           secondForwardHint = refHint
                       }
                   }
              }
              if ( secondForwardIdx < 0 ) {
                   skipModeAllowed = 0
              } else {
                   skipModeAllowed = 1
                   SkipModeFrame[ 0 ] = LAST_FRAME + Min(forwardIdx, secondForwardIdx)
                   SkipModeFrame[ 1 ] = LAST_FRAME + Max(forwardIdx, secondForwardIdx)
              }
          }
     }
     if ( skipModeAllowed ) {
         skip_mode_present                                                                         f(1)
     } else {
         skip_mode_present = 0
     }
 }


5.9.23. Frame reference mode syntax
 frame_reference_mode( ) {                                                                         Type
     if ( FrameIsIntra ) {
         reference_select = 0
     } else {
         reference_select                                                                          f(1)
     }
 }


5.9.24. Global motion params syntax
 global_motion_params( ) {                                                                         Type
     for ( ref = LAST_FRAME; ref <= ALTREF_FRAME; ref++ ) {
         GmType[ ref ] = IDENTITY
         for ( i = 0; i < 6; i++ ) {
             gm_params[ ref ][ i ] = ( ( i % 3 == 2 ) ?
                       1 << WARPEDMODEL_PREC_BITS : 0 )
         }
     }
     if ( FrameIsIntra )


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         return
     for ( ref = LAST_FRAME; ref <= ALTREF_FRAME; ref++ ) {
         is_global                                                                                f(1)
         if ( is_global ) {
             is_rot_zoom                                                                          f(1)
             if ( is_rot_zoom ) {
                  type = ROTZOOM
             } else {
                  is_translation                                                                  f(1)
                  type = is_translation ? TRANSLATION : AFFINE
             }
         } else {
             type = IDENTITY
         }
         GmType[ref] = type

          if ( type >= ROTZOOM ) {
              read_global_param(type,ref,2)
              read_global_param(type,ref,3)
              if ( type == AFFINE ) {
                  read_global_param(type,ref,4)
                  read_global_param(type,ref,5)
              } else {
                  gm_params[ref][4] = -gm_params[ref][3]
                  gm_params[ref][5] = gm_params[ref][2]
              }
          }
          if ( type >= TRANSLATION ) {
              read_global_param(type,ref,0)
              read_global_param(type,ref,1)
          }
     }
 }


5.9.25. Global param syntax
 read_global_param( type, ref, idx ) {                                                            Type
     absBits = GM_ABS_ALPHA_BITS
     precBits = GM_ALPHA_PREC_BITS
     if ( idx < 2 ) {
         if ( type == TRANSLATION ) {
             absBits = GM_ABS_TRANS_ONLY_BITS - !allow_high_precision_mv
             precBits = GM_TRANS_ONLY_PREC_BITS - !allow_high_precision_mv
         } else {
             absBits = GM_ABS_TRANS_BITS
             precBits = GM_TRANS_PREC_BITS
         }
     }
     precDiff = WARPEDMODEL_PREC_BITS - precBits



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       round = (idx % 3) == 2 ? (1 << WARPEDMODEL_PREC_BITS) : 0
       sub = (idx % 3) == 2 ? (1 << precBits) : 0
       mx = (1 << absBits)
       r = (PrevGmParams[ref][idx] >> precDiff) - sub
       gm_params[ref][idx] =
           (decode_signed_subexp_with_ref( -mx, mx + 1, r )<< precDiff) + round
 }


     Note: When force_integer_mv is equal to 1, some fractional bits are still read for the translation components.
     However, these fractional bits will be discarded during the Setup Global MV process.



5.9.26. Decode signed subexp with ref syntax
 decode_signed_subexp_with_ref( low, high, r ) {                                                              Type
     x = decode_unsigned_subexp_with_ref(high - low, r - low)
     return x + low
 }


     Note: decode_signed_subexp_with_ref will return a value in the range low to high - 1 (inclusive).



5.9.27. Decode unsigned subexp with ref syntax
 decode_unsigned_subexp_with_ref( mx, r ) {                                                                   Type
     v = decode_subexp( mx )
     if ( (r << 1) <= mx ) {
         return inverse_recenter(r, v)
     } else {
         return mx - 1 - inverse_recenter(mx - 1 - r, v)
     }
 }


     Note: decode_unsigned_subexp_with_ref will return a value in the range 0 to mx - 1 (inclusive).



5.9.28. Decode subexp syntax
 decode_subexp( numSyms ) {                                                                                   Type
     i = 0
     mk = 0
     k = 3
     while ( 1 ) {
         b2 = i ? k + i - 1 : k
         a = 1 << b2
         if ( numSyms <= mk + 3 * a ) {
             subexp_final_bits                                                                           ns(numSyms - mk)
             return subexp_final_bits + mk
         } else {


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              subexp_more_bits                                                                    f(1)
              if ( subexp_more_bits ) {
                 i++
                 mk += a
              } else {
                 subexp_bits                                                                     f(b2)
                 return subexp_bits + mk
              }
          }
     }
 }


5.9.29. Inverse recenter function
 inverse_recenter( r, v ) {                                                                       Type
   if ( v > 2 * r )
     return v
   else if ( v & 1 )
     return r - ((v + 1) >> 1)
   else
     return r + (v >> 1)
 }


5.9.30. Film grain params syntax
 film_grain_params( ) {                                                                           Type
     if ( !film_grain_params_present ||
           (!show_frame && !showable_frame) ) {
          reset_grain_params()
          return
     }
     apply_grain                                                                                  f(1)
     if ( !apply_grain ) {
          reset_grain_params()
          return
     }
     grain_seed                                                                                  f(16)
     if ( frame_type == INTER_FRAME )
          update_grain                                                                            f(1)
     else
          update_grain = 1
     if ( !update_grain ) {
          film_grain_params_ref_idx                                                               f(3)
          tempGrainSeed = grain_seed
          load_grain_params( film_grain_params_ref_idx )
          grain_seed = tempGrainSeed
          return
     }
     num_y_points                                                                                 f(4)
     for ( i = 0; i < num_y_points; i++ ) {


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          point_y_value[ i ]                                                                     f(8)
          point_y_scaling[ i ]                                                                   f(8)
     }
     if ( mono_chrome ) {
         chroma_scaling_from_luma = 0
     } else {
         chroma_scaling_from_luma                                                                f(1)
     }
     if ( mono_chrome || chroma_scaling_from_luma ||
           ( subsampling_x == 1 && subsampling_y == 1 &&
             num_y_points == 0 )
        ) {
         num_cb_points = 0
         num_cr_points = 0
     } else {
         num_cb_points                                                                           f(4)
         for ( i = 0; i < num_cb_points; i++ ) {
              point_cb_value[ i ]                                                                f(8)
              point_cb_scaling[ i ]                                                              f(8)
         }
         num_cr_points                                                                           f(4)
         for ( i = 0; i < num_cr_points; i++ ) {
              point_cr_value[ i ]                                                                f(8)
              point_cr_scaling[ i ]                                                              f(8)
         }
     }
     grain_scaling_minus_8                                                                       f(2)
     ar_coeff_lag                                                                                f(2)
     numPosLuma = 2 * ar_coeff_lag * ( ar_coeff_lag + 1 )
     if ( num_y_points ) {
         numPosChroma = numPosLuma + 1
         for ( i = 0; i < numPosLuma; i++ )
              ar_coeffs_y_plus_128[ i ]                                                          f(8)
     } else {
         numPosChroma = numPosLuma
     }
     if ( chroma_scaling_from_luma || num_cb_points ) {
         for ( i = 0; i < numPosChroma; i++ )
              ar_coeffs_cb_plus_128[ i ]                                                         f(8)
     }
     if ( chroma_scaling_from_luma || num_cr_points ) {
         for ( i = 0; i < numPosChroma; i++ )
              ar_coeffs_cr_plus_128[ i ]                                                         f(8)
     }
     ar_coeff_shift_minus_6                                                                      f(2)
     grain_scale_shift                                                                           f(2)
     if ( num_cb_points ) {
         cb_mult                                                                                 f(8)
         cb_luma_mult                                                                            f(8)



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         cb_offset                                                                                  f(9)
     }
     if ( num_cr_points ) {
         cr_mult                                                                                    f(8)
         cr_luma_mult                                                                               f(8)
         cr_offset                                                                                  f(9)
     }
     overlap_flag                                                                                   f(1)
     clip_to_restricted_range                                                                       f(1)
 }


5.9.31. Temporal point info syntax
 temporal_point_info( ) {                                                                           Type
     n = frame_presentation_time_length_minus_1 + 1
     frame_presentation_time                                                                        f(n)
 }


5.10. Frame OBU syntax
 frame_obu( sz ) {                                                                                  Type
     startBitPos = get_position( )
     frame_header_obu( )
     byte_alignment( )
     endBitPos = get_position( )
     headerBytes = (endBitPos - startBitPos) / 8
     sz -= headerBytes
     tile_group_obu( sz )
 }


5.11. Tile group OBU syntax
5.11.1. General tile group OBU syntax
 tile_group_obu( sz ) {                                                                             Type
     NumTiles = TileCols * TileRows
     startBitPos = get_position( )
     tile_start_and_end_present_flag = 0
     if ( NumTiles > 1 )
         tile_start_and_end_present_flag                                                            f(1)
     if ( NumTiles == 1 || !tile_start_and_end_present_flag ) {
         tg_start = 0
         tg_end = NumTiles - 1
     } else {
         tileBits = TileColsLog2 + TileRowsLog2
         tg_start                                                                               f(tileBits)
         tg_end                                                                                 f(tileBits)
     }
     byte_alignment( )



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     endBitPos = get_position( )
     headerBytes = (endBitPos - startBitPos) / 8
     sz -= headerBytes

     for ( TileNum = tg_start; TileNum <= tg_end; TileNum++ ) {
         tileRow = TileNum / TileCols
         tileCol = TileNum % TileCols
         lastTile = TileNum == tg_end
         if ( lastTile ) {
             tileSize = sz
         } else {
             tile_size_minus_1                                                               le(TileSizeBytes)
             tileSize = tile_size_minus_1 + 1
             sz -= tileSize + TileSizeBytes
         }
         MiRowStart = MiRowStarts[ tileRow ]
         MiRowEnd = MiRowStarts[ tileRow + 1 ]
         MiColStart = MiColStarts[ tileCol ]
         MiColEnd = MiColStarts[ tileCol + 1 ]
         CurrentQIndex = base_q_idx
         init_symbol( tileSize )
         decode_tile( )
         exit_symbol( )
     }
     if ( tg_end == NumTiles - 1 ) {
         if ( !disable_frame_end_update_cdf ) {
             frame_end_update_cdf( )
         }
         decode_frame_wrapup( )
         SeenFrameHeader = 0
     }
 }


5.11.2. Decode tile syntax
 decode_tile( ) {                                                                                   Type
     clear_above_context( )
     for ( i = 0; i < FRAME_LF_COUNT; i++ )
         DeltaLF[ i ] = 0
     for ( plane = 0; plane < NumPlanes; plane++ ) {
         for ( pass = 0; pass < 2; pass++ ) {
             RefSgrXqd[ plane ][ pass ] = Sgrproj_Xqd_Mid[ pass ]
             for ( i = 0; i < WIENER_COEFFS; i++ ) {
                  RefLrWiener[ plane ][ pass ][ i ] = Wiener_Taps_Mid[ i ]
             }
         }
     }
     sbSize = use_128x128_superblock ? BLOCK_128X128 : BLOCK_64X64
     sbSize4 = Num_4x4_Blocks_Wide[ sbSize ]



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       for ( r = MiRowStart; r < MiRowEnd; r += sbSize4 ) {
           clear_left_context( )
           for ( c = MiColStart; c < MiColEnd; c += sbSize4 ) {
               ReadDeltas = delta_q_present
               clear_cdef( r, c )
               clear_block_decoded_flags( r, c, sbSize4 )
               read_lr( r, c, sbSize )
               decode_partition( r, c, sbSize )
           }
       }
 }

where Sgrproj_Xqd_Mid and Wiener_Taps_Mid are constant lookup tables specified as:


     Wiener_Taps_Mid[[3] = { 3, -7, 15 }

     Sgrproj_Xqd_Mid[[2] = { -32
                              32,, 31 }



5.11.3. Clear block decoded flags function
 clear_block_decoded_flags( r, c, sbSize4 ) {                                                       Type
     for ( plane = 0; plane < NumPlanes; plane++ ) {
         subX = (plane > 0) ? subsampling_x : 0
         subY = (plane > 0) ? subsampling_y : 0
         sbWidth4 = ( MiColEnd - c ) >> subX
         sbHeight4 = ( MiRowEnd - r ) >> subY
         for ( y = -1; y <= ( sbSize4 >> subY ); y++ )
             for ( x = -1; x <= ( sbSize4 >> subX ); x++ ) {
                 if ( y < 0 && x < sbWidth4 )
                      BlockDecoded[ plane ][ y ][ x ] = 1
                 else if ( x < 0 && y < sbHeight4 )
                      BlockDecoded[ plane ][ y ][ x ] = 1
                 else
                      BlockDecoded[ plane ][ y ][ x ] = 0
             }
         BlockDecoded[ plane ][ sbSize4 >> subY ][ -1 ] = 0
     }
 }


5.11.4. Decode partition syntax
 decode_partition( r, c, bSize ) {                                                                  Type
     if ( r >= MiRows || c >= MiCols )
         return 0
     AvailU = is_inside( r - 1, c )
     AvailL = is_inside( r, c - 1 )
     num4x4 = Num_4x4_Blocks_Wide[ bSize ]
     halfBlock4x4 = num4x4 >> 1



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     quarterBlock4x4 = halfBlock4x4 >> 1
     hasRows = ( r + halfBlock4x4 ) < MiRows
     hasCols = ( c + halfBlock4x4 ) < MiCols
     if ( bSize < BLOCK_8X8 ) {
         partition = PARTITION_NONE
     } else if ( hasRows && hasCols ) {
         partition                                                                               S()
     } else if ( hasCols ) {
         split_or_horz                                                                           S()
         partition = split_or_horz ? PARTITION_SPLIT : PARTITION_HORZ
     } else if ( hasRows ) {
         split_or_vert                                                                           S()
         partition = split_or_vert ? PARTITION_SPLIT : PARTITION_VERT
     } else {
         partition = PARTITION_SPLIT
     }
     subSize = Partition_Subsize[ partition ][ bSize ]
     splitSize = Partition_Subsize[ PARTITION_SPLIT ][ bSize ]
     if ( partition == PARTITION_NONE ) {
         decode_block( r, c, subSize )
     } else if ( partition == PARTITION_HORZ ) {
         decode_block( r, c, subSize )
         if ( hasRows )
              decode_block( r + halfBlock4x4, c, subSize )
     } else if ( partition == PARTITION_VERT ) {
         decode_block( r, c, subSize )
         if ( hasCols )
              decode_block( r, c + halfBlock4x4, subSize )
     } else if ( partition == PARTITION_SPLIT ) {
         decode_partition( r, c, subSize )
         decode_partition( r, c + halfBlock4x4, subSize )
         decode_partition( r + halfBlock4x4, c, subSize )
         decode_partition( r + halfBlock4x4, c + halfBlock4x4, subSize )
     } else if ( partition == PARTITION_HORZ_A ) {
         decode_block( r, c, splitSize )
         decode_block( r, c + halfBlock4x4, splitSize )
         decode_block( r + halfBlock4x4, c, subSize )
     } else if ( partition == PARTITION_HORZ_B ) {
         decode_block( r, c, subSize )
         decode_block( r + halfBlock4x4, c, splitSize )
         decode_block( r + halfBlock4x4, c + halfBlock4x4, splitSize )
     } else if ( partition == PARTITION_VERT_A ) {
         decode_block( r, c, splitSize )
         decode_block( r + halfBlock4x4, c, splitSize )
         decode_block( r, c + halfBlock4x4, subSize )
     } else if ( partition == PARTITION_VERT_B ) {
         decode_block( r, c, subSize )
         decode_block( r, c + halfBlock4x4, splitSize )
         decode_block( r + halfBlock4x4, c + halfBlock4x4, splitSize )



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     } else if ( partition == PARTITION_HORZ_4 ) {
         decode_block( r + quarterBlock4x4 * 0, c, subSize )
         decode_block( r + quarterBlock4x4 * 1, c, subSize )
         decode_block( r + quarterBlock4x4 * 2, c, subSize )
         if ( r + quarterBlock4x4 * 3 < MiRows )
              decode_block( r + quarterBlock4x4 * 3, c, subSize )
     } else {
         decode_block( r, c + quarterBlock4x4 * 0, subSize )
         decode_block( r, c + quarterBlock4x4 * 1, subSize )
         decode_block( r, c + quarterBlock4x4 * 2, subSize )
         if ( c + quarterBlock4x4 * 3 < MiCols )
              decode_block( r, c + quarterBlock4x4 * 3, subSize )
     }
 }


5.11.5. Decode block syntax
 decode_block( r, c, subSize ) {                                                                    Type
     MiRow = r
     MiCol = c
     MiSize = subSize
     bw4 = Num_4x4_Blocks_Wide[ subSize ]
     bh4 = Num_4x4_Blocks_High[ subSize ]
     if ( bh4 == 1 && subsampling_y && (MiRow & 1) == 0 )
          HasChroma = 0
     else if ( bw4 == 1 && subsampling_x && (MiCol & 1) == 0 )
          HasChroma = 0
     else
          HasChroma = NumPlanes > 1
     AvailU = is_inside( r - 1, c )
     AvailL = is_inside( r, c - 1 )
     AvailUChroma = AvailU
     AvailLChroma = AvailL
     if ( HasChroma ) {
          if ( subsampling_y && bh4 == 1 )
              AvailUChroma = is_inside( r - 2, c )
          if ( subsampling_x && bw4 == 1 )
              AvailLChroma = is_inside( r, c - 2 )
     } else {
          AvailUChroma = 0
          AvailLChroma = 0
     }
     mode_info( )
     palette_tokens( )
     read_block_tx_size( )

     if ( skip )
         reset_block_context( bw4, bh4 )
     isCompound = RefFrame[ 1 ] > INTRA_FRAME



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     for ( y = 0; y < bh4; y++ ) {
         for ( x = 0; x < bw4; x++ ) {
             YModes [ r + y ][ c + x ] = YMode
             if ( RefFrame[ 0 ] == INTRA_FRAME && HasChroma )
                 UVModes [ r + y ][ c + x ] = UVMode
             for ( refList = 0; refList < 2; refList++ )
                 RefFrames[ r + y ][ c + x ][ refList ] = RefFrame[ refList ]
             if ( is_inter ) {
                 if ( !use_intrabc ) {
                   CompGroupIdxs[ r + y ][ c + x ] = comp_group_idx
                   CompoundIdxs[ r + y ][ c + x ] = compound_idx
                 }
                 for ( dir = 0; dir < 2; dir++ ) {
                     InterpFilters[ r + y ][ c + x ][ dir ] = interp_filter[ dir ]
                 }
                 for ( refList = 0; refList < 1 + isCompound; refList++ ) {
                     Mvs[ r + y ][ c + x ][ refList ] = Mv[ refList ]
                 }
             }
         }
     }
     compute_prediction( )
     residual( )
     for ( y = 0; y < bh4; y++ ) {
         for ( x = 0; x < bw4; x++ ) {
             IsInters[ r + y ][ c + x ] = is_inter
             SkipModes[ r + y ][ c + x ] = skip_mode
             Skips[ r + y ][ c + x ] = skip
             TxSizes[ r + y ][ c + x ] = TxSize
             MiSizes[ r + y ][ c + x ] = MiSize
             SegmentIds[ r + y ][ c + x ] = segment_id
             PaletteSizes[ 0 ][ r + y ][ c + x ] = PaletteSizeY
             PaletteSizes[ 1 ][ r + y ][ c + x ] = PaletteSizeUV
             for ( i = 0; i < PaletteSizeY; i++ )
                 PaletteColors[ 0 ][ r + y ][ c + x ][ i ] = palette_colors_y[ i ]
             for ( i = 0; i < PaletteSizeUV; i++ )
                 PaletteColors[ 1 ][ r + y ][ c + x ][ i ] = palette_colors_u[ i ]
             for ( i = 0; i < FRAME_LF_COUNT; i++ )
                 DeltaLFs[ r + y ][ c + x ][ i ] = DeltaLF[ i ]
         }
     }
 }

where reset_block_context( ) is specified as:




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  reset_block_context(( bw4,, bh4 ) {
      for ( plane = 0; plane < 1 + 2 * HasChroma;; plane++
                                                        ++ ) {
          subX = (plane > 0) ? subsampling_x : 0
          subY = (plane > 0) ? subsampling_y : 0
          for ( i = MiCol >> subX;; i < ( ( MiCol + bw4 ) >> subX ); i++
                                                                      ++)) {
              AboveLevelContext[[ plane ][ i ] = 0
              AboveDcContext[[ plane ][ i ] = 0
          }
          for ( i = MiRow >> subY;; i < ( ( MiRow + bh4 ) >> subY ); i++
                                                                      ++)) {
              LeftLevelContext[[ plane ][ i ] = 0
              LeftDcContext[[ plane ][ i ] = 0
          }
      }
  }



5.11.6. Mode info syntax
 mode_info( ) {                                                                                   Type
     if ( FrameIsIntra )
          intra_frame_mode_info( )
     else
          inter_frame_mode_info( )
 }


5.11.7. Intra frame mode info syntax
 intra_frame_mode_info( ) {                                                                       Type
     skip = 0
     if ( SegIdPreSkip )
         intra_segment_id( )
     skip_mode = 0
     read_skip( )
     if ( !SegIdPreSkip )
         intra_segment_id( )
     read_cdef( )
     read_delta_qindex( )
     read_delta_lf( )
     ReadDeltas = 0
     RefFrame[ 0 ] = INTRA_FRAME
     RefFrame[ 1 ] = NONE
     if ( allow_intrabc ) {
         use_intrabc                                                                              S()
     } else {
         use_intrabc = 0
     }
     if ( use_intrabc ) {
         is_inter = 1
         YMode = DC_PRED



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         UVMode = DC_PRED
         motion_mode = SIMPLE
         compound_type = COMPOUND_AVERAGE
         PaletteSizeY = 0
         PaletteSizeUV = 0
         interp_filter[ 0 ] = BILINEAR
         interp_filter[ 1 ] = BILINEAR
         find_mv_stack( 0 )
         assign_mv( 0 )
     } else {
         is_inter = 0
         intra_frame_y_mode                                                                        S()
         YMode = intra_frame_y_mode
         intra_angle_info_y( )
         if ( HasChroma ) {
              uv_mode                                                                              S()
              UVMode = uv_mode
              if ( UVMode == UV_CFL_PRED ) {
                   read_cfl_alphas( )
              }
              intra_angle_info_uv( )
         }
         PaletteSizeY = 0
         PaletteSizeUV = 0
         if ( MiSize >= BLOCK_8X8 &&
                Block_Width[ MiSize ] <= 64 &&
                Block_Height[ MiSize ] <= 64 &&
                allow_screen_content_tools ) {
              palette_mode_info( )
         }
         filter_intra_mode_info( )
     }
 }


5.11.8. Intra segment ID syntax
 intra_segment_id( ) {                                                                             Type
     if ( segmentation_enabled )
          read_segment_id( )
     else
          segment_id = 0
     Lossless = LosslessArray[ segment_id ]
 }


5.11.9. Read segment ID syntax
 read_segment_id( ) {                                                                              Type
     if ( AvailU && AvailL )
          prevUL = SegmentIds[ MiRow - 1 ][ MiCol - 1 ]
     else


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            prevUL = -1
       if ( AvailU )
            prevU = SegmentIds[ MiRow - 1 ][ MiCol ]
       else
            prevU = -1
       if ( AvailL )
            prevL = SegmentIds[ MiRow ][ MiCol - 1 ]
       else
            prevL = -1
       if ( prevU == -1 )
            pred = (prevL == -1) ? 0 : prevL
       else if ( prevL == -1 )
            pred = prevU
       else
            pred = (prevUL == prevU) ? prevU : prevL
       if ( skip ) {
            segment_id = pred
       } else {
            segment_id                                                                              S()
            segment_id = neg_deinterleave( segment_id, pred,
                                           LastActiveSegId + 1 )
       }
 }

where neg_deinterleave is a function defined as:


     neg_deinterleave((diff,, ref,, max)) {
       if ( !ref )
         return diff
       if ( ref >= (max - 1) )
         return max - diff - 1
       if ( 2 * ref < max ) {
         if ( diff <= 2 * ref ) {
           if ( diff & 1 )
             return ref + ((((diff + 1) >> 1)
           else
             return ref - (diff >> 1)
         }
         return diff
       } else {
         if ( diff <= 2 * (max - ref - 1) ) {
           if ( diff & 1 )
             return ref + ((((diff + 1) >> 1)
           else
             return ref - (diff >> 1)
         }
         return max - (diff + 1)
       }
     }




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5.11.10. Skip mode syntax
 read_skip_mode() {                                                                                Type
     if ( seg_feature_active( SEG_LVL_SKIP ) ||
          seg_feature_active( SEG_LVL_REF_FRAME ) ||
          seg_feature_active( SEG_LVL_GLOBALMV ) ||
          !skip_mode_present ||
          Block_Width[ MiSize ] < 8 ||
          Block_Height[ MiSize ] < 8 ) {
         skip_mode = 0
     } else {
         skip_mode                                                                                 S()
     }
 }


5.11.11. Skip syntax
 read_skip() {                                                                                     Type
     if ( SegIdPreSkip && seg_feature_active( SEG_LVL_SKIP ) ) {
         skip = 1
     } else {
         skip                                                                                      S()
     }
 }


5.11.12. Quantizer index delta syntax
 read_delta_qindex( ) {                                                                            Type
     sbSize = use_128x128_superblock ? BLOCK_128X128 : BLOCK_64X64
     if ( MiSize == sbSize && skip )
         return
     if ( ReadDeltas ) {
         delta_q_abs                                                                               S()
         if ( delta_q_abs == DELTA_Q_SMALL ) {
             delta_q_rem_bits                                                                      L(3)
             delta_q_rem_bits++
             delta_q_abs_bits                                                              L(delta_q_rem_bits)
             delta_q_abs = delta_q_abs_bits + (1 << delta_q_rem_bits) + 1
         }
         if ( delta_q_abs ) {
             delta_q_sign_bit                                                                      L(1)
             reducedDeltaQIndex = delta_q_sign_bit ? -delta_q_abs : delta_q_abs
             CurrentQIndex = Clip3(1, 255,
                 CurrentQIndex + (reducedDeltaQIndex << delta_q_res))
         }
     }
 }




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5.11.13. Loop filter delta syntax
 read_delta_lf( ) {                                                                               Type
     sbSize = use_128x128_superblock ? BLOCK_128X128 : BLOCK_64X64
     if ( MiSize == sbSize && skip )
         return
     if ( ReadDeltas && delta_lf_present ) {
         frameLfCount = 1
         if ( delta_lf_multi ) {
             frameLfCount = ( NumPlanes > 1 ) ? FRAME_LF_COUNT : ( FRAME_LF_COUNT - 2 )
         }
         for ( i = 0; i < frameLfCount; i++ ) {
             delta_lf_abs                                                                          S()
             if ( delta_lf_abs == DELTA_LF_SMALL ) {
                 delta_lf_rem_bits                                                                L(3)
                 n = delta_lf_rem_bits + 1
                 delta_lf_abs_bits                                                                L(n)
                 deltaLfAbs = delta_lf_abs_bits +
                                 ( 1 << n ) + 1
             } else {
                 deltaLfAbs = delta_lf_abs
             }
             if ( deltaLfAbs ) {
                 delta_lf_sign_bit                                                                L(1)
                 reducedDeltaLfLevel = delta_lf_sign_bit ?
                                        -deltaLfAbs :
                                         deltaLfAbs
                 DeltaLF[ i ] = Clip3( -MAX_LOOP_FILTER, MAX_LOOP_FILTER, DeltaLF[ i ] +
                                    (reducedDeltaLfLevel << delta_lf_res) )
             }
         }
     }
 }


5.11.14. Segmentation feature active function
 seg_feature_active_idx( idx, feature ) {                                                        Type
     return segmentation_enabled && FeatureEnabled[ idx ][ feature ]
 }

 seg_feature_active( feature ) {
     return seg_feature_active_idx( segment_id, feature )
 }


5.11.15. TX size syntax
 read_tx_size( allowSelect ) {                                                                   Type
     if ( Lossless ) {
         TxSize = TX_4X4
         return


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       }
       maxRectTxSize = Max_Tx_Size_Rect[ MiSize ]
       maxTxDepth = Max_Tx_Depth[ MiSize ]
       TxSize = maxRectTxSize
       if ( MiSize > BLOCK_4X4 && allowSelect && TxMode == TX_MODE_SELECT ) {
           tx_depth                                                                                       S()
           for ( i = 0; i < tx_depth; i++ )
               TxSize = Split_Tx_Size[ TxSize ]
           }
       }
 }

The Max_Tx_Depth table specifies the maximum transform depth for each block size:


     Max_Tx_Depth[[ BLOCK_SIZES ] = {
         0, 1, 1, 1,
         2, 2, 2, 3,
         3, 3, 4, 4,
         4, 4, 4, 4,
         2, 2, 3, 3,
         4, 4
     }



     Note: Max_Tx_Depth contains the number of times the transform must be split to reach a 4x4 transform size. This
     number can be greater than MAX_TX_DEPTH. However, it is impossible to encode a transform depth greater than
     MAX_TX_DEPTH because tx_depth can only encode values in the range 0 to 2



5.11.16. Block TX size syntax
 read_block_tx_size( ) {                                                                                  Type
     bw4 = Num_4x4_Blocks_Wide[ MiSize ]
     bh4 = Num_4x4_Blocks_High[ MiSize ]
     if ( TxMode == TX_MODE_SELECT &&
           MiSize > BLOCK_4X4 && is_inter &&
           !skip && !Lossless ) {
         maxTxSz = Max_Tx_Size_Rect[ MiSize ]
         txW4 = Tx_Width[ maxTxSz ] / MI_SIZE
         txH4 = Tx_Height[ maxTxSz ] / MI_SIZE
         for ( row = MiRow; row < MiRow + bh4; row += txH4 )
              for ( col = MiCol; col < MiCol + bw4; col += txW4 )
                  read_var_tx_size( row, col, maxTxSz, 0 )
     } else {
         read_tx_size(!skip || !is_inter)
         for ( row = MiRow; row < MiRow + bh4; row++ )
              for ( col = MiCol; col < MiCol + bw4; col++ )
                  InterTxSizes[ row ][ col ] = TxSize
     }


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 }


5.11.17. Var TX size syntax
read_var_tx_size is used to read a transform size tree.

 read_var_tx_size( row, col, txSz, depth) {                                                                Type
     if ( row >= MiRows || col >= MiCols )
         return
     if ( txSz == TX_4X4 || depth == MAX_VARTX_DEPTH ) {
         txfm_split = 0
     } else {
         txfm_split                                                                                        S()
     }
     w4 = Tx_Width[ txSz ] / MI_SIZE
     h4 = Tx_Height[ txSz ] / MI_SIZE
     if ( txfm_split ) {
         subTxSz = Split_Tx_Size[ txSz ]
         stepW = Tx_Width[ subTxSz ] / MI_SIZE
         stepH = Tx_Height[ subTxSz ] / MI_SIZE
         for ( i = 0; i < h4; i += stepH )
              for ( j = 0; j < w4; j += stepW )
                  read_var_tx_size( row + i, col + j, subTxSz, depth+1)
     } else {
         for ( i = 0; i < h4; i++ )
              for ( j = 0; j < w4; j++ )
                  InterTxSizes[ row + i ][ col + j ] = txSz
         TxSize = txSz
     }
 }


5.11.18. Inter frame mode info syntax
 inter_frame_mode_info( ) {                                                                                Type
     use_intrabc = 0
     LeftRefFrame[ 0 ] = AvailL ? RefFrames[ MiRow ][ MiCol-1 ][ 0 ] : INTRA_FRAME
     AboveRefFrame[ 0 ] = AvailU ? RefFrames[ MiRow-1 ][ MiCol ][ 0 ] : INTRA_FRAME
     LeftRefFrame[ 1 ] = AvailL ? RefFrames[ MiRow ][ MiCol-1 ][ 1 ] : NONE
     AboveRefFrame[ 1 ] = AvailU ? RefFrames[ MiRow-1 ][ MiCol ][ 1 ] : NONE
     LeftIntra = LeftRefFrame[ 0 ] <= INTRA_FRAME
     AboveIntra = AboveRefFrame[ 0 ] <= INTRA_FRAME
     LeftSingle = LeftRefFrame[ 1 ] <= INTRA_FRAME
     AboveSingle = AboveRefFrame[ 1 ] <= INTRA_FRAME
     skip = 0
     inter_segment_id( 1 )
     read_skip_mode( )
     if ( skip_mode )
          skip = 1
     else
          read_skip( )


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     if ( !SegIdPreSkip )
          inter_segment_id( 0 )
     Lossless = LosslessArray[ segment_id ]
     read_cdef( )
     read_delta_qindex( )
     read_delta_lf( )
     ReadDeltas = 0
     read_is_inter( )
     if ( is_inter )
          inter_block_mode_info( )
     else
          intra_block_mode_info( )
 }


5.11.19. Inter segment ID syntax
This is called before (preSkip equal to 1) and after (preSkip equal to 0) the skip syntax element has been read.

 inter_segment_id( preSkip ) {                                                                               Type
     if ( segmentation_enabled ) {
         predictedSegmentId = get_segment_id( )
         if ( segmentation_update_map ) {
             if ( preSkip && !SegIdPreSkip ) {
                 segment_id = 0
                 return
             }
             if ( !preSkip ) {
                 if ( skip ) {
                      seg_id_predicted = 0
                      for ( i = 0; i < Num_4x4_Blocks_Wide[ MiSize ]; i++ )
                          AboveSegPredContext[ MiCol + i ] = seg_id_predicted
                      for ( i = 0; i < Num_4x4_Blocks_High[ MiSize ]; i++ )
                          LeftSegPredContext[ MiRow + i ] = seg_id_predicted
                      read_segment_id( )
                      return
                 }
             }
             if ( segmentation_temporal_update == 1 ) {
                 seg_id_predicted                                                                            S()
                 if ( seg_id_predicted )
                      segment_id = predictedSegmentId
                 else
                      read_segment_id( )
                 for ( i = 0; i < Num_4x4_Blocks_Wide[ MiSize ]; i++ )
                      AboveSegPredContext[ MiCol + i ] = seg_id_predicted
                 for ( i = 0; i < Num_4x4_Blocks_High[ MiSize ]; i++ )
                      LeftSegPredContext[ MiRow + i ] = seg_id_predicted
             } else {
                 read_segment_id( )



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              }
         } else {
              segment_id = predictedSegmentId
         }
     } else {
         segment_id = 0
     }
 }


5.11.20. Is inter syntax
 read_is_inter( ) {                                                                                      Type
     if ( skip_mode ) {
         is_inter = 1
     } else if ( seg_feature_active ( SEG_LVL_REF_FRAME ) ) {
         is_inter = FeatureData[ segment_id ][ SEG_LVL_REF_FRAME ] != INTRA_FRAME
     } else if ( seg_feature_active ( SEG_LVL_GLOBALMV ) ) {
         is_inter = 1
     } else {
         is_inter                                                                                        S()
     }
 }


5.11.21. Get segment ID function
The predicted segment id is the smallest value found in the on-screen region of the segmentation map covered by the
current block.

 get_segment_id( ) {                                                                                     Type
     bw4 = Num_4x4_Blocks_Wide[ MiSize ]
     bh4 = Num_4x4_Blocks_High[ MiSize ]
     xMis = Min( MiCols - MiCol, bw4 )
     yMis = Min( MiRows - MiRow, bh4 )
     seg = 7
     for ( y = 0; y < yMis; y++ )
         for ( x = 0; x < xMis; x++ )
             seg = Min( seg, PrevSegmentIds[ MiRow + y ][ MiCol + x ] )
     return seg
 }


5.11.22. Intra block mode info syntax
 intra_block_mode_info( ) {                                                                              Type
     RefFrame[ 0 ] = INTRA_FRAME
     RefFrame[ 1 ] = NONE
     y_mode                                                                                              S()
     YMode = y_mode
     intra_angle_info_y( )
     if ( HasChroma ) {
         uv_mode                                                                                         S()


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          UVMode = uv_mode
          if ( UVMode == UV_CFL_PRED ) {
              read_cfl_alphas( )
          }
          intra_angle_info_uv( )
     }
     PaletteSizeY = 0
     PaletteSizeUV = 0
     if ( MiSize >= BLOCK_8X8 &&
          Block_Width[ MiSize ] <= 64 &&
          Block_Height[ MiSize ] <= 64 &&
          allow_screen_content_tools )
         palette_mode_info( )
     filter_intra_mode_info( )
 }


5.11.23. Inter block mode info syntax
 inter_block_mode_info( ) {                                                                       Type
     PaletteSizeY = 0
     PaletteSizeUV = 0
     read_ref_frames( )
     isCompound = RefFrame[ 1 ] > INTRA_FRAME
     find_mv_stack( isCompound )
     if ( skip_mode ) {
         YMode = NEAREST_NEARESTMV
     } else if ( seg_feature_active( SEG_LVL_SKIP ) ||
           seg_feature_active( SEG_LVL_GLOBALMV ) ) {
         YMode = GLOBALMV
     } else if ( isCompound ) {
         compound_mode                                                                            S()
         YMode = NEAREST_NEARESTMV + compound_mode
     } else {
         new_mv                                                                                   S()
         if ( new_mv == 0 ) {
              YMode = NEWMV
         } else {
              zero_mv                                                                             S()
              if ( zero_mv == 0 ) {
                  YMode = GLOBALMV
              } else {
                  ref_mv                                                                          S()
                  YMode = (ref_mv == 0) ? NEARESTMV : NEARMV
              }
         }
     }
     RefMvIdx = 0
     if ( YMode == NEWMV || YMode == NEW_NEWMV ) {
         for ( idx = 0; idx < 2; idx++ ) {



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               if ( NumMvFound > idx + 1 ) {
                   drl_mode                                                                          S()
                   if ( drl_mode == 0 ) {
                     RefMvIdx = idx
                     break
                   }
                   RefMvIdx = idx + 1
               }
           }
       } else if ( has_nearmv( ) ) {
           RefMvIdx = 1
           for ( idx = 1; idx < 3; idx++ ) {
                if ( NumMvFound > idx + 1 ) {
                    drl_mode                                                                         S()
                    if ( drl_mode == 0 ) {
                         RefMvIdx = idx
                         break
                    }
                    RefMvIdx = idx + 1
                }
           }
       }
       assign_mv( isCompound )
       read_interintra_mode( isCompound )
       read_motion_mode( isCompound )
       read_compound_type( isCompound )
       if ( interpolation_filter == SWITCHABLE ) {
           for ( dir = 0; dir < ( enable_dual_filter ? 2 : 1 ); dir++ ) {
                if ( needs_interp_filter( ) ) {
                    interp_filter[ dir ]                                                             S()
                } else {
                    interp_filter[ dir ] = EIGHTTAP
                }
           }
           if ( !enable_dual_filter )
                interp_filter[ 1 ] = interp_filter[ 0 ]
       } else {
           for ( dir = 0; dir < 2; dir++ )
                interp_filter[ dir ] = interpolation_filter
       }
 }

The function has_nearmv is defined as:


     has_nearmv(( ) {
         return (YMode == NEARMV || YMode == NEAR_NEARMV
                  || YMode == NEAR_NEWMV || YMode == NEW_NEARMV))
     }




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The function needs_interp_filter is defined as:


  needs_interp_filter(( ) {
      large = (Min((Block_Width[[MiSize],
                                       ], Block_Height[[MiSize])
                                                              ]) >= 8)
      if ( skip_mode || motion_mode == LOCALWARP ) {
          return 0
      } else if ( large && YMode == GLOBALMV ) {
          return GmType[[ RefFrame[[ 0 ] ] == TRANSLATION
      } else if ( large && YMode == GLOBAL_GLOBALMV ) {
          return GmType[[ RefFrame[[ 0 ] ] == TRANSLATION || GmType[[ RefFrame[[ 1 ] ] == TRANSLATION
      } else {
          return 1
      }
  }



5.11.24. Filter intra mode info syntax
 filter_intra_mode_info( ) {                                                                       Type
     use_filter_intra = 0
     if ( enable_filter_intra &&
           YMode == DC_PRED && PaletteSizeY == 0 &&
           Max( Block_Width[ MiSize ], Block_Height[ MiSize ] ) <= 32 ) {
         use_filter_intra                                                                          S()
         if ( use_filter_intra ) {
              filter_intra_mode                                                                    S()
         }
     }
 }


5.11.25. Ref frames syntax
 read_ref_frames( ) {                                                                              Type
     if ( skip_mode ) {
         RefFrame[ 0 ] = SkipModeFrame[ 0 ]
         RefFrame[ 1 ] = SkipModeFrame[ 1 ]
     } else if ( seg_feature_active( SEG_LVL_REF_FRAME ) ) {
         RefFrame[ 0 ] = FeatureData[ segment_id ][ SEG_LVL_REF_FRAME ]
         RefFrame[ 1 ] = NONE
     } else if ( seg_feature_active( SEG_LVL_SKIP ) ||
                  seg_feature_active( SEG_LVL_GLOBALMV ) ) {
         RefFrame[ 0 ] = LAST_FRAME
         RefFrame[ 1 ] = NONE
     } else {
         bw4 = Num_4x4_Blocks_Wide[ MiSize ]
         bh4 = Num_4x4_Blocks_High[ MiSize ]
         if ( reference_select && ( Min( bw4, bh4 ) >= 2 ) )
              comp_mode                                                                            S()
         else



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              comp_mode = SINGLE_REFERENCE
          if ( comp_mode == COMPOUND_REFERENCE ) {
              comp_ref_type                                                                         S()
              if ( comp_ref_type == UNIDIR_COMP_REFERENCE ) {
                   uni_comp_ref                                                                     S()
                   if ( uni_comp_ref ) {
                       RefFrame[0] = BWDREF_FRAME
                       RefFrame[1] = ALTREF_FRAME
                   } else {
                       uni_comp_ref_p1                                                              S()
                       if ( uni_comp_ref_p1 ) {
                            uni_comp_ref_p2                                                         S()
                            if ( uni_comp_ref_p2 ) {
                              RefFrame[0] = LAST_FRAME
                              RefFrame[1] = GOLDEN_FRAME
                            } else {
                              RefFrame[0] = LAST_FRAME
                              RefFrame[1] = LAST3_FRAME
                            }
                       } else {
                            RefFrame[0] = LAST_FRAME
                            RefFrame[1] = LAST2_FRAME
                       }
                   }
              } else {
                   comp_ref                                                                         S()
                   if ( comp_ref == 0 ) {
                       comp_ref_p1                                                                  S()
                       RefFrame[ 0 ] = comp_ref_p1 ?
                                        LAST2_FRAME : LAST_FRAME
                   } else {
                       comp_ref_p2                                                                  S()
                       RefFrame[ 0 ] = comp_ref_p2 ?
                                        GOLDEN_FRAME : LAST3_FRAME
                   }
                   comp_bwdref                                                                      S()
                   if ( comp_bwdref == 0 ) {
                       comp_bwdref_p1                                                               S()
                       RefFrame[ 1 ] = comp_bwdref_p1 ?
                                         ALTREF2_FRAME : BWDREF_FRAME
                   } else {
                       RefFrame[ 1 ] = ALTREF_FRAME
                   }
              }
          } else {
              single_ref_p1                                                                         S()
              if ( single_ref_p1 ) {
                   single_ref_p2                                                                    S()
                   if ( single_ref_p2 == 0 ) {



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                       single_ref_p6                                                               S()
                       RefFrame[ 0 ] = single_ref_p6 ?
                                        ALTREF2_FRAME : BWDREF_FRAME
                  } else {
                       RefFrame[ 0 ] = ALTREF_FRAME
                  }
              } else {
                  single_ref_p3                                                                    S()
                  if ( single_ref_p3 ) {
                       single_ref_p5                                                               S()
                       RefFrame[ 0 ] = single_ref_p5 ?
                                        GOLDEN_FRAME : LAST3_FRAME
                  } else {
                       single_ref_p4                                                               S()
                       RefFrame[ 0 ] = single_ref_p4 ?
                                        LAST2_FRAME : LAST_FRAME
                  }
              }
              RefFrame[ 1 ] = NONE
          }
     }
 }


5.11.26. Assign MV syntax
 assign_mv( isCompound ) {                                                                          Type
     for ( i = 0; i < 1 + isCompound; i++ ) {
         if ( use_intrabc ) {
             compMode = NEWMV
         } else {
             compMode = get_mode( i )
         }
         if ( use_intrabc ) {
             PredMv[ 0 ] = RefStackMv[ 0 ][ 0 ]
             if ( PredMv[ 0 ][ 0 ] == 0 && PredMv[ 0 ][ 1 ] == 0 ) {
                  PredMv[ 0 ] = RefStackMv[ 1 ][ 0 ]
             }
             if ( PredMv[ 0 ][ 0 ] == 0 && PredMv[ 0 ][ 1 ] == 0 ) {
                  sbSize = use_128x128_superblock ? BLOCK_128X128 : BLOCK_64X64
                  sbSize4 = Num_4x4_Blocks_High[ sbSize ]
                  if ( MiRow - sbSize4 < MiRowStart ) {
                      PredMv[ 0 ][ 0 ] = 0
                      PredMv[ 0 ][ 1 ] = -(sbSize4 * MI_SIZE + INTRABC_DELAY_PIXELS) * 8
                  } else {
                      PredMv[ 0 ][ 0 ] = -(sbSize4 * MI_SIZE * 8)
                      PredMv[ 0 ][ 1 ] = 0
                  }
             }
         } else if ( compMode == GLOBALMV ) {



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              PredMv[ i ] = GlobalMvs[ i ]
          } else {
              pos = ( compMode == NEARESTMV ) ? 0 : RefMvIdx
              if ( compMode == NEWMV && NumMvFound <= 1 )
                   pos = 0
              PredMv[ i ] = RefStackMv[ pos ][ i ]
          }
          if ( compMode == NEWMV ) {
              read_mv( i )
          } else {
              Mv[ i ] = PredMv[ i ]
          }
     }
 }


5.11.27. Read motion mode syntax
 read_motion_mode( isCompound ) {                                                                    Type
     if ( skip_mode ) {
         motion_mode = SIMPLE
         return
     }
     if ( !is_motion_mode_switchable ) {
         motion_mode = SIMPLE
         return
     }
     if ( Min( Block_Width[ MiSize ],
                Block_Height[ MiSize ] ) < 8 ) {
         motion_mode = SIMPLE
         return
     }
     if ( !force_integer_mv &&
           ( YMode == GLOBALMV || YMode == GLOBAL_GLOBALMV ) ) {
         if ( GmType[ RefFrame[ 0 ] ] > TRANSLATION ) {
              motion_mode = SIMPLE
              return
         }
     }
     if ( isCompound || RefFrame[ 1 ] == INTRA_FRAME || !has_overlappable_candidates( ) ) {
         motion_mode = SIMPLE
         return
     }
     find_warp_samples()
     if ( force_integer_mv || NumSamples == 0 ||
           !allow_warped_motion || is_scaled( RefFrame[0] ) ) {
         use_obmc                                                                                     S()
         motion_mode = use_obmc ? OBMC : SIMPLE
     } else {
         motion_mode                                                                                  S()



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       }
 }

where is_scaled is a function that determines whether a reference frame uses scaling and is specified as:


     is_scaled(( refFrame ) {
       refIdx = ref_frame_idx[[ refFrame - LAST_FRAME ]
       xScale = ( ( RefUpscaledWidth[[ refIdx ] << REF_SCALE_SHIFT ) + ( FrameWidth / 2 ) ) / FrameWidth
       yScale = ( ( RefFrameHeight[[ refIdx ] << REF_SCALE_SHIFT ) + ( FrameHeight / 2 ) ) / FrameHeight
       noScale = 1 << REF_SCALE_SHIFT
       return xScale != noScale || yScale != noScale
     }



5.11.28. Read inter intra syntax
 read_interintra_mode( isCompound ) {                                                                       Type
     if ( !skip_mode && enable_interintra_compound && !isCompound &&
           MiSize >= BLOCK_8X8 && MiSize <= BLOCK_32X32) {
         interintra                                                                                          S()
         if ( interintra ) {
              interintra_mode                                                                                S()
              RefFrame[1] = INTRA_FRAME
              AngleDeltaY = 0
              AngleDeltaUV = 0
              use_filter_intra = 0
              wedge_interintra                                                                               S()
              if ( wedge_interintra ) {
                  wedge_index                                                                                S()
                  wedge_sign = 0
              }
         }
     } else {
         interintra = 0
     }
 }


5.11.29. Read compound type syntax
 read_compound_type( isCompound ) {                                                                         Type
     comp_group_idx = 0
     compound_idx = 1
     if ( skip_mode ) {
         compound_type = COMPOUND_AVERAGE
         return
     }
     if ( isCompound ) {
         n = Wedge_Bits[ MiSize ]
         if ( enable_masked_compound ) {



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                comp_group_idx                                                                    S()
         }
         if ( comp_group_idx == 0 ) {
              if ( enable_jnt_comp ) {
                  compound_idx                                                                    S()
                  compound_type = compound_idx ? COMPOUND_AVERAGE :
                                                 COMPOUND_DISTANCE
              } else {
                  compound_type = COMPOUND_AVERAGE
              }
         } else {
              if ( n == 0 ) {
                  compound_type = COMPOUND_DIFFWTD
              } else {
                  compound_type                                                                   S()
              }
         }
         if ( compound_type == COMPOUND_WEDGE ) {
              wedge_index                                                                          S()
              wedge_sign                                                                          L(1)
         } else if ( compound_type == COMPOUND_DIFFWTD ) {
              mask_type                                                                           L(1)
         }
     } else {
         if ( interintra ) {
              compound_type = wedge_interintra ? COMPOUND_WEDGE : COMPOUND_INTRA
         } else {
              compound_type = COMPOUND_AVERAGE
         }
     }
 }


5.11.30. Get mode function
 get_mode( refList ) {                                                                             Type
     if ( refList == 0 ) {
         if ( YMode < NEAREST_NEARESTMV )
              compMode = YMode
         else if ( YMode == NEW_NEWMV || YMode == NEW_NEARESTMV || YMode == NEW_NEARMV )
              compMode = NEWMV
         else if ( YMode == NEAREST_NEARESTMV || YMode == NEAREST_NEWMV )
              compMode = NEARESTMV
         else if ( YMode == NEAR_NEARMV || YMode == NEAR_NEWMV )
              compMode = NEARMV
         else
              compMode = GLOBALMV
     } else {
         if ( YMode == NEW_NEWMV || YMode == NEAREST_NEWMV || YMode == NEAR_NEWMV )
              compMode = NEWMV



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          else if ( YMode == NEAREST_NEARESTMV || YMode == NEW_NEARESTMV )
               compMode = NEARESTMV
          else if ( YMode == NEAR_NEARMV || YMode == NEW_NEARMV )
               compMode = NEARMV
          else
               compMode = GLOBALMV
     }
     return compMode
 }


5.11.31. MV syntax
 read_mv( ref ) {                                                                                 Type
     diffMv[ 0 ] = 0
     diffMv[ 1 ] = 0
     if ( use_intrabc ) {
         MvCtx = MV_INTRABC_CONTEXT
     } else {
         MvCtx = 0
     }
     mv_joint                                                                                     S()
     if ( mv_joint == MV_JOINT_HZVNZ || mv_joint == MV_JOINT_HNZVNZ )
         diffMv[ 0 ] = read_mv_component( 0 )
     if ( mv_joint == MV_JOINT_HNZVZ || mv_joint == MV_JOINT_HNZVNZ )
         diffMv[ 1 ] = read_mv_component( 1 )
     Mv[ ref ][ 0 ] = PredMv[ ref ][ 0 ] + diffMv[ 0 ]
     Mv[ ref ][ 1 ] = PredMv[ ref ][ 1 ] + diffMv[ 1 ]
 }


5.11.32. MV component syntax
 read_mv_component( comp ) {                                                                      Type
     mv_sign                                                                                       S()
     mv_class                                                                                      S()
     if ( mv_class == MV_CLASS_0 ) {
         mv_class0_bit                                                                            S()
         if ( force_integer_mv )
              mv_class0_fr = 3
         else
              mv_class0_fr                                                                        S()
         if ( allow_high_precision_mv )
              mv_class0_hp                                                                        S()
         else
              mv_class0_hp = 1
         mag = ( ( mv_class0_bit << 3 ) |
                  ( mv_class0_fr << 1 ) |
                    mv_class0_hp ) + 1
     } else {
         d = 0
         for ( i = 0; i < mv_class; i++ ) {


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              mv_bit                                                                              S()
              d |= mv_bit << i
          }
          mag = CLASS0_SIZE << ( mv_class + 2 )
          if ( force_integer_mv )
               mv_fr = 3
          else
               mv_fr                                                                              S()
          if ( allow_high_precision_mv )
               mv_hp                                                                              S()
          else
               mv_hp = 1
          mag += ( ( d << 3 ) | ( mv_fr << 1 ) | mv_hp ) + 1
     }
     return mv_sign ? -mag : mag
 }


5.11.33. Compute prediction syntax
 compute_prediction() {                                                                            Type
     sbMask = use_128x128_superblock ? 31 : 15
     subBlockMiRow = MiRow & sbMask
     subBlockMiCol = MiCol & sbMask
     for ( plane = 0; plane < 1 + HasChroma * 2; plane++ ) {
         planeSz = get_plane_residual_size( MiSize, plane )
         num4x4W = Num_4x4_Blocks_Wide[ planeSz ]
         num4x4H = Num_4x4_Blocks_High[ planeSz ]
         log2W = MI_SIZE_LOG2 + Mi_Width_Log2[ planeSz ]
         log2H = MI_SIZE_LOG2 + Mi_Height_Log2[ planeSz ]
         subX = (plane > 0) ? subsampling_x : 0
         subY = (plane > 0) ? subsampling_y : 0
         baseX = (MiCol >> subX) * MI_SIZE
         baseY = (MiRow >> subY) * MI_SIZE
         candRow = (MiRow >> subY) << subY
         candCol = (MiCol >> subX) << subX

          IsInterIntra = ( is_inter && RefFrame[ 1 ] == INTRA_FRAME )
          if ( IsInterIntra ) {
              if ( interintra_mode == II_DC_PRED ) mode = DC_PRED
              else if ( interintra_mode == II_V_PRED ) mode = V_PRED
              else if ( interintra_mode == II_H_PRED ) mode = H_PRED
              else mode = SMOOTH_PRED
              predict_intra( plane, baseX, baseY,
                             plane == 0 ? AvailL : AvailLChroma,
                             plane == 0 ? AvailU : AvailUChroma,
                             BlockDecoded[ plane ]
                                         [ ( subBlockMiRow >> subY ) - 1 ]
                                         [ ( subBlockMiCol >> subX ) + num4x4W ],
                             BlockDecoded[ plane ]



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                                         [ ( subBlockMiRow >> subY ) + num4x4H ]
                                         [ ( subBlockMiCol >> subX ) - 1 ],
                             mode,
                             log2W, log2H )
          }
          if ( is_inter ) {
              predW = Block_Width[ MiSize ] >> subX
              predH = Block_Height[ MiSize ] >> subY
              someUseIntra = 0
              for ( r = 0; r < (num4x4H << subY); r++ )
                  for ( c = 0; c < (num4x4W << subX); c++ )
                      if ( RefFrames[ candRow + r ][ candCol + c ][ 0 ] == INTRA_FRAME )
                          someUseIntra = 1
              if ( someUseIntra ) {
                  predW = num4x4W * 4
                  predH = num4x4H * 4
                  candRow = MiRow
                  candCol = MiCol
              }
              r = 0
              for ( y = 0; y < num4x4H * 4; y += predH ) {
                  c = 0
                  for ( x = 0; x < num4x4W * 4; x += predW ) {
                      predict_inter( plane, baseX + x, baseY + y,
                                      predW, predH,
                                      candRow + r, candCol + c)
                      c++
                  }
                  r++
              }
          }
     }
 }


5.11.34. Residual syntax
 residual( ) {                                                                                    Type
     sbMask = use_128x128_superblock ? 31 : 15

     widthChunks = Max( 1, Block_Width[ MiSize ] >> 6 )
     heightChunks = Max( 1, Block_Height[ MiSize ] >> 6 )

     miSizeChunk = ( widthChunks > 1 || heightChunks > 1 ) ? BLOCK_64X64 : MiSize

     for ( chunkY = 0; chunkY < heightChunks; chunkY++ ) {
         for ( chunkX = 0; chunkX < widthChunks; chunkX++ ) {
             miRowChunk = MiRow + ( chunkY << 4 )
             miColChunk = MiCol + ( chunkX << 4 )
             subBlockMiRow = miRowChunk & sbMask



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              subBlockMiCol = miColChunk & sbMask

              for ( plane = 0; plane < 1 + HasChroma * 2; plane++ ) {
                  txSz = Lossless ? TX_4X4 : get_tx_size( plane, TxSize )
                  stepX = Tx_Width[ txSz ] >> 2
                  stepY = Tx_Height[ txSz ] >> 2
                  planeSz = get_plane_residual_size( miSizeChunk, plane )
                  num4x4W = Num_4x4_Blocks_Wide[ planeSz ]
                  num4x4H = Num_4x4_Blocks_High[ planeSz ]
                  subX = (plane > 0) ? subsampling_x : 0
                  subY = (plane > 0) ? subsampling_y : 0
                  baseX = (miColChunk >> subX) * MI_SIZE
                  baseY = (miRowChunk >> subY) * MI_SIZE
                  if ( is_inter && !Lossless && !plane ) {
                      transform_tree( baseX, baseY, num4x4W * 4, num4x4H * 4 )
                  } else {
                      baseXBlock = (MiCol >> subX) * MI_SIZE
                      baseYBlock = (MiRow >> subY) * MI_SIZE
                      for ( y = 0; y < num4x4H; y += stepY )
                           for ( x = 0; x < num4x4W; x += stepX )
                               transform_block( plane, baseXBlock, baseYBlock, txSz,
                                                x + ( ( chunkX << 4 ) >> subX ),
                                                y + ( ( chunkY << 4 ) >> subY ) )
                  }
              }
          }
     }
 }


5.11.35. Transform block syntax
 transform_block(plane, baseX, baseY, txSz, x, y) {                                                  Type
     startX = baseX + 4 * x
     startY = baseY + 4 * y
     subX = (plane > 0) ? subsampling_x : 0
     subY = (plane > 0) ? subsampling_y : 0
     row = ( startY << subY ) >> MI_SIZE_LOG2
     col = ( startX << subX ) >> MI_SIZE_LOG2
     sbMask = use_128x128_superblock ? 31 : 15
     subBlockMiRow = row & sbMask
     subBlockMiCol = col & sbMask
     stepX = Tx_Width[ txSz ] >> MI_SIZE_LOG2
     stepY = Tx_Height[ txSz ] >> MI_SIZE_LOG2
     maxX = (MiCols * MI_SIZE) >> subX
     maxY = (MiRows * MI_SIZE) >> subY
     if ( startX >= maxX || startY >= maxY ) {
         return
     }
     if ( !is_inter ) {



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          if ( ( ( plane == 0 ) && PaletteSizeY ) ||
                ( ( plane != 0 ) && PaletteSizeUV ) ) {
              predict_palette( plane, startX, startY, x, y, txSz )
          } else {
              isCfl = (plane > 0 && UVMode == UV_CFL_PRED)
              if ( plane == 0 ) {
                   mode = YMode
              } else {
                   mode = ( isCfl ) ? DC_PRED : UVMode
              }
              log2W = Tx_Width_Log2[ txSz ]
              log2H = Tx_Height_Log2[ txSz ]
              predict_intra( plane, startX, startY,
                              ( plane == 0 ? AvailL : AvailLChroma ) || x > 0,
                              ( plane == 0 ? AvailU : AvailUChroma ) || y > 0,
                              BlockDecoded[ plane ]
                                          [ ( subBlockMiRow >> subY ) - 1 ]
                                          [ ( subBlockMiCol >> subX ) + stepX ],
                              BlockDecoded[ plane ]
                                          [ ( subBlockMiRow >> subY ) + stepY ]
                                          [ ( subBlockMiCol >> subX ) - 1 ],
                              mode,
                              log2W, log2H )
              if ( isCfl ) {
                   predict_chroma_from_luma( plane, startX, startY, txSz )
              }
          }

          if ( plane == 0 ) {
              MaxLumaW = startX + stepX * 4
              MaxLumaH = startY + stepY * 4
          }
     }
     if ( !skip ) {
         eob = coeffs( plane, startX, startY, txSz )
         if ( eob > 0 )
             reconstruct( plane, startX, startY, txSz )
     }
     for ( i = 0; i < stepY; i++ ) {
         for ( j = 0; j < stepX; j++ ) {
             LoopfilterTxSizes[ plane ]
                              [ (row >> subY) + i ]
                              [ (col >> subX) + j ] = txSz
             BlockDecoded[ plane ]
                         [ ( subBlockMiRow >> subY ) + i ]
                         [ ( subBlockMiCol >> subX ) + j ] = 1
         }
     }
 }



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5.11.36. Transform tree syntax
transform_tree is used to read a number of transform blocks arranged in a transform tree.

 transform_tree( startX, startY, w, h ) {                                                             Type
     maxX = MiCols * MI_SIZE
     maxY = MiRows * MI_SIZE
     if ( startX >= maxX || startY >= maxY ) {
         return
     }
     row = startY >> MI_SIZE_LOG2
     col = startX >> MI_SIZE_LOG2
     lumaTxSz = InterTxSizes[ row ][ col ]
     lumaW = Tx_Width[ lumaTxSz ]
     lumaH = Tx_Height[ lumaTxSz ]
     if ( w <= lumaW && h <= lumaH ) {
         txSz = find_tx_size( w, h )
         transform_block( 0, startX, startY, txSz, 0, 0 )
     } else {
         if ( w > h ) {
              transform_tree( startX, startY, w/2, h )
              transform_tree( startX + w / 2, startY, w/2, h )
         } else if ( w < h ) {
              transform_tree( startX, startY, w, h/2 )
              transform_tree( startX, startY + h/2, w, h/2 )
         } else {
              transform_tree( startX, startY, w/2, h/2 )
              transform_tree( startX + w/2, startY, w/2, h/2 )
              transform_tree( startX, startY + h/2, w/2, h/2 )
              transform_tree( startX + w/2, startY + h/2, w/2, h/2 )
         }
     }
 }

where find_tx_size finds the transform size matching the given dimensions and is defined as:


  find_tx_size(( w,, h ) {
      for ( txSz = 0; txSz < TX_SIZES_ALL;; txSz++
                                                ++ )
          if ( Tx_Width[[ txSz ] == w && Tx_Height[[ txSz ] == h )
              break
      return txSz
  }



5.11.37. Get TX size function
 get_tx_size( plane, txSz ) {                                                                         Type
     if ( plane == 0 )
         return txSz



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     uvTx = Max_Tx_Size_Rect[ get_plane_residual_size( MiSize, plane ) ]
     if ( Tx_Width[ uvTx ] == 64 || Tx_Height[ uvTx ] == 64 ){
         if ( Tx_Width[ uvTx ] == 16 ) {
             return TX_16X32
         }
         if ( Tx_Height[ uvTx ] == 16 ) {
             return TX_32X16
         }
         return TX_32X32
     }
     return uvTx
 }


5.11.38. Get plane residual size function
The get_plane_residual_size returns the size of a residual block for the specified plane. (The residual block will always
have width and height at least equal to 4.)

 get_plane_residual_size( subsize, plane ) {                                                                  Type
     subx = plane > 0 ? subsampling_x : 0
     suby = plane > 0 ? subsampling_y : 0
     return Subsampled_Size[ subsize ][ subx ][ suby ]
 }

The Subsampled_Size table is defined as:




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  Subsampled_Size[[ BLOCK_SIZES ][ 2 ][ 2 ] = {
    { { BLOCK_4X4,,    BLOCK_4X4},
                                },       {BLOCK_4X4,,     BLOCK_4X4}} },
    { { BLOCK_4X8,,    BLOCK_4X4},
                                },       {BLOCK_INVALID,, BLOCK_4X4}} },
    { { BLOCK_8X4,,    BLOCK_INVALID},}, {BLOCK_4X4,,     BLOCK_4X4}} },
    { { BLOCK_8X8,,    BLOCK_8X4},
                                },       {BLOCK_4X8,,     BLOCK_4X4}} },
    { {BLOCK_8X16,,    BLOCK_8X8},
                                },       {BLOCK_INVALID,, BLOCK_4X8}} },
    { {BLOCK_16X8,,    BLOCK_INVALID},}, {BLOCK_8X8,,     BLOCK_8X4}} },
    { {BLOCK_16X16,, BLOCK_16X8},},      {BLOCK_8X16,,    BLOCK_8X8}} },
    { {BLOCK_16X32,, BLOCK_16X16}, },    {BLOCK_INVALID,, BLOCK_8X16}} },
    { {BLOCK_32X16,, BLOCK_INVALID},  }, {BLOCK_16X16,, BLOCK_16X8}} },
    { {BLOCK_32X32,, BLOCK_32X16}, },    {BLOCK_16X32,, BLOCK_16X16}} },
    { {BLOCK_32X64,, BLOCK_32X32}, },    {BLOCK_INVALID,, BLOCK_16X32}} },
    { {BLOCK_64X32,, BLOCK_INVALID},  }, {BLOCK_32X32,, BLOCK_32X16}} },
    { {BLOCK_64X64,, BLOCK_64X32}, },    {BLOCK_32X64,, BLOCK_32X32}} },
    { {BLOCK_64X128,, BLOCK_64X64},},    {BLOCK_INVALID,, BLOCK_32X64}} },
    { {BLOCK_128X64,, BLOCK_INVALID}, }, {BLOCK_64X64,, BLOCK_64X32}} },
    { {BLOCK_128X128,, BLOCK_128X64},
                                    }, {BLOCK_64X128,, BLOCK_64X64}} },
    { {BLOCK_4X16,,    BLOCK_4X8},
                                },       {BLOCK_INVALID,, BLOCK_4X8}} },
    { {BLOCK_16X4,,    BLOCK_INVALID},}, {BLOCK_8X4,,     BLOCK_8X4}} },
    { {BLOCK_8X32,,    BLOCK_8X16},
                                 },      {BLOCK_INVALID,, BLOCK_4X16}} },
    { {BLOCK_32X8,,    BLOCK_INVALID},}, {BLOCK_16X8,,    BLOCK_16X4}} },
    { {BLOCK_16X64,, BLOCK_16X32}, },    {BLOCK_INVALID,, BLOCK_8X32}} },
    { {BLOCK_64X16,, BLOCK_INVALID},  }, {BLOCK_32X16,, BLOCK_32X8}} },
  }



5.11.39. Coefficients syntax
 coeffs( plane, startX, startY, txSz ) {                                                              Type
     x4 = startX >> 2
     y4 = startY >> 2
     w4 = Tx_Width[ txSz ] >> 2
     h4 = Tx_Height[ txSz ] >> 2

     txSzCtx = ( Tx_Size_Sqr[txSz] + Tx_Size_Sqr_Up[txSz] + 1 ) >> 1
     ptype = plane > 0
     segEob = ( txSz == TX_16X64 || txSz == TX_64X16 ) ? 512 :
                 Min( 1024, Tx_Width[ txSz ] * Tx_Height[ txSz ] )

     for ( c = 0; c < segEob; c++ )
         Quant[c] = 0
     for ( i = 0; i < 64; i++ )
         for ( j = 0; j < 64; j++ )
             Dequant[ i ][ j ] = 0

     eob = 0
     culLevel = 0
     dcCategory = 0

     all_zero                                                                                         S()


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     if ( all_zero ) {
         c = 0
         if ( plane == 0 ) {
              for ( i = 0; i < w4; i++ ) {
                  for ( j = 0; j < h4; j++ ) {
                      TxTypes[ y4 + j ][ x4 + i ] = DCT_DCT
                  }
              }
         }
     } else {
         if ( plane == 0 )
              transform_type( x4, y4, txSz )
         PlaneTxType = compute_tx_type( plane, txSz, x4, y4 )
         scan = get_scan( txSz )

          eobMultisize = Min( Tx_Width_Log2[ txSz ], 5) + Min( Tx_Height_Log2[ txSz ], 5) - 4
          if ( eobMultisize == 0 ) {
              eob_pt_16                                                                              S()
              eobPt = eob_pt_16 + 1
          } else if ( eobMultisize == 1 ) {
              eob_pt_32                                                                              S()
              eobPt = eob_pt_32 + 1
          } else if ( eobMultisize == 2 ) {
              eob_pt_64                                                                              S()
              eobPt = eob_pt_64 + 1
          } else if ( eobMultisize == 3 ) {
              eob_pt_128                                                                             S()
              eobPt = eob_pt_128 + 1
          } else if ( eobMultisize == 4 ) {
              eob_pt_256                                                                             S()
              eobPt = eob_pt_256 + 1
          } else if ( eobMultisize == 5 ) {
              eob_pt_512                                                                             S()
              eobPt = eob_pt_512 + 1
          } else {
              eob_pt_1024                                                                            S()
              eobPt = eob_pt_1024 + 1
          }

          eob = ( eobPt < 2 ) ? eobPt : ( ( 1 << ( eobPt - 2 ) ) + 1 )
          eobShift = Max( -1, eobPt - 3 )
          if ( eobShift >= 0 ) {
              eob_extra                                                                              S()
              if ( eob_extra ) {
                  eob += ( 1 << eobShift )
              }

              for ( i = 1; i < Max( 0, eobPt - 2 ); i++ ) {
                  eobShift = Max( 0, eobPt - 2 ) - 1 - i



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                   eob_extra_bit                                                                     L(1)
                   if ( eob_extra_bit ) {
                       eob += ( 1 << eobShift )
                   }
              }
          }
          for ( c = eob - 1; c >= 0; c-- ) {
              pos = scan[ c ]
              if ( c == ( eob - 1 ) ) {
                  coeff_base_eob                                                                     S()
                  level = coeff_base_eob + 1
              } else {
                  coeff_base                                                                         S()
                  level = coeff_base
              }

              if ( level > NUM_BASE_LEVELS ) {
                  for ( idx = 0;
                        idx < COEFF_BASE_RANGE / ( BR_CDF_SIZE - 1 );
                        idx++ ) {
                      coeff_br                                                                       S()
                      level += coeff_br
                      if ( coeff_br < ( BR_CDF_SIZE - 1 ) )
                          break
                  }
              }
              Quant[ pos ] = level
          }

          for ( c = 0; c < eob; c++ ) {
              pos = scan[ c ]
              if ( Quant[ pos ] != 0 ) {
                  if ( c == 0 ) {
                       dc_sign                                                                       S()
                       sign = dc_sign
                  } else {
                       sign_bit                                                                      L(1)
                       sign = sign_bit
                  }
              } else {
                  sign = 0
              }
              if ( Quant[ pos ] >
                  ( NUM_BASE_LEVELS + COEFF_BASE_RANGE ) ) {
                  length = 0
                  do {
                       length++
                       golomb_length_bit                                                             L(1)
                  } while ( !golomb_length_bit )



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                   x = 1
                   for ( i = length - 2; i >= 0; i-- ) {
                       golomb_data_bit                                                                  L(1)
                       x = ( x << 1 ) | golomb_data_bit
                   }
                  Quant[ pos ] = x + COEFF_BASE_RANGE + NUM_BASE_LEVELS
              }
              if ( pos == 0 && Quant[ pos ] > 0 ) {
                  dcCategory = sign ? 1 : 2
              }
              Quant[ pos ] = Quant[ pos ] & 0xFFFFF
              culLevel += Quant[ pos ]
              if ( sign )
                  Quant[ pos ] = - Quant[ pos ]
          }
          culLevel = Min( 63, culLevel )
     }

     for ( i = 0; i < w4; i++ ) {
         AboveLevelContext[ plane ][ x4 + i ] = culLevel
         AboveDcContext[ plane ][ x4 + i ] = dcCategory
     }
     for ( i = 0; i < h4; i++ ) {
         LeftLevelContext[ plane ][ y4 + i ] = culLevel
         LeftDcContext[ plane ][ y4 + i ] = dcCategory
     }

     return eob
 }


5.11.40. Compute transform type function
 compute_tx_type( plane, txSz, blockX, blockY ) {                                                   Type
     txSzSqrUp = Tx_Size_Sqr_Up[ txSz ]

     if ( Lossless || txSzSqrUp > TX_32X32 )
         return DCT_DCT

     txSet = get_tx_set( txSz )

     if ( plane == 0 ) {
         return TxTypes[ blockY ][ blockX ]
     }

     if ( is_inter ) {
         x4 = Max( MiCol, blockX << subsampling_x )
         y4 = Max( MiRow, blockY << subsampling_y )
         txType = TxTypes[ y4 ][ x4 ]
         if ( !is_tx_type_in_set( txSet, txType ) )



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               return DCT_DCT
           return txType
       }

       txType = Mode_To_Txfm[ UVMode ]
       if ( !is_tx_type_in_set( txSet, txType ) )
           return DCT_DCT
       return txType
 }

 is_tx_type_in_set( txSet, txType ) {
     return is_inter ? Tx_Type_In_Set_Inter[ txSet ][ txType ] :
                       Tx_Type_In_Set_Intra[ txSet ][ txType ]
 }

where the tables Tx_Type_In_Set_Inter and Tx_Type_In_Set_Intra are specified as follows:


     Tx_Type_In_Set_Intra[[ TX_SET_TYPES_INTRA ][ TX_TYPES ] = {
       {
          1, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0,
       },
       {
          1, 1, 1, 1, 0, 0, 0, 0, 0, 1, 1, 1, 0, 0, 0, 0,
       },
       {
          1, 1, 1, 1, 0, 0, 0, 0, 0, 1, 0, 0, 0, 0, 0, 0,
       }
     }

     Tx_Type_In_Set_Inter[[ TX_SET_TYPES_INTER ][ TX_TYPES ] = {
       {
          1, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0,
       },
       {
          1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1,
       },
       {
          1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 0, 0, 0, 0,
       },
       {
          1, 0, 0, 0, 0, 0, 0, 0, 0, 1, 0, 0, 0, 0, 0, 0,
       }
     }



5.11.41. Get scan function
 get_mrow_scan( txSz ) {                                                                            Type
     if ( txSz == TX_4X4 )
         return Mrow_Scan_4x4



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     else if ( txSz == TX_4X8 )
         return Mrow_Scan_4x8
     else if ( txSz == TX_8X4 )
         return Mrow_Scan_8x4
     else if ( txSz == TX_8X8 )
         return Mrow_Scan_8x8
     else if ( txSz == TX_8X16 )
         return Mrow_Scan_8x16
     else if ( txSz == TX_16X8 )
         return Mrow_Scan_16x8
     else if ( txSz == TX_16X16 )
         return Mrow_Scan_16x16
     else if ( txSz == TX_4X16 )
         return Mrow_Scan_4x16
     return Mrow_Scan_16x4
 }

 get_mcol_scan( txSz ) {
     if ( txSz == TX_4X4 )
         return Mcol_Scan_4x4
     else if ( txSz == TX_4X8 )
         return Mcol_Scan_4x8
     else if ( txSz == TX_8X4 )
         return Mcol_Scan_8x4
     else if ( txSz == TX_8X8 )
         return Mcol_Scan_8x8
     else if ( txSz == TX_8X16 )
         return Mcol_Scan_8x16
     else if ( txSz == TX_16X8 )
         return Mcol_Scan_16x8
     else if ( txSz == TX_16X16 )
         return Mcol_Scan_16x16
     else if ( txSz == TX_4X16 )
         return Mcol_Scan_4x16
     return Mcol_Scan_16x4
 }

 get_default_scan( txSz ) {
     if ( txSz == TX_4X4 )
         return Default_Scan_4x4
     else if ( txSz == TX_4X8 )
         return Default_Scan_4x8
     else if ( txSz == TX_8X4 )
         return Default_Scan_8x4
     else if ( txSz == TX_8X8 )
         return Default_Scan_8x8
     else if ( txSz == TX_8X16 )
         return Default_Scan_8x16
     else if ( txSz == TX_16X8 )



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         return Default_Scan_16x8
     else if ( txSz == TX_16X16 )
         return Default_Scan_16x16
     else if ( txSz == TX_16X32 )
         return Default_Scan_16x32
     else if ( txSz == TX_32X16 )
         return Default_Scan_32x16
     else if ( txSz == TX_4X16 )
         return Default_Scan_4x16
     else if ( txSz == TX_16X4 )
         return Default_Scan_16x4
     else if ( txSz == TX_8X32 )
         return Default_Scan_8x32
     else if ( txSz == TX_32X8 )
         return Default_Scan_32x8
     return Default_Scan_32x32
 }

 get_scan( txSz ) {
     if ( txSz == TX_16X64 ) {
         return Default_Scan_16x32
     }
     if ( txSz == TX_64X16 ) {
         return Default_Scan_32x16
     }
     if ( Tx_Size_Sqr_Up[ txSz ] == TX_64X64 ) {
         return Default_Scan_32x32
     }

     if ( PlaneTxType == IDTX ) {
         return get_default_scan( txSz )
     }

     preferRow = ( PlaneTxType == V_DCT ||
                   PlaneTxType == V_ADST ||
                   PlaneTxType == V_FLIPADST )

     preferCol = ( PlaneTxType == H_DCT ||
                   PlaneTxType == H_ADST ||
                   PlaneTxType == H_FLIPADST )

     if ( preferRow ) {
         return get_mrow_scan( txSz )
     } else if ( preferCol ) {
         return get_mcol_scan( txSz )
     }
     return get_default_scan( txSz )
 }




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5.11.42. Intra angle info luma syntax
 intra_angle_info_y( ) {                                                                        Type
     AngleDeltaY = 0
     if ( MiSize >= BLOCK_8X8 ) {
         if ( is_directional_mode( YMode ) ) {
             angle_delta_y                                                                       S()
             AngleDeltaY = angle_delta_y - MAX_ANGLE_DELTA
         }
     }
 }


5.11.43. Intra angle info chroma syntax
 intra_angle_info_uv( ) {                                                                       Type
     AngleDeltaUV = 0
     if ( MiSize >= BLOCK_8X8 ) {
         if ( is_directional_mode( UVMode ) ) {
             angle_delta_uv                                                                      S()
             AngleDeltaUV = angle_delta_uv - MAX_ANGLE_DELTA
         }
     }
 }


5.11.44. Is directional mode function
 is_directional_mode( mode ) {                                                                  Type
     if ( ( mode >= V_PRED ) && ( mode <= D67_PRED ) ) {
         return 1
     }
     return 0
 }


5.11.45. Read CFL alphas syntax
 read_cfl_alphas() {                                                                            Type
     cfl_alpha_signs                                                                             S()
     signU = (cfl_alpha_signs + 1 ) / 3
     signV = (cfl_alpha_signs + 1 ) % 3
     if ( signU != CFL_SIGN_ZERO ) {
         cfl_alpha_u                                                                             S()
         CflAlphaU = 1 + cfl_alpha_u
         if ( signU == CFL_SIGN_NEG )
              CflAlphaU = -CflAlphaU
     } else {
       CflAlphaU = 0
     }
     if ( signV != CFL_SIGN_ZERO ) {
         cfl_alpha_v                                                                             S()
         CflAlphaV = 1 + cfl_alpha_v


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         if ( signV == CFL_SIGN_NEG )
              CflAlphaV = -CflAlphaV
     } else {
       CflAlphaV = 0
     }


5.11.46. Palette mode info syntax
 palette_mode_info( ) {                                                                         Type
     bsizeCtx = Mi_Width_Log2[ MiSize ] + Mi_Height_Log2[ MiSize ] - 2
     if ( YMode == DC_PRED ) {
         has_palette_y                                                                           S()
         if ( has_palette_y ) {
             palette_size_y_minus_2                                                              S()
             PaletteSizeY = palette_size_y_minus_2 + 2
             cacheN = get_palette_cache( 0 )
             idx = 0
             for ( i = 0; i < cacheN && idx < PaletteSizeY; i++ ) {
                 use_palette_color_cache_y                                                      L(1)
                 if ( use_palette_color_cache_y ) {
                     palette_colors_y[ idx ] = PaletteCache[ i ]
                     idx++
                 }
             }
             if ( idx < PaletteSizeY ) {
                 palette_colors_y[ idx ]                                                     L(BitDepth)
                 idx++
             }
             if ( idx < PaletteSizeY ) {
                 minBits = BitDepth - 3
                 palette_num_extra_bits_y                                                       L(2)
                 paletteBits = minBits + palette_num_extra_bits_y
             }
             while ( idx < PaletteSizeY ) {
                 palette_delta_y                                                           L(paletteBits)
                 palette_delta_y++
                 palette_colors_y[ idx ] =
                           Clip1( palette_colors_y[ idx - 1 ] +
                                   palette_delta_y )
                 range = ( 1 << BitDepth ) - palette_colors_y[ idx ] - 1
                 paletteBits = Min( paletteBits, CeilLog2( range ) )
                 idx++
             }
             sort( palette_colors_y, 0, PaletteSizeY - 1 )
         }
     }
     if ( HasChroma && UVMode == DC_PRED ) {
         has_palette_uv                                                                          S()
         if ( has_palette_uv ) {



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              palette_size_uv_minus_2                                                             S()
              PaletteSizeUV = palette_size_uv_minus_2 + 2
              cacheN = get_palette_cache( 1 )
              idx = 0
              for ( i = 0; i < cacheN && idx < PaletteSizeUV; i++ ) {
                  use_palette_color_cache_u                                                      L(1)
                  if ( use_palette_color_cache_u ) {
                      palette_colors_u[ idx ] = PaletteCache[ i ]
                      idx++
                  }
              }
              if ( idx < PaletteSizeUV ) {
                  palette_colors_u[ idx ]                                                     L(BitDepth)
                  idx++
              }
              if ( idx < PaletteSizeUV ) {
                  minBits = BitDepth - 3
                  palette_num_extra_bits_u                                                       L(2)
                  paletteBits = minBits + palette_num_extra_bits_u
              }
              while ( idx < PaletteSizeUV ) {
                  palette_delta_u                                                           L(paletteBits)
                  palette_colors_u[ idx ] =
                            Clip1( palette_colors_u[ idx - 1 ] +
                                   palette_delta_u )
                  range = ( 1 << BitDepth ) - palette_colors_u[ idx ]
                  paletteBits = Min( paletteBits, CeilLog2( range ) )
                  idx++
              }
              sort( palette_colors_u, 0, PaletteSizeUV - 1 )

              delta_encode_palette_colors_v                                                      L(1)
              if ( delta_encode_palette_colors_v ) {
                  minBits = BitDepth - 4
                  maxVal = 1 << BitDepth
                  palette_num_extra_bits_v                                                       L(2)
                  paletteBits = minBits + palette_num_extra_bits_v
                  palette_colors_v[ 0 ]                                                       L(BitDepth)
                  for ( idx = 1; idx < PaletteSizeUV; idx++ ) {
                      palette_delta_v                                                       L(paletteBits)
                      if ( palette_delta_v ) {
                          palette_delta_sign_bit_v                                               L(1)
                          if ( palette_delta_sign_bit_v ) {
                              palette_delta_v = -palette_delta_v
                          }
                      }
                      val = palette_colors_v[ idx - 1 ] + palette_delta_v
                      if ( val < 0 ) val += maxVal
                      if ( val >= maxVal ) val -= maxVal



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                         palette_colors_v[ idx ] = Clip1( val )
                    }
                } else {
                    for ( idx = 0; idx < PaletteSizeUV; idx++ ) {
                         palette_colors_v[ idx ]                                                             L(BitDepth)
                    }
                }
           }
       }
 }

The function sort( arr, i1, i2 ) sorts a subarray of the array arr in-place into ascending order. The subarray to be sorted is
between indices i1 and i2 inclusive.


     Note: The palette colors are generated in ascending order. The palette cache is also in ascending order. This
     means that the sort function can be replaced in implementations by a merge of two sorted lists.


where the function get_palette_cache, which merges the above and left palettes to form a cache, is specified as follows:

 get_palette_cache( plane ) {                                                                                    Type
     aboveN = 0
     if ( ( MiRow * MI_SIZE ) % 64 ) {
         aboveN = PaletteSizes[ plane ][ MiRow - 1 ][ MiCol ]
     }
     leftN = 0
     if ( AvailL ) {
         leftN = PaletteSizes[ plane ][ MiRow ][ MiCol - 1 ]
     }
     aboveIdx = 0
     leftIdx = 0
     n = 0
     while ( aboveIdx < aboveN && leftIdx < leftN ) {
         aboveC = PaletteColors[ plane ][ MiRow - 1 ][ MiCol ][ aboveIdx ]
         leftC = PaletteColors[ plane ][ MiRow ][ MiCol - 1 ][ leftIdx ]
         if ( leftC < aboveC ) {
             if ( n == 0 || leftC != PaletteCache[ n - 1 ] ) {
                  PaletteCache[ n ] = leftC
                  n++
             }
             leftIdx++
         } else {
             if ( n == 0 || aboveC != PaletteCache[ n - 1 ] ) {
                  PaletteCache[ n ] = aboveC
                  n++
             }
             aboveIdx++
             if ( leftC == aboveC ) {
                  leftIdx++



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                }
           }
       }
       while ( aboveIdx < aboveN ) {
           val = PaletteColors[ plane ][ MiRow - 1 ][ MiCol ][ aboveIdx ]
           aboveIdx++
           if ( n == 0 || val != PaletteCache[ n - 1 ] ) {
                PaletteCache[ n ] = val
                n++
           }
       }
       while ( leftIdx < leftN ) {
           val = PaletteColors[ plane ][ MiRow ][ MiCol - 1 ][ leftIdx ]
           leftIdx++
           if ( n == 0 || val != PaletteCache[ n - 1 ] ) {
                PaletteCache[ n ] = val
                n++
           }
       }
       return n
 }


     Note: get_palette_cache is equivalent to sorting the available palette colors from above and left together and
     removing any duplicates.



5.11.47. Transform type syntax
 transform_type( x4, y4, txSz ) {                                                                             Type
     set = get_tx_set( txSz )

       if ( set > 0 &&
             ( segmentation_enabled ? get_qindex( 1, segment_id ) : base_q_idx ) > 0 ) {
           if ( is_inter ) {
                inter_tx_type                                                                                 S()
                if ( set == TX_SET_INTER_1 )
                     TxType = Tx_Type_Inter_Inv_Set1[ inter_tx_type ]
                else if ( set == TX_SET_INTER_2 )
                     TxType = Tx_Type_Inter_Inv_Set2[ inter_tx_type ]
                else
                     TxType = Tx_Type_Inter_Inv_Set3[ inter_tx_type ]
           } else {
                intra_tx_type                                                                                 S()
                if ( set == TX_SET_INTRA_1 )
                     TxType = Tx_Type_Intra_Inv_Set1[ intra_tx_type ]
                else
                     TxType = Tx_Type_Intra_Inv_Set2[ intra_tx_type ]
           }
       } else {



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           TxType = DCT_DCT
       }
       for ( i = 0; i < ( Tx_Width[ txSz ] >> 2 ); i++ ) {
           for ( j = 0; j < ( Tx_Height[ txSz ] >> 2 ); j++ ) {
               TxTypes[ y4 + j ][ x4 + i ] = TxType
           }
       }
 }

where the inversion tables used in the function are specified as follows:


     Tx_Type_Intra_Inv_Set1[[ 7 ] = { IDTX,, DCT_DCT,, V_DCT,, H_DCT,, ADST_ADST,, ADST_DCT,, DCT_ADST }
     Tx_Type_Intra_Inv_Set2[[ 5 ] = { IDTX,, DCT_DCT,, ADST_ADST,, ADST_DCT,, DCT_ADST }
     Tx_Type_Inter_Inv_Set1[[ 16 ] = { IDTX,, V_DCT,, H_DCT,, V_ADST,, H_ADST,, V_FLIPADST,, H_FLIPADST,,
                                      DCT_DCT,, ADST_DCT,, DCT_ADST,, FLIPADST_DCT,, DCT_FLIPADST,, ADST_ADST,,
                                      FLIPADST_FLIPADST,, ADST_FLIPADST,, FLIPADST_ADST }
     Tx_Type_Inter_Inv_Set2[[ 12 ] = { IDTX,, V_DCT,, H_DCT,, DCT_DCT,, ADST_DCT,, DCT_ADST,, FLIPADST_DCT,,
                                       DCT_FLIPADST,, ADST_ADST,, FLIPADST_FLIPADST,, ADST_FLIPADST,,
                                       FLIPADST_ADST }
     Tx_Type_Inter_Inv_Set3[[ 2 ] = { IDTX,, DCT_DCT }



5.11.48. Get transform set function
 get_tx_set( txSz ) {                                                                                   Type
     txSzSqr = Tx_Size_Sqr[ txSz ]
     txSzSqrUp = Tx_Size_Sqr_Up[ txSz ]
     if ( txSzSqrUp > TX_32X32 )
         return TX_SET_DCTONLY
     if ( is_inter ) {
         if ( reduced_tx_set || txSzSqrUp == TX_32X32 ) return TX_SET_INTER_3
         else if ( txSzSqr == TX_16X16 ) return TX_SET_INTER_2
         return TX_SET_INTER_1
     } else {
         if ( txSzSqrUp == TX_32X32 ) return TX_SET_DCTONLY
         else if ( reduced_tx_set ) return TX_SET_INTRA_2
         else if ( txSzSqr == TX_16X16 ) return TX_SET_INTRA_2
         return TX_SET_INTRA_1
     }
 }


5.11.49. Palette tokens syntax
 palette_tokens( ) {                                                                                    Type
     blockHeight = Block_Height[ MiSize ]
     blockWidth = Block_Width[ MiSize ]
     onscreenHeight = Min( blockHeight, (MiRows - MiRow) * MI_SIZE )
     onscreenWidth = Min( blockWidth, (MiCols - MiCol) * MI_SIZE )




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     if ( PaletteSizeY ) {
         color_index_map_y                                                                 NS(PaletteSizeY)
         ColorMapY[0][0] = color_index_map_y
         for ( i = 1; i < onscreenHeight + onscreenWidth - 1; i++ ) {
             for ( j = Min( i, onscreenWidth - 1 );
                       j >= Max( 0, i - onscreenHeight + 1 ); j-- ) {
                 get_palette_color_context(
                     ColorMapY, ( i - j ), j, PaletteSizeY )
                 palette_color_idx_y                                                              S()
                 ColorMapY[ i - j ][ j ] = ColorOrder[ palette_color_idx_y ]
             }
         }
         for ( i = 0; i < onscreenHeight; i++ ) {
             for ( j = onscreenWidth; j < blockWidth; j++ ) {
                 ColorMapY[ i ][ j ] = ColorMapY[ i ][ onscreenWidth - 1 ]
             }
         }
         for ( i = onscreenHeight; i < blockHeight; i++ ) {
             for ( j = 0; j < blockWidth; j++ ) {
                 ColorMapY[ i ][ j ] = ColorMapY[ onscreenHeight - 1 ][ j ]
             }
         }
     }

     if ( PaletteSizeUV ) {
         color_index_map_uv                                                               NS(PaletteSizeUV)
         ColorMapUV[0][0] = color_index_map_uv
         blockHeight = blockHeight >> subsampling_y
         blockWidth = blockWidth >> subsampling_x
         onscreenHeight = onscreenHeight >> subsampling_y
         onscreenWidth = onscreenWidth >> subsampling_x
         if ( blockWidth < 4 ) {
             blockWidth += 2
             onscreenWidth += 2
         }
         if ( blockHeight < 4 ) {
             blockHeight += 2
             onscreenHeight += 2
         }

          for ( i = 1; i < onscreenHeight + onscreenWidth - 1; i++ ) {
              for ( j = Min( i, onscreenWidth - 1 );
                        j >= Max( 0, i - onscreenHeight + 1 ); j-- ) {
                  get_palette_color_context(
                      ColorMapUV, ( i - j ), j, PaletteSizeUV )
                  palette_color_idx_uv                                                            S()
                  ColorMapUV[ i - j ][ j ] = ColorOrder[ palette_color_idx_uv ]
              }
          }



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          for ( i = 0; i < onscreenHeight; i++ ) {
              for ( j = onscreenWidth; j < blockWidth; j++ ) {
                  ColorMapUV[ i ][ j ] = ColorMapUV[ i ][ onscreenWidth - 1 ]
              }
          }
          for ( i = onscreenHeight; i < blockHeight; i++ ) {
              for ( j = 0; j < blockWidth; j++ ) {
                  ColorMapUV[ i ][ j ] = ColorMapUV[ onscreenHeight - 1 ][ j ]
              }
          }
     }
 }


5.11.50. Palette color context function
 get_palette_color_context( colorMap, r, c, n ) {                                                Type
     for ( i = 0; i < PALETTE_COLORS; i++ ) {
         scores[ i ] = 0
         ColorOrder[i] = i
     }
     if ( c > 0 ) {
         neighbor = colorMap[ r ][ c - 1 ]
         scores[ neighbor ] += 2
     }
     if ( ( r > 0 ) && ( c > 0 ) ) {
         neighbor = colorMap[ r - 1 ][ c - 1 ]
         scores[ neighbor ] += 1
     }
     if ( r > 0 ) {
         neighbor = colorMap[ r - 1 ][ c ]
         scores[ neighbor ] += 2
     }
     for ( i = 0; i < PALETTE_NUM_NEIGHBORS; i++ ) {
         maxScore = scores[ i ]
         maxIdx = i
         for ( j = i + 1; j < n; j++ ) {
             if ( scores[ j ] > maxScore ) {
                 maxScore = scores[ j ]
                 maxIdx = j
             }
         }
         if ( maxIdx != i ) {
             maxScore = scores[ maxIdx ]
             maxColorOrder = ColorOrder[ maxIdx ]
             for ( k = maxIdx; k > i; k-- ) {
                 scores[ k ] = scores[ k - 1 ]
                 ColorOrder[ k ] = ColorOrder[ k - 1 ]
             }
             scores[ i ] = maxScore



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               ColorOrder[ i ] = maxColorOrder
          }
      }
      ColorContextHash = 0
      for ( i = 0; i < PALETTE_NUM_NEIGHBORS; i++ ) {
          ColorContextHash += scores[ i ] * Palette_Color_Hash_Multipliers[ i ]
      }
 }


5.11.51. Is inside function
is_inside determines whether a candidate position is inside the current tile.

 is_inside( candidateR, candidateC ) {                                                                        Type
     return ( candidateC >= MiColStart &&
              candidateC < MiColEnd &&
              candidateR >= MiRowStart &&
              candidateR < MiRowEnd )
 }


5.11.52. Is inside filter region function
is_inside_filter_region determines whether a candidate position is inside the region that is being used for CDEF filtering.

 is_inside_filter_region( candidateR, candidateC ) {                                                          Type
     colStart = 0
     colEnd = MiCols
     rowStart = 0
     rowEnd = MiRows
     return (candidateC >= colStart &&
             candidateC < colEnd &&
             candidateR >= rowStart &&
             candidateR < rowEnd)
 }


5.11.53. Clamp MV row function
 clamp_mv_row( mvec, border ) {                                                                               Type
     bh4 = Num_4x4_Blocks_High[ MiSize ]
     mbToTopEdge = -((MiRow * MI_SIZE) * 8)
     mbToBottomEdge = ((MiRows - bh4 - MiRow) * MI_SIZE) * 8
     return Clip3( mbToTopEdge - border, mbToBottomEdge + border, mvec )
 }


5.11.54. Clamp MV col function
 clamp_mv_col( mvec, border ) {                                                                               Type
     bw4 = Num_4x4_Blocks_Wide[ MiSize ]
     mbToLeftEdge = -((MiCol * MI_SIZE) * 8)
     mbToRightEdge = ((MiCols - bw4 - MiCol) * MI_SIZE) * 8



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     return Clip3( mbToLeftEdge - border, mbToRightEdge + border, mvec )
 }


5.11.55. Clear CDEF function
 clear_cdef( r, c ) {                                                                           Type
     cdef_idx[ r ][ c ] = -1
     if ( use_128x128_superblock ) {
         cdefSize4 = Num_4x4_Blocks_Wide[ BLOCK_64X64 ]
         cdef_idx[ r ][ c + cdefSize4 ] = -1
         cdef_idx[ r + cdefSize4][ c ] = -1
         cdef_idx[ r + cdefSize4][ c + cdefSize4 ] = -1
     }
 }


5.11.56. Read CDEF syntax
 read_cdef( ) {                                                                                 Type
     if ( skip || CodedLossless || !enable_cdef || allow_intrabc) {
         return
     }
     cdefSize4 = Num_4x4_Blocks_Wide[ BLOCK_64X64 ]
     cdefMask4 = ~(cdefSize4 - 1)
     r = MiRow & cdefMask4
     c = MiCol & cdefMask4
     if ( cdef_idx[ r ][ c ] == -1 ) {
         cdef_idx[ r ][ c ]                                                                 L(cdef_bits)
         w4 = Num_4x4_Blocks_Wide[ MiSize ]
         h4 = Num_4x4_Blocks_High[ MiSize ]
         for ( i = r; i < r + h4 ; i += cdefSize4 ) {
             for ( j = c; j < c + w4 ; j += cdefSize4 ) {
                 cdef_idx[ i ][ j ] = cdef_idx[ r ][ c ]
             }
         }
     }
 }


5.11.57. Read loop restoration syntax
 read_lr( r, c, bSize ) {                                                                        Type
     if ( allow_intrabc ) {
         return
     }
     w = Num_4x4_Blocks_Wide[ bSize ]
     h = Num_4x4_Blocks_High[ bSize ]
     for ( plane = 0; plane < NumPlanes; plane++ ) {
         if ( FrameRestorationType[ plane ] != RESTORE_NONE ) {
             subX = (plane == 0) ? 0 : subsampling_x
             subY = (plane == 0) ? 0 : subsampling_y
             unitSize = LoopRestorationSize[ plane ]


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               unitRows = count_units_in_frame( unitSize, Round2( FrameHeight, subY) )
               unitCols = count_units_in_frame( unitSize, Round2( UpscaledWidth, subX) )
               unitRowStart = ( r * ( MI_SIZE >> subY) +
                                          unitSize - 1 ) / unitSize
               unitRowEnd = Min( unitRows, ( (r + h) * ( MI_SIZE >> subY) +
                                          unitSize - 1 ) / unitSize)
               if ( use_superres ) {
                   numerator = (MI_SIZE >> subX) * SuperresDenom
                   denominator = unitSize * SUPERRES_NUM
               } else {
                   numerator = MI_SIZE >> subX
                   denominator = unitSize
               }
               unitColStart = ( c * numerator + denominator - 1 ) / denominator
               unitColEnd = Min( unitCols, ( (c + w) * numerator +
                                  denominator - 1 ) / denominator)
               for ( unitRow = unitRowStart; unitRow < unitRowEnd; unitRow++ ) {
                   for ( unitCol = unitColStart; unitCol < unitColEnd; unitCol++ ) {
                        read_lr_unit(plane, unitRow, unitCol)
                   }
               }
           }
       }
 }

where count_units_in_frame is a function specified as:


     count_units_in_frame((unitSize,, frameSize)) {
         return Max((
                   ((frameSize + (unitSize >> 1)) / unitSize,, 1)
     }



5.11.58. Read loop restoration unit syntax
 read_lr_unit(plane, unitRow, unitCol) {                                                              Type
     if ( FrameRestorationType[ plane ] == RESTORE_WIENER ) {
         use_wiener                                                                                   S()
         restoration_type = use_wiener ? RESTORE_WIENER : RESTORE_NONE
     } else if ( FrameRestorationType[ plane ] == RESTORE_SGRPROJ ) {
         use_sgrproj                                                                                  S()
         restoration_type = use_sgrproj ? RESTORE_SGRPROJ : RESTORE_NONE
     } else {
         restoration_type                                                                             S()
     }
     LrType[ plane ][ unitRow ][ unitCol ] = restoration_type
     if ( restoration_type == RESTORE_WIENER ) {
         for ( pass = 0; pass < 2; pass++ ) {
              if ( plane ) {
                  firstCoeff = 1


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                  LrWiener[ plane ]
                          [ unitRow ][ unitCol ][ pass ][0] = 0
              } else {
                  firstCoeff = 0
              }
              for ( j = firstCoeff; j < 3; j++ ) {
                  min = Wiener_Taps_Min[ j ]
                  max = Wiener_Taps_Max[ j ]
                  k = Wiener_Taps_K[ j ]
                  v = decode_signed_subexp_with_ref_bool(
                          min, max + 1, k, RefLrWiener[ plane ][ pass ][ j ] )
                  LrWiener[ plane ]
                          [ unitRow ][ unitCol ][ pass ][ j ] = v
                  RefLrWiener[ plane ][ pass ][ j ] = v
              }
         }
     } else if ( restoration_type == RESTORE_SGRPROJ ) {
         lr_sgr_set                                                                   L(SGRPROJ_PARAMS_BITS)
         LrSgrSet[ plane ][ unitRow ][ unitCol ] = lr_sgr_set
         for ( i = 0; i < 2; i++ ) {
             radius = Sgr_Params[ lr_sgr_set ][ i * 2 ]
             min = Sgrproj_Xqd_Min[i]
             max = Sgrproj_Xqd_Max[i]
             if ( radius ) {
               v = decode_signed_subexp_with_ref_bool(
                      min, max + 1, SGRPROJ_PRJ_SUBEXP_K,
                      RefSgrXqd[ plane ][ i ])
             } else {
               v = 0
               if ( i == 1 ) {
                 v = Clip3( min, max, (1 << SGRPROJ_PRJ_BITS) -
                             RefSgrXqd[ plane ][ 0 ] )
               }
             }
             LrSgrXqd[ plane ][ unitRow ][ unitCol ][ i ] = v
             RefSgrXqd[ plane ][ i ] = v
         }
     }
 }

where Wiener_Taps_Min, Wiener_Taps_Max, ,Wiener_Taps_K, Sgrproj_Xqd_Min, and Sgrproj_Xqd_Max are constant
lookup tables:




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  Wiener_Taps_Min[[3] = { -5, -23
                               23,, -17 }
  Wiener_Taps_Max[[3] = { 10
                          10,, 8, 46 }
  Wiener_Taps_K[[3] = { 1, 2, 3 }

  Sgrproj_Xqd_Min[[2] = { -96
                           96,, -32 }
  Sgrproj_Xqd_Max[[2] = { 31
                           31,, 95 }


Sgr_Params is a constant lookup table defined in section 7.17.3 and decode_signed_subexp_with_ref_bool is a function
specified as follows:

 decode_signed_subexp_with_ref_bool( low, high, k, r ) {                                               Type
     x = decode_unsigned_subexp_with_ref_bool(high - low, k, r - low)
     return x + low
 }

 decode_unsigned_subexp_with_ref_bool( mx, k, r ) {
     v = decode_subexp_bool( mx, k )
     if ( (r << 1) <= mx ) {
         return inverse_recenter(r, v)
     } else {
         return mx - 1 - inverse_recenter(mx - 1 - r, v)
     }
 }

 decode_subexp_bool( numSyms, k ) {
     i = 0
     mk = 0
     while ( 1 ) {
         b2 = i ? k + i - 1 : k
         a = 1 << b2
         if ( numSyms <= mk + 3 * a ) {
             subexp_unif_bools                                                                   NS(numSyms - mk)
             return subexp_unif_bools + mk
         } else {
             subexp_more_bools                                                                         L(1)
             if ( subexp_more_bools ) {
                i++
                mk += a
             } else {
                subexp_bools                                                                           L(b2)
                return subexp_bools + mk
             }
         }
     }
 }




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   Note: The decode_signed_subexp_with_ref_bool function is the same as the decode_signed_subexp_with_ref
   function except that the bits used to represent the symbol are arithmetic coded instead of being read directly from
   the bitstream.



5.12. Tile list OBU syntax
5.12.1. General tile list OBU syntax
 tile_list_obu( ) {                                                                                         Type
     output_frame_width_in_tiles_minus_1                                                                    f(8)
     output_frame_height_in_tiles_minus_1                                                                   f(8)
     tile_count_minus_1                                                                                     f(16)
     for ( tile = 0; tile <= tile_count_minus_1; tile++ )
         tile_list_entry( )
 }


5.12.2. Tile list entry syntax
 tile_list_entry( ) {                                                                                       Type
     anchor_frame_idx                                                                                       f(8)
     anchor_tile_row                                                                                        f(8)
     anchor_tile_col                                                                                        f(8)
     tile_data_size_minus_1                                                                                 f(16)
     N = 8 * (tile_data_size_minus_1 + 1)
     coded_tile_data                                                                                        f(N)
 }




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6. Syntax structures semantics
6.1. General
This section specifies the meaning of the syntax elements read in the syntax structures.

Important variables and function calls are also described.


6.2. OBU semantics
6.2.1. General OBU semantics
An ordered series of OBUs is presented to the decoding process. Each OBU is given to the decoding process as a string
of bytes along with a variable sz that identifies the total number of bytes in the OBU.

If the syntax element obu_has_size_field (in the OBU header) is equal to 1, then the variable sz will be unused and does
not have to be provided.

obu_size contains the size in bytes of the OBU not including the bytes within obu_header or the obu_size syntax
element.

Methods of framing the OBUs (i.e. of identifying the series of OBUs and their size and payload data) in a delivery or
container format may be established in a manner outside the scope of this Specification. One simple method is described
in Annex B.

OBU data starts on the first (most significant) bit and ends on the last bit of the given bytes. The payload of an OBU lies
between the first bit of the given bytes and the last bit before the first trailing bit. Trailing bits are always present, unless
the OBU consists of only the header. Trailing bits achieve byte alignment when the payload of an OBU is not byte aligned.
The trailing bits may also used for additional byte padding, and if used are taken into account in the sz value. In all cases,
the pattern used for the trailing bits guarantees that all OBUs (except header-only OBUs) end with the same pattern: one
bit set to one, optionally followed by zeros.


   Note: As a validity check for malformed encoded data and for operation in environments in which losses and
   errors can occur, decoders may detect an error if the end of the parsed data is not directly followed by the correct
   trailing bits pattern or if the parsing of the OBU header and payload leads to the consumption of bits within the
   trailing bits (except for tile group data which is allowed to read a small distance into the trailing bits as described in
   section 8.2.4).


drop_obu( ) is a function call that indicates when the decoding process should ignore an OBU because it is not contained
in the selected operating point. When an OBU is not in the selected operating point the contents have no effect on the
decoding process.

When this function is called, the bitstream position indicator should be advanced by obu_size * 8 bits.




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6.2.2. OBU header semantics
OBUs are structured with a header and a payload. The header identifies the type of the payload using the obu_type
header parameter.

obu_forbidden_bit must be set to 0.


      Note: This ensures that MPEG2 transport is possible by preventing emulation of MPEG2 transport stream ids.


obu_type specifies the type of data structure contained in the OBU payload:


 obu_type                    Name of obu_type

 0                           Reserved

 1                           OBU_SEQUENCE_HEADER

 2                           OBU_TEMPORAL_DELIMITER

 3                           OBU_FRAME_HEADER

 4                           OBU_TILE_GROUP

 5                           OBU_METADATA

 6                           OBU_FRAME

 7                           OBU_REDUNDANT_FRAME_HEADER

 8                           OBU_TILE_LIST

 9-14                        Reserved

 15                          OBU_PADDING


Reserved units are for future use and shall be ignored by AV1 decoder.

obu_extension_flag indicates if the optional obu_extension_header is present.

obu_has_size_field equal to 1 indicates that the obu_size syntax element will be present. obu_has_size_field equal to 0
indicates that the obu_size syntax element will not be present.

obu_reserved_1bit must be set to 0. The value is ignored by a decoder.


6.2.3. OBU extension header semantics
temporal_id specifies the temporal level of the data contained in the OBU. When temporal_id is not present, temporal_id
is inferred to be equal to 0.

spatial_id specifies the spatial level of the data contained in the OBU. When spatial_id is not present, spatial_id is
inferred to be equal to 0.


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     Note: The term “spatial” refers to the fact that the enhancement here occurs in the spatial dimension: either as an
     increase in spatial resolution, or an increase in spatial fidelity (increased SNR).


Tile group OBU data associated with spatial_id and temporal_id equal to 0 are referred to as the base layer, whereas tile
group OBU data that are associated with spatial_id greater than 0 or temporal_id greater than 0 are referred to as
enhancement layer(s).

Coded video data of a temporal level with temporal_id T and spatial level with spatial_id S are only allowed to reference
previously coded video data of temporal_id T’ and spatial_id S’, where T’ <= T and S’ <= S.

extension_header_reserved_3bits must be set to 0. The value is ignored by a decoder.


6.2.4. Trailing bits semantics
     Note: Tile group OBUs, tile List OBUs, and frame OBUs do end with trailing bits, but for these cases, the trailing
     bits are consumed by the exit_symbol process.


trailing_one_bit shall be equal to 1.

When the syntax element trailing_one_bit is read, it is a requirement that nbBits is greater than zero.

trailing_zero_bit shall be equal to 0 and is inserted into the bitstream to align the bit position to a multiple of 8 bits and
add optional zero padding bytes to the OBU.


6.2.5. Byte alignment semantics
zero_bit shall be equal to 0 and is inserted into the bitstream to align the bit position to a multiple of 8 bits.


6.3. Reserved OBU semantics
The reserved OBU allows the extension of this specification with additional OBU types in a way that allows older decoders
to ignore them.


6.4. Sequence header OBU semantics
6.4.1. General sequence header OBU semantics
seq_profile specifies the features that can be used in the coded video sequence.


 seq_profile          Bit depth         Monochrome support                    Chroma subsampling

 0                    8 or 10           Yes                                   YUV 4:2:0

 1                    8 or 10           No                                    YUV 4:4:4

 2                    8 or 10           Yes                                   YUV 4:2:2



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 seq_profile          Bit depth        Monochrome support                    Chroma subsampling

 2                    12               Yes                                   YUV 4:2:0, YUV 4:2:2, YUV 4:4:4


It is a requirement of bitstream conformance that seq_profile is not greater than 2 (values 3 to 7 are reserved).

Monochrome can only be signaled when seq_profile is equal to 0 or 2.

AV1 profiles are defined in Annex A.

still_picture equal to 1 specifies that the coded video sequence contains only one coded frame. still_picture equal to 0
specifies that the coded video sequence contains one or more coded frames.

reduced_still_picture_header specifies that the syntax elements not needed by a still picture are omitted.

If reduced_still_picture_header is equal to 1, it is a requirement of bitstream conformance that still_picture is equal to 1.


     Note: It is allowed to have still_picture equal to 1 and reduced_still_picture_header equal to 0. This allows a video
     frame to be converted to a still picture by changing a single bit.


timing_info_present_flag specifies whether timing info is present in the coded video sequence.

decoder_model_info_present_flag specifies whether decoder model information is present in the coded video
sequence.

initial_display_delay_present_flag specifies whether initial display delay information is present in the coded video
sequence.

operating_points_cnt_minus_1 indicates the number of operating points minus 1 present in the coded video sequence.

An operating point specifies which spatial and temporal layers should be decoded.

operating_point_idc[ i ] contains a bitmask that indicates which spatial and temporal layers should be decoded for
operating point i. Bit k is equal to 1 if temporal layer k should be decoded (for k between 0 and 7). Bit j+8 is equal to 1 if
spatial layer j should be decoded (for j between 0 and 3).

However, if operating_point_idc[ i ] is equal to 0 then the coded video sequence has no scalability information in OBU
extension headers and the operating point applies to the entire coded video sequence. This means that all OBUs must be
decoded.

It is a requirement of bitstream conformance that operating_point_idc[ i ] is not equal to operating_point_idc[ j ] for j = 0..(i
- 1).


     Note: This constraint means it is not allowed for two operating points to have the same value of
     operating_point_idc.




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If operating_point_idc[ op ] is not equal to 0 for any value of op from 0 to operating_points_cnt_minus_1, it is a
requirement of bitstream conformance that obu_extension_flag is equal to 1.

seq_level_idx[ i ] specifies the level that the coded video sequence conforms to when operating point i is selected.


   Note: Encoders should select the lowest level that is satisfied by the operating point to maximize the number of
   decoders that can decode the stream, but this is not a requirement of bitstream conformance.


seq_tier[ i ] specifies the tier that the coded video sequence conforms to when operating point i is selected.

decoder_model_present_for_this_op[ i ] equal to one indicates that there is a decoder model associated with operating
point i. decoder_model_present_for_this_op[ i ] equal to zero indicates that there is not a decoder model associated with
operating point i.

initial_display_delay_present_for_this_op[ i ] equal to 1 indicates that initial_display_delay_minus_1 is specified for
operating point i. initial_display_delay_present_for_this_op[ i ] equal to 0 indicates that initial_display_delay_minus_1 is
not specified for operating point i.

initial_display_delay_minus_1[ i ] plus 1 specifies, for operating point i, the number of decoded frames that should be
present in the buffer pool before the first presentable frame is displayed. This will ensure that all presentable frames in the
sequence can be decoded at or before the time that they are scheduled for display. If not signaled then
initial_display_delay_minus_1[ i ] = BUFFER_POOL_MAX_SIZE - 1.

choose_operating_point( ) is a function call that indicates that the operating point should be selected.

The implementation of this function depends on the capabilities of the chosen implementation. The order of operating
points indicates the preferred order for producing an output: a decoder should select the earliest operating point in the list
that meets its decoding capabilities as expressed by the level associated with each operating point.

A decoder must return a value from choose_operating_point between 0 and operating_points_cnt_minus_1, or abandon
the decoding process if no level within the decoder’s capabilities can be found.


   Note: To help with conformance testing, decoders may allow the operating point to be explicitly signaled by
   external means.



   Note: A decoder may need to change the operating point selection when a new coded video sequence begins.


OperatingPointIdc specifies the value of operating_point_idc for the selected operating point.

It is a requirement of bitstream conformance that if OperatingPointIdc is equal to 0, then obu_extension_flag is equal to 0
for all OBUs that follow this sequence header until the next sequence header.

frame_width_bits_minus_1 specifies the number of bits minus 1 used for transmitting the frame width syntax elements.




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frame_height_bits_minus_1 specifies the number of bits minus 1 used for transmitting the frame height syntax
elements.

max_frame_width_minus_1 specifies the maximum frame width minus 1 for the frames represented by this sequence
header.

max_frame_height_minus_1 specifies the maximum frame height minus 1 for the frames represented by this sequence
header.

frame_id_numbers_present_flag specifies whether frame id numbers are present in the coded video sequence.


   Note: The frame id numbers (represented in display_frame_id, current_frame_id, and RefFrameId[ i ]) are not
   needed by the decoding process, but allow decoders to spot when frames have been missed and take an
   appropriate action.


additional_frame_id_length_minus_1 is used to calculate the number of bits used to encode the frame_id syntax
element.

delta_frame_id_length_minus_2 specifies the number of bits minus 2 used to encode delta_frame_id syntax elements.

use_128x128_superblock, when equal to 1, indicates that superblocks contain 128x128 luma samples. When equal to 0,
it indicates that superblocks contain 64x64 luma samples. (The number of contained chroma samples depends on
subsampling_x and subsampling_y.)

enable_filter_intra equal to 1 specifies that the use_filter_intra syntax element may be present. enable_filter_intra equal
to 0 specifies that the use_filter_intra syntax element will not be present.

enable_intra_edge_filter specifies whether the intra edge filtering process should be enabled.

enable_interintra_compound equal to 1 specifies that the mode info for inter blocks may contain the syntax element
interintra. enable_interintra_compound equal to 0 specifies that the syntax element interintra will not be present.

enable_masked_compound equal to 1 specifies that the mode info for inter blocks may contain the syntax element
compound_type. enable_masked_compound equal to 0 specifies that the syntax element compound_type will not be
present.

enable_warped_motion equal to 1 indicates that the allow_warped_motion syntax element may be present.
enable_warped_motion equal to 0 indicates that the allow_warped_motion syntax element will not be present.

enable_order_hint equal to 1 indicates that tools based on the values of order hints may be used. enable_order_hint
equal to 0 indicates that tools based on order hints are disabled.

enable_dual_filter equal to 1 indicates that the inter prediction filter type may be specified independently in the horizontal
and vertical directions. If the flag is equal to 0, only one filter type may be specified, which is then used in both directions.

enable_jnt_comp equal to 1 indicates that the distance weights process may be used for inter prediction.




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enable_ref_frame_mvs equal to 1 indicates that the use_ref_frame_mvs syntax element may be present.
enable_ref_frame_mvs equal to 0 indicates that the use_ref_frame_mvs syntax element will not be present.

seq_choose_screen_content_tools equal to 0 indicates that the seq_force_screen_content_tools syntax element will be
present. seq_choose_screen_content_tools equal to 1 indicates that seq_force_screen_content_tools should be set equal
to SELECT_SCREEN_CONTENT_TOOLS.

seq_force_screen_content_tools equal to SELECT_SCREEN_CONTENT_TOOLS indicates that the
allow_screen_content_tools syntax element will be present in the frame header. Otherwise,
seq_force_screen_content_tools contains the value for allow_screen_content_tools.

seq_choose_integer_mv equal to 0 indicates that the seq_force_integer_mv syntax element will be present.
seq_choose_integer_mv equal to 1 indicates that seq_force_integer_mv should be set equal to SELECT_INTEGER_MV.

seq_force_integer_mv equal to SELECT_INTEGER_MV indicates that the force_integer_mv syntax element will be
present in the frame header (providing allow_screen_content_tools is equal to 1). Otherwise, seq_force_integer_mv
contains the value for force_integer_mv.

order_hint_bits_minus_1 is used to compute OrderHintBits.

OrderHintBits specifies the number of bits used for the order_hint syntax element.

enable_superres equal to 1 specifies that the use_superres syntax element will be present in the uncompressed header.
enable_superres equal to 0 specifies that the use_superres syntax element will not be present (instead use_superres will
be set to 0 in the uncompressed header without being read).


   Note: It is allowed to set enable_superres equal to 1 even when use_superres is not equal to 1 for any frame in
   the coded video sequence.


enable_cdef equal to 1 specifies that cdef filtering may be enabled. enable_cdef equal to 0 specifies that cdef filtering is
disabled.


   Note: It is allowed to set enable_cdef equal to 1 even when cdef filtering is not used on any frame in the coded
   video sequence.


enable_restoration equal to 1 specifies that loop restoration filtering may be enabled. enable_restoration equal to 0
specifies that loop restoration filtering is disabled.


   Note: It is allowed to set enable_restoration equal to 1 even when loop restoration is not used on any frame in the
   coded video sequence.


film_grain_params_present specifies whether film grain parameters are present in the coded video sequence.




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6.4.2. Color config semantics
high_bitdepth and twelve_bit are syntax elements which, together with seq_profile, determine the bit depth.

mono_chrome equal to 1 indicates that the video does not contain U and V color planes. mono_chrome equal to 0
indicates that the video contains Y, U, and V color planes.

color_description_present_flag equal to 1 specifies that color_primaries, transfer_characteristics, and
matrix_coefficients are present. color_description_present_flag equal to 0 specifies that color_primaries,
transfer_characteristics and matrix_coefficients are not present.

color_primaries is an integer that is defined by the “Color primaries” section of ISO/IEC 23091-4/ITU-T H.273.


    color_primaries            Name of color primaries         Description

            1                          CP_BT_709               BT.709

            2                     CP_UNSPECIFIED               Unspecified

            4                       CP_BT_470_M                BT.470 System M (historical)

            5                      CP_BT_470_B_G               BT.470 System B, G (historical)

            6                          CP_BT_601               BT.601

            7                      CP_SMPTE_240                SMPTE 240

            8                    CP_GENERIC_FILM               Generic film (color filters using illuminant C)

            9                        CP_BT_2020                BT.2020, BT.2100

           10                           CP_XYZ                 SMPTE 428 (CIE 1921 XYZ)

           11                      CP_SMPTE_431                SMPTE RP 431-2

           12                      CP_SMPTE_432                SMPTE EG 432-1

           22                       CP_EBU_3213                EBU Tech. 3213-E


transfer_characteristics is an integer that is defined by the “Transfer characteristics” section of ISO/IEC 23091-4/ITU-T
H.273.


   transfer_characteristics          Name of transfer characteristics         Description

                0                            TC_RESERVED_0                    For future use

                1                                TC_BT_709                    BT.709

                2                            TC_UNSPECIFIED                   Unspecified

                3                            TC_RESERVED_3                    For future use

                4                              TC_BT_470_M                    BT.470 System M (historical)




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   transfer_characteristics          Name of transfer characteristics        Description

                5                            TC_BT_470_B_G                   BT.470 System B, G (historical)

                6                               TC_BT_601                    BT.601

                7                            TC_SMPTE_240                    SMPTE 240 M

                8                               TC_LINEAR                    Linear

                9                              TC_LOG_100                    Logarithmic (100 : 1 range)

                10                        TC_LOG_100_SQRT10                  Logarithmic (100 * Sqrt(10) : 1 range)

                11                            TC_IEC_61966                   IEC 61966-2-4

                12                             TC_BT_1361                    BT.1361

                13                               TC_SRGB                     sRGB or sYCC

                14                         TC_BT_2020_10_BIT                 BT.2020 10-bit systems

                15                         TC_BT_2020_12_BIT                 BT.2020 12-bit systems

                16                           TC_SMPTE_2084                   SMPTE ST 2084, ITU BT.2100 PQ

                17                           TC_SMPTE_428                    SMPTE ST 428

                18                                TC_HLG                     BT.2100 HLG, ARIB STD-B67


matrix_coefficients is an integer that is defined by the “Matrix coefficients” section of ISO/IEC 23091-4/ITU-T H.273.


  matrix_coefficients         Name of matrix coefficients      Description

            0                       MC_IDENTITY                Identity matrix

            1                          MC_BT_709               BT.709

            2                     MC_UNSPECIFIED               Unspecified

            3                     MC_RESERVED_3                For future use

            4                           MC_FCC                 US FCC 73.628

            5                      MC_BT_470_B_G               BT.470 System B, G (historical)

            6                          MC_BT_601               BT.601

            7                      MC_SMPTE_240                SMPTE 240 M

            8                    MC_SMPTE_YCGCO                YCgCo

            9                     MC_BT_2020_NCL               BT.2020 non-constant luminance, BT.2100 YCbCr

           10                      MC_BT_2020_CL               BT.2020 constant luminance

           11                     MC_SMPTE_2085                SMPTE ST 2085 YDzDx


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     matrix_coefficients      Name of matrix coefficients        Description

             12                     MC_CHROMAT_NCL               Chromaticity-derived non-constant luminance

             13                      MC_CHROMAT_CL               Chromaticity-derived constant luminance

             14                         MC_ICTCP                 BT.2100 ICtCp


color_range is a binary value that is associated with the VideoFullRangeFlag variable specified in ISO/IEC 23091-4/ITU-
T H.273. color range equal to 0 shall be referred to as the studio swing representation and color range equal to 1 shall be
referred to as the full swing representation for all intents relating to this specification.


     Note: Note that this specification does not enforce the range when signaled as Studio swing. Therefore the
     application should perform additional clamping and color conversion operations according to the specified range.


subsampling_x, subsampling_y specify the chroma subsampling format:


 subsampling_x                  subsampling_y                mono_chrome                    Description

 0                              0                            0                              YUV 4:4:4

 1                              0                            0                              YUV 4:2:2

 1                              1                            0                              YUV 4:2:0

 1                              1                            1                              Monochrome 4:0:0


If matrix_coefficients is equal to MC_IDENTITY, it is a requirement of bitstream conformance that subsampling_x is equal
to 0 and subsampling_y is equal to 0.

chroma_sample_position specifies the sample position for subsampled streams:


                                    Name of chroma
 chroma_sample_position             sample position    Description

               0                    CSP_UNKNOWN        Unknown (in this case the source video transfer function must be
                                                       signaled outside the AV1 bitstream)

               1                    CSP_VERTICAL       Horizontally co-located with (0, 0) luma sample, vertical position in
                                                       the middle between two luma samples

               2                CSP_COLOCATED          co-located with (0, 0) luma sample

               3                 CSP_RESERVED


separate_uv_delta_q equal to 1 indicates that the U and V planes may have separate delta quantizer values.
separate_uv_delta_q equal to 0 indicates that the U and V planes will share the same delta quantizer value.




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6.4.3. Timing info semantics
num_units_in_display_tick is the number of time units of a clock operating at the frequency time_scale Hz that
corresponds to one increment of a clock tick counter. A display clock tick, in seconds, is equal to
num_units_in_display_tick divided by time_scale:


  DispCT = num_units_in_display_tick ÷ time_scale



   Note: The ÷ operator represents standard mathematical division (in contrast to the / operator which represents
   integer division).


It is a requirement of bitstream conformance that num_units_in_display_tick is greater than 0.

time_scale is the number of time units that pass in one second.

It is a requirement of bitstream conformance that time_scale is greater than 0.

equal_picture_interval equal to 1 indicates that pictures should be displayed according to their output order with the
number of ticks between two consecutive pictures (without dropping frames) specified by num_ticks_per_picture_minus_1
+ 1. equal_picture_interval equal to 0 indicates that the interval between two consecutive pictures is not specified.

num_ticks_per_picture_minus_1 plus 1 specifies the number of clock ticks corresponding to output time between two
consecutive pictures in the output order.

It is a requirement of bitstream conformance that the value of num_ticks_per_picture_minus_1 shall be in the range of 0 to
(1 << 32) − 2, inclusive.


   Note: The frame rate, when specified explicitly, applies to the top temporal layer of the bitstream. If bitstream is
   expected to be manipulated, e.g. by intermediate network elements, then the resulting frame rate may not match
   the specified one. In this case, an encoder is advised to use explicit time codes or some mechanisms that convey
   picture timing information outside the bitstream.



6.4.4. Decoder model info semantics
buffer_delay_length_minus_1 plus 1 specifies the length of the decoder_buffer_delay and the encoder_buffer_delay
syntax elements, in bits.

num_units_in_decoding_tick is the number of time units of a decoding clock operating at the frequency time_scale Hz
that corresponds to one increment of a clock tick counter:


  DecCT = num_units_in_decoding_tick ÷ time_scale




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   Note: The ÷ operator represents standard mathematical division (in contrast to the / operator which represents
   integer division).


num_units_in_decoding_tick shall be greater than 0. DecCT represents the expected time to decode a single frame or a
common divisor of the expected times to decode frames of different sizes and dimensions present in the coded video
sequence.

buffer_removal_time_length_minus_1 plus 1 specifies the length of the buffer_removal_time syntax element, in bits.

frame_presentation_time_length_minus_1 plus 1 specifies the length of the frame_presentation_time syntax element,
in bits.


6.4.5. Operating parameters info semantics
decoder_buffer_delay[ op ] specifies the time interval between the arrival of the first bit in the smoothing buffer and the
subsequent removal of the data that belongs to the first coded frame for operating point op, measured in units of 1/90000
seconds. The length of decoder_buffer_delay is specified by buffer_delay_length_minus_1 + 1, in bits.

encoder_buffer_delay[ op ] specifies, in combination with decoder_buffer_delay[ op ] syntax element, the first bit arrival
time of frames to be decoded to the smoothing buffer. encoder_buffer_delay is measured in units of 1/90000 seconds.

For a video sequence that includes one or more random access points the sum of decoder_buffer_delay and
encoder_buffer_delay shall be kept constant.

low_delay_mode_flag[ op ] equal to 1 indicates that the smoothing buffer operates in low-delay mode for operating point
op. In low-delay mode late decode times and buffer underflow are both permitted. low_delay_mode_flag[ op ] equal to 0
indicates that the smoothing buffer operates in strict mode, where buffer underflow is not allowed.


6.5. Temporal delimiter OBU semantics
SeenFrameHeader is a variable used to mark whether the frame header for the current frame has been received. It is
initialized to zero.


6.6. Padding OBU semantics
Multiple padding units can be present, each padding with an arbitrary number of bytes.

obu_padding_byte is a padding byte. Padding bytes may have arbitrary values and have no effect on the decoding
process.


6.7. Metadata OBU semantics
6.7.1. General metadata OBU semantics
metadata_type indicates the type of metadata:




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metadata_type                           Name of metadata_type

0                                       Reserved for AOM use

1                                       METADATA_TYPE_HDR_CLL

2                                       METADATA_TYPE_HDR_MDCV

3                                       METADATA_TYPE_SCALABILITY

4                                       METADATA_TYPE_ITUT_T35

5                                       METADATA_TYPE_TIMECODE

6-31                                    Unregistered user private

32 and greater                          Reserved for AOM use


6.7.2. Metadata ITUT T35 semantics
itu_t_t35_country_code shall be a byte having a value specified as a country code by Annex A of Recommendation ITU-
T T.35.

itu_t_t35_country_code_extension_byte shall be a byte having a value specified as a country code by Annex B of
Recommendation ITU-T T.35.

itu_t_t35_payload_bytes shall be bytes containing data registered as specified in Recommendation ITU-T T.35.

The ITU-T T.35 terminal provider code and terminal provider oriented code shall be contained in the first one or more
bytes of the itu_t_t35_payload_bytes, in the format specified by the Administration that issued the terminal provider code.
Any remaining bytes in itu_t_t35_payload_bytes data shall be data having syntax and semantics as specified by the entity
identified by the ITU-T T.35 country code and terminal provider code.


6.7.3. Metadata high dynamic range content light level semantics
max_cll specifies the maximum content light level as specified in CEA-861.3, Appendix A.

max_fall specifies the maximum frame-average light level as specified in CEA-861.3, Appendix A.


6.7.4. Metadata high dynamic range mastering display color volume
semantics
primary_chromaticity_x[ i ] specifies a 0.16 fixed-point X chromaticity coordinate as defined by CIE 1931, where i =
0,1,2 specifies Red, Green, Blue respectively.

primary_chromaticity_y[ i ] specifies a 0.16 fixed-point Y chromaticity coordinate as defined by CIE 1931, where i =
0,1,2 specifies Red, Green, Blue respectively.

white_point_chromaticity_x specifies a 0.16 fixed-point white X chromaticity coordinate as defined by CIE 1931.




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white_point_chromaticity_y specifies a 0.16 fixed-point white Y chromaticity coordinate as defined by CIE 1931.

luminance_max is a 24.8 fixed-point maximum luminance, represented in candelas per square meter.

luminance_min is a 18.14 fixed-point minimum luminance, represented in candelas per square meter.


6.7.5. Metadata scalability semantics
     Note: The scalability metadata OBU is intended for use by intermediate processing entities that may perform
     selective layer elimination. Its presence allows these entities to know the structure of the original coded video
     sequence without having to decode individual frames. If the received bitstream has been modified by an
     intermediate processing entity, then some of the layers and/or individual frames may be absent from the bitstream.


If scalability metadata is present it should be placed between the first sequence header and the first frame header of a
coded video sequence. The information present in a scalability metadata OBU applies to the entire coded video sequence
in which it is contained, and only that sequence. Redundant copies of a scalability metadata OBU may occur in any
temporal unit of a coded video sequence.

scalability_mode_idc indicates the picture prediction structure of the coded video sequence.


scalability_mode_idc                               Name of scalability_mode_idc

0                                                  SCALABILITY_L1T2

1                                                  SCALABILITY_L1T3

2                                                  SCALABILITY_L2T1

3                                                  SCALABILITY_L2T2

4                                                  SCALABILITY_L2T3

5                                                  SCALABILITY_S2T1

6                                                  SCALABILITY_S2T2

7                                                  SCALABILITY_S2T3

8                                                  SCALABILITY_L2T1h

9                                                  SCALABILITY_L2T2h

10                                                 SCALABILITY_L2T3h

11                                                 SCALABILITY_S2T1h

12                                                 SCALABILITY_S2T2h

13                                                 SCALABILITY_S2T3h

14                                                 SCALABILITY_SS




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 scalability_mode_idc                              Name of scalability_mode_idc

 15                                                SCALABILITY_L3T1

 16                                                SCALABILITY_L3T2

 17                                                SCALABILITY_L3T3

 18                                                SCALABILITY_S3T1

 19                                                SCALABILITY_S3T2

 20                                                SCALABILITY_S3T3

 21                                                SCALABILITY_L3T2_KEY

 22                                                SCALABILITY_L3T3_KEY

 23                                                SCALABILITY_L4T5_KEY

 24                                                SCALABILITY_L4T7_KEY

 25                                                SCALABILITY_L3T2_KEY_SHIFT

 26                                                SCALABILITY_L3T3_KEY_SHIFT

 27                                                SCALABILITY_L4T5_KEY_SHIFT

 28                                                SCALABILITY_L4T7_KEY_SHIFT

 29-255                                            reserved


The scalability metadata provides two mechanisms for describing the underlying picture prediction structure of the
bitstream:

      1. Selection among a set of preconfigured structures, or modes, covering a number of cases that have found wide
         use in applications.
      2. A facility for specifying picture prediction structures to accommodate a variety of special cases.

The preconfigured modes are described below. The mechanism for describing alternative structures is described in
scalability_structure() below.

All predefined modes follow a dyadic, hierarchical picture prediction structure. They support up to three temporal layers, in
combinations with one or two spatial layers. The second spatial layer may have twice or one and a half times the
resolution of the base layer in each dimension, depending on the mode. There is also support for a spatial layer that uses
no inter-layer prediction (i.e., the second spatial layer does not use its corresponding base layer as a reference) and a
spatial layer that uses inter-layer prediction only at key frames. The following table lists the predefined scalability
structures.


 Name of scalability_mode_idc          Spatial Layers Resolution Ratio Temporal Layers Inter-layer dependency

 SCALABILITY_L1T2                      1                                     2




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 Name of scalability_mode_idc          Spatial Layers Resolution Ratio Temporal Layers Inter-layer dependency

 SCALABILITY_L1T3                      1                                    3

 SCALABILITY_L2T1                      2                2:1                 1                Yes

 SCALABILITY_L2T2                      2                2:1                 2                Yes

 SCALABILITY_L2T3                      2                2:1                 3                Yes

 SCALABILITY_S2T1                      2                2:1                 1                No

 SCALABILITY_S2T2                      2                2:1                 2                No

 SCALABILITY_S2T3                      2                2:1                 3                No

 SCALABILITY_L2T1h                     2                1.5:1               1                Yes

 SCALABILITY_L2T2h                     2                1.5:1               2                Yes

 SCALABILITY_L2T3h                     2                1.5:1               3                Yes

 SCALABILITY_S2T1h                     2                1.5:1               1                No

 SCALABILITY_S2T2h                     2                1.5:1               2                No

 SCALABILITY_S2T3h                     2                1.5:1               3                No

 SCALABILITY_L3T1                      3                2:1                 1                Yes

 SCALABILITY_L3T2                      3                2:1                 2                Yes

 SCALABILITY_L3T3                      3                2:1                 3                Yes

 SCALABILITY_S3T1                      3                2:1                 1                No

 SCALABILITY_S3T2                      3                2:1                 2                No

 SCALABILITY_S3T3                      3                2:1                 3                No

 SCALABILITY_L3T2_KEY                  3                2:1                 2                Yes

 SCALABILITY_L3T3_KEY                  3                2:1                 3                Yes

 SCALABILITY_L4T5_KEY                  4                2:1                 5                Yes

 SCALABILITY_L4T7_KEY                  4                2:1                 7                Yes

 SCALABILITY_L3T2_KEY_SHIFT            3                2:1                 2                Yes

 SCALABILITY_L3T3_KEY_SHIFT            3                2:1                 3                Yes

 SCALABILITY_L4T5_KEY_SHIFT            4                2:1                 5                Yes

 SCALABILITY_L4T7_KEY_SHIFT            4                2:1                 7                Yes


The following figures show the picture prediction structures for certain modes:



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                                                       L1T2




                                                       L1T3




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                                                       L2T1




                                                       L2T2




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                                                       L2T3




                                                       S2T1




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                                                       S2T2




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                                                       S2T3




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                                               L3T2_KEY




                                                      L3T3_KEY




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                                                      L4T5_KEY




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                                                      L4T7_KEY




                                           L3T2_KEY_SHIFT




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                                                 L3T3_KEY_SHIFT




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                                                 L4T5_KEY_SHIFT




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                                                    L4T7_KEY_SHIFT



6.7.6. Scalability structure semantics
6.7.6.1. General

   Note: The scalability_structure is intended for use by intermediate processing entities that may perform selective
   layer elimination. Its presence allows these entities to know the structure of the video bitstream without have to
   decode individual frames. Scalability structures should be placed immediately after the sequence header so that
   these entities are informed of the scalability structure of the video sequence as early as possible.


spatial_layers_cnt_minus_1 indicates the number of spatial layers present in the coded video sequence minus one.

spatial_layer_description_present_flag indicates when set to 1 that the spatial_layer_ref_id is present for each of the
(spatial_layers_cnt_minus_1 + 1) layers, or that it is not present when set to 0.

spatial_layer_dimensions_present_flag indicates when set to 1 that the spatial_layer_max_width and
spatial_layer_max_height parameters are present for each of the (spatial_layers_cnt_minus_1 + 1) layers, or that it they
are not present when set to 0.

temporal_group_description_present_flag indicates when set to 1 that the temporal dependency information is
present, or that it is not when set to 0. When any temporal unit in a coded video sequence contains OBU extension
headers that have temporal_id values that are not equal to each other, temporal_group_description_present_flag must be
equal to 0.




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scalability_structure_reserved_3bits must be set to zero and be ignored by decoders.

spatial_layer_max_width[ i ] specifies the maximum frame width for the frames with spatial_id equal to i. This number
must not be larger than max_frame_width_minus_1 + 1.

spatial_layer_max_height[ i ] specifies the maximum frame height for the frames with spatial_id equal to i. This number
must not be larger than max_frame_height_minus_1 + 1.

spatial_layer_ref_id[ i ] specifies the spatial_id value of the frame within the current temporal unit that the frame of layer i
uses for reference. If no frame within the current temporal unit is used for reference the value must be equal to 255.

temporal_group_size indicates the number of pictures in a temporal picture group. If the temporal_group_size is greater
than 0, then the scalability structure data allows the inter-picture temporal dependency structure of the coded video
sequence to be specified. If the temporal_group_size is greater than 0, then for temporal_group_size pictures in the
temporal group, each picture’s temporal layer id (temporal_id), switch up points
(temporal_group_temporal_switching_up_point_flag and temporal_group_spatial_switching_up_point_flag), and the
reference picture indices (temporal_group_ref_pic_diff) are specified.

The first picture specified in a temporal group must have temporal_id equal to 0.

If the parameter temporal_group_size is not present or set to 0, then either there is only one temporal layer or there is no
fixed inter-picture temporal dependency present in the coded video sequence.

Note that for a given picture, all frames follow the same inter-picture temporal dependency structure. However, the frame
rate of each layer can be different from each other. The specified dependency structure in the scalability structure data
must be for the highest frame rate layer.

temporal_group_temporal_id[ i ] specifies the temporal_id value for the i-th picture in the temporal group.

temporal_group_temporal_switching_up_point_flag[ i ] is set to 1 if subsequent (in decoding order) pictures with a
temporal_id higher than temporal_group_temporal_id[ i ] do not depend on any picture preceding the current picture (in
coding order) with temporal_id higher than temporal_group_temporal_id[ i ].


   Note: This condition ensures that switching up to a higher frame rate is possible at the current picture.


temporal_group_spatial_switching_up_point_flag[ i ]] is set to 1 if spatial layers of the current picture in the temporal
group (i.e., pictures with a spatial_id higher than zero) do not depend on any picture preceding the current picture in the
temporal group.

temporal_group_ref_cnt[ i ] indicates the number of reference pictures used by the i-th picture in the temporal group.

temporal_group_ref_pic_diff[ i ][ j ] indicates, for the i-th picture in the temporal group, the temporal distance between
the i-th picture and the j-th reference picture used by the i-th picture. The temporal distance is measured in frames,
counting only frames of identical spatial_id values.




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    Note: The scalability structure description does not allow different temporal prediction structures across non-
    temporal layers (i.e., layers with different spatial_id values). It also only allows for a single reference picture for
    inter-layer prediction.


The following sections contain the value of these syntax elements for certain predefined modes. Prediction structures
having scalability_mode_idc values in the range 21 to 28, inclusive, cannot be described using temporal group description
syntax and are not described in the sections that follow.


6.7.6.2. L1T2 (Informative)
Layer             Spatial Layers Description                                                                          Value

                  spatial_layers_cnt_minus_1                                                                          0



Picture           Temporal Group Description                                                                          Value

                  temporal_group_size                                                                                 2

0                 temporal_group_temporal_id[0]                                                                       0

                  temporal_group_temporal_switching_up_point_flag[0]                                                  1

                  temporal_group_spatial_switching_up_point_flag[0]                                                   0

                  temporal_group_ref_cnt[0]                                                                           1

                  temporal_group_ref_pic_diff[0][0]                                                                   2

1                 temporal_group_temporal_id[1]                                                                       1

                  temporal_group_temporal_switching_up_point_flag[1]                                                  1

                  temporal_group_spatial_switching_up_point_flag[1]                                                   0

                  temporal_group_ref_cnt[1]                                                                           1

                  temporal_group_ref_pic_diff[0][0]                                                                   1


6.7.6.3. L1T3 (Informative)
Layer             Spatial Layers Description                                                                          Value

                  spatial_layers_cnt_minus_1                                                                          0



Picture           Temporal Group Description                                                                          Value

                  temporal_group_size                                                                                 4

0                 temporal_group_temporal_id[0]                                                                       0



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                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     4

1               temporal_group_temporal_id[1]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1

2               temporal_group_temporal_id[2]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    0

                temporal_group_ref_cnt[2]                                                             1

                temporal_group_ref_pic_diff[2][0]                                                     2

3               temporal_group_temporal_id[3]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[3]                                                             1

                temporal_group_ref_pic_diff[3][0]                                                     1


6.7.6.4. L2T1 / L2T1h (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               0



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   1

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0



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                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     1


6.7.6.5. L2T2 / L2T2h (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               0



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   2

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     2

1               temporal_group_temporal_id[1]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1


6.7.6.6. L2T3 / L2T3h (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               0



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   4




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0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     4

1               temporal_group_temporal_id[1]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1

2               temporal_group_temporal_id[2]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    0

                temporal_group_ref_cnt[2]                                                             1

                temporal_group_ref_pic_diff[2][0]                                                     2

3               temporal_group_temporal_id[3]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[3]                                                             1

                temporal_group_ref_pic_diff[3][0]                                                     1


6.7.6.7. S2T1 / S2T1h (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               255



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   1

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1



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                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     1


6.7.6.8. S2T2 / S2T2h (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               255



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   2

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     2

1               temporal_group_temporal_id[1]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1


6.7.6.9. S2T3 / S2T3h (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               255



Picture         Temporal Group Description                                                            Value




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                temporal_group_size                                                                   4

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     4

1               temporal_group_temporal_id[1]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1

2               temporal_group_temporal_id[2]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    0

                temporal_group_ref_cnt[2]                                                             1

                temporal_group_ref_pic_diff[2][0]                                                     2

3               temporal_group_temporal_id[3]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[3]                                                             1

                temporal_group_ref_pic_diff[3][0]                                                     1


6.7.6.10. L3T1 (Informative)
LayerSpatial Layers DescriptionValue
     spatial_layers_cnt_minus_1 1
0    spatial_layer_ref_id[0]    255
1    spatial_layer_ref_id[1]    0
2    spatial_layer_ref_id[1]    1



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   1

0               temporal_group_temporal_id[0]                                                         0




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                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     1


6.7.6.11. L3T2 (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               0

2               spatial_layer_ref_id[1]                                                               1



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   2

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     2

1               temporal_group_temporal_id[1]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1


6.7.6.12. L3T3 (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               0




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2               spatial_layer_ref_id[1]                                                               1



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   4

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     4

1               temporal_group_temporal_id[1]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1

2               temporal_group_temporal_id[2]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    0

                temporal_group_ref_cnt[2]                                                             1

                temporal_group_ref_pic_diff[2][0]                                                     2

3               temporal_group_temporal_id[3]                                                         2

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[3]                                                             1

                temporal_group_ref_pic_diff[3][0]                                                     1


6.7.6.13. S3T1 (Informative)
LayerSpatial Layers DescriptionValue
     spatial_layers_cnt_minus_1 1
0    spatial_layer_ref_id[0]    255
1    spatial_layer_ref_id[1]    255
2    spatial_layer_ref_id[1]    255




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Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   1

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     1


6.7.6.14. S3T2 (Informative)
Layer           Spatial Layers Description                                                            Value

                spatial_layers_cnt_minus_1                                                            1

0               spatial_layer_ref_id[0]                                                               255

1               spatial_layer_ref_id[1]                                                               255

2               spatial_layer_ref_id[1]                                                               255



Picture         Temporal Group Description                                                            Value

                temporal_group_size                                                                   2

0               temporal_group_temporal_id[0]                                                         0

                temporal_group_temporal_switching_up_point_flag[0]                                    1

                temporal_group_spatial_switching_up_point_flag[0]                                     0

                temporal_group_ref_cnt[0]                                                             1

                temporal_group_ref_pic_diff[0][0]                                                     2

1               temporal_group_temporal_id[1]                                                         1

                temporal_group_temporal_switching_up_point_flag[1]                                    1

                temporal_group_spatial_switching_up_point_flag[1]                                     0

                temporal_group_ref_cnt[1]                                                             1

                temporal_group_ref_pic_diff[1][0]                                                     1


6.7.6.15. S3T3 (Informative)
Layer           Spatial Layers Description                                                            Value




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                spatial_layers_cnt_minus_1                                                                 1

0               spatial_layer_ref_id[0]                                                                    255

1               spatial_layer_ref_id[1]                                                                    255

2               spatial_layer_ref_id[1]                                                                    255



Picture         Temporal Group Description                                                                 Value

                temporal_group_size                                                                        4

0               temporal_group_temporal_id[0]                                                              0

                temporal_group_temporal_switching_up_point_flag[0]                                         1

                temporal_group_spatial_switching_up_point_flag[0]                                          0

                temporal_group_ref_cnt[0]                                                                  1

                temporal_group_ref_pic_diff[0][0]                                                          4

1               temporal_group_temporal_id[1]                                                              2

                temporal_group_temporal_switching_up_point_flag[1]                                         1

                temporal_group_spatial_switching_up_point_flag[1]                                          0

                temporal_group_ref_cnt[1]                                                                  1

                temporal_group_ref_pic_diff[1][0]                                                          1

2               temporal_group_temporal_id[2]                                                              1

                temporal_group_temporal_switching_up_point_flag[1]                                         0

                temporal_group_ref_cnt[2]                                                                  1

                temporal_group_ref_pic_diff[2][0]                                                          2

3               temporal_group_temporal_id[3]                                                              2

                temporal_group_temporal_switching_up_point_flag[1]                                         1

                temporal_group_spatial_switching_up_point_flag[1]                                          0

                temporal_group_ref_cnt[3]                                                                  1

                temporal_group_ref_pic_diff[3][0]                                                          1


6.7.7. Metadata timecode semantics
counting_type specifies the method of dropping values of the n_frames syntax element as specified in the table below.
counting_type should be the same for all pictures in the coded video sequence.




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 counting_type Meaning

 0                no dropping of n_frames count values and no use of time_offset_value

 1                no dropping of n_frames count values

 2                dropping of individual zero values of n_frames count

 3                dropping of individual values of n_frames count equal to maxFps − 1

 4                dropping of the two lowest (value 0 and 1) n_frames counts when seconds_value is equal to 0 and
                  minutes_value is not an integer multiple of 10

 5                dropping of unspecified individual n_frames count values

 6                dropping of unspecified numbers of unspecified n_frames count values

 7..31            reserved


full_timestamp_flag equal to 1 indicates that the the seconds_value, minutes_value, hours_value syntax elements will
be present. full_timestamp_flag equal to 0 indicates that there are flags to control the presence of these syntax elements.

When timing_info_present_flag is equal to 1, the contents of the clock timestamp indicate a time of origin, capture, or ideal
display. This indicated time is computed as follows:


     if ( equal_picture_interval ) {
       ticksPerPicture = num_ticks_per_picture_minus_1 + 1
     } else {
       ticksPerPicture = 1
     }
     ss = ( ( hours_value * 60 + minutes_value)) * 60 + seconds_value )
     clockTimestamp = ss * time_scale + n_frames * ticksPerPicture + time_offset_value


clockTimestamp is in units of clock ticks of a clock with clock frequency equal to time_scale Hz, relative to some
unspecified point in time for which clockTimestamp would be equal to 0.

discontinuity_flag equal to 0 indicates that the difference between the current value of clockTimestamp and the value of
clockTimestamp computed from the previous set of timestamp syntax elements in output order can be interpreted as the
time difference between the times of origin or capture of the associated frames or fields. discontinuity_flag equal to 1
indicates that the difference between the current value of clockTimestamp and the value of clockTimestamp computed
from the previous set of clock timestamp syntax elements in output order should not be interpreted as the time difference
between the times of origin or capture of the associated frames or fields.

When timing_info_present_flag is equal to 1 and discontinuity_flag is equal to 0, the value of clockTimestamp shall be
greater than or equal to the value of clockTimestamp for the previous set of clock timestamp syntax elements in output
order.

cnt_dropped_flag specifies the skipping of one or more values of n_frames using the counting method specified by
counting_type.



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n_frames is used to compute clockTimestamp. When timing_info_present_flag is equal to 1, n_frames shall be less than
maxFps, where maxFps is specified by maxFps = ceil( time_scale / ( 2 * num_units_in_display_tick ) ).

seconds_flag equal to 1 specifies that seconds_value and minutes_flag are present when full_timestamp_flag is equal to
0. seconds_flag equal to 0 specifies that seconds_value and minutes_flag are not present.

seconds_value is used to compute clockTimestamp and shall be in the range of 0 to 59. When seconds_value is not
present, its value is inferred to be equal to the value of seconds_value for the previous set of clock timestamp syntax
elements in decoding order, and it is required that such a previous seconds_value shall have been present.

minutes_flag equal to 1 specifies that minutes_value and hours_flag are present when full_timestamp_flag is equal to 0
and seconds_flag is equal to 1. minutes_flag equal to 0 specifies that minutes_value and hours_flag are not present.

minutes_value specifies the value of mm used to compute clockTimestamp and shall be in the range of 0 to 59,
inclusive. When minutes_value is not present, its value is inferred to be equal to the value of minutes_value for the
previous set of clock timestamp syntax elements in decoding order, and it is required that such a previous minutes_value
shall have been present.

hours_flag equal to 1 specifies that hours_value is present when full_timestamp_flag is equal to 0 and seconds_flag is
equal to 1 and minutes_flag is equal to 1.

hours_value is used to compute clockTimestamp and shall be in the range of 0 to 23, inclusive. When hours_value is not
present, its value is inferred to be equal to the value of hours_value for the previous set of clock timestamp syntax
elements in decoding order, and it is required that such a previous hours_value shall have been present.

time_offset_length greater than 0 specifies the length in bits of the time_offset_value syntax element. time_offset_length
equal to 0 specifies that the time_offset_value syntax element is not present. time_offset_length should be the same for
all pictures in the coded video sequence.

time_offset_value is used to compute clockTimestamp. The number of bits used to represent time_offset_value is equal
to time_offset_length. When time_offset_value is not present, its value is inferred to be equal to 0.


6.8. Frame header OBU semantics
6.8.1. General frame header OBU semantics
It is a requirement of bitstream conformance that a sequence header OBU has been received before a frame header
OBU.

frame_header_copy is a function call that indicates that a copy of the previous frame_header_obu should be inserted at
this point.


   Note: Bitstreams may contain several copies of the frame_header_obu interspersed with tile_group_obu to allow
   for greater error resilience. However, the copies must contain identical contents to the original frame_header_obu.




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If obu_type is equal to OBU_FRAME_HEADER, it is a requirement of bitstream conformance that SeenFrameHeader is
equal to 0.

If obu_type is equal to OBU_REDUNDANT_FRAME_HEADER, it is a requirement of bitstream conformance that
SeenFrameHeader is equal to 1.


     Note: These requirements ensure that the first frame header for a frame has obu_type equal to
     OBU_FRAME_HEADER, while later copies of this frame header (if present) have obu_type equal to
     OBU_REDUNDANT_FRAME_HEADER.


TileNum is a variable giving the index (zero-based) of the current tile.

decode_frame_wrapup is a function call that indicates that the decode frame wrapup process specified in section 7.4
should be invoked.


6.8.2. Uncompressed header semantics
show_existing_frame equal to 1, indicates the frame indexed by frame_to_show_map_idx is to be output;
show_existing_frame equal to 0 indicates that further processing is required.

If obu_type is equal to OBU_FRAME, it is a requirement of bitstream conformance that show_existing_frame is equal to 0.

frame_to_show_map_idx specifies the frame to be output. It is only available if show_existing_frame is 1.

display_frame_id provides the frame id number for the frame to output. It is a requirement of bitstream conformance that
whenever display_frame_id is read, the value matches RefFrameId[ frame_to_show_map_idx ] (the value of
current_frame_id at the time that the frame indexed by frame_to_show_map_idx was stored), and that RefValid[
frame_to_show_map_idx ] is equal to 1.

It is a requirement of bitstream conformance that the number of bits needed to read display_frame_id does not exceed 16.
This is equivalent to the constraint that idLen <= 16.

frame_type specifies the type of the frame:


 frame_type                                   Name of frame_type

 0                                            KEY_FRAME

 1                                            INTER_FRAME

 2                                            INTRA_ONLY_FRAME

 3                                            SWITCH_FRAME


show_frame equal to 1 specifies that this frame should be immediately output once decoded. show_frame equal to 0
specifies that this frame should not be immediately output. (It may be output later if a later uncompressed header uses
show_existing_frame equal to 1).




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showable_frame equal to 1 specifies that the frame may be output using the show_existing_frame mechanism.
showable_frame equal to 0 specifies that this frame will not be output using the show_existing_frame mechanism.

It is a requirement of bitstream conformance that when show_existing_frame is used to show a previous frame, that the
value of showable_frame for the previous frame was equal to 1.

It is a requirement of bitstream conformance that when show_existing_frame is used to show a previous frame with
RefFrameType[ frame_to_show_map_idx ] equal to KEY_FRAME, that the frame is output via the show_existing_frame
mechanism at most once.


   Note: This requirement also forbids storing a frame with frame_type equal to KEY_FRAME into multiple reference
   frames and then using show_existing_frame for each reference frame.


error_resilient_mode equal to 1 indicates that error resilient mode is enabled; error_resilient_mode equal to 0 indicates
that error resilient mode is disabled.


   Note: Error resilient mode allows the syntax of a frame to be parsed independently of previously decoded frames.


disable_cdf_update specifies whether the CDF update in the symbol decoding process should be disabled.

current_frame_id specifies the frame id number for the current frame. Frame id numbers are additional information that
do not affect the decoding process, but provide decoders with a way of detecting missing reference frames so that
appropriate action can be taken.

If frame_type is not equal to KEY_FRAME or show_frame is equal to 0, it is a requirement of bitstream conformance that
all of the following conditions are true:

      • current_frame_id is not equal to PrevFrameID,

      • DiffFrameID is less than 1 << ( idLen - 1 )

where DiffFrameID is specified as follows:

      • If current_frame_id is greater than PrevFrameID, DiffFrameID is equal to current_frame_id - PrevFrameID.

      • Otherwise, DiffFrameID is equal to ( 1 << idLen ) + current_frame_id - PrevFrameID.

frame_size_override_flag equal to 0 specifies that the frame size is equal to the size in the sequence header.
frame_size_override_flag equal to 1 specifies that the frame size will either be specified as the size of one of the
reference frames, or computed from the frame_width_minus_1 and frame_height_minus_1 syntax elements.

order_hint is used to compute OrderHint.

OrderHint specifies OrderHintBits least significant bits of the expected output order for this frame.




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   Note: There is no requirement that OrderHint should reflect the true output order. As a guideline, the motion vector
   prediction is expected to be more accurate if the true output order is used for frames that will be shown later. If a
   frame is never to be shown (e.g. it has been constructed as an average of several frames for reference purposes),
   the encoder is free to choose whichever value of OrderHint will give the best compression.


primary_ref_frame specifies which reference frame contains the CDF values and other state that should be loaded at the
start of the frame.


   Note: It is allowed for primary_ref_frame to be coded as PRIMARY_REF_NONE, this will cause default values to
   be used for the CDF values and other state.


buffer_removal_time_present_flag equal to 1 specifies that buffer_removal_time is present.
buffer_removal_time_present_flag equal to 0 specifies that buffer_removal_time is not present.

buffer_removal_time[ opNum ] specifies the frame removal time in units of DecCT clock ticks counted from the removal
time of the last random access point for operating point opNum. buffer_removal_time is signaled as a fixed length
unsigned integer with a length in bits given by buffer_removal_time_length_minus_1 + 1.

buffer_removal_time is the remainder of a modulo 1 << ( buffer_removal_time_length_minus_1 + 1 ) counter.

allow_screen_content_tools equal to 1 indicates that intra blocks may use palette encoding;
allow_screen_content_tools equal to 0 indicates that palette encoding is never used.

allow_intrabc equal to 1 indicates that intra block copy may be used in this frame. allow_intrabc equal to 0 indicates that
intra block copy is not allowed in this frame.


   Note: intra block copy is only allowed in intra frames, and disables all loop filtering. force_integer_mv will be equal
   to 1 for intra frames, so only integer offsets are allowed in block copy mode.


force_integer_mv equal to 1 specifies that motion vectors will always be integers. force_integer_mv equal to 0 specifies
that motion vectors can contain fractional bits.

ref_order_hint[ i ] specifies the expected output order hint for each reference frame.


   Note: The values in the ref_order_hint array are provided to allow implementations to gracefully handle cases
   when some frames have been lost.



   Note: When scalability is used, the values in RefOrderHint during the decode process may depend on the selected
   operating point.




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refresh_frame_flags contains a bitmask that specifies which reference frame slots will be updated with the current frame
after it is decoded.

If frame_type is equal to INTRA_ONLY_FRAME, it is a requirement of bitstream conformance that refresh_frame_flags is
not equal to 0xff.


   Note: This restriction encourages encoders to correctly label random access points (by forcing frame_type to be
   equal to KEY_FRAME when an intra frame is used to reset the decoding process).


See section 7.20 for details of the frame update process.

frame_refs_short_signaling equal to 1 indicates that only two reference frames are explicitly signaled.
frame_refs_short_signaling equal to 0 indicates that all reference frames are explicitly signaled.

last_frame_idx specifies the reference frame to use for LAST_FRAME.

gold_frame_idx specifies the reference frame to use for GOLDEN_FRAME.

set_frame_refs is a function call that indicates the conceptual point where the ref_frame_idx values are computed (in the
case when frame_refs_short_signaling is equal to 1, these syntax elements are computed instead of being explicitly
signaled). When this function is called, the set frame refs process specified in section 7.8 is invoked.

ref_frame_idx[ i ] specifies which reference frames are used by inter frames. It is a requirement of bitstream
conformance that RefValid[ ref_frame_idx[ i ] ] is equal to 1, and that the selected reference frames match the current
frame in bit depth, profile, chroma subsampling, and color space.


   Note: Syntax elements indicate a reference (such as LAST_FRAME, ALTREF_FRAME). These references are
   looked up in the ref_frame_idx array to find which reference frame should be used during inter prediction. There is
   no requirement that the values in ref_frame_idx should be distinct.


RefFrameSignBias specifies the intended direction of the motion vector in time for each reference frame. A sign bias
equal to 0 indicates that the reference frame is a forwards reference (i.e. the reference frame is expected to be output
before the current frame); a sign bias equal to 1 indicates that the reference frame is a backwards reference.


   Note: The sign bias is just an indication that can improve the accuracy of motion vector prediction and is not
   constrained to reflect the actual output order of pictures.


delta_frame_id_minus_1 is used to calculate DeltaFrameId.

DeltaFrameId specifies the distance to the frame id for the reference frame.

RefFrameId[ i ] specifies the frame id for each reference frame.




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expectedFrameId[ i ] specifies the frame id for each frame used for reference. It is a requirement of bitstream
conformance that whenever expectedFrameId[ i ] is calculated, the value matches RefFrameId[ ref_frame_idx[ i ] ] (this
contains the value of current_frame_id at the time that the frame indexed by ref_frame_idx was stored).

allow_high_precision_mv equal to 0 specifies that motion vectors are specified to quarter pel precision;
allow_high_precision_mv equal to 1 specifies that motion vectors are specified to eighth pel precision.

is_motion_mode_switchable equal to 0 specifies that only the SIMPLE motion mode will be used.

use_ref_frame_mvs equal to 1 specifies that motion vector information from a previous frame can be used when
decoding the current frame. use_ref_frame_mvs equal to 0 specifies that this information will not be used.

disable_frame_end_update_cdf equal to 1 indicates that the end of frame CDF update is disabled;
disable_frame_end_update_cdf equal to 0 indicates that the end of frame CDF update is enabled.


   Note: It can be useful to disable the CDF update because it means the next frame can start to be decoded as soon
   as the frame headers of the current frame have been processed.


motion_field_estimation is a function call which indicates that the motion field estimation process in section 7.9 should
be invoked.

OrderHints specifies the expected output order for each reference frame.

CodedLossless is a variable that is equal to 1 when all segments use lossless encoding. This indicates that the frame is
fully lossless at the coded resolution of FrameWidth by FrameHeight. In this case, the loop filter and CDEF filter are
disabled.

It is a requirement of bitstream conformance that delta_q_present is equal to 0 when CodedLossless is equal to 1.

AllLossless is a variable that is equal to 1 when CodedLossless is equal to 1 and FrameWidth is equal to
UpscaledWidth. This indicates that the frame is fully lossless at the upscaled resolution. In this case, the loop filter, CDEF
filter, and loop restoration are disabled.

allow_warped_motion equal to 1 indicates that the syntax element motion_mode may be present. allow_warped_motion
equal to 0 indicates that the syntax element motion_mode will not be present (this means that LOCALWARP cannot be
signaled if allow_warped_motion is equal to 0).

reduced_tx_set equal to 1 specifies that the frame is restricted to a reduced subset of the full set of transform types.

setup_past_independence is a function call that indicates that this frame can be decoded without dependence on
previous coded frames. When this function is invoked the following takes place:

      • FeatureData[ i ][ j ] and FeatureEnabled[ i ][ j ] are set equal to 0 for i = 0..MAX_SEGMENTS-1 and j =
        0..SEG_LVL_MAX-1.

      • PrevSegmentIds[ row ][ col ] is set equal to 0 for row = 0..MiRows-1 and col = 0..MiCols-1.




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      • GmType[ ref ] is set equal to IDENTITY for ref = LAST_FRAME..ALTREF_FRAME.

      • PrevGmParams[ ref ][ i ] is set equal to ( ( i % 3 == 2 ) ? 1 << WARPEDMODEL_PREC_BITS : 0 ) for ref =
        LAST_FRAME..ALTREF_FRAME, for i = 0..5.

      • loop_filter_delta_enabled is set equal to 1.

      • loop_filter_ref_deltas[ INTRA_FRAME ] is set equal to 1.

      • loop_filter_ref_deltas[ LAST_FRAME ] is set equal to 0.

      • loop_filter_ref_deltas[ LAST2_FRAME ] is set equal to 0.

      • loop_filter_ref_deltas[ LAST3_FRAME ] is set equal to 0.

      • loop_filter_ref_deltas[ BWDREF_FRAME ] is set equal to 0.

      • loop_filter_ref_deltas[ GOLDEN_FRAME ] is set equal to -1.

      • loop_filter_ref_deltas[ ALTREF_FRAME ] is set equal to -1.

      • loop_filter_ref_deltas[ ALTREF2_FRAME ] is set equal to -1.

      • loop_filter_mode_deltas[ i ] is set equal to 0 for i = 0..1.

init_non_coeff_cdfs is a function call that indicates that the CDF tables which are not used in the coeff( ) syntax
structure should be initialised. When this function is invoked, the following steps apply:

      • YModeCdf is set to a copy of Default_Y_Mode_Cdf

      • UVModeCflNotAllowedCdf is set to a copy of Default_Uv_Mode_Cfl_Not_Allowed_Cdf

      • UVModeCflAllowedCdf is set to a copy of Default_Uv_Mode_Cfl_Allowed_Cdf

      • AngleDeltaCdf is set to a copy of Default_Angle_Delta_Cdf

      • IntrabcCdf is set to a copy of Default_Intrabc_Cdf

      • PartitionW8Cdf is set to a copy of Default_Partition_W8_Cdf

      • PartitionW16Cdf is set to a copy of Default_Partition_W16_Cdf

      • PartitionW32Cdf is set to a copy of Default_Partition_W32_Cdf

      • PartitionW64Cdf is set to a copy of Default_Partition_W64_Cdf

      • PartitionW128Cdf is set to a copy of Default_Partition_W128_Cdf

      • SegmentIdCdf is set to a copy of Default_Segment_Id_Cdf




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      • SegmentIdPredictedCdf is set to a copy of Default_Segment_Id_Predicted_Cdf

      • Tx8x8Cdf is set to a copy of Default_Tx_8x8_Cdf

      • Tx16x16Cdf is set to a copy of Default_Tx_16x16_Cdf

      • Tx32x32Cdf is set to a copy of Default_Tx_32x32_Cdf

      • Tx64x64Cdf is set to a copy of Default_Tx_64x64_Cdf

      • TxfmSplitCdf is set to a copy of Default_Txfm_Split_Cdf

      • FilterIntraModeCdf is set to a copy of Default_Filter_Intra_Mode_Cdf

      • FilterIntraCdf is set to a copy of Default_Filter_Intra_Cdf

      • InterpFilterCdf is set to a copy of Default_Interp_Filter_Cdf

      • MotionModeCdf is set to a copy of Default_Motion_Mode_Cdf

      • NewMvCdf is set to a copy of Default_New_Mv_Cdf

      • ZeroMvCdf is set to a copy of Default_Zero_Mv_Cdf

      • RefMvCdf is set to a copy of Default_Ref_Mv_Cdf

      • CompoundModeCdf is set to a copy of Default_Compound_Mode_Cdf

      • DrlModeCdf is set to a copy of Default_Drl_Mode_Cdf

      • IsInterCdf is set to a copy of Default_Is_Inter_Cdf

      • CompModeCdf is set to a copy of Default_Comp_Mode_Cdf

      • SkipModeCdf is set to a copy of Default_Skip_Mode_Cdf

      • SkipCdf is set to a copy of Default_Skip_Cdf

      • CompRefCdf is set to a copy of Default_Comp_Ref_Cdf

      • CompBwdRefCdf is set to a copy of Default_Comp_Bwd_Ref_Cdf

      • SingleRefCdf is set to a copy of Default_Single_Ref_Cdf

      • MvJointCdf[ i ] is set to a copy of Default_Mv_Joint_Cdf for i = 0..MV_CONTEXTS-1

      • MvClassCdf[ i ] is set to a copy of Default_Mv_Class_Cdf for i = 0..MV_CONTEXTS-1

      • MvClass0BitCdf[ i ][ comp ] is set to a copy of Default_Mv_Class0_Bit_Cdf for i = 0..MV_CONTEXTS-1 and
        comp = 0..1



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      • MvFrCdf[ i ] is set to a copy of Default_Mv_Fr_Cdf for i = 0..MV_CONTEXTS-1

      • MvClass0FrCdf[ i ] is set to a copy of Default_Mv_Class0_Fr_Cdf for i = 0..MV_CONTEXTS-1

      • MvClass0HpCdf[ i ][ comp ] is set to a copy of Default_Mv_Class0_Hp_Cdf for i = 0..MV_CONTEXTS-1 and
        comp = 0..1

      • MvSignCdf[ i ][ comp ] is set to a copy of Default_Mv_Sign_Cdf for i = 0..MV_CONTEXTS-1 and comp = 0..1

      • MvBitCdf[ i ][ comp ] is set to a copy of Default_Mv_Bit_Cdf for i = 0..MV_CONTEXTS-1 and comp = 0..1

      • MvHpCdf[ i ][ comp ] is set to a copy of Default_Mv_Hp_Cdf for i = 0..MV_CONTEXTS-1 and comp = 0..1

      • PaletteYModeCdf is set to a copy of Default_Palette_Y_Mode_Cdf

      • PaletteUVModeCdf is set to a copy of Default_Palette_Uv_Mode_Cdf

      • PaletteYSizeCdf is set to a copy of Default_Palette_Y_Size_Cdf

      • PaletteUVSizeCdf is set to a copy of Default_Palette_Uv_Size_Cdf

      • PaletteSize2YColorCdf is set to a copy of Default_Palette_Size_2_Y_Color_Cdf

      • PaletteSize2UVColorCdf is set to a copy of Default_Palette_Size_2_Uv_Color_Cdf

      • PaletteSize3YColorCdf is set to a copy of Default_Palette_Size_3_Y_Color_Cdf

      • PaletteSize3UVColorCdf is set to a copy of Default_Palette_Size_3_Uv_Color_Cdf

      • PaletteSize4YColorCdf is set to a copy of Default_Palette_Size_4_Y_Color_Cdf

      • PaletteSize4UVColorCdf is set to a copy of Default_Palette_Size_4_Uv_Color_Cdf

      • PaletteSize5YColorCdf is set to a copy of Default_Palette_Size_5_Y_Color_Cdf

      • PaletteSize5UVColorCdf is set to a copy of Default_Palette_Size_5_Uv_Color_Cdf

      • PaletteSize6YColorCdf is set to a copy of Default_Palette_Size_6_Y_Color_Cdf

      • PaletteSize6UVColorCdf is set to a copy of Default_Palette_Size_6_Uv_Color_Cdf

      • PaletteSize7YColorCdf is set to a copy of Default_Palette_Size_7_Y_Color_Cdf

      • PaletteSize7UVColorCdf is set to a copy of Default_Palette_Size_7_Uv_Color_Cdf

      • PaletteSize8YColorCdf is set to a copy of Default_Palette_Size_8_Y_Color_Cdf

      • PaletteSize8UVColorCdf is set to a copy of Default_Palette_Size_8_Uv_Color_Cdf

      • DeltaQCdf is set to a copy of Default_Delta_Q_Cdf



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      • DeltaLFCdf is set to a copy of Default_Delta_Lf_Cdf

      • DeltaLFMultiCdf[ i ] is set to a copy of Default_Delta_Lf_Cdf for i = 0..FRAME_LF_COUNT-1

      • IntraTxTypeSet1Cdf is set to a copy of Default_Intra_Tx_Type_Set1_Cdf

      • IntraTxTypeSet2Cdf is set to a copy of Default_Intra_Tx_Type_Set2_Cdf

      • InterTxTypeSet1Cdf is set to a copy of Default_Inter_Tx_Type_Set1_Cdf

      • InterTxTypeSet2Cdf is set to a copy of Default_Inter_Tx_Type_Set2_Cdf

      • InterTxTypeSet3Cdf is set to a copy of Default_Inter_Tx_Type_Set3_Cdf

      • UseObmcCdf is set to a copy of Default_Use_Obmc_Cdf

      • InterIntraCdf is set to a copy of Default_Inter_Intra_Cdf

      • CompRefTypeCdf is set to a copy of Default_Comp_Ref_Type_Cdf

      • CflSignCdf is set to a copy of Default_Cfl_Sign_Cdf

      • UniCompRefCdf is set to a copy of Default_Uni_Comp_Ref_Cdf

      • WedgeInterIntraCdf is set to a copy of Default_Wedge_Inter_Intra_Cdf

      • CompGroupIdxCdf is set to a copy of Default_Comp_Group_Idx_Cdf

      • CompoundIdxCdf is set to a copy of Default_Compound_Idx_Cdf

      • CompoundTypeCdf is set to a copy of Default_Compound_Type_Cdf

      • InterIntraModeCdf is set to a copy of Default_Inter_Intra_Mode_Cdf

      • WedgeIndexCdf is set to a copy of Default_Wedge_Index_Cdf

      • CflAlphaCdf is set to a copy of Default_Cfl_Alpha_Cdf

      • UseWienerCdf is set to a copy of Default_Use_Wiener_Cdf

      • UseSgrprojCdf is set to a copy of Default_Use_Sgrproj_Cdf

      • RestorationTypeCdf is set to a copy of Default_Restoration_Type_Cdf

init_coeff_cdfs( ) is a function call that indicates that the CDF tables used in the coeff( ) syntax structure should be
initialised. When this function is invoked, the following steps apply:

      • The variable idx is derived as follows:

                ◦ If base_q_idx is less than or equal to 20, idx is set equal to 0.



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               ◦ Otherwise, if base_q_idx is less than or equal to 60, idx is set equal to 1.

               ◦ Otherwise, if base_q_idx is less than or equal to 120, idx is set equal to 2.

               ◦ Otherwise, idx is set equal to 3.

      • The cumulative distribution function arrays are reset to default values as follows:

               ◦ TxbSkipCdf is set to a copy of Default_Txb_Skip_Cdf[ idx ].

               ◦ EobPt16Cdf is set to a copy of Default_Eob_Pt_16_Cdf[ idx ].

               ◦ EobPt32Cdf is set to a copy of Default_Eob_Pt_32_Cdf[ idx ].

               ◦ EobPt64Cdf is set to a copy of Default_Eob_Pt_64_Cdf[ idx ].

               ◦ EobPt128Cdf is set to a copy of Default_Eob_Pt_128_Cdf[ idx ].

               ◦ EobPt256Cdf is set to a copy of Default_Eob_Pt_256_Cdf[ idx ].

               ◦ EobPt512Cdf is set to a copy of Default_Eob_Pt_512_Cdf[ idx ].

               ◦ EobPt1024Cdf is set to a copy of Default_Eob_Pt_1024_Cdf[ idx ].

               ◦ EobExtraCdf is set to a copy of Default_Eob_Extra_Cdf[ idx ].

               ◦ DcSignCdf is set to a copy of Default_Dc_Sign_Cdf[ idx ].

               ◦ CoeffBaseEobCdf is set to a copy of Default_Coeff_Base_Eob_Cdf[ idx ].

               ◦ CoeffBaseCdf is set to a copy of Default_Coeff_Base_Cdf[ idx ].

               ◦ CoeffBrCdf is set to a copy of Default_Coeff_Br_Cdf[ idx ].

load_cdfs( ctx ) is a function call that indicates that the CDF tables are loaded from frame context number ctx in the
range 0 to (NUM_REF_FRAMES - 1). When this function is invoked, a copy of each CDF array mentioned in the
semantics for init_coeff_cdfs and init_non_coeff_cdfs is loaded from an area of memory indexed by ctx. (The memory
contents of these frame contexts have been initialized by previous calls to save_cdfs). Once the CDF arrays have been
loaded, the last entry in each array, representing the symbol count for that context, is set to 0.

load_previous( ) is a function call that indicates that information from a previous frame may be loaded for use in
decoding the current frame. When this function is invoked the following ordered steps apply:

     1. The variable prevFrame is set equal to ref_frame_idx[ primary_ref_frame ].

     2. PrevGmParams is set equal to SavedGmParams[ prevFrame ].

     3. The function load_loop_filter_params( prevFrame ) specified in section 7.21 is invoked.

     4. The function load_segmentation_params( prevFrame ) specified in section 7.21 is invoked.


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load_previous_segment_ids( ) is a function call that indicates that a segment map from a previous frame may be loaded
for use in decoding the current frame. When this function is invoked the segment map contained in PrevSegmentIds is set
as follows:

     1. The variable prevFrame is set equal to ref_frame_idx[ primary_ref_frame ].

     2. If segmentation_enabled is equal to 1, RefMiCols[ prevFrame ] is equal to MiCols, and RefMiRows[ prevFrame ]
        is equal to MiRows, PrevSegmentIds[ row ][ col ] is set equal to SavedSegmentIds[ prevFrame ][ row ][ col ] for
        row = 0..MiRows-1, for col = 0..MiCols-1.

         Otherwise, PrevSegmentIds[ row ][ col ] is set equal to 0 for row = 0..MiRows-1, for col = 0..MiCols-1.


6.8.3. Reference frame marking semantics
RefValid is an array which is indexed by a reference picture slot number. A value of 1 in the array signifies that the
corresponding reference picture slot is valid for use as a reference picture, while a value of 0 signifies that the
corresponding reference picture slot is not valid for use as a reference picture.


   Note: RefValid is only used to define valid bitstreams when frame_id_numbers_present_flag is equal to 1. Frames
   are marked as invalid when they are too far in the past to be referenced by the frame id mechanism.



6.8.4. Frame size semantics
frame_width_minus_1 plus one is the width of the frame in luma samples.

frame_height_minus_1 plus one is the height of the frame in luma samples.

It is a requirement of bitstream conformance that frame_width_minus_1 is less than or equal to
max_frame_width_minus_1.

It is a requirement of bitstream conformance that frame_height_minus_1 is less than or equal to
max_frame_height_minus_1.

If FrameIsIntra is equal to 0 (indicating that this frame may use inter prediction), the requirements described in the frame
size with refs semantics of section 6.8.6 must also be satisfied.


6.8.5. Render size semantics
The render size is provided as a hint to the application about the desired display size. It has no effect on the decoding
process.

render_and_frame_size_different equal to 0 means that the render width and height are inferred from the frame width
and height. render_and_frame_size_different equal to 1 means that the render width and height are explicitly coded.


   Note: It is allowed for the bitstream to explicitly code the render dimensions in the bitstream even if they are an
   exact match for the frame dimensions.



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render_width_minus_1 plus one is the render width of the frame in luma samples.

render_height_minus_1 plus one is the render height of the frame in luma samples.


6.8.6. Frame size with refs semantics
For inter frames, the frame size is either set equal to the size of a reference frame, or can be sent explicitly.

found_ref equal to 1 indicates that the frame dimensions can be inferred from reference frame i where i is the loop
counter in the syntax parsing process for frame_size_with_refs. found_ref equal to 0 indicates that the frame dimensions
are not inferred from reference frame i.

Once the FrameWidth and FrameHeight have been computed for an inter frame, it is a requirement of bitstream
conformance that for all values of i in the range 0..(REFS_PER_FRAME - 1), all the following conditions are true:

      •   2 * FrameWidth >= RefUpscaledWidth[ ref_frame_idx[ i ] ]
      •   2 * FrameHeight >= RefFrameHeight[ ref_frame_idx[ i ] ]
      •   FrameWidth <= 16 * RefUpscaledWidth[ ref_frame_idx[ i ] ]
      •   FrameHeight <= 16 * RefFrameHeight[ ref_frame_idx[ i ] ]


   Note: This is a requirement even if all the blocks in an inter frame are coded using intra prediction.



6.8.7. Superres params semantics
use_superres equal to 0 indicates that no upscaling is needed. use_superres equal to 1 indicates that upscaling is
needed.

coded_denom is used to compute the amount of upscaling.

SuperresDenom is the denominator of a fraction that specifies the ratio between the superblock width before and after
upscaling. The numerator of this fraction is equal to the constant SUPERRES_NUM.


6.8.8. Compute image size semantics
MiCols is the number of 4x4 block columns in the frame.

MiRows is the number of 4x4 block rows in the frame.


6.8.9. Interpolation filter semantics
is_filter_switchable equal to 1 indicates that the filter selection is signaled at the block level; is_filter_switchable equal to
0 indicates that the filter selection is signaled at the frame level.

interpolation_filter specifies the filter selection used for performing inter prediction:




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               interpolation_filter                                        Name of interpolation_filter

                         0                                                          EIGHTTAP

                         1                                                     EIGHTTAP_SMOOTH

                         2                                                      EIGHTTAP_SHARP

                         3                                                           BILINEAR

                         4                                                         SWITCHABLE


6.8.10. Loop filter semantics
loop_filter_level is an array containing loop filter strength values. Different loop filter strength values from the array are
used depending on the image plane being filtered, and the edge direction (vertical or horizontal) being filtered.

loop_filter_sharpness indicates the sharpness level. The loop_filter_level and loop_filter_sharpness together determine
when a block edge is filtered, and by how much the filtering can change the sample values.

The loop filter process is described in section 7.14.

loop_filter_delta_enabled equal to 1 means that the filter level depends on the mode and reference frame used to
predict a block. loop_filter_delta_enabled equal to 0 means that the filter level does not depend on the mode and
reference frame.

loop_filter_delta_update equal to 1 means that additional syntax elements are present that specify which mode and
reference frame deltas are to be updated. loop_filter_delta_update equal to 0 means that these syntax elements are not
present.

update_ref_delta equal to 1 means that the syntax element loop_filter_ref_delta is present; update_ref_delta equal to 0
means that this syntax element is not present.

loop_filter_ref_deltas contains the adjustment needed for the filter level based on the chosen reference frame. If this
syntax element is not present, it maintains its previous value.

update_mode_delta equal to 1 means that the syntax element loop_filter_mode_deltas is present; update_mode_delta
equal to 0 means that this syntax element is not present.

loop_filter_mode_deltas contains the adjustment needed for the filter level based on the chosen mode. If this syntax
element is not present in the, it maintains its previous value.


   Note: The previous values for loop_filter_mode_deltas and loop_filter_ref_deltas are intially set by the
   setup_past_independence function and can be subsequently modified by these syntax elements being coded in a
   previous frame.




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6.8.11. Quantization params semantics
The residual is specified via decoded coefficients which are adjusted by one of four quantization parameters before the
inverse transform is applied. The choice depends on the plane (Y or UV) and coefficient position (DC/AC coefficient). The
Dequantization process is specified in section 7.12.

base_q_idx indicates the base frame qindex. This is used for Y AC coefficients and as the base value for the other
quantizers.

DeltaQYDc indicates the Y DC quantizer relative to base_q_idx.

diff_uv_delta equal to 1 indicates that the U and V delta quantizer values are coded separately. diff_uv_delta equal to 0
indicates that the U and V delta quantizer values share a common value.

DeltaQUDc indicates the U DC quantizer relative to base_q_idx.

DeltaQUAc indicates the U AC quantizer relative to base_q_idx.

DeltaQVDc indicates the V DC quantizer relative to base_q_idx.

DeltaQVAc indicates the V AC quantizer relative to base_q_idx.

using_qmatrix specifies that the quantizer matrix will be used to compute quantizers.

qm_y specifies the level in the quantizer matrix that should be used for luma plane decoding.

qm_u specifies the level in the quantizer matrix that should be used for chroma U plane decoding.

qm_v specifies the level in the quantizer matrix that should be used for chroma V plane decoding.


6.8.12. Delta quantizer semantics
delta_coded specifies that the delta_q syntax element is present.

delta_q specifies an offset (relative to base_q_idx) for a particular quantization parameter.


6.8.13. Segmentation params semantics
AV1 provides a means of segmenting the image and then applying various adjustments at the segment level.

Up to 8 segments may be specified for any given frame. For each of these segments it is possible to specify:

     1.   A quantizer (absolute value or delta).
     2.   A loop filter strength (absolute value or delta).
     3.   A prediction reference frame.
     4.   A block skip mode that implies both the use of a (0,0) motion vector and that no residual will be coded.




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Each of these data values for each segment may be individually updated at the frame level. Where a value is not updated
in a given frame, the value from the previous frame persists. The exceptions to this are key frames, intra only frames or
other frames where independence from past frame values is required (for example to enable error resilience). In such
cases all values are reset as described in the semantics for setup_past_independence.

The segment affiliation (the segmentation map) is stored at the resolution of 4x4 blocks. If no explicit update is coded for a
block’s segment affiliation, then it persists from frame to frame (until reset by a call to setup_past_independence).

SegIdPreSkip equal to 1 indicates that the segment id will be read before the skip syntax element. SegIdPreSkip equal to
0 indicates that the skip syntax element will be read first.

LastActiveSegId indicates the highest numbered segment id that has some enabled feature. This is used when decoding
the segment id to only decode choices corresponding to used segments.

segmentation_enabled equal to 1 indicates that this frame makes use of the segmentation tool; segmentation_enabled
equal to 0 indicates that the frame does not use segmentation.

segmentation_update_map equal to 1 indicates that the segmentation map are updated during the decoding of this
frame. segmentation_update_map equal to 0 means that the segmentation map from the previous frame is used.

segmentation_temporal_update equal to 1 indicates that the updates to the segmentation map are coded relative to the
existing segmentation map. segmentation_temporal_update equal to 0 indicates that the new segmentation map is coded
without reference to the existing segmentation map.

segmentation_update_data equal to 1 indicates that new parameters are about to be specified for each segment.
segmentation_update_data equal to 0 indicates that the segmentation parameters should keep their existing values.

feature_enabled equal to 0 indicates that the corresponding feature is unused and has value equal to 0. feature_enabled
equal to 1 indicates that the feature value is coded.

feature_value specifies the feature data for a segment feature.


6.8.14. Tile info semantics
uniform_tile_spacing_flag equal to 1 means that the tiles are uniformly spaced across the frame. (In other words, all
tiles are the same size except for the ones at the right and bottom edge which can be smaller.) uniform_tile_spacing_flag
equal to 0 means that the tile sizes are coded.

increment_tile_cols_log2 is used to compute TileColsLog2.

TileColsLog2 specifies the base 2 logarithm of the desired number of tiles across the frame.

TileCols specifies the number of tiles across the frame. It is a requirement of bitstream conformance that TileCols is less
than or equal to MAX_TILE_COLS.

increment_tile_rows_log2 is used to compute TileRowsLog2.

TileRowsLog2 specifies the base 2 logarithm of the desired number of tiles down the frame.



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   Note: For small frame sizes the actual number of tiles in the frame may be smaller than the desired number
   because the tile size is rounded up to a multiple of the maximum superblock size.


TileRows specifies the number of tiles down the frame. It is a requirement of bitstream conformance that TileRows is less
than or equal to MAX_TILE_ROWS.

tileWidthSb is used to specify the width of each tile in units of superblocks. It is a requirement of bitstream conformance
that tileWidthSb is less than maxTileWidthSb.

tileHeightSb is used to specify the height of each tile in units of superblocks. It is a requirement of bitstream conformance
that tileWidthSb * tileHeightSb is less than maxTileAreaSb.

If uniform_tile_spacing_flag is equal to 0, it is a requirement of bitstream conformance that startSb is equal to sbCols
when the loop writing MiColStarts exits.

If uniform_tile_spacing_flag is equal to 0, it is a requirement of bitstream conformance that startSb is equal to sbRows
when the loop writing MiRowStarts exits.


   Note: The requirements on startSb ensure that the sizes of each tile add up to the full size of the frame when
   measured in superblocks.


MiColStarts is an array specifying the start column (in units of 4x4 luma samples) for each tile across the image.

MiRowStarts is an array specifying the start row (in units of 4x4 luma samples) for each tile down the image.

width_in_sbs_minus_1 specifies the width of a tile minus 1 in units of superblocks.

height_in_sbs_minus_1 specifies the height of a tile minus 1 in units of superblocks.

maxTileHeightSb specifies the maximum height (in units of superblocks) that can be used for a tile (to avoid making tiles
with too much area).

context_update_tile_id specifies which tile to use for the CDF update. It is a requirement of bitstream conformance that
context_update_tile_id is less than TileCols * TileRows.

tile_size_bytes_minus_1 is used to compute TileSizeBytes.

TileSizeBytes specifies the number of bytes needed to code each tile size.


6.8.15. Quantizer index delta parameters semantics
delta_q_present specifies whether quantizer index delta values are present.

delta_q_res specifies the left shift which should be applied to decoded quantizer index delta values.




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6.8.16. Loop filter delta parameters semantics
delta_lf_present specifies whether loop filter delta values are present.

delta_lf_res specifies the left shift which should be applied to decoded loop filter delta values.

delta_lf_multi equal to 1 specifies that separate loop filter deltas are sent for horizontal luma edges, vertical luma edges,
the U edges, and the V edges. delta_lf_multi equal to 0 specifies that the same loop filter delta is used for all edges.


6.8.17. Global motion params semantics
is_global specifies whether global motion parameters are present for a particular reference frame.

is_rot_zoom specifies whether a particular reference frame uses rotation and zoom global motion.

is_translation specifies whether a particular reference frame uses translation global motion.


6.8.18. Global param semantics
absBits is used to compute the range of values that can be used for gm_params[ref][idx]. The values allowed are in the
range -(1 << absBits) to (1 << absBits).

precBits specifies the number of fractional bits used for representing gm_params[ref][idx]. All global motion parameters
are stored in the model with WARPEDMODEL_PREC_BITS fractional bits, but the parameters are encoded with less
precision.


6.8.19. Decode subexp semantics
subexp_final_bits provide the final bits that are read once the appropriate range has been determined.

subexp_more_bits equal to 0 specifies that the parameter is in the range mk to mk+a-1. subexp_more_bits equal to 1
specifies that the parameter is greater than mk+a-1.

subexp_bits specifies the value of the parameter minus mk.


6.8.20. Film grain params semantics
apply_grain equal to 1 specifies that film grain should be added to this frame. apply_grain equal to 0 specifies that film
grain should not be added.

reset_grain_params() is a function call that indicates that all the syntax elements read in film_grain_params should be
set equal to 0.

grain_seed specifies the starting value for the pseudo-random numbers used during film grain synthesis.

update_grain equal to 1 means that a new set of parameters should be sent. update_grain equal to 0 means that the
previous set of parameters should be used.

film_grain_params_ref_idx indicates which reference frame contains the film grain parameters to be used for this frame.



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It is a requirement of bitstream conformance that film_grain_params_ref_idx is equal to ref_frame_idx[ j ] for some value
of j in the range 0 to REFS_PER_FRAME - 1.


   Note: This requirement means that film grain can only be predicted from the frames that the current frame is using
   as reference frames.


load_grain_params(idx) is a function call that indicates that all the syntax elements read in film_grain_params should be
set equal to the values stored in an area of memory indexed by idx.

tempGrainSeed is a temporary variable that is used to avoid losing the value of grain_seed when load_grain_params is
called. When update_grain is equal to 0, a previous set of parameters should be used for everything except grain_seed.

num_y_points specifies the number of points for the piece-wise linear scaling function of the luma component.

It is a requirement of bitstream conformance that num_y_points is less than or equal to 14.

point_y_value[ i ] represents the x (luma value) coordinate for the i-th point of the piecewise linear scaling function for
luma component. The values are signaled on the scale of 0..255. (In case of 10 bit video, these values correspond to
luma values divided by 4. In case of 12 bit video, these values correspond to luma values divided by 16.)

If i is greater than 0, it is a requirement of bitstream conformance that point_y_value[ i ] is greater than point_y_value[ i - 1
] (this ensures the x coordinates are specified in increasing order).

point_y_scaling[ i ] represents the scaling (output) value for the i-th point of the piecewise linear scaling function for luma
component.

chroma_scaling_from_luma specifies that the chroma scaling is inferred from the luma scaling.

num_cb_points specifies the number of points for the piece-wise linear scaling function of the cb component.

It is a requirement of bitstream conformance that num_cb_points is less than or equal to 10.


   Note: When chroma_scaling_from_luma is equal to 1, it is still allowed for num_y_points to take values up to 14.
   This means that the chroma scaling also needs to support up to 14 points.


point_cb_value[ i ] represents the x coordinate for the i-th point of the piece-wise linear scaling function for cb
component. The values are signaled on the scale of 0..255.

If i is greater than 0, it is a requirement of bitstream conformance that point_cb_value[ i ] is greater than point_cb_value[ i -
1 ].

point_cb_scaling[ i ] represents the scaling (output) value for the i-th point of the piecewise linear scaling function for cb
component.

num_cr_points specifies represents the number of points for the piece-wise linear scaling function of the cr component.




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It is a requirement of bitstream conformance that num_cr_points is less than or equal to 10.

If subsampling_x is equal to 1 and subsampling_y is equal to 1 and num_cb_points is equal to 0, it is a requirement of
bitstream conformance that num_cr_points is equal to 0.

If subsampling_x is equal to 1 and subsampling_y is equal to 1 and num_cb_points is not equal to 0, it is a requirement of
bitstream conformance that num_cr_points is not equal to 0.


   Note: These requirements ensure that for 4:2:0 chroma subsampling, film grain noise will be applied to both
   chroma components, or to neither. There is no restriction for 4:2:2 or 4:4:4 chroma subsampling.


point_cr_value[ i ] represents the x coordinate for the i-th point of the piece-wise linear scaling function for cr component.
The values are signaled on the scale of 0..255.

If i is greater than 0, it is a requirement of bitstream conformance that point_cr_value[ i ] is greater than point_cr_value[ i -
1 ].

point_cr_scaling[ i ] represents the scaling (output) value for the i-th point of the piecewise linear scaling function for cr
component.

grain_scaling_minus_8 represents the shift – 8 applied to the values of the chroma component. The
grain_scaling_minus_8 can take values of 0..3 and determines the range and quantization step of the standard deviation
of film grain.

ar_coeff_lag specifies the number of auto-regressive coefficients for luma and chroma.

ar_coeffs_y_plus_128[ i ] specifies auto-regressive coefficients used for the Y plane.

ar_coeffs_cb_plus_128[ i ] specifies auto-regressive coefficients used for the U plane.

ar_coeffs_cr_plus_128[ i ] specifies auto-regressive coefficients used for the V plane.

ar_coeff_shift_minus_6 specifies the range of the auto-regressive coefficients. Values of 0, 1, 2, and 3 correspond to the
ranges for auto-regressive coefficients of [-2, 2), [-1, 1), [-0.5, 0.5) and [-0.25, 0.25) respectively.

grain_scale_shift specifies how much the Gaussian random numbers should be scaled down during the grain synthesis
process.

cb_mult represents a multiplier for the cb component used in derivation of the input index to the cb component scaling
function.

cb_luma_mult represents a multiplier for the average luma component used in derivation of the input index to the cb
component scaling function.

cb_offset represents an offset used in derivation of the input index to the cb component scaling function.




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cr_mult represents a multiplier for the cr component used in derivation of the input index to the cr component scaling
function.

cr_luma_mult represents a multiplier for the average luma component used in derivation of the input index to the cr
component scaling function.

cr_offset represents an offset used in derivation of the input index to the cr component scaling function.

overlap_flag equal to 1 indicates that the overlap between film grain blocks shall be applied. overlap_flag equal to 0
indicates that the overlap between film grain blocks shall not be applied.

clip_to_restricted_range equal to 1 indicates that clipping to the restricted (studio) range shall be applied to the sample
values after adding the film grain (see the semantics for color_range for an explanation of studio swing).
clip_to_restricted_range equal to 0 indicates that clipping to the full range shall be applied to the sample values after
adding the film grain.


6.8.21. TX mode semantics
tx_mode_select is used to compute TxMode.

TxMode specifies how the transform size is determined:


              TxMode                                                   Name of TxMode

                 0                                                         ONLY_4X4

                 1                                                   TX_MODE_LARGEST

                 2                                                    TX_MODE_SELECT


For tx_mode equal to TX_MODE_LARGEST, the inverse transform will use the largest transform size that fits inside the
block.

For tx_mode equal to ONLY_4X4, the inverse transform will use only 4x4 transforms.

For tx_mode equal to TX_MODE_SELECT, the choice of transform size is specified explicitly for each block.


6.8.22. Skip mode params semantics
SkipModeFrame[ list ] specifies the frames to use for compound prediction when skip_mode is equal to 1.

skip_mode_present equal to 1 specifies that the syntax element skip_mode will be present. skip_mode_present equal to
0 specifies that skip_mode will not be used for this frame.




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   Note: Skip mode tries to use the closest forward and backward references (as measured by values in the
   RefOrderHint array). If no backward reference is found, then the second closest forward reference is used. If no
   forward reference is found, then skip mode is disabled. (Forward prediction is when a frame is used for reference
   that is considered to be output before the current frame, backward prediction is when a frame is used that has not
   yet been output.)



6.8.23. Frame reference mode semantics
reference_select equal to 1 specifies that the mode info for inter blocks contains the syntax element comp_mode that
indicates whether to use single or compound reference prediction. Reference_select equal to 0 specifies that all inter
blocks will use single prediction.


6.8.24. Temporal point info semantics
frame_presentation_time specifies the presentation time of the frame in clock ticks DispCT counted from the removal
time of the last random access point for the operating point that is being decoded. The syntax element is signaled as a
fixed length unsigned integer with a length in bits given by frame_presentation_time_length_minus_1 + 1. The
frame_presentation_time is the remainder of a modulo 1 << (frame_presentation_time_length_minus_1 + 1) counter.


6.9. Frame OBU semantics
A frame OBU consists of a frame header OBU and a tile group OBU packed into a single OBU.


   Note: The intention is to provide a more compact way of coding the common use case where the frame header is
   immediately followed by tile group data.



6.10. Tile group OBU semantics
6.10.1. General tile group OBU semantics
NumTiles specifies the total number of tiles in the frame.

tile_start_and_end_present_flag specifies whether tg_start and tg_end are present. If tg_start and tg_end are not
present, this tile group covers the entire frame.

If obu_type is equal to OBU_FRAME, it is a requirement of bitstream conformance that the value of
tile_start_and_end_present_flag is equal to 0.

tg_start specifies the zero-based index of the first tile in the current tile group.

It is a requirement of bitstream conformance that the value of tg_start is equal to the value of TileNum at the point that
tile_group_obu is invoked.

tg_end specifies the zero-based index of the last tile in the current tile group.




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It is a requirement of bitstream conformance that the value of tg_end is greater than or equal to tg_start.

It is a requirement of bitstream conformance that the value of tg_end for the last tile group in each frame is equal to
NumTiles - 1.


   Note: These requirements ensure that conceptually all tile groups are present and received in order for the
   purposes of specifying the decode process.


frame_end_update_cdf is a function call that indicates that the frame CDF arrays are set equal to the saved CDFs. This
process is described in section 7.7.

tile_size_minus_1 is used to compute tileSize.

tileSize specifies the size in bytes of the next coded tile.


   Note: This size includes any padding bytes if added by the exit process for the Symbol decoder. The size does not
   include the bytes used for tile_size_minus_1 or syntax elements sent before tile_size_minus_1. For the last tile in
   the tile group, tileSize is computed instead of being read and includes the OBU trailing bits.


decode_frame_wrapup is a function call that indicates that the decode frame wrapup process specified in section 7.4
should be invoked.


6.10.2. Decode tile semantics
clear_left_context is a function call that indicates that some arrays used to determine the probabilities are zeroed. When
this function is invoked the arrays LeftLevelContext, LeftDcContext, and LeftSegPredContext are set equal to 0.


   Note: LeftLevelContext[ plane ][ i ], LeftDcContext[ plane ][ i ], and LeftSegPredContext[ i ] need to be set to 0 for i
   = 0..MiRows-1, for plane = 0..2.


clear_above_context is a function call that indicates that some arrays used to determine the probabilities are zeroed.
When this function is invoked the arrays AboveLevelContext, AboveDcContext, and AboveSegPredContext are set equal
to 0.


   Note: AboveLevelContext[ plane ][ i ], AboveDcContext[ plane ][ i ], and AboveSegPredContext[ i ] need to be set
   to 0 for i = 0..MiCols-1, for plane = 0..2.


ReadDeltas specifies whether the current block may read delta values for the quantizer index and loop filter. If the entire
superblock is skipped the delta values are not read, otherwise delta values for the quantizer index and loop filter are read
on the first block of a superblock. If delta_q_present is equal to 0, no delta values are read for the quantizer index. If
delta_lf_present is equal to 0, no delta values are read for the loop filter.




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6.10.3. Clear block decoded flags semantics
BlockDecoded is an array which stores one boolean value per 4x4 sample block per plane in the current superblock, plus
a border of one 4x4 sample block on all sides of the superblock. Except for the borders, a value of 1 in BlockDecoded
indicates that the corresponding 4x4 sample block has been decoded. The borders are used when computing above-right
and below-left availability along the top and left edges of the superblock.


6.10.4. Decode partition semantics
partition specifies how a block is partitioned:


              partition                                               Name of partition

                   0                                                  PARTITION_NONE

                   1                                                  PARTITION_HORZ

                   2                                                  PARTITION_VERT

                   3                                                  PARTITION_SPLIT

                   4                                                PARTITION_HORZ_A

                   5                                                PARTITION_HORZ_B

                   6                                                PARTITION_VERT_A

                   7                                                PARTITION_VERT_B

                   8                                                PARTITION_HORZ_4

                   9                                                 PARTITION_VERT_4


The variable subSize is computed from partition and indicates the size of the component blocks within this block:


                 subSize                                                Name of subSize

                       0                                                   BLOCK_4X4

                       1                                                   BLOCK_4X8

                       2                                                   BLOCK_8X4

                       3                                                   BLOCK_8X8

                       4                                                  BLOCK_8X16

                       5                                                  BLOCK_16X8

                       6                                                  BLOCK_16X16

                       7                                                  BLOCK_16X32

                       8                                                  BLOCK_32X16



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                 subSize                                                   Name of subSize

                    9                                                       BLOCK_32X32

                    10                                                      BLOCK_32X64

                    11                                                      BLOCK_64X32

                    12                                                      BLOCK_64X64

                    13                                                     BLOCK_64X128

                    14                                                     BLOCK_128X64

                    15                                                     BLOCK_128X128

                    16                                                       BLOCK_4X16

                    17                                                       BLOCK_16X4

                    18                                                       BLOCK_8X32

                    19                                                       BLOCK_32X8

                    20                                                      BLOCK_16X64

                    21                                                      BLOCK_64X16


The dimensions of these blocks are given in width, height order (e.g. BLOCK_8X16 corresponds to a block that is 8
samples wide, and 16 samples high).

It is a requirement of bitstream conformance that get_plane_residual_size( subSize, 1 ) is not equal to BLOCK_INVALID
every time subSize is computed.


   Note: This requirement prevents the UV blocks from being too tall or too wide (i.e. having aspect ratios outside the
   range 1:4 to 4:1). For example, when 4:2:2 chroma subsampling is used a luma partition of size 8x32 is invalid, as
   it implies a chroma partition of size 4x32, which results in an aspect ratio of 1:8.


split_or_vert is used to compute partition for blocks when only split or vert partitions are allowed because of overlap with
the right hand edge of the frame.

split_or_horz is used to compute partition for blocks when only split or horz partitions are allowed because of overlap
with the bottom edge of the frame.


6.10.5. Decode block semantics
MiRow is a variable holding the vertical location of the block in units of 4x4 luma samples.

MiCol is a variable holding the horizontal location of the block in units of 4x4 luma samples.

MiSize is a variable holding the size of the block with values having the same interpretation for the variable subSize.



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HasChroma is a variable that specifies whether chroma information is coded for this block.

Variable AvailU is equal to 0 if the information from the block above cannot be used on the luma plane; AvailU is equal to
1 if the information from the block above can be used on the luma plane.

Variable AvailL is equal to 0 if the information from the block to the left can not be used on the luma plane; AvailL is equal
to 1 if the information from the block to the left can be used on the luma plane.


   Note: Information from a block in a different tile can be used in some circumstances if the block is above, but not if
   the block is to the left.


Variables AvailUChroma and AvailLChroma have the same significance as AvailU and AvailL, but on the chroma
planes.


6.10.6. Intra frame mode info semantics
This syntax is used when coding an intra block within an intra frame.

use_intrabc equal to 1 specifies that intra block copy should be used for this block. use_intrabc equal to 0 specifies that
intra block copy should not be used.

intra_frame_y_mode specifies the direction of intra prediction filtering:


              intra_frame_y_mode                                         Name of intra_frame_y_mode

                         0                                                         DC_PRED

                         1                                                          V_PRED

                         2                                                          H_PRED

                         3                                                         D45_PRED

                         4                                                        D135_PRED

                         5                                                        D113_PRED

                         6                                                        D157_PRED

                         7                                                        D203_PRED

                         8                                                         D67_PRED

                         9                                                      SMOOTH_PRED

                         10                                                    SMOOTH_V_PRED

                         11                                                   SMOOTH_H_PRED

                         12                                                      PAETH_PRED




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uv_mode specifies the chrominance intra prediction mode using values with the same interpretation as in the semantics
for intra_frame_y_mode, with an additional mode UV_CFL_PRED.


                uv_mode                                                   Name of uv_mode

                     0                                                        DC_PRED

                     1                                                         V_PRED

                     2                                                         H_PRED

                     3                                                        D45_PRED

                     4                                                       D135_PRED

                     5                                                       D113_PRED

                     6                                                       D157_PRED

                     7                                                       D203_PRED

                     8                                                        D67_PRED

                     9                                                     SMOOTH_PRED

                    10                                                   SMOOTH_V_PRED

                    11                                                   SMOOTH_H_PRED

                    12                                                      PAETH_PRED

                    13                                                     UV_CFL_PRED



   Note: Due to the way the uv_mode syntax element is read, uv_mode can only be read as UV_CFL_PRED when
   Max( Block_Width[ MiSize ], Block_Height[ MiSize ] ) <= 32.



6.10.7. Intra segment ID semantics
Lossless is a variable which, if equal to 1, indicates that the block is coded using a special 4x4 transform designed for
encoding frames that are bit-identical with the original frames.


6.10.8. Read segment ID semantics
segment_id specifies which segment is associated with the current intra block being decoded. It is first read from the
stream, and then postprocessed based on the predicted segment id.

It is a requirement of bitstream conformance that the postprocessed value of segment_id (i.e. the value returned by
neg_deinterleave) is in the range 0 to LastActiveSegId (inclusive of endpoints).




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6.10.9. Inter segment ID semantics
seg_id_predicted equal to 1 specifies that the segment_id is taken from the segmentation map. seg_id_predicted equal
to 0 specifies that the syntax element segment_id is parsed.


   Note: It is allowed for seg_id_predicted to be equal to 0 even if the value coded for the segment_id is equal to
   predictedSegmentId.



6.10.10. Skip mode semantics
skip_mode equal to 1 indicates that this block will use some default settings (that correspond to compound prediction)
and so most of the mode info is skipped. skip_mode equal to 0 indicates that the mode info is not skipped.


6.10.11. Skip semantics
skip equal to 0 indicates that there may be some transform coefficients to read for this block; skip equal to 1 indicates that
there are no transform coefficients.


6.10.12. Quantizer index delta semantics
delta_q_abs specifies the absolute value of the quantizer index delta value being decoded. If delta_q_abs is equal to
DELTA_Q_SMALL, the value is encoded using delta_q_rem_bits and delta_q_abs_bits.

delta_q_rem_bits and delta_q_abs_bits encode the absolute value of the quantizer index delta value being decoded,
where the absolute value of the quantizer index delta value is of the form:


   (1 << delta_q_rem_bits)) + delta_q_abs_bits + 1


delta_q_sign_bit equal to 0 indicates that the quantizer index delta value is positive; delta_q_sign_bit equal to 1 indicates
that the quantizer index delta value is negative.


6.10.13. Loop filter delta semantics
delta_lf_abs specifies the absolute value of the loop filter delta value being decoded. If delta_lf_abs is equal to
DELTA_LF_SMALL, the value is encoded using delta_lf_rem_bits and delta_lf_abs_bits.

delta_lf_rem_bits and delta_lf_abs_bits encode the absolute value of the loop filter delta value being decoded, where
the absolute value of the loop filter delta value is of the form:


   ( 1 << ( delta_lf_rem_bits + 1 ) ) + delta_lf_abs_bits + 1


delta_lf_sign_bit equal to 0 indicates that the loop filter delta value is positive; delta_lf_sign_bit equal to 1 indicates that
the loop filter delta value is negative.




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6.10.14. CDEF params semantics
cdef_damping_minus_3 controls the amount of damping in the deringing filter.

cdef_bits specifies the number of bits needed to specify which CDEF filter to apply.

cdef_y_pri_strength and cdef_uv_pri_strength specify the strength of the primary filter.

cdef_y_sec_strength and cdef_uv_sec_strength specify the strength of the secondary filter.


6.10.15. Loop restoration params semantics
lr_type is used to compute FrameRestorationType.

FrameRestorationType specifies the type of restoration used for each plane as follows:


    lr_type               FrameRestorationType                              Name of FrameRestorationType

       0                               0                                             RESTORE_NONE

       1                               3                                        RESTORE_SWITCHABLE

       2                               1                                             RESTORE_WIENER

       3                               2                                          RESTORE_SGRPROJ


UsesLr indicates if any plane uses loop restoration.

lr_unit_shift specifies if the luma restoration size should be halved.

lr_unit_extra_shift specifies if the luma restoration size should be halved again.

lr_uv_shift is only present for 4:2:0 formats and specifies if the chroma size should be half the luma size.

LoopRestorationSize[plane] specifies the size of loop restoration units in units of samples in the current plane.


6.10.16. TX size semantics
tx_depth is used to compute TxSize. tx_depth is inverted with respect to TxSize, i.e. it specifies how much smaller the
transform size should be made than the largest possible transform size for the block.

TxSize specifies the transform size to be used for this block:


                TxSize                                                    Name of TxSize

                   0                                                          TX_4X4

                   1                                                          TX_8X8

                   2                                                         TX_16X16




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                 TxSize                                                    Name of TxSize

                    3                                                          TX_32X32

                    4                                                          TX_64X64

                    5                                                           TX_4X8

                    6                                                           TX_8X4

                    7                                                          TX_8X16

                    8                                                          TX_16X8

                    9                                                          TX_16X32

                   10                                                          TX_32X16

                   11                                                          TX_32X64

                   12                                                          TX_64X32

                   13                                                          TX_4X16

                   14                                                          TX_16X4

                   15                                                          TX_8X32

                   16                                                          TX_32X8

                   17                                                          TX_16X64

                   18                                                          TX_64X16



   Note: TxSize is determined for skipped intra blocks because TxSize controls the granularity of the intra prediction.



6.10.17. Block TX size semantics
InterTxSizes is an array that holds the transform sizes within inter frames.


   Note: TxSizes and InterTxSizes contain different values. All the values in TxSizes across a residual block will
   share the same value, while InterTxSizes can represent several different transform sizes within a residual block.



6.10.18. Var TX size semantics
txfm_split equal to 1 specifies that the block should be split into smaller transform sizes. txfm_split equal to 0 specifies
that the block should not be split any more.


6.10.19. Transform type semantics
set specifies the transform set.



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             is_inter                    set                               Name of transform set

            Don’t care                      0                                TX_SET_DCTONLY

                 0                          1                                TX_SET_INTRA_1

                 0                          2                                TX_SET_INTRA_2

                 1                          1                                TX_SET_INTER_1

                 1                          2                                TX_SET_INTER_2

                 1                          3                                TX_SET_INTER_3


The transform sets determine what subset of transform types can be used, according to the following table.


                                   TX_SET_         TX_SET_         TX_SET_       TX_SET_      TX_SET_        TX_SET_
       Transform type              DCTONLY          INTRA_1        INTRA_2       INTER_1       INTER_2       INTER_3

          DCT_DCT                       X               X              X             X             X            X

          ADST_DCT                                      X              X             X             X

          DCT_ADST                                      X              X             X             X

         ADST_ADST                                      X              X             X             X

       FLIPADST_DCT                                                                  X             X

       DCT_FLIPADST                                                                  X             X

    FLIPADST_FLIPADST                                                                X             X

       ADST_FLIPADST                                                                 X             X

       FLIPADST_ADST                                                                 X             X

             IDTX                                       X              X             X             X            X

            V_DCT                                       X                            X             X

            H_DCT                                       X                            X             X

           V_ADST                                                                    X

           H_ADST                                                                    X

         V_FLIPADST                                                                  X

         H_FLIPADST                                                                  X


inter_tx_type specifies the transform type for inter blocks.

intra_tx_type specifies the transform type for intra blocks.




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6.10.20. Is inter semantics
is_inter equal to 0 specifies that the block is an intra block; is_inter equal to 1 specifies that the block is an inter block.


6.10.21. Intra block mode info semantics
This syntax is used when coding an intra block within an inter frame.

y_mode specifies the direction of luminance intra prediction using values with the same interpretation as for
intra_frame_y_mode.

uv_mode specifies the chrominance intra prediction mode using values with the same interpretation as in the semantics
for intra_frame_y_mode, with an additional mode UV_CFL_PRED.


   Note: Due to the way the uv_mode syntax element is read, uv_mode can only be read as UV_CFL_PRED when
   Max( Block_Width[ MiSize ], Block_Height[ MiSize ] ) <= 32.



6.10.22. Inter block mode info semantics
This syntax is used when coding an inter block.

compound_mode specifies how the motion vector used by inter prediction is obtained when using compound prediction.
An offset is added to compound_mode to compute YMode as follows:


            YMode                Name of YMode

               14                NEARESTMV

               15                NEARMV

               16                GLOBALMV

               17                NEWMV

               18                NEAREST_NEARESTMV

               19                NEAR_NEARMV

               20                NEAREST_NEWMV

               21                NEW_NEARESTMV

               22                NEAR_NEWMV

               23                NEW_NEARMV

               24                GLOBAL_GLOBALMV

               25                NEW_NEWMV




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   Note: The intra modes take values 0..13 so these YMode values start at 14.


new_mv equal to 0 means that a motion vector difference should be read.

zero_mv equal to 0 means that the motion vector should be set equal to default motion for the frame.

ref_mv equal to 0 means that the most likely motion vector should be used (called NEAREST), ref_mv equal to 1 means
that the second most likely motion vector should be used (called NEAR).

interp_filter specifies the type of filter used in inter prediction. Values 0..3 are allowed with the same interpretation as for
interpolation_filter. One filter type is specified for the vertical filter direction and one for the horizontal filter direction.


   Note: The syntax element interpolation_filter from the uncompressed header can specify the type of filter to be
   used for the whole frame. If it is set to SWITCHABLE then the interp_filter syntax element is read from the
   bitstream for every inter block.


RefMvIdx specifies which candidate in the RefStackMv should be used.

drl_mode is a bit sent for candidates in the motion vector stack to indicate if they should be used. drl_mode equal to 0
means to use the current value of idx. drl_mode equal to 1 says to continue searching. DRL stands for “Dynamic
Reference List”.


6.10.23. Filter intra mode info semantics
use_filter_intra is a bit specifying whether or not intra filtering can be used.

filter_intra_mode specifies the type of intra filtering, and can take on any of the following values:


                filter_intra_mode                                           Name of filter_intra_mode

                         0                                                         FILTER_DC_PRED

                         1                                                         FILTER_V_PRED

                         2                                                         FILTER_H_PRED

                         3                                                     FILTER_D157_PRED

                         4                                                    FILTER_PAETH_PRED


6.10.24. Ref frames semantics
comp_mode specifies whether single or compound prediction is used:


              comp_mode                                                   Name of comp_mode

                     0                                                    SINGLE_REFERENCE



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              comp_mode                                              Name of comp_mode

                   1                                              COMPOUND_REFERENCE


SINGLE_REFERENCE indicates that the inter block uses only a single reference frame to generate motion compensated
prediction.

COMPOUND_REFERENCE indicates that the inter block uses compound mode.

There are two reference frame groups:

      • Group 1: LAST_FRAME, LAST2_FRAME, LAST3_FRAME, and GOLDEN_FRAME.

      • Group 2: BWDREF_FRAME, ALTREF2_FRAME, and ALTREF_FRAME.


   Note: Encoders are free to assign these references to any of the reference frames (via the ref_frame_idx array).
   For example, there is no requirement of bitstream conformance that LAST_FRAME should indicate a frame that
   appears before the current frame in output order. Similarly, encoders can assign multiple references to the same
   reference frame.


comp_ref_type is used for compound prediction to specify whether both reference frames come from the same group or
not:


   comp_ref_type              Name of comp_ref_type             Description

          0                  UNIDIR_COMP_REFERENCE              Both reference frames from the same group

          1                  BIDIR_COMP_REFERENCE               One from Group 1 and one from Group 2


uni_comp_ref, uni_comp_ref_p1, and uni_comp_ref_p2 specify which reference frames are in use when both come
from the same group.

comp_ref, comp_ref_p1, and comp_ref_p2 specify the first reference frame when the two reference frames come from
different groups.

comp_bwdref and comp_bwdref_p1 specify the second reference frame when the two reference frames come from
different groups.

single_ref_p1, single_ref_p2, single_ref_p3, single_ref_p4, single_ref_p5, and single_ref_p6 specify the reference
frame when only a single reference frame is in use.

RefFrame[ 0 ] specifies which frame is used to compute the predicted samples for this block:


                  RefFrame[ 0 ]                                             Name of ref_frame

                         0                                                    INTRA_FRAME




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                  RefFrame[ 0 ]                                            Name of ref_frame

                         1                                                       LAST_FRAME

                         2                                                   LAST2_FRAME

                         3                                                   LAST3_FRAME

                         4                                                  GOLDEN_FRAME

                         5                                                  BWDREF_FRAME

                         6                                                  ALTREF2_FRAME

                         7                                                  ALTREF_FRAME


RefFrame[ 1 ] specifies which additional frame is used in compound prediction:


      RefFrame[ 1 ]                                            Name of ref_frame

            -1                                       NONE (this block uses single prediction)

             0                                 INTRA_FRAME (this block uses interintra prediction)

             1                                                    LAST_FRAME

             2                                                   LAST2_FRAME

             3                                                   LAST3_FRAME

             4                                                  GOLDEN_FRAME

             5                                                  BWDREF_FRAME

             6                                                  ALTREF2_FRAME

             7                                                  ALTREF_FRAME



   Note: Not all combinations of RefFrame[0] and RefFrame[1] can be coded.



6.10.25. Assign mv semantics
It is a requirement of bitstream conformance that whenever assign_mv returns, the function is_mv_valid(isCompound)
would return 1, where is_mv_valid is defined as:




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  is_mv_valid(( isCompound ) {
      for ( i = 0; i < 1 + isCompound;; i++++ ) {
          for ( comp = 0; comp < 2; comp++ ++ ) {
               if ( Abs(( Mv[[ i ][ comp ] ) >= ( 1 << 14 ) )
                   return 0
          }
      }
      if ( !use_intrabc ) {
          return 1
      }
      bw = Block_Width[[ MiSize ]
      bh = Block_Height[[ MiSize ]
      if ( (Mv[[ 0 ][ 0 ] & 7) || (Mv[[ 0 ][ 1 ] & 7) ) {
          return 0
      }
      deltaRow = Mv[[ 0 ][ 0 ] >> 3
      deltaCol = Mv[[ 0 ][ 1 ] >> 3
      srcTopEdge = MiRow * MI_SIZE + deltaRow
      srcLeftEdge = MiCol * MI_SIZE + deltaCol
      srcBottomEdge = srcTopEdge + bh
      srcRightEdge = srcLeftEdge + bw
      if ( HasChroma ) {
          if ( bw < 8 && subsampling_x )
               srcLeftEdge -= 4
          if ( bh < 8 && subsampling_y )
               srcTopEdge -= 4
      }
      if ( srcTopEdge < MiRowStart * MI_SIZE ||
            srcLeftEdge < MiColStart * MI_SIZE ||
            srcBottomEdge > MiRowEnd * MI_SIZE ||
            srcRightEdge > MiColEnd * MI_SIZE ) {
          return 0
      }
      sbSize = use_128x128_superblock ? BLOCK_128X128 : BLOCK_64X64
      sbH = Block_Height[[ sbSize ]
      activeSbRow = (MiRow * MI_SIZE)) / sbH
      activeSb64Col = (MiCol * MI_SIZE)) >> 6
      srcSbRow = (srcBottomEdge - 1) / sbH
      srcSb64Col = (srcRightEdge - 1) >> 6
      totalSb64PerRow = ((((MiColEnd - MiColStart - 1) >> 4) + 1
      activeSb64 = activeSbRow * totalSb64PerRow + activeSb64Col
      srcSb64 = srcSbRow * totalSb64PerRow + srcSb64Col
      if ( srcSb64 >= activeSb64 - INTRABC_DELAY_SB64)) {
          return 0
      }
      gradient = 1 + INTRABC_DELAY_SB64 + use_128x128_superblock
      wfOffset = gradient * (activeSbRow - srcSbRow))
      if ( srcSbRow > activeSbRow ||
            srcSb64Col >= activeSb64Col - INTRABC_DELAY_SB64 + wfOffset ) {
          return 0




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       }
       return 1
   }



   Note: The purpose of this function is to limit the maximum size of motion vectors and also, if use_intrabc is equal
   to 1, to additionally constrain the motion vector in order that the data is fetched from parts of the tile that have
   already been decoded, and that are not too close to the current block (in order to make a pipelined decoder
   implementation feasible).



6.10.26. Read motion mode semantics
use_obmc equal to 1 means that OBMC should be used. use_obmc equal to 0 means that simple translation should be
used.

motion_mode specifies the type of motion compensation to perform:


                  motion_mode                                               Name of motion_mode


                        0                                                           SIMPLE


                        1                                                            OBMC


                        2                                                        LOCALWARP



   Note: A motion_mode equal to SIMPLE is used for blocks requiring global motion.



6.10.27. Read inter intra semantics
interintra equal to 1 specifies that an inter prediction should be blended with an intra prediction.

interintra_mode specifies the type of intra prediction to be used:


                interintra_mode                                            Name of interintra_mode

                        0                                                         II_DC_PRED

                        1                                                          II_V_PRED

                        2                                                          II_H_PRED

                        3                                                     II_SMOOTH_PRED




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wedge_interintra equal to 1 specifies that wedge blending should be used. wedge_interintra equal to 0 specifies that
intra blending should be used.

wedge_index is used to derive the direction and offset of the wedge mask used during blending.


6.10.28. Read compound type semantics
comp_group_idx equal to 0 indicates that the compound_idx syntax element should be read. comp_group_idx equal to 1
indicates that the compound_idx syntax element is not present.

compound_idx equal to 0 indicates that a distance based weighted scheme should be used for blending. compound_idx
equal to 1 indicates that the averaging scheme should be used for blending.

compound_type specifies how the two predictions should be blended together:


               compound_type                                           Name of compound_type

                         0                                               COMPOUND_WEDGE

                         1                                              COMPOUND_DIFFWTD

                         2                                             COMPOUND_AVERAGE

                         3                                               COMPOUND_INTRA

                         4                                             COMPOUND_DISTANCE



   Note: COMPOUND_AVERAGE, COMPOUND_INTRA, and COMPOUND_DISTANCE cannot be directly signaled
   with the compound_type syntax element but are inferred from other syntax elements.


wedge_index is used to derive the direction and offset of the wedge mask used during blending.

wedge_sign specifies the sign of the wedge blend.

mask_type specifies the type of mask to be used during blending:


                mask_type                                               Name of mask_type

                     0                                                     UNIFORM_45

                     1                                                   UNIFORM_45_INV


6.10.29. MV semantics
MvCtx is used to determine which CDFs to use for the motion vector syntax elements.

mv_joint specifies which components of the motion vector difference are non-zero:




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     mv_joint                     Name of mv_joint                         Changes row                   Changes col

          0                       MV_JOINT_ZERO                                 No                             No

          1                      MV_JOINT_HNZVZ                                 No                            Yes

          2                      MV_JOINT_HZVNZ                                 Yes                            No

          3                     MV_JOINT_HNZVNZ                                 Yes                           Yes


The motion vector difference is added to the PredMv to compute the final motion vector in Mv.


6.10.30. MV component semantics
mv_sign equal to 0 means that the motion vector difference is positive; mv_sign equal to 1 means that the motion vector
difference is negative.

mv_class specifies the class of the motion vector difference. A higher class means that the motion vector difference
represents a larger update:


                 mv_class                                                   Name of mv_class

                      0                                                       MV_CLASS_0

                      1                                                       MV_CLASS_1

                      2                                                       MV_CLASS_2

                      3                                                       MV_CLASS_3

                      4                                                       MV_CLASS_4

                      5                                                       MV_CLASS_5

                      6                                                       MV_CLASS_6

                      7                                                       MV_CLASS_7

                      8                                                       MV_CLASS_8

                      9                                                       MV_CLASS_9

                     10                                                       MV_CLASS_10


mv_class0_bit specifies the integer part of the motion vector difference. This is only present for class 0 motion vector
differences.

mv_class0_fr specifies the first 2 fractional bits of the motion vector difference. This is only present for class 0 motion
vector differences.

mv_class0_hp specifies the third fraction bit of the motion vector difference. This is only present for class 0 motion vector
differences.




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mv_bit specifies bit i of the integer part of the motion vector difference.

mv_fr specifies the first 2 fractional bits of the motion vector difference.

mv_hp specifies the third fractional bit of the motion vector difference.


6.10.31. Compute prediction semantics
The prediction for inter and interintra blocks is triggered within compute_prediction. However, intra prediction is done at
the transform block granularity so predict_intra is also called from transform_block.

predW and predH are variables containing the smallest size that can be used for inter prediction. (This size may be
increased for chroma blocks if not all blocks use inter prediction.)

predict_inter is a function call that indicates the conceptual point where inter prediction happens. When this function is
called, the inter prediction process specified in section 7.11.3 is invoked.

predict_intra is a function call that indicates the conceptual point where intra prediction happens. When this function is
called, the intra prediction process specified in section 7.11.2 is invoked.


   Note: The predict_inter and predict_intra functions do not affect the syntax decode process.


someUseIntra is a variable that indicates if some of the blocks corresponding to this residual require intra prediction.


   Note: The chroma residual block size is always at least 4 in width and height. This means that no transform width
   or height smaller than 4 is required. As such, a chroma residual may actually cover several luma blocks. If any of
   these blocks are intra, a single prediction is performed for the entire chroma residual block based on the mode info
   of the bottom right luma block. However, if all the constituent blocks are inter blocks, a special case is triggered
   and inter prediction is done using the smaller chroma block size that corresponds to each of the luma blocks.



6.10.32. Residual semantics
The residual consists of a number of transform blocks.

If the block is wider or higher than 64 luma samples, then the residual is split into 64 by 64 chunks.

Within each chunk, the transform blocks are either sent in raster order (if use_inter is equal to 0 or LossLess is equal to
1), or within a recursive transform tree.


6.10.33. Transform block semantics
reconstruct is a function call that indicates the conceptual point where inverse transform and reconstruction happens.
When this function is called, the reconstruction process specified in section 7.12.3 is invoked.

predict_palette is a function call that indicates the conceptual point where palette prediction happens. When this function
is called, the palette prediction process specified in section 7.11.4 is invoked.


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predict_chroma_from_luma is a function call that indicates the conceptual point where predicting chroma from luma
happens. When this function is called, the predict chroma from luma process specified in section 7.11.5 is invoked.

MaxLumaW and MaxLumaH are needed for chroma from luma prediction and store the extent of luma samples that can
be used for prediction.

LoopfilterTxSizes is an array that stores the transform size for each plane and position for use in loop filtering.
LoopfilterTxSizes[ plane ][ row ][ col ] stores the transform size where row and col are in units of 4x4 samples.


   Note: The transform size is always equal for planes 1 and 2.



6.10.34. Coefficients semantics
TxTypes is an array which stores at a 4x4 luma sample granularity the transform type to be used.


   Note: The transform type is only read for luma transform blocks, the chroma uses the transform type for a
   corresponding luma block. Chroma blocks will only use transform types that have been written for the current
   residual block.


Quant is an array storing the quantised coefficients for the current transform block.

all_zero equal to 1 specifies that all coefficients are zero.


   Note: The transform type is only present when this is a luminance block and all_zero is equal to 0. If all_zero is
   equal to 1 for a luminance block, the transform type is set to DCT_DCT.


eob_extra and eob_extra_bit specify the position of the last non-zero coefficient by being used to compute the variable
eob.

eob_pt_16, eob_pt_32, eob_pt_64, eob_pt_128, eob_pt_256, eob_pt_512, eob_pt_1024: syntax elements used to
compute eob.

eob is a variable that indicates the index of the end of block. This index is equal to one plus the index of the last non-zero
coefficient.

coeff_base_eob is a syntax element used to compute the base level of the last non-zero coefficient.


   Note: The base level is set to coeff_base_eob plus 1. Since this coefficient is known to be non-zero, only base
   levels of 1, 2, or 3 can be coded via coeff_base_eob.


coeff_base specifies the base level of a coefficient (this syntax element is used for all coefficients except the last non-
zero coefficient).




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   Note: The base level can take values of 0, 1, 2, or 3. If the base level is less than 3, then it contains the actual
   level of the coefficient. Otherwise, the syntax element coeff_br is used to optionally increase the level.


dc_sign specifies the sign of the DC coefficient.

sign_bit specifies the sign of a non-zero AC coefficient.

coeff_br specifies an increment to the coefficient.


   Note: Each quantized coefficient can use coeff_br to provide up to 4 increments. If an increment less than 3 is
   coded, it signifies that this was the final increment.


golomb_length_bit is used to compute the number of extra bits required to code the coefficient.

If length is equal to 20, it is a requirement of bitstream conformance that golomb_length_bit is equal to 1.

golomb_data_bit specifies the value of one of the extra bits.

AboveLevelContext and LeftLevelContext are arrays that store at a 4 sample granularity the cumulative sum of
coefficient levels.

AboveDcContext and LeftDcContext are arrays that store at a 4 sample granularity 2 bits signaling the sign of the DC
coefficient (zero being counted as a separate sign).


6.10.35. Intra angle info semantics
angle_delta_y specifies the offset to be applied to the intra prediction angle specified by the prediction mode in the luma
plane, biased by MAX_ANGLE_DELTA so as to encode a positive value.

angle_delta_uv specifies the offset to be applied to the intra prediction angle specified by the prediction mode in the
chroma plane biased by MAX_ANGLE_DELTA so as to encode a positive value.

AngleDeltaY is computed from angle_delta_y by removing the MAX_ANGLE_DELTA offset to produce the final luma
angle offset value, which may be positive or negative.

AngleDeltaUV is computed from angle_delta_uv by removing the MAX_ANGLE_DELTA offset to produce the final
chroma angle offset value, which may be positive or negative.


6.10.36. Read CFL alphas semantics
cfl_alpha_signs contains the sign of the alpha values for U and V packed together into a single syntax element with 8
possible values. (The combination of two zero signs is prohibited as it is redundant with DC Intra prediction.)


           cfl_alpha_signs                            Name of signU                              Name of signV

                   0                                  CFL_SIGN_ZERO                              CFL_SIGN_NEG



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           cfl_alpha_signs                          Name of signU                              Name of signV

                     1                             CFL_SIGN_ZERO                              CFL_SIGN_POS

                     2                             CFL_SIGN_NEG                              CFL_SIGN_ZERO

                     3                             CFL_SIGN_NEG                               CFL_SIGN_NEG

                     4                             CFL_SIGN_NEG                               CFL_SIGN_POS

                     5                             CFL_SIGN_POS                              CFL_SIGN_ZERO

                     6                             CFL_SIGN_POS                               CFL_SIGN_NEG

                     7                             CFL_SIGN_POS                               CFL_SIGN_POS


signU contains the sign of the alpha value for the U component:


              signU                                                    Name of signU

                 0                                                    CFL_SIGN_ZERO

                 1                                                     CFL_SIGN_NEG

                 2                                                     CFL_SIGN_POS


signV contains the sign of the alpha value for the V component with the same interpretation as for signU.

cfl_alpha_u contains the absolute value of alpha minus one for the U component.

cfl_alpha_v contains the absolute value of alpha minus one for the V component.

CflAlphaU contains the signed value of the alpha component for the U component.

CflAlphaV contains the signed value of the alpha component for the V component.


6.10.37. Palette mode info semantics
has_palette_y is a boolean value specifying whether a palette is encoded for the Y plane.

has_palette_uv is a boolean value specifying whether a palette is encoded for the UV plane.

palette_size_y_minus_2 is used to compute PaletteSizeY.

PaletteSizeY is a variable holding the Y plane palette size.

palette_size_uv_minus_2 is used to compute PaletteSizeUV.

PaletteSizeUV is a variable holding the UV plane palette size.

use_palette_color_cache_y, if equal to 1, indicates that for a particular palette entry in the luma palette, the cached
entry should be used.


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use_palette_color_cache_u, if equal to 1, indicates that for a particular palette entry in the U chroma palette, the cached
entry should be used.

palette_colors_y is an array holding the Y plane palette colors.

palette_colors_u is an array holding the U plane palette colors.

palette_colors_v is an array holding the V plane palette colors.

delta_encode_palette_colors_v, if equal to 1, indicates that the V chroma palette is encoded using delta encoding.

palette_num_extra_bits_y is used to calculate the number of bits used to store each palette delta value for the luma
palette.

palette_num_extra_bits_u is used to calculate the number of bits used to store each palette delta value for the U
chroma palette.

palette_num_extra_bits_v is used to calculate the number of bits used to store each palette delta value for the V chroma
palette.

palette_delta_y is a delta value for the luma palette.

palette_delta_u is a delta value for the U chroma palette.

palette_delta_v is a delta value for the V chroma palette.


   Note: Luma and U delta values give a positive offset relative to the previous palette entry in the same plane. V
   delta values give a signed offset relative to the U palette entries.


palette_delta_sign_bit_v, if equal to 1, indicates that the decoded V chroma palette delta value should be negated.


6.10.38. Palette tokens semantics
color_index_map_y holds the index in palette_colors_y for the block’s Y plane top left sample.

color_index_map_uv holds the index in palette_colors_u and palette_colors_v for the block’s UV plane top left sample.

palette_color_idx_y holds the index in ColorOrder for a sample in the block’s Y plane.

palette_color_idx_uv holds the index in ColorOrder for a sample in the block’s UV plane.


6.10.39. Palette color context semantics
ColorOrder is an array holding the mapping from an encoded index to the palette. ColorOrder is ranked in order of
frequency of occurrence of each color in the neighborhood of the current block, weighted by closeness to the current
block.




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ColorContextHash is a variable derived from the distribution of colors in the neighborhood of the current block, which is
used to determine the probability context used to decode palette_color_idx_y and palette_color_idx_uv.


6.10.40. Read CDEF semantics
cdef_idx specifies which CDEF filtering parameters should be used for a particular 64 by 64 block. A value of -1 means
that CDEF is disabled for that block.


6.10.41. Read loop restoration unit semantics
use_wiener specifies if the Wiener filter should be used.

use_sgrproj specifies if the self guided filter should be used.

restoration_type specifies the restoration filter that should be used with the same interpretation as
FrameRestorationType.

lr_sgr_set specifies which set of parameters to use for the self guided filter.

subexp_more_bools equal to 0 specifies that the parameter is in the range mk to mk+a-1. subexp_more_bools equal to
1 specifies that the parameter is greater than mk+a-1.

subexp_unif_bools specifies the value of the parameter minus mk.

subexp_bools specifies the value of the parameter minus mk.


6.11. Tile list OBU semantics
6.11.1. General tile list OBU semantics
output_frame_width_in_tiles_minus_1 plus one is the width of the output frame, in tile units.

output_frame_height_in_tiles_minus_1 plus one is the height of the output frame, in tile units.

tile_count_minus_1 plus one is the number of tile_list_entry in the list.

It is a requirement of bitstream conformance that tile_count_minus_1 is less than or equal to 511.


6.11.2. Tile list entry semantics
anchor_frame_idx is the index into an array AnchorFrames of the frames that the tile uses for prediction. The
AnchorFrames array is provided by external means and may change for each tile list OBU. The process for creating the
AnchorFrames array is outside of the scope of this specification.

It is a requirement of bitstream conformance that anchor_frame_idx is less than or equal to 127.

anchor_tile_row is the row coordinate of the tile in the frame that it belongs, in tile units.

It is a requirement of bitstream conformance that anchor_tile_row is less than TileRows.


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anchor_tile_col is the column coordinate of the tile in the frame that it belongs, in tile units.

It is a requirement of bitstream conformance that anchor_tile_col is less than TileCols.

tile_data_size_minus_1 plus one is the size of the coded tile data, coded_tile_data, in bytes.

coded_tile_data are the tile_data_size_minus_1 + 1 bytes of the coded tile.




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7. Decoding process
7.1. Overview
AV1 contains two operating modes:

     1. General decoding (input is a sequence of OBUs, output is decoded frames)

     2. Large scale tile decoding (input is a tile list OBU plus additional side information, output is a decoded frame)

The general decoding process is specified in section 7.2.

The large scale tile decoding process is specified in section 7.3.


7.2. General decoding process
When film_grain_params_present is equal to 0, decoders shall produce output frames that are identical in all respects and
have the same output order as those produced by the decoding process specified herein.

When film_grain_params_present is equal to 1, a decoder shall implement a film grain synthesis process that modifies the
output arrays OutY, OutU, OutV. The reference film grain synthesis process is described in section 7.18.3.

When film_grain_params_present is equal to 1, a conformant decoder shall satisfy at least one of the following two
options:

     1. A conformant decoder shall produce output frames that are identical in all respects and have the same output
        order as those produced by the decoding process specified herein including applying the exact film grain
        synthesis process as specified in section 7.18.3.

     2. A conformant decoder shall produce intermediate frames that are identical in all respects and have the same
        order as the frames produced by the process specified in section 7.18.2. In addition to that, a conformant
        decoder shall produce output frames that are in the same order and do not have perceptually significant
        differences with the frames produced by the reference film grain synthesis process specified in section 7.18.3
        when applied to the input frames of the film grain synthesis process with the film grain parameters signaled for
        these frames. The decoder may also include optional processing steps which are applied to the intermediate
        frames produced by the process specified in section 7.18.2 and before the film grain synthesis process, resulting
        in the input frames of the film grain synthesis process. Such optional processing steps are beyond the scope of
        this specification. Otherwise, the intermediate frames are the input frames of the film grain synthesis process.
        The definition of “perceptually significant differences” is beyond the scope of this specification and may be
        specified, for example, by a service provider as part of their accreditation program. The film grain synthesis
        process applied by a conformant decoder should be feature complete with regards to the reference film grain
        synthesis process of section 7.18.3 including scaling strength of the film grain as a function of intensity according
        to the signaled parameters, same maximum AR lag, and similar modeling of correlation between luma and
        chroma and smoothing of transitions between blocks of grain when applicable.




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   Note: To ensure conformance, decoder manufacturers are advised to implement the film grain synthesis process
   as specified in section 7.18.3. One reason to choose the second conformance option is implementation of optional
   processing steps between the output of section 7.18.2 and the film grain synthesis process, in which case there
   could be minor differences in the output with the reference film grain synthesis process of section 7.18.3.
   Examples of these optional processing steps are algorithms improving output picture quality, such as de-banding
   filtering and coding artefacts removal.



   Note: Some applications, such as transcoding from AV1 to AV1, may use intermediate output frames of section
   7.18.2 for transcoding. In such cases, the original film grain synthesis information may be adapted and inserted in
   the transcoded bitstream.


The input to this process is a sequence of open bitstream units (OBUs).

The output from this process is a sequence of decoded frames.

For each OBU in turn the syntax elements are extracted as specified in section 5.3.

The syntax tables include function calls indicating when the remaining decode processes are triggered.


7.3. Large scale tile decoding process
7.3.1. General
The large scale tile decoding process is used to decode a random subset of tiles taken from a number of coded frames.
The list of tiles is specified by a tile list OBU. One possible use case for this process is described in Annex D.


   Note: A decoder is recommended to support decoding of tile list OBUs, but this is not a requirement for decoder
   conformance.


The inputs to this process are:

      • contents of all syntax elements and variables produced when parsing a sequence header OBU,

      • contents of all syntax elements and variables produced when parsing a frame header OBU (including CDF tables
        optionally loaded from a reference frame),

      • an array AnchorFrames containing up to 128 frames,

      • a tile list OBU.

The output from this process is:

      • an output frame containing decoded tiles in raster order.




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   Note: The syntax elements from the sequence header and frame header may be produced by decoding a
   sequence header OBU and a frame header OBU, but this is not a requirement of decoder conformance. The
   AnchorFrames may be produced by decoding an AV1 bitstream, but this is not a requirement of bitstream
   conformance.


The following figure shows the arrangement of data required to decode a single tile list OBU. Those data shown on a
green background are normatively defined in this specification. Data items shown on a yellow background are defined by
a process or processes beyond the scope of this specification.




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                                                     Application level overview


For each tile list entry in the tile list OBU, the following ordered steps are applied:

     1. Parse the syntax elements within the tile_list_entry



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     2. Set the bitstream position indicator to point to the the start of the coded_tile_data syntax element

     3. Set the variable last equal to ref_frame_idx[ 0 ]

     4. Set FrameStore[ last ] equal to AnchorFrames[ anchor_frame_idx ]

     5. RefValid[ last ] is set equal to 1.

     6. RefUpscaledWidth[ last ] is set equal to UpscaledWidth.

     7. RefFrameWidth[ last ] is set equal to FrameWidth.

     8. RefFrameHeight[ last ] is set equal to FrameHeight.

     9. RefMiCols[ last ] is set equal to MiCols.

    10. RefMiRows[ last ] is set equal to MiRows.

    11. RefSubsamplingX[ last ] is set equal to subsampling_x.

    12. RefSubsamplingY[ last ] is set equal to subsampling_y.

    13. RefBitDepth[ last ] is set equal to BitDepth.

    14. Invoke the decode camera tile process specified in section 7.3.2 and write the decoded tiles into an output frame
        in raster order, in the order that they occur in the tile list OBU.

The output from this process is the output frame that is built up in the final step above.

The variable outputW is defined as ( 1 + output_frame_width_in_tiles_minus_1 ) * TileWidth.

The variable outputH is defined as ( 1 + output_frame_height_in_tiles_minus_1 ) * TileHeight.

The operation of writing a decoded tile (with zero-based index given by the variable tile) into the output frame in raster
order is defined as follows:




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  destX = TileWidth * ( tile % (output_frame_width_in_tiles_minus_1 + 1) )
  destY = TileHeight * ( tile / (output_frame_width_in_tiles_minus_1 + 1) )
  w = TileWidth
  h = TileHeight
  for ( y = 0; y < h;; y++
                        ++ ) {
    for ( x = 0; x < w;; x++
                           ++ ) {
      OutputFrameY[[ y + destY ][ x + destX ] = OutY[[ y ][ x ]
    }
  }
  w = w >> subsampling_x
  h = h >> subsampling_y
  destX = destX >> subsampling_x
  destY = destY >> subsampling_y
  for ( y = 0; y < h;; y++
                        ++ ) {
    for ( x = 0; x < w;; x++
                           ++ ) {
      OutputFrameU[[ y + destY ][ x + destX ] = OutU[[ y ][ x ]
      OutputFrameV[[ y + destY ][ x + destX ] = OutV[[ y ][ x ]
    }
  }


OutputFrameY (representing the luma plane of the output frame) is outputW samples across by outputH samples down.

OutputFrameU (representing the U plane of the output frame) is ( outputW >> subsampling_x ) samples across by (
outputH >> subsampling_y ) samples down.

OutputFrameV (representing the V plane of the output frame) is ( outputW >> subsampling_x ) samples across by (
outputH >> subsampling_y ) samples down.

The bitdepth of each output sample is given by BitDepth.

The output frame may not be fully covered with decoded tiles. The decoder should not modify samples in the output frame
outside of the boundaries of the decoded tiles.

Decoders that support large scale tile decoding shall produce output frames that are identical in all respects as those
produced by this decoding process.

It is a requirement of bitstream conformance that the following conditions are met:

      • enable_superres is equal to 0

      • enable_order_hint is equal to 0

      • still_picture is equal to 0

      • film_grain_params_present is equal to 0

      • timing_info_present_flag is equal to 0

      • decoder_model_info_present_flag is equal to 0


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     • initial_display_delay_present_flag is equal to 0

     • enable_restoration is equal to 0

     • enable_cdef is equal to 0

     • mono_chrome is equal to 0

     • TileHeight is equal to (use_128x128_superblock ? 128 : 64) for all tiles (i.e. the tile is exactly one superblock
       high)

     • TileWidth is identical for all tiles and is an integer multiple of TileHeight (i.e. the tile is an integer number of
       superblocks wide)

     • FrameWidth is equal to MiCols * MI_SIZE

     • FrameHeight is equal to MiRows * MI_SIZE

     • show_existing_frame is equal to 0

     • frame_type is equal to INTER_FRAME

     • show_frame is equal to 1

     • error_resilient_mode is equal to 0

     • disable_cdf_update is equal to 1

     • disable_frame_end_update_cdf is equal to 1

     • delta_lf_present is equal to 0

     • delta_q_present is equal to 0

     • frame_size_override_flag is equal to 0

     • refresh_frame_flags is equal to 0

     • use_ref_frame_mvs is equal to 0

     • segmentation_temporal_update is equal to 0

     • reference_select is equal to 0

     • loop_filter_level[ 0 ] and loop_filter_level[ 1 ] are equal to 0

     • tile_count_minus_1 + 1 is less than or equal to (output_frame_width_in_tiles_minus_1 + 1) *
       (output_frame_height_in_tiles_minus_1 + 1).




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7.3.2. Decode camera tile process
This process decodes a single tile within a frame.

The output of this process are arrays OutY, OutU, OutV containing the decoded samples for the tile.


   Note: The decoding process defined here does not invoke the post-processing steps of deblock, cdef, superres,
   loop restoration and reference frame update. Implementations may choose to implement this process by using the
   general decode process with these tools disabled.


The process is specified as:


  CurrentQIndex = base_q_idx
  init_symbol(( tile_data_size_minus_1 + 1 )
  clear_above_context(( )
  sbSize = use_128x128_superblock ? BLOCK_128X128 : BLOCK_64X64
  sbSize4 = Num_4x4_Blocks_Wide[[ sbSize ]
  MiRowStart = MiRowStarts[[ anchor_tile_row ]
  MiRowEnd = MiRowStarts[[ anchor_tile_row + 1 ]
  MiColStart = MiColStarts[[ anchor_tile_col ]
  MiColEnd = MiColStarts[[ anchor_tile_col + 1 ]
  for ( r = MiRowStart;; r < MiRowEnd;; r += sbSize4 ) {
      clear_left_context(( )
      for ( c = MiColStart;; c < MiColEnd;; c += sbSize4 ) {
          ReadDeltas = delta_q_present
          clear_block_decoded_flags(( c < ( MiColEnd - 1 ) )
          decode_partition(( r,, c,, sbSize )
      }
  }
  exit_symbol(( )
  w = (MiColEnd - MiColStart)) * MI_SIZE
  h = (MiRowEnd - MiRowStart)) * MI_SIZE
  x0 = MiColStart * MI_SIZE
  y0 = MiRowStart * MI_SIZE
  subX = subsampling_x
  subY = subsampling_y
  xC0 = ( MiColStart * MI_SIZE ) >> subX
  yC0 = ( MiRowStart * MI_SIZE ) >> subY



   Note: The intention is that the same decoding process for tile data can be used as for the general decoding
   process.


It is a requirement of bitstream conformance that the following conditions are met whenever the parsing process returns
from the read_ref_frames syntax:

      • RefFrame[ 0 ] = LAST_FRAME


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      • RefFrame[ 1 ] = NONE


   Note: It is allowed to use intra blocks, they are not forbidden by this constraint because intra blocks do not invoke
   the read_ref_frames syntax.


Arrays OutY, OutU, OutV (representing the decoded samples for the tile) are specified as:

      • The array OutY is w samples across by h samples down and the sample at location x samples across and y
        samples down is given by OutY[ y ][ x ] = CurrFrame[ 0 ][ y0 + y ][ x0 + x ] with x = 0..w - 1 and y = 0..h - 1.

      • The array OutU is (w + subX) >> subX samples across by (h + subY) >> subY samples down and the sample at
        location x samples across and y samples down is given by OutU[ y ][ x ] = CurrFrame[ 1 ][ yC0 + y ][ xC0 + x ]
        with x = 0..(w >> subX) - 1 and y = 0..(h >> subY) - 1.

      • The array OutV is (w + subX) >> subX samples across by (h + subY) >> subY samples down and the sample at
        location x samples across and y samples down is given by OutV[ y ][ x ] = CurrFrame[ 2 ][ yC0 + y ][ xC0 + x ]
        with x = 0..(w >> subX) - 1 and y = 0..(h >> subY) - 1.

The output of this process is arrays OutY, OutU, OutV representing the Y, U, and V samples.


7.4. Decode frame wrapup process
This process is triggered by a call to decode_frame_wrapup from within the syntax tables.

At this stage, all the tile level decode has been done, and this process performs any frame level decode that is required.

If show_existing_frame is equal to 0, the process first performs any post processing filtering by the following ordered
steps:

     1. If loop_filter_level[ 0 ] is not equal to 0 or loop_filter_level[ 1 ] is not equal to 0, the loop filter process specified in
        section 7.14 is invoked (this process modifies the contents of CurrFrame).

     2. The CDEF process specified in section 7.15 is invoked (this process takes CurrFrame and produces
        CdefFrame).

     3. The upscaling process specified in section 7.16 is invoked with CdefFrame as input and the output is assigned to
        UpscaledCdefFrame.

     4. The upscaling process specified in section 7.16 is invoked with CurrFrame as input and the output is assigned to
        UpscaledCurrFrame.

     5. The loop restoration process specified in section 7.17 is invoked (this process takes UpscaledCurrFrame and
        UpscaledCdefFrame and produces LrFrame).

     6. The motion field motion vector storage process specified in section 7.19 is invoked.




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     7. If segmentation_enabled is equal to 1 and segmentation_update_map is equal to 0, SegmentIds[ row ][ col ] is
        set equal to PrevSegmentIds[ row ][ col ] for row = 0..MiRows-1, for col = 0..MiCols-1.

Otherwise (show_existing_frame is equal to 1), if frame_type is equal to KEY_FRAME, the reference frame loading
process as specified in section 7.21 is invoked (this process loads frame state from the reference frames into the current
frame state variables).

The following ordered steps now apply:

     1. The reference frame update process as specified in section 7.20 is invoked (this process saves the current frame
        state into the reference frames).

     2. If show_frame is equal to 1 or show_existing_frame is equal to 1, the output process as specified in section 7.18
        is invoked (this will output the current frame or a saved frame).


   Note: Although it is specified that all samples in CurrFrame are upscaled, at most 2 lines above and below each
   stripe (defined by StripeStartY and StripeEndY) will end up being read. Implementations may wish to avoid
   upscaling the unused lines.



7.5. Ordering of OBUs
A bitstream conforming to this specification consists of one or more coded video sequences.

A coded video sequence consists of one or more temporal units. A temporal unit consists of a series of OBUs starting
from a temporal delimiter, optional sequence headers, optional metadata OBUs, a sequence of one or more frame
headers, each followed by zero or more tile group OBUs as well as optional padding OBUs.

A new coded video sequence is defined to start at each temporal unit which satisfies both of the following conditions:

      • A sequence header OBU appears before the first frame header.

      • The first frame header has frame_type equal to KEY_FRAME, show_frame equal to 1, show_existing_frame
        equal to 0, and temporal_id equal to 0.

If scalability is not being used (OperatingPointIdc equal to 0), then all frames are part of the operating point. The following
constraints must hold:

      • The first frame header must have frame_type equal to KEY_FRAME and show_frame equal to 1.

      • Each temporal unit must have exactly one shown frame.

If scalability is being used (OperatingPointIdc not equal to 0), then only a subset of frames are part of the operating point.
For each operating point, the following constraints must hold:

      • The first frame header that will be decoded must have frame_type equal to KEY_FRAME and show_frame equal
        to 1.




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      • Every layer that has a coded frame in a temporal unit must have exactly one shown frame that is the last frame
        of that layer in the temporal unit.


   Note: A shown frame is either a frame with show_frame equal to 1, or with show_existing_frame equal to 1.


A frame header and its associated tile group OBUs within a temporal unit must use the same value of obu_extension_flag
(i.e., either both include or both not include the optional OBU extension header).

All OBU extension headers that are contained in the same temporal unit and have the same spatial_id value must have
the same temporal_id value.

If a coded video sequence contains at least one enhancement layer (OBUs with spatial_id greater than 0 or temporal_id
greater than 0) then all frame headers and tile group OBUs associated with base (spatial_id equals 0 and temporal_id
equals 0) and enhancement layer (spatial_id greater than 0 or temporal_id greater than 0) data must include the OBU
extension header.

OBUs with spatial level IDs (spatial_id) greater than 0 must appear within a temporal unit in increasing order of the spatial
level ID values.

The first temporal unit of a coded video sequence must contain one or more sequence header OBUs before the first frame
header OBU.


   Note: There is not a requirement that every temporal unit with a key frame also contains a sequence header, just
   that the sequence header has been sent before the first key frame. However, note that temporal units without
   sequence header OBUs are not considered to be random access points.


Sequence header OBUs may appear in any order within a coded video sequence. Within a particular coded video
sequence, the contents of sequence_header_obu must be bit-identical each time the sequence header appears except for
the contents of operating_parameters_info. A new coded video sequence is required if the sequence header parameters
change. Any sequence header in a bitstream which changes the parameters must be contained in a temporal unit with
temporal_id equal to zero.

If a temporal unit contains one or more sequence header OBUs, the first appearance of the sequence header OBU must
be before the first frame header OBU.

One or more metadata and padding OBUs may appear in any order within an OBU sequence (unless constrained by
semantics provided elsewhere in this specification). Specific metadata types may be required or recommended to be
placed in specific locations, as identified in their corresponding definitions.

OBU types that are not defined in this specification can be ignored by a decoder.


   Note: Some applications may choose to use bitstreams that are not fully conformant to the requirements described
   in this section. For example, a bitstream received in a streaming use case may never contain key frames, but
   instead rely on gradual intra refresh.



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7.6. Random access decoding
7.6.1. General
In general, random access points are places in a bitstream where decoding can be started.

This section defines the types of random access point that must be supported by all conformant decoders.

The purpose of this section is to define a minimum level of functionality that must be supported, not a maximum. In other
words, decoders may choose to support more types of random access point.

The random access points are defined in section 7.6.2.

The conformance requirements are specified in section 7.6.3.

The consequences for encoders are specified in section 7.6.4.

The consequences for decoders are specified in section 7.6.5.


7.6.2. Definitions
This section defines the following terms:

      • key frame random access point,

      • delayed random access point,

      • key frame dependent recovery point.

A key frame random access point is defined as being a frame:

      • with frame_type equal to KEY_FRAME

      • with show_frame equal to 1

      • that is contained in a temporal unit that also contains a sequence header OBU

A delayed random access point is defined as being a frame:

      • with frame_type equal to KEY_FRAME

      • with show_frame equal to 0

      • that is contained in a temporal unit that also contains a sequence header OBU

A key frame dependent recovery point is defined as being a frame:

      • with show_existing_frame equal to 1

      • with frame_to_show_map_idx specifying a frame to output that was a delayed random access point


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7.6.3. Conformance requirements
Informally, the requirement for decoder conformance is that decoding can start at any key frame random access point or
delayed random access point. The rest of this section makes this requirement more precise.

Starting at a key frame random access point is trivial, because if the earlier temporal units are dropped, the remaining
temporal units still constitute a valid bitstream.

Starting at a delayed random access point is harder to define because:

      • if all temporal units before the key frame dependent recovery point are dropped, it is impossible to decode
        (because the relevant delayed random access point has been dropped)

      • if all temporal units before the delayed random access point are dropped, it is unclear what should happen for
        frames between the delayed random access point and the key-frame dependent recovery point (some
        applications may wish these to be dropped, while others may wish them to be displayed)

      • in either case, the remaining temporal units do not constitute a valid standalone bitstream (because it does not
        start with a shown key frame)

To support the different modes of operation, a conformant decoder is required to be able to decode bitstreams consisting
of:

      • a temporal unit containing a delayed random access point

      • immediately followed by a temporal unit containing the associated key frame dependent recovery point

      • followed by optional additional temporal units

This moves the responsibility for dropping the intermediate temporal units (between the delayed random access point and
the key frame dependent recovery point) out of the normatively defined decoding process into application specific
behavior. This allows applications to choose which behavior to use depending on the use case and capabilities of the
specific decoder implementation.


   Note: In practice, decoder implementations are expected to be able to start decoding bitstreams from a delayed
   random access point when the intermediate temporal units are still present. The decoder should correctly produce
   all output frames from the next key frame or key frame dependent recovery point onwards, while the preceding
   frames are implementation defined. For example: a streaming decoder may choose to decode and display all
   frames even when the reference frames are not available (tolerating some errors in the output), a low latency
   decoder may choose to decode and display all frames that are guaranteed to be correct (e.g. an inter frame that
   only uses inter prediction from the delayed random access point), a media player decoder may choose to decode
   and display only frames starting from a key frame or key frame dependent recovery point (guaranteeing smooth
   playback once display starts).



7.6.4. Encoder consequences
Random access points introduce no additional conformance requirements on encoders.


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Encoders are free to insert any number of random access points.


7.6.5. Decoder consequences
The conformance requirement means that conformant decoders must be able to start decoding at a delayed random
access point partway through a valid bitstream.

This is almost the same as decoding a bitstream from the start - the only differences are that:

      • The first frame has show_frame equal to 0.

      • If frame_id_numbers_present_flag is equal to 1, for the first frame current_frame_id should not be compared to
        PrevFrameID (because PrevFrameID is uninitialized).


7.7. Frame end update CDF process
This process is triggered when the function frame_end_update_cdf is called from the tile group syntax table.

The frame CDF arrays are set equal to the saved CDF arrays as follows.

A copy is made of the saved CDF values for each of the CDF arrays mentioned in the semantics for init_coeff_cdfs and
init_non_coeff_cdfs. The name of the destination for the copy is the name of the CDF array with no prefix. The name of
the source for the copy is the name of the CDF array prefixed with “Saved”. For example, the array YModeCdf will be
updated with values equal to the contents of SavedYModeCdf.


7.8. Set frame refs process
This process is triggered if the function set_frame_refs is called while reading the uncompressed header.

The syntax elements in the ref_frame_idx array are computed based on:

      • the syntax elements last_frame_idx and gold_frame_idx,
      • the values stored within the RefOrderHint array (these values represent the least significant bits of the expected
        output order of the frames).

The reference frames used for the LAST_FRAME and GOLDEN_FRAME references are sent explicitly and used to set
the corresponding entries of ref_frame_idx as follows (the other entries are initialized to -1 and will be overwritten later in
this process):


   for ( i = 0; i < REFS_PER_FRAME;; i++
                                      ++ )
     ref_frame_idx[[ i ] = -1
   ref_frame_idx[[ LAST_FRAME - LAST_FRAME ] = last_frame_idx
   ref_frame_idx[[ GOLDEN_FRAME - LAST_FRAME ] = gold_frame_idx


An array usedFrame marking which reference frames have been used is prepared as follows:




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  for ( i = 0; i < NUM_REF_FRAMES;; i++
                                     ++ )
    usedFrame[[ i ] = 0
  usedFrame[[ last_frame_idx ] = 1
  usedFrame[[ gold_frame_idx ] = 1


A variable curFrameHint is set equal to 1 << (OrderHintBits - 1).

An array shiftedOrderHints (containing the expected output order shifted such that the current frame has hint equal to
curFrameHint) is prepared as follows:


  for ( i = 0; i < NUM_REF_FRAMES;; i++
                                     ++ )
    shiftedOrderHints[[ i ] = curFrameHint + get_relative_dist(( RefOrderHint[[ i ], OrderHint )


The variable lastOrderHint (representing the expected output order for LAST_FRAME) is set equal to shiftedOrderHints[
last_frame_idx ].

It is a requirement of bitstream conformance that lastOrderHint is strictly less than curFrameHint.

The variable goldOrderHint (representing the expected output order for GOLDEN_FRAME) is set equal to
shiftedOrderHints[ gold_frame_idx ].

It is a requirement of bitstream conformance that goldOrderHint is strictly less than curFrameHint.

The ALTREF_FRAME reference is set to be a backward reference to the frame with highest output order as follows:


  ref = find_latest_backward()
                             ()
  if ( ref >= 0 ) {
    ref_frame_idx[[ ALTREF_FRAME - LAST_FRAME ] = ref
    usedFrame[[ ref ] = 1
  }


where find_latest_backward is defined as:




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  find_latest_backward()
                       () {
    ref = -1
    for ( i = 0; i < NUM_REF_FRAMES;; i++
                                       ++ ) {
      hint = shiftedOrderHints[[ i ]
      if ( !usedFrame[[ i ] &&
           hint >= curFrameHint &&
           ( ref < 0 || hint >= latestOrderHint ) ) {
        ref = i
        latestOrderHint = hint
      }
    }
    return ref
  }


The BWDREF_FRAME reference is set to be a backward reference to the closest frame as follows:


  ref = find_earliest_backward()
                               ()
  if ( ref >= 0 ) {
    ref_frame_idx[[ BWDREF_FRAME - LAST_FRAME ] = ref
    usedFrame[[ ref ] = 1
  }


where find_earliest_backward is defined as:


  find_earliest_backward()
                         () {
    ref = -1
    for ( i = 0; i < NUM_REF_FRAMES;; i++
                                       ++ ) {
      hint = shiftedOrderHints[[ i ]
      if ( !usedFrame[[ i ] &&
           hint >= curFrameHint &&
           ( ref < 0 || hint < earliestOrderHint ) ) {
        ref = i
        earliestOrderHint = hint
      }
    }
    return ref
  }


The ALTREF2_FRAME reference is set to the next closest backward reference as follows:




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  ref = find_earliest_backward()
                               ()
  if ( ref >= 0 ) {
    ref_frame_idx[[ ALTREF2_FRAME - LAST_FRAME ] = ref
    usedFrame[[ ref ] = 1
  }


The remaining references are set to be forward references in anti-chronological order as follows:


  for ( i = 0; i < REFS_PER_FRAME - 2; i++
                                         ++ ) {
    refFrame = Ref_Frame_List[[ i ]
    if ( ref_frame_idx[[ refFrame - LAST_FRAME ] < 0 ) {
      ref = find_latest_forward()
                                ()
      if ( ref >= 0 ) {
        ref_frame_idx[[ refFrame - LAST_FRAME ] = ref
        usedFrame[[ ref ] = 1
      }
    }
  }


where Ref_Frame_List is specifed as:


  Ref_Frame_List[[ REFS_PER_FRAME - 2 ] = {
    LAST2_FRAME,, LAST3_FRAME,, BWDREF_FRAME,, ALTREF2_FRAME,, ALTREF_FRAME
  }


and find_latest_forward is defined as:


  find_latest_forward()
                      () {
    ref = -1
    for ( i = 0; i < NUM_REF_FRAMES;; i++
                                       ++ ) {
      hint = shiftedOrderHints[[ i ]
      if ( !usedFrame[[ i ] &&
           hint < curFrameHint &&
           ( ref < 0 || hint >= latestOrderHint ) ) {
        ref = i
        latestOrderHint = hint
      }
    }
    return ref
  }


Finally, any remaining references are set to the reference frame with smallest output order as follows:




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   ref = -1
   for ( i = 0; i < NUM_REF_FRAMES;; i++
                                      ++ ) {
     hint = shiftedOrderHints[[ i ]
     if ( ref < 0 || hint < earliestOrderHint ) {
       ref = i
       earliestOrderHint = hint
     }
   }
   for ( i = 0; i < REFS_PER_FRAME;; i++
                                      ++ ) {
     if ( ref_frame_idx[[ i ] < 0 ) {
       ref_frame_idx[[ i ] = ref
     }
   }



   Note: Multiple reference frames can share the same value for OrderHint and care needs to be taken to handle this
   case consistently. The reference implementation uses an equivalent implementation based on sorting the
   reference frames based on their expected output order, with ties broken based on the reference frame index.



7.9. Motion field estimation process
7.9.1. General
This process is triggered by a call to motion_field_estimation while reading the uncompressed header.

A linear projection model is employed to create a motion field estimation that is able to capture high velocity temporal
motion trajectories.

The motion field is estimated based on the saved motion vectors from the reference frames and the relative frame
distances.

As the frame distances depend on the frame being referenced, a separate motion field is estimated for each reference
frame used by the current frame.

A motion vector (for each reference frame type) is prepared at each location on an 8x8 luma sample grid.

The variable w8 (representing the width of the motion field in units of 8x8 luma samples) is set equal to MiCols >> 1.

The variable h8 (representing the height of the motion field in units of 8x8 luma samples) is set equal to MiRows >> 1.

As the linear projection can create a field with holes, the motion fields are initialized to an invalid motion vector of -32768,
-32768 as follows:




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   for ( ref = LAST_FRAME;; ref <= ALTREF_FRAME;; ref++
                                                     ++ )
       for ( y = 0; y < h8 ; y++
                               ++ )
           for ( x = 0; x < w8;; x++
                                  ++ )
               for ( j = 0; j < 2; j++
                                     ++ )
                   MotionFieldMvs[[ ref ][ y ][ x ][ j ] = -1 << 15


The variable lastIdx (representing which reference frame is used for LAST_FRAME) is set equal to ref_frame_idx[ 0 ].

The variable curGoldOrderHint (representing the expected output order for GOLDEN_FRAME of the current frame) is set
equal to OrderHints[ GOLDEN_FRAME ].

The variable lastAltOrderHint (representing the expected output order for ALTREF_FRAME of LAST_FRAME) is set equal
to SavedOrderHints[ lastIdx ][ ALTREF_FRAME ].

The variable useLast (representing whether to project the motion vectors from LAST_FRAME) is set equal to (
lastAltOrderHint != curGoldOrderHint ).

If useLast is equal to 1, the projection process in section 7.9.2 is invoked with src equal to LAST_FRAME, and dstSign
equal to -1. (The output of this process is discarded.)

The variable refStamp (that limits how many reference frames have to be projected) is set equal to MFMV_STACK_SIZE -
2.

The variable useBwd is set equal to get_relative_dist( OrderHints[ BWDREF_FRAME ], OrderHint ) > 0.

If useBwd is equal to 1, the following steps apply:

      • The projection process in section 7.9.2 is invoked with src equal to BWDREF_FRAME, and dstSign equal to 1,
        and the output assigned to projOutput.

      • If projOutput is equal to 1, refStamp is set equal to refStamp - 1.

The variable useAlt2 is set equal to get_relative_dist( OrderHints[ ALTREF2_FRAME ], OrderHint ) > 0.

If useAlt2 is equal to 1, the following steps apply:

      • The projection process in section 7.9.2 is invoked with src equal to ALTREF2_FRAME, and dstSign equal to 1,
        and the output assigned to projOutput.

      • If projOutput is equal to 1, refStamp is set equal to refStamp - 1.

The variable useAlt is set equal to get_relative_dist( OrderHints[ ALTREF_FRAME ], OrderHint ) > 0.

If useAlt is equal to 1 and (refStamp >= 0), the following steps apply:

      • The projection process in section 7.9.2 is invoked with src equal to ALTREF_FRAME, and dstSign equal to 1,
        and the output assigned to projOutput.



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      • If projOutput is equal to 1, refStamp is set equal to refStamp - 1.

If ( refStamp >= 0 ), the projection process in section 7.9.2 is invoked with src equal to LAST2_FRAME, and dstSign equal
to -1. (The output of this process is discarded.)


7.9.2. Projection process
The inputs to this process are:

      • a variable src specifying which reference frame’s motion vectors should be projected,

      • a variable dstSign specifying a negation multiplier for the motion vector direction.

The process projects the motion vectors from a whole reference frame and stores the results in MotionFieldMvs.

The process outputs a single boolean value representing whether the source frame was valid for this operation. If the
output is zero, no modification is made to MotionFieldMvs.

The variable srcIdx (representing which reference frame is used) is set equal to ref_frame_idx[ src - LAST_FRAME ].

The variable w8 (representing the width of the motion field in units of 8x8 luma samples) is set equal to MiCols >> 1.

The variable h8 (representing the height of the motion field in units of 8x8 luma samples) is set equal to MiRows >> 1.

If RefMiRows[ srcIdx ] is not equal to MiRows, RefMiCols[ srcIdx ] is not equal to MiCols, or RefFrameType[ srcIdx ] is
equal to INTRA_ONLY_FRAME or KEY_FRAME, the process exits at this point, with the output set equal to 0.

The process is specified as follows:




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  for ( y8 = 0; y8 < h8;; y8++
                            ++ ) {
      for ( x8 = 0; x8 < w8;; x8++
                                 ++ ) {
          row = 2 * y8 + 1
          col = 2 * x8 + 1
          srcRef = SavedRefFrames[[ srcIdx ][ row ][ col ]
          if ( srcRef > INTRA_FRAME ) {
              refToCur = get_relative_dist(( OrderHints[[ src ], OrderHint )
              refOffset = get_relative_dist(( OrderHints[[ src ], SavedOrderHints[[ srcIdx ][ srcRef ] )
              posValid = Abs(( refToCur ) <= MAX_FRAME_DISTANCE &&
                          Abs(( refOffset ) <= MAX_FRAME_DISTANCE &&
                          refOffset > 0
              if ( posValid ) {
                  mv = SavedMvs[[ srcIdx ][ row ][ col ]
                  projMv = get_mv_projection(( mv,, refToCur * dstSign,, refOffset )
                  posValid = get_block_position(( x8,, y8,, dstSign,, projMv )
                  if ( posValid ) {
                      for ( dst = LAST_FRAME;; dst <= ALTREF_FRAME;; dst++++ ) {
                           refToDst = get_relative_dist(( OrderHint,, OrderHints[[ dst ] )
                           projMv = get_mv_projection(( mv,, refToDst,, refOffset )
                           MotionFieldMvs[[ dst ][ PosY8 ][ PosX8 ] = projMv
                      }
                  }
              }
          }
      }
  }


When the function get_mv_projection is called, the get mv projection process specified in section 7.9.3 is invoked and the
output assigned to projMv.

When the function get_block_position is called, the get block position process specified in section 7.9.4 is invoked and the
output assigned to posValid. This process also sets up the variables PosY8 and PosX8 representing the projected
location in the motion field.

The process now exits with the output set equal to 1.


7.9.3. Get MV projection process
The inputs to this process are:

      • a length 2 array mv specifying a motion vector,

      • a variable numerator specifying the number of frames to be covered by the projected motion vector,

      • a variable denominator specifying the number of frames covered by the original motion vector.

The outputs of this process are:

      • a length 2 array projMv containing the projected motion vector


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This process starts with a motion vector mv from a previous frame. This motion vector gives the displacement expected
when moving a certain number of frames (given by the variable denominator). In order to use the motion vector for
predictions using a different reference frame, the length of the motion vector must be scaled.

The variable clippedDenominator is set equal to Min( MAX_FRAME_DISTANCE, denominator ).

The variable clippedNumerator is set equal to Clip3( -MAX_FRAME_DISTANCE, MAX_FRAME_DISTANCE, numerator ).

The projected motion vector is specified as follows:


  for ( i = 0; i < 2; i++
                        ++ ) {
      scaled = Round2Signed(( mv[[ i ] * clippedNumerator * Div_Mult[[ clippedDenominator ], 14 )
      projMv[[ i ] = Clip3(( -(1 << 14
                                    14)) + 1, (1 << 14
                                                    14)) - 1, scaled )
  }


where Div_Mult is a constant lookup table specified as:


  Div_Mult[[32
            32]] = {
    0,     16384
           16384,, 8192
                   8192,, 5461
                          5461,, 4096
                                 4096,, 3276
                                        3276,, 2730
                                               2730,, 2340
                                                      2340,, 2048
                                                             2048,, 1820
                                                                    1820,, 1638
                                                                           1638,,
    1489
    1489,, 1365
           1365,, 1260
                   1260,, 1170
                          1170,, 1092
                                 1092,, 1024
                                        1024,, 963
                                               963,, 910
                                                      910,, 862
                                                             862,, 819
                                                                    819,, 780
                                                                           780,,
    744
    744,, 712
           712,, 682
                   682,, 655
                          655,, 630
                                 630,, 606
                                        606,, 585
                                               585,, 564
                                                      564,, 546
                                                             546,, 528
  }



7.9.4. Get block position process
The inputs to this process are:

      • variables x8 and y8 specifying a location in units of 8x8 luma samples,

      • a variable dstSign specifying a negation multiplier for the motion vector direction,

      • a length 2 array projMv specifying a projected motion vector.

The process generates global variables PosX8 and PosY8 representing the projected location in units of 8x8 luma
samples.

The process returns a flag posValid that indicates if the position should be used.


   Note: posValid is specified such that only blocks within a certain distance of the current location need to be
   projected.


The variable posValid is set equal to 1.

The variable PosY8 is set equal to project(y8, projMv[ 0 ], dstSign, MiRows >> 1, MAX_OFFSET_HEIGHT).




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The variable PosX8 is set equal to project(x8, projMv[ 1 ], dstSign, MiCols >> 1, MAX_OFFSET_WIDTH).

where the function project is specified as follows:


   project(( v8,, delta,, dstSign,, max8,, maxOff8 ) {
       base8 = (v8 >> 3) << 3
       if ( delta >= 0 ) {
            offset8 = delta >> ( 3 + 1 + MI_SIZE_LOG2 )
       } else {
            offset8 = -( ( -delta ) >> ( 3 + 1 + MI_SIZE_LOG2 ) )
       }
       v8 += dstSign * offset8
       if ( v8 < 0 ||
             v8 >= max8 ||
             v8 < base8 - maxOff8 ||
             v8 >= base8 + 8 + maxOff8 ) {
            posValid = 0
       }
       return v8
   }


The project function clears posValid if the resulting position is offset too far.


7.10. Motion vector prediction processes
7.10.1. General
The following sections define the processes used for predicting the motion vectors.

The entry point to these processes is triggered by the function call to find_mv_stack in the inter block mode info syntax
described in section 5.11.23. This function call invokes the Find MV Stack Process specified in section 7.10.2.


7.10.2. Find MV stack process
This process is triggered by a function call to find_mv_stack.

The input to this process is a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

This process constructs an array RefStackMv containing motion vector candidates.

The process also prepares the value of the contexts used when decoding inter prediction syntax elements.

The array RefStackMv will be constructed during this process. RefStackMv[ idx ][ list ][ comp ] represents component
comp (0 for y or 1 for x) of a motion vector for a particular list (0 or 1) at position idx (0 to MAX_REF_MV_STACK_SIZE -
1) in the stack. No initialization is needed because each entry is always written before it can be read.

The variable bw4 specifying the width of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_Wide[ MiSize ].




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The variable bh4 specifying the height of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_High[ MiSize ].

The following ordered steps apply:

     1. The variable NumMvFound (representing the number of motion vector candidates in RefStackMv) is set equal to
        0.

     2. The variable NewMvCount (representing the number of candidates found that used NEWMV encoding) is set
        equal to 0.

     3. The setup global mv process specified in section 7.10.2.1 is invoked with the input 0 and the output is assigned
        to GlobalMvs[ 0 ].

     4. If isCompound is equal to 1, the setup global mv process specified in section 7.10.2.1 is invoked with the input 1
        and the output is assigned to GlobalMvs[ 1 ].

     5. The variable FoundMatch is set equal to 0.

     6. The scan row process in section 7.10.2.2 is invoked with deltaRow equal to -1 and isCompound as inputs.

     7. The variable foundAboveMatch is set equal to FoundMatch, and FoundMatch is set equal to 0.

     8. The scan col process in section 7.10.2.3 is invoked with deltaCol equal to -1 and isCompound as inputs.

     9. The variable foundLeftMatch is set equal to FoundMatch, and FoundMatch is set equal to 0.

    10. If Max( bw4, bh4 ) is less than or equal to 16, the scan point process in section 7.10.2.4 is invoked with deltaRow
        equal to -1, deltaCol equal to bw4, and isCompound as inputs.

    11. If FoundMatch is equal to 1, the variable foundAboveMatch is set equal to 1.

    12. The variable CloseMatches (representing candidates found in the immediate neighborhood) is set equal to
        foundAboveMatch + foundLeftMatch.

    13. The variable numNearest (representing the number of motion vectors found in the immediate neighborhood) is
        set equal to NumMvFound

    14. The variable numNew (representing the number of times a NEWMV candidate was found in the immediate
        neighborhood) is set equal to NewMvCount

    15. If numNearest is greater than 0, WeightStack[ idx ] is incremented by REF_CAT_LEVEL for idx =
        0..(numNearest-1).

    16. The variable ZeroMvContext is set equal to 0.

    17. If use_ref_frame_mvs is equal to 1, the temporal scan process in section 7.10.2.5 is invoked with isCompound
        as input (the temporal scan process affects ZeroMvContext).




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    18. The scan point process in section 7.10.2.4 is invoked with deltaRow equal to -1, deltaCol equal to -1, and
        isCompound as inputs.

    19. If FoundMatch is equal to 1, the variable foundAboveMatch is set equal to 1.

    20. The variable FoundMatch is set equal to 0.

    21. The scan row process in section 7.10.2.2 is invoked with deltaRow equal to -3 and isCompound as inputs.

    22. If FoundMatch is equal to 1, the variable foundAboveMatch is set equal to 1.

    23. The variable FoundMatch is set equal to 0.

    24. The scan col process in section 7.10.2.3 is invoked with deltaCol equal to -3 and isCompound as inputs.

    25. If FoundMatch is equal to 1, the variable foundLeftMatch is set equal to 1.

    26. The variable FoundMatch is set equal to 0.

    27. If bh4 is greater than 1, the scan row process in section 7.10.2.2 is invoked with deltaRow equal to -5 and
        isCompound as inputs.

    28. If FoundMatch is equal to 1, the variable foundAboveMatch is set equal to 1.

    29. The variable FoundMatch is set equal to 0.

    30. If bw4 is greater than 1, the scan col process in section 7.10.2.3 is invoked with deltaCol equal to -5 and
        isCompound as inputs.

    31. If FoundMatch is equal to 1, the variable foundLeftMatch is set equal to 1.

    32. The variable TotalMatches (representing all found candidates) is set equal to foundAboveMatch +
        foundLeftMatch.

    33. The sorting process in section 7.10.2.11 is invoked with start equal to 0, end equal to numNearest, and
        isCompound as input.

    34. The sorting process in section 7.10.2.11 is invoked with start equal to numNearest, end equal to NumMvFound,
        and isCompound as input.

    35. If NumMvFound is less than 2, the extra search process in section 7.10.2.12 is invoked with isCompound as
        input.

    36. The context and clamping process in section 7.10.2.14 is invoked with isCompound and numNew as input.


7.10.2.1. Setup global MV process
The input to this process is a variable refList specifying which set of motion vectors to predict.

The output is a motion vector mv representing global motion for this block.


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The variable ref (specifying the reference frame) is set equal to RefFrame[ refList ].

If ref is not equal to INTRA_FRAME, the variable typ (specifying the type of global motion) is set equal to GmType[ ref ].

The variable bw (representing the width of the block in units of luma samples) is set equal to Block_Width[ MiSize ].

The variable bh (representing the height of the block in units of luma samples) is set equal to Block_Height[ MiSize ].

The output motion vector mv is specified by projecting the central luma sample of the block as follows:


  if ( ref == INTRA_FRAME || typ == IDENTITY ) {
      mv[[0] = 0
      mv[[1] = 0
  } else if ( typ == TRANSLATION ) {
      mv[[0] = gm_params[[ref][
                              ][00] >> (WARPEDMODEL_PREC_BITS - 3)
      mv[[1] = gm_params[[ref][
                              ][11] >> (WARPEDMODEL_PREC_BITS - 3)
  } else {
      x = MiCol * MI_SIZE + bw / 2 - 1
      y = MiRow * MI_SIZE + bh / 2 - 1
      xc = (gm_params[[ref][
                           ][22] - (1 << WARPEDMODEL_PREC_BITS))
                                                               )) * x +
             gm_params[[ref][
                           ][33] * y +
             gm_params[[ref][
                           ][00]
      yc = gm_params[[ref][][44] * x +
            (gm_params[[ref][
                           ][55] - (1 << WARPEDMODEL_PREC_BITS))
                                                               )) * y +
             gm_params[[ref][
                           ][11]
      if ( allow_high_precision_mv ) {
        mv[[0] = Round2Signed((yc,, WARPEDMODEL_PREC_BITS - 3)
        mv[[1] = Round2Signed((xc,, WARPEDMODEL_PREC_BITS - 3)
      } else {
        mv[[0] = Round2Signed((yc,, WARPEDMODEL_PREC_BITS - 2) * 2
        mv[[1] = Round2Signed((xc,, WARPEDMODEL_PREC_BITS - 2) * 2
      }
  }
  lower_mv_precision(( mv )


where the call to lower_mv_precision invokes the lower precision process specified in section 7.10.2.10.


7.10.2.2. Scan row process
The inputs to this process are:

      • a variable deltaRow specifying (in units of 4x4 luma samples) how far above to look for motion vectors,

      • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

The variable bw4 specifying the width of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_Wide[ MiSize ].

The variable end4 specifying the last block to be scanned in horizontal 4x4 luma samples is set equal to Min( Min( bw4,
MiCols - MiCol ), 16 ).



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   Note: end4 limits the number of locations to be searched for large blocks. There is a similar optimization in that the
   scan point process for the top-right location is not invoked for large blocks. For example, for a 64 by 64 block,
   candidates from the row above will be examined at x offsets of -1, 0, 16, 32, 48, 64. (The 0, 16, 32, 48 locations
   are scanned in this process, while the -1 and 64 are scanned by the scan point process.) However, for a 128 by 64
   or 64 by 128 block, candidates from the row above will only be examined at x offsets of -1, 0, 16, 32, 48 because
   the scan point process for the top-right location is not invoked.


The variable deltaCol is set equal to 0.

The variable useStep16 is set equal to (bw4 >= 16).


   Note: useStep16 is equal to 1 when the block is 64 luma samples wide or wider. This means only 4 locations will
   be searched in this case. However, a 32 luma samples wide block may still search 8 locations.


If Abs(deltaRow) is greater than 1, the offset is adjusted as follows:


   deltaRow += MiRow & 1
   deltaCol = 1 - (MiCol & 1)



   Note: These adjustments reduce the number of motion vectors that need to be kept in memory.


A series of motion vector locations is scanned as follows:


   i = 0
   while ( i < end4 ) {
       mvRow = MiRow + deltaRow
       mvCol = MiCol + deltaCol + i
       if ( !is_inside((mvRow,,mvCol)) )
           break
       len = Min((bw4,, Num_4x4_Blocks_Wide[[ MiSizes[[ mvRow ][ mvCol ] ])
       if ( Abs((deltaRow)) > 1 )
           len = Max((2, len))
       if ( useStep16 )
           len = Max((4, len))
       weight = len * 2
       add_ref_mv_candidate(( mvRow,, mvCol,, isCompound,, weight))
       i += len
   }


where the call to add_ref_mv_candidate invokes the process in section 7.10.2.7.




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7.10.2.3. Scan col process
The inputs to this process are:

      • a variable deltaCol specifying (in units of 4x4 luma samples) how far left to look for motion vectors,

      • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

The variable bh4 specifying the height of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_High[ MiSize ].

The variable end4 specifying the last block to be scanned in vertical 4x4 luma samples is set equal to Min( Min( bh4,
MiRows - MiRow ), 16 ).

The variable deltaRow is set equal to 0.

The variable useStep16 is set equal to (bh4 >= 16).

If Abs(deltaCol) is greater than 1, the offset is adjusted as follows:


   deltaRow = 1 - (MiRow & 1)
   deltaCol += MiCol & 1


A series of motion vector locations is scanned as follows:


   i = 0
   while ( i < end4 ) {
       mvRow = MiRow + deltaRow + i
       mvCol = MiCol + deltaCol
       if ( !is_inside((mvRow,,mvCol)) )
           break
       len = Min((bh4,, Num_4x4_Blocks_High[[ MiSizes[[ mvRow ][ mvCol ] ])
       if ( Abs((deltaCol)) > 1 )
           len = Max((2, len))
       if ( useStep16 )
           len = Max((4, len))
       weight = len * 2
       add_ref_mv_candidate(( mvRow,, mvCol,, isCompound,, weight )
       i += len
   }


where the call to add_ref_mv_candidate invokes the process in section 7.10.2.7.


7.10.2.4. Scan point process
The inputs to this process are:

      • a variable deltaRow specifying (in units of 4x4 luma samples) how far above to look for a motion vector,



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      • a variable deltaCol specifying (in units of 4x4 luma samples) how far left to look for a motion vector,

      • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

The variable mvRow is set equal to MiRow + deltaRow.

The variable mvCol is set equal to MiCol + deltaCol.

The variable weight is set equal to 4.

If is_inside( mvRow, mvCol ) is equal to 1 and RefFrames[ mvRow ][ mvCol ][ 0 ] has been written for this frame (this
checks that the candidate location has been decoded), the add reference motion vector process in section 7.10.2.7 is
invoked with mvRow, mvCol, isCompound, weight as inputs.


7.10.2.5. Temporal scan process
The input to this process is a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

This process scans the motion vectors in a previous frame looking for candidates which use the same reference frame.

The variable bw4 specifying the width of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_Wide[ MiSize ].

The variable bh4 specifying the height of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_High[ MiSize ].

The variable stepW4 is set equal to ( bw4 >= 16 ) ? 4 : 2.

The variable stepH4 is set equal to ( bh4 >= 16 ) ? 4 : 2.

The process scans the locations within the block as follows:


  for ( deltaRow = 0; deltaRow < Min(( bh4,, 16 ) ; deltaRow += stepH4 ) {
      for ( deltaCol = 0; deltaCol < Min(( bw4,, 16 ) ; deltaCol += stepW4 ) {
          add_tpl_ref_mv(( deltaRow,, deltaCol,, isCompound))
      }
  }


where the call to add_tpl_ref_mv invokes the temporal sample process in section 7.10.2.6.

The process then scans positions around the block (but still within the same superblock) as follows:




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  allowExtension = ((
                   ((bh4 >= Num_4x4_Blocks_High[[BLOCK_8X8])]) &&
                    (bh4 < Num_4x4_Blocks_High[[BLOCK_64X64])]) &&
                    (bw4 >= Num_4x4_Blocks_Wide[[BLOCK_8X8])]) &&
                    (bw4 < Num_4x4_Blocks_Wide[[BLOCK_64X64]))
                                                             ]))
  if ( allowExtension ) {
      for ( i = 0; i < 3; i++
                           ++ ) {
          deltaRow = tplSamplePos[[ i ][ 0 ]
          deltaCol = tplSamplePos[[ i ][ 1 ]
          if ( check_sb_border(( deltaRow,, deltaCol ) ) {
              add_tpl_ref_mv(( deltaRow,, deltaCol,, isCompound))
          }
      }
  }


where tplSamplePos contains the offsets to search (in units of 4x4 luma samples) and is specified as:


  tplSamplePos[[3][
                 ][22] = {
      { bh4,, -2 }, { bh4,, bw4 }, { bh4 - 2, bw4 }
  }


and check_sb_border checks that the position is within the same 64x64 block as follows:


  check_sb_border(( deltaRow,, deltaCol ) {
      row = (MiRow & 15
                      15)) + deltaRow
      col = (MiCol & 15
                      15)) + deltaCol

       return ( row >= 0 && row < 16 && col >= 0 && col < 16 )
  }



7.10.2.6. Temporal sample process
The inputs to this process are:

      • variables deltaRow and deltaCol specifying (in units of 4x4 luma samples) the offset to the candidate location,

      • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

This process looks up a motion vector from the motion field and adds it into the stack.

The variable mvRow is set equal to (MiRow + deltaRow) | 1.

The variable mvCol is set equal to (MiCol + deltaCol) | 1.

If is_inside( mvRow, mvCol ) is equal to 0, this process terminates immediately.

The variable x8 is set equal to mvCol >> 1.


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The variable y8 is set equal to mvRow >> 1.

(x8 and y8 represent the position of the candidate in units of 8x8 luma samples.)

The process is specified as follows:




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  if ( deltaRow == 0 && deltaCol == 0 ) {
      ZeroMvContext = 1
  }
  if ( !isCompound ) {
      candMv = MotionFieldMvs[[ RefFrame[[ 0 ] ][ y8 ][ x8 ]
      if ( candMv[[ 0 ] == -1 << 15 )
           return
      lower_mv_precision(( candMv )
      if ( deltaRow == 0 && deltaCol == 0 ) {
           if ( Abs(( candMv[[ 0 ] - GlobalMvs[[ 0 ][ 0 ] ) >= 16 ||
                 Abs(( candMv[[ 1 ] - GlobalMvs[[ 0 ][ 1 ] ) >= 16 )
                ZeroMvContext = 1
           else
                ZeroMvContext = 0
      }
      for ( idx = 0; idx < NumMvFound;; idx++ ++ ) {
           if ( candMv[[ 0 ] == RefStackMv[[ idx ][ 0 ][ 0 ] &&
                 candMv[[ 1 ] == RefStackMv[[ idx ][ 0 ][ 1 ] )
                 break
      }
      if ( idx < NumMvFound ) {
           WeightStack[[ idx ] += 2
      } else if ( NumMvFound < MAX_REF_MV_STACK_SIZE ) {
           RefStackMv[[ NumMvFound ][ 0 ] = candMv
           WeightStack[[ NumMvFound ] = 2
           NumMvFound += 1
      }
  } else {
      candMv0 = MotionFieldMvs[[ RefFrame[[ 0 ] ][ y8 ][ x8 ]
      if ( candMv0[[ 0 ] == -1 << 15 )
           return
      candMv1 = MotionFieldMvs[[ RefFrame[[ 1 ] ][ y8 ][ x8 ]
      if ( candMv1[[ 0 ] == -1 << 15 )
           return
      lower_mv_precision(( candMv0 )
      lower_mv_precision(( candMv1 )
      if ( deltaRow == 0 && deltaCol == 0 ) {
           if ( Abs(( candMv0[[ 0 ] - GlobalMvs[[ 0 ][ 0 ] ) >= 16 ||
                 Abs(( candMv0[[ 1 ] - GlobalMvs[[ 0 ][ 1 ] ) >= 16 ||
                 Abs(( candMv1[[ 0 ] - GlobalMvs[[ 1 ][ 0 ] ) >= 16 ||
                 Abs(( candMv1[[ 1 ] - GlobalMvs[[ 1 ][ 1 ] ) >= 16 )
                ZeroMvContext = 1
           else
                ZeroMvContext = 0
      }
      for ( idx = 0; idx < NumMvFound;; idx++ ++ ) {
           if ( candMv0[[ 0 ] == RefStackMv[[ idx ][ 0 ][ 0 ] &&
                 candMv0[[ 1 ] == RefStackMv[[ idx ][ 0 ][ 1 ] &&
                 candMv1[[ 0 ] == RefStackMv[[ idx ][ 1 ][ 0 ] &&
                 candMv1[[ 1 ] == RefStackMv[[ idx ][ 1 ][ 1 ] )




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                 break
        }
        if ( idx < NumMvFound ) {
            WeightStack[[ idx ] += 2
        } else if ( NumMvFound < MAX_REF_MV_STACK_SIZE ) {
            RefStackMv[[ NumMvFound ][ 0 ] = candMv0
            RefStackMv[[ NumMvFound ][ 1 ] = candMv1
            WeightStack[[ NumMvFound ] = 2
            NumMvFound += 1
        }
  }


where the call to lower_mv_precision invokes the lower precision process specified in section 7.10.2.10.


7.10.2.7. Add reference motion vector process
The inputs to this process are:

       • variables mvRow and mvCol specifying (in units of 4x4 luma samples) the candidate location,

       • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction,

       • a variable weight specifying the weight attached to this motion vector.

This process examines the candidate to find matching reference frames.

If IsInters[ mvRow ][ mvCol ] is equal to 0, this process terminates immediately.

If isCompound is equal to 0, the following applies for candList = 0..1:

      1. If RefFrames[ mvRow ][ mvCol ][ candList ] is equal to RefFrame[ 0 ], the search stack process in section
         7.10.2.8 is invoked with mvRow, mvCol, weight, and candList as inputs.

Otherwise (isCompound is equal to 1), the following applies:

      1. If RefFrames[ mvRow ][ mvCol ][ 0 ] is equal to RefFrame[ 0 ] and RefFrames[ mvRow ][ mvCol ][ 1 ] is equal to
         RefFrame[ 1 ], the compound search stack process in section 7.10.2.9 is invoked with mvRow, mvCol, and
         weight as inputs.


7.10.2.8. Search stack process
The inputs to this process are:

       • variables mvRow and mvCol specifying (in units of 4x4 luma samples) the candidate location,

       • a variable candList specifying which list in the candidate matches our reference frame,

       • a variable weight proportional to the corresponding block width or height for the candidate motion vector.




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This process searches the stack for an exact match with a candidate motion vector. If present, the weight of the candidate
motion vector is added to the weight of its counterpart in the stack, otherwise the process adds a motion vector to the
stack.

The variable candMode is set equal to YModes[ mvRow ][ mvCol ].

The variable candSize is set equal to MiSizes[ mvRow ][ mvCol ].

The variable large is set equal to ( Min( Block_Width[ candSize ],Block_Height[ candSize ] ) >= 8 ).

The candidate motion vector candMv is set as follows:

      • If ( candMode == GLOBALMV || candMode == GLOBAL_GLOBALMV) and ( GmType[ RefFrame[ 0 ] ] >
        TRANSLATION ) and ( large == 1 ), candMv is set equal to GlobalMvs[ 0 ].

      • Otherwise, candMv is set equal to Mvs[ mvRow ][ mvCol ][ candList ].

The lower precision process specified in section 7.10.2.10 is invoked with candMv.

If has_newmv( candMode ) is equal to 1, NewMvCount is set equal to NewMvCount + 1.

The variable FoundMatch is set equal to 1.

The process depends on whether the candidate motion vector is already in the stack as follows:

      • If candMv is already equal to RefStackMv[ idx ][ 0 ] for some idx less than NumMvFound, then WeightStack[ idx ]
        is increased by weight

      • Otherwise, if NumMvFound is less than MAX_REF_MV_STACK_SIZE, the following ordered steps apply:

         a. RefStackMv[ NumMvFound ][ 0 ] is set equal to candMv

         b. WeightStack[ NumMvFound ] is set equal to weight

         c. NumMvFound is set equal to NumMvFound + 1.

      • Otherwise, (NumMvFound is greater than or equal to MAX_REF_MV_STACK_SIZE), the process has no effect.


7.10.2.9. Compound search stack process
The inputs to this process are:

      • variables mvRow and mvCol specifying (in units of 4x4 luma samples) the candidate location,

      • a variable weight proportional to the corresponding block width or height for the candidate pair of motion vectors.

This process searches the stack for an exact match with a candidate pair of motion vectors. If present, the weight of the
candidate pair of motion vectors is added to the weight of its counterpart in the stack, otherwise the process adds the
motion vectors to the stack.



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The array candMvs (containing two motion vectors) is set equal to Mvs[ mvRow ][ mvCol ].

The variable candMode is set equal to YModes[ mvRow ][ mvCol ].

The variable candSize is set equal to MiSizes[ mvRow ][ mvCol ].

If candMode is equal to GLOBAL_GLOBALMV, for refList = 0..1 the following applies:

      • If GmType[ RefFrame[ refList ] ] > TRANSLATION, candMvs[ refList ] is set equal to GlobalMvs[ refList ].

For i = 0..1, the lower precision process specified in section 7.10.2.10 is invoked with candMvs[ i ].

The variable FoundMatch is set equal to 1.

The process depends on whether the candidate motion vector pair is already in the stack as follows:

      • If candMvs[ 0 ] is equal to RefStackMv[ idx ][ 0 ] and candMvs[ 1 ] is equal to RefStackMv[ idx ][ 1 ] for some idx
        less than NumMvFound, then WeightStack[ idx ] is increased by weight

      • Otherwise, if NumMvFound is less than MAX_REF_MV_STACK_SIZE, the following ordered steps apply:

         a. RefStackMv[ NumMvFound ][ i ] is set equal to candMvs[ i ] for i = 0..1

         b. WeightStack[ NumMvFound ] is set equal to weight

         c. NumMvFound is set equal to NumMvFound + 1.

      • Otherwise, (NumMvFound is greater than or equal to MAX_REF_MV_STACK_SIZE), the process has no effect.

If has_newmv( candMode ) is equal to 1, NewMvCount is set equal to NewMvCount + 1.

The function has_newmv is defined as:


   has_newmv( mode ) {
       return (mode == NEWMV ||
               mode == NEW_NEWMV ||
               mode == NEAR_NEWMV ||
               mode == NEW_NEARMV ||
               mode == NEAREST_NEWMV ||
               mode == NEW_NEARESTMV)
   }



   Note: It is impossible for mode to equal NEWMV in this function because it is only called for compound modes.


7.10.2.10. Lower precision process
The input to this process is a reference candMv to a motion vector array.



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This process modifies the contents of the input motion vector to remove the least significant bit when high precision is not
allowed, and all three fractional bits when force_integer_mv is equal to 1.

If allow_high_precision_mv is equal to 1, this process terminates immediately.

For i = 0..1, the following applies:


   if ( force_integer_mv ) {
       a = Abs(( candMv[[ i ] )
       aInt = (a + 3) >> 3
       if ( candMv[[ i ] > 0 )
            candMv[[ i ] = aInt << 3
       else
            candMv[[ i ] = -( aInt << 3 )
   } else {
       if ( candMv[[ i ] & 1 ) {
            if ( candMv[[ i ] > 0 )
                 candMv[[ i ]--
            else
                 candMv[[ i ]++
       }
   }



7.10.2.11. Sorting process
The inputs to this process are:

       • a variable start representing the first position to be sorted,

       • a variable end representing the length of the array,

       • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

This process performs a stable sort of part of the stack of motion vectors according to the corresponding weight.

Entries in RefStackMv from start (inclusive) to end (exclusive) are sorted.

The sorting process is specified as:




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   while ( end > start ) {
       newEnd = start
       for ( idx = start + 1; idx < end;; idx++
                                             ++ ) {
           if ( WeightStack[[ idx - 1 ] < WeightStack[[ idx ] ) {
               swap_stack((idx - 1, idx))
               newEnd = idx
           }
       }
       end = newEnd
   }


When the function swap_stack is invoked, the entries at locations idx and idx - 1 should be swapped in WeightStack and
RefStackMv as follows:


   swap_stack(( i,, j ) {
     temp = WeightStack[[ i ]
     WeightStack[[ i ] = WeightStack[[ j ]
     WeightStack[[ j ] = temp
     for ( list = 0; list < 1 + isCompound;; list++
                                                 ++ ) {
       for ( comp = 0; comp < 2; comp++++ ) {
         temp = RefStackMv[[ i ][ list ][ comp ]
         RefStackMv[[ i ][ list ][ comp ] = RefStackMv[[ j ][ list ][ comp ]
         RefStackMv[[ j ][ list ][ comp ] = temp
       }
     }
   }



7.10.2.12. Extra search process
The input to this process is a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

This process adds additional motion vectors to RefStackMv until it has 2 choices of motion vector by first searching the
left and above neighbors for partially matching candidates, and second adding global motion candidates.

When doing single prediction, the motion vectors go straight on the stack.

When doing compound prediction, the motion vectors are added to arrays called RefIdMvs (counting matches from the
same frame) and RefDiffMvs (counting matches from different frames).

The number of entries in these arrays are initialized to zero as follows:


   for ( list = 0; list < 2; list++
                                 ++ ) {
     RefIdCount[[ list ] = 0
     RefDiffCount[[ list ] = 0
   }




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A two pass search for the partial matching candidates is specified as:


  w4 = Min(( 16
             16,, Num_4x4_Blocks_Wide[[ MiSize ] )
  h4 = Min(( 16
             16,, Num_4x4_Blocks_High[[ MiSize ] )
  w4 = Min(( w4,, MiCols - MiCol )
  h4 = Min(( h4,, MiRows - MiRow )
  num4x4 = Min(( w4,, h4 )
  for ( pass = 0; pass < 2; pass++ ++ ) {
    idx = 0
    while ( idx < num4x4 && NumMvFound < 2 ) {
      if ( pass == 0 ) {
        mvRow = MiRow - 1
        mvCol = MiCol + idx
      } else {
        mvRow = MiRow + idx
        mvCol = MiCol - 1
      }
      if ( !is_inside(( mvRow,, mvCol ) )
        break
      add_extra_mv_candidate(( mvRow,, mvCol,, isCompound )
      if ( pass == 0 ) {
        idx += Num_4x4_Blocks_Wide[[ MiSizes[[ mvRow ][ mvCol ] ]
      } else {
        idx += Num_4x4_Blocks_High[[ MiSizes[[ mvRow ][ mvCol ] ]
      }
    }
  }


The first pass searches the row above, the second searches the column to the left.

The function call to add_extra_mv_candidate invokes the add extra mv candidate process specified in section 7.10.2.13
with mvRow, mvCol, isCompound as inputs.

If isCompound is equal to 1, the candidates in the RefIdMvs and RefDiffMvs arrays are added to the stack as follows
(using the temporary array combinedMvs):




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  for ( list = 0; list < 2; list++
                                 ++ ) {
    compCount = 0
    for ( idx = 0; idx < RefIdCount[[ list ]; idx++
                                                  ++ ) {
      combinedMvs[[ compCount ][ list ] = RefIdMvs[[ list ][ idx ]
      compCount++
                ++
    }
    for ( idx = 0; idx < RefDiffCount[[ list ] && compCount < 2; idx++
                                                                     ++ ) {
      combinedMvs[[ compCount ][ list ] = RefDiffMvs[[ list ][ idx ]
      compCount++
                ++
    }
    while ( compCount < 2 ) {
      combinedMvs[[ compCount ][ list ] = GlobalMvs[[ list ]
      compCount++
                ++
    }
  }
  if ( NumMvFound == 1 ) {
    if ( combinedMvs[[ 0 ][ 0 ] == RefStackMv[[ 0 ][ 0 ] &&
         combinedMvs[[ 0 ][ 1 ] == RefStackMv[[ 0 ][ 1 ] ) {
      RefStackMv[[ NumMvFound ][ 0 ] = combinedMvs[[ 1 ][ 0 ]
      RefStackMv[[ NumMvFound ][ 1 ] = combinedMvs[[ 1 ][ 1 ]
    } else {
      RefStackMv[[ NumMvFound ][ 0 ] = combinedMvs[[ 0 ][ 0 ]
      RefStackMv[[ NumMvFound ][ 1 ] = combinedMvs[[ 0 ][ 1 ]
    }
    WeightStack[[ NumMvFound ] = 2
    NumMvFound++
              ++
  } else {
    for ( idx = 0; idx < 2; idx++
                                ++ ) {
      RefStackMv[[ NumMvFound ][ 0 ] = combinedMvs[[ idx ][ 0 ]
      RefStackMv[[ NumMvFound ][ 1 ] = combinedMvs[[ idx ][ 1 ]
      WeightStack[[ NumMvFound ] = 2
      NumMvFound++
                 ++
    }
  }


If isCompound is equal to 0, the candidates have already been added to RefStackMv, and this process simply extends
with global motion candidates as follows:


  for ( idx = NumMvFound;; idx < 2; idx++
                                        ++ ) {
    RefStackMv[[ idx ][ 0 ] = GlobalMvs[[ 0 ]
  }



   Note: For single prediction, NumMvFound is not incremented by the addition of global motion candidates, whereas
   for compound prediction NumMvFound will always be greater or equal to 2 by this point.




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7.10.2.13. Add extra MV candidate process
The inputs to this process are:

      • variables mvRow and mvCol specifying (in units of 4x4 luma samples) the candidate location,

      • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction.

This process may modify the contents of the global variables RefIdMvs, RefIdCount, RefDiffMvs, RefDiffCount,
RefStackMv, WeightStack, and NumMvFound.

This process examines the candidate location to find possible motion vectors as follows:




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  if ( isCompound ) {
    for ( candList = 0; candList < 2; candList++ ++ ) {
      candRef = RefFrames[[ mvRow ][ mvCol ][ candList ]
      if ( candRef > INTRA_FRAME ) {
        for ( list = 0; list < 2; list++++ ) {
           candMv = Mvs[[ mvRow ][ mvCol ][ candList ]
           if ( candRef == RefFrame[[ list ] && RefIdCount[[ list ] < 2 ) {
             RefIdMvs[[ list ][ RefIdCount[[ list ] ] = candMv
             RefIdCount[[ list ]++
           } else if ( RefDiffCount[[ list ] < 2 ) {
             if ( RefFrameSignBias[[ candRef ] != RefFrameSignBias[[ RefFrame[[list]] ] ) {
               candMv[[ 0 ] *= -1
               candMv[[ 1 ] *= -1
             }
             RefDiffMvs[[ list ][ RefDiffCount[[ list ] ] = candMv
             RefDiffCount[[ list ]++
           }
        }
      }
    }
  } else {
    for ( candList = 0; candList < 2; candList++ ++ ) {
      candRef = RefFrames[[ mvRow ][ mvCol ][ candList ]
      if ( candRef > INTRA_FRAME ) {
        candMv = Mvs[[ mvRow ][ mvCol ][ candList ]
        if ( RefFrameSignBias[[ candRef ] != RefFrameSignBias[[ RefFrame[[ 0 ] ] ) {
           candMv[[ 0 ] *= -1
           candMv[[ 1 ] *= -1
        }
        for ( idx = 0; idx < NumMvFound;; idx++++ ) {
           if ( candMv == RefStackMv[[ idx ][ 0 ] )
             break
        }
        if ( idx == NumMvFound ) {
           RefStackMv[[ idx ][ 0 ] = candMv
           WeightStack[[ idx ] = 2
           NumMvFound++
                      ++
        }
      }
    }
  }



7.10.2.14. Context and clamping process
The inputs to this process are:

      • a variable isCompound containing 0 for single prediction, or 1 to signal compound prediction,

      • a variable numNew specifying the number of NEWMV candidates found in the immediate neighborhood.




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This process computes contexts to be used when decoding syntax elements, and clamps the candidates in RefStackMv.

The variable bw (representing the width of the block in units of luma samples) is set equal to Block_Width[ MiSize ].

The variable bh (representing the height of the block in units of luma samples) is set equal to Block_Height[ MiSize ].


   Note: It only matters whether numNew is zero or non-zero because the value is clipped at 1 when it is used.
   Implementations may therefore choose to implement numNew and NewMvCount as a boolean instead of a
   counter.


The variable numLists specifying the number of reference frames used for this block is set equal to ( isCompound ? 2 : 1
).

The array DrlCtxStack is set as follows:


  for ( idx = 0; idx < NumMvFound ; idx++
                                       ++ ) {
      z = 0
      if ( idx + 1 < NumMvFound ) {
          w0 = WeightStack[[ idx ]
          w1 = WeightStack[[ idx + 1 ]
          if ( w0 >= REF_CAT_LEVEL ) {
              if ( w1 < REF_CAT_LEVEL ) {
                   z = 1
              }
          } else {
              z = 2
          }
      }
      DrlCtxStack[[ idx ] = z
  }


The motion vectors are clamped as follows:


  for ( list = 0; list < numLists;; list++
                                         ++ ) {
      for ( idx = 0; idx < NumMvFound ; idx++ ++ ) {
          refMv = RefStackMv[[ idx ][ list ]
          refMv[[ 0 ] = clamp_mv_row(( refMv[[ 0 ], MV_BORDER + bh * 8)
          refMv[[ 1 ] = clamp_mv_col(( refMv[[ 1 ], MV_BORDER + bw * 8)
          RefStackMv[[ idx ][ list ] = refMv
      }
  }


The variables RefMvContext and NewMvContext are set as follows:




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   if ( CloseMatches == 0 ) {
       NewMvContext = Min(( TotalMatches,, 1 )             // 0,1
       RefMvContext = TotalMatches
   } else if ( CloseMatches == 1 ) {
       NewMvContext = 3 - Min(( numNew,, 1 )             // 2,3
       RefMvContext = 2 + TotalMatches
   } else {
       NewMvContext = 5 - Min(( numNew,, 1 )             // 4,5
       RefMvContext = 5
   }



7.10.3. Has overlappable candidates process
This process is triggered by a call to has_overlappable_candidates.

It returns 1 to indicate that the block has neighbors suitable for use by overlapped motion compensation, or 0 otherwise.

The process looks to see if there are any inter blocks to the left or above.

The check is only made at 8x8 granularity.

The process is specified as:


   has_overlappable_candidates(( ) {
     if ( AvailU ) {
       w4 = Num_4x4_Blocks_Wide[[ MiSize ]
       for ( x4 = MiCol;; x4 < Min(( MiCols,, MiCol + w4 ); x4 += 2 ) {
           if ( RefFrames[[ MiRow - 1 ][ x4 | 1 ][ 0 ] > INTRA_FRAME )
               return 1
       }
     }
     if ( AvailL ) {
       h4 = Num_4x4_Blocks_High[[ MiSize ]
       for ( y4 = MiRow;; y4 < Min(( MiRows,, MiRow + h4 ); y4 += 2 ) {
           if ( RefFrames[[ y4 | 1 ][ MiCol - 1 ][ 0 ] > INTRA_FRAME )
               return 1
       }
     }
     return 0
   }



7.10.4. Find warp samples process
7.10.4.1. General
This process is triggered when the find_warp_samples function is invoked.




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The process examines the neighboring inter predicted blocks and estimates a local warp transformation based on the
motion vectors.

The process produces a variable NumSamples containing the number of valid candidates found, and an array CandList
containing sorted candidates.

The variables NumSamples and NumSamplesScanned are both set equal to 0.


   Note: NumSamplesScanned counts the number of distinct candidates found by the add sample process - even if
   the motion vectors are too large. NumSamples counts the number of distinct valid candidates found by the add
   sample process (i.e. only counting cases where the motion vector is small enough to be considered valid). As a
   special case, if no small motion vectors are found, then the process returns the first large motion vector found (by
   setting NumSamples to 1).


The variable w4 specifying the width of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_Wide[ MiSize ].

The variable h4 specifying the height of the block in 4x4 luma samples is set equal to Num_4x4_Blocks_High[ MiSize ].

The process is specified as:




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  doTopLeft = 1
  doTopRight = 1
  if ( AvailU ) {
    srcSize = MiSizes[[ MiRow - 1 ][ MiCol ]
    srcW = Num_4x4_Blocks_Wide[[ srcSize ]
    if ( w4 <= srcW ) {
       colOffset = -(MiCol & (srcW - 1))
       if ( colOffset < 0 )
         doTopLeft = 0
       if ( colOffset + srcW > w4 )
         doTopRight = 0
       add_sample(( -1, 0 )
    } else {
       for ( i = 0; i < Min(( w4,, MiCols - MiCol ); i += miStep ) {
         srcSize = MiSizes[[ MiRow - 1 ][ MiCol + i ]
         srcW = Num_4x4_Blocks_Wide[[ srcSize ]
         miStep = Min((w4,, srcW))
         add_sample(( -1, i )
       }
    }
  }
  if ( AvailL ) {
    srcSize = MiSizes[[ MiRow ][ MiCol - 1 ]
    srcH = Num_4x4_Blocks_High[[ srcSize ]
    if ( h4 <= srcH ) {
       rowOffset = -(MiRow & (srcH - 1))
       if ( rowOffset < 0 )
         doTopLeft = 0
       add_sample(( 0, -1 )
    } else {
       for ( i = 0; i < Min(( h4,, MiRows - MiRow);
                                                 ); i += miStep ) {
         srcSize = MiSizes[[ MiRow + i ][ MiCol - 1 ]
         srcH = Num_4x4_Blocks_High[[ srcSize ]
         miStep = Min((h4,, srcH))
         add_sample(( i,, -1 )
       }
    }
  }
  if ( doTopLeft ) {
    add_sample(( -1, -1 )
  }
  if ( doTopRight ) {
    if ( Max(( w4,, h4 ) <= 16 ) {
       add_sample(( -1, w4 )
    }
  }
  if ( NumSamples == 0 && NumSamplesScanned > 0 )
      NumSamples = 1


where the call to add_sample specifies that the add sample process in section 7.10.4.2 should be invoked.



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7.10.4.2. Add sample process
The inputs to this process are:

      • a variable deltaRow specifying (in units of 4x4 luma samples) how far above to look for a motion vector,

      • a variable deltaCol specifying (in units of 4x4 luma samples) how far left to look for a motion vector.

The output of this process is to add a new sample to the list of candidates if it is a valid candidate and has not been seen
before.

If NumSamplesScanned is greater than or equal to LEAST_SQUARES_SAMPLES_MAX, this process immediately exits.

The variable mvRow is set equal to MiRow + deltaRow.

The variable mvCol is set equal to MiCol + deltaCol.

If is_inside( mvRow, mvCol ) is equal to 0, then this process immediately returns.

If RefFrames[ mvRow ][ mvCol ][ 0 ] has not been written for this frame, then this process immediately returns.

If RefFrames[ mvRow ][ mvCol ][ 0 ] is not equal to RefFrame[ 0 ], then this process immediately returns.

If RefFrames[ mvRow ][ mvCol ][ 1 ] is not equal to NONE, then this process immediately returns.

The variable candSz is set equal to MiSizes[ mvRow ][ mvCol ].

The variable candW4 is set equal to Num_4x4_Blocks_Wide[ candSz ].

The variable candH4 is set equal to Num_4x4_Blocks_High[ candSz ].

The variable candRow is set equal to mvRow & ~(candH4 - 1).

The variable candCol is set equal to mvCol & ~(candW4 - 1).

The variable midY is set equal to candRow * 4 + candH4 * 2 - 1.

The variable midX is set equal to candCol * 4 + candW4 * 2 - 1.

The variable threshold is set equal to Clip3( 16, 112, Max( Block_Width[ MiSize ], Block_Height[ MiSize ] ) ).

The variable mvDiffRow is set equal to Abs( Mvs[ candRow ][ candCol ][ 0 ][ 0 ] - Mv[ 0 ][ 0 ] ).

The variable mvDiffCol is set equal to Abs( Mvs[ candRow ][ candCol ][ 0 ][ 1 ] - Mv[ 0 ][ 1 ] ).

The variable valid is set equal to ( ( mvDiffRow + mvDiffCol ) <= threshold ).


   Note: candRow and candCol give the top-left position of the candidate block in units of 4x4 blocks. midX and midY
   give the central position of the candidate block in units of luma samples.



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A candidate array (representing source and destination locations in units of 1/8 luma samples) is specified as:


   cand[[ 0 ] = midY * 8
   cand[[ 1 ] = midX * 8
   cand[[ 2 ] = midY * 8 + Mvs[[ candRow ][ candCol ][ 0 ][ 0 ]
   cand[[ 3 ] = midX * 8 + Mvs[[ candRow ][ candCol ][ 0 ][ 1 ]


The following ordered steps apply:

     1. NumSamplesScanned is increased by 1.

     2. If valid is equal to 0 and NumSamplesScanned is greater than 1, the process exits.

     3. CandList[ NumSamples ][ j ] is set equal to cand[ j ] for j=0..3.

     4. If valid is equal to 1, NumSamples is increased by 1.


7.11. Prediction processes
7.11.1. General
The following sections define the processes used for predicting the sample values.

These processes are triggered at points defined by function calls to predict_intra, predict_inter,
predict_chroma_from_luma, and predict_palette in the residual syntax table described in section 5.11.34.


7.11.2. Intra prediction process
7.11.2.1. General
The intra prediction process is invoked for intra coded blocks to predict a part of the block corresponding to a transform
block. When the transform size is smaller than the block size, this process can be invoked multiple times within a single
block for the same plane, and the invocations are in raster order within the block.

This process is triggered by a call to predict_intra.

The inputs to this process are:

      • a variable plane specifying which plane is being predicted,

      • variables x and y specifying the location of the top left sample in the CurrFrame[ plane ] array of the current
        transform block,

      • a variable haveLeft that is equal to 1 if there are valid samples to the left of this transform block,

      • a variable haveAbove that is equal to 1 if there are valid samples above this transform block,




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       • a variable haveAboveRight that is equal to 1 if there are valid samples above the transform block to the right of
         this transform block,

       • a variable haveBelowLeft that is equal to 1 if there are valid samples to the left of the transform block below this
         transform block,

       • a variable mode specifying the type of intra prediction to apply,

       • a variable log2W specifying the base 2 logarithm of the width of the region to be predicted,

       • a variable log2H specifying the base 2 logarithm of the height of the region to be predicted.

The process makes use of the already reconstructed samples in the current frame CurrFrame to form a prediction for the
current block.

The outputs of this process are intra predicted samples in the current frame CurrFrame.

The variable w is set equal to 1 << log2W.

The variable h is set equal to 1 << log2H.

The variable maxX is set equal to ( MiCols * MI_SIZE ) - 1.

The variable maxY is set equal to ( MiRows * MI_SIZE ) - 1.

If plane is greater than 0, then:

       • maxX is set equal to ( ( MiCols * MI_SIZE ) >> subsampling_x ) - 1.

       • maxY is set equal to ( ( MiRows * MI_SIZE ) >> subsampling_y ) - 1.

The array AboveRow[ i ] for i = 0..w + h - 1 is derived as follows:

       • If haveAbove is equal to 0 and haveLeft is equal to 1, AboveRow[ i ] is set equal to CurrFrame[ plane ][ y ][ x - 1
         ].

       • Otherwise, if haveAbove is equal to 0 and haveLeft is equal to 0, AboveRow[ i ] is set equal to ( 1 << ( BitDepth -
         1 ) ) - 1.

       • Otherwise, the following applies:

                ◦ The variable aboveLimit is set equal to Min( maxX, x + ( haveAboveRight ? 2 * w : w ) - 1 ).

                ◦ AboveRow[ i ] is set equal to CurrFrame[ plane ][ y-1 ][ Min(aboveLimit, x+i) ].

The array LeftCol[ i ] for i = 0..w + h - 1 is derived as follows:

       • If haveLeft is equal to 0 and haveAbove is equal to 1, LeftCol[ i ] is set equal to CurrFrame[ plane ][ y - 1 ][ x ].




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      • Otherwise, if haveLeft is equal to 0 and haveAbove is equal to 0, LeftCol[ i ] is set equal to ( 1 << ( BitDepth - 1 )
        ) + 1.

      • Otherwise, the following applies:

                ◦ The variable leftLimit is set equal to Min( maxY, y + ( haveBelowLeft ? 2 * h : h ) - 1 ).

                ◦ LeftCol[ i ] is set equal to CurrFrame[ plane ][ Min(leftLimit, y+i) ][ x-1 ].

The array AboveRow[ i ] for i = -1 is specified by:

      • If haveAbove is equal to 1 and haveLeft is equal to 1, AboveRow[ -1 ] is set equal to CurrFrame[ plane ][ y-1 ][
        x-1 ].

      • Otherwise if haveAbove is equal to 1, AboveRow[ -1 ] is set equal to CurrFrame [ plane ][ y - 1 ][ x ].

      • Otherwise if haveLeft is equal to 1, AboveRow[ -1 ] is set equal to CurrFrame [ plane ][ y ][ x - 1 ].

      • Otherwise, AboveRow[ -1 ] is set equal to 1 << ( BitDepth - 1 ).

The array LeftCol[ i ] for i = -1 is set equal to AboveRow[ -1 ].

A 2D array named pred containing the intra predicted samples is constructed as follows:

      • If plane is equal to 0 and use_filter_intra is true, the recursive intra prediction process specified in section
        7.11.2.3 is invoked with w and h as inputs, and the output is assigned to pred.

      • Otherwise, if is_directional_mode( mode ) is true, the directional intra prediction process specified in section
        7.11.2.4 is invoked with plane, x, y, haveLeft, haveAbove, mode, w, h, maxX, maxY as inputs and the output is
        assigned to pred.

      • Otherwise if mode is equal to SMOOTH_PRED or SMOOTH_V_PRED or SMOOTH_H_PRED, the smooth intra
        prediction process specified in section 7.11.2.6 is invoked with mode, log2W, log2H, w, and h as inputs, and the
        output is assigned to pred.

      • Otherwise if mode is equal to DC_PRED, the DC intra prediction process specified in section 7.11.2.5 is invoked
        with haveLeft, haveAbove, log2W, log2H, w, and h as inputs and the output is assigned to pred.

      • Otherwise (mode is equal to PAETH_PRED), the basic intra prediction process specified in section 7.11.2.2 is
        invoked with mode, w, and h as inputs, and the output is assigned to pred.

The current frame is updated as follows:

      • CurrFrame[ plane ][ y + i ][ x + j ] is set equal to pred[ i ][ j ] for i = 0..h-1 and j = 0..w-1.


7.11.2.2. Basic intra prediction process
The inputs to this process are:




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      • a variable w specifying the width of the region to be predicted,

      • a variable h specifying the height of the region to be predicted.

The output of this process is a 2D array named pred containing the intra predicted samples.

The process generates filtered samples from the samples in LeftCol and AboveRow as follows:

      • The following ordered steps apply for i = 0..h-1, for j = 0..w-1:

               1. The variable base is set equal to AboveRow[ j ] + LeftCol[ i ] - AboveRow[ -1 ].

               2. The variable pLeft is set equal to Abs( base - LeftCol[ i ]).

               3. The variable pTop is set equal to Abs( base - AboveRow[ j ]).

               4. The variable pTopLeft is set equal to Abs( base - AboveRow[ -1 ] ).

               5. If pLeft <= pTop and pLeft <= pTopLeft, pred[ i ][ j ] is set equal to LeftCol[ i ].

               6. Otherwise, if pTop <= pTopLeft, pred[ i ][ j ] is set equal to AboveRow[ j ].

               7. Otherwise, pred[ i ][ j ] is set equal to AboveRow[ -1 ].

The output of the process is the array pred.


7.11.2.3. Recursive intra prediction process
The inputs to this process are:

      • a variable w specifying the width of the region to be predicted,

      • a variable h specifying the height of the region to be predicted.

The output of this process is a 2D array named pred containing the intra predicted samples.

For each block of 4x2 samples, this process first prepares an array p of 7 neighboring samples, and then produces the
output block by filtering this array.

The variable w4 is set equal to w >> 2.

The variable h2 is set equal to h >> 1.

The following steps apply for i2 = 0..h2-1, for j4 = 0..w4-1:

      • The array p is derived as follows for i = 0..6:

                ◦ If i is less than 5, p[ i ] is derived as follows:

                          ▪ If i2 is equal to 0, p[ i ] is set equal to AboveRow[ ( j4 << 2 ) + i - 1 ].



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                         ▪ Otherwise, if j4 is equal to 0 and i is equal to 0, p[ i ] is set equal to LeftCol[ ( i2 << 1 ) - 1 ].

                         ▪ Otherwise, p[ i ] is set equal to pred[ ( i2 << 1 ) - 1 ][ ( j4 << 2 ) + i - 1 ].

               ◦ Otherwise (i is greater than or equal to 5), p[ i ] is derived as follows:

                         ▪ If j4 is equal to 0, p[ i ] is set equal to LeftCol[ ( i2 << 1 ) + i - 5 ].

                         ▪ Otherwise (j4 is not equal to 0), p[ i ] is set equal to pred[ ( i2 << 1 ) + i - 5 ][ ( j4 << 2 ) - 1 ].

      • The following steps apply for i1 = 0..1, j1 = 0..3:

               ◦ The variable pr is set equal to 0.

               ◦ The variable pr is incremented by Intra_Filter_Taps[ filter_intra_mode ][ ( i1 << 2 ) + j1 ][ i ] * p[ i ] for i =
                 0..6.

               ◦ pred[ ( i2 << 1 ) + i1 ][ ( j4 << 2 ) + j1 ] is set equal to Clip1( Round2Signed( pr,
                 INTRA_FILTER_SCALE_BITS ) ).

The output of the process is the array pred.


7.11.2.4. Directional intra prediction process
The inputs to this process are:

      • a variable plane specifying which plane is being predicted,

      • variables x and y specifying the location of the top left sample in the CurrFrame[ plane ] array of the current
        transform block,

      • a variable haveLeft that is equal to 1 if there are valid samples to the left of this transform block,

      • a variable haveAbove that is equal to 1 if there are valid samples above this transform block,

      • a variable mode specifying the type of intra prediction to apply,

      • a variable w specifying the width of the region to be predicted,

      • a variable h specifying the height of the region to be predicted,

      • a variable maxX specifying the largest valid x coordinate for the current plane,

      • a variable maxY specifying the largest valid y coordinate for the current plane.

The output of this process is a 2D array named pred containing the intra predicted samples.

The process uses a directional filter to generate filtered samples from the samples in LeftCol and AboveRow.

The following ordered steps apply:



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    1. The variable angleDelta is derived as follows:

              ◦ If plane is equal to 0, angleDelta is set equal to AngleDeltaY.

              ◦ Otherwise (plane is not equal to 0), angleDelta is set equal to AngleDeltaUV.

    2. The variable pAngle is set equal to ( Mode_To_Angle[ mode ] + angleDelta * ANGLE_STEP ).

    3. The variables upsampleAbove and upsampleLeft are set equal to 0.

    4. If enable_intra_edge_filter is equal to 1, the following applies:

              ◦ If pAngle is not equal to 90 and pAngle is not equal to 180, the following applies:

                        ▪ If (pAngle > 90) and (pAngle < 180) and (w + h) >= 24), the filter corner process specified in
                          section 7.11.2.7 is invoked and the output assigned to both LeftCol[ -1 ] and AboveRow[ -1 ].

                        ▪ The intra filter type process specified in section 7.11.2.8 is invoked with the input variable
                          plane and the output assigned to filterType.

                        ▪ If haveAbove is equal to 1, the following steps apply:

                                 ▪ The intra edge filter strength selection process specified in section 7.11.2.9 is invoked
                                   with w, h, filterType, and pAngle - 90 as inputs, and the output assigned to the
                                   variable strength.

                                 ▪ The variable numPx is set equal to Min( w, ( maxX - x + 1 ) ) + ( pAngle < 90 ? h : 0 )
                                   + 1.

                                 ▪ The intra edge filter process specified in section 7.11.2.12 is invoked with the
                                   parameters numPx, strength, and 0 as inputs.

                        ▪ If haveLeft is equal to 1, the following steps apply:

                                 ▪ The intra edge filter strength selection process specified in section 7.11.2.9 is invoked
                                   with w, h, filterType, and pAngle - 180 as inputs, and the output assigned to the
                                   variable strength.

                                 ▪ The variable numPx is set equal to Min( h, ( maxY - y + 1 ) ) + ( pAngle > 180 ? w : 0 )
                                   + 1.

                                 ▪ The intra edge filter process specified in section 7.11.2.12 is invoked with the
                                   parameters numPx, strength, and 1 as inputs.

              ◦ The intra edge upsample selection process specified in section 7.11.2.10 is invoked with w, h,
                filterType, and pAngle - 90 as inputs, and the output assigned to the variable upsampleAbove.

              ◦ The variable numPx is set equal to ( w + (pAngle < 90 ? h : 0) ).




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              ◦ If upsampleAbove is equal to 1, the intra edge upsample process specified in section 7.11.2.11 is
                invoked with the parameters numPx and 0 as inputs.

              ◦ The intra edge upsample selection process specified in section 7.11.2.10 is invoked with w, h,
                filterType, and pAngle - 180 as inputs, and the output assigned to the variable upsampleLeft.

              ◦ The variable numPx is set equal to ( h + (pAngle > 180 ? w : 0) ).

              ◦ If upsampleLeft is equal to 1, the intra edge upsample process specified in section 7.11.2.11 is invoked
                with the parameters numPx and 1 as inputs.

    5. The variable dx is derived as follows:

              ◦ If pAngle is less than 90, dx is set equal to Dr_Intra_Derivative[ pAngle ].

              ◦ Otherwise, if pAngle is greater than 90 and less than 180, dx is set equal to Dr_Intra_Derivative[ 180 -
                pAngle ].

              ◦ Otherwise, dx is undefined.

    6. The variable dy is derived as follows:

              ◦ If pAngle is greater than 90 and less than 180, dy is set equal to Dr_Intra_Derivative[ pAngle - 90 ].

              ◦ Otherwise, if pAngle is greater than 180, dy is set equal to Dr_Intra_Derivative[ 270 - pAngle ].

              ◦ Otherwise, dy is undefined.

    7. If pAngle is less than 90, the following steps apply for i = 0..h-1, for j = 0..w-1:

              ◦ The variable idx is set equal to ( i + 1 ) * dx.

              ◦ The variable base is set equal to (idx >> ( 6 - upsampleAbove ) ) + (j << upsampleAbove).

              ◦ The variable shift is set equal to ( (idx << upsampleAbove) >> 1 ) & 0x1F.

              ◦ The variable maxBaseX is set equal to (w + h - 1) << upsampleAbove.

              ◦ If base is less than maxBaseX, pred[ i ][ j ] is set equal to Round2( AboveRow[ base ] * ( 32 - shift ) +
                AboveRow[ base + 1 ] * shift, 5 ).

              ◦ Otherwise (base is greater than or equal to maxBaseX), pred[ i ][ j ] is set equal to AboveRow[
                maxBaseX ].

    8. Otherwise, if pAngle is greater than 90 and pAngle is less than 180, the following steps apply for i = 0..h-1, for j =
       0..w-1:

              ◦ The variable idx is set equal to ( j << 6 ) - ( i + 1 ) * dx.




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                ◦ The variable base is set equal to idx >> ( 6 - upsampleAbove ).

                ◦ If base is greater than or equal to -(1 << upsampleAbove), the following steps apply:

                          ▪ The variable shift is set equal to ( ( idx << upsampleAbove ) >> 1 ) & 0x1F.

                          ▪ pred[ i ][ j ] is set equal to Round2( AboveRow[ base ] * ( 32 - shift ) + AboveRow[ base + 1 ] *
                            shift, 5 ).

                ◦ Otherwise (base is less than -(1 << upsampleAbove), the following steps apply:

                          ▪ The variable idx is set equal to ( i << 6 ) - ( j + 1 ) * dy.

                          ▪ The variable base is set equal to idx >> ( 6 - upsampleLeft ).

                          ▪ The variable shift is set equal to ( ( idx << upsampleLeft ) >> 1 ) & 0x1F.

                          ▪ pred[ i ][ j ] is set equal to Round2( LeftCol[ base ] * ( 32 - shift ) + LeftCol[ base + 1 ] * shift, 5
                            ).

     9. Otherwise, if pAngle is greater than 180, the following steps apply for i = 0..h-1, for j = 0..w-1:

                ◦ The variable idx is set equal to ( j + 1 ) * dy.

                ◦ The variable base is set equal to ( idx >> ( 6 - upsampleLeft ) ) + ( i << upsampleLeft ).

                ◦ The variable shift is set equal to ( ( idx << upsampleLeft ) >> 1 ) & 0x1F.

                ◦ pred[ i ][ j ] is set equal to Round2( LeftCol[ base ] * ( 32 - shift ) + LeftCol[ base + 1 ] * shift, 5 ).

    10. Otherwise, if pAngle is equal to 90, pred[ i ][ j ] is set equal to AboveRow[ j ] with j = 0..w-1 and i = 0..h-1 (each
        row of the block is filled with a copy of AboveRow).

    11. Otherwise, if pAngle is equal to 180, pred[ i ][ j ] is set equal to LeftCol[ i ] with j = 0..w-1 and i = 0..h-1 (each
        column of the block is filled with a copy of LeftCol).

The output of the process is the array pred.


7.11.2.5. DC intra prediction process
The inputs to this process are:

      • a variable haveLeft that is equal to 1 if there are valid samples to the left of this transform block,

      • a variable haveAbove that is equal to 1 if there are valid samples above this transform block,

      • a variable log2W specifying the base 2 logarithm of the width of the region to be predicted,

      • a variable log2H specifying the base 2 logarithm of the height of the region to be predicted,




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      • a variable w specifying the width of the region to be predicted,

      • a variable h specifying the height of the region to be predicted.

The output of this process is a 2D array named pred containing the intra predicted samples.

The process averages the available edge samples in LeftCol and AboveRow to generate the prediction as follows:

      • If haveLeft is equal to 1 and haveAbove is equal to 1, pred[ i ][ j ] is set equal to avg with i = 0..h-1 and j = 0..w-1.
        The variable avg (the average of the samples in union of AboveRow and LeftCol) is specified as follows:


           sum = 0
           for ( k = 0; k < h;; k++
                                 ++ )
               sum += LeftCol[[ k ]
           for ( k = 0; k < w;; k++
                                 ++ )
               sum += AboveRow[[ k ]

           sum += ( w + h ) >> 1
           avg = sum / ( w + h )



   Note: The reference code shows how the division by (w+h) can be implemented with multiplication and shift
   operations.


      • Otherwise if haveLeft is equal to 1 and haveAbove is equal to 0, pred[ i ][ j ] is set equal to leftAvg with i = 0..h-1
        and j = 0..w-1. The variable leftAvg is specified as follows:


           sum = 0
           for ( k = 0; k < h;; k++
                                 ++ ) {
               sum += LeftCol[[ k ]
           }
           leftAvg = Clip1(( ( sum + ( h >> 1 ) ) >> log2H )


      • Otherwise if haveLeft is equal to 0 and haveAbove is equal to 1, pred[ i ][ j ] is set equal to aboveAvg with i =
        0..h-1 and j = 0..w-1. The variable aboveAvg is specified as follows:


           sum = 0
           for ( k = 0; k < w;; k++
                                 ++ ) {
               sum += AboveRow[[ k ]
           }
           aboveAvg = Clip1(( ( sum + ( w >> 1 ) ) >> log2W )


      • Otherwise (haveLeft is equal to 0 and haveAbove is equal to 0), pred[ i ][ j ] is set equal to 1 << ( BitDepth - 1 )
        with i = 0..h-1 and j = 0..w-1.



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The output of the process is the array pred.


7.11.2.6. Smooth intra prediction process
The inputs to this process are:

      • a variable mode specifying the type of intra prediction to apply,

      • a variable log2W specifying the base 2 logarithm of the width of the region to be predicted,

      • a variable log2H specifying the base 2 logarithm of the height of the region to be predicted,

      • a variable w specifying the width of the region to be predicted,

      • a variable h specifying the height of the region to be predicted.

The output of this process is a 2D array named pred containing the intra predicted samples.

The process uses linear interpolation to generate filtered samples from the samples in LeftCol and AboveRow as follows:

      • If mode is equal to SMOOTH_PRED, the following ordered steps apply for i = 0..h-1, for j = 0..w-1:

              1. The array smWeightsX is set dependent on the value of log2W according to the following table:


                            log2W                                              smWeightsX

                                  2                                         Sm_Weights_Tx_4x4

                                  3                                         Sm_Weights_Tx_8x8

                                  4                                        Sm_Weights_Tx_16x16

                                  5                                        Sm_Weights_Tx_32x32

                                  6                                        Sm_Weights_Tx_64x64


              2. The array smWeightsY is set dependent on the value of log2H according to the following table:


                            log2H                                              smWeightsY

                              2                                             Sm_Weights_Tx_4x4

                              3                                             Sm_Weights_Tx_8x8

                              4                                         Sm_Weights_Tx_16x16

                              5                                         Sm_Weights_Tx_32x32

                              6                                         Sm_Weights_Tx_64x64


              3. The variable smoothPred is set as follows:




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                   smoothPred =    smWeightsY[[ i ] * AboveRow[[ j ] +
                                ( 256 - smWeightsY[[ i ] ) * LeftCol[[ h - 1 ] +
                                  smWeightsX[[ j ] * LeftCol[[ i ] +
                                ( 256 - smWeightsX[[ j ] ) * AboveRow[[ w - 1 ]


             4. pred[ i ][ j ] is set equal to Round2( smoothPred, 9 ).

     • Otherwise if mode is equal to SMOOTH_V_PRED, the following ordered steps apply for i = 0..h-1, for j = 0..w-1:

             1. The array smWeights is set dependent on the value of log2H according to the following table:


                            log2H                                             smWeights

                              2                                           Sm_Weights_Tx_4x4

                              3                                           Sm_Weights_Tx_8x8

                              4                                           Sm_Weights_Tx_16x16

                              5                                           Sm_Weights_Tx_32x32

                              6                                           Sm_Weights_Tx_64x64


             2. The variable smoothPred is set as follows:


                   smoothPred =    smWeights[[ i ] * AboveRow[[ j ] +
                                ( 256 - smWeights[[ i ] ) * LeftCol[[ h - 1 ]


             3. pred[ i ][ j ] is set equal to Round2( smoothPred, 8 ).

     • Otherwise (mode is equal to SMOOTH_H_PRED), the following ordered steps apply for i = 0..h-1, for j = 0..w-1:

             1. The array smWeights is set dependent on the value of log2W according to the following table:


                            log2W                                              smWeights

                              2                                            Sm_Weights_Tx_4x4

                              3                                            Sm_Weights_Tx_8x8

                              4                                           Sm_Weights_Tx_16x16

                              5                                           Sm_Weights_Tx_32x32

                              6                                           Sm_Weights_Tx_64x64


             2. The variable smoothPred is set as follows:




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                      smoothPred =    smWeights[[ j ] * LeftCol[[ i ] +
                                   ( 256 - smWeights[[ j ] ) * AboveRow[[ w - 1 ]


               3. pred[ i ][ j ] is set equal to Round2( smoothPred, 8 ).

The output of the process is the array pred.


7.11.2.7. Filter corner process
This process uses a three tap filter to compute the value to be used for the top-left corner.

The variable s is set equal to LeftCol[ 0 ] * 5 + AboveRow[ -1 ] * 6 + AboveRow[ 0 ] * 5.

The output of this process is Round2(s, 4).


7.11.2.8. Intra filter type process
The input to this process is a variable plane specifying the color plane being processed.

The output of this process is a variable filterType that is set to 1 if either the block above or to the left uses a smooth
prediction mode.

The process is specified as follows:




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  get_filter_type(( plane ) {
    aboveSmooth = 0
    leftSmooth = 0
    if ( ( plane == 0 ) ? AvailU : AvailUChroma ) {
      r = MiRow - 1
      c = MiCol
      if ( plane > 0 ) {
          if ( subsampling_x && !( MiCol & 1 ) )
              c++
                ++
          if ( subsampling_y && ( MiRow & 1 ) )
              r--
                --
      }
      aboveSmooth = is_smooth(( r,, c,, plane )
    }
    if ( ( plane == 0 ) ? AvailL : AvailLChroma ) {
      r = MiRow
      c = MiCol - 1
      if ( plane > 0 ) {
          if ( subsampling_x && ( MiCol & 1 ) )
              c--
                --
          if ( subsampling_y && !( MiRow & 1 ) )
              r++
                ++
      }
      leftSmooth = is_smooth(( r,, c,, plane )
    }
    return aboveSmooth || leftSmooth
  }


where the function is_smooth indicates if a prediction mode is one of the smooth intra modes and is specified as:


  is_smooth(( row,, col,, plane ) {
    if ( plane == 0 ) {
      mode = YModes[[ row ][ col ]
    } else {
      if ( RefFrames[[ row ][ col ][ 0 ] > INTRA_FRAME )
        return 0
      mode = UVModes[[ row ][ col ]
    }
    return (mode == SMOOTH_PRED || mode == SMOOTH_V_PRED || mode == SMOOTH_H_PRED))
  }



7.11.2.9. Intra edge filter strength selection process
The inputs to this process are:

      • a variable w containing the width of the transform in samples,

      • a variable h containing the height of the transform in samples,



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      • a variable filterType that is 0 or 1 that controls the strength of filtering,

      • a variable delta containing an angle difference in degrees.

The output is an intra edge filter strength from 0 to 3 inclusive.

The variable d is set equal to Abs( delta ).

The variable blkWh (containing the sum of the dimensions) is set equal to w + h.

The output variable strength is specified as follows:


   strength = 0
   if ( filterType == 0 ) {
       if ( blkWh <= 8 ) {
            if ( d >= 56 ) strength = 1
       } else if ( blkWh <= 12 ) {
            if ( d >= 40 ) strength = 1
       } else if ( blkWh <= 16 ) {
            if ( d >= 40 ) strength = 1
       } else if ( blkWh <= 24 ) {
            if ( d >= 8 ) strength = 1
            if ( d >= 16 ) strength = 2
            if ( d >= 32 ) strength = 3
       } else if ( blkWh <= 32 ) {
            strength = 1
            if ( d >= 4 ) strength = 2
            if ( d >= 32 ) strength = 3
       } else {
            strength = 3
       }
   } else {
       if ( blkWh <= 8 ) {
            if ( d >= 40 ) strength = 1
            if ( d >= 64 ) strength = 2
       } else if ( blkWh <= 16 ) {
            if ( d >= 20 ) strength = 1
            if ( d >= 48 ) strength = 2
       } else if ( blkWh <= 24 ) {
            if ( d >= 4 ) strength = 3
       } else {
            strength = 3
       }
   }



7.11.2.10. Intra edge upsample selection process
The inputs to this process are:

      • a variable w containing the width of the transform in samples,


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      • a variable h containing the height of the transform in samples,

      • a variable filterType that is 0 or 1 that controls the strength of filtering,

      • a variable delta containing an angle difference in degrees.

The output is a flag useUpsample that is true if upsampling should be applied to the edge.

The variable d is set equal to Abs( delta ).

The variable blkWh (containing the sum of the dimensions) is set equal to w + h.

The output variable useUpsample is specified as follows:


   if ( d <= 0 || d >= 40 ) {
       useUpsample = 0
   } else if ( filterType == 0 ) {
       useUpsample = (blkWh <= 16
                               16))
   } else {
       useUpsample = (blkWh <= 8)
   }



7.11.2.11. Intra edge upsample process
The inputs to this process are:

      • a variable numPx specifying the number of samples to filter,

      • a variable dir containing 0 when filtering the above samples, and 1 when filtering the left samples.

The output of this process are upsampled samples in the AboveRow and LeftCol arrays.

The variable buf is set depending on dir:

      • If dir is equal to 0, buf is set equal to a reference to AboveRow.

      • Otherwise (dir is equal to 1), buf is set equal to a reference to LeftCol.


   Note: buf is a reference to either AboveRow or LeftCol. “reference” indicates that modifying values in buf modifies
   values in the original array.


When the process starts, entries -1 to numPx-1 are valid in buf and contain the original values. When the process
completes, entries -2 to 2*numPx-2 are valid in buf and contain the upsampled values.

An array dup of length numPx+3 is generated by extending buf by one sample at the start and end as follows:




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   dup[[ 0 ] = buf[[ -1 ]
   for ( i = -1; i < numPx;; i++++ ) {
        dup[[ i + 2 ] = buf[[ i ]
   }
   dup[[ numPx + 2 ] = buf[[ numPx - 1 ]


The upsampling process (modifying values in buf) is specified as follows:


   buf[[-2] = dup[[0]
   for ( i = 0; i < numPx;; i++ ++ ) {
        s = -dup[[i]] + (9 * dup[[i + 1]) + (9 * dup[[i + 2]) - dup[[i + 3]
        s = Clip1(( Round2((s,, 4) )
        buf[[ 2 * i - 1 ] = s
        buf[[ 2 * i ] = dup[[i + 2]
   }



7.11.2.12. Intra edge filter process
The inputs to this process are:

       • a size sz (sz will always be less than or equal to 129),

       • a filter strength strength between 0 and 3 inclusive,

       • an edge direction left (when equal to 1, it specifies a vertical edge; when equal to 0, it specifies a horizontal
         edge.

The process filters the LeftCol (if left is equal to 1) or AboveRow (if left is equal to 0) arrays.

If strength is equal to 0, the process returns without doing anything.

The array edge is derived by setting edge[ i ] equal to ( left ? LeftCol[ i - 1 ] : AboveRow[ i - 1 ] ) for i = 0..sz-1.

Otherwise (strength is not equal to 0), the following ordered steps apply for i = 1..sz-1:

     1. The variable s is set equal to 0.

     2. The following steps now apply for j = 0..INTRA_EDGE_TAPS-1.

         a. The variable k is set equal to Clip3( 0, sz - 1, i - 2 + j ).

         b. The variable s is incremented by Intra_Edge_Kernel[ strength - 1 ][ j ] * edge[ k ].

     3. If left is equal to 1, LeftCol[ i - 1 ] is set equal to ( s + 8 ) >> 4.

     4. If left is equal to 0, AboveRow[ i - 1 ] is set equal to ( s + 8 ) >> 4.




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The array Intra_Edge_Kernel is specified as follows:


   Intra_Edge_Kernel[[INTRA_EDGE_KERNELS][
                                        ][INTRA_EDGE_TAPS]] = {
     { 0, 4, 8, 4, 0 },
     { 0, 5, 6, 5, 0 },
     { 2, 4, 4, 4, 2 }
   }



7.11.3. Inter prediction process
7.11.3.1. General
The inter prediction process is invoked for inter coded blocks and interintra blocks. The inputs to this process are:

      • a variable plane specifying which plane is being predicted,

      • variables x and y specifying the location of the top left sample in the CurrFrame[ plane ] array of the region to be
        predicted,

      • variables w and h specifying the width and height of the region to be predicted,

      • variables candRow and candCol specifying the location (in units of 4x4 blocks) of the motion vector information
        to be used.

The outputs of this process are predicted samples in the current frame CurrFrame.

This process is triggered by a function call to predict_inter.

The variable isCompound is set equal to RefFrames[ candRow ][ candCol ][ 1 ] > INTRA_FRAME.

The prediction arrays are formed by the following ordered steps:

     1. The rounding variables derivation process specified in section 7.11.3.2 is invoked with the variable isCompound
        as input.

     2. If plane is equal to 0 and motion_mode is equal to LOCALWARP, the warp estimation process in section
        7.11.3.8 is invoked.

     3. If plane is equal to 0 and motion_mode is equal to LOCALWARP and LocalValid is equal to 1, the setup shear
        process specified in section 7.11.3.6 is invoked with LocalWarpParams as input, and the output warpValid is
        assigned to LocalValid (the other outputs are discarded).

     4. The variable refList is set equal to 0.

     5. The variable refFrame is set equal to RefFrames[ candRow ][ candCol ][ refList ].




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    6. If (YMode == GLOBALMV || YMode == GLOBAL_GLOBALMV) and GmType[ refFrame ] > TRANSLATION, the
       setup shear process specified in section 7.11.3.6 is invoked with gm_params[ refFrame ] as input, and the output
       warpValid is assigned to globalValid (the other outputs are discarded).

    7. The variable useWarp (a value of 1 indicates local warping, 2 indicates global warping) is derived as follows:

               ◦ If w < 8 or h < 8, useWarp is set equal to 0.

               ◦ Otherwise, if force_integer_mv is equal to 1, useWarp is set equal to 0.

               ◦ Otherwise, if motion_mode is equal to LOCALWARP and LocalValid is equal to 1, useWarp is set equal
                 to 1.

               ◦ Otherwise, if all of the following are true, useWarp is set equal to 2.

                        ▪ (YMode == GLOBALMV || YMode == GLOBAL_GLOBALMV).

                        ▪ GmType[ refFrame ] > TRANSLATION.

                        ▪ is_scaled( refFrame ) is equal to 0.

                        ▪ globalValid is equal to 1.

               ◦ Otherwise, useWarp is set equal to 0.

    8. The motion vector array mv is set equal to Mvs[ candRow ][ candCol ][ refList ].

    9. The variable refIdx specifying which reference frame is being used is set as follows:

               ◦ If use_intrabc is equal to 0, refIdx is set equal to ref_frame_idx[ refFrame - LAST_FRAME ].

               ◦ Otherwise (use_intrabc is equal to 1), refIdx is set equal to -1 and RefFrameWidth[ -1 ] is set equal to
                 FrameWidth, RefFrameHeight[ -1 ] is set equal to FrameHeight, and RefUpscaledWidth[ -1 ] is set equal
                 to UpscaledWidth. (These values ensure that the motion vector scaling has no effect.)

   10. The motion vector scaling process in section 7.11.3.3 is invoked with plane, refIdx, x, y, mv as inputs and the
       output being the initial location startX, startY, and the step sizes stepX, stepY.

   11. If use_intrabc is equal to 1, RefFrameWidth[ -1 ] is set equal to MiCols * MI_SIZE, RefFrameHeight[ -1 ] is set
       equal to MiRows * MI_SIZE, and RefUpscaledWidth[ -1 ] is set equal to MiCols * MI_SIZE. (These values are
       needed to avoid intrabc prediction being cropped to the frame boundaries.)

   12. If useWarp is not equal to 0, the block warp process in section 7.11.3.5 is invoked with useWarp, plane, refList,
       x, y, i8, j8, w, h as inputs and the output is merged into the 2D array preds[ refList ] for i8 = 0..((h-1) >> 3) and for
       j8 = 0..((w-1) >> 3). (Each invocation fills in a block of output of size w by h at x offset j8 * 8 and y offset i8 * 8.)

   13. If useWarp is equal to 0, the block inter prediction process in section 7.11.3.4 is invoked with plane, refIdx,
       startX, startY, stepX, stepY, w, h, candRow, candCol as inputs and the output is assigned to the 2D array preds[
       refList ].


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    14. If isCompound is equal to 1, then the variable refList is set equal to 1 and steps 5 to 13 are repeated to form the
        prediction for the second reference.

An array named Mask is prepared as follows:

      • If compound_type is equal to COMPOUND_WEDGE and plane is equal to 0, the wedge mask process in section
        7.11.3.11 is invoked with w, h as inputs.

      • Otherwise if compound_type is equal to COMPOUND_INTRA, the intra mode variant mask process in section
        7.11.3.13 is invoked with w, h as inputs.

      • Otherwise if compound_type is equal to COMPOUND_DIFFWTD and plane is equal to 0, the difference weight
        mask process in section 7.11.3.12 is invoked with preds, w, h as inputs.

      • Otherwise, no mask array is needed.

If compound_type is equal to COMPOUND_DISTANCE, the distance weights process in section 7.11.3.15 is invoked with
candRow and candCol as inputs.

The inter predicted samples are then derived as follows:

      • If isCompound is equal to 0 and IsInterIntra is equal to 0, CurrFrame[ plane ][ y + i ][ x + j ] is set equal to Clip1(
        preds[ 0 ][ i ][ j ] ) for i = 0..h-1 and j = 0..w-1.

      • Otherwise if compound_type is equal to COMPOUND_AVERAGE, CurrFrame[ plane ][ y + i ][ x + j ] is set equal
        to Clip1( Round2( preds[ 0 ][ i ][ j ] + preds[ 1 ][ i ][ j ], 1 + InterPostRound ) ) for i = 0..h-1 and j = 0..w-1.

      • Otherwise if compound_type is equal to COMPOUND_DISTANCE, CurrFrame[ plane ][ y + i ][ x + j ] is set equal
        to Clip1( Round2( FwdWeight * preds[ 0 ][ i ][ j ] + BckWeight * preds[ 1 ][ i ][ j ], 4 + InterPostRound ) ) for i =
        0..h-1 and j = 0..w-1.

      • Otherwise, the mask blend process in section 7.11.3.14 is invoked with preds, plane, x, y, w, h as inputs.

If motion_mode is equal to OBMC, the overlapped motion compensation in section 7.11.3.9 is invoked with plane, w, h as
inputs.


7.11.3.2. Rounding variables derivation process
The input to this process is a variable isCompound.

The rounding variables InterRound0, InterRound1, and InterPostRound are derived as follows:

      • InterRound0 (representing the amount to round by after horizontal filtering) is set equal to 3.

      • InterRound1 (representing the amount to round by after vertical filtering) is set equal to ( isCompound ? 7 : 11).

      • If BitDepth is equal to 12, InterRound0 is set equal to InterRound0 + 2.

      • If BitDepth is equal to 12 and isCompound is equal to 0, InterRound1 is set equal to InterRound1 - 2.



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      • InterPostRound (representing the amount to round by at the end of the prediction process) is set equal to 2 *
        FILTER_BITS - ( InterRound0 + InterRound1 ).


   Note: The rounding is chosen to ensure that the output of the horizontal filter always fits within 16 bits.


7.11.3.3. Motion vector scaling process
The inputs to this process are:

      • a variable plane specifying which plane is being predicted,

      • a variable refIdx specifying which reference frame is being used,

      • variables x and y specifying the location of the top left sample in the CurrFrame[ plane ] array of the region to be
        predicted,

      • a variable mv specifying the clamped motion vector (in units of 1/8 th of a luma sample, i.e. with 3 fractional bits).

The outputs of this process are the variables startX and startY giving the reference block location in units of 1/1024 th of a
sample, and variables xStep and yStep giving the step size in units of 1/1024 th of a sample.

This process is responsible for computing the sampling locations in the reference frame based on the motion vector. The
sampling locations are also adjusted to compensate for any difference in the size of the reference frame compared to the
current frame.


   Note: When intra block copy is being used, refIdx will be equal to -1 to signal prediction from the frame currently
   being decoded. The arrays RefFrameWidth, RefFrameHeight, and RefUpscaledWidth include values at index -1
   giving the dimensions of the current frame.


It is a requirement of bitstream conformance that all the following conditions are satisfied:

      • 2 * FrameWidth >= RefUpscaledWidth[ refIdx ]

      • 2 * FrameHeight >= RefFrameHeight[ refIdx ]

      • FrameWidth <= 16 * RefUpscaledWidth[ refIdx ]

      • FrameHeight <= 16 * RefFrameHeight[ refIdx ]

A variable xScale is set equal to ( ( RefUpscaledWidth[ refIdx ] << REF_SCALE_SHIFT ) + ( FrameWidth / 2 ) ) /
FrameWidth.

A variable yScale is set equal to ( ( RefFrameHeight[ refIdx ] << REF_SCALE_SHIFT ) + ( FrameHeight / 2 ) ) /
FrameHeight.




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(xScale and yScale specify the size of the reference frame relative to the current frame in units where (1 << 14) is
equivalent to both frames having the same size.)

The variables subX and subY are set equal to the subsampling for the current plane as follows:

      • If plane is equal to 0, subX is set equal to 0 and subY is set equal to 0.

      • Otherwise, subX is set equal to subsampling_x and subY is set equal to subsampling_y.

The variable halfSample (representing half the size of a sample in units of 1/16 th of a sample) is set equal to ( 1 << (
SUBPEL_BITS - 1 ) ).

The variable origX is set equal to ( (x << SUBPEL_BITS) + ( ( 2 * mv[1] ) >> subX ) + halfSample ).

The variable origY is set equal to ( (y << SUBPEL_BITS) + ( ( 2 * mv[0] ) >> subY ) + halfSample ).

(origX and origY specify the location of the centre of the sample at the top-left corner of the reference block in the current
frame’s coordinate system in units of 1/16 th of a sample, i.e. with SUBPEL_BITS=4 fractional bits.)

The variable baseX is set equal to (origX * xScale - ( halfSample << REF_SCALE_SHIFT ) ).

The variable baseY is set equal to (origY * yScale - ( halfSample << REF_SCALE_SHIFT ) ).

(baseX and baseY specify the location of the top-left corner of the block in the reference frame in the reference frame’s
coordinate system with 18 fractional bits.)

The variable off (containing a rounding offset for the filter tap selection) is set equal to ( ( 1 << (SCALE_SUBPEL_BITS -
SUBPEL_BITS) ) / 2 ).

The output variable startX is set equal to (Round2Signed( baseX, REF_SCALE_SHIFT + SUBPEL_BITS -
SCALE_SUBPEL_BITS) + off).

The output variable startY is set equal to (Round2Signed( baseY, REF_SCALE_SHIFT + SUBPEL_BITS -
SCALE_SUBPEL_BITS) + off).

(startX and startY specify the location of the top-left corner of the block in the reference frame in the reference frame’s
coordinate system with SCALE_SUBPEL_BITS=10 fractional bits.)

The output variable stepX is set equal to Round2Signed( xScale, REF_SCALE_SHIFT - SCALE_SUBPEL_BITS).

The output variable stepY is set equal to Round2Signed( yScale, REF_SCALE_SHIFT - SCALE_SUBPEL_BITS).

(stepX and stepY are the size of one current frame sample in the reference frame’s coordinate system with 10 fractional
bits.)


7.11.3.4. Block inter prediction process
The inputs to this process are:




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      • a variable plane,

      • a variable refIdx specifying which reference frame is being used (or -1 for intra block copy),

      • variables x and y giving the block location with in units of 1/1024 th of a sample,

      • variables xStep and yStep giving the step size in units of 1/1024 th of a sample,

      • variables w and h giving the width and height of the block in units of samples,

      • variables candRow and candCol specifying the location (in units of 4x4 blocks) of the motion vector information
        to be used.

The output from this process is the 2D array named pred containing inter predicted samples.

A variable ref specifying the reference frame contents is set as follows:

      • If refIdx is equal to -1, ref is set equal to CurrFrame.

      • Otherwise (refIdx is greater than or equal to 0), ref is set equal to FrameStore[ refIdx ].

The variables subX and subY are set equal to the subsampling for the current plane as follows:

      • If plane is equal to 0, subX is set equal to 0 and subY is set equal to 0.

      • Otherwise, subX is set equal to subsampling_x and subY is set equal to subsampling_y.

The variable lastX is set equal to ( (RefUpscaledWidth[ refIdx ] + subX) >> subX) - 1.

The variable lastY is set equal to ( (RefFrameHeight[ refIdx ] + subY) >> subY) - 1.

(lastX and lastY specify the coordinates of the bottom right sample of the reference plane.)

The variable intermediateHeight specifying the height required for the intermediate array is set equal to (((h - 1) * yStep +
(1 << SCALE_SUBPEL_BITS) - 1) >> SCALE_SUBPEL_BITS) + 8.

The sub-sample interpolation is effected via two one-dimensional convolutions. First a horizontal filter is used to build up a
temporary array, and then this array is vertically filtered to obtain the final prediction. The fractional parts of the motion
vectors determine the filtering process. If the fractional part is zero, then the filtering is equivalent to a straight sample
copy.

The filtering is applied as follows:

      • The array intermediate is specified as follows:




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           interpFilter = InterpFilters[[ candRow ][ candCol ][ 1 ]
           if ( w <= 4 ) {
               if ( interpFilter == EIGHTTAP || interpFilter == EIGHTTAP_SHARP ) {
                   interpFilter = 4
               } else if ( interpFilter == EIGHTTAP_SMOOTH ) {
                   interpFilter = 5
               }
           }
           for ( r = 0; r < intermediateHeight;; r++++ ) {
               for ( c = 0; c < w;; c++
                                     ++ ) {
                   s = 0
                   p = x + xStep * c
                   for ( t = 0; t < 8; t++++ )
                       s += Subpel_Filters[[ interpFilter ][ (p >> 6) & SUBPEL_MASK ][ t ] *
                         ref[[ plane ] [ Clip3(( 0, lastY,, (y >> 10
                                                                   10)) + r - 3 ) ]
                                        [ Clip3(( 0, lastX,, (p >> 10
                                                                   10)) + t - 3 ) ]
                   intermediate[[ r ][ c ] = Round2((s,, InterRound0))
               }
           }


     • The array pred is specified as follows:


           interpFilter = InterpFilters[[ candRow ][ candCol ][ 0 ]
           if ( h <= 4 ) {
               if ( interpFilter == EIGHTTAP || interpFilter == EIGHTTAP_SHARP ) {
                   interpFilter = 4
               } else if ( interpFilter == EIGHTTAP_SMOOTH ) {
                   interpFilter = 5
               }
           }
           for ( r = 0; r < h;; r++
                                  ++ ) {
               for ( c = 0; c < w;; c++
                                      ++ ) {
                   s = 0
                   p = (y & 1023
                             1023)) + yStep * r
                   for ( t = 0; t < 8; t++++ )
                       s += Subpel_Filters[[ interpFilter ][ (p >> 6) & SUBPEL_MASK ][ t ] *
                          intermediate[[ (p >> 10
                                                10)) + t ][ c ]
                   pred[[ r ][ c ] = Round2((s,, InterRound1))
               }
           }


        where the constant array Subpel_Filters is specified as:




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           Subpel_Filters[[ 6 ][ 16 ][ 8 ] = {
             {
                { 0, 0, 0, 128
                             128,, 0, 0, 0, 0 },
                { 0, 2, -6, 126126,, 8, -2, 0, 0 },
                { 0, 2, -10
                          10,, 122
                                122,, 1818,, -4, 0, 0 },
                { 0, 2, -12
                          12,, 116
                                116,, 2828,, -8, 2, 0 },
                { 0, 2, -14
                          14,, 110
                                110,, 3838,, -10
                                               10,, 2, 0 },
                { 0, 2, -14
                          14,, 102
                                102,, 4848,, -12
                                               12,, 2, 0 },
                { 0, 2, -16
                          16,, 94
                                94,, 58
                                      58,, -1212,, 2, 0 },
                { 0, 2, -14
                          14,, 84
                                84,, 66
                                      66,, -1212,, 2, 0 },
                { 0, 2, -14
                          14,, 76
                                76,, 76
                                      76,, -1414,, 2, 0 },
                { 0, 2, -12
                          12,, 66
                                66,, 84
                                      84,, -1414,, 2, 0 },
                { 0, 2, -12
                          12,, 58
                                58,, 94
                                      94,, -1616,, 2, 0 },
                { 0, 2, -12
                          12,, 48
                                48,, 102
                                      102,, -1414,, 2, 0 },
                { 0, 2, -10
                          10,, 38
                                38,, 110
                                      110,, -1414,, 2, 0 },
                { 0, 2, -8, 28 28,, 116
                                     116,, -1212,, 2, 0 },
                { 0, 0, -4, 18 18,, 122
                                     122,, -1010,, 2, 0 },
                { 0, 0, -2, 8, 126 126,, -6, 2, 0 }
             },
             {
                { 0, 0, 0, 128
                             128,, 0, 0, 0, 0 },
                { 0, 2, 28
                         28,, 62
                               62,, 34
                                     34,, 2, 0, 0 },
                { 0, 0, 26
                         26,, 62
                               62,, 36
                                     36,, 4, 0, 0 },
                { 0, 0, 22
                         22,, 62
                               62,, 40
                                     40,, 4, 0, 0 },
                { 0, 0, 20
                         20,, 60
                               60,, 42
                                     42,, 6, 0, 0 },
                { 0, 0, 18
                         18,, 58
                               58,, 44
                                     44,, 8, 0, 0 },
                { 0, 0, 16
                         16,, 56
                               56,, 46
                                     46,, 10
                                           10,, 0, 0 },
                { 0, -2, 16
                          16,, 54
                                54,, 48
                                      48,, 12
                                            12,, 0, 0 },
                { 0, -2, 14
                          14,, 52
                                52,, 52
                                      52,, 14
                                            14,, -2, 0 },
                { 0, 0, 12
                         12,, 48
                               48,, 54
                                     54,, 16
                                           16,, -2, 0 },
                { 0, 0, 10
                         10,, 46
                               46,, 56
                                     56,, 16
                                           16,, 0, 0 },
                { 0, 0, 8, 4444,, 58
                                   58,, 18
                                         18,, 0, 0 },
                { 0, 0, 6, 4242,, 60
                                   60,, 20
                                         20,, 0, 0 },
                { 0, 0, 4, 4040,, 62
                                   62,, 22
                                         22,, 0, 0 },
                { 0, 0, 4, 3636,, 62
                                   62,, 26
                                         26,, 0, 0 },
                { 0, 0, 2, 3434,, 62
                                   62,, 28
                                         28,, 2, 0 }
             },
             {
                { 0, 0, 0, 128
                             128,, 0, 0, 0, 0 },
                { -2, 2, -6, 126126,, 8, -2, 2, 0 },
                { -2, 6, -1212,, 124
                                  124,, 16
                                         16,, -6, 4, -2 },
                { -2, 8, -1818,, 120
                                  120,, 26
                                         26,, -1010,, 6, -2 },
                { -4, 10
                      10,, -22
                             22,, 116
                                   116,, 3838,, -14
                                                  14,, 6, -2 },
                { -4, 10
                      10,, -22
                             22,, 108
                                   108,, 4848,, -18
                                                  18,, 8, -2 },
                { -4, 10
                      10,, -24
                             24,, 100
                                   100,, 6060,, -20
                                                  20,, 8, -2 },
                { -4, 10
                      10,, -24
                             24,, 90
                                   90,, 70
                                         70,, -2222,, 10
                                                      10,, -2 },
                { -4, 12
                      12,, -24
                             24,, 80
                                   80,, 80
                                         80,, -2424,, 12
                                                      12,, -4 },
                { -2, 10
                      10,, -22
                             22,, 70
                                   70,, 90
                                         90,, -2424,, 10
                                                      10,, -4 },
                { -2, 8, -2020,, 60
                                  60,, 100
                                        100,, -2424,, 10
                                                      10,, -4 },
                { -2, 8, -1818,, 48
                                  48,, 108
                                        108,, -2222,, 10
                                                      10,, -4 },




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                { -2, 6, -14
                           14,, 38
                                 38,, 116
                                       116,, -2222,, 10
                                                     10,, -4 },
                { -2, 6, -10
                           10,, 26
                                 26,, 120
                                       120,, -1818,, 8, -2 },
                { -2, 4, -6, 1616,, 124
                                     124,, -1212,, 6, -2 },
                { 0, 2, -2, 8, 126126,, -6, 2, -2 }
             },
             {
                { 0, 0, 0, 128
                            128,, 0, 0, 0, 0 },
                { 0, 0, 0, 120
                            120,, 8, 0, 0, 0 },
                { 0, 0, 0, 112
                            112,, 1616,, 0, 0, 0 },
                { 0, 0, 0, 104
                            104,, 2424,, 0, 0, 0 },
                { 0, 0, 0, 96
                            96,, 32
                                  32,, 0, 0, 0 },
                { 0, 0, 0, 88
                            88,, 40
                                  40,, 0, 0, 0 },
                { 0, 0, 0, 80
                            80,, 48
                                  48,, 0, 0, 0 },
                { 0, 0, 0, 72
                            72,, 56
                                  56,, 0, 0, 0 },
                { 0, 0, 0, 64
                            64,, 64
                                  64,, 0, 0, 0 },
                { 0, 0, 0, 56
                            56,, 72
                                  72,, 0, 0, 0 },
                { 0, 0, 0, 48
                            48,, 80
                                  80,, 0, 0, 0 },
                { 0, 0, 0, 40
                            40,, 88
                                  88,, 0, 0, 0 },
                { 0, 0, 0, 32
                            32,, 96
                                  96,, 0, 0, 0 },
                { 0, 0, 0, 24
                            24,, 104
                                  104,, 0, 0, 0 },
                { 0, 0, 0, 16
                            16,, 112
                                  112,, 0, 0, 0 },
                { 0, 0, 0, 8, 120120,, 0, 0, 0 }
             },
             {
                { 0, 0, 0, 128
                            128,, 0, 0, 0, 0 },
                { 0, 0, -4, 126
                              126,, 8, -2, 0, 0 },
                { 0, 0, -8, 122
                              122,, 18
                                     18,, -4, 0, 0 },
                { 0, 0, -10
                         10,, 116
                               116,, 2828,, -6, 0, 0 },
                { 0, 0, -12
                         12,, 110
                               110,, 3838,, -8, 0, 0 },
                { 0, 0, -12
                         12,, 102
                               102,, 4848,, -10
                                              10,, 0, 0 },
                { 0, 0, -14
                         14,, 94
                               94,, 58
                                     58,, -1010,, 0, 0 },
                { 0, 0, -12
                         12,, 84
                               84,, 66
                                     66,, -1010,, 0, 0 },
                { 0, 0, -12
                         12,, 76
                               76,, 76
                                     76,, -1212,, 0, 0 },
                { 0, 0, -10
                         10,, 66
                               66,, 84
                                     84,, -1212,, 0, 0 },
                { 0, 0, -10
                         10,, 58
                               58,, 94
                                     94,, -1414,, 0, 0 },
                { 0, 0, -10
                         10,, 48
                               48,, 102
                                     102,, -1212,, 0, 0 },
                { 0, 0, -8, 3838,, 110
                                    110,, -1212,, 0, 0 },
                { 0, 0, -6, 2828,, 116
                                    116,, -1010,, 0, 0 },
                { 0, 0, -4, 1818,, 122
                                    122,, -8, 0, 0 },
                { 0, 0, -2, 8, 126126,, -4, 0, 0 }
             },
             {
                { 0, 0, 0, 128
                            128,, 0, 0, 0, 0 },
                { 0, 0, 30
                        30,, 62
                              62,, 34
                                    34,, 2, 0, 0 },
                { 0, 0, 26
                        26,, 62
                              62,, 36
                                    36,, 4, 0, 0 },
                { 0, 0, 22
                        22,, 62
                              62,, 40
                                    40,, 4, 0, 0 },
                { 0, 0, 20
                        20,, 60
                              60,, 42
                                    42,, 6, 0, 0 },
                { 0, 0, 18
                        18,, 58
                              58,, 44
                                    44,, 8, 0, 0 },
                { 0, 0, 16
                        16,, 56
                              56,, 46
                                    46,, 10
                                          10,, 0, 0 },
                { 0, 0, 14
                        14,, 54
                              54,, 48
                                    48,, 12
                                          12,, 0, 0 },




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                    { 0, 0, 12
                            12,, 52
                                 52,, 52
                                      52,, 12
                                           12,, 0, 0 },
                    { 0, 0, 12
                            12,, 48
                                 48,, 54
                                      54,, 14
                                           14,, 0, 0 },
                    { 0, 0, 10
                            10,, 46
                                 46,, 56
                                      56,, 16
                                           16,, 0, 0 },
                    { 0, 0, 8, 44
                                44,, 58
                                     58,, 18
                                          18,, 0, 0 },
                    { 0, 0, 6, 42
                                42,, 60
                                     60,, 20
                                          20,, 0, 0 },
                    { 0, 0, 4, 40
                                40,, 62
                                     62,, 22
                                          22,, 0, 0 },
                    { 0, 0, 4, 36
                                36,, 62
                                     62,, 26
                                          26,, 0, 0 },
                    { 0, 0, 2, 34
                                34,, 62
                                     62,, 30
                                          30,, 0, 0 }
                }
            }



   Note: All the values in Subpel_Filters are even. The last two filter types are used for small blocks and only have
   four filter taps. The filter at index 4 has a four tap version of the EIGHTTAP filter. The filter at index 5 has a four tap
   version of the EIGHTAP_SMOOTH filter.


7.11.3.5. Block warp process
The inputs to this process are:

      • a variable useWarp (equal to 1 for local warp, or 2 for global warp),

      • a variable plane,

      • a variable refList specifying that the process should predict from RefFrame[ refList ],

      • variables x and y specifying the location of the top left sample in the CurrFrame[ plane ] array of the region to be
        predicted,

      • variables i8 and j8 specifying the offset (in units of 8 samples) relative to the top left sample,

      • variables w and h giving the width and height of the block in units of samples.

The output from this process is the 2D array named pred containing warped inter predicted samples.

The process only updates a section of the pred array. The size of the updated section is 8x8 samples, clipped to the size
of the block. Variables i8 and j8 give the location of the section to update.

A variable refIdx specifying which reference frame is being used is set equal to ref_frame_idx[ RefFrame[ refList ] -
LAST_FRAME ].

A variable ref specifying the reference frame contents is set equal to FrameStore[ refIdx ].

The variables subX and subY are set equal to the subsampling for the current plane as follows:

      • If plane is equal to 0, subX is set equal to 0 and subY is set equal to 0.

      • Otherwise, subX is set equal to subsampling_x and subY is set equal to subsampling_y.


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The variable lastX is set equal to ( (RefUpscaledWidth[ refIdx ] + subX) >> subX) - 1.

The variable lastY is set equal to ( (RefFrameHeight[ refIdx ] + subY) >> subY) - 1.

(lastX and lastY specify the coordinates of the bottom right sample of the reference plane.)

The variable srcX is set equal to (x + j8 * 8 + 4) << subX.

The variable srcY is set equal to (y + i8 * 8 + 4) << subY.

(srcX and srcY specify a location in the luma plane that will be projected using the warp parameters.)

The array warpParams is specified as follows:

      • If useWarp is equal to 1, warpParams is set equal to LocalWarpParams.

      • Otherwise (useWarp is equal to 2), warpParams is set equal to gm_params[ RefFrame[ refList ] ].

The variable dstX is set equal to warpParams[2] * srcX + warpParams[3] * srcY + warpParams[0].

The variable dstY is set equal to warpParams[4] * srcX + warpParams[5] * srcY + warpParams[1].

(dstX and dstY specify the destination location in the luma plane using WARPEDMODEL_PREC_BITS bits of precision).

The setup shear process specified in section 7.11.3.6 is invoked with warpParams as input, and the outputs are assigned
to warpValid, alpha, beta, gamma, and delta. (warpValid will always be equal to 1 at this point.)

The sub-sample interpolation is effected via two one-dimensional convolutions. First a horizontal filter is used to build up
an intermediate array, and then this array is vertically filtered to obtain the final prediction.

The filtering is applied as follows:

      • The array intermediate is specified as follows:




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           x4 = dstX >> subX
           y4 = dstY >> subY
           ix4 = x4 >> WARPEDMODEL_PREC_BITS
           sx4 = x4 & ((
                      ((11 << WARPEDMODEL_PREC_BITS)) - 1)
           iy4 = y4 >> WARPEDMODEL_PREC_BITS
           sy4 = y4 & ((
                      ((11 << WARPEDMODEL_PREC_BITS)) - 1)

           for ( i1 = -7; i1 < 8; i1++++ ) {
               for ( i2 = -4; i2 < 4; i2++++ ) {
                   sx = sx4 + alpha * i2 + beta * i1
                   offs = Round2((sx,, WARPEDDIFF_PREC_BITS)) + WARPEDPIXEL_PREC_SHIFTS
                   s = 0
                   for ( i3 = 0; i3 < 8; i3++++ ) {
                       s += Warped_Filters[[ offs ][ i3 ] *
                         ref[[ plane ][ Clip3(( 0, lastY,, iy4 + i1 ) ]
                                       [ Clip3(( 0, lastX,, ix4 + i2 - 3 + i3 ) ]
                   }
                   intermediate[(
                                [(i1 + 7)][(
                                         )][(i2 + 4)] = Round2((s,, InterRound0))
               }
           }


     • The array pred is specified as follows:


           for ( i1 = -4; i1 < Min((4, h - i8 * 8 - 4); i1++++ ) {
               for ( i2 = -4; i2 < Min((4, w - j8 * 8 - 4); i2++++ ) {
                   sy = sy4 + gamma * i2 + delta * i1
                   offs = Round2((sy,, WARPEDDIFF_PREC_BITS)) + WARPEDPIXEL_PREC_SHIFTS
                   s = 0
                   for ( i3 = 0; i3 < 8; i3++++ ) {
                       s += Warped_Filters[[offs][
                                                 ][i3]] *
                             intermediate[(
                                          [(i1 + i3 + 4)][(
                                                        )][(i2 + 4)]
                   }
                   pred[[ i8 * 8 + i1 + 4 ][ j8 * 8 + i2 + 4 ] = Round2((s,, InterRound1))
               }
           }


        where the constant array Warped_Filters is specified as:




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           Warped_Filters[[WARPEDPIXEL_PREC_SHIFTS * 3 + 1][ ][88] = {
               { 0,   0, 127
                          127,, 1,      0, 0, 0, 0 }, { 0, - 1, 127
                                                                  127,, 2,      0, 0, 0, 0 },
               { 1, - 3, 127
                          127,, 4, - 1, 0, 0, 0 }, { 1, - 4, 126  126,, 6, - 2, 1, 0, 0 },
               { 1, - 5, 126
                          126,, 8, - 3, 1, 0, 0 }, { 1, - 6, 125  125,, 11
                                                                         11,, - 4, 1, 0, 0 },
               { 1, - 7, 124
                          124,, 13
                                 13,, - 4, 1, 0, 0 }, { 2, - 8, 123
                                                                  123,, 15
                                                                         15,, - 5, 1, 0, 0 },
               { 2, - 9, 122
                          122,, 18
                                 18,, - 6, 1, 0, 0 }, { 2, -10
                                                             10,, 121
                                                                  121,, 20
                                                                         20,, - 6, 1, 0, 0 },
               { 2, -11
                     11,, 120
                          120,, 22
                                 22,, - 7, 2, 0, 0 }, { 2, -12
                                                             12,, 119
                                                                  119,, 25
                                                                         25,, - 8, 2, 0, 0 },
               { 3, -13
                     13,, 117
                          117,, 27
                                 27,, - 8, 2, 0, 0 }, { 3, -13
                                                             13,, 116
                                                                  116,, 29
                                                                         29,, - 9, 2, 0, 0 },
               { 3, -14
                     14,, 114
                          114,, 32
                                 32,, -10
                                       10,, 3, 0, 0 }, { 3, -15
                                                             15,, 113
                                                                  113,, 35
                                                                         35,, -10
                                                                               10,, 2, 0, 0 },
               { 3, -15
                     15,, 111
                          111,, 37
                                 37,, -11
                                       11,, 3, 0, 0 }, { 3, -16
                                                             16,, 109
                                                                  109,, 40
                                                                         40,, -11
                                                                               11,, 3, 0, 0 },
               { 3, -16
                     16,, 108
                          108,, 42
                                 42,, -12
                                       12,, 3, 0, 0 }, { 4, -17
                                                             17,, 106
                                                                  106,, 45
                                                                         45,, -13
                                                                               13,, 3, 0, 0 },
               { 4, -17
                     17,, 104
                          104,, 47
                                 47,, -13
                                       13,, 3, 0, 0 }, { 4, -17
                                                             17,, 102
                                                                  102,, 50
                                                                         50,, -14
                                                                               14,, 3, 0, 0 },
               { 4, -17
                     17,, 100
                          100,, 52
                                 52,, -14
                                       14,, 3, 0, 0 }, { 4, -18
                                                             18,, 98
                                                                   98,, 55
                                                                         55,, -15
                                                                               15,, 4, 0, 0 },
               { 4, -18
                     18,, 96
                           96,, 58
                                 58,, -15
                                       15,, 3, 0, 0 }, { 4, -18
                                                             18,, 94
                                                                   94,, 60
                                                                         60,, -16
                                                                               16,, 4, 0, 0 },
               { 4, -18
                     18,, 91
                           91,, 63
                                 63,, -16
                                       16,, 4, 0, 0 }, { 4, -18
                                                             18,, 89
                                                                   89,, 65
                                                                         65,, -16
                                                                               16,, 4, 0, 0 },
               { 4, -18
                     18,, 87
                           87,, 68
                                 68,, -17
                                       17,, 4, 0, 0 }, { 4, -18
                                                             18,, 85
                                                                   85,, 70
                                                                         70,, -17
                                                                               17,, 4, 0, 0 },
               { 4, -18
                     18,, 82
                           82,, 73
                                 73,, -17
                                       17,, 4, 0, 0 }, { 4, -18
                                                             18,, 80
                                                                   80,, 75
                                                                         75,, -17
                                                                               17,, 4, 0, 0 },
               { 4, -18
                     18,, 78
                           78,, 78
                                 78,, -18
                                       18,, 4, 0, 0 }, { 4, -17
                                                             17,, 75
                                                                   75,, 80
                                                                         80,, -18
                                                                               18,, 4, 0, 0 },
               { 4, -17
                     17,, 73
                           73,, 82
                                 82,, -18
                                       18,, 4, 0, 0 }, { 4, -17
                                                             17,, 70
                                                                   70,, 85
                                                                         85,, -18
                                                                               18,, 4, 0, 0 },
               { 4, -17
                     17,, 68
                           68,, 87
                                 87,, -18
                                       18,, 4, 0, 0 }, { 4, -16
                                                             16,, 65
                                                                   65,, 89
                                                                         89,, -18
                                                                               18,, 4, 0, 0 },
               { 4, -16
                     16,, 63
                           63,, 91
                                 91,, -18
                                       18,, 4, 0, 0 }, { 4, -16
                                                             16,, 60
                                                                   60,, 94
                                                                         94,, -18
                                                                               18,, 4, 0, 0 },
               { 3, -15
                     15,, 58
                           58,, 96
                                 96,, -18
                                       18,, 4, 0, 0 }, { 4, -15
                                                             15,, 55
                                                                   55,, 98
                                                                         98,, -18
                                                                               18,, 4, 0, 0 },
               { 3, -14
                     14,, 52
                           52,, 100
                                100,, -17
                                       17,, 4, 0, 0 }, { 3, -14
                                                             14,, 50
                                                                   50,, 102
                                                                        102,, -17
                                                                               17,, 4, 0, 0 },
               { 3, -13
                     13,, 47
                           47,, 104
                                104,, -17
                                       17,, 4, 0, 0 }, { 3, -13
                                                             13,, 45
                                                                   45,, 106
                                                                        106,, -17
                                                                               17,, 4, 0, 0 },
               { 3, -12
                     12,, 42
                           42,, 108
                                108,, -16
                                       16,, 3, 0, 0 }, { 3, -11
                                                             11,, 40
                                                                   40,, 109
                                                                        109,, -16
                                                                               16,, 3, 0, 0 },
               { 3, -11
                     11,, 37
                           37,, 111
                                111,, -15
                                       15,, 3, 0, 0 }, { 2, -10
                                                             10,, 35
                                                                   35,, 113
                                                                        113,, -15
                                                                               15,, 3, 0, 0 },
               { 3, -10
                     10,, 32
                           32,, 114
                                114,, -14
                                       14,, 3, 0, 0 }, { 2, - 9, 2929,, 116
                                                                        116,, -13
                                                                               13,, 3, 0, 0 },
               { 2, - 8, 2727,, 117
                                117,, -13
                                       13,, 3, 0, 0 }, { 2, - 8, 2525,, 119
                                                                        119,, -12
                                                                               12,, 2, 0, 0 },
               { 2, - 7, 2222,, 120
                                120,, -11
                                       11,, 2, 0, 0 }, { 1, - 6, 2020,, 121
                                                                        121,, -10
                                                                               10,, 2, 0, 0 },
               { 1, - 6, 1818,, 122
                                122,, - 9, 2, 0, 0 }, { 1, - 5, 15 15,, 123
                                                                        123,, - 8, 2, 0, 0 },
               { 1, - 4, 1313,, 124
                                124,, - 7, 1, 0, 0 }, { 1, - 4, 11 11,, 125
                                                                        125,, - 6, 1, 0, 0 },
               { 1, - 3,    8, 126
                                126,, - 5, 1, 0, 0 }, { 1, - 2,     6, 126
                                                                        126,, - 4, 1, 0, 0 },
               { 0, - 1,    4, 127
                                127,, - 3, 1, 0, 0 }, { 0,    0,    2, 127
                                                                        127,, - 1, 0, 0, 0 },

               { 0,   0,   0, 127
                               127,,    1,    0,    0, 0}, { 0,    0, -1, 127
                                                                            127,,    2,    0,    0, 0},
               { 0,   1, -3, 127
                               127,,    4, -2,      1, 0}, { 0,    1, -5, 127
                                                                            127,,    6, -2,      1, 0},
               { 0,   2, -6, 126
                               126,,    8, -3,      1, 0}, {-1,    2, -7, 126
                                                                            126,,   11
                                                                                    11,, -4,     2, -1},
               {-1,   3, -8, 125
                               125,,   13
                                       13,, -5,     2, -1}, {-1,   3, -10
                                                                       10,, 124
                                                                            124,,   16
                                                                                    16,, -6,     3, -1},
               {-1,   4, -11
                          11,, 123
                               123,,   18
                                       18,, -7,     3, -1}, {-1,   4, -12
                                                                       12,, 122
                                                                            122,,   20
                                                                                    20,, -7,     3, -1},
               {-1,   4, -13
                          13,, 121
                               121,,   23
                                       23,, -8,     3, -1}, {-2,   5, -14
                                                                       14,, 120
                                                                            120,,   25
                                                                                    25,, -9,     4, -1},
               {-1,   5, -15
                          15,, 119
                               119,,   27
                                       27,, -10
                                             10,,   4, -1}, {-1,   5, -16
                                                                       16,, 118
                                                                            118,,   30
                                                                                    30,, -11
                                                                                          11,,   4, -1},
               {-2,   6, -17
                          17,, 116
                               116,,   33
                                       33,, -12
                                             12,,   5, -1}, {-2,   6, -17
                                                                       17,, 114
                                                                            114,,   35
                                                                                    35,, -12
                                                                                          12,,   5, -1},
               {-2,   6, -18
                          18,, 113
                               113,,   38
                                       38,, -13
                                             13,,   5, -1}, {-2,   7, -19
                                                                       19,, 111
                                                                            111,,   41
                                                                                    41,, -14
                                                                                          14,,   6, -2},
               {-2,   7, -19
                          19,, 110
                               110,,   43
                                       43,, -15
                                             15,,   6, -2}, {-2,   7, -20
                                                                       20,, 108
                                                                            108,,   46
                                                                                    46,, -15
                                                                                          15,,   6, -2},
               {-2,   7, -20
                          20,, 106
                               106,,   49
                                       49,, -16
                                             16,,   6, -2}, {-2,   7, -21
                                                                       21,, 104
                                                                            104,,   51
                                                                                    51,, -16
                                                                                          16,,   7, -2},
               {-2,   7, -21
                          21,, 102
                               102,,   54
                                       54,, -17
                                             17,,   7, -2}, {-2,   8, -21
                                                                       21,, 100
                                                                            100,,   56
                                                                                    56,, -18
                                                                                          18,,   7, -2},
               {-2,   8, -22
                          22,, 98
                                98,,   59
                                       59,, -18
                                             18,,   7, -2}, {-2,   8, -22
                                                                       22,, 96
                                                                             96,,   62
                                                                                    62,, -19
                                                                                          19,,   7, -2},
               {-2,   8, -22
                          22,, 94
                                94,,   64
                                       64,, -19
                                             19,,   7, -2}, {-2,   8, -22
                                                                       22,, 91
                                                                             91,,   67
                                                                                    67,, -20
                                                                                          20,,   8, -2},
               {-2,   8, -22
                          22,, 89
                                89,,   69
                                       69,, -20
                                             20,,   8, -2}, {-2,   8, -22
                                                                       22,, 87
                                                                             87,,   72
                                                                                    72,, -21
                                                                                          21,,   8, -2},
               {-2,   8, -21
                          21,, 84
                                84,,   74
                                       74,, -21
                                             21,,   8, -2}, {-2,   8, -22
                                                                       22,, 82
                                                                             82,,   77
                                                                                    77,, -21
                                                                                          21,,   8, -2},




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               {-2,   8, -21
                          21,,   79
                                 79,, 79
                                       79,, -21
                                             21,,   8, -2}, {-2,   8, -21
                                                                       21,,   77
                                                                              77,, 82
                                                                                    82,, -22
                                                                                          22,,   8, -2},
               {-2,   8, -21
                          21,,   74
                                 74,, 84
                                       84,, -21
                                             21,,   8, -2}, {-2,   8, -21
                                                                       21,,   72
                                                                              72,, 87
                                                                                    87,, -22
                                                                                          22,,   8, -2},
               {-2,   8, -20
                          20,,   69
                                 69,, 89
                                       89,, -22
                                             22,,   8, -2}, {-2,   8, -20
                                                                       20,,   67
                                                                              67,, 91
                                                                                    91,, -22
                                                                                          22,,   8, -2},
               {-2,   7, -19
                          19,,   64
                                 64,, 94
                                       94,, -22
                                             22,,   8, -2}, {-2,   7, -19
                                                                       19,,   62
                                                                              62,, 96
                                                                                    96,, -22
                                                                                          22,,   8, -2},
               {-2,   7, -18
                          18,,   59
                                 59,, 98
                                       98,, -22
                                             22,,   8, -2}, {-2,   7, -18
                                                                       18,,   56
                                                                              56,, 100
                                                                                   100,, -21
                                                                                          21,,   8, -2},
               {-2,   7, -17
                          17,,   54
                                 54,, 102
                                      102,, -21
                                             21,,   7, -2}, {-2,   7, -16
                                                                       16,,   51
                                                                              51,, 104
                                                                                   104,, -21
                                                                                          21,,   7, -2},
               {-2,   6, -16
                          16,,   49
                                 49,, 106
                                      106,, -20
                                             20,,   7, -2}, {-2,   6, -15
                                                                       15,,   46
                                                                              46,, 108
                                                                                   108,, -20
                                                                                          20,,   7, -2},
               {-2,   6, -15
                          15,,   43
                                 43,, 110
                                      110,, -19
                                             19,,   7, -2}, {-2,   6, -14
                                                                       14,,   41
                                                                              41,, 111
                                                                                   111,, -19
                                                                                          19,,   7, -2},
               {-1,   5, -13
                          13,,   38
                                 38,, 113
                                      113,, -18
                                             18,,   6, -2}, {-1,   5, -12
                                                                       12,,   35
                                                                              35,, 114
                                                                                   114,, -17
                                                                                          17,,   6, -2},
               {-1,   5, -12
                          12,,   33
                                 33,, 116
                                      116,, -17
                                             17,,   6, -2}, {-1,   4, -11
                                                                       11,,   30
                                                                              30,, 118
                                                                                   118,, -16
                                                                                          16,,   5, -1},
               {-1,   4, -10
                          10,,   27
                                 27,, 119
                                      119,, -15
                                             15,,   5, -1}, {-1,   4, -9,     25
                                                                              25,, 120
                                                                                   120,, -14
                                                                                          14,,   5, -2},
               {-1,   3, -8,     23
                                 23,, 121
                                      121,, -13
                                             13,,   4, -1}, {-1,   3, -7,     20
                                                                              20,, 122
                                                                                   122,, -12
                                                                                          12,,   4, -1},
               {-1,   3, -7,     18
                                 18,, 123
                                      123,, -11
                                             11,,   4, -1}, {-1,   3, -6,     16
                                                                              16,, 124
                                                                                   124,, -10
                                                                                          10,,   3, -1},
               {-1,   2, -5,     13
                                 13,, 125
                                      125,, -8,     3, -1}, {-1,   2, -4,     11
                                                                              11,, 126
                                                                                   126,, -7,     2, -1},
               { 0,   1, -3,      8, 126
                                      126,, -6,     2, 0}, { 0,    1, -2,      6, 127
                                                                                   127,, -5,     1, 0},
               { 0,   1, -2,      4, 127
                                      127,, -3,     1, 0}, { 0,    0,   0,     2, 127
                                                                                   127,, -1,     0, 0},

               { 0, 0, 0,   1, 127
                                127,, 0,      0, 0 }, { 0, 0, 0, - 1, 127
                                                                        127,, 2,      0, 0 },
               { 0, 0, 1, - 3, 127
                                127,, 4, - 1, 0 }, { 0, 0, 1, - 4, 126  126,, 6, - 2, 1 },
               { 0, 0, 1, - 5, 126
                                126,, 8, - 3, 1 }, { 0, 0, 1, - 6, 125  125,, 11
                                                                               11,, - 4, 1 },
               { 0, 0, 1, - 7, 124
                                124,, 13
                                       13,, - 4, 1 }, { 0, 0, 2, - 8, 123
                                                                        123,, 15
                                                                               15,, - 5, 1 },
               { 0, 0, 2, - 9, 122
                                122,, 18
                                       18,, - 6, 1 }, { 0, 0, 2, -10
                                                                   10,, 121
                                                                        121,, 20
                                                                               20,, - 6, 1 },
               { 0, 0, 2, -11
                           11,, 120
                                120,, 22
                                       22,, - 7, 2 }, { 0, 0, 2, -12
                                                                   12,, 119
                                                                        119,, 25
                                                                               25,, - 8, 2 },
               { 0, 0, 3, -13
                           13,, 117
                                117,, 27
                                       27,, - 8, 2 }, { 0, 0, 3, -13
                                                                   13,, 116
                                                                        116,, 29
                                                                               29,, - 9, 2 },
               { 0, 0, 3, -14
                           14,, 114
                                114,, 32
                                       32,, -10
                                             10,, 3 }, { 0, 0, 3, -15
                                                                   15,, 113
                                                                        113,, 35
                                                                               35,, -10
                                                                                     10,, 2 },
               { 0, 0, 3, -15
                           15,, 111
                                111,, 37
                                       37,, -11
                                             11,, 3 }, { 0, 0, 3, -16
                                                                   16,, 109
                                                                        109,, 40
                                                                               40,, -11
                                                                                     11,, 3 },
               { 0, 0, 3, -16
                           16,, 108
                                108,, 42
                                       42,, -12
                                             12,, 3 }, { 0, 0, 4, -17
                                                                   17,, 106
                                                                        106,, 45
                                                                               45,, -13
                                                                                     13,, 3 },
               { 0, 0, 4, -17
                           17,, 104
                                104,, 47
                                       47,, -13
                                             13,, 3 }, { 0, 0, 4, -17
                                                                   17,, 102
                                                                        102,, 50
                                                                               50,, -14
                                                                                     14,, 3 },
               { 0, 0, 4, -17
                           17,, 100
                                100,, 52
                                       52,, -14
                                             14,, 3 }, { 0, 0, 4, -18
                                                                   18,, 98
                                                                         98,, 55
                                                                               55,, -15
                                                                                     15,, 4 },
               { 0, 0, 4, -18
                           18,, 96
                                 96,, 58
                                       58,, -15
                                             15,, 3 }, { 0, 0, 4, -18
                                                                   18,, 94
                                                                         94,, 60
                                                                               60,, -16
                                                                                     16,, 4 },
               { 0, 0, 4, -18
                           18,, 91
                                 91,, 63
                                       63,, -16
                                             16,, 4 }, { 0, 0, 4, -18
                                                                   18,, 89
                                                                         89,, 65
                                                                               65,, -16
                                                                                     16,, 4 },
               { 0, 0, 4, -18
                           18,, 87
                                 87,, 68
                                       68,, -17
                                             17,, 4 }, { 0, 0, 4, -18
                                                                   18,, 85
                                                                         85,, 70
                                                                               70,, -17
                                                                                     17,, 4 },
               { 0, 0, 4, -18
                           18,, 82
                                 82,, 73
                                       73,, -17
                                             17,, 4 }, { 0, 0, 4, -18
                                                                   18,, 80
                                                                         80,, 75
                                                                               75,, -17
                                                                                     17,, 4 },
               { 0, 0, 4, -18
                           18,, 78
                                 78,, 78
                                       78,, -18
                                             18,, 4 }, { 0, 0, 4, -17
                                                                   17,, 75
                                                                         75,, 80
                                                                               80,, -18
                                                                                     18,, 4 },
               { 0, 0, 4, -17
                           17,, 73
                                 73,, 82
                                       82,, -18
                                             18,, 4 }, { 0, 0, 4, -17
                                                                   17,, 70
                                                                         70,, 85
                                                                               85,, -18
                                                                                     18,, 4 },
               { 0, 0, 4, -17
                           17,, 68
                                 68,, 87
                                       87,, -18
                                             18,, 4 }, { 0, 0, 4, -16
                                                                   16,, 65
                                                                         65,, 89
                                                                               89,, -18
                                                                                     18,, 4 },
               { 0, 0, 4, -16
                           16,, 63
                                 63,, 91
                                       91,, -18
                                             18,, 4 }, { 0, 0, 4, -16
                                                                   16,, 60
                                                                         60,, 94
                                                                               94,, -18
                                                                                     18,, 4 },
               { 0, 0, 3, -15
                           15,, 58
                                 58,, 96
                                       96,, -18
                                             18,, 4 }, { 0, 0, 4, -15
                                                                   15,, 55
                                                                         55,, 98
                                                                               98,, -18
                                                                                     18,, 4 },
               { 0, 0, 3, -14
                           14,, 52
                                 52,, 100
                                      100,, -17
                                             17,, 4 }, { 0, 0, 3, -14
                                                                   14,, 50
                                                                         50,, 102
                                                                              102,, -17
                                                                                     17,, 4 },
               { 0, 0, 3, -13
                           13,, 47
                                 47,, 104
                                      104,, -17
                                             17,, 4 }, { 0, 0, 3, -13
                                                                   13,, 45
                                                                         45,, 106
                                                                              106,, -17
                                                                                     17,, 4 },
               { 0, 0, 3, -12
                           12,, 42
                                 42,, 108
                                      108,, -16
                                             16,, 3 }, { 0, 0, 3, -11
                                                                   11,, 40
                                                                         40,, 109
                                                                              109,, -16
                                                                                     16,, 3 },
               { 0, 0, 3, -11
                           11,, 37
                                 37,, 111
                                      111,, -15
                                             15,, 3 }, { 0, 0, 2, -10
                                                                   10,, 35
                                                                         35,, 113
                                                                              113,, -15
                                                                                     15,, 3 },
               { 0, 0, 3, -10
                           10,, 32
                                 32,, 114
                                      114,, -14
                                             14,, 3 }, { 0, 0, 2, - 9, 2929,, 116
                                                                              116,, -13
                                                                                     13,, 3 },
               { 0, 0, 2, - 8, 2727,, 117
                                      117,, -13
                                             13,, 3 }, { 0, 0, 2, - 8, 2525,, 119
                                                                              119,, -12
                                                                                     12,, 2 },
               { 0, 0, 2, - 7, 2222,, 120
                                      120,, -11
                                             11,, 2 }, { 0, 0, 1, - 6, 2020,, 121
                                                                              121,, -10
                                                                                     10,, 2 },
               { 0, 0, 1, - 6, 1818,, 122
                                      122,, - 9, 2 }, { 0, 0, 1, - 5, 15 15,, 123
                                                                              123,, - 8, 2 },
               { 0, 0, 1, - 4, 1313,, 124
                                      124,, - 7, 1 }, { 0, 0, 1, - 4, 11 11,, 125
                                                                              125,, - 6, 1 },
               { 0, 0, 1, - 3,    8, 126
                                      126,, - 5, 1 }, { 0, 0, 1, - 2,     6, 126
                                                                              126,, - 4, 1 },
               { 0, 0, 0, - 1,    4, 127
                                      127,, - 3, 1 }, { 0, 0, 0,    0,    2, 127
                                                                              127,, - 1, 0 },




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                 { 0, 0, 0,      0,    2, 127
                                          127,, - 1, 0 }
            }



7.11.3.6. Setup shear process
The input for this process is an array warpParams representing an affine transformation.

The outputs from this process are the variable warpValid and variables alpha, beta, gamma, delta representing two
shearing operations that combine to make the full affine transformation.

The variable alpha0 is set equal to Clip3( -32768, 32767, warpParams[ 2 ] - (1 << WARPEDMODEL_PREC_BITS) ).

The variable beta0 is set equal to Clip3( -32768, 32767, warpParams[ 3 ] ).

The resolve divisor process specified in section 7.11.3.7 is invoked with warpParams[ 2 ] as input, and the outputs
assigned to divShift and divFactor.

The variable v is set equal to ( warpParams[ 4 ] << WARPEDMODEL_PREC_BITS ).

The variable gamma0 is set equal to Clip3( -32768, 32767, Round2Signed( v * divFactor, divShift ) ).

The variable w is set equal to ( warpParams[ 3 ] * warpParams[ 4 ] ).

The variable delta0 is set equal to Clip3( -32768, 32767, warpParams[ 5 ] - Round2Signed( w * divFactor, divShift ) - (1 <<
WARPEDMODEL_PREC_BITS) ).

The output variables alpha, beta, gamma, delta are set as follows:


   alpha = Round2Signed(( alpha0,, WARP_PARAM_REDUCE_BITS ) << WARP_PARAM_REDUCE_BITS
   beta = Round2Signed(( beta0,, WARP_PARAM_REDUCE_BITS ) << WARP_PARAM_REDUCE_BITS
   gamma = Round2Signed(( gamma0,, WARP_PARAM_REDUCE_BITS ) << WARP_PARAM_REDUCE_BITS
   delta = Round2Signed(( delta0,, WARP_PARAM_REDUCE_BITS ) << WARP_PARAM_REDUCE_BITS


The output warpValid is set as follows:

      • If 4 * Abs( alpha ) + 7 * Abs( beta ) is greater than or equal to (1 << WARPEDMODEL_PREC_BITS), warpValid
        is set equal to 0.

      • If 4 * Abs( gamma ) + 4 * Abs( delta ) is greater than or equal to (1 << WARPEDMODEL_PREC_BITS),
        warpValid is set equal to 0.

      • Otherwise, warpValid is set equal to 1.


7.11.3.7. Resolve divisor process
The input for this process is a variable d.



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The outputs for this process are variables divShift and divFactor that can be used to perform an approximate division by d
via multiplying by divFactor and shifting right by divShift.

The variable n (representing the location of the most signficant bit in Abs(d) ) is set equal to FloorLog2( Abs(d) ).

The variable e is set equal to Abs( d ) - ( 1 << n ).

The variable f is set as follows:

      • If n > DIV_LUT_BITS, f is set equal to Round2( e, n - DIV_LUT_BITS ).

      • Otherwise, f is set equal to e << ( DIV_LUT_BITS - n ).

The output variable divShift is set equal to ( n + DIV_LUT_PREC_BITS ).

The output variable divFactor is set as follows:

      • If d is less than 0, divFactor is set equal to -Div_Lut[ f ].

      • Otherwise, divFactor is set equal to Div_Lut[ f ].

The lookup table Div_Lut is specified as:


   Div_Lut[[DIV_LUT_NUM]] = {
     16384
     16384,, 16320
             16320,, 16257
                     16257,, 16194
                             16194,, 16132
                                     16132,, 16070
                                             16070,, 16009
                                                     16009,, 15948
                                                             15948,, 15888
                                                                     15888,, 15828
                                                                             15828,, 15768
                                                                                     15768,,
     15709
     15709,, 15650
             15650,, 15592
                     15592,, 15534
                             15534,, 15477
                                     15477,, 15420
                                             15420,, 15364
                                                     15364,, 15308
                                                             15308,, 15252
                                                                     15252,, 15197
                                                                             15197,, 15142
                                                                                     15142,,
     15087
     15087,, 15033
             15033,, 14980
                     14980,, 14926
                             14926,, 14873
                                     14873,, 14821
                                             14821,, 14769
                                                     14769,, 14717
                                                             14717,, 14665
                                                                     14665,, 14614
                                                                             14614,, 14564
                                                                                     14564,,
     14513
     14513,, 14463
             14463,, 14413
                     14413,, 14364
                             14364,, 14315
                                     14315,, 14266
                                             14266,, 14218
                                                     14218,, 14170
                                                             14170,, 14122
                                                                     14122,, 14075
                                                                             14075,, 14028
                                                                                     14028,,
     13981
     13981,, 13935
             13935,, 13888
                     13888,, 13843
                             13843,, 13797
                                     13797,, 13752
                                             13752,, 13707
                                                     13707,, 13662
                                                             13662,, 13618
                                                                     13618,, 13574
                                                                             13574,, 13530
                                                                                     13530,,
     13487
     13487,, 13443
             13443,, 13400
                     13400,, 13358
                             13358,, 13315
                                     13315,, 13273
                                             13273,, 13231
                                                     13231,, 13190
                                                             13190,, 13148
                                                                     13148,, 13107
                                                                             13107,, 13066
                                                                                     13066,,
     13026
     13026,, 12985
             12985,, 12945
                     12945,, 12906
                             12906,, 12866
                                     12866,, 12827
                                             12827,, 12788
                                                     12788,, 12749
                                                             12749,, 12710
                                                                     12710,, 12672
                                                                             12672,, 12633
                                                                                     12633,,
     12596
     12596,, 12558
             12558,, 12520
                     12520,, 12483
                             12483,, 12446
                                     12446,, 12409
                                             12409,, 12373
                                                     12373,, 12336
                                                             12336,, 12300
                                                                     12300,, 12264
                                                                             12264,, 12228
                                                                                     12228,,
     12193
     12193,, 12157
             12157,, 12122
                     12122,, 12087
                             12087,, 12053
                                     12053,, 12018
                                             12018,, 11984
                                                     11984,, 11950
                                                             11950,, 11916
                                                                     11916,, 11882
                                                                             11882,, 11848
                                                                                     11848,,
     11815
     11815,, 11782
             11782,, 11749
                     11749,, 11716
                             11716,, 11683
                                     11683,, 11651
                                             11651,, 11619
                                                     11619,, 11586
                                                             11586,, 11555
                                                                     11555,, 11523
                                                                             11523,, 11491
                                                                                     11491,,
     11460
     11460,, 11429
             11429,, 11398
                     11398,, 11367
                             11367,, 11336
                                     11336,, 11305
                                             11305,, 11275
                                                     11275,, 11245
                                                             11245,, 11215
                                                                     11215,, 11185
                                                                             11185,, 11155
                                                                                     11155,,
     11125
     11125,, 11096
             11096,, 11067
                     11067,, 11038
                             11038,, 11009
                                     11009,, 10980
                                             10980,, 10951
                                                     10951,, 10923
                                                             10923,, 10894
                                                                     10894,, 10866
                                                                             10866,, 10838
                                                                                     10838,,
     10810
     10810,, 10782
             10782,, 10755
                     10755,, 10727
                             10727,, 10700
                                     10700,, 10673
                                             10673,, 10645
                                                     10645,, 10618
                                                             10618,, 10592
                                                                     10592,, 10565
                                                                             10565,, 10538
                                                                                     10538,,
     10512
     10512,, 10486
             10486,, 10460
                     10460,, 10434
                             10434,, 10408
                                     10408,, 10382
                                             10382,, 10356
                                                     10356,, 10331
                                                             10331,, 10305
                                                                     10305,, 10280
                                                                             10280,, 10255
                                                                                     10255,,
     10230
     10230,, 10205
             10205,, 10180
                     10180,, 10156
                             10156,, 10131
                                     10131,, 10107
                                             10107,, 10082
                                                     10082,, 10058
                                                             10058,, 10034
                                                                     10034,, 10010
                                                                             10010,, 9986
                                                                                     9986,,
     9963
     9963,, 9939
             9939,, 9916
                     9916,, 9892
                             9892,, 9869
                                     9869,, 9846
                                             9846,, 9823
                                                     9823,, 9800
                                                             9800,, 9777
                                                                     9777,, 9754
                                                                             9754,, 9732
                                                                                     9732,,
     9709
     9709,, 9687
             9687,, 9664
                     9664,, 9642
                             9642,, 9620
                                     9620,, 9598
                                             9598,, 9576
                                                     9576,, 9554
                                                             9554,, 9533
                                                                     9533,, 9511
                                                                             9511,, 9489
                                                                                     9489,,
     9468
     9468,, 9447
             9447,, 9425
                     9425,, 9404
                             9404,, 9383
                                     9383,, 9362
                                             9362,, 9341
                                                     9341,, 9321
                                                             9321,, 9300
                                                                     9300,, 9279
                                                                             9279,, 9259
                                                                                     9259,,
     9239
     9239,, 9218
             9218,, 9198
                     9198,, 9178
                             9178,, 9158
                                     9158,, 9138
                                             9138,, 9118
                                                     9118,, 9098
                                                             9098,, 9079
                                                                     9079,, 9059
                                                                             9059,, 9039
                                                                                     9039,,
     9020
     9020,, 9001
             9001,, 8981
                     8981,, 8962
                             8962,, 8943
                                     8943,, 8924
                                             8924,, 8905
                                                     8905,, 8886
                                                             8886,, 8867
                                                                     8867,, 8849
                                                                             8849,, 8830
                                                                                     8830,,
     8812
     8812,, 8793
             8793,, 8775
                     8775,, 8756
                             8756,, 8738
                                     8738,, 8720
                                             8720,, 8702
                                                     8702,, 8684
                                                             8684,, 8666
                                                                     8666,, 8648
                                                                             8648,, 8630
                                                                                     8630,,
     8613
     8613,, 8595
             8595,, 8577
                     8577,, 8560
                             8560,, 8542
                                     8542,, 8525
                                             8525,, 8508
                                                     8508,, 8490
                                                             8490,, 8473
                                                                     8473,, 8456
                                                                             8456,, 8439
                                                                                     8439,,
     8422
     8422,, 8405
             8405,, 8389
                     8389,, 8372
                             8372,, 8355
                                     8355,, 8339
                                             8339,, 8322
                                                     8322,, 8306
                                                             8306,, 8289
                                                                     8289,, 8273
                                                                             8273,, 8257
                                                                                     8257,,
     8240
     8240,, 8224
             8224,, 8208
                     8208,, 8192
   }




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7.11.3.8. Warp estimation process
This process produces the array LocalWarpParams based on NumSamples candidates in CandList by performing a least
squares fit.

It also produces a variable LocalValid indicating whether the process was successful.

A 2x2 matrix A, and two length 2 arrays Bx and By are constructed as follows:


  for ( i = 0; i < 2; i++   ++ ) {
      for ( j = 0; j < 2; j++   ++ ) {
           A[[i][
               ][j]] = 0
      }
      Bx[[i]] = 0
      By[[i]] = 0
  }
  w4 = Num_4x4_Blocks_Wide[[MiSize]]
  h4 = Num_4x4_Blocks_High[[MiSize]]
  midY = MiRow * 4 + h4 * 2 - 1
  midX = MiCol * 4 + w4 * 2 - 1
  suy = midY * 8
  sux = midX * 8
  duy = suy + Mv[[0][][00]
  dux = sux + Mv[[0][][11]
  for ( i = 0; i < NumSamples;; i++  ++ ) {
      sy = CandList[[i][ ][00] - suy
      sx = CandList[[i][ ][11] - sux
      dy = CandList[[i][ ][22] - duy
      dx = CandList[[i][ ][33] - dux
      if ( Abs((sx - dx)) < LS_MV_MAX && Abs((sy - dy)) < LS_MV_MAX ) {
           A[[0][
               ][00] += ls_product((sx,, sx)) + 8
           A[[0][
               ][11] += ls_product((sx,, sy)) + 4
           A[[1][
               ][11] += ls_product((sy,, sy)) + 8
           Bx[[0] += ls_product((sx,, dx)) + 8
           Bx[[1] += ls_product((sy,, dx)) + 4
           By[[0] += ls_product((sx,, dy)) + 4
           By[[1] += ls_product((sy,, dy)) + 8
      }
  }


where ls_product is specified as:


  ls_product((a,, b)) {
      return ( (a * b)) >> 2) + (a + b))
  }




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   Note: The matrix A is symmetric so entry A[1][0] is omitted.


The variable det (containing the determinant of the matrix A) is set equal to A[0][0] * A[1][1] - A[0][1] * A[0][1].

The variable LocalValid is set as follows:

       • If det is equal to 0, LocalValid is set equal to 0.

       • Otherwise, LocalValid is set equal to 1.

If det is equal to 0, this process terminates at this point.

The resolve divisor process specified in section 7.11.3.7 is invoked with det as input, and the outputs assigned to divShift
and divFactor.

The local warp parameters in LocalWarpParams are derived as follows:


        divShift -= WARPEDMODEL_PREC_BITS
        if ( divShift < 0 ) {
            divFactor = divFactor << (-divShift))
            divShift = 0
        }
        LocalWarpParams[[2] = diag((     A[[1][
                                             ][11] * Bx[[0] - A[[0][
                                                                  ][11] * Bx[[1])
        LocalWarpParams[[3] = nondiag(( -A[[0][
                                             ][11] * Bx[[0] + A[[0][
                                                                  ][00] * Bx[[1])
        LocalWarpParams[[4] = nondiag(( A[[1][
                                             ][11] * By[[0] - A[[0][
                                                                  ][11] * By[[1])
        LocalWarpParams[[5] = diag((    -A[[0][
                                             ][11] * By[[0] + A[[0][
                                                                  ][00] * By[[1])

        mvx = Mv[[ 0 ][ 1 ]
        mvy = Mv[[ 0 ][ 0 ]
        vx = mvx * (1 << (WARPEDMODEL_PREC_BITS - 3)) -
             (midX * (LocalWarpParams[[2] - (1 << WARPEDMODEL_PREC_BITS)))) + midY * LocalWarpParams[[3])
        vy = mvy * (1 << (WARPEDMODEL_PREC_BITS - 3)) -
             (midX * LocalWarpParams[[4] + midY * (LocalWarpParams[[5] - (1 << WARPEDMODEL_PREC_BITS)))
                                                                                                      )))
        LocalWarpParams[[0] = Clip3((-WARPEDMODEL_TRANS_CLAMP,, WARPEDMODEL_TRANS_CLAMP - 1, vx))
        LocalWarpParams[[1] = Clip3((-WARPEDMODEL_TRANS_CLAMP,, WARPEDMODEL_TRANS_CLAMP - 1, vy))


where diag and nondiag are specified to divide and clamp using divFactor and divShift as follows:




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   nondiag((v)) {
       return Clip3((-WARPEDMODEL_NONDIAGAFFINE_CLAMP + 1,
                      WARPEDMODEL_NONDIAGAFFINE_CLAMP - 1,
                      Round2Signed((v * divFactor,, divShift))
                                                            ))
   }

   diag((v)) {
       return Clip3((
                   ((11 << WARPEDMODEL_PREC_BITS)) - WARPEDMODEL_NONDIAGAFFINE_CLAMP + 1,
                    (1 << WARPEDMODEL_PREC_BITS)) + WARPEDMODEL_NONDIAGAFFINE_CLAMP - 1,
                    Round2Signed((v * divFactor,, divShift))
                                                          ))
   }



7.11.3.9. Overlapped motion compensation process
The inputs to this process are:

      • a variable plane specifying which plane is being predicted,

      • variables w and h specifying the width and height of the region to be predicted.

The outputs of this process are modified inter predicted samples in the current frame CurrFrame.

This process blends the inter predicted samples for the current block with inter predicted samples based on motion
vectors from the above and left blocks.

The maximum number of overlapped predictions is limited based on the size of the block.

For small blocks, only the left neighbor will be used to form the prediction.

The variables subX and subY describing the subsampling of the current plane are derived as follows:

      • If plane is equal to 0, subX and subY are set equal to 0.

      • Otherwise (plane is not equal to 0), subX is set equal to subsampling_x and subY is set equal to subsampling_y.

The process is specified as:




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  if ( AvailU ) {
      if ( get_plane_residual_size(( MiSize,, plane ) >= BLOCK_8X8 ) {
          pass = 0
          w4 = Num_4x4_Blocks_Wide[[ MiSize ]
          x4 = MiCol
          y4 = MiRow
          nCount = 0
          nLimit = Min((4, Mi_Width_Log2[[ MiSize ])
          while ( nCount < nLimit && x4 < Min(( MiCols,, MiCol + w4 ) ) {
               candRow = MiRow - 1
               candCol = x4 | 1
               candSz = MiSizes[[ candRow ][ candCol ]
               step4 = Clip3(( 2, 1616,, Num_4x4_Blocks_Wide[[ candSz ] )
               if ( RefFrames[[ candRow ][ candCol ][ 0 ] > INTRA_FRAME ) {
                   nCount += 1
                   predW = Min(( w,, ( step4 * MI_SIZE ) >> subX )
                   predH = Min(( h >> 1, 32 >> subY )
                   mask = get_obmc_mask(( predH )
                   predict_overlap(( )
               }
               x4 += step4
          }
      }
  }
  if ( AvailL ) {
      pass = 1
      h4 = Num_4x4_Blocks_High[[ MiSize ]
      x4 = MiCol
      y4 = MiRow
      nCount = 0
      nLimit = Min((4, Mi_Height_Log2[[ MiSize ])
      while ( nCount < nLimit && y4 < Min(( MiRows,, MiRow + h4 ) ) {
          candCol = MiCol - 1
          candRow = y4 | 1
          candSz = MiSizes[[ candRow ][ candCol ]
          step4 = Clip3(( 2, 1616,, Num_4x4_Blocks_High[[ candSz ] )
          if ( RefFrames[[ candRow ][ candCol ][ 0 ] > INTRA_FRAME ) {
               nCount += 1
               predW = Min(( w >> 1, 32 >> subX )
               predH = Min(( h,, ( step4 * MI_SIZE ) >> subY )
               mask = get_obmc_mask(( predW )
               predict_overlap(( )
          }
          y4 += step4
      }
  }


When the function predict_overlap is invoked, the following ordered steps apply to form the overlap prediction for a region
of size predW by predH based on the candidate motion vector:




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     1. The motion vector mv is set equal to Mvs[ candRow ][ candCol ][ 0 ].

     2. The variable refIdx is set equal to ref_frame_idx[ RefFrames[ candRow ][ candCol ][ 0 ] - LAST_FRAME ].

     3. The variable predX is set equal to (x4 * 4) >> subX.

     4. The variable predY is set equal to (y4 * 4) >> subY.

     5. The motion vector scaling process in section 7.11.3.3 is invoked with plane, refIdx, predX, predY, mv as inputs
        and the output being the initial location startX, startY, and the step sizes stepX, stepY.

     6. The block inter prediction process in section 7.11.3.4 is invoked with plane, refIdx, startX, startY, stepX, stepY,
        predW, predH, candRow, candCol as inputs and the output is assigned to the 2D array obmcPred.

     7. obmcPred[ i ][ j ] is set equal to Clip1( obmcPred[ i ][ j ] ) for i = 0..predH-1 and j = 0..predW-1.

     8. The blending process in section 7.11.3.10 is invoked with plane, predX, predY, predW, predH, pass, obmcPred,
        and mask as inputs.

The function get_obmc_mask returns a blending mask as follows:


  get_obmc_mask(( length ) {
      if ( length == 2 ) {
          return Obmc_Mask_2
      } else if ( length == 4 ) {
          return Obmc_Mask_4
      } else if ( length == 8 ) {
          return Obmc_Mask_8
      } else if ( length == 16 ) {
          return Obmc_Mask_16
      } else {
          return Obmc_Mask_32
      }
  }


The blending masks are defined as follows:




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   Obmc_Mask_2[[2] = { 45
                       45,, 64 }

   Obmc_Mask_4[[4] = { 39
                       39,, 50
                            50,, 59
                                 59,, 64 }

   Obmc_Mask_8[[8] = { 36
                       36,, 42
                            42,, 48
                                 48,, 53
                                      53,, 57
                                           57,, 61
                                                61,, 64
                                                     64,, 64 }

   Obmc_Mask_16[[16
                 16]] = { 34
                          34,, 37
                               37,, 40
                                    40,, 43
                                         43,, 46
                                              46,, 49
                                                   49,, 52
                                                        52,, 54
                                                             54,,
                          56
                          56,, 58
                               58,, 60
                                    60,, 61
                                         61,, 64
                                              64,, 64
                                                   64,, 64
                                                        64,, 64 }

   Obmc_Mask_32[[32
                 32]] = { 33
                          33,, 35
                               35,, 36
                                    36,, 38
                                         38,, 40
                                              40,, 41
                                                   41,, 43
                                                        43,, 44
                                                             44,,
                          45
                          45,, 47
                               47,, 48
                                    48,, 50
                                         50,, 51
                                              51,, 52
                                                   52,, 53
                                                        53,, 55
                                                             55,,
                          56
                          56,, 57
                               57,, 58
                                    58,, 59
                                         59,, 60
                                              60,, 60
                                                   60,, 61
                                                        61,, 62
                                                             62,,
                          64
                          64,, 64
                               64,, 64
                                    64,, 64
                                         64,, 64
                                              64,, 64
                                                   64,, 64
                                                        64,, 64 }



7.11.3.10. Overlap blending process
The inputs to this process are:

      • a variable plane specifying which plane is being predicted,

      • variables predX and predY specifying the location of the top left sample in the CurrFrame[ plane ] array of the
        region to be predicted,

      • variables predW and predH specifying the width and height of the region to be predicted,

      • a variable pass equal to 0 if blending above samples, or equal to 1 if blending left samples,

      • a 2d array obmcPred containing the samples predicted from a neighboring motion vector,

      • an array mask containing the blending weights.

The outputs of this process are modified inter predicted samples in the current frame CurrFrame.

For i = 0..(predH - 1) and j = 0..(predW - 1), the following ordered steps apply:

     1. The variable m specifying the blending factor is specifed as follows:

                ◦ If pass is equal to 0 (blend from above), m is set equal to mask[ i ].

                ◦ Otherwise (pass is equal to 1 meaning blend from left), m is set equal to mask[ j ].

     2. CurrFrame[ plane ][ predY + i ][ predX + j ] is set equal to Round2( m * CurrFrame[ plane ][ predY + i ][ predX + j ]
        + (64 - m) * obmcPred[ i ][ j ], 6)


7.11.3.11. Wedge mask process
The input to this process is:

      • variables w and h specifying the width and height of the region to be predicted.



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This process sets up a mask array for the luma samples.

The mask is specified as:


  for ( i = 0; i < h;; i++
                        ++ ) {
      for ( j = 0; j < w;; j++
                            ++ ) {
          Mask[[ i ][ j ] = WedgeMasks[[ MiSize ][ wedge_sign ][ wedge_index ][ i ][ j ]
      }
  }


where WedgeMasks is a fixed lookup table that is generated by the following function:




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  initialise_wedge_mask_table(( ) {
      w = MASK_MASTER_SIZE
      h = MASK_MASTER_SIZE
      for ( j = 0; j < w;; j++++ ) {
           shift = MASK_MASTER_SIZE / 4
           for ( i = 0; i < h;; i += 2 ) {
               MasterMask[[ WEDGE_OBLIQUE63 ][ i ][ j ] = Wedge_Master_Oblique_Even[[ Clip3(( 0,
  MASK_MASTER_SIZE - 1, j - shift ) ]
               shift -= 1
               MasterMask[[ WEDGE_OBLIQUE63 ][ i + 1][ j ] = Wedge_Master_Oblique_Odd[[ Clip3(( 0,
  MASK_MASTER_SIZE - 1, j - shift ) ]
               MasterMask[[ WEDGE_VERTICAL ][ i ][ j ] = Wedge_Master_Vertical[[ j ]
               MasterMask[[ WEDGE_VERTICAL ][ i + 1 ][ j ] = Wedge_Master_Vertical[[ j ]
           }
      }
      for ( i = 0; i < h;; i++++ ) {
           for ( j = 0; j < w;; j++
                                  ++ ) {
             msk = MasterMask[[ WEDGE_OBLIQUE63 ][ i ][ j ]
             MasterMask[[ WEDGE_OBLIQUE27 ][ j ][ i ] = msk
             MasterMask[[ WEDGE_OBLIQUE117 ][ i ][ w - 1 - j ] = 64 - msk
             MasterMask[[ WEDGE_OBLIQUE153 ][ w - 1 - j ][ i ] = 64 - msk
             MasterMask[[ WEDGE_HORIZONTAL ][ j ][ i ] = MasterMask[[ WEDGE_VERTICAL ][ i ][ j ]
           }
      }
      for ( bsize = BLOCK_8X8;; bsize < BLOCK_SIZES;; bsize++   ++ ) {
           if ( Wedge_Bits[[ bsize ] > 0 ) {
               w = Block_Width[[ bsize ]
               h = Block_Height[[ bsize ]
               for ( wedge = 0; wedge < WEDGE_TYPES;; wedge++   ++ ) {
                    dir = get_wedge_direction((bsize,, wedge))
                    xoff = MASK_MASTER_SIZE / 2 - ((   ((get_wedge_xoff((bsize,, wedge)) * w)) >> 3)
                    yoff = MASK_MASTER_SIZE / 2 - ((   ((get_wedge_yoff((bsize,, wedge)) * h)) >> 3)
                    sum = 0
                    for ( i = 0; i < w;; i++ ++ )
                       sum += MasterMask[[ dir ][ yoff ][ xoff++i ]
                    for ( i = 1; i < h;; i++ ++ )
                       sum += MasterMask[[ dir ][ yoff++i ][ xoff ]
                    avg = (sum + (w + h - 1) / 2) / (w + h - 1)
                    flipSign = (avg < 3232))
                    for ( i = 0; i < h;; i++ ++ ) {
                         for ( j = 0; j < w;; j++ ++ ) {
                           WedgeMasks[[ bsize ][ flipSign ][ wedge ][ i ][ j ] = MasterMask[[ dir ][ yoff++i
  ][ xoff++j ]
                           WedgeMasks[[ bsize ][ !flipSign ][ wedge ][ i ][ j ] = 64 - MasterMask[[ dir ][
  yoff++i ][ xoff++j ]
                         }
                    }
               }
           }
      }




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  }


The 1d lookup tables are defined as:


  Wedge_Master_Oblique_Odd[[MASK_MASTER_SIZE]] = {
    0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0,
    0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 1, 2, 6, 18                            18,,
    37
    37,, 53
         53,, 60
              60,, 63
                   63,, 64
                        64,, 64
                             64,, 64
                                  64,, 64
                                       64,, 64
                                            64,, 64
                                                 64,, 64
                                                      64,, 64
                                                           64,, 64
                                                                64,, 64
                                                                     64,, 64
                                                                          64,, 64
                                                                               64,,
    64
    64,, 64
         64,, 64
              64,, 64
                   64,, 64
                        64,, 64
                             64,, 64
                                  64,, 64
                                       64,, 64
                                            64,, 64
                                                 64,, 64
                                                      64,, 64
                                                           64,, 64
                                                                64,, 64
                                                                     64,, 64
                                                                          64,, 64
  }

  Wedge_Master_Oblique_Even[[MASK_MASTER_SIZE]] = {
    0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0,
    0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 1, 4, 11                          11,, 27
                                                                               27,,
    46
    46,, 58
         58,, 62
              62,, 63
                   63,, 64
                        64,, 64
                             64,, 64
                                  64,, 64
                                       64,, 64
                                            64,, 64
                                                 64,, 64
                                                      64,, 64
                                                           64,, 64
                                                                64,, 64
                                                                     64,, 64
                                                                          64,, 64
                                                                               64,,
    64
    64,, 64
         64,, 64
              64,, 64
                   64,, 64
                        64,, 64
                             64,, 64
                                  64,, 64
                                       64,, 64
                                            64,, 64
                                                 64,, 64
                                                      64,, 64
                                                           64,, 64
                                                                64,, 64
                                                                     64,, 64
                                                                          64,, 64
  }

  Wedge_Master_Vertical[[MASK_MASTER_SIZE]] = {
    0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0,
    0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 0, 2, 7, 21                            21,,
    43
    43,, 57
         57,, 62
              62,, 64
                   64,, 64
                        64,, 64
                             64,, 64
                                  64,, 64
                                       64,, 64
                                            64,, 64
                                                 64,, 64
                                                      64,, 64
                                                           64,, 64
                                                                64,, 64
                                                                     64,, 64
                                                                          64,, 64
                                                                               64,,
    64
    64,, 64
         64,, 64
              64,, 64
                   64,, 64
                        64,, 64
                             64,, 64
                                  64,, 64
                                       64,, 64
                                            64,, 64
                                                 64,, 64
                                                      64,, 64
                                                           64,, 64
                                                                64,, 64
                                                                     64,, 64
                                                                          64,, 64
  }


The get_wedge functions are defined as:




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  block_shape((bsize)) {
    w4 = Num_4x4_Blocks_Wide[[bsize]]
    h4 = Num_4x4_Blocks_High[[bsize]]
    if ( h4 > w4 )
         return 0
    else if ( h4 < w4 )
         return 1
    else
         return 2
  }

  get_wedge_direction((bsize,, index)) {
    return Wedge_Codebook[[block_shape((bsize)][
                                             )][index][
                                                     ][00]
  }

  get_wedge_xoff((bsize,, index)) {
    return Wedge_Codebook[[block_shape((bsize)][
                                             )][index][
                                                     ][11]
  }

  get_wedge_yoff((bsize,, index)) {
    return Wedge_Codebook[[block_shape((bsize)][
                                             )][index][
                                                     ][22]
  }

  Wedge_Codebook[[3][
                   ][16
                      16][
                        ][33] = {
      {
          { WEDGE_OBLIQUE27,, 4, 4 }, { WEDGE_OBLIQUE63,, 4, 4 },
          { WEDGE_OBLIQUE117,, 4, 4 }, { WEDGE_OBLIQUE153,, 4, 4 },
          { WEDGE_HORIZONTAL,, 4, 2 }, { WEDGE_HORIZONTAL,, 4, 4 },
          { WEDGE_HORIZONTAL,, 4, 6 }, { WEDGE_VERTICAL,, 4, 4 },
          { WEDGE_OBLIQUE27,, 4, 2 }, { WEDGE_OBLIQUE27,, 4, 6 },
          { WEDGE_OBLIQUE153,, 4, 2 }, { WEDGE_OBLIQUE153,, 4, 6 },
          { WEDGE_OBLIQUE63,, 2, 4 }, { WEDGE_OBLIQUE63,, 6, 4 },
          { WEDGE_OBLIQUE117,, 2, 4 }, { WEDGE_OBLIQUE117,, 6, 4 },
      },
      {
          { WEDGE_OBLIQUE27,, 4, 4 }, { WEDGE_OBLIQUE63,, 4, 4 },
          { WEDGE_OBLIQUE117,, 4, 4 }, { WEDGE_OBLIQUE153,, 4, 4 },
          { WEDGE_VERTICAL,, 2, 4 },   { WEDGE_VERTICAL,, 4, 4 },
          { WEDGE_VERTICAL,, 6, 4 },   { WEDGE_HORIZONTAL,, 4, 4 },
          { WEDGE_OBLIQUE27,, 4, 2 }, { WEDGE_OBLIQUE27,, 4, 6 },
          { WEDGE_OBLIQUE153,, 4, 2 }, { WEDGE_OBLIQUE153,, 4, 6 },
          { WEDGE_OBLIQUE63,, 2, 4 }, { WEDGE_OBLIQUE63,, 6, 4 },
          { WEDGE_OBLIQUE117,, 2, 4 }, { WEDGE_OBLIQUE117,, 6, 4 },
      },
      {
          { WEDGE_OBLIQUE27,, 4, 4 }, { WEDGE_OBLIQUE63,, 4, 4 },
          { WEDGE_OBLIQUE117,, 4, 4 }, { WEDGE_OBLIQUE153,, 4, 4 },
          { WEDGE_HORIZONTAL,, 4, 2 }, { WEDGE_HORIZONTAL,, 4, 6 },
          { WEDGE_VERTICAL,, 2, 4 },   { WEDGE_VERTICAL,, 6, 4 },
          { WEDGE_OBLIQUE27,, 4, 2 }, { WEDGE_OBLIQUE27,, 4, 6 },




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            { WEDGE_OBLIQUE153,, 4, 2 }, { WEDGE_OBLIQUE153,, 4, 6 },
            { WEDGE_OBLIQUE63,, 2, 4 }, { WEDGE_OBLIQUE63,, 6, 4 },
            { WEDGE_OBLIQUE117,, 2, 4 }, { WEDGE_OBLIQUE117,, 6, 4 },
       }
   }


The wedge direction constants used above are defined as follows:


                                           Constant                                                   Value

                                   WEDGE_HORIZONTAL                                                     0

                                     WEDGE_VERTICAL                                                     1

                                    WEDGE_OBLIQUE27                                                     2

                                    WEDGE_OBLIQUE63                                                     3

                                    WEDGE_OBLIQUE117                                                    4

                                    WEDGE_OBLIQUE153                                                    5


7.11.3.12. Difference weight mask process
The input to this process is:

       • an array preds containing the predicted samples,

       • variables w and h specifying the width and height of the region to be predicted.

This process prepares an array Mask containing the blending weights for the luma samples.

The process sets the array based on the difference between the two predictions as follows:


   for ( i = 0; i < h;; i++
                          ++ ) {
       for ( j = 0; j < w;; j++++ ) {
           diff = Abs((preds[[ 0 ][ i ][ j ] - preds[[ 1 ][ i ][ j ])
           diff = Round2((diff,, (BitDepth - 8) + InterPostRound))
           m = Clip3((0, 64
                          64,, 38 + diff / 16
                                           16))
           if ( mask_type )
                Mask[[ i ][ j ] = 64 - m
           else
                Mask[[ i ][ j ] = m

       }
   }




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7.11.3.13. Intra mode variant mask process
The input to this process is:

      • variables w and h specifying the width and height of the region to be predicted.

This process prepares an array Mask containing the blending weights for the luma samples.

The process sets the array based on the mode used for intra prediction as follows:


   sizeScale = MAX_SB_SIZE / Max(( h,, w )
   for ( i = 0; i < h;; i++
                         ++ ) {
       for ( j = 0; j < w;; j++
                             ++ ) {
           if ( interintra_mode == II_V_PRED ) {
               Mask[[ i ][ j ] = Ii_Weights_1d[[ i * sizeScale ]
           } else if ( interintra_mode == II_H_PRED ) {
               Mask[[ i ][ j ] = Ii_Weights_1d[[ j * sizeScale ]
           } else if ( interintra_mode == II_SMOOTH_PRED ) {
               Mask[[ i ][ j ] = Ii_Weights_1d[[ Min((i,, j)) * sizeScale ]
           } else {
               Mask[[ i ][ j ] = 32
           }
       }
   }


where the table Ii_Weights_1d is defined as:


   Ii_Weights_1d[[MAX_SB_SIZE]] = {
     60
     60,, 58
          58,, 56
               56,, 54
                    54,, 52
                         52,, 50
                              50,, 48
                                   48,, 47
                                        47,, 45
                                             45,, 44
                                                  44,, 42
                                                       42,, 41
                                                            41,, 39
                                                                 39,, 38
                                                                      38,, 37
                                                                           37,, 35
                                                                                35,, 34
                                                                                     34,, 33
                                                                                          33,, 32
                                                                                               32,,
     31
     31,, 30
          30,, 29
               29,, 28
                    28,, 27
                         27,, 26
                              26,, 25
                                   25,, 24
                                        24,, 23
                                             23,, 22
                                                  22,, 22
                                                       22,, 21
                                                            21,, 20
                                                                 20,, 19
                                                                      19,, 19
                                                                           19,, 18
                                                                                18,, 18
                                                                                     18,, 17
                                                                                          17,, 16
                                                                                               16,,
     16
     16,, 15
          15,, 15
               15,, 14
                    14,, 14
                         14,, 13
                              13,, 13
                                   13,, 12
                                        12,, 12
                                             12,, 12
                                                  12,, 11
                                                       11,, 11
                                                            11,, 10
                                                                 10,, 10
                                                                      10,, 10
                                                                           10,, 9, 9, 9, 8,
     8, 8, 8, 7, 7, 7, 7, 6, 6, 6, 6, 6, 5, 5, 5, 5, 5, 4, 4,
     4, 4, 4, 4, 4, 4, 3, 3, 3, 3, 3, 3, 3, 3, 3, 2, 2, 2, 2,
     2, 2, 2, 2, 2, 2, 2, 2, 2, 2, 2, 1, 1, 1, 1, 1, 1, 1, 1,
     1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1, 1
   }



7.11.3.14. Mask blend process
The inputs to this process are

      • an array preds containing the predicted samples,

      • a variable plane specifying which plane is being predicted,

      • variables dstX and dstY specifying the location of the top left sample in the CurrFrame[ plane ] array of the region
        to be predicted,




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      • variables w and h specifying the width and height of the region to be predicted.

The process combines two predictions according to the mask. It makes use of an array Mask containing the blending
weights to apply (the weights are defined for the current plane samples if compound_type is equal to
COMPOUND_INTRA, or the luma plane otherwise).

The variables subX and subY describing the subsampling of the current plane are derived as follows:

      • If plane is equal to 0, subX and subY are set equal to 0.

      • Otherwise (plane is not equal to 0), subX is set equal to subsampling_x and subY is set equal to subsampling_y.

The process is specified as follows:


  for ( y = 0; y < h;; y++
                         ++ ) {
      for ( x = 0; x < w;; x++++ ) {
          if ( (!subX && !subY)) ||
               (interintra && !wedge_interintra)) ) {
              m = Mask[[ y ][ x ]
          } else if ( subX && !subY ) {
              m = Round2(( Mask[[ y ][ 2*x ] + Mask[[ y ][ 2*x++1 ], 1 )
          } else if ( !subX && subY ) {
              m = Round2(( Mask[[ 2*y ][ x ] + Mask[[ 2*y++1 ][ x ], 1 )
          } else {
              m = Round2(( Mask[[ 2*y ][ 2*x ] + Mask[[ 2*y ][ 2*x++1 ] +
                   Mask[[ 2*y++1 ][ 2*x ] + Mask[[ 2*y++1 ][ 2*x++1 ], 2 )
          }
          if ( interintra ) {
              pred0 = Clip1(( Round2(( preds[[ 0 ][ y ][ x ], InterPostRound ) )
              pred1 = CurrFrame[[plane][ ][y++dstY][
                                                   ][x++dstX]]
              CurrFrame[[plane][][y++dstY][
                                         ][x++dstX]] = Round2(( m * pred1 + (64 - m)) * pred0,, 6 )
          } else {
              pred0 = preds[[ 0 ][ y ][ x ]
              pred1 = preds[[ 1 ][ y ][ x ]
              CurrFrame[[plane][][y++dstY][
                                         ][x++dstX]] = Clip1(( Round2(( m * pred0 + (64 - m)) * pred1,, 6 +
  InterPostRound ) )
          }
      }
  }



7.11.3.15. Distance weights process
The inputs to this process are variables candRow and candCol specifying the location (in units of 4x4 blocks) of the
motion vector information to be used.

This process computes weights to be used for blending predictions together based on the expected output times of the
reference frames.

The weights are computed as follows:



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   for ( refList = 0; refList < 2; refList++++ ) {
     h = OrderHints[[ RefFrames[[ candRow ][ candCol ][ refList ] ]
     dist[[ refList ] = Clip3(( 0, MAX_FRAME_DISTANCE,, Abs(( get_relative_dist(( h,, OrderHint ) ) )
   }
   d0 = dist[[ 1 ]
   d1 = dist[[ 0 ]
   order = d0 <= d1
   if ( d0 == 0 || d1 == 0 ) {
       FwdWeight = Quant_Dist_Lookup[[ 3 ][ order ]
       BckWeight = Quant_Dist_Lookup[[ 3 ][ 1 - order ]
   } else {
     for ( i = 0; i < 3; i++
                           ++ ) {
       c0 = Quant_Dist_Weight[[ i ][ order ]
       c1 = Quant_Dist_Weight[[ i ][ 1 - order ]
       if ( order ) {
         if ( d0 * c0 > d1 * c1 )
            break
       } else {
         if ( d0 * c0 < d1 * c1 )
            break
       }
     }
     FwdWeight = Quant_Dist_Lookup[[ i ][ order ]
     BckWeight = Quant_Dist_Lookup[[ i ][ 1 - order ]
   }


where the tables Quant_Dist_Lookup and Quant_Dist_Weight are specified as:


   Quant_Dist_Weight[[ 4 ][ 2 ] = {
     { 2, 3 }, { 2, 5 }, { 2, 7 }, { 1, MAX_FRAME_DISTANCE }
   }

   Quant_Dist_Lookup[[ 4 ][ 2 ] = {
     { 9, 7 }, { 11
                 11,, 5 }, { 12
                             12,, 4 }, { 13
                                         13,, 3 }
   }



7.11.4. Palette prediction process
The palette prediction process is invoked for palette coded intra blocks to predict a part of the block using the limited
palette.

The inputs to this process are:

      • a variable plane specifying which plane is being predicted,
      • variables startX and startY specifying the location of the top left sample in the CurrFrame[ plane ] array of the
        current transform block,
      • variables x and y specifying the location in 4x4 units relative to the top left sample of the current transform block,



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      • a variable txSz, specifying the size of the current transform block.

The outputs of this process are palette predicted samples in the current frame CurrFrame.

The variable w specifying the width of the transform block is set equal to Tx_Width[ txSz ].

The variable h specifying the height of the transform block is set equal to Tx_Height[ txSz ].

The variable palette is specified as follows:

      • If plane is 0, palette is set to palette_colors_y.
      • Otherwise, if plane is 1, palette is set to palette_colors_u.
      • Otherwise (plane is 2), palette is set to palette_colors_v.

The variable map is specified as follows:

      • If plane is 0, map is set to ColorMapY.
      • Otherwise (plane is not 0), map is set to ColorMapUV.

The current frame is updated as follows:

      • CurrFrame[ plane ][ startY + i ][ startX + j ] is set equal to palette[ map[ y * 4 + i ][ x * 4 + j ] ] for i = 0..h-1 and j =
        0..w-1.


7.11.5. Predict chroma from luma process
The chroma from luma process uses reconstructed luma samples to form a prediction for the chroma samples. The high
frequencies are taken from the reconstructed luma samples and combined with DC predicted chroma samples.

The inputs to this process are:

      • a variable plane (greater than zero) specifying which plane is being predicted,

      • variables startX and startY specifying the location of the top left sample in the CurrFrame[ plane ] array of the
        current transform block,

      • a variable txSz, specifying the size of the current transform block.

The outputs of this process are modified chroma predicted samples in the current frame CurrFrame.

The variable w specifying the width of the transform block is set equal to Tx_Width[ txSz ].

The variable h specifying the height of the transform block is set equal to Tx_Height[ txSz ].

The variable subX is set equal to subsampling_x.

The variable subY is set equal to subsampling_y.

The variable alpha depends on the plane as follows:



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      • If plane is equal to 1, alpha is set equal to CflAlphaU.

      • Otherwise (plane is equal to 2), alpha is set equal to CflAlphaV.

An array L (containing subsampled reconstructed luma samples with 3 fractional bits of precision) and lumaAvg
(representing the average reconstructed luma intensity with 3 fractional bits of precision) is specified as:


  lumaAvg = 0
  for ( i = 0; i < h;; i++
                        ++ ) {
      lumaY = (startY + i)) << subY
      lumaY = Min(( lumaY,, MaxLumaH - (1 << subY)) )
      for ( j = 0; j < w;; j++
                             ++ ) {
          lumaX = (startX + j)) << subX
          lumaX = Min(( lumaX,, MaxLumaW - (1 << subX)) )
          t = 0
          for ( dy = 0; dy <= subY;; dy += 1 )
               for ( dx = 0; dx <= subX;; dx += 1 )
                   t += CurrFrame[[ 0 ][ lumaY + dy ]
                                       [ lumaX + dx ]
          v = t << ( 3 - subX - subY )
          L[[ i ][ j ] = v
          lumaAvg += v
      }
  }
  lumaAvg = Round2(( lumaAvg,, Tx_Width_Log2[[ txSz ] + Tx_Height_Log2[[ txSz ] )


The predicted chroma samples are specified as:


  for ( i = 0; i < h;; i++
                        ++ ) {
      for ( j = 0; j < w;; j++
                            ++ ) {
          dc = CurrFrame[[ plane ][ startY + i ][ startX + j ]
          scaledLuma = Round2Signed(( alpha * ( L[[ i ][ j ] - lumaAvg ), 6 )
          CurrFrame[[ plane ][ startY + i ][ startX + j ] = Clip1(( dc + scaledLuma )
      }
  }



7.12. Reconstruction and dequantization
7.12.1. General
This section details the process of reconstructing a block of coefficients using dequantization and inverse transforms.


7.12.2. Dequantization functions
This section defines the functions get_dc_quant and get_ac_quant that are needed by the dequantization process.

The quantization parameters are derived from lookup tables.



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The function dc_q( b ) is specified as Dc_Qlookup[ (BitDepth-8) >> 1 ][ Clip3( 0, 255, b ) ] where Dc_Qlookup is defined
as follows:




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  Dc_Qlookup[[ 3 ][ 256 ] = {
    {
       4, 8, 8, 9, 10   10,, 11
                              11,, 12
                                    12,, 12
                                          12,, 13
                                                13,, 14
                                                      14,, 15
                                                            15,, 16
                                                                  16,,
       17
       17,, 18
            18,, 19
                  19,, 19
                        19,, 20
                              20,, 21
                                    21,, 22
                                          22,, 23
                                                23,, 24
                                                      24,, 25
                                                            25,, 26
                                                                  26,, 26
                                                                        26,,
       27
       27,, 28
            28,, 29
                  29,, 30
                        30,, 31
                              31,, 32
                                    32,, 32
                                          32,, 33
                                                33,, 34
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                                                                        37,,
       38
       38,, 38
            38,, 39
                  39,, 40
                        40,, 41
                              41,, 42
                                    42,, 43
                                          43,, 43
                                                43,, 44
                                                      44,, 45
                                                            45,, 46
                                                                  46,, 47
                                                                        47,,
       48
       48,, 48
            48,, 49
                  49,, 50
                        50,, 51
                              51,, 52
                                    52,, 53
                                          53,, 53
                                                53,, 54
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                                                            55,, 56
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       57
       57,, 58
            58,, 59
                  59,, 60
                        60,, 61
                              61,, 62
                                    62,, 62
                                          62,, 63
                                                63,, 64
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                                                            65,, 66
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       67
       67,, 68
            68,, 69
                  69,, 70
                        70,, 70
                              70,, 71
                                    71,, 72
                                          72,, 73
                                                73,, 74
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       77
       77,, 78
            78,, 78
                  78,, 79
                        79,, 80
                              80,, 81
                                    81,, 81
                                          81,, 82
                                                82,, 83
                                                      83,, 84
                                                            84,, 85
                                                                  85,, 85
                                                                        85,,
       87
       87,, 88
            88,, 90
                  90,, 92
                        92,, 93
                              93,, 95
                                    95,, 96
                                          96,, 98
                                                98,, 99
                                                      99,, 101
                                                            101,, 102
                                                                   102,, 104
                                                                           104,,
       105
       105,, 107
             107,, 108
                     108,, 110
                            110,, 111
                                    111,, 113
                                           113,, 114
                                                   114,, 116
                                                          116,, 117
                                                                  117,, 118
                                                                          118,, 120
                                                                                 120,, 121
                                                                                       121,,
       123
       123,, 125
             125,, 127
                     127,, 129
                            129,, 131
                                    131,, 134
                                           134,, 136
                                                   136,, 138
                                                          138,, 140
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                                                                                 144,, 146
                                                                                       146,,
       148
       148,, 150
             150,, 152
                     152,, 154
                            154,, 156
                                    156,, 158
                                           158,, 161
                                                   161,, 164
                                                          164,, 166
                                                                  166,, 169
                                                                          169,, 172
                                                                                 172,, 174
                                                                                       174,,
       177
       177,, 180
             180,, 182
                     182,, 185
                            185,, 187
                                    187,, 190
                                           190,, 192
                                                   192,, 195
                                                          195,, 199
                                                                  199,, 202
                                                                          202,, 205
                                                                                 205,, 208
                                                                                       208,,
       211
       211,, 214
             214,, 217
                     217,, 220
                            220,, 223
                                    223,, 226
                                           226,, 230
                                                   230,, 233
                                                          233,, 237
                                                                  237,, 240
                                                                          240,, 243
                                                                                 243,, 247
                                                                                       247,,
       250
       250,, 253
             253,, 257
                     257,, 261
                            261,, 265
                                    265,, 269
                                           269,, 272
                                                   272,, 276
                                                          276,, 280
                                                                  280,, 284
                                                                          284,, 288
                                                                                 288,, 292
                                                                                       292,,
       296
       296,, 300
             300,, 304
                     304,, 309
                            309,, 313
                                    313,, 317
                                           317,, 322
                                                   322,, 326
                                                          326,, 330
                                                                  330,, 335
                                                                          335,, 340
                                                                                 340,, 344
                                                                                       344,,
       349
       349,, 354
             354,, 359
                     359,, 364
                            364,, 369
                                    369,, 374
                                           374,, 379
                                                   379,, 384
                                                          384,, 389
                                                                  389,, 395
                                                                          395,, 400
                                                                                 400,, 406
                                                                                       406,,
       411
       411,, 417
             417,, 423
                     423,, 429
                            429,, 435
                                    435,, 441
                                           441,, 447
                                                   447,, 454
                                                          454,, 461
                                                                  461,, 467
                                                                          467,, 475
                                                                                 475,, 482
                                                                                       482,,
       489
       489,, 497
             497,, 505
                     505,, 513
                            513,, 522
                                    522,, 530
                                           530,, 539
                                                   539,, 549
                                                          549,, 559
                                                                  559,, 569
                                                                          569,, 579
                                                                                 579,, 590
                                                                                       590,,
       602
       602,, 614
             614,, 626
                     626,, 640
                            640,, 654
                                    654,, 668
                                           668,, 684
                                                   684,, 700
                                                          700,, 717
                                                                  717,, 736
                                                                          736,, 755
                                                                                 755,, 775
                                                                                       775,,
       796
       796,, 819
             819,, 843
                     843,, 869
                            869,, 896
                                    896,, 925
                                           925,, 955
                                                   955,, 988
                                                          988,, 1022
                                                                  1022,, 1058
                                                                           1058,, 1098
                                                                                   1098,, 1139
                                                                                           1139,,
       1184
       1184,, 1232
               1232,, 1282
                        1282,, 1336
    },
    {
       4, 9, 1010,, 13
                     13,, 15
                           15,, 17
                                 17,, 20
                                       20,, 22
                                             22,, 25
                                                   25,, 28
                                                         28,, 31
                                                               31,, 34
                                                                     34,,
       37
       37,, 40
            40,, 43
                  43,, 47
                        47,, 50
                              50,, 53
                                    53,, 57
                                          57,, 60
                                                60,, 64
                                                      64,, 68
                                                            68,, 71
                                                                  71,, 75
                                                                        75,,
       78
       78,, 82
            82,, 86
                  86,, 90
                        90,, 93
                              93,, 97
                                    97,, 101
                                          101,, 105
                                                 105,, 109
                                                         109,, 113
                                                                113,, 116
                                                                        116,, 120
                                                                               120,,
       124
       124,, 128
             128,, 132
                     132,, 136
                            136,, 140
                                    140,, 143
                                           143,, 147
                                                   147,, 151
                                                          151,, 155
                                                                  155,, 159
                                                                          159,, 163
                                                                                 163,, 166
                                                                                       166,,
       170
       170,, 174
             174,, 178
                     178,, 182
                            182,, 185
                                    185,, 189
                                           189,, 193
                                                   193,, 197
                                                          197,, 200
                                                                  200,, 204
                                                                          204,, 208
                                                                                 208,, 212
                                                                                       212,,
       215
       215,, 219
             219,, 223
                     223,, 226
                            226,, 230
                                    230,, 233
                                           233,, 237
                                                   237,, 241
                                                          241,, 244
                                                                  244,, 248
                                                                          248,, 251
                                                                                 251,, 255
                                                                                       255,,
       259
       259,, 262
             262,, 266
                     266,, 269
                            269,, 273
                                    273,, 276
                                           276,, 280
                                                   280,, 283
                                                          283,, 287
                                                                  287,, 290
                                                                          290,, 293
                                                                                 293,, 297
                                                                                       297,,
       300
       300,, 304
             304,, 307
                     307,, 310
                            310,, 314
                                    314,, 317
                                           317,, 321
                                                   321,, 324
                                                          324,, 327
                                                                  327,, 331
                                                                          331,, 334
                                                                                 334,, 337
                                                                                       337,,
       343
       343,, 350
             350,, 356
                     356,, 362
                            362,, 369
                                    369,, 375
                                           375,, 381
                                                   381,, 387
                                                          387,, 394
                                                                  394,, 400
                                                                          400,, 406
                                                                                 406,, 412
                                                                                       412,,
       418
       418,, 424
             424,, 430
                     430,, 436
                            436,, 442
                                    442,, 448
                                           448,, 454
                                                   454,, 460
                                                          460,, 466
                                                                  466,, 472
                                                                          472,, 478
                                                                                 478,, 484
                                                                                       484,,
       490
       490,, 499
             499,, 507
                     507,, 516
                            516,, 525
                                    525,, 533
                                           533,, 542
                                                   542,, 550
                                                          550,, 559
                                                                  559,, 567
                                                                          567,, 576
                                                                                 576,, 584
                                                                                       584,,
       592
       592,, 601
             601,, 609
                     609,, 617
                            617,, 625
                                    625,, 634
                                           634,, 644
                                                   644,, 655
                                                          655,, 666
                                                                  666,, 676
                                                                          676,, 687
                                                                                 687,, 698
                                                                                       698,,
       708
       708,, 718
             718,, 729
                     729,, 739
                            739,, 749
                                    749,, 759
                                           759,, 770
                                                   770,, 782
                                                          782,, 795
                                                                  795,, 807
                                                                          807,, 819
                                                                                 819,, 831
                                                                                       831,,
       844
       844,, 856
             856,, 868
                     868,, 880
                            880,, 891
                                    891,, 906
                                           906,, 920
                                                   920,, 933
                                                          933,, 947
                                                                  947,, 961
                                                                          961,, 975
                                                                                 975,, 988
                                                                                       988,,
       1001
       1001,, 1015
               1015,, 1030
                        1030,, 1045
                                 1045,, 1061
                                          1061,, 1076
                                                   1076,, 1090
                                                            1090,, 1105
                                                                     1105,, 1120
                                                                              1120,, 1137
                                                                                      1137,, 1153
                                                                                             1153,, 1170
                                                                                                    1170,,
       1186
       1186,, 1202
               1202,, 1218
                        1218,, 1236
                                 1236,, 1253
                                          1253,, 1271
                                                   1271,, 1288
                                                            1288,, 1306
                                                                     1306,, 1323
                                                                              1323,, 1342
                                                                                      1342,, 1361
                                                                                             1361,, 1379
                                                                                                    1379,,
       1398
       1398,, 1416
               1416,, 1436
                        1436,, 1456
                                 1456,, 1476
                                          1476,, 1496
                                                   1496,, 1516
                                                            1516,, 1537
                                                                     1537,, 1559
                                                                              1559,, 1580
                                                                                      1580,, 1601
                                                                                             1601,, 1624
                                                                                                    1624,,
       1647
       1647,, 1670
               1670,, 1692
                        1692,, 1717
                                 1717,, 1741
                                          1741,, 1766
                                                   1766,, 1791
                                                            1791,, 1817
                                                                     1817,, 1844
                                                                              1844,, 1871
                                                                                      1871,, 1900
                                                                                             1900,, 1929
                                                                                                    1929,,
       1958
       1958,, 1990
               1990,, 2021
                        2021,, 2054
                                 2054,, 2088
                                          2088,, 2123
                                                   2123,, 2159
                                                            2159,, 2197
                                                                     2197,, 2236
                                                                              2236,, 2276
                                                                                      2276,, 2319
                                                                                             2319,, 2363
                                                                                                    2363,,
       2410
       2410,, 2458
               2458,, 2508
                        2508,, 2561
                                 2561,, 2616
                                          2616,, 2675
                                                   2675,, 2737
                                                            2737,, 2802
                                                                     2802,, 2871
                                                                              2871,, 2944
                                                                                      2944,, 3020
                                                                                             3020,, 3102
                                                                                                    3102,,
       3188
       3188,, 3280
               3280,, 3375
                        3375,, 3478
                                 3478,, 3586
                                          3586,, 3702
                                                   3702,, 3823
                                                            3823,, 3953
                                                                     3953,, 4089
                                                                              4089,, 4236
                                                                                      4236,, 4394
                                                                                             4394,, 4559
                                                                                                    4559,,
       4737
       4737,, 4929
               4929,, 5130
                        5130,, 5347
    },
    {




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              12,, 18
                   18,, 25
                         25,, 33
                              33,, 41
                                   41,, 50
                                         50,, 60
                                              60,,
          70
          70,, 80
               80,, 91
                     91,, 103
                          103,, 115
                                 115,, 127
                                       127,, 140
                                              140,, 153
                                                     153,,
          166
          166,, 180
                 180,, 194
                        194,, 208
                              208,, 222
                                     222,, 237
                                            237,, 251
                                                   251,, 266
                                                         266,,
          281
          281,, 296
                 296,, 312
                        312,, 327
                              327,, 343
                                     343,, 358
                                            358,, 374
                                                   374,, 390
                                                         390,,
          405
          405,, 421
                 421,, 437
                        437,, 453
                              453,, 469
                                     469,, 484
                                            484,, 500
                                                   500,, 516
                                                         516,,
          532
          532,, 548
                 548,, 564
                        564,, 580
                              580,, 596
                                     596,, 611
                                            611,, 627
                                                   627,, 643
                                                         643,,
          659
          659,, 674
                 674,, 690
                        690,, 706
                              706,, 721
                                     721,, 737
                                            737,, 752
                                                   752,, 768
                                                         768,,
          783
          783,, 798
                 798,, 814
                        814,, 829
                              829,, 844
                                     844,, 859
                                            859,, 874
                                                   874,, 889
                                                         889,,
          904
          904,, 919
                 919,, 934
                        934,, 949
                              949,, 964
                                     964,, 978
                                            978,, 993
                                                   993,, 1008
                                                         1008,,
          1022
          1022,, 1037
                  1037,, 1051
                          1051,, 1065
                                  1065,, 1080
                                          1080,, 1094
                                                   1094,, 1108
                                                           1108,, 1122
                                                                  1122,,
          1136
          1136,, 1151
                  1151,, 1165
                          1165,, 1179
                                  1179,, 1192
                                          1192,, 1206
                                                   1206,, 1220
                                                           1220,, 1234
                                                                  1234,,
          1248
          1248,, 1261
                  1261,, 1275
                          1275,, 1288
                                  1288,, 1302
                                          1302,, 1315
                                                   1315,, 1329
                                                           1329,, 1342
                                                                  1342,,
          1368
          1368,, 1393
                  1393,, 1419
                          1419,, 1444
                                  1444,, 1469
                                          1469,, 1494
                                                   1494,, 1519
                                                           1519,, 1544
                                                                  1544,,
          1569
          1569,, 1594
                  1594,, 1618
                          1618,, 1643
                                  1643,, 1668
                                          1668,, 1692
                                                   1692,, 1717
                                                           1717,, 1741
                                                                  1741,,
          1765
          1765,, 1789
                  1789,, 1814
                          1814,, 1838
                                  1838,, 1862
                                          1862,, 1885
                                                   1885,, 1909
                                                           1909,, 1933
                                                                  1933,,
          1957
          1957,, 1992
                  1992,, 2027
                          2027,, 2061
                                  2061,, 2096
                                          2096,, 2130
                                                   2130,, 2165
                                                           2165,, 2199
                                                                  2199,,
          2233
          2233,, 2267
                  2267,, 2300
                          2300,, 2334
                                  2334,, 2367
                                          2367,, 2400
                                                   2400,, 2434
                                                           2434,, 2467
                                                                  2467,,
          2499
          2499,, 2532
                  2532,, 2575
                          2575,, 2618
                                  2618,, 2661
                                          2661,, 2704
                                                   2704,, 2746
                                                           2746,, 2788
                                                                  2788,,
          2830
          2830,, 2872
                  2872,, 2913
                          2913,, 2954
                                  2954,, 2995
                                          2995,, 3036
                                                   3036,, 3076
                                                           3076,, 3127
                                                                  3127,,
          3177
          3177,, 3226
                  3226,, 3275
                          3275,, 3324
                                  3324,, 3373
                                          3373,, 3421
                                                   3421,, 3469
                                                           3469,, 3517
                                                                  3517,,
          3565
          3565,, 3621
                  3621,, 3677
                          3677,, 3733
                                  3733,, 3788
                                          3788,, 3843
                                                   3843,, 3897
                                                           3897,, 3951
                                                                  3951,,
          4005
          4005,, 4058
                  4058,, 4119
                          4119,, 4181
                                  4181,, 4241
                                          4241,, 4301
                                                   4301,, 4361
                                                           4361,, 4420
                                                                  4420,,
          4479
          4479,, 4546
                  4546,, 4612
                          4612,, 4677
                                  4677,, 4742
                                          4742,, 4807
                                                   4807,, 4871
                                                           4871,, 4942
                                                                  4942,,
          5013
          5013,, 5083
                  5083,, 5153
                          5153,, 5222
                                  5222,, 5291
                                          5291,, 5367
                                                   5367,, 5442
                                                           5442,, 5517
                                                                  5517,,
          5591
          5591,, 5665
                  5665,, 5745
                          5745,, 5825
                                  5825,, 5905
                                          5905,, 5984
                                                   5984,, 6063
                                                           6063,, 6149
                                                                  6149,,
          6234
          6234,, 6319
                  6319,, 6404
                          6404,, 6495
                                  6495,, 6587
                                          6587,, 6678
                                                   6678,, 6769
                                                           6769,, 6867
                                                                  6867,,
          6966
          6966,, 7064
                  7064,, 7163
                          7163,, 7269
                                  7269,, 7376
                                          7376,, 7483
                                                   7483,, 7599
                                                           7599,, 7715
                                                                  7715,,
          7832
          7832,, 7958
                  7958,, 8085
                          8085,, 8214
                                  8214,, 8352
                                          8352,, 8492
                                                   8492,, 8635
                                                           8635,, 8788
                                                                  8788,,
          8945
          8945,, 9104
                  9104,, 9275
                          9275,, 9450
                                  9450,, 9639
                                          9639,, 9832
                                                   9832,, 10031
                                                           10031,, 10245
                                                                   10245,,
          10465
          10465,, 10702
                   10702,, 10946
                             10946,, 11210
                                      11210,, 11482
                                                11482,, 11776
                                                         11776,, 12081
                                                                  12081,, 12409
                                                                           12409,,
          12750
          12750,, 13118
                   13118,, 13501
                             13501,, 13913
                                      13913,, 14343
                                                14343,, 14807
                                                         14807,, 15290
                                                                  15290,, 15812
                                                                           15812,,
          16356
          16356,, 16943
                   16943,, 17575
                             17575,, 18237
                                      18237,, 18949
                                                18949,, 19718
                                                         19718,, 20521
                                                                  20521,, 21387
      }
  }


The function ac_q( b ) is specified as Ac_Qlookup[ (BitDepth-8) >> 1 ][ Clip3( 0, 255, b ) ] where Ac_Qlookup is defined as
follows:




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  Ac_Qlookup[[ 3 ][ 256 ] = {
    {
       4, 8, 9, 10 10,, 11
                         11,, 12
                               12,, 13
                                     13,, 14
                                           14,, 15
                                                 15,, 16
                                                       16,, 17
                                                             17,, 18
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       19
       19,, 20
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                                                                  41,, 42
                                                                        42,,
       43
       43,, 44
            44,, 45
                  45,, 46
                        46,, 47
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       55
       55,, 56
            56,, 57
                  57,, 58
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                                    60,, 61
                                          61,, 62
                                                62,, 63
                                                      63,, 64
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       67
       67,, 68
            68,, 69
                  69,, 70
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                                                74,, 75
                                                      75,, 76
                                                            76,, 77
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       79
       79,, 80
            80,, 81
                  81,, 82
                        82,, 83
                              83,, 84
                                    84,, 85
                                          85,, 86
                                                86,, 87
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       91
       91,, 92
            92,, 93
                  93,, 94
                        94,, 95
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                                    96,, 97
                                          97,, 98
                                                98,, 99
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                                                            100,, 101
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       104
       104,, 106
             106,, 108
                     108,, 110
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                                           114,, 116
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       128
       128,, 130
             130,, 132
                     132,, 134
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       152
       152,, 155
             155,, 158
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                                                   170,, 173
                                                          173,, 176
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       188
       188,, 191
             191,, 194
                     194,, 197
                            197,, 200
                                    200,, 203
                                           203,, 207
                                                   207,, 211
                                                          211,, 215
                                                                  215,, 219
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       231
       231,, 235
             235,, 239
                     239,, 243
                            243,, 247
                                    247,, 251
                                           251,, 255
                                                   255,, 260
                                                          260,, 265
                                                                  265,, 270
                                                                          270,, 275
                                                                                 275,, 280
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       285
       285,, 290
             290,, 295
                     295,, 300
                            300,, 305
                                    305,, 311
                                           311,, 317
                                                   317,, 323
                                                          323,, 329
                                                                  329,, 335
                                                                          335,, 341
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       353
       353,, 359
             359,, 366
                     366,, 373
                            373,, 380
                                    380,, 387
                                           387,, 394
                                                   394,, 401
                                                          401,, 408
                                                                  408,, 416
                                                                          416,, 424
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       440
       440,, 448
             448,, 456
                     456,, 465
                            465,, 474
                                    474,, 483
                                           483,, 492
                                                   492,, 501
                                                          501,, 510
                                                                  510,, 520
                                                                          520,, 530
                                                                                 530,, 540
                                                                                       540,,
       550
       550,, 560
             560,, 571
                     571,, 582
                            582,, 593
                                    593,, 604
                                           604,, 615
                                                   615,, 627
                                                          627,, 639
                                                                  639,, 651
                                                                          651,, 663
                                                                                 663,, 676
                                                                                       676,,
       689
       689,, 702
             702,, 715
                     715,, 729
                            729,, 743
                                    743,, 757
                                           757,, 771
                                                   771,, 786
                                                          786,, 801
                                                                  801,, 816
                                                                          816,, 832
                                                                                 832,, 848
                                                                                       848,,
       864
       864,, 881
             881,, 898
                     898,, 915
                            915,, 933
                                    933,, 951
                                           951,, 969
                                                   969,, 988
                                                          988,, 1007
                                                                  1007,, 1026
                                                                           1026,, 1046
                                                                                   1046,, 1066
                                                                                           1066,,
       1087
       1087,, 1108
               1108,, 1129
                        1129,, 1151
                                 1151,, 1173
                                          1173,, 1196
                                                   1196,, 1219
                                                            1219,, 1243
                                                                     1243,, 1267
                                                                              1267,, 1292
                                                                                      1292,, 1317
                                                                                             1317,, 1343
                                                                                                     1343,,
       1369
       1369,, 1396
               1396,, 1423
                        1423,, 1451
                                 1451,, 1479
                                          1479,, 1508
                                                   1508,, 1537
                                                            1537,, 1567
                                                                     1567,, 1597
                                                                              1597,, 1628
                                                                                      1628,, 1660
                                                                                             1660,, 1692
                                                                                                     1692,,
       1725
       1725,, 1759
               1759,, 1793
                        1793,, 1828
    },
    {
       4, 9, 1111,, 13
                     13,, 16
                           16,, 18
                                 18,, 21
                                       21,, 24
                                             24,, 27
                                                   27,, 30
                                                         30,, 33
                                                               33,, 37
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       40
       40,, 44
            44,, 48
                  48,, 51
                        51,, 55
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                                    59,, 63
                                          63,, 67
                                                67,, 71
                                                      71,, 75
                                                            75,, 79
                                                                  79,, 83
                                                                        83,,
       88
       88,, 92
            92,, 96
                  96,, 100
                        100,, 105
                               105,, 109
                                       109,, 114
                                              114,, 118
                                                      118,, 122
                                                             122,, 127
                                                                     127,, 131
                                                                             131,, 136
                                                                                   136,,
       140
       140,, 145
             145,, 149
                     149,, 154
                            154,, 158
                                    158,, 163
                                           163,, 168
                                                   168,, 172
                                                          172,, 177
                                                                  177,, 181
                                                                          181,, 186
                                                                                 186,, 190
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       195
       195,, 199
             199,, 204
                     204,, 208
                            208,, 213
                                    213,, 217
                                           217,, 222
                                                   222,, 226
                                                          226,, 231
                                                                  231,, 235
                                                                          235,, 240
                                                                                 240,, 244
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       249
       249,, 253
             253,, 258
                     258,, 262
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                                      27071,, 27599
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                                                                  28687,, 29247
      }
  }


The function get_qindex( ignoreDeltaQ, segmentId ) returns the quantizer index for the current block and is specified by
the following:

          • If seg_feature_active_idx( segmentId, SEG_LVL_ALT_Q ) is equal to 1 the following ordered steps apply:

                 1. Set the variable data equal to FeatureData[ segmentId ][ SEG_LVL_ALT_Q ].

                 2. Set qindex equal to base_q_idx + data.

                 3. If ignoreDeltaQ is equal to 0 and delta_q_present is equal to 1, set qindex equal to CurrentQIndex +
                    data.

                 4. Return Clip3( 0, 255, qindex ).




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      • Otherwise, if ignoreDeltaQ is equal to 0 and delta_q_present is equal to 1, return CurrentQIndex.

      • Otherwise, return base_q_idx.


   Note: When using both delta quantization and lossless segments, care should be taken that get_qindex returns 0
   for the lossless segments. One approach is to set FeatureData[ segmentId ][ SEG_LVL_ALT_Q ] to -255 for the
   lossless segments.


The function get_dc_quant( plane ) returns the quantizer value for the dc coefficient for a particular plane and is derived
as follows:

      • If plane is equal to 0, return dc_q( get_qindex( 0, segment_id ) + DeltaQYDc ).

      • Otherwise if plane is equal to 1, return dc_q( get_qindex( 0, segment_id ) + DeltaQUDc ).

      • Otherwise (plane is equal to 2), return dc_q( get_qindex( 0, segment_id ) + DeltaQVDc ).

The function get_ac_quant( plane ) returns the quantizer value for the ac coefficient for a particular plane and is derived
as follows:

      • If plane is equal to 0, return ac_q( get_qindex( 0, segment_id ) ).

      • Otherwise if plane is equal to 1, return ac_q( get_qindex( 0, segment_id ) + DeltaQUAc ).

      • Otherwise (plane is equal to 2), return ac_q( get_qindex( 0, segment_id ) + DeltaQVAc ).


7.12.3. Reconstruct process
The reconstruct process is invoked to perform dequantization, inverse transform and reconstruction. This process is
triggered at a point defined by a function call to reconstruct in the transform block syntax table described in section
5.11.35.

The inputs to this process are:

      • a variable plane specifying which plane is being reconstructed,

      • variables x and y specifying the location of the top left sample in the CurrFrame[ plane ] array of the current
        transform block,

      • a variable txSz, specifying the size of the transform block.

The outputs of this process are reconstructed samples in the current frame CurrFrame.

The reconstruction and dequantization process is defined as follows:

The variable dqDenom is derived as follows:

      • If txSz is equal to TX_32X32, TX_16X32, TX_32X16, TX_16X64, or TX_64X16, dqDenom is set equal to 2.


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      • Otherwise, if txSz is equal to TX_64X64, TX_32X64, or TX_64X32, dqDenom is set equal to 4.

      • Otherwise, dqDenom is set equal to 1.

The variable log2W (specifying the base 2 logarithm of the width of the transform block) is set equal to Tx_Width_Log2[
txSz ].

The variable log2H (specifying the base 2 logarithm of the height of the transform block) is set equal to Tx_Height_Log2[
txSz ].

The variable w (specifying the width of the transform block) is set equal to 1 << log2W.

The variable h (specifying the height of the transform block) is set equal to 1 << log2H.

The variable tw is set equal to Min( 32, w ).

The variable th is set equal to Min( 32, h ).

The variable flipUD is derived as follows. If PlaneTxType is equal to one of FLIPADST_DCT, FLIPADST_ADST,
V_FLIPADST, or FLIPADST_FLIPADST, flipUD is set equal to 1. Otherwise, flipUD is set equal to 0.

The variable flipLR is derived as follows. If PlaneTxType is equal to one of DCT_FLIPADST, ADST_FLIPADST,
H_FLIPADST, or FLIPADST_FLIPADST, flipLR is set equal to 1. Otherwise, flipLR is set equal to 0.

The following ordered steps apply:

     1. For i = 0..(th-1), for j = 0..(tw-1), the following ordered steps apply:

         a. The variable q is derived as follows:

                ◦ If i is equal to 0 and j is equal to 0, the variable q is set equal to get_dc_quant( plane ).

                ◦ Otherwise (i, j or both are not equal to 0), the variable q is set equal to get_ac_quant( plane ).

         b. The variable q2 is derived as follows:

                ◦ If using_qmatrix is equal to 1, PlaneTxType is less than IDTX, and SegQMLevel[ plane ][ segment_id ]
                  is less than 15, q2 is set equal to Round2( q * Quantizer_Matrix[ SegQMLevel[ plane ][ segment_id ] ][
                  plane > 0 ][ Qm_Offset[ txSz ] + i * tw + j ], 5 ).

                ◦ Otherwise, q2 is set equal to q.

         c. The variable dq is set equal to Quant[ i * tw + j ] * q2.

         d. The variable sign is set equal to ( dq < 0 ) ? -1 : 1.

         e. The variable dq2 is set equal to sign * ( Abs( dq ) & 0xFFFFFF ) / dqDenom.

         f. Dequant[ i ][ j ] is set equal to Clip3( - ( 1 << ( 7 + BitDepth ) ), ( 1 << ( 7 + BitDepth ) ) - 1, dq2 ).



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     2. Invoke the 2D inverse transform block process defined in section 7.13.3 with the variable txSz as input. The
        inverse transform outputs are stored in the Residual buffer.

     3. For i = 0..(h-1), for j = 0..(w-1), the following applies:

                ◦ The variable xx is set equal to flipLR ? ( w - j - 1 ) : j.

                ◦ The variable yy is set equal to flipUD ? ( h - i - 1 ) : i.

                ◦ CurrFrame[ plane ][ y + yy ][ x + xx ] is set equal to Clip1( CurrFrame[ plane ][ y + yy ][ x + xx ] +
                  Residual[ i ][ j ] ).

If Lossless is equal to 1, it is a requirement of bitstream conformance that the values written into the Residual array in step
2 are representable by a signed integer with 1 + BitDepth bits.


   Note: When Lossless is equal to 0, values written into Residual may not be representable by 1 + BitDepth bits (for
   example, due to quantization noise). The constraints in other parts of the specification ensure that the values will
   always be representable by a signed integer with Max( BitDepth + 5, 15 ) bits.



7.13. Inverse transform process
7.13.1. General
This section details the inverse transforms used during the reconstruction processes detailed in section 7.12.


7.13.2. 1D transforms
7.13.2.1. Butterfly functions
This section defines the butterfly functions B and H used by the 1D transform processes.

The inverse transform process works by writing values into an array T.

The function brev(numBits, x) returns the bit-reversal of numBits of x and is specified as follows:


   brev(( numBits,, x ) {
       t = 0
       for ( i = 0; i < numBits;; i++
                                   ++ ) {
            bit = (x >> i)) & 1
            t += bit << (numBits - 1 - i))
       }
       return t
   }


The function B( a, b, angle, 0, r ) performs a butterfly rotation specified by the following ordered steps:




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     1. The variable x is set equal to T[ a ] * cos128( angle ) - T[ b ] * sin128( angle ).

     2. The variable y is set equal to T[ a ] * sin128( angle ) + T[ b ] * cos128( angle ).

     3. T[ a ] is set equal to Round2( x, 12 ).

     4. T[ b ] is set equal to Round2( y, 12 ).

It is a requirement of bitstream conformance that the values saved into the array T by this function are representable by a
signed integer using r bits of precision.

The function cos128( angle ) is specified for integer values of the input angle by the following ordered steps:

     1. Set a variable angle2 equal to angle & 255.

     2. If angle2 is greater than or equal to 0 and less than or equal to 64, return Cos128_Lookup[ angle2 ].

     3. If angle2 is greater than 64 and less than or equal to 128, return Cos128_Lookup[ 128 - angle2 ] * -1.

     4. If angle2 is greater than 128 and less than or equal to 192, return Cos128_Lookup[ angle2 - 128 ] * -1.

     5. Otherwise (if angle2 is greater than 192 and less than 256), return Cos128_Lookup[ 256 - angle2 ].

Where Cos128_Lookup is a constant lookup table defined as:


  Cos128_Lookup[[ 65 ] = {
      4096
      4096,, 4095
             4095,, 4091
                    4091,, 4085
                            4085,, 4076
                                   4076,, 4065
                                          4065,, 4052
                                                 4052,, 4036
                                                         4036,,
      4017
      4017,, 3996
             3996,, 3973
                    3973,, 3948
                            3948,, 3920
                                   3920,, 3889
                                          3889,, 3857
                                                 3857,, 3822
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      3784
      3784,, 3745
             3745,, 3703
                    3703,, 3659
                            3659,, 3612
                                   3612,, 3564
                                          3564,, 3513
                                                 3513,, 3461
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      3406
      3406,, 3349
             3349,, 3290
                    3290,, 3229
                            3229,, 3166
                                   3166,, 3102
                                          3102,, 3035
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      2896
      2896,, 2824
             2824,, 2751
                    2751,, 2675
                            2675,, 2598
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      2276
      2276,, 2191
             2191,, 2106
                    2106,, 2019
                            2019,, 1931
                                   1931,, 1842
                                          1842,, 1751
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      1567
      1567,, 1474
             1474,, 1380
                    1380,, 1285
                            1285,, 1189
                                   1189,, 1092
                                          1092,, 995
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                                                        897,,
      799
      799,, 700
            700,, 601
                  601,, 501
                        501,, 401
                              401,, 301
                                    301,, 201
                                          201,, 101
                                                101,, 0
  }


The function sin128( angle ) is defined to be cos128( angle - 64 ).


   Note: The cos128 function implements the expression 4096 * cos( angle * pi / 128 ) rounded to the nearest
   integer. The sin128 function implements the expression 4096 * sin( angle * pi / 128 ) rounded to the nearest
   integer.


When the angle is equal to 32 + 64 * k for integer k the butterfly rotation can be equivalently performed with two fewer
multiplications (because the magnitude of cos128( 32 + 64 * k ) is always equal to that of sin128( 32 + 64 * k )) by the
following process:

     1. The variable v is set equal to (angle & 64) ? T[ a ] + T[ b ] : T[ a ] - T[ b ].


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      2. The variable w is set equal to (angle & 64) ? -T[ a ] + T[ b ] : T[ a ] + T[ b ].

      3. The variable x is set equal to v * cos128( angle ).

      4. The variable y is set equal to w * cos128( angle ).

      5. T[ a ] is set equal to Round2( x, 12 ).

      6. T[ b ] is set equal to Round2( y, 12 ).

It is a requirement of bitstream conformance that the values saved into the array T by this function are representable by a
signed integer using r bits of precision.

The function B( a ,b, angle, 1, r ) performs a butterfly rotation and flip specified by the following ordered steps:

      1. The function B( a, b, angle, 0, r ) is invoked.

      2. The contents of T[ a ] and T[ b ] are exchanged.

The function H( a, b, 0, r ) performs a Hadamard rotation specified by the following ordered steps:

      1. The variable x is set equal to T[ a ].

      2. The variable y is set equal to T[ b ].

      3. T[ a ] is set equal to Clip3( - ( 1 << ( r - 1 ) ), ( 1 << ( r - 1 ) ) - 1, x + y ).

      4. T[ b ] is set equal to Clip3( - ( 1 << ( r - 1 ) ), ( 1 << ( r - 1 ) ) - 1, x - y ).

The function H( a, b, 1, r ) performs a Hadamard rotation with flipped indices and is specified as follows:

      1. The function H( b, a, 0, r ) is invoked.


7.13.2.2. Inverse DCT array permutation process
This process performs an in-place permutation of the array T of length 2n for 2 ≤ n ≤ 6 which is required before execution
of the inverse DCT process.

The input to this process is a variable n that specifies the base 2 logarithm of the length of the input array.

A temporary array named copyT is set equal to T.

T[ i ] is set equal to copyT[ brev( n, i ) ] for i = 0..((1 << n) - 1).


7.13.2.3. Inverse DCT process
This process performs an in-place inverse discrete cosine transform of the permuted array T which is of length 2 n for 2 ≤ n
≤ 6.

The inputs to this process are:



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      • a variable n that specifies the base 2 logarithm of the length of the input array,

      • a variable r that specifies the intermediate clamping range.

The following ordered steps apply:

     1. Invoke the inverse DCT permutation process as specified in section 7.13.2.2 with the input variable n.

     2. If n is equal to 6, invoke B( 32 + i, 63 - i, 63 - 4 * brev( 4, i ), 0, r ) for i = 0..15.

     3. If n is greater than or equal to 5, invoke B( 16 + i, 31 - i, 6 + ( brev( 3, 7 - i ) << 3 ), 0, r ) for i = 0..7.

     4. If n is equal to 6, invoke H( 32 + i * 2, 33 + i * 2, i & 1, r ) for i = 0..15.

     5. If n is greater than or equal to 4, invoke B( 8 + i, 15 - i, 12 + ( brev( 2, 3 - i ) << 4 ), 0, r ) for i = 0..3.

     6. If n is greater than or equal to 5, invoke H( 16 + 2 * i, 17 + 2 * i, i & 1, r ) for i = 0..7.

     7. If n is equal to 6, invoke B( 62 - i * 4 - j, 33 + i * 4 + j, 60 - 16 * brev( 2, i ) + 64 * j, 1, r ) for i = 0..3, for j = 0..1.

     8. If n is greater than or equal to 3, invoke B( 4 + i, 7 - i, 56 - 32 * i, 0, r ) for i = 0..1.

     9. If n is greater than or equal to 4, invoke H( 8 + 2 * i, 9 + 2 * i, i & 1, r ) for i = 0..3.

    10. If n is greater than or equal to 5, invoke B( 30 - 4 * i - j, 17 + 4 * i + j, 24 + (j << 6) + ( ( 1 - i ) << 5 ), 1, r ) for i =
        0..1, for j=0..1.

    11. If n is equal to 6, invoke H( 32 + i * 4 + j, 35 + i * 4 - j, i & 1, r ) for i = 0..7, for j = 0..1.

    12. Invoke B( 2 * i, 2 * i + 1, 32 + 16 * i, 1 - i, r ) for i = 0..1.

    13. If n is greater than or equal to 3, invoke H( 4 + 2 * i, 5 + 2 * i, i, r ) for i = 0..1.

    14. If n is greater than or equal to 4, invoke B( 14 - i, 9 + i, 48 + 64 * i, 1, r ) for i = 0..1.

    15. If n is greater than or equal to 5, invoke H( 16 + 4 * i + j, 19 + 4 * i - j, i & 1, r ) for i = 0..3, for j = 0..1.

    16. If n is equal to 6, invoke B( 61 - i * 8 - j, 34 + i * 8 + j, 56 - i * 32 + ( j >> 1 ) * 64, 1, r ) for i = 0..1, for j = 0..3.

    17. Invoke H( i, 3 - i, 0, r ) for i = 0..1.

    18. If n is greater than or equal to 3, invoke B( 6, 5, 32, 1, r ).

    19. If n is greater than or equal to 4, invoke H( 8 + 4 * i + j, 11 + 4 * i - j, i, r ) for i = 0..1, for j = 0..1.

    20. If n is greater than or equal to 5, invoke B( 29 - i, 18 + i, 48 + ( i >> 1 ) * 64, 1, r ) for i = 0..3.

    21. If n is equal to 6, invoke H( 32 + 8 * i + j, 39 + 8 * i - j, i & 1, r ) for i = 0..3, for j = 0..3.

    22. If n is greater than or equal to 3, invoke H( i, 7 - i, 0, r ) for i = 0..3.



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    23. If n is greater than or equal to 4, invoke B( 13 - i, 10 + i, 32, 1, r ) for i = 0..1.

    24. If n is greater than or equal to 5, invoke H( 16 + i * 8 + j, 23 + i * 8 - j, i, r ) for i = 0..1, for j = 0..3.

    25. If n is equal to 6, invoke B( 59 - i, 36 + i, i < 4 ? 48 : 112, 1, r ) for i = 0..7.

    26. If n is greater than or equal to 4, invoke H( i, 15 - i, 0, r ) for i = 0..7.

    27. If n is greater than or equal to 5, invoke B( 27 - i, 20 + i, 32, 1, r ) for i = 0..3.

    28. If n is equal to 6, the following steps apply for i = 0..7:

                 ◦ Invoke H( 32 + i, 47 - i, 0, r ).

                 ◦ Invoke H( 48 + i, 63 - i, 1, r ).

    29. If n is greater than or equal to 5, invoke H( i, 31 - i, 0, r ) for i = 0..15.

    30. If n is equal to 6, invoke B( 55 - i, 40 + i, 32, 1, r ) for i = 0..7.

    31. If n is equal to 6, invoke H( i, 63 - i, 0, r ) for i = 0..31.


7.13.2.4. Inverse ADST input array permutation process
This process performs the in-place permutation of the array T of length 2n which is required as the first step of the inverse
ADST, where 3 ≤ n ≤ 4.

The input to this process is a variable n that specifies the base 2 logarithm of the length of the input array.

The variable n0 is set equal to 1 << n.

A temporary array named copyT is set equal to T.

The following steps apply for i = 0..(n0-1):

      • The variable idx is set equal to ( i & 1 ) ? ( i - 1 ) : ( n0 - i - 1 ).

      • T[ i ] is set equal to copyT[ idx ].


7.13.2.5. Inverse ADST output array permutation process
This process performs the in-place permutation of the array T of length 2n which is required before the final step of the
inverse ADST, where 3 ≤ n ≤ 4.

The input to this process is a variable n that specifies the base 2 logarithm of the length of the input array.

The variable n0 is set equal to 1 << n.

A temporary array named copyT is set equal to T.




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The following steps apply for i = 0..(n0-1):

      • The variable a is set equal to ( ( i >> 3 ) & 1 ).

      • The variable b is set equal to ( ( i >> 2 ) & 1 ) ^ ( ( i >> 3 ) & 1 ).

      • The variable c is set equal to ( ( i >> 1 ) & 1 ) ^ ( ( i >> 2 ) & 1 ).

      • The variable d is set equal to ( i & 1 ) ^ ( ( i >> 1 ) & 1 ).

      • The variable idx is set equal to ( ( d << 3 ) | ( c << 2 ) | ( b << 1 ) | a ) >> ( 4 - n ).

      • T[ i ] is set equal to ( i & 1 ) ? ( - copyT[ idx ] ) : copyT[ idx ].


7.13.2.6. Inverse ADST4 process
This process performs an in-place inverse ADST process on the array T of size 4.

The input to this process is a variable r, specifying the intermediate clamping range.

The following applies:




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  s[[ 0 ] = SINPI_1_9 * T[[ 0 ]
  s[[ 1 ] = SINPI_2_9 * T[[ 0 ]
  s[[ 2 ] = SINPI_3_9 * T[[ 1 ]
  s[[ 3 ] = SINPI_4_9 * T[[ 2 ]
  s[[ 4 ] = SINPI_1_9 * T[[ 2 ]
  s[[ 5 ] = SINPI_2_9 * T[[ 3 ]
  s[[ 6 ] = SINPI_4_9 * T[[ 3 ]
  a7 = T[[ 0 ] - T[[ 2 ]
  b7 = a7 + T[[ 3 ]

  s[[ 0 ] = s[[ 0 ] + s[[ 3 ]
  s[[ 1 ] = s[[ 1 ] - s[[ 4 ]
  s[[ 3 ] = s[[ 2 ]
  s[[ 2 ] = SINPI_3_9 * b7

  s[[ 0 ] = s[[ 0 ] + s[[ 5 ]
  s[[ 1 ] = s[[ 1 ] - s[[ 6 ]

  x[[ 0 ] = s[[ 0 ] + s[[ 3 ]
  x[[ 1 ] = s[[ 1 ] + s[[ 3 ]
  x[[ 2 ] = s[[ 2 ]
  x[[ 3 ] = s[[ 0 ] + s[[ 1 ]

  x[[ 3 ] = x[[ 3 ] - s[[ 3 ]

  T[[ 0 ] = Round2(( x[[ 0 ], 12 )
  T[[ 1 ] = Round2(( x[[ 1 ], 12 )
  T[[ 2 ] = Round2(( x[[ 2 ], 12 )
  T[[ 3 ] = Round2(( x[[ 3 ], 12 )


where the constants used are defined as follows:


                                  Symbol                                                         Value

                                 SINPI_1_9                                                        1321

                                 SINPI_2_9                                                        2482

                                 SINPI_3_9                                                        3344

                                 SINPI_4_9                                                        3803


It is a requirement of bitstream conformance that all values stored in the s and x arrays by this process are representable
by a signed integer using r + 12 bits of precision.

It is a requirement of bitstream conformance that values stored in the variable a7 by this process are representable by a
signed integer using r + 1 bits of precision.

It is a requirement of bitstream conformance that values stored in the variable b7 by this process are representable by a
signed integer using r bits of precision.


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7.13.2.7. Inverse ADST8 process
This process performs an in-place inverse ADST process on the array T of size 8.

The input to this process is a variable r, specifying the intermediate clamping range.

The following ordered steps apply:

     1. Invoke the ADST input array permutation process specified in section 7.13.2.4 with the input variable n set to 3.

     2. Invoke B( 2 * i, 2 * i + 1, 60 - 16 * i, 1, r ) for i = 0..3.

     3. Invoke H( i, 4 + i, 0, r ) for i = 0..3.

     4. Invoke B( 4 + 3 * i, 5 + i, 48 - 32 * i, 1, r ) for i = 0..1.

     5. Invoke H( 4 * j + i, 2 + 4 * j + i, 0, r ) for i = 0..1, for j = 0..1.

     6. Invoke B( 2 + 4 * i, 3 + 4 * i, 32, 1, r ) for i = 0..1.

     7. Invoke the ADST output array permutation process specified in section 7.13.2.5 with the input variable n set to 3.


7.13.2.8. Inverse ADST16 process
This process performs an in-place inverse ADST process on the array T of size 16.

The input to this process is a variable r, specifying the intermediate clamping range.

The following ordered steps apply:

     1. Invoke the ADST input array permutation process specified in section 7.13.2.4 with the input variable n set to 4.

     2. Invoke B( 2 * i, 2 * i + 1, 62 - 8 * i, 1, r ) for i = 0..7.

     3. Invoke H( i, 8 + i, 0, r ) for i = 0..7.

     4. Invoke B( 8 + 2 * i, 9 + 2 * i, 56 - 32 * i, 1, r ) and B( 13 + 2 * i, 12 + 2 * i, 8 + 32 * i, 1, r ) for i = 0..1.

     5. Invoke H( 8 * j + i, 4 + 8 * j + i, 0, r ) for i = 0..3, for j = 0..1.

     6. Invoke B( 4 + 8 * j + 3 * i, 5 + 8 * j + i, 48 - 32 * i, 1, r ) for i = 0..1, for j = 0..1.

     7. Invoke H( 4 * j + i, 2 + 4 * j + i, 0, r ) for i = 0..1, for j = 0..3.

     8. Invoke B( 2 + 4 * i, 3 + 4 * i, 32, 1, r ) for i = 0..3.

     9. Invoke the ADST output array permutation process specified in section 7.13.2.5 with the input variable n set to 4.


7.13.2.9. Inverse ADST process
This process performs an in-place inverse ADST process on the array T of size 2n for 2 ≤ n ≤ 4.


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The inputs to this process are:

      • a variable n that specifies the base 2 logarithm of the length of the input array.

      • a variable r that specifies the intermediate clamping range.

The following steps apply:

      • If n is equal to 2, invoke the inverse ADST4 process in section 7.13.2.6, with the input variable r.

      • Otherwise, if n is equal to 3, invoke the inverse ADST8 process in section 7.13.2.7, with the input variable r.

      • Otherwise (n is equal to 4), invoke the inverse ADST16 process in section 7.13.2.8, with the input variable r.


7.13.2.10. Inverse Walsh-Hadamard transform process
The input to this process is a variable shift that specifies the amount of pre-scaling.

This process does an in-place transform of the array T (of length 4) by the following ordered steps:


   a = T[[ 0 ] >> shift
   c = T[[ 1 ] >> shift
   d = T[[ 2 ] >> shift
   b = T[[ 3 ] >> shift
   a += c
   d -= b
   e = (a - d)) >> 1
   b = e - b
   c = e - c
   a -= b
   d += c
   T[[ 0 ] = a
   T[[ 1 ] = b
   T[[ 2 ] = c
   T[[ 3 ] = d



7.13.2.11. Inverse identity transform 4 process
The process does an in-place transform of the array T (of length 4) by the following calculation for i = 0..3:


   T[[ i ] = Round2(( T[[ i ] * 5793
                                5793,, 12 )



7.13.2.12. Inverse identity transform 8 process
The process does an in-place transform of the array T (of length 8) by the following calculation for i = 0..7:




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   T[[ i ] = T[[ i ] * 2



7.13.2.13. Inverse identity transform 16 process
The process does an in-place transform of the array T (of length 16) by the following calculation for i = 0..15:


   T[[ i ] = Round2(( T[[ i ] * 11586
                                11586,, 12 )



7.13.2.14. Inverse identity transform 32 process
The process does an in-place transform of the array T (of length 32) by the following calculation for i = 0..31:


   T[[ i ] = T[[ i ] * 4



7.13.2.15. Inverse identity transform process
This process performs an in-place identity transform process (with a size-dependent scaling factor) on the array T of size
2n for 2 ≤ n ≤ 5.

The input to this process is a variable n that specifies the base 2 logarithm of the length of the input array.

The process to invoke depends on n as follows:

      • If n is equal to 2, invoke the inverse identity transform 4 process in section 7.13.2.11.

      • Otherwise, if n is equal to 3, invoke the inverse identity transform 8 process in section 7.13.2.12.

      • Otherwise, if n is equal to 4, invoke the inverse identity transform 16 process in section 7.13.2.13.

      • Otherwise (n is equal to 5), invoke the inverse identity transform 32 process in section 7.13.2.14.


7.13.3. 2D inverse transform process
This process performs a 2D inverse transform for an array of coefficients stored in the 2D array Dequant. The output is
placed in the 2D array Residual.

The input to this process is a variable txSz that specifies the transform size.

Set the variable log2W equal to Tx_Width_Log2[ txSz ].

Set the variable log2H equal to Tx_Height_Log2[ txSz ].

Set the variable w equal to 1 << log2W.

Set the variable h equal to 1 << log2H.



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Set the variable rowShift equal to Lossless ? 0 : Transform_Row_Shift[ txSz ].

Set the variable colShift equal to Lossless ? 0 : 4.

Set the variable rowClampRange equal to BitDepth + 8.

Set the variable colClampRange equal to Max( BitDepth + 6, 16 ).

The row transforms with i = 0..(h-1) are applied as follows:

      • T[ j ] is derived as follows for j = 0..(w-1):

                ◦ If i and j are both less than 32, T[ j ] is set equal to Dequant[ i ][ j ].

                ◦ Otherwise, T[ j ] is set equal to 0.

      • If Abs( log2W - log2H ) is equal to 1, T[ j ] is set equal to Round2( T[ j ] * 2896, 12 ) for j = 0..(w-1).

      • If Lossless is equal to 1, invoke the Inverse WHT process as specified in section 7.13.2.10 with shift equal to 2.

      • Otherwise, if PlaneTxType is equal to one of DCT_DCT, ADST_DCT, FLIPADST_DCT or H_DCT, invoke the
        inverse DCT process as specified in section 7.13.2.3 with the input variable n equal to log2W and the input
        variable r equal to rowClampRange.

      • Otherwise, if PlaneTxType is equal to one of DCT_ADST, ADST_ADST, DCT_FLIPADST,
        FLIPADST_FLIPADST, ADST_FLIPADST, FLIPADST_ADST, H_ADST, or H_FLIPADST, invoke the inverse
        ADST process as specified in section 7.13.2.9 with input variable n equal to log2W and the input variable r equal
        to rowClampRange.

      • Otherwise, invoke the inverse identity transform process specified in section 7.13.2.15 with the input variable n
        equal to log2W.

      • Set Residual[ i ][ j ] equal to Round2( T[ j ], rowShift ) for j = 0..(w-1).

Between the row and column transforms, Residual[ i ][ j ] is set equal to Clip3( - ( 1 << ( colClampRange - 1 ) ), ( 1 << (
colClampRange - 1 ) ) - 1, Residual[ i ][ j ] ) for i = 0..(h-1), for j = 0..(w-1).

The column transforms with j = 0..(w-1) are applied as follows:

      • Set T[ i ] equal to Residual[ i ][ j ] for i = 0..(h-1).

      • If Lossless is equal to 1, invoke the Inverse WHT process as specified in section 7.13.2.10 with shift equal to 0.

      • Otherwise, if PlaneTxType is equal to one of DCT_DCT, DCT_ADST, DCT_FLIPADST or V_DCT, invoke the
        inverse DCT process as specified in section 7.13.2.3 with the input variable n equal to log2H and the input
        variable r equal to colClampRange.




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      • Otherwise, if PlaneTxType is equal to one of ADST_DCT, ADST_ADST, FLIPADST_DCT,
        FLIPADST_FLIPADST, ADST_FLIPADST, FLIPADST_ADST, V_ADST, or V_FLIPADST, invoke the inverse
        ADST process as specified in section 7.13.2.9 with input variable n equal to log2H and the input variable r equal
        to colClampRange.

      • Otherwise, invoke the inverse identity transform process specified in section 7.13.2.15 with the input variable n
        equal to log2H.

      • Residual[ i ][ j ] is set equal to Round2( T[ i ], colShift ) for i = 0..(h-1).

where Transform_Row_Shift is defined as:


   Transform_Row_Shift[[ TX_SIZES_ALL ] = {
     0, 1, 2, 2, 2, 0, 0, 1, 1,
     1, 1, 1, 1, 1, 1, 2, 2, 2, 2
   }



7.14. Loop filter process
7.14.1. General
Input to this process is the array CurrFrame of reconstructed samples.

Output from this process is a modified array CurrFrame containing deblocked samples.

The purpose of the loop filter is to eliminate (or at least reduce) visually objectionable artifacts associated with the semi-
independence of the coding of super blocks and their constituent sub-blocks.

The loop filter is applied on all vertical boundaries followed by all horizontal boundaries as follows:


   for ( plane = 0; plane < NumPlanes;; plane++
                                              ++ ) {
       if ( plane == 0 ||
             loop_filter_level[[ 1 + plane ] ) {
           for ( pass = 0; pass < 2; pass++++ ) {
                rowStep = ( plane == 0 ) ? 1 : ( 1 << subsampling_y )
                colStep = ( plane == 0 ) ? 1 : ( 1 << subsampling_x )
                for ( row = 0; row < MiRows;; row += rowStep )
                    for ( col = 0; col < MiCols;; col += colStep )
                        loop_filter_edge(( plane,, pass,, row,, col )
           }
       }
   }


When the function loop_filter_edge is called, the edge loop filter process specified in section 7.14.2 is invoked with the
variables plane, pass, row, and col as inputs.




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   Note: The loop filter is an integral part of the decoding process, in that the results of loop filtering are used in the
   prediction of subsequent frames.



   Note: The loop filtering is designed so that any order of filtering for the edges will give identical results, provided
   that the vertical boundaries are filtered before the horizontal boundaries.



7.14.2. Edge loop filter process
The inputs to this process are:

      • a variable plane specifying whether the process is filtering Y, U, or V samples,

      • a variable pass specifying the direction of the edges. pass equal to 0 means the process is filtering vertical block
        boundaries, and pass equal to 1 means the process is filtering horizontal block boundaries,

      • variables row and col specifying the location of the edge in units of 4x4 blocks in the luma plane.

The outputs of this process are modified values in the array CurrFrame.

The variables subX and subY describing the subsampling of the current plane are derived as follows:

      • If plane is equal to 0, subX and subY are set equal to 0.

      • Otherwise (plane is not equal to 0), subX is set equal to subsampling_x and subY is set equal to subsampling_y.

The variables dx and dy are derived as follows:

      • If pass is equal to 0, then dx is set equal to 1, dy is set equal to 0.

      • Otherwise (pass is equal to 1), dy is set equal to 1, dx is set equal to 0.

dx and dy specify the offset between the samples to be filtered.

The variable x is set equal to col * MI_SIZE.

The variable y is set equal to row * MI_SIZE.

x and y contain the location in luma coordinates.

The variables row and col are adjusted as follows:

      • row is set equal to ( row | subY )

      • col is set equal to ( col | subX )

The variable onScreen (equal to 1 if the samples on both sides of the boundary lie in the visible area) is derived as
follows:


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      • If x is greater than or equal to FrameWidth, onScreen is set equal to 0.

      • Otherwise, if y is greater than or equal to FrameHeight, onScreen is set equal to 0.

      • Otherwise, if pass is equal to 0 and x is equal to 0, onScreen is set equal to 0.

      • Otherwise, if pass is equal to 1 and y is equal to 0, onScreen is set equal to 0.

      • Otherwise, onScreen is set equal to 1.

If onScreen is equal to 0, then this process immediately returns and no filtering is applied to this edge.

The variables xP and yP (containing the location in the current plane) are derived as follows:

      • Set xP equal to x >> subX

      • Set yP equal to y >> subY

The variables prevRow and prevCol (containing the location of the mode info block on the other side of the boundary) are
derived as follows:

      • Set prevRow equal to row - ( dy << subY )

      • Set prevCol equal to col - ( dx << subX )

Set the variable MiSize equal to MiSizes[ row ][ col ].

Set the variable txSz equal to LoopfilterTxSizes[ plane ][ row >> subY ][ col >> subX ].

Set the variable planeSize equal to get_plane_residual_size( MiSize, plane )

Set the variable skip equal to Skips[ row ][ col ].

Set the variable isIntra equal to RefFrames[ row ][ col ][ 0 ] <= INTRA_FRAME.

Set the variable prevTxSz equal to LoopfilterTxSizes[ plane ][ prevRow >> subY ][ prevCol >> subX ].

The variable isBlockEdge (equal to 1 if the samples cross a prediction block edge) is derived as follows:

      • If pass is equal to 0 and xP is an exact multiple of Block_Width[ planeSize ], isBlockEdge is set equal to 1.

      • Otherwise, if pass is equal to 1 and yP is an exact multiple of Block_Height[ planeSize ], isBlockEdge is set equal
        to 1.

      • Otherwise, isBlockEdge is set equal to 0.

The variable isTxEdge (equal to 1 if the samples cross a transform block edge) is derived as follows:

      • If pass is equal to 0 and xP is an exact multiple of Tx_Width[ txSz ], isTxEdge is set equal to 1.




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      • Otherwise, if pass is equal to 1 and yP is an exact multiple of Tx_Height[ txSz ], isTxEdge is set equal to 1.

      • Otherwise, isTxEdge is set equal to 0.

The variable applyFilter (equal to 1 if the samples are filtered) is derived as follows:

      • If isTxEdge is equal to 0, applyFilter is set equal to 0.

      • Otherwise, if isBlockEdge is equal to 1 or skip is equal to 0 or isIntra is equal to 1, applyFilter is set equal to 1.

      • Otherwise applyFilter is set equal to 0.

The filter size process specified in section 7.14.3 is invoked with the inputs txSz, prevTxSz, pass, and plane, and the
output assigned to the variable filterSize (containing the maximum filter size that can be used).

The adaptive filter strength process specified in section 7.14.4 is invoked with the inputs row, col, plane, and pass, and
the output assigned to the variables lvl, limit, blimit, and thresh.

If lvl is equal to 0, the adaptive filter strength process specified in section 7.14.4 is invoked with the inputs prevRow,
prevCol, plane, and pass, and the output assigned to the variables lvl, limit, blimit, and thresh.

For the variable i taking values from 0 to MI_SIZE - 1, the following applies:

      • If applyFilter is equal to 1 and lvl is greater than zero, the sample filtering process specified in section 7.14.6 is
        invoked with the input variable x set equal to xP + dy * i, the input variable y set equal to yP + dx * i, and the
        variables plane, limit, blimit, thresh, dx, dy, and filterSize supplied as inputs.


   Note: the vector (dx,dy) represents the direction of the filter, while (dy,dx) represents the direction of the boundary.



7.14.3. Filter size process
The inputs to this process are:

      • a variable txSz specifying the size of the transform block,

      • a variable prevTxSz specifying the size of the transform block on the other side of the boundary,

      • a variable pass specifying the direction of the edges,

      • a variable plane specifying whether the process is filtering Y, U, or V samples.

The output of this process is the variable filterSize containing the maximum filter size that can be used in samples.

The purpose of this process is to reduce the width of the chroma filters and to ensure that different boundaries can be
filtered in parallel.

The variable baseSize is derived as follows:




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      • If pass is equal to 0, baseSize is set equal to Min( Tx_Width[ prevTxSz ], Tx_Width[ txSz ] ),

      • Otherwise (pass is equal to 1), baseSize is set equal to Min( Tx_Height[ prevTxSz ], Tx_Height[ txSz ] ).

The output variable filterSize is derived as follows:

      • If plane is equal to 0, filterSize is set equal to Min( 16, baseSize ),

      • Otherwise, (plane is greater than 0), filterSize is set equal to Min( 8, baseSize ).


7.14.4. Adaptive filter strength process
The inputs to this process are:

      • the variables row and col specifying the luma location in units of 4x4 blocks,

      • the variable plane specifying whether the process is filtering Y, U or V samples,

      • the variable pass specifying the direction of the edge being filtered. pass equal to 0 means the process is filtering
        vertical block boundaries, and pass equal to 1 means the process is filtering horizontal block boundaries.

The outputs of this process are the variables lvl, limit, blimit, and thresh.

The output variable lvl is derived as follows:

      • The variable segment is set equal to SegmentIds[ row ][ col ].

      • The variable ref is set equal to RefFrames[ row ][ col ][ 0 ].

      • The variable mode is set equal to YModes[ row ][ col ].

      • The variable modeType is derived as follows:

               1. If mode is greater than or equal to NEARESTMV, and not equal to GLOBALMV, and not equal to
                  GLOBAL_GLOBALMV, modeType is set equal to 1.

               2. Otherwise (if mode is an intra type or GLOBALMV or GLOBAL_GLOBALMV), modeType is set equal to
                  0.

      • The variable deltaLF is derived as follows:

               1. If delta_lf_multi is equal to 0, deltaLF is set equal to DeltaLFs[ row ][ col ][ 0 ].

               2. Otherwise (delta_lf_multi is equal to 1), deltaLF is set equal to DeltaLFs[ row ][ col ][ ( plane == 0 ) ?
                  pass : ( plane + 1 ) ].

      • The adaptive filter strength selection process specified in section 7.14.5 is invoked, with segment, ref,
        modeType, deltaLF, plane, and pass as inputs, and the output being the output variable lvl.




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The variable shift is derived as follows:

       • If loop_filter_sharpness is greater than 4, shift is set equal to 2.

       • Otherwise, if loop_filter_sharpness is greater than 0, shift is set equal to 1.

       • Otherwise, shift is set equal to 0.

The output variable limit is derived as follows:

       • If loop_filter_sharpness is greater than 0, limit is set equal to Clip3( 1, 9 - loop_filter_sharpness, lvl >> shift ).

       • Otherwise, limit is set equal to Max( 1, lvl >> shift ).

The output variable blimit is set equal to 2 * (lvl + 2) + limit.

The output variable thresh is set equal to lvl >> 4.


7.14.5. Adaptive filter strength selection process
The inputs to this process are:

       • The variable segment, specifying the current segment id,

       • The variable ref, specifying the reference frame type (INTRA_FRAME, LAST_FRAME, etc.),

       • The variable modeType, specifying the loop filter mode type,

       • The variable deltaLF, specifying the loop filter delta value,

       • The variable plane, specifying whether the process is filtering Y, U or V samples,

       • The variable pass, specifying the direction of the edge being filtered. pass equal to 0 means the process is
         filtering vertical block boundaries, and pass equal to 1 means the process is filtering horizontal block boundaries.

The output of this process is a filter strength level.

This process is invoked to select a loop filter strength level.

The variable i is set equal to ( plane == 0 ) ? pass : ( plane + 1 ).

The variable baseFilterLevel is set equal to Clip3( 0, MAX_LOOP_FILTER, deltaLF + loop_filter_level[ i ] ).

The following ordered steps apply:

     1. The variable lvlSeg is set equal to baseFilterLevel.

     2. The variable feature is set equal to SEG_LVL_ALT_LF_Y_V + i.

     3. If seg_feature_active_idx( segment, feature ) is equal to 1 the following ordered steps apply:


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         a. lvlSeg is set equal to FeatureData[ segment ][ feature ] + lvlSeg.

         b. lvlSeg is set equal to Clip3( 0, MAX_LOOP_FILTER, lvlSeg ).

     4. If loop_filter_delta_enabled is equal to 1, then the following ordered steps apply:

         a. The variable nShift is set equal to lvlSeg >> 5.

         b. If ref is equal to INTRA_FRAME, then lvlSeg is set equal to lvlSeg + ( loop_filter_ref_deltas[ INTRA_FRAME ]
         << nShift ).

         c. Otherwise, if ref is not equal to INTRA_FRAME, then lvlSeg is set equal to lvlSeg + ( loop_filter_ref_deltas[ ref
         ] << nShift ) + ( loop_filter_mode_deltas[ modeType ] << nShift ).

         d. lvlSeg is set equal to Clip3(0, MAX_LOOP_FILTER, lvlSeg).

     5. Return lvlSeg.


7.14.6. Sample filtering process
7.14.6.1. General
The inputs to this process are:

      • variables x and y specifying the location within CurrFrame[ plane ],

      • a variable plane specifying whether the block is the Y, U or V plane,

      • variables limit, blimit, thresh that specify the strength of the filtering operation,

      • variables dx and dy specifying the direction perpendicular to the edge being filtered,

      • a variable filterSize of specifying the maximum size of filter allowed.

The outputs of this process are modified values in the array CurrFrame.

First the filter mask process specified in section 7.14.6.2 is invoked with the inputs x, y, plane, limit, blimit, thresh, dx, dy,
and filterSize, and the output is assigned to the variables hevMask, filterMask, flatMask, and flatMask2.

Then the appropriate filter process is invoked with the inputs x, y, plane, dx, dy as follows:

      • If filterMask is equal to 0, no filter is invoked.

      • Otherwise, if filterSize is equal to 4 or flatMask is equal to 0, the narrow filter process specified in section
        7.14.6.3 is invoked with the additional input variable hevMask.

      • Otherwise, if filterSize is equal to 8 or flatMask2 is equal to 0, the wide filter process specified in section 7.14.6.4
        is invoked with the additional input variable log2Size set to 3.




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      • Otherwise, the wide filter process specified in section 7.14.6.4 is invoked with the additional input variable
        log2Size set to 4.


7.14.6.2. Filter mask process
The inputs to this process are:

      • variables x and y specifying the location within CurrFrame[ plane ],

      • a variable plane specifying whether the block is the Y, U or V plane,

      • variables limit, blimit, thresh that specify the strength of the filtering operation,

      • variables dx and dy specifying the direction perpendicular to the edge being filtered,

      • a variable filterSize of specifying the maximum size of filter allowed.

The outputs from this process are the variables:

      • hevMask,

      • filterMask,

      • flatMask, (only used if filterSize >= 8),

      • flatMask2 (only used if filterSize >= 16).

The values output for these masks depend on the differences between samples on either side of the specified boundary.
These samples are specified as follows:


  q0 = CurrFrame[[ plane ][ y ][ x ]
  q1 = CurrFrame[[ plane ][ y + dy     ][ x + dx     ]
  q2 = CurrFrame[[ plane ][ y + dy * 2 ][ x + dx * 2 ]
  q3 = CurrFrame[[ plane ][ y + dy * 3 ][ x + dx * 3 ]
  q4 = CurrFrame[[ plane ][ y + dy * 4 ][ x + dx * 4 ]
  q5 = CurrFrame[[ plane ][ y + dy * 5 ][ x + dx * 5 ]
  q6 = CurrFrame[[ plane ][ y + dy * 6 ][ x + dx * 6 ]
  p0 = CurrFrame[[ plane ][ y - dy     ][ x - dx     ]
  p1 = CurrFrame[[ plane ][ y - dy * 2 ][ x - dx * 2 ]
  p2 = CurrFrame[[ plane ][ y - dy * 3 ][ x - dx * 3 ]
  p3 = CurrFrame[[ plane ][ y - dy * 4 ][ x - dx * 4 ]
  p4 = CurrFrame[[ plane ][ y - dy * 5 ][ x - dx * 5 ]
  p5 = CurrFrame[[ plane ][ y - dy * 6 ][ x - dx * 6 ]
  p6 = CurrFrame[[ plane ][ y - dy * 7 ][ x - dx * 7 ]



   Note: Samples q4, q5, q6, p4, p5, and p6 are only used if filterSize is equal to 16.




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The value of hevMask indicates whether the sample has high edge variance. It is calculated as follows:


   hevMask = 0
   threshBd = thresh << (BitDepth - 8)
   hevMask |= (Abs(( p1 - p0 ) > threshBd))
   hevMask |= (Abs(( q1 - q0 ) > threshBd))


The variable filterLen, representing the number of taps each side of the central sample in the filter, is derived as follows:

      • If filterSize is equal to 4, filterLen is set equal to 4.

      • Otherwise, if plane is not equal to 0, filterLen is set equal to 6.

      • Otherwise, if filterSize is equal to 8, filterLen is set equal to 8.

      • Otherwise, filterLen is set equal to 16.

The value of filterMask indicates whether adjacent samples close to the edge (within four samples either side of the
specified boundary) vary by less than the limits given by limit and blimit. It is used to determine if any filtering should occur
and is calculated as follows:


   limitBd = limit << (BitDepth - 8)
   blimitBd = blimit << (BitDepth - 8)
   mask = 0
   mask |= (Abs(( p1 - p0 ) > limitBd))
   mask |= (Abs(( q1 - q0 ) > limitBd))
   mask |= (Abs(( p0 - q0 ) * 2 + Abs(( p1 - q1 ) / 2 > blimitBd))
   if ( filterLen >= 6 ) {
       mask |= (Abs(( p2 - p1 ) > limitBd))
       mask |= (Abs(( q2 - q1 ) > limitBd))
   }
   if ( filterLen >= 8 ) {
       mask |= (Abs(( p3 - p2 ) > limitBd))
       mask |= (Abs(( q3 - q2 ) > limitBd))
   }
   filterMask = (mask == 0)


The value of flatMask is only required when filterSize >= 8. It measures whether samples from each side of the specified
boundary are in a flat region. That is whether those samples are at most (1 << (BitDepth - 8)) different from the sample on
the boundary. It is calculated as follows:




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   thresholdBd = 1 << (BitDepth - 8)
   if ( filterSize >= 8 ) {
       mask = 0
       mask |= (Abs(( p1 - p0 ) > thresholdBd))
       mask |= (Abs(( q1 - q0 ) > thresholdBd))
       mask |= (Abs(( p2 - p0 ) > thresholdBd))
       mask |= (Abs(( q2 - q0 ) > thresholdBd))
       if ( filterLen >= 8 ) {
           mask |= (Abs(( p3 - p0 ) > thresholdBd))
           mask |= (Abs(( q3 - q0 ) > thresholdBd))
       }
       flatMask = (mask == 0)
   }


The value of flatMask2 is only required when filterSize >= 16. It measures whether at least seven samples from each side
of the specified boundary are in a flat region assuming the first four on each side are (so the full region is flat if flatMask &
flatMask2 == 0). The value of flatMask2 is calculated as follows:


   thresholdBd = 1 << (BitDepth - 8)
   if ( filterSize >= 16 ) {
       mask = 0
       mask |= (Abs(( p6 - p0 ) > thresholdBd))
       mask |= (Abs(( q6 - q0 ) > thresholdBd))
       mask |= (Abs(( p5 - p0 ) > thresholdBd))
       mask |= (Abs(( q5 - q0 ) > thresholdBd))
       mask |= (Abs(( p4 - p0 ) > thresholdBd))
       mask |= (Abs(( q4 - q0 ) > thresholdBd))
       flatMask2 = (mask == 0)
   }



7.14.6.3. Narrow filter process
The inputs to this filter are:

       • a variable hevMask specifying whether this is a high edge variance case,

       • variables x, y specifying the location within CurrFrame[ plane ],

       • a variable plane specifying whether the block is the Y, U or V plane,

       • variables dx and dy specifying the direction perpendicular to the edge being filtered.

This process modifies up to two samples on each side of the specified boundary depending on the value of hevMask as
follows:




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       • If hevMask is equal to 0 (i.e. the samples do not have high edge variance), this process modifies two samples on
         each side of the specified boundary, using a filter constructed from just the inner two (one from each side of the
         specified boundary).

       • Otherwise (the samples do have high edge variance), this process only modifies the one value on each side of
         the specified boundary, using a filter constructed from four input samples (two from each side of the specified
         boundary).

The process subtracts 0x80 << (BitDepth - 8) from the input sample values so that they are in the range -(1 << (BitDepth -
1)) to (1 << (BitDepth - 1)) - 1 inclusive. Intermediate values are made to be in this range by the following function:


   filter4_clamp(( value ) {
       return Clip3(( -(1 << (BitDepth - 1)), (1 << (BitDepth - 1)) - 1, value )
   }


The process is specified as follows:


   q0 = CurrFrame[[ plane ][ y ][ x ]
   q1 = CurrFrame[[ plane ][ y + dy ][ x + dx ]
   p0 = CurrFrame[[ plane ][ y - dy ][ x - dx ]
   p1 = CurrFrame[[ plane ][ y - dy * 2 ][ x - dx * 2 ]
   ps1 = p1 - (0x80 << (BitDepth - 8))
   ps0 = p0 - (0x80 << (BitDepth - 8))
   qs0 = q0 - (0x80 << (BitDepth - 8))
   qs1 = q1 - (0x80 << (BitDepth - 8))
   filter = hevMask ? filter4_clamp(( ps1 - qs1 ) : 0
   filter = filter4_clamp(( filter + 3 * (qs0 - ps0)) )
   filter1 = filter4_clamp(( filter + 4 ) >> 3
   filter2 = filter4_clamp(( filter + 3 ) >> 3
   oq0 = filter4_clamp(( qs0 - filter1 ) + (0x80 << (BitDepth - 8))
   op0 = filter4_clamp(( ps0 + filter2 ) + (0x80 << (BitDepth - 8))
   CurrFrame[[ plane ][ y ][ x ] = oq0
   CurrFrame[[ plane ][ y - dy ][ x - dx ] = op0
   if ( !hevMask ) {
       filter = Round2(( filter1,, 1 )
       oq1 = filter4_clamp(( qs1 - filter ) + (0x80 << (BitDepth - 8))
       op1 = filter4_clamp(( ps1 + filter ) + (0x80 << (BitDepth - 8))
       CurrFrame[[ plane ][ y + dy ][ x + dx ] = oq1
       CurrFrame[[ plane ][ y - dy * 2 ][ x - dx * 2 ] = op1
   }



7.14.6.4. Wide filter process
The inputs to this filter are:

       • variables x, y specifying the the location within CurrFrame[ plane ],




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      • a variable plane specifying whether the block is the Y, U or V plane,

      • variables dx and dy specifying the direction perpendicular to the edge being filtered,

      • a variable log2Size specifying the base 2 logarithm of the number of taps.

This filter is only applied when samples from each side of the boundary are detected to be in a flat region.

The variable n (specifying the number of filter taps on each side of the central sample) is set as follows:

      • If log2Size is equal to 4, n is set equal to 6.

      • Otherwise if plane is equal to 0, n is set equal to 3.

      • Otherwise (log2Size is equal to 3 and plane is greater than 0), n is set equal to 2.

The variable n2 (specifying the number of filter taps equal to 2 on each side of the central sample needed to give a unity
DC gain) is set as follows:

      • If log2Size is equal to 3 and plane is equal to 0, n2 is set equal to 0.

      • Otherwise (log2Size is equal to 4 or plane is greater than 0), n2 is set equal to 1.

This process modifies the samples on each side of the specified boundary by applying a low pass filter as follows:


   for ( i = -n;; i < n;; i++
                            ++ ) {
       t = 0
       for ( j = -n;; j <= n;; j++
                                 ++ ) {
            p = Clip3(( -( n + 1 ), n,, i + j )
            tap = ( Abs(( j ) <= n2 ) ? 2 : 1
            t += CurrFrame[[ plane ][ y + p * dy ][ x + p * dx ] * tap
       }
       F[[ i ] = Round2(( t,, log2Size )
   }
   for ( i = -n;; i < n;; i++
                            ++ )
       CurrFrame[[ plane ][ y++i * dy ][ x++i * dx ] = F[[ i ]


where F is an array with indices from -n to n - 1 used to store the filtered results.


7.15. CDEF process
Input to this process is the array CurrFrame of reconstructed samples.

Output from this process is the array CdefFrame containing deringed samples.

The purpose of CDEF is to perform deringing based on the detected direction of blocks.

CDEF parameters are stored for each 64 by 64 block of luma samples.



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The CDEF filter is applied on each 8 by 8 block as follows:


  step4 = Num_4x4_Blocks_Wide[[ BLOCK_8X8 ]
  cdefSize4 = Num_4x4_Blocks_Wide[[ BLOCK_64X64 ]
  cdefMask4 = ~(cdefSize4 - 1)
  for ( r = 0; r < MiRows;; r += step4 ) {
      for ( c = 0; c < MiCols;; c += step4 ) {
            baseR = r & cdefMask4
            baseC = c & cdefMask4
            idx = cdef_idx[[ baseR ][ baseC ]
            cdef_block((r,, c,, idx))
      }
  }


When the cdef_block function is called, the CDEF block process specified in section 7.15.1 is invoked with r, c, and idx as
inputs.


7.15.1. CDEF block process
The inputs to this process are:

      • variables r and c specifying the location of an 8x8 block in units of 4x4 blocks in the luma plane,

      • a variable idx specifying which set of CDEF parameters to use, or -1 to signal that no filtering should be applied.

The block is first copied to the CdefFrame as follows:


  startY = r * MI_SIZE
  endY = startY + MI_SIZE * 2
  startX = c * MI_SIZE
  endX = startX + MI_SIZE * 2
  for ( y = startY;; y < endY;; y++
                                 ++ ) {
      for ( x = startX;; x < endX;; x++
                                     ++ ) {
          CdefFrame[[ 0 ][ y ][ x ] = CurrFrame[[ 0 ][ y ][ x ]
      }
  }
  if ( NumPlanes > 1 ) {
      startY >>= subsampling_y
      endY >>= subsampling_y
      startX >>= subsampling_x
      endX >>= subsampling_x
      for ( y = startY;; y < endY;; y++
                                     ++ ) {
          for ( x = startX;; x < endX;; x++
                                         ++ ) {
              CdefFrame[[ 1 ][ y ][ x ] = CurrFrame[[ 1 ][ y ][ x ]
              CdefFrame[[ 2 ][ y ][ x ] = CurrFrame[[ 2 ][ y ][ x ]
          }
      }
  }



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   Note If CDEF filtering turns out to be needed, then the contents of CdefFrame will be overwritten later in this
   process.


If idx is equal to -1, then the process returns immediately after performing this copy.

The variable coeffShift is set equal to BitDepth - 8.

The variable skip is set equal to ( Skips[ r ][ c ] && Skips[ r + 1 ][ c ] && Skips[ r ][ c + 1 ] && Skips[ r + 1 ][ c + 1 ] ).

If skip is equal to 0, the CDEF direction process specified in section 7.15.2 is invoked with r and c as inputs, and the
outputs assigned to variables yDir and var.

If skip is equal to 0, the following ordered steps apply:

     1. The variable priStr is set equal to cdef_y_pri_strength[ idx ] << coeffShift.

     2. The variable secStr is set equal to cdef_y_sec_strength[ idx ] << coeffShift.

     3. The variable dir is set equal to ( priStr == 0 ) ? 0 : yDir.

     4. The variable varStr is set equal to ( var >> 6 ) ? Min( FloorLog2( var >> 6 ), 12) : 0.

     5. The variable priStr is set equal to ( var ? ( priStr * ( 4 + varStr ) + 8 ) >> 4 : 0 ).

     6. The variable damping is set equal to CdefDamping + coeffShift.

     7. The CDEF filter process specified in section 7.15.3 is invoked with plane equal to 0, r, c, priStr, secStr, damping,
        and dir as input.

     8. If NumPlanes is equal to 1, the process terminates at this point (i.e. filtering is not done for the U and V planes).

     9. The variable priStr is set equal to cdef_uv_pri_strength[ idx ] << coeffShift.

    10. The variable secStr is set equal to cdef_uv_sec_strength[ idx ] << coeffShift.

    11. The variable dir is set equal to ( priStr == 0 ) ? 0 : Cdef_Uv_Dir[ subsampling_x ][ subsampling_y ][ yDir ].

    12. The variable damping is set equal to CdefDamping + coeffShift - 1.

    13. The CDEF filter process specified in section 7.15.3 is invoked with plane equal to 1, r, c, priStr, secStr, damping,
        and dir as input.

    14. The CDEF filter process specified in section 7.15.3 is invoked with plane equal to 2, r, c, priStr, secStr, damping,
        and dir as input.

Cdef_Uv_Dir is a constant lookup table defined as:




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  Cdef_Uv_Dir[[ 2 ][ 2 ][ 8 ] = {
    { {0, 1, 2, 3, 4, 5, 6, 7},
      {1, 2, 2, 2, 3, 4, 6, 0} },
    { {7, 0, 2, 4, 5, 6, 6, 6},
      {0, 1, 2, 3, 4, 5, 6, 7} }
  }



7.15.2. CDEF direction process
The inputs to this process are variables r and c specifying the location of an 8x8 block in units of 4x4 blocks in the luma
plane.

The outputs of this process are:

      • a variable yDir containing the direction of this block,

      • a variable var containing the variance for this block.

This block uses luma samples to measure the direction and variance of a block.

The process is specified as:




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  for ( i = 0; i < 8; i++  ++ ) {
      cost[[i]] = 0
      for ( j = 0; j < 15  15;; j++
                                 ++ )
           partial[[i][
                      ][j]] = 0
  }
  bestCost = 0
  yDir = 0
  x0 = c << MI_SIZE_LOG2
  y0 = r << MI_SIZE_LOG2
  for ( i = 0; i < 8; i++  ++ ) {
      for ( j = 0; j < 8; j++   ++ ) {
           x = (CurrFrame[[ 0 ][ ][y0 + i][][x0 + j]] >> (BitDepth - 8)) - 128
           partial[[0][
                      ][i + j]] += x
           partial[[1][
                      ][i + j / 2] += x
           partial[[2][
                      ][i]] += x
           partial[[3][
                      ][33 + i - j / 2] += x
           partial[[4][
                      ][77 + i - j]] += x
           partial[[5][
                      ][33 - i / 2 + j]] += x
           partial[[6][
                      ][j]] += x
           partial[[7][
                      ][i / 2 + j]] += x
      }
  }
  for ( i = 0; i < 8; i++  ++ ) {
      cost[[2] += partial[[2][ ][i]] * partial[[2][
                                                  ][i]]
      cost[[6] += partial[[6][ ][i]] * partial[[6][
                                                  ][i]]
  }
  cost[[2] *= Div_Table[[8]
  cost[[6] *= Div_Table[[8]
  for ( i = 0; i < 7; i++  ++ ) {
      cost[[0] += (partial[[0][ ][i]] * partial[[0][
                                                   ][i]] +
                     partial[[0][
                                ][14
                                   14 - i]] * partial[[0][
                                                         ][14
                                                            14 - i])]) *
                    Div_Table[[i + 1]
      cost[[4] += (partial[[4][ ][i]] * partial[[4][
                                                   ][i]] +
                     partial[[4][
                                ][14
                                   14 - i]] * partial[[4][
                                                         ][14
                                                            14 - i])]) *
                    Div_Table[[i + 1]
  }
  cost[[0] += partial[[0][][77] * partial[[0][
                                             ][77] * Div_Table[[8]
  cost[[4] += partial[[4][][77] * partial[[4][
                                             ][77] * Div_Table[[8]
  for ( i = 1; i < 8; i += 2 ) {
      for ( j = 0; j < 4 + 1; j++    ++ ) {
         cost[[i]] += partial[[i][
                                 ][33 + j]] * partial[[i][
                                                         ][33 + j]]
      }
      cost[[i]] *= Div_Table[[8]
      for ( j = 0; j < 4 - 1; j++    ++ ) {
           cost[[i]] += (partial[[i][][j]] * partial[[i][
                                                        ][j]] +
                       partial[[i][][10
                                     10 - j]] * partial[[i][][10
                                                              10 - j])]) *
                       Div_Table[[2 * j + 2]
      }
  }
  for ( i = 0; i < 8; i++  ++ ) {




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        if ( cost[[i]] > bestCost ) {
          bestCost = cost[[i]]
          yDir = i
        }
   }
   var = (bestCost - cost[(
                         [(yDir + 4) & 7]) >> 10


where the Div_Table is a constant lookup table specified as:


   Div_Table[[9] = {
       0, 840
          840,, 420
                420,, 280
                      280,, 210
                            210,, 168
                                  168,, 140
                                        140,, 120
                                              120,, 105
   }



7.15.3. CDEF filter process
The inputs to this process are:

      • a variable plane specifying which plane is being predicted,

      • variables r and c specifying the location of an 8x8 block in units of 4x4 blocks in the luma plane,

      • a variable priStr specifying the primary filter strength,

      • a variable secStr specifying the secondary filter strength,

      • a variable damping specifying a shift used for damping,

      • a variable dir specifying the detected direction of the block.

The process modifies samples in CdefFrame based on filtering samples from CurrFrame.

MiColStart, MiRowStart, MiColEnd, MiRowEnd are set equal to the values they had when the syntax element MiSizes[ r ][
c ] was written.


   Note: These variables are used by the is_inside_filter_region function to determine which samples are available
   for use in filtering.


The variable coeffShift is set equal to BitDepth - 8.

The filtering is applied as follows:




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   subX = (plane > 0) ? subsampling_x : 0
   subY = (plane > 0) ? subsampling_y : 0
   x0 = (c * MI_SIZE ) >> subX
   y0 = (r * MI_SIZE ) >> subY
   w = 8 >> subX
   h = 8 >> subY
   for ( i = 0; i < h;; i++++ ) {
       for ( j = 0; j < w;; j++++ ) {
            sum = 0
            x = CurrFrame[[plane][][y0 + i][
                                           ][x0 + j]]
            max = x
            min = x
            for ( k = 0; k < 2; k++ ++ ) {
                for ( sign = -1; sign <= 1; sign += 2 ) {
                     p = cdef_get_at((plane,, x0,, y0,, i,, j,, dir,, k,, sign,, subX,, subY))
                     if ( CdefAvailable ) {
                         sum += Cdef_Pri_Taps[(  [(priStr >> coeffShift)) & 1][  ][k]] * constrain((p - x,, priStr,,
   damping))
                         max = Max((p,, max))
                         min = Min((p,, min))
                     }
                     for ( dirOff = -2; dirOff <= 2; dirOff += 4) {
                         s = cdef_get_at((plane,, x0,, y0,, i,, j,, (dir + dirOff)) & 7, k,, sign,, subX,, subY))
                         if ( CdefAvailable ) {
                              sum += Cdef_Sec_Taps[(  [(priStr >> coeffShift)) & 1][  ][k]] * constrain((s - x,,
   secStr,, damping))
                              max = Max((s,, max))
                              min = Min((s,, min))
                         }
                     }
                }
            }
            CdefFrame[[plane][
                             ][y0 + i][
                                      ][x0 + j]] = Clip3((min,, max,, x + ((((88 + sum - (sum < 0)) >> 4) )
       }
   }


where Cdef_Pri_Taps and Cdef_Sec_Taps are constant lookup tables specified as:


   Cdef_Pri_Taps[[2][
                   ][22] = {
       { 4, 2 }, { 3, 3 }
   }

   Cdef_Sec_Taps[[2][
                   ][22] = {
       { 2, 1 }, { 2, 1 }
   }


constrain is specified as:




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  constrain((diff,, threshold,, damping)) {
      if ( !threshold )
        return 0
      dampingAdj = Max((0, damping - FloorLog2(( threshold ) )
      sign = (diff < 0) ? -1 : 1
      return sign * Clip3((0, Abs((diff),), threshold - (Abs((diff)) >> dampingAdj)) )
  }


cdef_get_at fetches a sample from CurrFrame and sets CdefAvailable according to whether the sample is available.
cdef_get_at is specified as:


  cdef_get_at((plane,, x0,, y0,, i,, j,, dir,, k,, sign,, subX,, subY)) {
      y = y0 + i + sign * Cdef_Directions[[dir][     ][k][
                                                         ][00]
      x = x0 + j + sign * Cdef_Directions[[dir][     ][k][
                                                         ][11]
      candidateR = (y << subY)) >> MI_SIZE_LOG2
      candidateC = (x << subX)) >> MI_SIZE_LOG2
      if ( is_inside_filter_region(( candidateR,, candidateC ) ) {
          CdefAvailable = 1
          return CurrFrame[[ plane ][ y ][ x ]
      } else {
          CdefAvailable = 0
          return 0
      }
  }


where Cdef_Directions is a constant lookup table defined as:


  Cdef_Directions[[8][
                    ][22][
                        ][22] = {
    { { -1, 1 }, { -2, 2 } },
    { { 0, 1 }, { -1, 2 } },
    { { 0, 1 }, { 0, 2 } },
    { { 0, 1 }, { 1, 2 } },
    { { 1, 1 }, { 2, 2 } },
    { { 1, 0 }, { 2, 1 } },
    { { 1, 0 }, { 2, 0 } },
    { { 1, 0 }, { 2, -1 } }
  }



7.16. Upscaling process
Input to this process is an array inputFrame of width FrameWidth and height FrameHeight.

The output of this process is a horizontally upscaled frame of width UpscaledWidth and height FrameHeight.

If use_superres is equal to 0, no upscaling is required and this process returns inputFrame.



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This process is specified as:


  for ( plane = 0; plane < NumPlanes;; plane++++ ) {
      if ( plane > 0 ) {
          subX = subsampling_x
          subY = subsampling_y
      } else {
          subX = 0
          subY = 0
      }
      downscaledPlaneW = Round2((FrameWidth,, subX))
      upscaledPlaneW = Round2((UpscaledWidth,, subX))
      planeH = Round2((FrameHeight,, subY))
      stepX = ((
               ((downscaledPlaneW << SUPERRES_SCALE_BITS)) + (upscaledPlaneW / 2)) / upscaledPlaneW
      err = (upscaledPlaneW * stepX)) - (downscaledPlaneW << SUPERRES_SCALE_BITS))
      initialSubpelX =
        (-((
          ((upscaledPlaneW - downscaledPlaneW)) << (SUPERRES_SCALE_BITS - 1)) + upscaledPlaneW / 2) /
  upscaledPlaneW +
        (1 << (SUPERRES_EXTRA_BITS - 1)) - err / 2
      initialSubpelX &= SUPERRES_SCALE_MASK
      miW = MiCols >> subX
      minX = 0
      maxX = miW * MI_SIZE - 1
      for ( y = 0; y < planeH;; y++
                                  ++ ) {
          for ( x = 0; x < upscaledPlaneW;; x++ ++ ) {
               srcX = -(1 << SUPERRES_SCALE_BITS)) + initialSubpelX + x**stepX
               srcXPx = (srcX >> SUPERRES_SCALE_BITS))
               srcXSubpel = (srcX & SUPERRES_SCALE_MASK)) >> SUPERRES_EXTRA_BITS
               sum = 0
               for ( k = 0; k < SUPERRES_FILTER_TAPS;; k++ ++ ) {
                   sampleX = Clip3((minX,, maxX,, srcXPx + (k - SUPERRES_FILTER_OFFSET))
                                                                                      ))
                   px = frame[[plane][
                                    ][y][
                                        ][sampleX]]
                   sum += px * Upscale_Filter[[srcXSubpel][ ][k]]
               }
               outputFrame[[plane][
                                 ][y][
                                    ][x]] = Clip1((Round2((sum,, FILTER_BITS))
                                                                            ))
          }
      }
  }


where Upscale_Filter is specified as:




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  Upscale_Filter[[SUPERRES_FILTER_SHIFTS][   ][SUPERRES_FILTER_TAPS]] = {
    { 0, 0, 0, 128
               128,, 0, 0, 0, 0 },             { 0, 0, -1, 128
                                                            128,, 2, -1, 0, 0 },
    { 0, 1, -3, 127
                 127,, 4, -2, 1, 0 },          { 0, 1, -4, 127
                                                            127,, 6, -3, 1, 0 },
    { 0, 2, -6, 126
                 126,, 8, -3, 1, 0 },          { 0, 2, -7, 125
                                                            125,, 11
                                                                   11,, -4, 1, 0 },
    { -1, 2, -8, 125
                  125,, 13
                         13,, -5, 2, 0 },      { -1, 3, -9, 124
                                                             124,, 15
                                                                    15,, -6, 2, 0 },
    { -1, 3, -10
              10,, 123
                    123,, 18
                           18,, -6, 2, -1 }, { -1, 3, -1111,, 122
                                                               122,, 20
                                                                      20,, -7, 3, -1 },
    { -1, 4, -12
              12,, 121
                    121,, 22
                           22,, -8, 3, -1 }, { -1, 4, -1313,, 120
                                                               120,, 25
                                                                      25,, -9, 3, -1 },
    { -1, 4, -14
              14,, 118
                    118,, 28
                           28,, -9, 3, -1 }, { -1, 4, -1515,, 117
                                                               117,, 30
                                                                      30,, -10
                                                                            10,, 4, -1 },
    { -1, 5, -16
              16,, 116
                    116,, 32
                           32,, -11
                                 11,, 4, -1 }, { -1, 5, -16
                                                         16,, 114
                                                               114,, 35
                                                                      35,, -12
                                                                            12,, 4, -1 },
    { -1, 5, -17
              17,, 112
                    112,, 38
                           38,, -12
                                 12,, 4, -1 }, { -1, 5, -18
                                                         18,, 111
                                                               111,, 40
                                                                      40,, -13
                                                                            13,, 5, -1 },
    { -1, 5, -18
              18,, 109
                    109,, 43
                           43,, -14
                                 14,, 5, -1 }, { -1, 6, -19
                                                         19,, 107
                                                               107,, 45
                                                                      45,, -14
                                                                            14,, 5, -1 },
    { -1, 6, -19
              19,, 105
                    105,, 48
                           48,, -15
                                 15,, 5, -1 }, { -1, 6, -19
                                                         19,, 103
                                                               103,, 51
                                                                      51,, -16
                                                                            16,, 5, -1 },
    { -1, 6, -20
              20,, 101
                    101,, 53
                           53,, -16
                                 16,, 6, -1 }, { -1, 6, -20
                                                         20,, 99
                                                               99,, 56
                                                                    56,, -17
                                                                           17,, 6, -1 },
    { -1, 6, -20
              20,, 97
                    97,, 58
                         58,, -17
                                17,, 6, -1 }, { -1, 6, -20
                                                         20,, 95
                                                               95,, 61
                                                                    61,, -18
                                                                           18,, 6, -1 },
    { -2, 7, -20
              20,, 93
                    93,, 64
                         64,, -18
                                18,, 6, -2 }, { -2, 7, -20
                                                         20,, 91
                                                               91,, 66
                                                                    66,, -19
                                                                           19,, 6, -1 },
    { -2, 7, -20
              20,, 88
                    88,, 69
                         69,, -19
                                19,, 6, -1 }, { -2, 7, -20
                                                         20,, 86
                                                               86,, 71
                                                                    71,, -19
                                                                           19,, 6, -1 },
    { -2, 7, -20
              20,, 84
                    84,, 74
                         74,, -20
                                20,, 7, -2 }, { -2, 7, -20
                                                         20,, 81
                                                               81,, 76
                                                                    76,, -20
                                                                           20,, 7, -1 },
    { -2, 7, -20
              20,, 79
                    79,, 79
                         79,, -20
                                20,, 7, -2 }, { -1, 7, -20
                                                         20,, 76
                                                               76,, 81
                                                                    81,, -20
                                                                           20,, 7, -2 },
    { -2, 7, -20
              20,, 74
                    74,, 84
                         84,, -20
                                20,, 7, -2 }, { -1, 6, -19
                                                         19,, 71
                                                               71,, 86
                                                                    86,, -20
                                                                           20,, 7, -2 },
    { -1, 6, -19
              19,, 69
                    69,, 88
                         88,, -20
                                20,, 7, -2 }, { -1, 6, -19
                                                         19,, 66
                                                               66,, 91
                                                                    91,, -20
                                                                           20,, 7, -2 },
    { -2, 6, -18
              18,, 64
                    64,, 93
                         93,, -20
                                20,, 7, -2 }, { -1, 6, -18
                                                         18,, 61
                                                               61,, 95
                                                                    95,, -20
                                                                           20,, 6, -1 },
    { -1, 6, -17
              17,, 58
                    58,, 97
                         97,, -20
                                20,, 6, -1 }, { -1, 6, -17
                                                         17,, 56
                                                               56,, 99
                                                                    99,, -20
                                                                           20,, 6, -1 },
    { -1, 6, -16
              16,, 53
                    53,, 101
                         101,, -20
                                 20,, 6, -1 }, { -1, 5, -16
                                                         16,, 51
                                                               51,, 103
                                                                    103,, -19
                                                                            19,, 6, -1 },
    { -1, 5, -15
              15,, 48
                    48,, 105
                         105,, -19
                                 19,, 6, -1 }, { -1, 5, -14
                                                         14,, 45
                                                               45,, 107
                                                                    107,, -19
                                                                            19,, 6, -1 },
    { -1, 5, -14
              14,, 43
                    43,, 109
                         109,, -18
                                 18,, 5, -1 }, { -1, 5, -13
                                                         13,, 40
                                                               40,, 111
                                                                    111,, -18
                                                                            18,, 5, -1 },
    { -1, 4, -12
              12,, 38
                    38,, 112
                         112,, -17
                                 17,, 5, -1 }, { -1, 4, -12
                                                         12,, 35
                                                               35,, 114
                                                                    114,, -16
                                                                            16,, 5, -1 },
    { -1, 4, -11
              11,, 32
                    32,, 116
                         116,, -16
                                 16,, 5, -1 }, { -1, 4, -10
                                                         10,, 30
                                                               30,, 117
                                                                    117,, -15
                                                                            15,, 4, -1 },
    { -1, 3, -9, 28
                  28,, 118
                        118,, -14
                                14,, 4, -1 }, { -1, 3, -9, 2525,, 120
                                                                   120,, -13
                                                                           13,, 4, -1 },
    { -1, 3, -8, 22
                  22,, 121
                        121,, -12
                                12,, 4, -1 }, { -1, 3, -7, 2020,, 122
                                                                   122,, -11
                                                                           11,, 3, -1 },
    { -1, 2, -6, 18
                  18,, 123
                        123,, -10
                                10,, 3, -1 }, { 0, 2, -6, 1515,, 124
                                                                  124,, -9, 3, -1 },
    { 0, 2, -5, 13
                 13,, 125
                       125,, -8, 2, -1 },      { 0, 1, -4, 11
                                                            11,, 125
                                                                  125,, -7, 2, 0 },
    { 0, 1, -3, 8, 126
                     126,, -6, 2, 0 },         { 0, 1, -3, 6, 127
                                                                127,, -4, 1, 0 },
    { 0, 1, -2, 4, 127
                     127,, -3, 1, 0 },         { 0, 0, -1, 2, 128
                                                                128,, -1, 0, 0 },
  }


It is a requirement of bitstream conformance that upscaledPlaneW is strictly greater than downscaledPlaneW.

The output of this process is equal to outputFrame.


7.17. Loop restoration process
Input to this process are the arrays UpscaledCurrFrame (of reconstructed samples) and UpscaledCdefFrame (of deringed
samples).

Output from this process is the array LrFrame of loop restored samples.




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   Note: Although this process loops over 4x4 blocks, loop restoration is designed to work in stripes 64 luma samples
   high without needing additional line buffers. Samples within the current stripe are fetched from
   UpscaledCdefFrame. Samples outside the current stripe are fetched from UpscaledCurrFrame (these samples will
   be deblocked, but will not have CDEF filtering applied).


The array LrFrame is set equal to a copy of UpscaledCdefFrame. (The contents of LrFrame will later be overwritten for
blocks that require restoration filtering.)

If UsesLr is equal to 0, then the process returns immediately after performing this copy.

Otherwise, loop restoration is applied as follows:


  for ( y = 0; y < FrameHeight;; y += MI_SIZE ) {
    for ( x = 0; x < UpscaledWidth;; x += MI_SIZE ) {
      for ( plane = 0; plane < NumPlanes;; plane++ ++ ) {
        if ( FrameRestorationType[[ plane ] != RESTORE_NONE ) {
          row = y >> MI_SIZE_LOG2
          col = x >> MI_SIZE_LOG2
          loop_restore_block(( plane,, row,, col )
        }
      }
    }
  }


When loop_restore_block is called, the loop restore block process in section 7.17.1 is invoked with plane, row, and col as
inputs.


7.17.1. Loop restore block process
The inputs to this process are:

      • a variable plane specifying whether the process is filtering Y, U, or V samples,

      • variables row and col specifying the location of the block in units of 4x4 blocks in the upscaled luma plane.

The output of this process are samples in LrFrame[ plane ].

The variable lumaY is set equal to row * MI_SIZE.

The variable stripeNum (specifying the zero-based index of the current stripe) is set equal to (lumaY + 8) / 64.


   Note: The stripes are offset upwards by 8 luma samples to make pipelined implementations more efficient. When
   a row of superblocks has been received, enough rows of deblocked output can be produced to allow loop
   restoration of the corresponding stripes.




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The variables subX and subY are set equal to the subsampling for the current plane as follows:

      • If plane is equal to 0, subX is set equal to 0 and subY is set equal to 0.

      • Otherwise, subX is set equal to subsampling_x and subY is set equal to subsampling_y.

The variable StripeStartY (specifying the start of the stripe in units of samples in the current plane) is set equal to ( (-8 +
stripeNum * 64) >> subY ).

The variable StripeEndY (specifying the end of the stripe in units of samples in the current plane) is set equal to
StripeStartY + (64 >> subY) - 1.


   Note: StripeStartY and StripeEndY are used by the get source sample process to decide whether to fetch from
   UpscaledCurrFrame or UpscaledCdefFrame.


The variable unitSize (specifying the size of restoration units in units of samples in the current plane) is set equal to
LoopRestorationSize[ plane ].

The variable unitRows (specifying the number of restoration units down the frame) is set equal to count_units_in_frame(
unitSize, Round2( FrameHeight, subY) ).

The variable unitCols (specifying the number of restoration units across the frame) is set equal to count_units_in_frame(
unitSize, Round2( UpscaledWidth, subX ) ).


   Note: The number of restoration units in a frame can be different for chroma and luma.


The variable unitRow (specifying the vertical index of the current loop restoration unit) is set equal to Min( unitRows - 1, ( (
row * MI_SIZE + 8) >> subY ) / unitSize ).

The variable unitCol (specifying the horizontal index of the current loop restoration unit) is set equal to Min( unitCols - 1, (
col * MI_SIZE >> subX ) / unitSize ).

The horizontal extent of the space allowed for filtering is specified as follows:

The variable PlaneEndX (specifying the horizontal extent of the space allowed for filtering) is set equal to Round2(
UpscaledWidth, subX ) - 1.

The variable PlaneEndY (specifying the vertical extent of the space allowed for filtering) is set equal to Round2(
FrameHeight, subY ) - 1.

The variable x is set equal to ( col * MI_SIZE >> subX ).

The variable y is set equal to ( row * MI_SIZE >> subY ).

The variable w is set equal to Min( MI_SIZE >> subX, PlaneEndX - x + 1 ).




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The variable h is set equal to Min( MI_SIZE >> subY, PlaneEndY - y + 1 ).

(Variables x and y represent the position of the block in samples relative to the top-left corner of the current plane.
Variables w and h represent the size of the block in samples.)


   Note: Although the filter is described as operating on small blocks, the output will be the same if larger blocks are
   used - provided all contained samples belong to the same loop restoration unit.


The variable rType (specifying the loop restoration type) is set equal to LrType[ plane ][ unitRow ][ unitCol ].

The filter to used depends on rType as follows:

      • If rType is equal to RESTORE_WIENER, the Wiener filter process specified in section 7.17.4 is invoked with
        plane, unitRow, unitCol, x, y, w, and h as inputs.

      • Otherwise, if rType is equal to RESTORE_SGRPROJ, the self guided filter process specified in section 7.17.2 is
        invoked with plane, unitRow, unitCol, x, y, w, and h as inputs.

      • Otherwise (rType is equal to RESTORE_NONE), no filtering is applied.


7.17.2. Self guided filter process
The inputs to this block are:

      • a variable plane specifying whether the process is filtering Y, U, or V samples,

      • variables unitRow and unitCol specifying the position of the loop restoration unit,

      • variables x and y specifying the position of the block in samples relative to the top-left corner of the current plane,

      • variables w and h specifying the size of the block in samples.

The arrays flt0 and flt1 are prepared by the following ordered steps:

     1. The variable set is set equal to LrSgrSet[ plane ][ unitRow ][ unitCol ].

     2. The variable pass is set equal to 0.

     3. The box filter process specified in section 7.17.3 is invoked with plane, x, y, w, h, set, and pass as inputs, and
        the output assigned to flt0.

     4. The variable pass is set equal to 1.

     5. The box filter process specified in section 7.17.3 is invoked with plane, x, y, w, h, set, and pass as inputs, and
        the output assigned to flt1.

The restoration process is then applied for each sample as follows:




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   w0 = LrSgrXqd[[ plane ][ unitRow ][ unitCol ][ 0 ]
   w1 = LrSgrXqd[[ plane ][ unitRow ][ unitCol ][ 1 ]
   w2 = (1 << SGRPROJ_PRJ_BITS)) - w0 - w1
   r0 = Sgr_Params[[ set ][ 0 ]
   r1 = Sgr_Params[[ set ][ 2 ]
   for ( i = 0; i < h;; i++
                          ++ ) {
       for ( j = 0; j < w;; j++
                              ++ ) {
           u = UpscaledCdefFrame[[ plane ][ y + i ][ x + j ] << SGRPROJ_RST_BITS
           v = w1 * u
           if ( r0 )
             v += w0 * flt0[[ i ][ j ]
           else
             v += w0 * u
           if ( r1 )
             v += w2 * flt1[[ i ][ j ]
           else
             v += w2 * u
           s = Round2(( v,, SGRPROJ_RST_BITS + SGRPROJ_PRJ_BITS )
           LrFrame[[ plane ][ y + i ][ x + j ] = Clip1(( s )
       }
   }



7.17.3. Box filter process
The inputs to this process are:

      • a variable plane specifying whether the process is filtering Y, U, or V samples,

      • variables x and y specifying the position of the block in samples relative to the top-left corner of the current plane,

      • variables w and h specifying the size of the block in samples,

      • a variable set specifying the strength of the filtering,

      • a variable pass (equal to 0 or 1), specifying if the process is generating the first or second filtered output.

The output of this process is a 2d array F.

The variable r (specifying that the box filters have side length 2*r+1) is set equal to Sgr_Params[ set ][ pass * 2 + 0 ].

If r is equal to 0, then this process immediately terminates.

The variable eps (specifying a scaling for the output) is set equal to Sgr_Params[ set ][ pass * 2 + 1 ].

The 2d arrays A and B (note these arrays are valid for coordinates including an extra sample around the boundary) are
prepared as follows:




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  n = ( 2 * r + 1 ) * ( 2 * r + 1 )
  n2e = n * n * eps
  s = (((
      (((11 << SGRPROJ_MTABLE_BITS)) + n2e / 2) / n2e))
  for ( i = -1; i < h + 1; i++  ++ ) {
      for ( j = -1; j < w + 1; j++  ++ ) {
           a = 0
           b = 0
           for ( dy = -r ; dy <= r;; dy++++ ) {
                for ( dx = -r;; dx <= r;; dx++
                                            ++ ) {
                    c = get_source_sample(( plane,, x + j + dx,, y + i + dy )
                    a += c * c
                    b += c
                }
           }
           a = Round2(( a,, 2 * (BitDepth - 8) )
           d = Round2(( b,, BitDepth - 8 )
           p = Max(( 0, a * n - d * d )
           z = Round2(( p * s,, SGRPROJ_MTABLE_BITS )
           if ( z >= 255 )
                a2 = 256
           else if ( z == 0 )
                a2 = 1
           else
                a2 = ((
                     ((z << SGRPROJ_SGR_BITS)) + (z//2)) / (z + 1)
           oneOverN = ((((11 << SGRPROJ_RECIP_BITS)) + (n//2)) / n
           b2 = ( (1 << SGRPROJ_SGR_BITS)) - a2 ) * b * oneOverN
           A[[ i ][ j ] = a2
           B[[ i ][ j ] = Round2(( b2,, SGRPROJ_RECIP_BITS )
      }
  }



   Note: When pass is equal to 0, only odd rows (i.e. entries A[ i ][ j ] and B[ i ][ j ] with i odd) will be used to generate
   the output.


where the call to get_source_sample specifies that the get source sample process specified in section 7.17.6 should be
invoked and the output assigned to variable c.

After A and B are prepared, the output array F is generated as follows:




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   for ( i = 0; i < h;; i++
                          ++ ) {
       shift = 5
       if ( pass == 0 && ( i & 1 ) ) {
           shift = 4
       }
       for ( j = 0; j < w;; j++
                              ++ ) {
           a = 0
           b = 0
           for ( dy = -1 ; dy <= 1; dy++ ++ ) {
                for ( dx = -1; dx <= 1; dx++++ ) {
                    if ( pass == 0 ) {
                        if ( (i + dy)) & 1 ) {
                             weight = (dx == 0) ? 6 : 5
                        } else {
                             weight = 0
                        }
                    } else {
                        weight = (dx == 0 || dy == 0) ? 4 : 3
                    }
                    a += weight * A[[ i + dy ][ j + dx ]
                    b += weight * B[[ i + dy ][ j + dx ]
                }
           }
           v = a * UpscaledCdefFrame[[ plane ][ y + i ][ x + j ] + b
           F[[ i ][ j ] = Round2(( v,, SGRPROJ_SGR_BITS + shift - SGRPROJ_RST_BITS))
       }
   }



   Note: When pass is equal to 0, the weights for even rows of A and B are always equal to 0.


The constant lookup table Sgr_Params is specified as:


   Sgr_Params[[ (1 << SGRPROJ_PARAMS_BITS)) ][ 4 ] = {
     { 2, 12
          12,, 1, 4 }, { 2, 15
                             15,, 1, 6 }, { 2, 18
                                                18,, 1, 8 }, { 2, 21
                                                                   21,, 1, 9 },
     { 2, 24
          24,, 1, 10 }, { 2, 29
                             29,, 1, 11 }, { 2, 36
                                                36,, 1, 12 }, { 2, 45
                                                                   45,, 1, 13 },
     { 2, 56
          56,, 1, 14 }, { 2, 68
                             68,, 1, 15 }, { 0, 0, 1, 5 },    { 0, 0, 1, 8 },
     { 0, 0, 1, 11 }, { 0, 0, 1, 14 }, { 2, 30  30,, 0, 0 }, { 2, 75
                                                                   75,, 0, 0 }
   }



7.17.4. Wiener filter process
The inputs to this block are:

      • a variable plane specifying whether the process is filtering Y, U, or V samples,

      • variables unitRow and unitCol specifying the position of the loop restoration unit,



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      • variables x and y specifying the position of the block in samples relative to the top-left corner of the current plane,

      • variables w and h specifying the size of the block in samples.

The output from this process are modified samples in LrFrame.

The sub-sample interpolation is effected via two one-dimensional convolutions. First a horizontal filter is used to build up a
temporary array, and then this array is vertically filtered to obtain the final prediction.

The rounding variables derivation process specified in section 7.11.3.2 is invoked with the input variable isCompound set
equal to 0.

The Wiener coefficient process specified in section 7.17.5 is invoked with an input of LrWiener[ plane ][ unitRow ][ unitCol
][ 0 ] and the output assigned to vfilter.

The Wiener coefficient process specified in section 7.17.5 is invoked with an input of LrWiener[ plane ][ unitRow ][ unitCol
][ 1 ] and the output assigned to hfilter.


   Note: The horizontal filter needs to be applied before the vertical filter, but the horizontal coefficients are sent after
   the vertical coefficients.


The filtering is applied as follows:

      • The array intermediate is specified as follows:


            offset = (1 << (BitDepth + FILTER_BITS - InterRound0 - 1))
            limit = (1 << (BitDepth + 1 + FILTER_BITS - InterRound0)) )) - 1
            for ( r = 0; r < h + 6; r++++ ) {
                for ( c = 0; c < w;; c++
                                       ++ ) {
                    s = 0
                    for ( t = 0; t < 7; t++++ )
                        s += hfilter[[ t ] * get_source_sample(( plane,, x + c + t - 3, y + r - 3 )
                    v = Round2((s,, InterRound0))
                    intermediate[[ r ][ c ] = Clip3(( -offset,, limit - offset,, v )
                }
            }


         Where the call to get_source_sample specifies that the get source sample process specified in section 7.17.6
         should be invoked.


             Note: The intermediate result is clipped so that ( intermediate[ r ][ c ] + offset ) fits in an unsigned variable
             with Min(15,BitDepth + 5) bits.


      • The output samples are written as follows:




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            for ( r = 0; r < h;; r++
                                   ++ ) {
                for ( c = 0; c < w;; c++
                                       ++ ) {
                    s = 0
                    for ( t = 0; t < 7; t++++ )
                        s += vfilter[[ t ] * intermediate[[ r + t ][ c ]
                    v = Round2(( s,, InterRound1 )
                    LrFrame[[ plane ][ y + r ][ x + c ] = Clip1(( v )
                }
            }



7.17.5. Wiener coefficient process
The input to this process is an array coeff containing 3 coefficients.

The output from this process is an an array containing 7 coefficients.

The Wiener filter is always symmetrical and has a unit DC gain, so there are only three coefficients that need to be
explicitly coded.

This process computes the full set of coefficients as follows:


   filter[[ 3 ] = 128
   for ( i = 0; i < 3; i++
                         ++ ) {
       c = coeff[[ i ]
       filter[[ i ] = c
       filter[[ 6 - i ] = c
       filter[[ 3 ] -= 2 * c
   }


The output of the process is the array filter.


   Note: When chroma is being filtered, coeff[ 0 ] will always be equal to 0, therefore filter[ 0 ] and filter[ 6 ] will always
   be equal to 0. In other words, luma uses a 7-tap filter, while chroma uses a 5-tap filter.



7.17.6. Get source sample process
The inputs to this process are:

      • a variable plane specifying whether the process is filtering Y, U, or V samples,

      • variables x and y specifying the location in the current plane in units of samples.

This process makes sure samples are taken from within the allowed extent for loop restoration filtering.




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Samples within the current stripe are taken after Cdef filtering has been applied, samples outside the current stripe are
taken before Cdef filtering.

The sample to return is specified as follows:


   x = Min((PlaneEndX,, x))
   x = Max((0, x))
   y = Min((PlaneEndY,, y))
   y = Max((0, y))
   if ( y < StripeStartY ) {
       y = Max((StripeStartY - 2,y))
       return UpscaledCurrFrame[[ plane ][ y ][ x ]
   } else if ( y > StripeEndY ) {
       y = Min((StripeEndY + 2,y))
       return UpscaledCurrFrame[[ plane ][ y ][ x ]
   } else {
       return UpscaledCdefFrame[[ plane ][ y ][ x ]
   }



   Note: This process can be called for samples on the three lines above and three lines below the current stripe.
   However, the coordinates are cropped such that only two lines above and below the stripe need to be fetched. In
   other words, requests for the third line (above or below) are given a copy of the second line.



7.18. Output process
7.18.1. General
This process is invoked to prepare output frames.

If scalability is being used (OperatingPointIdc not equal to 0), an application-specific function is called to decide whether
this frame will be output. If this function returns a value equal to 0, then this process terminates immediately.


   Note: Applications that are displaying the decoded video are expected to only display one frame from each
   temporal unit within the selected operating point. This frame should be the highest spatial layer that is both within
   the operating point and present within the temporal unit. Other applications may set their own policy about which
   frames are output.


The intermediate output preparation process specified in section 7.18.2 is invoked to prepare arrays OutY, OutU, and
OutV, and the outputs are assigned to w, h, subX, and subY.

If film_grain_params_present is equal to 1 and apply_grain is equal to 1, then the film grain synthesis process specified in
section 7.18.3 is invoked with inputs of w, h, subX, and subY. (This process modifies the output arrays OutY, OutU,
OutV).




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Finally, the frame to be output is defined to be the arrays OutY, OutU, OutV where the bit depth for each sample is
BitDepth.

This frame to be output is the overall output of the decoding process and further processing (such as color conversion) is
outside the scope of this specification.

For example, a real implementation might use these arrays to display the frame to the user, or a test system might save
the arrays so the output can be verified.


   Note: If NumPlanes is equal to 1, then the U and V planes should be ignored.



7.18.2. Intermediate output preparation process
The output of this process are the variables w, h, subX, and subY describing the format of the data in arrays OutY, OutU,
and OutV.

If show_existing_frame is equal to 1, then the decoder should copy OutY, OutU, and OutV from a previously decoded
frame as follows:

      • The variable w is set equal to RefUpscaledWidth[ frame_to_show_map_idx ].

      • The variable h is set equal to RefFrameHeight[ frame_to_show_map_idx ].

      • The variable subX is set equal to RefSubsamplingX[ frame_to_show_map_idx ].

      • The variable subY is set equal to RefSubsamplingY[ frame_to_show_map_idx ].

      • The array OutY is w samples across by h samples down and the sample at location x samples across and y
        samples down is given by OutY[ y ][ x ] = FrameStore[ frame_to_show_map_idx ][ 0 ][ y ][ x ] with x = 0..w - 1 and
        y = 0..h - 1.

      • The array OutU is (w + subX) >> subX samples across by (h + subY) >> subY samples down and the sample at
        location x samples across and y samples down is given by OutU[ y ][ x ] = FrameStore[ frame_to_show_map_idx
        ][ 1 ][ y ][ x ] with x = 0..((w + subX) >> subX) - 1 and y = 0..((h + subY) >> subY) - 1.

      • The array OutV is (w + subX) >> subX samples across by (h + subY) >> subY samples down and the sample at
        location x samples across and y samples down is given by OutV[ y ][ x ] = FrameStore[ frame_to_show_map_idx
        ][ 2 ][ x ][ y ] with x = 0..((w + subX) >> subX) - 1 and y = 0..((h + subY) >> subY) - 1.

      • The variable BitDepth is set equal to RefBitDepth[ frame_to_show_map_idx ].

      • The bit depth for each sample is BitDepth.

Otherwise (show_existing_frame is equal to 0), then the decoder should copy the current frame as follows:

      • The variable w is set equal to UpscaledWidth.




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      • The variable h is set equal to FrameHeight.

      • The variable subX is set equal to subsampling_x.

      • The variable subY is set equal to subsampling_y.

      • The array OutY is w samples across by h samples down and the sample at location x samples across and y
        samples down is given by OutY[ y ][ x ] = LrFrame[ 0 ][ y ][ x ] with x = 0..w - 1 and y = 0..h - 1.

      • The array OutU is (w + subX) >> subX samples across by (h + subY) >> subY samples down and the sample at
        location x samples across and y samples down is given by OutU[ y ][ x ] = LrFrame[ 1 ][ y ][ x ] with x = 0..((w +
        subX) >> subX) - 1 and y = 0..((h + subY) >> subY) - 1.

      • The array OutV is (w + subX) >> subX samples across by (h + subY) >> subY samples down and the sample at
        location x samples across and y samples down is given by OutV[ y ][ x ] = LrFrame[ 2 ][ y ][ x ] with x = 0..((w +
        subX) >> subX) - 1 and y = 0..((h + subY) >> subY) - 1.

      • The bit depth for each sample is BitDepth.

The output of this process are the variables w, h, subX, and subY.


7.18.3. Film grain synthesis process
7.18.3.1. General
The inputs to this process are:

      • variables w and h specifying the width and height of the frame,

      • variables subX and subY specifying the subsampling parameters of the frame.

The process modifies the arrays OutY, OutU, OutV to add film grain noise as follows:

     1. The variable RandomRegister (used for generating pseudo-random numbers) is set equal to grain_seed.

     2. The variable GrainCenter is set equal to 128 << (BitDepth - 8).

     3. The variable GrainMin is set equal to = -GrainCenter.

     4. The variable GrainMax is set equal to (256 << (BitDepth - 8)) - 1 - GrainCenter.

     5. The generate grain process specified in section 7.18.3.3 is invoked.

     6. The scaling lookup initialization process specified in section 7.18.3.4 is invoked.

     7. The add noise process specified in section 7.18.3.5 is invoked with w, h, subX, and subY as inputs.


7.18.3.2. Random number process
The input to this process is a variable bits specifying the number of random bits to return.


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The output of this process is a pseudo-random number based on the state in RandomRegister.

The process is specified as follows:


   get_random_number(( bits ) {
     r = RandomRegister
     bit = ((
           ((r >> 0) ^ (r >> 1) ^ (r >> 3) ^ (r >> 12  12))
                                                         )) & 1
     r = (r >> 1) | (bit << 15
                             15))
     result = (r >> (16 - bits)))) & ((
                                     ((11 << bits)) - 1)
     RandomRegister = r
     return result
   }


The output of this process is the variable result.


7.18.3.3. Generate grain process
This process generates noise via an auto-regressive filter.

First an array LumaGrain 82 samples wide and 73 samples high of white noise is generated for luma as follows:


   shift = 12 - BitDepth + grain_scale_shift
   for ( y = 0; y < 73
                     73;; y++
                            ++ ) {
     for ( x = 0; x < 8282;; x++
                              ++ ) {
       if ( num_y_points > 0 ) {
         g = Gaussian_Sequence[[ get_random_number(( 11 ) ]
       } else {
         g = 0
       }
       LumaGrain[[ y ][ x ] = Round2(( g,, shift )
     }
   }


where the function call get_random_number invokes the random number process specified in section 7.18.3.2.

Then an auto-regressive filter is applied to the white noise as follows:




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  shift = ar_coeff_shift_minus_6 + 6
  for ( y = 3; y < 73
                    73;; y++
                          ++ ) {
    for ( x = 3; x < 82 - 3; x++ ++ ) {
      s = 0
      pos = 0
      for ( deltaRow = -ar_coeff_lag;; deltaRow <= 0; deltaRow++ ++ ) {
        for ( deltaCol = -ar_coeff_lag;; deltaCol <= ar_coeff_lag;; deltaCol++ ++ ) {
          if ( deltaRow == 0 && deltaCol == 0 )
            break
          c = ar_coeffs_y_plus_128[[ pos ] - 128
          s += LumaGrain[[ y + deltaRow ][ x + deltaCol ] * c
          pos++
              ++
        }
      }
      LumaGrain[[ y ][ x ] = Clip3(( GrainMin,, GrainMax,, LumaGrain[[ y ][ x ] + Round2(( s,, shift ) )
    }
  }


If mono_chrome is equal to 0, the chroma grain is generated in a similar way, except the filtering includes a coefficient
that introduces a correlation with the luma grain.

The variable chromaW (representing the width of the chroma noise array) is set equal to (subsampling_x ? 44 : 82).

The variable chromaH (representing the height of the chroma noise array) is set equal to (subsampling_y ? 38 : 73).

White noise arrays CbGrain and CrGrain chromaW samples wide and chromaH samples high are generated as follows:




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   shift = 12 - BitDepth + grain_scale_shift
   RandomRegister = grain_seed ^ 0xb524
   for ( y = 0; y < chromaH;; y++
                               ++ ) {
     for ( x = 0; x < chromaW;; x++
                                  ++ ) {
       if ( num_cb_points > 0 || chroma_scaling_from_luma)) {
         g = Gaussian_Sequence[[ get_random_number(( 11 ) ]
       } else {
         g = 0
       }
       CbGrain[[ y ][ x ] = Round2(( g,, shift )
     }
   }
   RandomRegister = grain_seed ^ 0x49d8
   for ( y = 0; y < chromaH;; y++
                               ++ ) {
     for ( x = 0; x < chromaW;; x++
                                  ++ ) {
       if ( num_cr_points > 0 || chroma_scaling_from_luma)) {
         g = Gaussian_Sequence[[ get_random_number(( 11 ) ]
       } else {
         g = 0
       }
       CrGrain[[ y ][ x ] = Round2(( g,, shift )
     }
   }


Then the auto-regressive filter is applied as follows:




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  shift = ar_coeff_shift_minus_6 + 6
  for ( y = 3; y < chromaH;; y++++ ) {
    for ( x = 3; x < chromaW - 3; x++  ++ ) {
      s0 = 0
      s1 = 0
      pos = 0
      for ( deltaRow = -ar_coeff_lag;; deltaRow <= 0; deltaRow++  ++ ) {
        for ( deltaCol = -ar_coeff_lag;; deltaCol <= ar_coeff_lag;; deltaCol++ ++ ) {
          c0 = ar_coeffs_cb_plus_128[[ pos ] - 128
          c1 = ar_coeffs_cr_plus_128[[ pos ] - 128
          if ( deltaRow == 0 && deltaCol == 0 ) {
             if ( num_y_points > 0 ) {
                luma = 0
                lumaX = ( (x - 3) << subsampling_x ) + 3
                lumaY = ( (y - 3) << subsampling_y ) + 3
                for ( i = 0; i <= subsampling_y;; i++
                                                    ++ )
                  for ( j = 0; j <= subsampling_x;; j++
                                                      ++ )
                    luma += LumaGrain[[ lumaY + i ][ lumaX + j ]
                luma = Round2(( luma,, subsampling_x + subsampling_y )
                s0 += luma * c0
                s1 += luma * c1
             }
             break
          }
          s0 += CbGrain[[ y + deltaRow ][ x + deltaCol ] * c0
          s1 += CrGrain[[ y + deltaRow ][ x + deltaCol ] * c1
          pos++++
        }
      }
      CbGrain[[ y ][ x ] = Clip3(( GrainMin,, GrainMax,, CbGrain[[ y ][ x ] + Round2(( s0,, shift ) )
      CrGrain[[ y ][ x ] = Clip3(( GrainMin,, GrainMax,, CrGrain[[ y ][ x ] + Round2(( s1,, shift ) )
    }
  }



   Note: When num_y_points is equal to 0, this process may use uninitialized values within ar_coeffs_y_plus_128 to
   compute LumaGrain. However, LumaGrain will never be read in this case so it does not matter what values are
   constucted. Similarly, when num_cr_points/num_cb_points are equal to 0 and chroma_scaling_from_luma is equal
   to 0, the CbGrain/CrGrain arrays will never be read.


7.18.3.4. Scaling lookup initialization process
This process computes 3 lookup tables for the different color components.

Each lookup table ScalingLut[ plane ] contains 256 entries constructed by a piecewise linear interpolation of the given
points as follows:




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  for ( plane = 0; plane < NumPlanes;; plane++++ ) {
      if ( plane == 0 || chroma_scaling_from_luma )
           numPoints = num_y_points
      else if ( plane == 1 )
           numPoints = num_cb_points
      else
           numPoints = num_cr_points
      if ( numPoints == 0 ) {
           for ( x = 0; x < 256
                             256;; x++
                                    ++ ) {
               ScalingLut[[ plane ][ x ] = 0
           }
      } else {
           for ( x = 0; x < get_x(( plane,, 0 ); x++
                                                  ++ ) {
               ScalingLut[[ plane ][ x ] = get_y(( plane,, 0 )
           }
           for ( i = 0; i < numPoints - 1; i++++ ) {
               deltaY = get_y(( plane,, i + 1 ) - get_y(( plane,, i )
               deltaX = get_x(( plane,, i + 1 ) - get_x(( plane,, i )
               delta = deltaY * ( ( 65536 + (deltaX >> 1) ) / deltaX )
               for ( x = 0; x < deltaX;; x++
                                           ++ ) {
                   v = get_y(( plane,, i ) + ( ( x * delta + 32768 ) >> 16 )
                   ScalingLut[[ plane ][ get_x(( plane,, i ) + x ] = v
               }
           }
           for ( x = get_x(( plane,, numPoints - 1 ); x < 256
                                                           256;; x++
                                                                  ++ ) {
               ScalingLut[[ plane ][ x ] = get_y(( plane,, numPoints - 1 )
           }
      }
  }


where the functions get_x and get_y return the coordinates for a specific point and are specified as:




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  get_x(( plane,, i ) {
      if ( plane == 0 || chroma_scaling_from_luma )
           return point_y_value[[ i ]
      else if ( plane == 1 )
           return point_cb_value[[ i ]
      else
           return point_cr_value[[ i ]
  }

  get_y(( plane,, i ) {
      if ( plane == 0 || chroma_scaling_from_luma )
           return point_y_scaling[[ i ]
      else if ( plane == 1 )
           return point_cb_scaling[[ i ]
      else
           return point_cr_scaling[[ i ]
  }



7.18.3.5. Add noise synthesis process
The inputs to this process are:

      • variables w and h specifying the width and height of the frame,

      • variables subX and subY specifying the subsampling parameters of the frame.

This process combines the film grain with the image data.

First an array of noise data noiseStripe is generated for each 32 luma sample high stripe of the image.

noiseStripe[ lumaNum ][ 0 ] is 34 samples high and w samples wide (a few additional samples across are actually written
to the array, but these are never read) and contains noise for the luma component.

noiseStripe[ lumaNum ][ 1 ] and noiseStripe[ lumaNum ][ 2 ] are (34 >> subY) samples high and Round2(w, subX)
samples wide and contain noise for the chroma components.

noiseStripe represents the result of constructing square grain blocks and blending horizontally adjacent blocks together
(although blending is only applied if overlap_flag is equal to 1) and is constructed as follows:




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  lumaNum = 0
  for ( y = 0; y < (h + 1)/2 ; y += 16 ) {
    RandomRegister = grain_seed
    RandomRegister ^= ((((lumaNum * 37 + 178
                                           178)) & 255
                                                   255)) << 8
    RandomRegister ^= ((((lumaNum * 173 + 105
                                            105)) & 255
                                                    255))
    for ( x = 0; x < (w + 1)/2 ; x += 16 ) {
      rand = get_random_number(( 8 )
      offsetX = rand >> 4
      offsetY = rand & 15
      for ( plane = 0 ; plane < NumPlanes;; plane++  ++ ) {
        planeSubX = ( plane > 0) ? subX : 0
        planeSubY = ( plane > 0) ? subY : 0
        planeOffsetX = planeSubX ? 6 + offsetX : 9 + offsetX * 2
        planeOffsetY = planeSubY ? 6 + offsetY : 9 + offsetY * 2
        for ( i = 0; i < 34 >> planeSubY ; i++   ++ ) {
          for ( j = 0; j < 34 >> planeSubX ; j++   ++ ) {
             if ( plane == 0 )
               g = LumaGrain[[ planeOffsetY + i ][ planeOffsetX + j ]
             else if ( plane == 1 )
               g = CbGrain[[ planeOffsetY + i ][ planeOffsetX + j ]
             else
               g = CrGrain[[ planeOffsetY + i ][ planeOffsetX + j ]
             if ( planeSubX == 0 ) {
               if ( j < 2 && overlap_flag && x > 0 ) {
                  old = noiseStripe[[ lumaNum ][ plane ][ i ][ x * 2 + j ]
                  if ( j == 0 ) {
                    g = old * 27 + g * 17
                  } else {
                    g = old * 17 + g * 27
                  }
                  g = Clip3(( GrainMin,, GrainMax,, Round2((g,, 5) )
               }
               noiseStripe[[ lumaNum ][ plane ][ i ][ x * 2 + j ] = g
             } else {
               if ( j == 0 && overlap_flag && x > 0 ) {
                  old = noiseStripe[[ lumaNum ][ plane ][ i ][ x + j ]
                  g = old * 23 + g * 22
                  g = Clip3(( GrainMin,, GrainMax,, Round2((g,, 5) )
               }
               noiseStripe[[ lumaNum ][ plane ][ i ][ x + j ] = g
             }
          }
        }
      }
    }
    lumaNum++
            ++
  }


Then the noise stripes are blended together to form a noise image noiseImage as follows:




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   for ( plane = 0; plane < NumPlanes;; plane++++ ) {
     planeSubX = ( plane > 0) ? subX : 0
     planeSubY = ( plane > 0) ? subY : 0
     for ( y = 0; y < ( (h + planeSubY)) >> planeSubY ) ; y++   ++ ) {
       lumaNum = y >> ( 5 - planeSubY )
       i = y - (lumaNum << ( 5 - planeSubY ) )
       for ( x = 0; x < ( (w + planeSubX)) >> planeSubX)) ; x++  ++ ) {
         g = noiseStripe[[ lumaNum ][ plane ][ i ][ x ]
         if ( planeSubY == 0 ) {
           if ( i < 2 && lumaNum > 0 && overlap_flag ) {
             old = noiseStripe[[ lumaNum - 1 ][ plane ][ i + 32 ][ x ]
             if ( i == 0 ) {
               g = old * 27 + g * 17
             } else {
               g = old * 17 + g * 27
             }
             g = Clip3(( GrainMin,, GrainMax,, Round2((g,, 5) )
           }
         } else {
           if ( i < 1 && lumaNum > 0 && overlap_flag ) {
             old = noiseStripe[[ lumaNum - 1 ][ plane ][ i + 16 ][ x ]
             g = old * 23 + g * 22
             g = Clip3(( GrainMin,, GrainMax,, Round2((g,, 5) )
           }
         }
         noiseImage[[ plane ][ y ][ x ] = g
       }
     }
   }



   Note: Although this process is specified in terms of full size noiseStripe and noiseImage arrays, the reference code
   shows how it is possible to implement the grain synthesis with just 2 line buffers for luma, and 1 line buffer for each
   chroma component.


Finally, the noise is blended with the original image data as follows:




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  if ( clip_to_restricted_range ) {
    minValue = 16 << (BitDepth - 8)
    maxLuma = 235 << (BitDepth - 8)
    if ( matrix_coefficients == MC_IDENTITY )
      maxChroma = maxLuma
    else
      maxChroma = 240 << (BitDepth - 8)
  } else {
    minValue = 0
    maxLuma = (256 << (BitDepth - 8)) - 1
    maxChroma = maxLuma
  }
  ScalingShift = grain_scaling_minus_8 + 8
  for ( y = 0; y < ( (h + subY)) >> subY)) ; y++++ ) {
    for ( x = 0; x < ( (w + subX)) >> subX)) ; x++++ ) {
      lumaX = x << subX
      lumaY = y << subY
      lumaNextX = Min(( lumaX + 1, w - 1 )
      if ( subX )
         averageLuma = Round2(( OutY[[ lumaY ][ lumaX ] + OutY[[ lumaY ][ lumaNextX ], 1 )
      else
         averageLuma = OutY[[ lumaY ][ lumaX ]
      if ( num_cb_points > 0 || chroma_scaling_from_luma ) {
         orig = OutU[[ y ][ x ]
         if ( chroma_scaling_from_luma ) {
           merged = averageLuma
         } else {
           combined = averageLuma * ( cb_luma_mult - 128 ) + orig * ( cb_mult - 128 )
           merged = Clip1(( ( combined >> 6 ) + ( (cb_offset - 256 ) << (BitDepth - 8) ) )
         }
         noise = noiseImage[[ 1 ][ y ][ x ]
         noise = Round2(( scale_lut(( 1, merged ) * noise,, ScalingShift )
         OutU[[ y ][ x ] = Clip3(( minValue,, maxChroma,, orig + noise )
      }

        if ( num_cr_points > 0 || chroma_scaling_from_luma)) {
          orig = OutV[[ y ][ x ]
          if ( chroma_scaling_from_luma ) {
            merged = averageLuma
          } else {
            combined = averageLuma * ( cr_luma_mult - 128 ) + orig * ( cr_mult - 128 )
            merged = Clip1(( ( combined >> 6 ) + ( (cr_offset - 256 ) << (BitDepth - 8) ) )
          }
          noise = noiseImage[[ 2 ][ y ][ x ]
          noise = Round2(( scale_lut(( 2, merged ) * noise,, ScalingShift )
          OutV[[ y ][ x ] = Clip3(( minValue,, maxChroma,, orig + noise )
        }
    }
  }
  for ( y = 0; y < h ; y++
                        ++ ) {




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      for ( x = 0; x < w ; x++
                             ++ ) {
        orig = OutY[[ y ][ x ]
        noise = noiseImage[[ 0 ][ y ][ x ]
        noise = Round2(( scale_lut(( 0, orig ) * noise,, ScalingShift )
        if ( num_y_points > 0 ) {
          OutY[[ y ][ x ] = Clip3(( minValue,, maxLuma,, orig + noise )
        }
      }
  }


where scale_lut is a function that performs a piecewise linear interpolation into the appropriate scaling table. The scale_lut
function is specified as follows:


  scale_lut(( plane,, index ) {
    shift = BitDepth - 8
    x = index >> shift
    rem = index - ( x << shift )
    if ( BitDepth == 8 || x == 255
                                255)) {
      return ScalingLut[[ plane ][ x ]
    } else {
      start = ScalingLut[[ plane ][ x ]
      end = ScalingLut[[ plane ][ x + 1 ]
      return start + Round2(( (end - start)) * rem,, shift )
    }
  }



7.19. Motion field motion vector storage process
This process applies some filtering and reordering to the motion vectors to prepare them for storage as part of the
reference frame update process.

The following applies for row = 0..MiRows-1, for col = 0..MiCols-1:




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       MfRefFrames[[ row ][ col ] = NONE
       MfMvs[[ row ][ col ][ 0 ] = 0
       MfMvs[[ row ][ col ][ 1 ] = 0
       for ( list = 0; list < 2; list++++ ) {
           r = RefFrames[[ row ][ col ][ list ]
           if ( r > INTRA_FRAME ) {
                refIdx = ref_frame_idx[[ r - LAST_FRAME ]
                dist = get_relative_dist(( RefOrderHint[[ refIdx ], OrderHint )
                if ( dist < 0 ) {
                    mvRow = Mvs[[ row ][ col ][ list ][ 0 ]
                    mvCol = Mvs[[ row ][ col ][ list ][ 1 ]
                    if ( Abs(( mvRow ) <= REFMVS_LIMIT && Abs(( mvCol ) <= REFMVS_LIMIT ) {
                        MfRefFrames[[ row ][ col ] = r
                        MfMvs[[ row ][ col ][ 0 ] = mvRow
                        MfMvs[[ row ][ col ][ 1 ] = mvCol
                    }
                }
           }
       }



   Note: Although this process stores all the motion vectors into MfMvs, only the values where row and col are both
   odd will affect the decoding process.



7.20. Reference frame update process
This process is invoked as the final step in decoding a frame.

The inputs to this process are the decoded samples for the current frame LrFrame[ plane ][ x ][ y ].

The output from this process is an updated set of reference frames and previous motion vectors.

For each value of i from 0 to NUM_REF_FRAMES - 1, the following applies if bit i of refresh_frame_flags is equal to 1 (i.e.
if (refresh_frame_flags >> i) & 1 is equal to 1):

      • RefValid[ i ] is set equal to 1.

      • RefFrameId[ i ] is set equal to current_frame_id.

      • RefUpscaledWidth[ i ] is set equal to UpscaledWidth.

      • RefFrameWidth[ i ] is set equal to FrameWidth.

      • RefFrameHeight[ i ] is set equal to FrameHeight.

      • RefRenderWidth[ i ] is set equal to RenderWidth.

      • RefRenderHeight[ i ] is set equal to RenderHeight.



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      • RefMiCols[ i ] is set equal to MiCols.

      • RefMiRows[ i ] is set equal to MiRows.

      • RefFrameType[ i ] is set equal to frame_type.

      • RefSubsamplingX[ i ] is set equal to subsampling_x.

      • RefSubsamplingY[ i ] is set equal to subsampling_y.

      • RefBitDepth[ i ] is set equal to BitDepth.

      • SavedOrderHints[ i ][ j + LAST_FRAME ] is set equal to OrderHints[ j + LAST_FRAME ] for j =
        0..REFS_PER_FRAME-1.

      • FrameStore[ i ][ 0 ][ y ][ x ] is set equal to LrFrame[ 0 ][ y ][ x ] for x = 0..UpscaledWidth-1, for y =
        0..FrameHeight-1.

      • FrameStore[ i ][ plane ][ y ][ x ] is set equal to LrFrame[ plane ][ y ][ x ] for plane = 1..2, for x = 0..((UpscaledWidth
        + subsampling_x) >> subsampling_x) - 1, for y = 0..((FrameHeight + subsampling_y) >> subsampling_y) - 1.

      • SavedRefFrames[ i ][ row ][ col ] is set equal to MfRefFrames[ row ][ col ] for row = 0..MiRows-1, for col =
        0..MiCols-1.

      • SavedMvs[ i ][ row ][ col ][ comp ] is set equal to MfMvs[ row ][ col ][ comp ] for comp = 0..1, for row =
        0..MiRows-1, for col = 0..MiCols-1.

      • SavedGmParams[ i ][ ref ][ j ] is set equal to gm_params[ ref ][ j ] for ref = LAST_FRAME..ALTREF_FRAME, for j
        = 0..5.

      • SavedSegmentIds[ i ][ row ][ col ] is set equal to SegmentIds[ row ][ col ] for row = 0..MiRows-1, for col =
        0..MiCols-1.

      • The function save_cdfs( i ) is invoked (see below).

      • If film_grain_params_present is equal to 1, the function save_grain_params( i ) is invoked (see below).

      • The function save_loop_filter_params( i ) is invoked (see below).

      • The function save_segmentation_params( i ) is invoked (see below).

For each value of i from 0 to NUM_REF_FRAMES - 1, the following applies if bit i of refresh_frame_flags is equal to 1 (i.e.
if (refresh_frame_flags >> i) & 1 is equal to 1):

      • RefOrderHint[ i ] is set equal to OrderHint.

save_cdfs( ctx ) is a function call that indicates that all the CDF arrays are saved into frame context number ctx in the
range 0 to (NUM_REF_FRAMES - 1). When this function is invoked the following takes place:




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      • A copy of each CDF array mentioned in the semantics for init_coeff_cdfs and init_non_coeff_cdfs is saved in an
        area of memory indexed by ctx.

save_grain_params( i ) is a function call that indicates that all the syntax elements that can be read in film_grain_params
should be saved into an area of memory indexed by i.

save_loop_filter_params( i ) is a function call that indicates that the values of loop_filter_ref_deltas[ j ] for j = 0 ..
TOTAL_REFS_PER_FRAME-1, and the values of loop_filter_mode_deltas[ j ] for j = 0 .. 1 should be saved into an area of
memory indexed by i.

save_segmentation_params( i ) is a function call that indicates that the values of FeatureEnabled[ j ][ k ] and FeatureData[
j ][ k ] for j = 0 .. MAX_SEGMENTS-1, for k = 0 .. SEG_LVL_MAX-1 should be saved into an area of memory indexed by i.


   Note: Although this process stores all the motion vectors into SavedMvs, only the values where row and col are
   both odd will affect the decoding process.



7.21. Reference frame loading process
This process is the reverse of the reference frame update process specified in section 7.20. It loads saved values for a
previous reference frame back into the current frame variables. The index of the saved reference frame to load is given by
the syntax element frame_to_show_map_idx.

      • current_frame_id is set equal to RefFrameId[ i ].

      • UpscaledWidth is set equal to RefUpscaledWidth[ frame_to_show_map_idx ].

      • FrameWidth is set equal to RefFrameWidth[ frame_to_show_map_idx ].

      • FrameHeight is set equal to RefFrameHeight[ frame_to_show_map_idx ].

      • RenderWidth is set equal to RefRenderWidth[ frame_to_show_map_idx ].

      • RenderHeight is set equal to RefRenderHeight[ frame_to_show_map_idx ].

      • MiCols is set equal to RefMiCols[ frame_to_show_map_idx ].

      • MiRows is set equal to RefMiRows[ frame_to_show_map_idx ].

      • subsampling_x is set equal to RefSubsamplingX[ frame_to_show_map_idx ].

      • subsampling_y is set equal to RefSubsamplingY[ frame_to_show_map_idx ].

      • BitDepth is set equal to RefBitDepth[ frame_to_show_map_idx ].

      • OrderHint is set equal to RefOrderHint[ frame_to_show_map_idx ].




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      • OrderHints[ j + LAST_FRAME ] is set equal to SavedOrderHints[ frame_to_show_map_idx ][ j + LAST_FRAME ]
        for j = 0..REFS_PER_FRAME-1.

      • LrFrame[ 0 ][ y ][ x ] is set equal to FrameStore[ frame_to_show_map_idx ][ 0 ][ y ][ x ] for x =
        0..UpscaledWidth-1, for y = 0..FrameHeight-1.

      • LrFrame[ plane ][ y ][ x ] is set equal to FrameStore[ frame_to_show_map_idx ][ plane ][ y ][ x ] for plane = 1..2,
        for x = 0..((UpscaledWidth + subsampling_x) >> subsampling_x) - 1, for y = 0..((FrameHeight + subsampling_y)
        >> subsampling_y) - 1.

      • MfRefFrames[ row ][ col ] is set equal to SavedRefFrames[ frame_to_show_map_idx ][ row ][ col ] for row =
        0..MiRows-1, for col = 0..MiCols-1.

      • MfMvs[ row ][ col ][ comp ] is set equal to SavedMvs[ frame_to_show_map_idx ][ row ][ col ][ comp ] for comp =
        0..1, for row = 0..MiRows-1, for col = 0..MiCols-1.

      • gm_params[ ref ][ j ] is set equal to SavedGmParams[ frame_to_show_map_idx ][ ref ][ j ] for ref =
        LAST_FRAME..ALTREF_FRAME, for j = 0..5.

      • SegmentIds[ row ][ col ] is set equal to SavedSegmentIds[ frame_to_show_map_idx ][ row ][ col ] for row =
        0..MiRows-1, for col = 0..MiCols-1.

      • The function load_cdfs( frame_to_show_map_idx ) is invoked.

      • If film_grain_params_present is equal to 1, the function load_grain_params( frame_to_show_map_idx ) is
        invoked (see section 6.8.20).

      • The function load_loop_filter_params( frame_to_show_map_idx ) is invoked (see below).

      • The function load_segmentation_params( frame_to_show_map_idx ) is invoked (see below).

load_loop_filter_params( i ) is a function call that indicates that the values of loop_filter_ref_deltas[ j ] for j = 0 ..
TOTAL_REFS_PER_FRAME-1, and the values of loop_filter_mode_deltas[ j ] for j = 0 .. 1 should be loaded from an area
of memory indexed by i.

load_segmentation_params( i ) is a function call that indicates that the values of FeatureEnabled[ j ][ k ] and FeatureData[
j ][ k ] for j = 0 .. MAX_SEGMENTS-1, for k = 0 .. SEG_LVL_MAX-1 should be loaded from an area of memory indexed by
i.




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8. Parsing process
8.1. Parsing process for f(n)
This process is invoked when the descriptor of a syntax element in the syntax tables is equal to f(n).

The next n bits are read from the bit stream.

This process is specified as follows:


  x = 0
  for ( i = 0; i < n;; i++
                        ++ ) {
      x = 2 * x + read_bit(( )
  }


read_bit( ) reads the next bit from the bitstream and advances the bitstream position indicator by 1. If the bitstream is
provided as a series of bytes, then the first bit is given by the most significant bit of the first byte.

The value for the syntax element is given by x.


8.2. Parsing process for symbol decoder
8.2.1. General
The entropy decoder is referred to as the “Symbol decoder” and the functions init_symbol( sz ), exit_symbol( ),
read_symbol( cdf ), and read_bool( ) are used in this Specification to indicate the entropy decoding operation.


8.2.2. Initialization process for symbol decoder
The input to this process is a variable sz specifying the number of bytes to be read by the Symbol decoder.

This process is invoked when the function init_symbol( sz ) is called from the syntax structure.


   Note: The bit position will always be byte aligned when init_symbol is invoked because the uncompressed header
   and the data partitions are always a whole number of bytes long.


The variable numBits is set equal to Min( sz * 8, 15).

The variable buf is read using the f(numBits) parsing process.

The variable paddedBuf is set equal to ( buf << (15 - numBits) ).

The variable SymbolValue is set to ((1 << 15) - 1) ^ paddedBuf.

The variable SymbolRange is set to 1 << 15.



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The variable SymbolMaxBits is set to 8 * sz - 15.

SymbolMaxBits (when non-negative) represents the number of bits still available to be read. It is allowed for this number
to go negative (either here or during read_symbol). SymbolMaxBits (when negative) signifies that all available bits have
been read, and that -SymbolMaxBits of padding zero bits have been used in the symbol decoding process. These
padding zero bits are not present in the bitstream.

The array TileIntraFrameYModeCdf is set equal to a copy of Default_Intra_Frame_Y_Mode_Cdf.

A copy is made of each of the CDF arrays mentioned in the semantics for init_coeff_cdfs and init_non_coeff_cdfs. The
name of the copy is the name of the CDF array prefixed with “Tile”. This copying produces the following arrays:

      • TileYModeCdf

      • TileUVModeCflNotAllowedCdf

      • TileUVModeCflAllowedCdf

      • TileAngleDeltaCdf

      • TileIntrabcCdf

      • TilePartitionW8Cdf

      • TilePartitionW16Cdf

      • TilePartitionW32Cdf

      • TilePartitionW64Cdf

      • TilePartitionW128Cdf

      • TileSegmentIdCdf

      • TileSegmentIdPredictedCdf

      • TileTx8x8Cdf

      • TileTx16x16Cdf

      • TileTx32x32Cdf

      • TileTx64x64Cdf

      • TileTxfmSplitCdf

      • TileFilterIntraModeCdf

      • TileFilterIntraCdf



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      • TileInterpFilterCdf

      • TileMotionModeCdf

      • TileNewMvCdf

      • TileZeroMvCdf

      • TileRefMvCdf

      • TileCompoundModeCdf

      • TileDrlModeCdf

      • TileIsInterCdf

      • TileCompModeCdf

      • TileSkipModeCdf

      • TileSkipCdf

      • TileCompRefCdf

      • TileCompBwdRefCdf

      • TileSingleRefCdf

      • TileMvJointCdf

      • TileMvSignCdf

      • TileMvClassCdf

      • TileMvClass0BitCdf

      • TileMvFrCdf

      • TileMvClass0FrCdf

      • TileMvClass0HpCdf

      • TileMvBitCdf

      • TileMvHpCdf

      • TilePaletteYModeCdf

      • TilePaletteUVModeCdf




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      • TilePaletteYSizeCdf

      • TilePaletteUVSizeCdf

      • TilePaletteSize2YColorCdf

      • TilePaletteSize2UVColorCdf

      • TilePaletteSize3YColorCdf

      • TilePaletteSize3UVColorCdf

      • TilePaletteSize4YColorCdf

      • TilePaletteSize4UVColorCdf

      • TilePaletteSize5YColorCdf

      • TilePaletteSize5UVColorCdf

      • TilePaletteSize6YColorCdf

      • TilePaletteSize6UVColorCdf

      • TilePaletteSize7YColorCdf

      • TilePaletteSize7UVColorCdf

      • TilePaletteSize8YColorCdf

      • TilePaletteSize8UVColorCdf

      • TileDeltaQCdf

      • TileDeltaLFCdf

      • TileDeltaLFMultiCdf[ i ] for i = 0..FRAME_LF_COUNT-1

      • TileIntraTxTypeSet1Cdf

      • TileIntraTxTypeSet2Cdf

      • TileInterTxTypeSet1Cdf

      • TileInterTxTypeSet2Cdf

      • TileInterTxTypeSet3Cdf

      • TileUseObmcCdf




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      • TileInterIntraCdf

      • TileCompRefTypeCdf

      • TileCflSignCdf

      • TileUniCompRefCdf

      • TileWedgeInterIntraCdf

      • TileCompGroupIdxCdf

      • TileCompoundIdxCdf

      • TileCompoundTypeCdf

      • TileInterIntraModeCdf

      • TileWedgeIndexCdf

      • TileCflAlphaCdf

      • TileUseWienerCdf

      • TileUseSgrprojCdf

      • TileRestorationTypeCdf

      • TileTxbSkipCdf

      • TileEobPt16Cdf

      • TileEobPt32Cdf

      • TileEobPt64Cdf

      • TileEobPt128Cdf

      • TileEobPt256Cdf

      • TileEobPt512Cdf

      • TileEobPt1024Cdf

      • TileEobExtraCdf

      • TileDcSignCdf

      • TileCoeffBaseEobCdf




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      • TileCoeffBaseCdf

      • TileCoeffBrCdf


8.2.3. Boolean decoding process
This process decodes a pseudo-raw bit assuming equal probability for decoding a 0 or a 1.

This process is invoked when the function read_bool( ) is called from the read_literal function in section 8.2.5.

An array cdf of length 3 is constructed as follows:


   cdf[[ 0 ] = 1 << 14
   cdf[[ 1 ] = 1 << 15
   cdf[[ 2 ] = 0


The output of this process is given by read_symbol( cdf ).


   Note: This cdf array is constructed each time read_bool is invoked. This means that implementations can omit the
   cdf update performed by read_symbol when invoked from read_bool because the modified values are never used.



8.2.4. Exit process for symbol decoder
This process is invoked when the function exit_symbol( ) is called from the syntax structure.

It is a requirement of bitstream conformance that SymbolMaxBits is greater than or equal to -14 whenever this process is
invoked.

The variable trailingBitPosition is set equal to get_position() - Min(15, SymbolMaxBits+15).

The bitstream position indicator is advanced by Max(0,SymbolMaxBits). (This skips over any trailing bits that have not
already been read during symbol decode.)

The variable paddingEndPosition is set equal to get_position().


   Note: paddingEndPosition will always be a multiple of 8 indicating that the bit position is byte aligned.


It is a requirement of bitstream conformance that the bit at position trailingBitPosition is equal to 1.

It is a requirement of bitstream conformance that the bit at position x is equal to 0 for values of x strictly between
trailingBitPosition and paddingEndPosition.


   Note: This exit process consumes the OBU trailing bits for a tile group.




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If disable_frame_end_update_cdf is equal to 0 and TileNum is equal to context_update_tile_id, a copy is made of the final
CDF values for each of the CDF arrays mentioned in the semantics for init_coeff_cdfs and init_non_coeff_cdfs. The name
of the destination for the copy is the name of the CDF array prefixed with “Saved”. The name of the source for the copy is
the name of the CDF array prefixed with “Tile”. For example, an array SavedYModeCdf will be created with values equal
to TileYModeCdf.


8.2.5. Parsing process for read_literal
This process is invoked when the function read_literal( n ) is invoked.

This process is specified as follows:


   x = 0
   for ( i = 0 ; i < n;; i++
                          ++ ) {
       x = 2 * x + read_bool(( )
   }


The return value for the function is given by x.


8.2.6. Symbol decoding process
The input to this process is an array cdf of length N + 1 which specifies the cumulative distribution for a symbol with N
possible values.

The output of this process is the variable symbol, containing a decoded syntax element. The process also modifies the
input array cdf to adapt the probabilities to the content of the stream.

This process is invoked when the function read_symbol( cdf ) is called.


   Note: When this process is invoked, N will be greater than 1 and cdf[ N-1 ] will be equal to 1 << 15.


The variables cur, prev, and symbol are calculated as follows:


   cur = SymbolRange
   symbol = -1
   do {
     symbol++
           ++
     prev = cur
     f = ( 1 << 15 ) - cdf[[ symbol ]
     cur = ((
           ((SymbolRange >> 8) * (f >> EC_PROB_SHIFT))
                                                    )) >> (7 - EC_PROB_SHIFT))
     cur += EC_MIN_PROB * (N - symbol - 1)
   } while ( SymbolValue < cur )




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   Note: Implementations may prefer to store the inverse cdf to move the subtraction out of this loop.


The variable SymbolRange is set to prev - cur.

The variable SymbolValue is set equal to SymbolValue - cur.

The range and value are renormalized by the following ordered steps:

     1. The variable bits is set to 15 – FloorLog2( SymbolRange ). This represents the number of new bits to be added
        to SymbolValue.

     2. The variable SymbolRange is set to SymbolRange << bits.

     3. The variable numBits is set equal to Min( bits, Max(0, SymbolMaxBits) ). This represents the number of new bits
        to read from the bitstream.

     4. The variable newData is read using the f(numBits) parsing process.

     5. The variable paddedData is set equal to newData << ( bits - numBits ).

     6. The variable SymbolValue is set to paddedData ^ ( ( ( SymbolValue + 1 ) << bits ) - 1 ).

     7. The variable SymbolMaxBits is set to SymbolMaxBits - bits.


   Note: bits may be equal to 0, in which case these ordered steps have no effect.


If disable_cdf_update is equal to 0, the cumulative distribution is updated as follows:


  rate = 3 + ( cdf[[ N ] > 15 ) + ( cdf[[ N ] > 31 ) + Min(( FloorLog2(( N ), 2 )
  tmp = 0
  for ( i = 0; i < N - 1; i++ ++ ) {
    tmp = ( i == symbol ) ? ( 1 << 15 ) : tmp
    if ( tmp < cdf[[ i ] ) {
       cdf[[ i ] -= ( ( cdf[[ i ] - tmp ) >> rate )
    } else {
       cdf[[ i ] += ( ( tmp - cdf[[ i ] ) >> rate )
    }
  }
  cdf[[ N ] += ( cdf[[ N ] < 32 )



   Note: The last entry of the cdf array is used to keep a count of the number of times the symbol has been decoded
   (up to a maximum of 32). This allows the cdf adaption rate to depend on the number of times the symbol has been
   decoded.




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The return value from the function is given by symbol.


8.3. Parsing process for CDF encoded syntax elements
8.3.1. General
This process is invoked when the descriptor of a syntax element in the syntax tables is equal to S.

The input to this process is the name of a syntax element.

Section 8.3.2 specifies how a CDF array is chosen for the syntax element. The variable cdf is set equal to a reference to
this CDF array.


   Note: The array must be passed by reference because read_symbol will adjust the array contents.


The output of this process is the result of calling the function read_symbol( cdf ).


8.3.2. Cdf selection process
The input to this process is the name of a syntax element.

The output of this process is a reference to a CDF array.

When the description in this section uses variables, these variables are taken to have the values defined by the syntax
tables at the point that the syntax element is being decoded.

The probabilities depend on the syntax element as follows:

use_intrabc: The cdf for use_intrabc is given by TileIntrabcCdf.

intra_frame_y_mode: The cdf for intra_frame_y_mode is given by TileIntraFrameYModeCdf[ abovemode ][ leftmode ]
where abovemode and leftmode are the intra modes used for the blocks immediately above and to the left of this block
and are computed as:


   abovemode = Intra_Mode_Context[[ AvailU ? YModes[[ MiRow - 1 ][ MiCol ] : DC_PRED ]
   leftmode = Intra_Mode_Context[[ AvailL ? YModes[[ MiRow ][ MiCol - 1] : DC_PRED ]


where Intra_Mode_Context is defined as follows:


   Intra_Mode_Context[[ INTRA_MODES ] = {
     0, 1, 2, 3, 4, 4, 4, 4, 3, 0, 1, 2, 0
   }




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   Note: We are using a 2D array to store the YModes and UVModes for clarity. It is possible to reduce memory
   consumption by only storing one intra mode for each 4x4 horizontal and vertical position, i.e. to use two 1D arrays
   instead.


y_mode: The cdf for y_mode is given by TileYModeCdf[ ctx ] where the variable ctx is computed as Size_Group[ MiSize ].

uv_mode: The cdf for uv_mode is derived as follows:

      • If Lossless is equal to 1 and get_plane_residual_size( MiSize, 1 ) is equal to BLOCK_4X4, the cdf is given by
        TileUVModeCflAllowedCdf[ YMode ].

      • Otherwise, if Lossless is equal to 0 and Max( Block_Width[ MiSize ], Block_Height[ MiSize ] ) <= 32, the cdf is
        given by TileUVModeCflAllowedCdf[ YMode ].

      • Otherwise, the cdf is given by TileUVModeCflNotAllowedCdf[ YMode ].

angle_delta_y: The cdf for angle_delta_y is given by TileAngleDeltaCdf[YMode - V_PRED].

angle_delta_uv: The cdf for angle_delta_uv is given by TileAngleDeltaCdf[UVMode - V_PRED].

partition: The variable ctx is computed as follows:


  bsl = Mi_Width_Log2[[ bSize ]
  above = AvailU && ( Mi_Width_Log2[[ MiSizes[[ r - 1 ][ c ] ] < bsl )
  left = AvailL && ( Mi_Height_Log2[[ MiSizes[[ r ][ c - 1 ] ] < bsl )
  ctx = left * 2 + above


The cdf is derived as follows:

      • If bsl is equal to 1, the cdf is given by TilePartitionW8Cdf[ ctx ].

      • Otherwise, if bsl is equal to 2, the cdf is given by TilePartitionW16Cdf[ ctx ].

      • Otherwise, if bsl is equal to 3, the cdf is given by TilePartitionW32Cdf[ ctx ].

      • Otherwise, if bsl is equal to 4, the cdf is given by TilePartitionW64Cdf[ ctx ].

      • Otherwise (bsl is equal to 5), the cdf is given by TilePartitionW128Cdf[ ctx ].

split_or_horz: split_or_horz uses the same derivation for the variable ctx as for the syntax element partition.

The array partitionCdf is derived according to the cdf derivation procedure for the syntax element partition (note that bsl is
never equal to 1 when decoding split_or_horz).

The cdf to return is given by an array of length 3 which is constructed as follows:




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  psum = ( partitionCdf[[ PARTITION_VERT ] - partitionCdf[[ PARTITION_VERT - 1 ] +
            partitionCdf[[ PARTITION_SPLIT ] - partitionCdf[[ PARTITION_SPLIT - 1 ] +
            partitionCdf[[ PARTITION_HORZ_A ] - partitionCdf[[ PARTITION_HORZ_A - 1 ] +
            partitionCdf[[ PARTITION_VERT_A ] - partitionCdf[[ PARTITION_VERT_A - 1 ] +
            partitionCdf[[ PARTITION_VERT_B ] - partitionCdf[[ PARTITION_VERT_B - 1 ] )
  if ( bSize != BLOCK_128X128 )
       psum += partitionCdf[[ PARTITION_VERT_4 ] - partitionCdf[[ PARTITION_VERT_4 - 1 ] )
  cdf[[0] = ( 1 << 15 ) - psum
  cdf[[1] = 1 << 15
  cdf[[2] = 0



   Note: The syntax element split_or_horz is not allowed to return a PARTITION_VERT, so the probability for a
   vertical partition is assigned to the probability for the split partition.


split_or_vert: split_or_vert uses the same derivation for the variable ctx as for the syntax element partition.

The array partitionCdf is derived according to the cdf derivation procedure for the syntax element partition (note that bsl is
never equal to 1 when decoding split_or_vert).

The cdf to return is given by an array of length 3 which is constructed as follows:


  psum = ( partitionCdf[[ PARTITION_HORZ ] - partitionCdf[[ PARTITION_HORZ - 1 ] +
            partitionCdf[[ PARTITION_SPLIT ] - partitionCdf[[ PARTITION_SPLIT - 1 ] +
            partitionCdf[[ PARTITION_HORZ_A ] - partitionCdf[[ PARTITION_HORZ_A - 1 ] +
            partitionCdf[[ PARTITION_HORZ_B ] - partitionCdf[[ PARTITION_HORZ_B - 1 ] +
            partitionCdf[[ PARTITION_VERT_A ] - partitionCdf[[ PARTITION_VERT_A - 1 ] )
  if ( bSize != BLOCK_128X128 )
       psum += partitionCdf[[ PARTITION_HORZ_4 ] - partitionCdf[[ PARTITION_HORZ_4 - 1 ]
  cdf[[0] = ( 1 << 15 ) - psum
  cdf[[1] = 1 << 15
  cdf[[2] = 0


tx_depth: the cdf depends on the value of maxRectTxSize and ctx, where ctx is computed by:




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   maxTxWidth = Tx_Width[[ maxRectTxSize ]
   maxTxHeight = Tx_Height[[ maxRectTxSize ]

   if ( AvailU && IsInters[[ MiRow - 1 ][ MiCol ] ) {
       aboveW = Block_Width[[ MiSizes[[ MiRow - 1 ][ MiCol ] ]
   } else if ( AvailU ) {
       aboveW = get_above_tx_width(( MiRow,, MiCol )
   } else {
       aboveW = 0
   }

   if ( AvailL && IsInters[[ MiRow ][ MiCol - 1 ] ) {
       leftH = Block_Height[[ MiSizes[[ MiRow ][ MiCol - 1 ] ]
   } else if ( AvailL ) {
       leftH = get_left_tx_height(( MiRow,, MiCol )
   } else {
       leftH = 0
   }

   ctx = ( aboveW >= maxTxWidth ) + ( leftH >= maxTxHeight )


where get_above_tx_width and get_left_tx_height are functions defined as specified in the CDF selection process for
txfm_split.

The cdf to return is given by:

      • TileTx64x64Cdf[ ctx ] if maxTxDepth is equal to 4.

      • TileTx32x32Cdf[ ctx ] if maxTxDepth is equal to 3.

      • TileTx16x16Cdf[ ctx ] if maxTxDepth is equal to 2.

      • TileTx8x8Cdf[ ctx ] otherwise.

txfm_split: the cdf is given by TileTxfmSplitCdf[ ctx ], where ctx is computed by:


   above = get_above_tx_width(( row,, col ) < Tx_Width[[ txSz ]
   left = get_left_tx_height(( row,, col ) < Tx_Height[[ txSz ]
   size = Min(( 64
                64,, Max(( Block_Width[[ MiSize ], Block_Height[[ MiSize ] ) )
   maxTxSz = find_tx_size(( size,, size )
   txSzSqrUp = Tx_Size_Sqr_Up[[ txSz ]
   ctx = (txSzSqrUp != maxTxSz)) * 3 +
         (TX_SIZES - 1 - maxTxSz)) * 6 + above + left


where get_above_tx_width and get_left_tx_height are functions defined as follows:




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   get_above_tx_width(( row,, col ) {
       if ( row == MiRow ) {
           if ( !AvailU ) {
               return 64
           } else if ( Skips[[ row - 1 ][ col ] && IsInters[[ row - 1 ][ col ] ) {
               return Block_Width[[ MiSizes[[ row - 1 ][ col ] ]
           }
       }
       return Tx_Width[[ InterTxSizes[[ row - 1 ][ col ] ]
   }

   get_left_tx_height(( row,, col ) {
       if ( col == MiCol ) {
           if ( !AvailL ) {
               return 64
           } else if ( Skips[[ row ][ col - 1 ] && IsInters[[ row ][ col - 1 ] ) {
               return Block_Height[[ MiSizes[[ row ][ col - 1 ] ]
           }
       }
       return Tx_Height[[ InterTxSizes[[ row ][ col - 1 ] ]
   }


segment_id: The cdf is given by TileSegmentIdCdf[ ctx ] where ctx is computed by:


   if ( prevUL < 0 )
        ctx = 0
   else if ( (prevUL == prevU)) && (prevUL == prevL)) )
        ctx = 2
   else if ( (prevUL == prevU)) || (prevUL == prevL)) || (prevU == prevL)) )
        ctx = 1
   else
        ctx = 0


seg_id_predicted: the cdf is given by TileSegmentIdPredictedCdf[ ctx ], where ctx is computed by:


   ctx = LeftSegPredContext[[ MiRow ] + AboveSegPredContext[[ MiCol ]


new_mv: the cdf is given by TileNewMvCdf[ NewMvContext ].

zero_mv: the cdf is given by TileZeroMvCdf[ ZeroMvContext ].

ref_mv: the cdf is given by TileRefMvCdf[ RefMvContext ].

drl_mode: the cdf is given by TileDrlModeCdf[ DrlCtxStack[ idx ] ].

is_inter: the cdf is given by TileIsInterCdf[ ctx ] where ctx is computed by:


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   if ( AvailU && AvailL )
        ctx = (LeftIntra && AboveIntra)) ? 3 : LeftIntra || AboveIntra
   else if ( AvailU || AvailL )
        ctx = 2 * (AvailU ? AboveIntra : LeftIntra))
   else
        ctx = 0


use_filter_intra: the cdf is given by TileFilterIntraCdf[ MiSize ].

filter_intra_mode: the cdf is given by TileFilterIntraModeCdf.

comp_mode: the cdf is given by TileCompModeCdf[ ctx ] where ctx is computed by:


   if ( AvailU && AvailL ) {
       if ( AboveSingle && LeftSingle )
       ctx = check_backward(( AboveRefFrame[[ 0 ] )
            ^ check_backward(( LeftRefFrame[[ 0 ] )
       else if ( AboveSingle )
            ctx = 2 + ( check_backward(( AboveRefFrame[[ 0 ] ) || AboveIntra))
       else if ( LeftSingle )
            ctx = 2 + ( check_backward(( LeftRefFrame[[ 0 ] ) || LeftIntra))
       else
            ctx = 4
   } else if ( AvailU ) {
       if ( AboveSingle )
            ctx = check_backward(( AboveRefFrame[[ 0 ] )
       else
            ctx = 3
   } else if ( AvailL ) {
       if ( LeftSingle )
            ctx== check_backward(( LeftRefFrame[[ 0 ] )
       else
            ctx = 3
   } else {
       ctx = 1
   }


where check_backward is a function specified as follows:


   check_backward((refFrame)) {
     return ( ( refFrame >= BWDREF_FRAME ) && ( refFrame <= ALTREF_FRAME ) )
   }


skip_mode: the cdf is given by TileSkipModeCdf[ ctx ] where ctx is computed by:




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       ctx = 0
       if ( AvailU )
           ctx += SkipModes[[ MiRow - 1 ][ MiCol ]
       if ( AvailL )
           ctx += SkipModes[[ MiRow ][ MiCol - 1 ]


skip: the cdf is given by TileSkipCdf[ ctx ] where ctx is computed by:


       ctx = 0
       if ( AvailU )
           ctx += Skips[[ MiRow - 1 ][ MiCol ]
       if ( AvailL )
           ctx += Skips[[ MiRow ][ MiCol - 1 ]


comp_ref: the cdf is given by TileCompRefCdf[ ctx ][ 0 ] where ctx is computed by:


  last12Count = count_refs(( LAST_FRAME ) + count_refs(( LAST2_FRAME )
  last3GoldCount = count_refs(( LAST3_FRAME ) + count_refs(( GOLDEN_FRAME )
  ctx = ref_count_ctx(( last12Count,, last3GoldCount )


where count_refs is defined as:


  count_refs((frameType)) {
      c = 0
      if ( AvailU ) {
          if ( AboveRefFrame[[ 0 ] == frameType ) c++
                                                   ++
          if ( AboveRefFrame[[ 1 ] == frameType ) c++
                                                   ++
      }
      if ( AvailL ) {
          if ( LeftRefFrame[[ 0 ] == frameType ) c++
                                                  ++
          if ( LeftRefFrame[[ 1 ] == frameType ) c++
                                                  ++
      }
      return c
  }


and ref_count_ctx is defined as:




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  ref_count_ctx((counts0,, counts1)) {
    if ( counts0 < counts1 )
      return 0
    else if ( counts0 == counts1 )
      return 1
    else
      return 2
  }


comp_ref_p1: the cdf is given by TileCompRefCdf[ ctx ][ 1 ] where ctx is computed by:


  lastCount = count_refs(( LAST_FRAME )
  last2Count = count_refs(( LAST2_FRAME )
  ctx = ref_count_ctx(( lastCount,, last2Count )


where count_refs and ref_count_ctx are the same as given in the CDF selection process for comp_ref.

comp_ref_p2: the cdf is given by TileCompRefCdf[ ctx ][ 2 ] where ctx is computed by:


  last3Count = count_refs(( LAST3_FRAME )
  goldCount = count_refs(( GOLDEN_FRAME )
  ctx = ref_count_ctx(( last3Count,, goldCount )


where count_refs and ref_count_ctx are the same as given in the CDF selection process for comp_ref.

comp_bwdref: the cdf is given by TileCompBwdRefCdf[ ctx ][ 0 ] where ctx is computed by:


  brfarf2Count = count_refs(( BWDREF_FRAME ) + count_refs(( ALTREF2_FRAME )
  arfCount = count_refs(( ALTREF_FRAME )
  ctx = ref_count_ctx(( brfarf2Count,, arfCount )


where count_refs and ref_count_ctx are the same as given in the CDF selection process for comp_ref.

comp_bwdref_p1: the cdf is given by TileCompBwdRefCdf[ ctx ][ 1 ] where ctx is computed by:


  brfCount = count_refs(( BWDREF_FRAME )
  arf2Count = count_refs(( ALTREF2_FRAME )
  ctx = ref_count_ctx(( brfCount,, arf2Count )


where count_refs and ref_count_ctx are the same as given in the CDF selection process for comp_ref.

single_ref_p1: the cdf is given by TileSingleRefCdf[ ctx ][ 0 ] where ctx is computed by:



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   fwdCount = count_refs(( LAST_FRAME )
   fwdCount += count_refs(( LAST2_FRAME )
   fwdCount += count_refs(( LAST3_FRAME )
   fwdCount += count_refs(( GOLDEN_FRAME )
   bwdCount = count_refs(( BWDREF_FRAME )
   bwdCount += count_refs(( ALTREF2_FRAME )
   bwdCount += count_refs(( ALTREF_FRAME )
   ctx = ref_count_ctx(( fwdCount,, bwdCount )


where count_refs and ref_count_ctx are the same as given in the CDF selection process for comp_ref.

single_ref_p2: the cdf is given by TileSingleRefCdf[ ctx ][ 1 ] where ctx is computed as in the CDF selection process for
comp_bwdref.

single_ref_p3: the cdf is given by TileSingleRefCdf[ ctx ][ 2 ] where ctx is computed as in the CDF selection process for
comp_ref.

single_ref_p4: the cdf is given by TileSingleRefCdf[ ctx ][ 3 ] where ctx is computed as in the CDF selection process for
comp_ref_p1.

single_ref_p5: the cdf is given by TileSingleRefCdf[ ctx ][ 4 ] where ctx is computed as in the CDF selection process for
comp_ref_p2.

single_ref_p6: the cdf is given by TileSingleRefCdf[ ctx ][ 5 ] where ctx is computed as in the CDF selection process for
comp_bwdref_p1.

compound_mode: the cdf is given by TileCompoundModeCdf[ ctx ] where ctx is computed by:


   ctx = Compound_Mode_Ctx_Map[[ RefMvContext >> 1 ][ Min((NewMvContext,, COMP_NEWMV_CTXS - 1) ]


where Compound_Mode_Ctx_Map is defined as follows:


   Compound_Mode_Ctx_Map[[ 3 ][ COMP_NEWMV_CTXS ] = {
       { 0, 1, 1, 1, 1 },
       { 1, 2, 3, 4, 4 },
       { 4, 4, 5, 6, 7 }
   }


interp_filter: the cdf is given by TileInterpFilterCdf[ ctx ] where ctx is computed by:




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       ctx = ( ( dir & 1 ) * 2 + ( RefFrame[[ 1 ] > INTRA_FRAME ) ) * 4
       leftType = 3
       aboveType = 3

       if ( AvailL ) {
           if ( RefFrames[[ MiRow ][ MiCol - 1 ][ 0 ] == RefFrame[[ 0 ] ||
                RefFrames[[ MiRow ][ MiCol - 1 ][ 1 ] == RefFrame[[ 0 ] )
               leftType = InterpFilters[[ MiRow ] [ MiCol - 1 ][ dir ]
       }

       if ( AvailU ) {
           if ( RefFrames[[ MiRow - 1 ][ MiCol ][ 0 ] == RefFrame[[ 0 ] ||
                RefFrames[[ MiRow - 1 ][ MiCol ][ 1 ] == RefFrame[[ 0 ] )
               aboveType = InterpFilters[[ MiRow - 1 ] [ MiCol ][ dir ]
       }

       if ( leftType == aboveType )
            ctx += leftType
       else if ( leftType == 3 )
            ctx += aboveType
       else if ( aboveType == 3 )
            ctx += leftType
       else
            ctx += 3


motion_mode: the cdf is given by TileMotionModeCdf[ MiSize ].

mv_joint: the cdf is given by TileMvJointCdf[ MvCtx ].

mv_sign: the cdf is given by TileMvSignCdf[ MvCtx ][ comp ].

mv_class: the cdf is given by TileMvClassCdf[ MvCtx ][ comp ].

mv_class0_bit: the cdf is given by TileMvClass0BitCdf[ MvCtx ][ comp ].

mv_class0_fr: the cdf is given by TileMvClass0FrCdf[ MvCtx ][ comp ][ mv_class0_bit ].

mv_class0_hp: the cdf is given by TileMvClass0HpCdf[ MvCtx ][ comp ].

mv_fr: the cdf is given by TileMvFrCdf[ MvCtx ][ comp ].

mv_hp: the cdf is given by TileMvHpCdf[ MvCtx ][ comp ].

mv_bit: the cdf is given by TileMvBitCdf[ MvCtx ][ comp ][ i ].

all_zero: the cdf is given by TileTxbSkipCdf[ txSzCtx ][ ctx ], where ctx is computed as follows:




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  maxX4 = MiCols
  maxY4 = MiRows
  if ( plane > 0 ) {
      maxX4 = maxX4 >> subsampling_x
      maxY4 = maxY4 >> subsampling_y
  }

  w = Tx_Width[[txSz]]
  h = Tx_Height[[txSz]]

  bsize = get_plane_residual_size(( MiSize,, plane )
  bw = Block_Width[[ bsize ]
  bh = Block_Height[[ bsize ]

  if ( plane == 0 ) {
      top = 0
      left = 0
      for ( k = 0; k < w4;; k++++ ) {
           if ( x4 + k < maxX4 )
               top = Max(( top,, AboveLevelContext[[ plane ][ x4 + k ] )
      }
      for ( k = 0; k < h4;; k++++ ) {
           if ( y4 + k < maxY4 )
               left = Max(( left,, LeftLevelContext[[ plane ][ y4 + k ] )
      }
      top = Min(( top,, 255 )
      left = Min(( left,, 255 )
      if ( bw == w && bh == h ) {
           ctx = 0
      } else if ( top == 0 && left == 0 ) {
           ctx = 1
      } else if ( top == 0 || left == 0 ) {
           ctx = 2 + ( Max(( top,, left ) > 3 )
      } else if ( Max(( top,, left ) <= 3 ) {
           ctx = 4
      } else if ( Min(( top,, left ) <= 3 ) {
           ctx = 5
      } else {
           ctx = 6
      }
  } else {
      above = 0
      left = 0
      for ( i = 0; i < w4;; i++++ ) {
           if ( x4 + i < maxX4 ) {
               above |= AboveLevelContext[[ plane ][ x4 + i ]
               above |= AboveDcContext[[ plane ][ x4 + i ]
           }
      }
      for ( i = 0; i < h4;; i++++ ) {




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            if ( y4 + i < maxY4 ) {
                left |= LeftLevelContext[[ plane ][ y4 + i ]
                left |= LeftDcContext[[ plane ][ y4 + i ]
            }
       }
       ctx = ( above != 0 ) + ( left != 0 )
       ctx += 7
       if ( bw * bh > w * h )
           ctx += 3
  }


eob_pt_16: the cdf is given by TileEobPt16Cdf[ ptype ][ ctx ], where ctx is computed as follows:


  txType = compute_tx_type(( plane,, txSz,, x4,, y4 )
  ctx = ( get_tx_class(( txType ) == TX_CLASS_2D ) ? 0 : 1


where get_tx_class() is defined as in the CDF selection for coeff_base.

eob_pt_32: the cdf is given by TileEobPt32Cdf[ ptype ][ ctx ], where ctx is computed as for eob_pt_16.

eob_pt_64: the cdf is given by TileEobPt64Cdf[ ptype ][ ctx ], where ctx is computed as for eob_pt_16.

eob_pt_128: the cdf is given by TileEobPt128Cdf[ ptype ][ ctx ], where ctx is computed as for eob_pt_16.

eob_pt_256: the cdf is given by TileEobPt256Cdf[ ptype ][ ctx ], where ctx is computed as for eob_pt_16.

eob_pt_512: the cdf is given by TileEobPt512Cdf[ ptype ].

eob_pt_1024: the cdf is given by TileEobPt1024Cdf[ ptype ].

eob_extra: the cdf is given by TileEobExtraCdf[ txSzCtx ][ ptype ][ eobPt - 3 ].

coeff_base: the cdf is given by TileCoeffBaseCdf[ txSzCtx ][ ptype ][ ctx ], where ctx is computed as follows:


  ctx = get_coeff_base_ctx((txSz,, plane,, x4,, y4,, scan[[c],
                                                            ], c,, 0)


where get_coeff_base_ctx is defined as:




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  get_coeff_base_ctx(( txSz,, plane,, blockX,, blockY,, pos,, c,, isEob ) {
      adjTxSz = Adjusted_Tx_Size[[ txSz ]
      bwl = Tx_Width_Log2[[ adjTxSz ]
      width = 1 << bwl
      height = Tx_Height[[ adjTxSz ]
      txType = compute_tx_type(( plane,, txSz,, blockX,, blockY )
      if ( isEob ) {
          if ( c == 0 ) {
              return SIG_COEF_CONTEXTS - 4
          }
          if ( c <= (height << bwl)) / 8 ) {
              return SIG_COEF_CONTEXTS - 3
          }
          if ( c <= (height << bwl)) / 4 ) {
              return SIG_COEF_CONTEXTS - 2
          }
          return SIG_COEF_CONTEXTS - 1
      }
      txClass = get_tx_class(( txType )
      row = pos >> bwl
      col = pos - (row << bwl))
      mag = 0

       for ( idx = 0; idx < SIG_REF_DIFF_OFFSET_NUM;; idx++ ++ ) {
           refRow = row + Sig_Ref_Diff_Offset[[ txClass ][ idx ][ 0 ]
           refCol = col + Sig_Ref_Diff_Offset[[ txClass ][ idx ][ 1 ]
           if ( refRow >= 0 &&
                refCol >= 0 &&
                refRow < height &&
                refCol < width ) {
               mag += Min(( Abs(( Quant[[ (refRow << bwl)) + refCol ] ), 3 )
           }
       }

       ctx = Min(( ( mag + 1 ) >> 1, 4 )
       if ( txClass == TX_CLASS_2D ) {
           if ( row == 0 && col == 0 ) {
               return 0
           }
           return ctx + Coeff_Base_Ctx_Offset[[ txSz ][ Min(( row,, 4 ) ][ Min(( col,, 4 ) ]
       }
       idx = ( txClass == TX_CLASS_VERT ) ? row : col
       return ctx + Coeff_Base_Pos_Ctx_Offset[[ Min(( idx,, 2 ) ]
  }


where get_tx_class is defined as:




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  get_tx_class(( txType ) {
      if ( ( txType == V_DCT ) ||
           ( txType == V_ADST ) ||
           ( txType == V_FLIPADST ) ) {
          return TX_CLASS_VERT
      } else if ( ( txType == H_DCT ) ||
                   ( txType == H_ADST ) ||
                   ( txType == H_FLIPADST ) ) {
          return TX_CLASS_HORIZ
      } else
          return TX_CLASS_2D
  }


Coeff_Base_Ctx_Offset is defined as:




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  Coeff_Base_Ctx_Offset[[ TX_SIZES_ALL ][ 5 ][ 5 ] = {
    {
       { 0, 1, 6, 6, 0 },
       { 1, 6, 6, 21 21,, 0 },
       { 6, 6, 2121,, 21
                       21,, 0 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 0 },
       { 0, 0, 0, 0, 0 }
    },
    {
       { 0, 1, 6, 6, 21 },
       { 1, 6, 6, 21 21,, 21 },
       { 6, 6, 2121,, 21
                       21,, 21 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 21 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 1, 6, 6, 21 },
       { 1, 6, 6, 21 21,, 21 },
       { 6, 6, 2121,, 21
                       21,, 21 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 21 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 1, 6, 6, 21 },
       { 1, 6, 6, 21 21,, 21 },
       { 6, 6, 2121,, 21
                       21,, 21 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 21 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 1, 6, 6, 21 },
       { 1, 6, 6, 21 21,, 21 },
       { 6, 6, 2121,, 21
                       21,, 21 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 21 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 11
             11,, 11
                  11,, 11
                        11,, 0 },
       { 11
         11,, 11
              11,, 11
                    11,, 11
                          11,, 0 },
       { 6, 6, 2121,, 21
                       21,, 0 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 0 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 0 }
    },
    {
       { 0, 16
             16,, 6, 6, 21 },
       { 16
         16,, 16
              16,, 6, 2121,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 0, 0, 0, 0, 0 }
    },




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    {
       { 0, 11
             11,, 11
                  11,, 11
                        11,, 11 },
       { 11
         11,, 11
              11,, 11
                    11,, 11
                          11,, 11 },
       { 6, 6, 2121,, 21
                       21,, 21 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 21 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 16
             16,, 6, 6, 21 },
       { 16
         16,, 16
              16,, 6, 2121,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 11
             11,, 11
                  11,, 11
                        11,, 11 },
       { 11
         11,, 11
              11,, 11
                    11,, 11
                          11,, 11 },
       { 6, 6, 2121,, 21
                       21,, 21 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 21 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 16
             16,, 6, 6, 21 },
       { 16
         16,, 16
              16,, 6, 2121,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 11
             11,, 11
                  11,, 11
                        11,, 11 },
       { 11
         11,, 11
              11,, 11
                    11,, 11
                          11,, 11 },
       { 6, 6, 2121,, 21
                       21,, 21 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 21 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 16
             16,, 6, 6, 21 },
       { 16
         16,, 16
              16,, 6, 2121,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 },
       { 16
         16,, 16
              16,, 21
                    21,, 21
                          21,, 21 }
    },
    {
       { 0, 11
             11,, 11
                  11,, 11
                        11,, 0 },
       { 11
         11,, 11
              11,, 11
                    11,, 11
                          11,, 0 },
       { 6, 6, 2121,, 21
                       21,, 0 },
       { 6, 21
             21,, 21
                  21,, 21
                        21,, 0 },
       { 21
         21,, 21
              21,, 21
                    21,, 21
                          21,, 0 }
    },
    {




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         { 0, 16
               16,, 6, 6, 21 },
         { 16
           16,, 16
                16,, 6, 2121,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 },
         { 0, 0, 0, 0, 0 }
      },
      {
         { 0, 11
               11,, 11
                    11,, 11
                          11,, 11 },
         { 11
           11,, 11
                11,, 11
                      11,, 11
                            11,, 11 },
         { 6, 6, 2121,, 21
                         21,, 21 },
         { 6, 21
               21,, 21
                    21,, 21
                          21,, 21 },
         { 21
           21,, 21
                21,, 21
                      21,, 21
                            21,, 21 }
      },
      {
         { 0, 16
               16,, 6, 6, 21 },
         { 16
           16,, 16
                16,, 6, 2121,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 }
      },
      {
         { 0, 11
               11,, 11
                    11,, 11
                          11,, 11 },
         { 11
           11,, 11
                11,, 11
                      11,, 11
                            11,, 11 },
         { 6, 6, 2121,, 21
                         21,, 21 },
         { 6, 21
               21,, 21
                    21,, 21
                          21,, 21 },
         { 21
           21,, 21
                21,, 21
                      21,, 21
                            21,, 21 }
      },
      {
         { 0, 16
               16,, 6, 6, 21 },
         { 16
           16,, 16
                16,, 6, 2121,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 },
         { 16
           16,, 16
                16,, 21
                      21,, 21
                            21,, 21 }
      }
  }


and Coeff_Base_Pos_Ctx_Offset is defined as:


  Coeff_Base_Pos_Ctx_Offset[[ 3 ] = {
    SIG_COEF_CONTEXTS_2D,,
    SIG_COEF_CONTEXTS_2D + 5,
    SIG_COEF_CONTEXTS_2D + 10
  }


coeff_base_eob: the cdf is given by TileCoeffBaseEobCdf[ txSzCtx ][ ptype ][ ctx ], where ctx is computed as follows:




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  ctx = get_coeff_base_ctx((txSz,, plane,, x4,, y4,, scan[[c],
                                                            ], c,, 1) - SIG_COEF_CONTEXTS +
  SIG_COEF_CONTEXTS_EOB


where get_coeff_base_ctx() is as defined in the CDF selection for coeff_base.

dc_sign: the cdf is given by TileDcSignCdf[ ptype ][ ctx ], where ctx is computed as follows:


  maxX4 = MiCols
  maxY4 = MiRows
  if ( plane > 0 ) {
      maxX4 = maxX4 >> subsampling_x
      maxY4 = maxY4 >> subsampling_y
  }

  dcSign = 0
  for ( k = 0; k < w4;; k++
                         ++ ) {
      if ( x4 + k < maxX4 ) {
           sign = AboveDcContext[[ plane ][ x4 + k ]
           if ( sign == 1 ) {
               dcSign--
                     --
           } else if ( sign == 2 ) {
               dcSign++
                     ++
           }
      }
  }
  for ( k = 0; k < h4;; k++
                         ++ ) {
      if ( y4 + k < maxY4 ) {
           sign = LeftDcContext[[ plane ][ y4 + k ]
           if ( sign == 1 ) {
               dcSign--
                     --
           } else if ( sign == 2 ) {
               dcSign++
                     ++
           }
      }
  }
  if ( dcSign < 0 ) {
      ctx = 1
  } else if ( dcSign > 0 ) {
      ctx = 2
  } else {
      ctx = 0
  }


coeff_br: the cdf is given by TileCoeffBrCdf[ Min( txSzCtx, TX_32X32 ) ][ ptype ][ ctx ], where ctx is computed as follows:




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  adjTxSz = Adjusted_Tx_Size[[ txSz ]
  bwl = Tx_Width_Log2[[ adjTxSz ]
  txw = Tx_Width[[ adjTxSz ]
  txh = Tx_Height[[ adjTxSz ]
  row = pos >> bwl
  col = pos - (row << bwl))

  mag = 0

  txType = compute_tx_type(( plane,, txSz,, x4,, y4 )
  txClass = get_tx_class(( txType )

  for ( idx = 0; idx < 3; idx++++ ) {
      refRow = row + Mag_Ref_Offset_With_Tx_Class[[ txClass ][ idx ][ 0 ]
      refCol = col + Mag_Ref_Offset_With_Tx_Class[[ txClass ][ idx ][ 1 ]
      if ( refRow >= 0 &&
           refCol >= 0 &&
           refRow < txh &&
           refCol < (1 << bwl)) ) {
          mag += Min(( Quant[[ refRow * txw + refCol ], COEFF_BASE_RANGE + NUM_BASE_LEVELS + 1 )
      }
  }

  mag = Min(( ( mag + 1 ) >> 1, 6 )
  if ( pos == 0 ) {
      ctx = mag
  } else if ( txClass == 0 ) {
      if ( ( row < 2 ) && ( col < 2 ) ) {
           ctx = mag + 7
      } else {
           ctx = mag + 14
      }
  } else {
      if ( txClass == 1 ) {
           if ( col == 0 ) {
               ctx = mag + 7
           } else {
               ctx = mag + 14
           }
      } else {
           if ( row == 0 ) {
               ctx = mag + 7
           } else {
               ctx = mag + 14
           }
      }
  }


where get_tx_class() is defined as in the CDF selection for coeff_base, and Mag_Ref_Offset_With_Tx_Class is defined
as:



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  Mag_Ref_Offset_With_Tx_Class[[ 3 ][ 3 ][ 2 ] = {
    { { 0, 1 }, { 1, 0 }, { 1, 1 } },
    { { 0, 1 }, { 1, 0 }, { 0, 2 } },
    { { 0, 1 }, { 1, 0 }, { 2, 0 } }
  }


has_palette_y: the cdf is given by TilePaletteYModeCdf[ bsizeCtx ][ ctx ] where ctx is computed as follows:


  ctx = 0
  if ( AvailU && PaletteSizes[[ 0 ][ MiRow - 1 ][ MiCol ] > 0 )
      ctx += 1
  if ( AvailL && PaletteSizes[[ 0 ][ MiRow ][ MiCol - 1 ] > 0 )
      ctx += 1


has_palette_uv: the cdf is given by TilePaletteUVModeCdf[ ctx ] where ctx is computed as follows:


  ctx = ( PaletteSizeY > 0 ) ? 1 : 0


palette_size_y_minus_2: the cdf is given by TilePaletteYSizeCdf[ bsizeCtx ].

palette_size_uv_minus_2: the cdf is given by TilePaletteUVSizeCdf[ bsizeCtx ].

palette_color_idx_y: the cdf depends on PaletteSizeY, as follows:


            PaletteSizeY                                                       cdf

                  2                                            TilePaletteSize2YColorCdf[ ctx ]

                  3                                            TilePaletteSize3YColorCdf[ ctx ]

                  4                                            TilePaletteSize4YColorCdf[ ctx ]

                  5                                            TilePaletteSize5YColorCdf[ ctx ]

                  6                                            TilePaletteSize6YColorCdf[ ctx ]

                  7                                            TilePaletteSize7YColorCdf[ ctx ]

                  8                                            TilePaletteSize8YColorCdf[ ctx ]


where ctx is computed as follows:


  ctx = Palette_Color_Context[[ ColorContextHash ]


palette_color_idx_uv: the cdf depends on PaletteSizeUV, as follows:


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            PaletteSizeUV                                                            cdf

                     2                                             TilePaletteSize2UVColorCdf[ ctx ]

                     3                                             TilePaletteSize3UVColorCdf[ ctx ]

                     4                                             TilePaletteSize4UVColorCdf[ ctx ]

                     5                                             TilePaletteSize5UVColorCdf[ ctx ]

                     6                                             TilePaletteSize6UVColorCdf[ ctx ]

                     7                                             TilePaletteSize7UVColorCdf[ ctx ]

                     8                                             TilePaletteSize8UVColorCdf[ ctx ]


where ctx is computed as follows:


   ctx = Palette_Color_Context[[ ColorContextHash ]


delta_q_abs: the cdf is given by TileDeltaQCdf.

delta_lf_abs: the cdf is derived as follows:

      • If delta_lf_multi is equal to 0, the cdf is given by TileDeltaLFCdf.

      • Otherwise (delta_lf_multi is equal to 1), the cdf is given by TileDeltaLFMultiCdf[ i ].

intra_tx_type: the cdf depends on the variable set, as follows:


               set                                                             cdf

       TX_SET_INTRA_1                                TileIntraTxTypeSet1Cdf[ Tx_Size_Sqr[ txSz ] ][ intraDir ]

       TX_SET_INTRA_2                                TileIntraTxTypeSet2Cdf[ Tx_Size_Sqr[ txSz ] ][ intraDir ]


where the variable intraDir is derived as follows:

      • If use_filter_intra is equal to 1, intraDir is set equal to Filter_Intra_Mode_To_Intra_Dir[ filter_intra_mode ],

      • Otherwise (use_filter_intra is equal to 0), intraDir is set equal to YMode.

The table Filter_Intra_Mode_To_Intra_Dir is defined as:


   Filter_Intra_Mode_To_Intra_Dir[[ INTRA_FILTER_MODES ] = {
     DC_PRED,, V_PRED,, H_PRED,, D157_PRED,, DC_PRED
   }




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inter_tx_type: the cdf depends on the variable set, as follows:


                 set                                                         cdf

         TX_SET_INTER_1                                  TileInterTxTypeSet1Cdf[ Tx_Size_Sqr[ txSz ] ]

         TX_SET_INTER_2                                            TileInterTxTypeSet2Cdf

         TX_SET_INTER_3                                  TileInterTxTypeSet3Cdf[ Tx_Size_Sqr[ txSz ] ]


comp_ref_type: The cdf is given by TileCompRefTypeCdf[ ctx ], where ctx is computed as follows:




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  above0 = AboveRefFrame[[ 0 ]
  above1 = AboveRefFrame[[ 1 ]
  left0 = LeftRefFrame[[ 0 ]
  left1 = LeftRefFrame[[ 1 ]
  aboveCompInter = AvailU && !AboveIntra && !AboveSingle
  leftCompInter = AvailL && !LeftIntra && !LeftSingle
  aboveUniComp = aboveCompInter && is_samedir_ref_pair((above0,, above1))
  leftUniComp = leftCompInter && is_samedir_ref_pair((left0,, left1))

  if ( AvailU && !AboveIntra && AvailL && !LeftIntra ) {
      samedir = is_samedir_ref_pair((above0,, left0))

      if ( !aboveCompInter && !leftCompInter ) {
           ctx = 1 + 2 * samedir
      } else if ( !aboveCompInter ) {
           if ( !leftUniComp )
                ctx = 1
           else
                ctx = 3 + samedir
      } else if ( !leftCompInter ) {
           if ( !aboveUniComp )
                ctx = 1
           else
                ctx = 3 + samedir
      } else {
           if ( !aboveUniComp && !leftUniComp )
                ctx = 0
           else if ( !aboveUniComp || !leftUniComp )
                ctx = 2
           else
                ctx = 3 + ((
                          ((above0 == BWDREF_FRAME)) == (left0 == BWDREF_FRAME))
                                                                              ))
      }
  } else if ( AvailU && AvailL ) {
      if ( aboveCompInter )
           ctx = 1 + 2 * aboveUniComp
      else if ( leftCompInter )
           ctx = 1 + 2 * leftUniComp
      else
           ctx = 2
  } else if ( aboveCompInter ) {
      ctx = 4 * aboveUniComp
  } else if ( leftCompInter ) {
      ctx = 4 * leftUniComp
  } else {
      ctx = 2
  }


where is_samedir_ref_pair is defined as:




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  is_samedir_ref_pair((ref0,, ref1)) {
    return (ref0 >= BWDREF_FRAME)) == (ref1 >= BWDREF_FRAME))
  }


uni_comp_ref: The cdf is given by TileUniCompRefCdf[ ctx ][ 0 ], where ctx is computed as in the CDF selection process
for single_ref_p1.

uni_comp_ref_p1: The cdf is given by TileUniCompRefCdf[ ctx ][ 1 ], where ctx is computed as follows:


  last2Count = count_refs(( LAST2_FRAME )
  last3GoldCount = count_refs(( LAST3_FRAME ) + count_refs(( GOLDEN_FRAME )
  ctx = ref_count_ctx(( last2Count,, last3GoldCount )


where count_refs and ref_count_ctx are the same as given in the CDF selection process for comp_ref.

uni_comp_ref_p2: The cdf is given by TileUniCompRefCdf[ ctx ][ 2 ], where ctx is computed as in the CDF selection
process for comp_ref_p2.

comp_group_idx: The cdf is given by TileCompGroupIdxCdf[ ctx ], where ctx is computed as follows:


  ctx = 0
  if ( AvailU ) {
    if ( !AboveSingle )
      ctx += CompGroupIdxs[[ MiRow - 1 ][ MiCol ]
    else if ( AboveRefFrame[[ 0 ] == ALTREF_FRAME )
      ctx += 3
  }
  if ( AvailL ) {
    if ( !LeftSingle )
      ctx += CompGroupIdxs[[ MiRow ][ MiCol - 1 ]
    else if ( LeftRefFrame[[ 0 ] == ALTREF_FRAME )
      ctx += 3
  }
  ctx = Min(( 5, ctx )


compound_idx: The cdf is given by TileCompoundIdxCdf[ ctx ], where ctx is computed as follows:




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   fwd = Abs(( get_relative_dist(( OrderHints[[ RefFrame[[ 0 ] ], OrderHint ) )
   bck = Abs(( get_relative_dist(( OrderHints[[ RefFrame[[ 1 ] ], OrderHint ) )
   ctx = ( fwd == bck ) ? 3 : 0
   if ( AvailU ) {
     if ( !AboveSingle )
       ctx += CompoundIdxs[[ MiRow - 1 ][ MiCol ]
     else if ( AboveRefFrame[[ 0 ] == ALTREF_FRAME )
       ctx++
          ++
   }
   if ( AvailL ) {
     if ( !LeftSingle )
       ctx += CompoundIdxs[[ MiRow ][ MiCol - 1 ]
     else if ( LeftRefFrame[[ 0 ] == ALTREF_FRAME )
       ctx++
          ++
   }


compound_type: The cdf is given by TileCompoundTypeCdf[ MiSize ].

interintra: The cdf is given by TileInterIntraCdf[ ctx ], where ctx is computed as follows:


   ctx = Size_Group[[ MiSize ] - 1


interintra_mode: The cdf is given by TileInterIntraModeCdf[ ctx ], where ctx is computed as follows:


   ctx = Size_Group[[ MiSize ] - 1


wedge_index: The cdf is given by TileWedgeIndexCdf[ MiSize ].

wedge_interintra: The cdf is given by TileWedgeInterIntraCdf[ MiSize ].

use_obmc: The cdf is given by TileUseObmcCdf[ MiSize ].

cfl_alpha_signs: The cdf is given by TileCflSignCdf.

cfl_alpha_u: The cdf is given by TileCflAlphaCdf[ ctx ], where ctx is obtained from the following table:


                                        cfl_alpha_signs                                                    ctx

                                                0                                                          N/A

                                                1                                                          N/A

                                                2                                                           0

                                                3                                                           1




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                                       cfl_alpha_signs                                                     ctx

                                               4                                                            2

                                               5                                                            3

                                               6                                                            4

                                               7                                                            5



   Note: N/A is used to indicate that no context is needed as the sign is zero and no value is decoded.


or computed as follows:


  ctx = (signU - 1) * 3 + signV



   Note: As shown in the previous table, the variable ctx produced by this calculation will be equal to cfl_alpha_signs
   - 2.


cfl_alpha_v: The cdf is given by TileCflAlphaCdf[ ctx ], where ctx is obtained from the following table:


                                       cfl_alpha_signs                                                     ctx

                                               0                                                            0

                                               1                                                            3

                                               2                                                           N/A

                                               3                                                            1

                                               4                                                            4

                                               5                                                           N/A

                                               6                                                            2

                                               7                                                            5



   Note: N/A is used to indicate that no context is needed as the sign is zero and no value is decoded.


or computed as follows:


  ctx = (signV - 1) * 3 + signU




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use_wiener: The cdf is given by TileUseWienerCdf.

use_sgrproj: The cdf is given by TileUseSgrprojCdf.

restoration_type: The cdf is given by TileRestorationTypeCdf.




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9. Additional tables
9.1. General
This section contains tables that do not naturally fit in the main sections of the Specification.


9.2. Scan tables
This section defines the scan order for different types of transform. Each table is named in the form
<type>_Scan_<w>x<h>, and contains an ordered list of positions within a rectangle of width w and height h. Each position
is calculated as w * y + x.

The following table lists pairs of scan tables which are transposes of each other. A table T_wxh is a transpose of another
table T_hxw if the following function returns 1:


   is_transpose(( ) {
       for ( pos = 0; pos < w * h;; pos++
                                       ++ ) {
           x1 = T_wxh[[ pos ] % w
           y1 = T_wxh[[ pos ] / w
           x2 = T_hxw[[ pos ] % h
           y2 = T_hxw[[ pos ] / h
           if ( x1 != y2 || y1 != x2 )
                return 0
       }
       return 1
   }



                             Table                                                        Transpose

                      Default_Scan_4x8                                                 Default_Scan_8x4

                     Default_Scan_16x32                                              Default_Scan_32x16

                     Default_Scan_16x4                                                Default_Scan_4x16

                     Default_Scan_16x8                                                Default_Scan_8x16

                     Default_Scan_32x8                                                Default_Scan_8x32

                       Mcol_Scan_4x4                                                    Mrow_Scan_4x4

                       Mcol_Scan_4x8                                                    Mrow_Scan_8x4

                       Mcol_Scan_8x8                                                    Mrow_Scan_8x8

                       Mcol_Scan_16x8                                                  Mrow_Scan_8x16

                      Mcol_Scan_16x16                                                 Mrow_Scan_16x16

                       Mcol_Scan_16x4                                                  Mrow_Scan_4x16



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                             Table                                                      Transpose

                       Mrow_Scan_4x4                                                   Mcol_Scan_4x4

                       Mrow_Scan_4x8                                                   Mcol_Scan_8x4

                       Mrow_Scan_8x8                                                   Mcol_Scan_8x8

                      Mrow_Scan_16x8                                                  Mcol_Scan_8x16

                     Mrow_Scan_16x16                                                  Mcol_Scan_16x16

                      Mrow_Scan_16x4                                                  Mcol_Scan_4x16



  Default_Scan_4x4[[ 16 ] = {
      0, 1, 4, 8,
      5, 2, 3, 6,
      9, 12
         12,, 13
              13,, 10
                   10,,
      7, 11
         11,, 14
              14,, 15
  }




  Mcol_Scan_4x4[[ 16 ] = {
      0, 4, 8, 12
                12,,
      1, 5, 9, 13
                13,,
      2, 6, 10
            10,, 14
                 14,,
      3, 7, 11
            11,, 15
  }




  Mrow_Scan_4x4[[ 16 ] = {
      0, 1, 2, 3,
      4, 5, 6, 7,
      8, 9, 1010,, 11
                    11,,
      12
      12,, 13
           13,, 14
                 14,, 15
  }




  Default_Scan_4x8[[ 32 ] = {
    0, 1, 4, 2, 5, 8, 3, 6, 9, 12                12,, 7, 1010,, 13
                                                                13,, 16
                                                                     16,, 11
                                                                          11,, 14
                                                                               14,,
    17
    17,, 20
         20,, 15
              15,, 18
                   18,, 21
                        21,, 24
                             24,, 19
                                  19,, 22
                                       22,, 25
                                            25,, 28
                                                 28,, 23
                                                      23,, 26
                                                           26,, 29
                                                                29,, 27
                                                                     27,, 30
                                                                          30,, 31
  }




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  Mcol_Scan_4x8[[ 32 ] = {
    0, 4, 8, 1212,, 16
                    16,, 20
                         20,, 24
                              24,, 28
                                   28,, 1, 5, 9, 1313,, 17
                                                        17,, 21
                                                             21,, 25
                                                                  25,, 29
                                                                       29,,
    2, 6, 10
          10,, 14
               14,, 18
                    18,, 22
                         22,, 26
                              26,, 30
                                   30,, 3, 7, 11
                                              11,, 15
                                                   15,, 19
                                                        19,, 23
                                                             23,, 27
                                                                  27,, 31
  }




  Mrow_Scan_4x8[[ 32 ] = {
    0, 1, 2, 3, 4, 5, 6, 7, 8, 9, 10                  10,, 11
                                                           11,, 12
                                                                12,, 13
                                                                     13,, 14
                                                                          14,, 15
                                                                               15,,
    16
    16,, 17
         17,, 18
              18,, 19
                   19,, 20
                        20,, 21
                             21,, 22
                                  22,, 23
                                       23,, 24
                                            24,, 25
                                                 25,, 26
                                                      26,, 27
                                                           27,, 28
                                                                28,, 29
                                                                     29,, 30
                                                                          30,, 31
  }




  Default_Scan_8x4[[ 32 ] = {
    0, 8, 1, 16  16,, 9, 2, 2424,, 17
                                   17,, 10
                                        10,, 3, 25
                                                25,, 18
                                                     18,, 11
                                                          11,, 4, 2626,, 19
                                                                         19,,
    12
    12,, 5, 27
            27,, 20
                 20,, 13
                      13,, 6, 28
                              28,, 21
                                   21,, 14
                                        14,, 7, 29
                                                29,, 22
                                                     22,, 15
                                                          15,, 30
                                                               30,, 23
                                                                    23,, 31
  }




  Mcol_Scan_8x4[[ 32 ] = {
    0, 8, 1616,, 24
                 24,, 1, 9, 1717,, 25
                                   25,, 2, 10
                                           10,, 18
                                                18,, 26
                                                     26,, 3, 11
                                                             11,, 19
                                                                  19,, 27
                                                                       27,,
    4, 12
       12,, 20
            20,, 28
                 28,, 5, 13
                         13,, 21
                              21,, 29
                                   29,, 6, 14
                                           14,, 22
                                                22,, 30
                                                     30,, 7, 15
                                                             15,, 23
                                                                  23,, 31
  }




  Mrow_Scan_8x4[[ 32 ] = {
    0, 1, 2, 3, 4, 5, 6, 7, 8, 9, 10                  10,, 11
                                                           11,, 12
                                                                12,, 13
                                                                     13,, 14
                                                                          14,, 15
                                                                               15,,
    16
    16,, 17
         17,, 18
              18,, 19
                   19,, 20
                        20,, 21
                             21,, 22
                                  22,, 23
                                       23,, 24
                                            24,, 25
                                                 25,, 26
                                                      26,, 27
                                                           27,, 28
                                                                28,, 29
                                                                     29,, 30
                                                                          30,, 31
  }




  Default_Scan_8x8[[ 64 ] = {
      0, 1, 8, 16    16,, 9, 2, 3, 10    10,,
      17
      17,, 24
           24,, 32
                32,, 25
                     25,, 18
                          18,, 11
                               11,, 4, 5,
      12
      12,, 19
           19,, 26
                26,, 33
                     33,, 40
                          40,, 48
                               48,, 41
                                    41,, 34
                                         34,,
      27
      27,, 20
           20,, 13
                13,, 6, 7, 14  14,, 21
                                    21,, 28
                                         28,,
      35
      35,, 42
           42,, 49
                49,, 56
                     56,, 57
                          57,, 50
                               50,, 43
                                    43,, 36
                                         36,,
      29
      29,, 22
           22,, 15
                15,, 23
                     23,, 30
                          30,, 37
                               37,, 44
                                    44,, 51
                                         51,,
      58
      58,, 59
           59,, 52
                52,, 45
                     45,, 38
                          38,, 31
                               31,, 39
                                    39,, 46
                                         46,,
      53
      53,, 60
           60,, 61
                61,, 54
                     54,, 47
                          47,, 55
                               55,, 62
                                    62,, 63
  }




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  Mcol_Scan_8x8[[ 64 ] = {
    0, 8, 1616,, 24
                 24,, 32
                      32,, 40
                           40,, 48
                                48,, 56
                                     56,,
    1, 9, 1717,, 25
                 25,, 33
                      33,, 41
                           41,, 49
                                49,, 57
                                     57,,
    2, 10
       10,, 18
            18,, 26
                 26,, 34
                      34,, 42
                           42,, 50
                                50,, 58
                                     58,,
    3, 11
       11,, 19
            19,, 27
                 27,, 35
                      35,, 43
                           43,, 51
                                51,, 59
                                     59,,
    4, 12
       12,, 20
            20,, 28
                 28,, 36
                      36,, 44
                           44,, 52
                                52,, 60
                                     60,,
    5, 13
       13,, 21
            21,, 29
                 29,, 37
                      37,, 45
                           45,, 53
                                53,, 61
                                     61,,
    6, 14
       14,, 22
            22,, 30
                 30,, 38
                      38,, 46
                           46,, 54
                                54,, 62
                                     62,,
    7, 15
       15,, 23
            23,, 31
                 31,, 39
                      39,, 47
                           47,, 55
                                55,, 63
  }




  Mrow_Scan_8x8[[ 64 ] = {
    0, 1, 2, 3, 4, 5, 6, 7,
    8, 9, 10  10,, 11
                   11,, 12
                        12,, 13
                             13,, 14
                                  14,, 15
                                       15,,
    16
    16,, 17
         17,, 18
              18,, 19
                   19,, 20
                        20,, 21
                             21,, 22
                                  22,, 23
                                       23,,
    24
    24,, 25
         25,, 26
              26,, 27
                   27,, 28
                        28,, 29
                             29,, 30
                                  30,, 31
                                       31,,
    32
    32,, 33
         33,, 34
              34,, 35
                   35,, 36
                        36,, 37
                             37,, 38
                                  38,, 39
                                       39,,
    40
    40,, 41
         41,, 42
              42,, 43
                   43,, 44
                        44,, 45
                             45,, 46
                                  46,, 47
                                       47,,
    48
    48,, 49
         49,, 50
              50,, 51
                   51,, 52
                        52,, 53
                             53,, 54
                                  54,, 55
                                       55,,
    56
    56,, 57
         57,, 58
              58,, 59
                   59,, 60
                        60,, 61
                             61,, 62
                                  62,, 63
  }




  Default_Scan_8x16[[ 128 ] = {
    0,    1,    8,    2,    9,    16
                                  16,, 3,     10
                                              10,, 17
                                                    17,, 24
                                                          24,, 4,     11
                                                                      11,, 18
                                                                            18,, 25
                                                                                  25,, 32
                                                                                        32,,
    5,    12
          12,, 19
                19,, 26
                      26,, 33
                            33,, 40
                                  40,, 6,     13
                                              13,, 20
                                                    20,, 27
                                                          27,, 34
                                                                34,, 41
                                                                      41,, 48
                                                                            48,, 7,     14
                                                                                        14,,
    21
    21,, 28
          28,, 35
                35,, 42
                      42,, 49
                            49,, 56
                                  56,, 15
                                        15,, 22
                                              22,, 29
                                                    29,, 36
                                                          36,, 43
                                                                43,, 50
                                                                      50,, 57
                                                                            57,, 64
                                                                                  64,, 23
                                                                                        23,,
    30
    30,, 37
          37,, 44
                44,, 51
                      51,, 58
                            58,, 65
                                  65,, 72
                                        72,, 31
                                              31,, 38
                                                    38,, 45
                                                          45,, 52
                                                                52,, 59
                                                                      59,, 66
                                                                            66,, 73
                                                                                  73,, 80
                                                                                        80,,
    39
    39,, 46
          46,, 53
                53,, 60
                      60,, 67
                            67,, 74
                                  74,, 81
                                        81,, 88
                                              88,, 47
                                                    47,, 54
                                                          54,, 61
                                                                61,, 68
                                                                      68,, 75
                                                                            75,, 82
                                                                                  82,, 89
                                                                                        89,,
    96
    96,, 55
          55,, 62
                62,, 69
                      69,, 76
                            76,, 83
                                  83,, 90
                                        90,, 97
                                              97,, 104
                                                    104,, 63
                                                          63,, 70
                                                                70,, 77
                                                                      77,, 84
                                                                            84,, 91
                                                                                  91,, 98
                                                                                        98,,
    105
    105,, 112
          112,, 71
                71,, 78
                      78,, 85
                            85,, 92
                                  92,, 99
                                        99,, 106
                                              106,, 113
                                                    113,, 120
                                                          120,, 79
                                                                79,, 86
                                                                      86,, 93
                                                                            93,, 100
                                                                                  100,, 107
                                                                                        107,,
    114
    114,, 121
          121,, 87
                87,, 94
                      94,, 101
                            101,, 108
                                  108,, 115
                                        115,, 122
                                              122,, 95
                                                    95,, 102
                                                          102,, 109
                                                                109,, 116
                                                                      116,, 123
                                                                            123,, 103
                                                                                  103,, 110
                                                                                        110,,
    117
    117,, 124
          124,, 111
                111,, 118
                      118,, 125
                            125,, 119
                                  119,, 126
                                        126,, 127
  }




  Mcol_Scan_8x16[[ 128 ] = {
    0, 8, 1616,, 24
                 24,, 32
                      32,, 40
                           40,, 48
                                48,, 56
                                     56,, 64
                                          64,, 72
                                               72,, 80
                                                    80,, 88
                                                         88,, 96
                                                              96,, 104
                                                                    104,, 112
                                                                          112,, 120
                                                                                120,,
    1, 9, 1717,, 25
                 25,, 33
                      33,, 41
                           41,, 49
                                49,, 57
                                     57,, 65
                                          65,, 73
                                               73,, 81
                                                    81,, 89
                                                         89,, 97
                                                              97,, 105
                                                                    105,, 113
                                                                          113,, 121
                                                                                121,,
    2, 10
       10,, 18
            18,, 26
                 26,, 34
                      34,, 42
                           42,, 50
                                50,, 58
                                     58,, 66
                                          66,, 74
                                               74,, 82
                                                    82,, 90
                                                         90,, 98
                                                              98,, 106
                                                                    106,, 114
                                                                          114,, 122
                                                                                122,,
    3, 11
       11,, 19
            19,, 27
                 27,, 35
                      35,, 43
                           43,, 51
                                51,, 59
                                     59,, 67
                                          67,, 75
                                               75,, 83
                                                    83,, 91
                                                         91,, 99
                                                              99,, 107
                                                                    107,, 115
                                                                          115,, 123
                                                                                123,,
    4, 12
       12,, 20
            20,, 28
                 28,, 36
                      36,, 44
                           44,, 52
                                52,, 60
                                     60,, 68
                                          68,, 76
                                               76,, 84
                                                    84,, 92
                                                         92,, 100
                                                              100,, 108
                                                                    108,, 116
                                                                          116,, 124
                                                                                124,,
    5, 13
       13,, 21
            21,, 29
                 29,, 37
                      37,, 45
                           45,, 53
                                53,, 61
                                     61,, 69
                                          69,, 77
                                               77,, 85
                                                    85,, 93
                                                         93,, 101
                                                              101,, 109
                                                                    109,, 117
                                                                          117,, 125
                                                                                125,,
    6, 14
       14,, 22
            22,, 30
                 30,, 38
                      38,, 46
                           46,, 54
                                54,, 62
                                     62,, 70
                                          70,, 78
                                               78,, 86
                                                    86,, 94
                                                         94,, 102
                                                              102,, 110
                                                                    110,, 118
                                                                          118,, 126
                                                                                126,,
    7, 15
       15,, 23
            23,, 31
                 31,, 39
                      39,, 47
                           47,, 55
                                55,, 63
                                     63,, 71
                                          71,, 79
                                               79,, 87
                                                    87,, 95
                                                         95,, 103
                                                              103,, 111
                                                                    111,, 119
                                                                          119,, 127
  }




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  Mrow_Scan_8x16[[ 128 ] = {
    0,    1,    2,    3,    4,    5,    6,    7,    8,    9,    10
                                                                10,, 11
                                                                      11,, 12
                                                                            12,, 13
                                                                                  13,, 14
                                                                                        14,,
    15
    15,, 16
          16,, 17
                17,, 18
                      18,, 19
                            19,, 20
                                  20,, 21
                                        21,, 22
                                              22,, 23
                                                    23,, 24
                                                          24,, 25
                                                                25,, 26
                                                                      26,, 27
                                                                            27,, 28
                                                                                  28,, 29
                                                                                        29,,
    30
    30,, 31
          31,, 32
                32,, 33
                      33,, 34
                            34,, 35
                                  35,, 36
                                        36,, 37
                                              37,, 38
                                                    38,, 39
                                                          39,, 40
                                                                40,, 41
                                                                      41,, 42
                                                                            42,, 43
                                                                                  43,, 44
                                                                                        44,,
    45
    45,, 46
          46,, 47
                47,, 48
                      48,, 49
                            49,, 50
                                  50,, 51
                                        51,, 52
                                              52,, 53
                                                    53,, 54
                                                          54,, 55
                                                                55,, 56
                                                                      56,, 57
                                                                            57,, 58
                                                                                  58,, 59
                                                                                        59,,
    60
    60,, 61
          61,, 62
                62,, 63
                      63,, 64
                            64,, 65
                                  65,, 66
                                        66,, 67
                                              67,, 68
                                                    68,, 69
                                                          69,, 70
                                                                70,, 71
                                                                      71,, 72
                                                                            72,, 73
                                                                                  73,, 74
                                                                                        74,,
    75
    75,, 76
          76,, 77
                77,, 78
                      78,, 79
                            79,, 80
                                  80,, 81
                                        81,, 82
                                              82,, 83
                                                    83,, 84
                                                          84,, 85
                                                                85,, 86
                                                                      86,, 87
                                                                            87,, 88
                                                                                  88,, 89
                                                                                        89,,
    90
    90,, 91
          91,, 92
                92,, 93
                      93,, 94
                            94,, 95
                                  95,, 96
                                        96,, 97
                                              97,, 98
                                                    98,, 99
                                                          99,, 100
                                                                100,, 101
                                                                      101,, 102
                                                                            102,, 103
                                                                                  103,, 104
                                                                                        104,,
    105
    105,, 106
          106,, 107
                107,, 108
                      108,, 109
                            109,, 110
                                  110,, 111
                                        111,, 112
                                              112,, 113
                                                    113,, 114
                                                          114,, 115
                                                                115,, 116
                                                                      116,, 117
                                                                            117,, 118
                                                                                  118,, 119
                                                                                        119,,
    120
    120,, 121
          121,, 122
                122,, 123
                      123,, 124
                            124,, 125
                                  125,, 126
                                        126,, 127
  }




  Default_Scan_16x8[[ 128 ] = {
    0, 1616,, 1,     32
                     32,, 17
                          17,, 2,     48
                                      48,, 33
                                            33,, 18
                                                  18,, 3, 6464,, 49
                                                                  49,, 34
                                                                        34,, 19
                                                                              19,, 4,     80
                                                                                          80,,
    65
    65,, 50
         50,, 35
               35,, 20
                     20,, 5,    96
                                96,, 81
                                      81,, 66
                                            66,, 51
                                                  51,, 36
                                                       36,, 21
                                                            21,, 6,     112
                                                                        112,, 97
                                                                              97,, 82
                                                                                    82,, 67
                                                                                          67,,
    52
    52,, 37
         37,, 22
               22,, 7, 113113,, 98
                                98,, 83
                                      83,, 68
                                            68,, 53
                                                  53,, 38
                                                       38,, 23
                                                            23,, 8,     114
                                                                        114,, 99
                                                                              99,, 84
                                                                                    84,, 69
                                                                                          69,,
    54
    54,, 39
         39,, 24
               24,, 9, 115115,, 100
                                100,, 85
                                      85,, 70
                                            70,, 55
                                                  55,, 40
                                                       40,, 25
                                                            25,, 10
                                                                  10,, 116
                                                                        116,, 101
                                                                              101,, 86
                                                                                    86,, 71
                                                                                          71,,
    56
    56,, 41
         41,, 26
               26,, 11
                     11,, 117
                          117,, 102
                                102,, 87
                                      87,, 72
                                            72,, 57
                                                  57,, 42
                                                       42,, 27
                                                            27,, 12
                                                                  12,, 118
                                                                        118,, 103
                                                                              103,, 88
                                                                                    88,, 73
                                                                                          73,,
    58
    58,, 43
         43,, 28
               28,, 13
                     13,, 119
                          119,, 104
                                104,, 89
                                      89,, 74
                                            74,, 59
                                                  59,, 44
                                                       44,, 29
                                                            29,, 14
                                                                  14,, 120
                                                                        120,, 105
                                                                              105,, 90
                                                                                    90,, 75
                                                                                          75,,
    60
    60,, 45
         45,, 30
               30,, 15
                     15,, 121
                          121,, 106
                                106,, 91
                                      91,, 76
                                            76,, 61
                                                  61,, 46
                                                       46,, 31
                                                            31,, 122
                                                                  122,, 107
                                                                        107,, 92
                                                                              92,, 77
                                                                                    77,, 62
                                                                                          62,,
    47
    47,, 123
         123,, 108
               108,, 93
                     93,, 78
                          78,, 63
                                63,, 124
                                      124,, 109
                                            109,, 94
                                                  94,, 79
                                                       79,, 125
                                                            125,, 110
                                                                  110,, 95
                                                                        95,, 126
                                                                              126,, 111
                                                                                    111,, 127
  }




  Mcol_Scan_16x8[[ 128 ] = {
    0, 1616,, 32
              32,, 48
                   48,, 64
                        64,, 80
                             80,, 96
                                  96,, 112
                                        112,, 1, 1717,, 33
                                                        33,, 49
                                                             49,, 65
                                                                  65,, 81
                                                                       81,, 97
                                                                            97,, 113
                                                                                  113,,
    2, 1818,, 34
              34,, 50
                   50,, 66
                        66,, 82
                             82,, 98
                                  98,, 114
                                        114,, 3, 1919,, 35
                                                        35,, 51
                                                             51,, 67
                                                                  67,, 83
                                                                       83,, 99
                                                                            99,, 115
                                                                                  115,,
    4, 2020,, 36
              36,, 52
                   52,, 68
                        68,, 84
                             84,, 100
                                  100,, 116
                                        116,, 5, 2121,, 37
                                                        37,, 53
                                                             53,, 69
                                                                  69,, 85
                                                                       85,, 101
                                                                            101,, 117
                                                                                  117,,
    6, 2222,, 38
              38,, 54
                   54,, 70
                        70,, 86
                             86,, 102
                                  102,, 118
                                        118,, 7, 2323,, 39
                                                        39,, 55
                                                             55,, 71
                                                                  71,, 87
                                                                       87,, 103
                                                                            103,, 119
                                                                                  119,,
    8, 2424,, 40
              40,, 56
                   56,, 72
                        72,, 88
                             88,, 104
                                  104,, 120
                                        120,, 9, 2525,, 41
                                                        41,, 57
                                                             57,, 73
                                                                  73,, 89
                                                                       89,, 105
                                                                            105,, 121
                                                                                  121,,
    10
    10,, 26
         26,, 42
              42,, 58
                   58,, 74
                        74,, 90
                             90,, 106
                                  106,, 122
                                        122,, 11
                                              11,, 27
                                                   27,, 43
                                                        43,, 59
                                                             59,, 75
                                                                  75,, 91
                                                                       91,, 107
                                                                            107,, 123
                                                                                  123,,
    12
    12,, 28
         28,, 44
              44,, 60
                   60,, 76
                        76,, 92
                             92,, 108
                                  108,, 124
                                        124,, 13
                                              13,, 29
                                                   29,, 45
                                                        45,, 61
                                                             61,, 77
                                                                  77,, 93
                                                                       93,, 109
                                                                            109,, 125
                                                                                  125,,
    14
    14,, 30
         30,, 46
              46,, 62
                   62,, 78
                        78,, 94
                             94,, 110
                                  110,, 126
                                        126,, 15
                                              15,, 31
                                                   31,, 47
                                                        47,, 63
                                                             63,, 79
                                                                  79,, 95
                                                                       95,, 111
                                                                            111,, 127
  }




  Mrow_Scan_16x8[[ 128 ] = {
    0,    1,    2,    3,    4,    5,    6,    7,    8,    9,    10
                                                                10,, 11
                                                                      11,, 12
                                                                            12,, 13
                                                                                  13,, 14
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    15
    15,, 16
          16,, 17
                17,, 18
                      18,, 19
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                                  20,, 21
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    30,, 31
          31,, 32
                32,, 33
                      33,, 34
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                                        36,, 37
                                              37,, 38
                                                    38,, 39
                                                          39,, 40
                                                                40,, 41
                                                                      41,, 42
                                                                            42,, 43
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    45
    45,, 46
          46,, 47
                47,, 48
                      48,, 49
                            49,, 50
                                  50,, 51
                                        51,, 52
                                              52,, 53
                                                    53,, 54
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                                                                55,, 56
                                                                      56,, 57
                                                                            57,, 58
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                                                                                        59,,
    60
    60,, 61
          61,, 62
                62,, 63
                      63,, 64
                            64,, 65
                                  65,, 66
                                        66,, 67
                                              67,, 68
                                                    68,, 69
                                                          69,, 70
                                                                70,, 71
                                                                      71,, 72
                                                                            72,, 73
                                                                                  73,, 74
                                                                                        74,,
    75
    75,, 76
          76,, 77
                77,, 78
                      78,, 79
                            79,, 80
                                  80,, 81
                                        81,, 82
                                              82,, 83
                                                    83,, 84
                                                          84,, 85
                                                                85,, 86
                                                                      86,, 87
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                                                                                  88,, 89
                                                                                        89,,
    90
    90,, 91
          91,, 92
                92,, 93
                      93,, 94
                            94,, 95
                                  95,, 96
                                        96,, 97
                                              97,, 98
                                                    98,, 99
                                                          99,, 100
                                                                100,, 101
                                                                      101,, 102
                                                                            102,, 103
                                                                                  103,, 104
                                                                                        104,,
    105
    105,, 106
          106,, 107
                107,, 108
                      108,, 109
                            109,, 110
                                  110,, 111
                                        111,, 112
                                              112,, 113
                                                    113,, 114
                                                          114,, 115
                                                                115,, 116
                                                                      116,, 117
                                                                            117,, 118
                                                                                  118,, 119
                                                                                        119,,
    120
    120,, 121
          121,, 122
                122,, 123
                      123,, 124
                            124,, 125
                                  125,, 126
                                        126,, 127
  }



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          Case 2:25-cv-03053           Document 1-8          Filed 04/07/25 Page 406 of 682 Page ID
                                                           #:1652        AV1 Bitstream & Decoding Process Specification



  Default_Scan_16x16[[ 256 ] = {
      0,    1,    16
                  16,, 32
                        32,, 17
                              17,, 2,     3,    18
                                                18,, 33
                                                      33,, 48
                                                            48,, 64
                                                                  64,, 49
                                                                        49,, 34
                                                                              34,, 19
                                                                                    19,,    4,     5,
      20
      20,, 35
            35,, 50
                  50,, 65
                        65,, 80
                              80,, 96
                                    96,, 81
                                          81,, 66
                                                66,, 51
                                                      51,, 36
                                                            36,, 21
                                                                  21,, 6,     7,    22
                                                                                    22,, 3737,, 52
                                                                                                 52,,
      67
      67,, 82
            82,, 97
                  97,, 112
                        112,, 128
                              128,, 113
                                    113,, 98
                                          98,, 83
                                                83,, 68
                                                      68,, 53
                                                            53,, 38
                                                                  38,, 23
                                                                        23,, 8,      9,    24
                                                                                           24,, 39
                                                                                                 39,,
      54
      54,, 69
            69,, 84
                  84,, 99
                        99,, 114
                              114,, 129
                                    129,, 144
                                          144,, 160
                                                160,, 145
                                                      145,, 130
                                                            130,, 115
                                                                  115,, 100
                                                                        100,, 85
                                                                              85,, 70
                                                                                    70,, 5555,, 40
                                                                                                 40,,
      25
      25,, 10
            10,, 11
                  11,, 26
                        26,, 41
                              41,, 56
                                    56,, 71
                                          71,, 86
                                                86,, 101
                                                      101,, 116
                                                            116,, 131
                                                                  131,, 146
                                                                        146,, 161
                                                                              161,, 176
                                                                                    176,, 192
                                                                                          192,, 177
                                                                                                177,,
      162
      162,, 147
            147,, 132
                  132,, 117
                        117,, 102
                              102,, 87
                                    87,, 72
                                          72,, 57
                                                57,, 42
                                                      42,, 2727,, 12
                                                                   12,, 13
                                                                         13,, 28
                                                                               28,, 43
                                                                                     43,, 58
                                                                                           58,, 73
                                                                                                 73,,
      88
      88,, 103
            103,, 118
                  118,, 133
                        133,, 148
                              148,, 163
                                    163,, 178
                                          178,, 193
                                                193,, 208
                                                      208,, 224
                                                            224,, 209
                                                                  209,, 194
                                                                        194,, 179
                                                                              179,, 164
                                                                                    164,, 149
                                                                                          149,, 134
                                                                                                134,,
      119
      119,, 104
            104,, 89
                  89,, 74
                        74,, 59
                              59,, 44
                                    44,, 29
                                          29,, 14
                                                14,, 1515,, 30
                                                             30,, 45
                                                                   45,, 60
                                                                         60,, 75
                                                                               75,, 90
                                                                                     90,, 105
                                                                                          105,, 120
                                                                                                120,,
      135
      135,, 150
            150,, 165
                  165,, 180
                        180,, 195
                              195,, 210
                                    210,, 225
                                          225,, 240
                                                240,, 241
                                                      241,, 226
                                                            226,, 211
                                                                  211,, 196
                                                                        196,, 181
                                                                              181,, 166
                                                                                    166,, 151
                                                                                          151,, 136
                                                                                                136,,
      121
      121,, 106
            106,, 91
                  91,, 76
                        76,, 61
                              61,, 46
                                    46,, 3131,, 47
                                                 47,, 62
                                                       62,, 77
                                                             77,, 92
                                                                   92,, 107
                                                                        107,, 122
                                                                              122,, 137
                                                                                    137,, 152
                                                                                          152,, 167
                                                                                                167,,
      182
      182,, 197
            197,, 212
                  212,, 227
                        227,, 242
                              242,, 243
                                    243,, 228
                                          228,, 213
                                                213,, 198
                                                      198,, 183
                                                            183,, 168
                                                                  168,, 153
                                                                        153,, 138
                                                                              138,, 123
                                                                                    123,, 108
                                                                                          108,, 93
                                                                                                93,,
      78
      78,, 63
            63,, 79
                  79,, 94
                        94,, 109
                              109,, 124
                                    124,, 139
                                          139,, 154
                                                154,, 169
                                                      169,, 184
                                                            184,, 199
                                                                  199,, 214
                                                                        214,, 229
                                                                              229,, 244
                                                                                    244,, 245
                                                                                          245,, 230
                                                                                                230,,
      215
      215,, 200
            200,, 185
                  185,, 170
                        170,, 155
                              155,, 140
                                    140,, 125
                                          125,, 110
                                                110,, 95
                                                      95,, 111
                                                            111,, 126
                                                                  126,, 141
                                                                        141,, 156
                                                                              156,, 171
                                                                                    171,, 186
                                                                                          186,, 201
                                                                                                201,,
      216
      216,, 231
            231,, 246
                  246,, 247
                        247,, 232
                              232,, 217
                                    217,, 202
                                          202,, 187
                                                187,, 172
                                                      172,, 157
                                                            157,, 142
                                                                  142,, 127
                                                                        127,, 143
                                                                              143,, 158
                                                                                    158,, 173
                                                                                          173,, 188
                                                                                                188,,
      203
      203,, 218
            218,, 233
                  233,, 248
                        248,, 249
                              249,, 234
                                    234,, 219
                                          219,, 204
                                                204,, 189
                                                      189,, 174
                                                            174,, 159
                                                                  159,, 175
                                                                        175,, 190
                                                                              190,, 205
                                                                                    205,, 220
                                                                                          220,, 235
                                                                                                235,,
      250
      250,, 251
            251,, 236
                  236,, 221
                        221,, 206
                              206,, 191
                                    191,, 207
                                          207,, 222
                                                222,, 237
                                                      237,, 252
                                                            252,, 253
                                                                  253,, 238
                                                                        238,, 223
                                                                              223,, 239
                                                                                    239,, 254
                                                                                          254,, 255
  }




  Mcol_Scan_16x16[[ 256 ] = {
    0, 1616,, 32
              32,, 48
                   48,, 64
                        64,, 80
                             80,, 96
                                  96,, 112
                                        112,, 128
                                              128,, 144
                                                    144,, 160
                                                          160,, 176
                                                                176,, 192
                                                                      192,, 208
                                                                            208,, 224
                                                                                  224,, 240
                                                                                        240,,
    1, 1717,, 33
              33,, 49
                   49,, 65
                        65,, 81
                             81,, 97
                                  97,, 113
                                        113,, 129
                                              129,, 145
                                                    145,, 161
                                                          161,, 177
                                                                177,, 193
                                                                      193,, 209
                                                                            209,, 225
                                                                                  225,, 241
                                                                                        241,,
    2, 1818,, 34
              34,, 50
                   50,, 66
                        66,, 82
                             82,, 98
                                  98,, 114
                                        114,, 130
                                              130,, 146
                                                    146,, 162
                                                          162,, 178
                                                                178,, 194
                                                                      194,, 210
                                                                            210,, 226
                                                                                  226,, 242
                                                                                        242,,
    3, 1919,, 35
              35,, 51
                   51,, 67
                        67,, 83
                             83,, 99
                                  99,, 115
                                        115,, 131
                                              131,, 147
                                                    147,, 163
                                                          163,, 179
                                                                179,, 195
                                                                      195,, 211
                                                                            211,, 227
                                                                                  227,, 243
                                                                                        243,,
    4, 2020,, 36
              36,, 52
                   52,, 68
                        68,, 84
                             84,, 100
                                  100,, 116
                                        116,, 132
                                              132,, 148
                                                    148,, 164
                                                          164,, 180
                                                                180,, 196
                                                                      196,, 212
                                                                            212,, 228
                                                                                  228,, 244
                                                                                        244,,
    5, 2121,, 37
              37,, 53
                   53,, 69
                        69,, 85
                             85,, 101
                                  101,, 117
                                        117,, 133
                                              133,, 149
                                                    149,, 165
                                                          165,, 181
                                                                181,, 197
                                                                      197,, 213
                                                                            213,, 229
                                                                                  229,, 245
                                                                                        245,,
    6, 2222,, 38
              38,, 54
                   54,, 70
                        70,, 86
                             86,, 102
                                  102,, 118
                                        118,, 134
                                              134,, 150
                                                    150,, 166
                                                          166,, 182
                                                                182,, 198
                                                                      198,, 214
                                                                            214,, 230
                                                                                  230,, 246
                                                                                        246,,
    7, 2323,, 39
              39,, 55
                   55,, 71
                        71,, 87
                             87,, 103
                                  103,, 119
                                        119,, 135
                                              135,, 151
                                                    151,, 167
                                                          167,, 183
                                                                183,, 199
                                                                      199,, 215
                                                                            215,, 231
                                                                                  231,, 247
                                                                                        247,,
    8, 2424,, 40
              40,, 56
                   56,, 72
                        72,, 88
                             88,, 104
                                  104,, 120
                                        120,, 136
                                              136,, 152
                                                    152,, 168
                                                          168,, 184
                                                                184,, 200
                                                                      200,, 216
                                                                            216,, 232
                                                                                  232,, 248
                                                                                        248,,
    9, 2525,, 41
              41,, 57
                   57,, 73
                        73,, 89
                             89,, 105
                                  105,, 121
                                        121,, 137
                                              137,, 153
                                                    153,, 169
                                                          169,, 185
                                                                185,, 201
                                                                      201,, 217
                                                                            217,, 233
                                                                                  233,, 249
                                                                                        249,,
    10
    10,, 26
         26,, 42
              42,, 58
                   58,, 74
                        74,, 90
                             90,, 106
                                  106,, 122
                                        122,, 138
                                              138,, 154
                                                    154,, 170
                                                          170,, 186
                                                                186,, 202
                                                                      202,, 218
                                                                            218,, 234
                                                                                  234,, 250
                                                                                        250,,
    11
    11,, 27
         27,, 43
              43,, 59
                   59,, 75
                        75,, 91
                             91,, 107
                                  107,, 123
                                        123,, 139
                                              139,, 155
                                                    155,, 171
                                                          171,, 187
                                                                187,, 203
                                                                      203,, 219
                                                                            219,, 235
                                                                                  235,, 251
                                                                                        251,,
    12
    12,, 28
         28,, 44
              44,, 60
                   60,, 76
                        76,, 92
                             92,, 108
                                  108,, 124
                                        124,, 140
                                              140,, 156
                                                    156,, 172
                                                          172,, 188
                                                                188,, 204
                                                                      204,, 220
                                                                            220,, 236
                                                                                  236,, 252
                                                                                        252,,
    13
    13,, 29
         29,, 45
              45,, 61
                   61,, 77
                        77,, 93
                             93,, 109
                                  109,, 125
                                        125,, 141
                                              141,, 157
                                                    157,, 173
                                                          173,, 189
                                                                189,, 205
                                                                      205,, 221
                                                                            221,, 237
                                                                                  237,, 253
                                                                                        253,,
    14
    14,, 30
         30,, 46
              46,, 62
                   62,, 78
                        78,, 94
                             94,, 110
                                  110,, 126
                                        126,, 142
                                              142,, 158
                                                    158,, 174
                                                          174,, 190
                                                                190,, 206
                                                                      206,, 222
                                                                            222,, 238
                                                                                  238,, 254
                                                                                        254,,
    15
    15,, 31
         31,, 47
              47,, 63
                   63,, 79
                        79,, 95
                             95,, 111
                                  111,, 127
                                        127,, 143
                                              143,, 159
                                                    159,, 175
                                                          175,, 191
                                                                191,, 207
                                                                      207,, 223
                                                                            223,, 239
                                                                                  239,, 255
  }




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          Case 2:25-cv-03053           Document 1-8          Filed 04/07/25 Page 407 of 682 Page ID
                                                           #:1653        AV1 Bitstream & Decoding Process Specification



  Mrow_Scan_16x16[[ 256 ] = {
    0,    1,    2,    3,    4,    5,    6,    7,    8,    9,    10
                                                                10,, 11
                                                                      11,, 12
                                                                            12,, 13
                                                                                  13,, 14
                                                                                        14,,
    15
    15,, 16
          16,, 17
                17,, 18
                      18,, 19
                            19,, 20
                                  20,, 21
                                        21,, 22
                                              22,, 23
                                                    23,, 24
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                                                                25,, 26
                                                                      26,, 27
                                                                            27,, 28
                                                                                  28,, 29
                                                                                        29,,
    30
    30,, 31
          31,, 32
                32,, 33
                      33,, 34
                            34,, 35
                                  35,, 36
                                        36,, 37
                                              37,, 38
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    45
    45,, 46
          46,, 47
                47,, 48
                      48,, 49
                            49,, 50
                                  50,, 51
                                        51,, 52
                                              52,, 53
                                                    53,, 54
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                                                                      56,, 57
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                                                                                  58,, 59
                                                                                        59,,
    60
    60,, 61
          61,, 62
                62,, 63
                      63,, 64
                            64,, 65
                                  65,, 66
                                        66,, 67
                                              67,, 68
                                                    68,, 69
                                                          69,, 70
                                                                70,, 71
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    75
    75,, 76
          76,, 77
                77,, 78
                      78,, 79
                            79,, 80
                                  80,, 81
                                        81,, 82
                                              82,, 83
                                                    83,, 84
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    90
    90,, 91
          91,, 92
                92,, 93
                      93,, 94
                            94,, 95
                                  95,, 96
                                        96,, 97
                                              97,, 98
                                                    98,, 99
                                                          99,, 100
                                                                100,, 101
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    105
    105,, 106
          106,, 107
                107,, 108
                      108,, 109
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                                                                      116,, 117
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    120
    120,, 121
          121,, 122
                122,, 123
                      123,, 124
                            124,, 125
                                  125,, 126
                                        126,, 127
                                              127,, 128
                                                    128,, 129
                                                          129,, 130
                                                                130,, 131
                                                                      131,, 132
                                                                            132,, 133
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                                                                                        134,,
    135
    135,, 136
          136,, 137
                137,, 138
                      138,, 139
                            139,, 140
                                  140,, 141
                                        141,, 142
                                              142,, 143
                                                    143,, 144
                                                          144,, 145
                                                                145,, 146
                                                                      146,, 147
                                                                            147,, 148
                                                                                  148,, 149
                                                                                        149,,
    150
    150,, 151
          151,, 152
                152,, 153
                      153,, 154
                            154,, 155
                                  155,, 156
                                        156,, 157
                                              157,, 158
                                                    158,, 159
                                                          159,, 160
                                                                160,, 161
                                                                      161,, 162
                                                                            162,, 163
                                                                                  163,, 164
                                                                                        164,,
    165
    165,, 166
          166,, 167
                167,, 168
                      168,, 169
                            169,, 170
                                  170,, 171
                                        171,, 172
                                              172,, 173
                                                    173,, 174
                                                          174,, 175
                                                                175,, 176
                                                                      176,, 177
                                                                            177,, 178
                                                                                  178,, 179
                                                                                        179,,
    180
    180,, 181
          181,, 182
                182,, 183
                      183,, 184
                            184,, 185
                                  185,, 186
                                        186,, 187
                                              187,, 188
                                                    188,, 189
                                                          189,, 190
                                                                190,, 191
                                                                      191,, 192
                                                                            192,, 193
                                                                                  193,, 194
                                                                                        194,,
    195
    195,, 196
          196,, 197
                197,, 198
                      198,, 199
                            199,, 200
                                  200,, 201
                                        201,, 202
                                              202,, 203
                                                    203,, 204
                                                          204,, 205
                                                                205,, 206
                                                                      206,, 207
                                                                            207,, 208
                                                                                  208,, 209
                                                                                        209,,
    210
    210,, 211
          211,, 212
                212,, 213
                      213,, 214
                            214,, 215
                                  215,, 216
                                        216,, 217
                                              217,, 218
                                                    218,, 219
                                                          219,, 220
                                                                220,, 221
                                                                      221,, 222
                                                                            222,, 223
                                                                                  223,, 224
                                                                                        224,,
    225
    225,, 226
          226,, 227
                227,, 228
                      228,, 229
                            229,, 230
                                  230,, 231
                                        231,, 232
                                              232,, 233
                                                    233,, 234
                                                          234,, 235
                                                                235,, 236
                                                                      236,, 237
                                                                            237,, 238
                                                                                  238,, 239
                                                                                        239,,
    240
    240,, 241
          241,, 242
                242,, 243
                      243,, 244
                            244,, 245
                                  245,, 246
                                        246,, 247
                                              247,, 248
                                                    248,, 249
                                                          249,, 250
                                                                250,, 251
                                                                      251,, 252
                                                                            252,, 253
                                                                                  253,, 254
                                                                                        254,,
    255
  }




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          Case 2:25-cv-03053           Document 1-8          Filed 04/07/25 Page 408 of 682 Page ID
                                                           #:1654        AV1 Bitstream & Decoding Process Specification



  Default_Scan_16x32[[ 512 ] = {
    0,    1,    16
                16,, 2,     17
                            17,, 32
                                  32,, 3,     18
                                              18,, 33
                                                    33,, 48
                                                          48,, 4,     19
                                                                      19,, 34
                                                                            34,, 49
                                                                                  49,, 64
                                                                                        64,,
    5,    20
          20,, 35
                35,, 50
                      50,, 65
                            65,, 80
                                  80,, 6,     21
                                              21,, 36
                                                    36,, 51
                                                          51,, 66
                                                                66,, 81
                                                                      81,, 96
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          100,, 115
                115,, 130
                      130,, 145
                            145,, 160
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          13,, 28
                28,, 43
                      43,, 58
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                44,, 59
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    15,, 30
          30,, 45
                45,, 60
                      60,, 75
                            75,, 90
                                  90,, 105
                                        105,, 120
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                                                                165,, 180
                                                                      180,, 195
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    240
    240,, 31
          31,, 46
                46,, 61
                      61,, 76
                            76,, 91
                                  91,, 106
                                        106,, 121
                                              121,, 136
                                                    136,, 151
                                                          151,, 166
                                                                166,, 181
                                                                      181,, 196
                                                                            196,, 211
                                                                                  211,, 226
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    241
    241,, 256
          256,, 47
                47,, 62
                      62,, 77
                            77,, 92
                                  92,, 107
                                        107,, 122
                                              122,, 137
                                                    137,, 152
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                                                                167,, 182
                                                                      182,, 197
                                                                            197,, 212
                                                                                  212,, 227
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    242
    242,, 257
          257,, 272
                272,, 63
                      63,, 78
                            78,, 93
                                  93,, 108
                                        108,, 123
                                              123,, 138
                                                    138,, 153
                                                          153,, 168
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                                                                      183,, 198
                                                                            198,, 213
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    243
    243,, 258
          258,, 273
                273,, 288
                      288,, 79
                            79,, 94
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    244
    244,, 259
          259,, 274
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                      289,, 304
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                                  95,, 110
                                        110,, 125
                                              125,, 140
                                                    140,, 155
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                                                                      185,, 200
                                                                            200,, 215
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                                                                                        230,,
    245
    245,, 260
          260,, 275
                275,, 290
                      290,, 305
                            305,, 320
                                  320,, 111
                                        111,, 126
                                              126,, 141
                                                    141,, 156
                                                          156,, 171
                                                                171,, 186
                                                                      186,, 201
                                                                            201,, 216
                                                                                  216,, 231
                                                                                        231,,
    246
    246,, 261
          261,, 276
                276,, 291
                      291,, 306
                            306,, 321
                                  321,, 336
                                        336,, 127
                                              127,, 142
                                                    142,, 157
                                                          157,, 172
                                                                172,, 187
                                                                      187,, 202
                                                                            202,, 217
                                                                                  217,, 232
                                                                                        232,,
    247
    247,, 262
          262,, 277
                277,, 292
                      292,, 307
                            307,, 322
                                  322,, 337
                                        337,, 352
                                              352,, 143
                                                    143,, 158
                                                          158,, 173
                                                                173,, 188
                                                                      188,, 203
                                                                            203,, 218
                                                                                  218,, 233
                                                                                        233,,
    248
    248,, 263
          263,, 278
                278,, 293
                      293,, 308
                            308,, 323
                                  323,, 338
                                        338,, 353
                                              353,, 368
                                                    368,, 159
                                                          159,, 174
                                                                174,, 189
                                                                      189,, 204
                                                                            204,, 219
                                                                                  219,, 234
                                                                                        234,,
    249
    249,, 264
          264,, 279
                279,, 294
                      294,, 309
                            309,, 324
                                  324,, 339
                                        339,, 354
                                              354,, 369
                                                    369,, 384
                                                          384,, 175
                                                                175,, 190
                                                                      190,, 205
                                                                            205,, 220
                                                                                  220,, 235
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    250
    250,, 265
          265,, 280
                280,, 295
                      295,, 310
                            310,, 325
                                  325,, 340
                                        340,, 355
                                              355,, 370
                                                    370,, 385
                                                          385,, 400
                                                                400,, 191
                                                                      191,, 206
                                                                            206,, 221
                                                                                  221,, 236
                                                                                        236,,
    251
    251,, 266
          266,, 281
                281,, 296
                      296,, 311
                            311,, 326
                                  326,, 341
                                        341,, 356
                                              356,, 371
                                                    371,, 386
                                                          386,, 401
                                                                401,, 416
                                                                      416,, 207
                                                                            207,, 222
                                                                                  222,, 237
                                                                                        237,,
    252
    252,, 267
          267,, 282
                282,, 297
                      297,, 312
                            312,, 327
                                  327,, 342
                                        342,, 357
                                              357,, 372
                                                    372,, 387
                                                          387,, 402
                                                                402,, 417
                                                                      417,, 432
                                                                            432,, 223
                                                                                  223,, 238
                                                                                        238,,
    253
    253,, 268
          268,, 283
                283,, 298
                      298,, 313
                            313,, 328
                                  328,, 343
                                        343,, 358
                                              358,, 373
                                                    373,, 388
                                                          388,, 403
                                                                403,, 418
                                                                      418,, 433
                                                                            433,, 448
                                                                                  448,, 239
                                                                                        239,,
    254
    254,, 269
          269,, 284
                284,, 299
                      299,, 314
                            314,, 329
                                  329,, 344
                                        344,, 359
                                              359,, 374
                                                    374,, 389
                                                          389,, 404
                                                                404,, 419
                                                                      419,, 434
                                                                            434,, 449
                                                                                  449,, 464
                                                                                        464,,
    255
    255,, 270
          270,, 285
                285,, 300
                      300,, 315
                            315,, 330
                                  330,, 345
                                        345,, 360
                                              360,, 375
                                                    375,, 390
                                                          390,, 405
                                                                405,, 420
                                                                      420,, 435
                                                                            435,, 450
                                                                                  450,, 465
                                                                                        465,,
    480
    480,, 271
          271,, 286
                286,, 301
                      301,, 316
                            316,, 331
                                  331,, 346
                                        346,, 361
                                              361,, 376
                                                    376,, 391
                                                          391,, 406
                                                                406,, 421
                                                                      421,, 436
                                                                            436,, 451
                                                                                  451,, 466
                                                                                        466,,
    481
    481,, 496
          496,, 287
                287,, 302
                      302,, 317
                            317,, 332
                                  332,, 347
                                        347,, 362
                                              362,, 377
                                                    377,, 392
                                                          392,, 407
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                                                                            437,, 452
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                                                                                        467,,
    482
    482,, 497
          497,, 303
                303,, 318
                      318,, 333
                            333,, 348
                                  348,, 363
                                        363,, 378
                                              378,, 393
                                                    393,, 408
                                                          408,, 423
                                                                423,, 438
                                                                      438,, 453
                                                                            453,, 468
                                                                                  468,, 483
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    498
    498,, 319
          319,, 334
                334,, 349
                      349,, 364
                            364,, 379
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                                        394,, 409
                                              409,, 424
                                                    424,, 439
                                                          439,, 454
                                                                454,, 469
                                                                      469,, 484
                                                                            484,, 499
                                                                                  499,, 335
                                                                                        335,,
    350
    350,, 365
          365,, 380
                380,, 395
                      395,, 410
                            410,, 425
                                  425,, 440
                                        440,, 455
                                              455,, 470
                                                    470,, 485
                                                          485,, 500
                                                                500,, 351
                                                                      351,, 366
                                                                            366,, 381
                                                                                  381,, 396
                                                                                        396,,
    411
    411,, 426
          426,, 441
                441,, 456
                      456,, 471
                            471,, 486
                                  486,, 501
                                        501,, 367
                                              367,, 382
                                                    382,, 397
                                                          397,, 412
                                                                412,, 427
                                                                      427,, 442
                                                                            442,, 457
                                                                                  457,, 472
                                                                                        472,,
    487
    487,, 502
          502,, 383
                383,, 398
                      398,, 413
                            413,, 428
                                  428,, 443
                                        443,, 458
                                              458,, 473
                                                    473,, 488
                                                          488,, 503
                                                                503,, 399
                                                                      399,, 414
                                                                            414,, 429
                                                                                  429,, 444
                                                                                        444,,
    459
    459,, 474
          474,, 489
                489,, 504
                      504,, 415
                            415,, 430
                                  430,, 445
                                        445,, 460
                                              460,, 475
                                                    475,, 490
                                                          490,, 505
                                                                505,, 431
                                                                      431,, 446
                                                                            446,, 461
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    491
    491,, 506
          506,, 447
                447,, 462
                      462,, 477
                            477,, 492
                                  492,, 507
                                        507,, 463
                                              463,, 478
                                                    478,, 493
                                                          493,, 508
                                                                508,, 479
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                                                                                  509,, 495
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    510
    510,, 511
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  Default_Scan_32x16[[ 512 ] = {
    0,    32
          32,, 1,     64
                      64,, 33
                            33,, 2,     96
                                        96,, 65
                                              65,, 34
                                                    34,, 3,     128
                                                                128,, 97
                                                                      97,, 66
                                                                            66,, 35
                                                                                  35,, 4,
    160
    160,, 129
          129,, 98
                98,, 67
                      67,, 36
                            36,, 5,     192
                                        192,, 161
                                              161,, 130
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                                                          99,, 68
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                                                                      37,, 6,     224
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    162
    162,, 131
          131,, 100
                100,, 69
                      69,, 38
                            38,, 7,     256
                                        256,, 225
                                              225,, 194
                                                    194,, 163
                                                          163,, 132
                                                                132,, 101
                                                                      101,, 70
                                                                            70,, 39
                                                                                  39,, 8,
    288
    288,, 257
          257,, 226
                226,, 195
                      195,, 164
                            164,, 133
                                  133,, 102
                                        102,, 71
                                              71,, 40
                                                    40,, 9,     320
                                                                320,, 289
                                                                      289,, 258
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    165
    165,, 134
          134,, 103
                103,, 72
                      72,, 41
                            41,, 10
                                  10,, 352
                                        352,, 321
                                              321,, 290
                                                    290,, 259
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                                                                      197,, 166
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                                                                                  135,, 104
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    73
    73,, 42
          42,, 11
                11,, 384
                      384,, 353
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                                        291,, 260
                                              260,, 229
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    12,, 416
          416,, 385
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                                                                            300,, 269
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                                        21,, 487
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                                  84,, 53
                                        53,, 22
                                              22,, 488
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    271,, 240
          240,, 209
                209,, 178
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    303,, 272
          272,, 241
                241,, 210
                      210,, 179
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                                        117,, 86
                                              86,, 55
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                273,, 242
                      242,, 211
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                                              118,, 87
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          336,, 305
                305,, 274
                      274,, 243
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                                  212,, 181
                                        181,, 150
                                              150,, 119
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    399,, 368
          368,, 337
                337,, 306
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                                        213,, 182
                                              182,, 151
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                                                                      58,, 27
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    431
    431,, 400
          400,, 369
                369,, 338
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          432,, 401
                401,, 370
                      370,, 339
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                                                                            91,, 60
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    495
    495,, 464
          464,, 433
                433,, 402
                      402,, 371
                            371,, 340
                                  340,, 309
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    30,, 496
          496,, 465
                465,, 434
                      434,, 403
                            403,, 372
                                  372,, 341
                                        341,, 310
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    62,, 31
          31,, 497
                497,, 466
                      466,, 435
                            435,, 404
                                  404,, 373
                                        373,, 342
                                              342,, 311
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    94,, 63
          63,, 498
                498,, 467
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    95
    95,, 499
          499,, 468
                468,, 437
                      437,, 406
                            406,, 375
                                  375,, 344
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                                                          251,, 220
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                                                                                  127,, 500
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    469
    469,, 438
          438,, 407
                407,, 376
                      376,, 345
                            345,, 314
                                  314,, 283
                                        283,, 252
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                                                          190,, 159
                                                                159,, 501
                                                                      501,, 470
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    377
    377,, 346
          346,, 315
                315,, 284
                      284,, 253
                            253,, 222
                                  222,, 191
                                        191,, 502
                                              502,, 471
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                                                          440,, 409
                                                                409,, 378
                                                                      378,, 347
                                                                            347,, 316
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    254
    254,, 223
          223,, 503
                503,, 472
                      472,, 441
                            441,, 410
                                  410,, 379
                                        379,, 348
                                              348,, 317
                                                    317,, 286
                                                          286,, 255
                                                                255,, 504
                                                                      504,, 473
                                                                            473,, 442
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    380
    380,, 349
          349,, 318
                318,, 287
                      287,, 505
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                                              412,, 381
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    382
    382,, 351
          351,, 507
                507,, 476
                      476,, 445
                            445,, 414
                                  414,, 383
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                                                          446,, 415
                                                                415,, 509
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                                                                                        510,,
    479
    479,, 511
  }




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  Default_Scan_32x32[[ 1024 ] = {
      0,    1,    32
                  32,, 6464,, 33
                               33,,    2,    3,      34
                                                     34,,    65
                                                             65,,    96
                                                                     96,,    128
                                                                             128,,   97
                                                                                     97,, 66
                                                                                           66,,
      35
      35,, 4,     5,     36
                         36,, 67
                               67,,    98
                                       98,, 129
                                             129,,   160
                                                     160,,   192
                                                             192,,   161
                                                                     161,,   130
                                                                             130,,   99
                                                                                     99,, 68
                                                                                           68,,
      37
      37,, 6,     7,     38
                         38,, 69
                               69,,    100
                                       100,, 131
                                             131,,   162
                                                     162,,   193
                                                             193,,   224
                                                                     224,,   256
                                                                             256,,   225
                                                                                     225,, 194
                                                                                           194,,
      163
      163,, 132
            132,, 101
                  101,, 70
                         70,, 39
                               39,,    8,    9,      40
                                                     40,,    71
                                                             71,,    102
                                                                     102,,   133
                                                                             133,,   164
                                                                                     164,, 195
                                                                                           195,,
      226
      226,, 257
            257,, 288
                  288,, 320
                         320,, 289
                               289,,   258
                                       258,, 227
                                             227,,   196
                                                     196,,   165
                                                             165,,   134
                                                                     134,,   103
                                                                             103,,   72
                                                                                     72,, 41
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                                                                     16,, 11
                                                                          11,, 14
                                                                               14,,
    17
    17,, 20
         20,, 15
              15,, 18
                   18,, 21
                        21,, 24
                             24,, 19
                                  19,, 22
                                       22,, 25
                                            25,, 28
                                                 28,, 23
                                                      23,, 26
                                                           26,, 29
                                                                29,, 32
                                                                     32,, 27
                                                                          27,, 30
                                                                               30,,
    33
    33,, 36
         36,, 31
              31,, 34
                   34,, 37
                        37,, 40
                             40,, 35
                                  35,, 38
                                       38,, 41
                                            41,, 44
                                                 44,, 39
                                                      39,, 42
                                                           42,, 45
                                                                45,, 48
                                                                     48,, 43
                                                                          43,, 46
                                                                               46,,
    49
    49,, 52
         52,, 47
              47,, 50
                   50,, 53
                        53,, 56
                             56,, 51
                                  51,, 54
                                       54,, 57
                                            57,, 60
                                                 60,, 55
                                                      55,, 58
                                                           58,, 61
                                                                61,, 59
                                                                     59,, 62
                                                                          62,, 63
  }




  Mcol_Scan_4x16[[ 64 ] = {
    0, 4, 8, 1212,, 16
                    16,, 20
                         20,, 24
                              24,, 28
                                   28,, 32
                                        32,, 36
                                             36,, 40
                                                  40,, 44
                                                       44,, 48
                                                            48,, 52
                                                                 52,, 56
                                                                      56,, 60
                                                                           60,,
    1, 5, 9, 1313,, 17
                    17,, 21
                         21,, 25
                              25,, 29
                                   29,, 33
                                        33,, 37
                                             37,, 41
                                                  41,, 45
                                                       45,, 49
                                                            49,, 53
                                                                 53,, 57
                                                                      57,, 61
                                                                           61,,
    2, 6, 10
          10,, 14
               14,, 18
                    18,, 22
                         22,, 26
                              26,, 30
                                   30,, 34
                                        34,, 38
                                             38,, 42
                                                  42,, 46
                                                       46,, 50
                                                            50,, 54
                                                                 54,, 58
                                                                      58,, 62
                                                                           62,,
    3, 7, 11
          11,, 15
               15,, 19
                    19,, 23
                         23,, 27
                              27,, 31
                                   31,, 35
                                        35,, 39
                                             39,, 43
                                                  43,, 47
                                                       47,, 51
                                                            51,, 55
                                                                 55,, 59
                                                                      59,, 63
  }




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  Mrow_Scan_4x16[[ 64 ] = {
    0, 1, 2, 3, 4, 5, 6, 7, 8, 9, 10                  10,, 11
                                                           11,, 12
                                                                12,, 13
                                                                     13,, 14
                                                                          14,, 15
                                                                               15,,
    16
    16,, 17
         17,, 18
              18,, 19
                   19,, 20
                        20,, 21
                             21,, 22
                                  22,, 23
                                       23,, 24
                                            24,, 25
                                                 25,, 26
                                                      26,, 27
                                                           27,, 28
                                                                28,, 29
                                                                     29,, 30
                                                                          30,, 31
                                                                               31,,
    32
    32,, 33
         33,, 34
              34,, 35
                   35,, 36
                        36,, 37
                             37,, 38
                                  38,, 39
                                       39,, 40
                                            40,, 41
                                                 41,, 42
                                                      42,, 43
                                                           43,, 44
                                                                44,, 45
                                                                     45,, 46
                                                                          46,, 47
                                                                               47,,
    48
    48,, 49
         49,, 50
              50,, 51
                   51,, 52
                        52,, 53
                             53,, 54
                                  54,, 55
                                       55,, 56
                                            56,, 57
                                                 57,, 58
                                                      58,, 59
                                                           59,, 60
                                                                60,, 61
                                                                     61,, 62
                                                                          62,, 63
  }




  Default_Scan_16x4[[ 64 ] = {
    0, 1616,, 1, 3232,, 17
                        17,, 2, 4848,, 33
                                       33,, 18
                                            18,, 3, 4949,, 34
                                                           34,, 19
                                                                19,, 4, 5050,, 35
                                                                               35,,
    20
    20,, 5, 5151,, 36
                   36,, 21
                        21,, 6, 5252,, 37
                                       37,, 22
                                            22,, 7, 5353,, 38
                                                           38,, 23
                                                                23,, 8, 5454,, 39
                                                                               39,,
    24
    24,, 9, 5555,, 40
                   40,, 25
                        25,, 10
                             10,, 56
                                  56,, 41
                                       41,, 26
                                            26,, 11
                                                 11,, 57
                                                      57,, 42
                                                           42,, 27
                                                                27,, 12
                                                                     12,, 58
                                                                          58,, 43
                                                                               43,,
    28
    28,, 13
         13,, 59
              59,, 44
                   44,, 29
                        29,, 14
                             14,, 60
                                  60,, 45
                                       45,, 30
                                            30,, 15
                                                 15,, 61
                                                      61,, 46
                                                           46,, 31
                                                                31,, 62
                                                                     62,, 47
                                                                          47,, 63
  }




  Mcol_Scan_16x4[[ 64 ] = {
    0, 1616,, 32
              32,, 48
                   48,, 1, 1717,, 33
                                  33,, 49
                                       49,, 2, 1818,, 34
                                                      34,, 50
                                                           50,, 3, 1919,, 35
                                                                          35,, 51
                                                                               51,,
    4, 2020,, 36
              36,, 52
                   52,, 5, 2121,, 37
                                  37,, 53
                                       53,, 6, 2222,, 38
                                                      38,, 54
                                                           54,, 7, 2323,, 39
                                                                          39,, 55
                                                                               55,,
    8, 2424,, 40
              40,, 56
                   56,, 9, 2525,, 41
                                  41,, 57
                                       57,, 10
                                            10,, 26
                                                 26,, 42
                                                      42,, 58
                                                           58,, 11
                                                                11,, 27
                                                                     27,, 43
                                                                          43,, 59
                                                                               59,,
    12
    12,, 28
         28,, 44
              44,, 60
                   60,, 13
                        13,, 29
                             29,, 45
                                  45,, 61
                                       61,, 14
                                            14,, 30
                                                 30,, 46
                                                      46,, 62
                                                           62,, 15
                                                                15,, 31
                                                                     31,, 47
                                                                          47,, 63
  }




  Mrow_Scan_16x4[[ 64 ] = {
    0, 1, 2, 3, 4, 5, 6, 7, 8, 9, 10                  10,, 11
                                                           11,, 12
                                                                12,, 13
                                                                     13,, 14
                                                                          14,, 15
                                                                               15,,
    16
    16,, 17
         17,, 18
              18,, 19
                   19,, 20
                        20,, 21
                             21,, 22
                                  22,, 23
                                       23,, 24
                                            24,, 25
                                                 25,, 26
                                                      26,, 27
                                                           27,, 28
                                                                28,, 29
                                                                     29,, 30
                                                                          30,, 31
                                                                               31,,
    32
    32,, 33
         33,, 34
              34,, 35
                   35,, 36
                        36,, 37
                             37,, 38
                                  38,, 39
                                       39,, 40
                                            40,, 41
                                                 41,, 42
                                                      42,, 43
                                                           43,, 44
                                                                44,, 45
                                                                     45,, 46
                                                                          46,, 47
                                                                               47,,
    48
    48,, 49
         49,, 50
              50,, 51
                   51,, 52
                        52,, 53
                             53,, 54
                                  54,, 55
                                       55,, 56
                                            56,, 57
                                                 57,, 58
                                                      58,, 59
                                                           59,, 60
                                                                60,, 61
                                                                     61,, 62
                                                                          62,, 63
  }




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  Default_Scan_8x32[[ 256 ] = {
    0,    1,    8,    2,    9,    16
                                  16,, 3,     10
                                              10,, 17
                                                    17,, 24
                                                          24,, 4,     11
                                                                      11,, 18
                                                                            18,, 25
                                                                                  25,, 32
                                                                                        32,,
    5,    12
          12,, 19
                19,, 26
                      26,, 33
                            33,, 40
                                  40,, 6,     13
                                              13,, 20
                                                    20,, 27
                                                          27,, 34
                                                                34,, 41
                                                                      41,, 48
                                                                            48,, 7,     14
                                                                                        14,,
    21
    21,, 28
          28,, 35
                35,, 42
                      42,, 49
                            49,, 56
                                  56,, 15
                                        15,, 22
                                              22,, 29
                                                    29,, 36
                                                          36,, 43
                                                                43,, 50
                                                                      50,, 57
                                                                            57,, 64
                                                                                  64,, 23
                                                                                        23,,
    30
    30,, 37
          37,, 44
                44,, 51
                      51,, 58
                            58,, 65
                                  65,, 72
                                        72,, 31
                                              31,, 38
                                                    38,, 45
                                                          45,, 52
                                                                52,, 59
                                                                      59,, 66
                                                                            66,, 73
                                                                                  73,, 80
                                                                                        80,,
    39
    39,, 46
          46,, 53
                53,, 60
                      60,, 67
                            67,, 74
                                  74,, 81
                                        81,, 88
                                              88,, 47
                                                    47,, 54
                                                          54,, 61
                                                                61,, 68
                                                                      68,, 75
                                                                            75,, 82
                                                                                  82,, 89
                                                                                        89,,
    96
    96,, 55
          55,, 62
                62,, 69
                      69,, 76
                            76,, 83
                                  83,, 90
                                        90,, 97
                                              97,, 104
                                                    104,, 63
                                                          63,, 70
                                                                70,, 77
                                                                      77,, 84
                                                                            84,, 91
                                                                                  91,, 98
                                                                                        98,,
    105
    105,, 112
          112,, 71
                71,, 78
                      78,, 85
                            85,, 92
                                  92,, 99
                                        99,, 106
                                              106,, 113
                                                    113,, 120
                                                          120,, 79
                                                                79,, 86
                                                                      86,, 93
                                                                            93,, 100
                                                                                  100,, 107
                                                                                        107,,
    114
    114,, 121
          121,, 128
                128,, 87
                      87,, 94
                            94,, 101
                                  101,, 108
                                        108,, 115
                                              115,, 122
                                                    122,, 129
                                                          129,, 136
                                                                136,, 95
                                                                      95,, 102
                                                                            102,, 109
                                                                                  109,, 116
                                                                                        116,,
    123
    123,, 130
          130,, 137
                137,, 144
                      144,, 103
                            103,, 110
                                  110,, 117
                                        117,, 124
                                              124,, 131
                                                    131,, 138
                                                          138,, 145
                                                                145,, 152
                                                                      152,, 111
                                                                            111,, 118
                                                                                  118,, 125
                                                                                        125,,
    132
    132,, 139
          139,, 146
                146,, 153
                      153,, 160
                            160,, 119
                                  119,, 126
                                        126,, 133
                                              133,, 140
                                                    140,, 147
                                                          147,, 154
                                                                154,, 161
                                                                      161,, 168
                                                                            168,, 127
                                                                                  127,, 134
                                                                                        134,,
    141
    141,, 148
          148,, 155
                155,, 162
                      162,, 169
                            169,, 176
                                  176,, 135
                                        135,, 142
                                              142,, 149
                                                    149,, 156
                                                          156,, 163
                                                                163,, 170
                                                                      170,, 177
                                                                            177,, 184
                                                                                  184,, 143
                                                                                        143,,
    150
    150,, 157
          157,, 164
                164,, 171
                      171,, 178
                            178,, 185
                                  185,, 192
                                        192,, 151
                                              151,, 158
                                                    158,, 165
                                                          165,, 172
                                                                172,, 179
                                                                      179,, 186
                                                                            186,, 193
                                                                                  193,, 200
                                                                                        200,,
    159
    159,, 166
          166,, 173
                173,, 180
                      180,, 187
                            187,, 194
                                  194,, 201
                                        201,, 208
                                              208,, 167
                                                    167,, 174
                                                          174,, 181
                                                                181,, 188
                                                                      188,, 195
                                                                            195,, 202
                                                                                  202,, 209
                                                                                        209,,
    216
    216,, 175
          175,, 182
                182,, 189
                      189,, 196
                            196,, 203
                                  203,, 210
                                        210,, 217
                                              217,, 224
                                                    224,, 183
                                                          183,, 190
                                                                190,, 197
                                                                      197,, 204
                                                                            204,, 211
                                                                                  211,, 218
                                                                                        218,,
    225
    225,, 232
          232,, 191
                191,, 198
                      198,, 205
                            205,, 212
                                  212,, 219
                                        219,, 226
                                              226,, 233
                                                    233,, 240
                                                          240,, 199
                                                                199,, 206
                                                                      206,, 213
                                                                            213,, 220
                                                                                  220,, 227
                                                                                        227,,
    234
    234,, 241
          241,, 248
                248,, 207
                      207,, 214
                            214,, 221
                                  221,, 228
                                        228,, 235
                                              235,, 242
                                                    242,, 249
                                                          249,, 215
                                                                215,, 222
                                                                      222,, 229
                                                                            229,, 236
                                                                                  236,, 243
                                                                                        243,,
    250
    250,, 223
          223,, 230
                230,, 237
                      237,, 244
                            244,, 251
                                  251,, 231
                                        231,, 238
                                              238,, 245
                                                    245,, 252
                                                          252,, 239
                                                                239,, 246
                                                                      246,, 253
                                                                            253,, 247
                                                                                  247,, 254
                                                                                        254,,
    255
  }




  Default_Scan_32x8[[ 256 ] = {
    0,    32
          32,, 1,     64
                      64,, 33
                            33,, 2,     96
                                        96,, 65
                                              65,, 34
                                                    34,, 3,     128
                                                                128,, 97
                                                                      97,, 66
                                                                            66,, 35
                                                                                  35,, 4,
    160
    160,, 129
          129,, 98
                98,, 67
                      67,, 36
                            36,, 5,     192
                                        192,, 161
                                              161,, 130
                                                    130,, 99
                                                          99,, 68
                                                                68,, 37
                                                                      37,, 6,     224
                                                                                  224,, 193
                                                                                        193,,
    162
    162,, 131
          131,, 100
                100,, 69
                      69,, 38
                            38,, 7,     225
                                        225,, 194
                                              194,, 163
                                                    163,, 132
                                                          132,, 101
                                                                101,, 70
                                                                      70,, 39
                                                                            39,, 8,     226
                                                                                        226,,
    195
    195,, 164
          164,, 133
                133,, 102
                      102,, 71
                            71,, 40
                                  40,, 9,     227
                                              227,, 196
                                                    196,, 165
                                                          165,, 134
                                                                134,, 103
                                                                      103,, 72
                                                                            72,, 41
                                                                                  41,, 10
                                                                                        10,,
    228
    228,, 197
          197,, 166
                166,, 135
                      135,, 104
                            104,, 73
                                  73,, 42
                                        42,, 11
                                              11,, 229
                                                    229,, 198
                                                          198,, 167
                                                                167,, 136
                                                                      136,, 105
                                                                            105,, 74
                                                                                  74,, 43
                                                                                        43,,
    12
    12,, 230
          230,, 199
                199,, 168
                      168,, 137
                            137,, 106
                                  106,, 75
                                        75,, 44
                                              44,, 13
                                                    13,, 231
                                                          231,, 200
                                                                200,, 169
                                                                      169,, 138
                                                                            138,, 107
                                                                                  107,, 76
                                                                                        76,,
    45
    45,, 14
          14,, 232
                232,, 201
                      201,, 170
                            170,, 139
                                  139,, 108
                                        108,, 77
                                              77,, 46
                                                    46,, 15
                                                          15,, 233
                                                                233,, 202
                                                                      202,, 171
                                                                            171,, 140
                                                                                  140,, 109
                                                                                        109,,
    78
    78,, 47
          47,, 16
                16,, 234
                      234,, 203
                            203,, 172
                                  172,, 141
                                        141,, 110
                                              110,, 79
                                                    79,, 48
                                                          48,, 17
                                                                17,, 235
                                                                      235,, 204
                                                                            204,, 173
                                                                                  173,, 142
                                                                                        142,,
    111
    111,, 80
          80,, 49
                49,, 18
                      18,, 236
                            236,, 205
                                  205,, 174
                                        174,, 143
                                              143,, 112
                                                    112,, 81
                                                          81,, 50
                                                                50,, 19
                                                                      19,, 237
                                                                            237,, 206
                                                                                  206,, 175
                                                                                        175,,
    144
    144,, 113
          113,, 82
                82,, 51
                      51,, 20
                            20,, 238
                                  238,, 207
                                        207,, 176
                                              176,, 145
                                                    145,, 114
                                                          114,, 83
                                                                83,, 52
                                                                      52,, 21
                                                                            21,, 239
                                                                                  239,, 208
                                                                                        208,,
    177
    177,, 146
          146,, 115
                115,, 84
                      84,, 53
                            53,, 22
                                  22,, 240
                                        240,, 209
                                              209,, 178
                                                    178,, 147
                                                          147,, 116
                                                                116,, 85
                                                                      85,, 54
                                                                            54,, 23
                                                                                  23,, 241
                                                                                        241,,
    210
    210,, 179
          179,, 148
                148,, 117
                      117,, 86
                            86,, 55
                                  55,, 24
                                        24,, 242
                                              242,, 211
                                                    211,, 180
                                                          180,, 149
                                                                149,, 118
                                                                      118,, 87
                                                                            87,, 56
                                                                                  56,, 25
                                                                                        25,,
    243
    243,, 212
          212,, 181
                181,, 150
                      150,, 119
                            119,, 88
                                  88,, 57
                                        57,, 26
                                              26,, 244
                                                    244,, 213
                                                          213,, 182
                                                                182,, 151
                                                                      151,, 120
                                                                            120,, 89
                                                                                  89,, 58
                                                                                        58,,
    27
    27,, 245
          245,, 214
                214,, 183
                      183,, 152
                            152,, 121
                                  121,, 90
                                        90,, 59
                                              59,, 28
                                                    28,, 246
                                                          246,, 215
                                                                215,, 184
                                                                      184,, 153
                                                                            153,, 122
                                                                                  122,, 91
                                                                                        91,,
    60
    60,, 29
          29,, 247
                247,, 216
                      216,, 185
                            185,, 154
                                  154,, 123
                                        123,, 92
                                              92,, 61
                                                    61,, 30
                                                          30,, 248
                                                                248,, 217
                                                                      217,, 186
                                                                            186,, 155
                                                                                  155,, 124
                                                                                        124,,
    93
    93,, 62
          62,, 31
                31,, 249
                      249,, 218
                            218,, 187
                                  187,, 156
                                        156,, 125
                                              125,, 94
                                                    94,, 63
                                                          63,, 250
                                                                250,, 219
                                                                      219,, 188
                                                                            188,, 157
                                                                                  157,, 126
                                                                                        126,,
    95
    95,, 251
          251,, 220
                220,, 189
                      189,, 158
                            158,, 127
                                  127,, 252
                                        252,, 221
                                              221,, 190
                                                    190,, 159
                                                          159,, 253
                                                                253,, 222
                                                                      222,, 191
                                                                            191,, 254
                                                                                  254,, 223
                                                                                        223,,
    255
  }



9.3. Conversion tables
This section defines the constant lookup tables used to convert between different representations.

For a block size x (with values having the same interpretation as for the variable subSize), Mi_Width_Log2[ x ] gives the
base 2 logarithm of the width of the block in units of 4 samples.


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   Mi_Width_Log2[[ BLOCK_SIZES ] = {
       0, 0, 1, 1, 1, 2, 2, 2, 3, 3, 3,
       4, 4, 4, 5, 5, 0, 2, 1, 3, 2, 4
   }


For a block size x, Mi_Height_Log2[ x ] gives the base 2 logarithm of the height of the block in units of 4 samples.


   Mi_Height_Log2[[ BLOCK_SIZES ] = {
       0, 1, 0, 1, 2, 1, 2, 3, 2, 3, 4,
       3, 4, 5, 4, 5, 2, 0, 3, 1, 4, 2
   }


For a block size x, Num_4x4_Blocks_Wide[ x ] gives the width of the block in units of 4 samples.


   Num_4x4_Blocks_Wide[[ BLOCK_SIZES ] = {
       1, 1, 2, 2, 2, 4, 4, 4, 8, 8, 8,
       16
       16,, 16
            16,, 16
                 16,, 32
                      32,, 32
                           32,, 1, 4, 2, 8, 4, 16
   }


For a block size x, Block_Width[ x ] gives the width of the block in units of samples. Block_Width[ x ] is defined to be equal
to 4 * Num_4x4_Blocks_Wide[ x ].

For a block size x, Num_4x4_Blocks_High[ x ] gives the the height of the block in units of 4 samples.


   Num_4x4_Blocks_High[[ BLOCK_SIZES ] = {
       1, 2, 1, 2, 4, 2, 4, 8, 4, 8, 16  16,,
       8, 16
          16,, 32
               32,, 16
                    16,, 32
                         32,, 4, 1, 8, 2, 16
                                          16,, 4
   }


For a block size x, Block_Height[ x ] gives the height of the block in units of samples. Block_Height[ x ] is defined to be
equal to 4 * Num_4x4_Blocks_High[ x ].

Size_Group is used to map a block size into a context for intra syntax elements.


   Size_Group[[ BLOCK_SIZES ] = {
     0, 0, 0, 1, 1, 1, 2, 2, 2, 3, 3,
     3, 3, 3, 3, 3, 0, 0, 1, 1, 2, 2
   }


For a luma block size x, Max_Tx_Size_Rect[ x ] returns the largest transform size that can be used for blocks of size x
(this can be either square or rectangular).



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   Max_Tx_Size_Rect[[ BLOCK_SIZES ] = {
     TX_4X4,, TX_4X8,, TX_8X4,, TX_8X8,,
     TX_8X16,, TX_16X8,, TX_16X16,, TX_16X32,,
     TX_32X16,, TX_32X32,, TX_32X64,, TX_64X32,,
     TX_64X64,, TX_64X64,, TX_64X64,, TX_64X64,,
     TX_4X16,, TX_16X4,, TX_8X32,, TX_32X8,,
     TX_16X64,, TX_64X16
   }


For a square block size x, and a partition type p, Partition_Subsize[ p ][ x ] returns the size of the sub-blocks used by this
partition. (If the partition produces blocks of different sizes, then the table contains the largest sub-block size.)

The table will never get accessed for rectangular block sizes.




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  Partition_Subsize[[ 10 ][ BLOCK_SIZES ] = {
    {
                                      BLOCK_4X4,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X8,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X16,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X32,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X64,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_128X128,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
    }, {
                                      BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X4,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X8,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X16,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X32,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_128X64,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
    }, {
                                      BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_4X8,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X16,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X32,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X64,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X128,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
    }, {
                                      BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_4X4,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X8,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X16,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X32,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X64,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
    }, {
                                      BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X4,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X8,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X16,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X32,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_128X64,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
    }, {
                                      BLOCK_INVALID,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X4,,
      BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X8,,




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        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X16,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X32,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_128X64,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
      }, {
                                        BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_4X8,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X16,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X32,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X64,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X128,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
      }, {
                                        BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_4X8,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X16,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X32,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X64,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X128,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
      }, {
                                        BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X4,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_32X8,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_64X16,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
      }, {
                                        BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_4X16,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_8X32,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_16X64,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID,,
        BLOCK_INVALID,, BLOCK_INVALID,, BLOCK_INVALID
      }
  }




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  Split_Tx_Size[[ TX_SIZES_ALL ] = {
    TX_4X4,,
    TX_4X4,,
    TX_8X8,,
    TX_16X16,,
    TX_32X32,,
    TX_4X4,,
    TX_4X4,,
    TX_8X8,,
    TX_8X8,,
    TX_16X16,,
    TX_16X16,,
    TX_32X32,,
    TX_32X32
    TX_4X8,,
    TX_8X4,,
    TX_8X16,,
    TX_16X8,,
    TX_16X32,,
    TX_32X16
  }




  Mode_To_Txfm[[ UV_INTRA_MODES_CFL_ALLOWED ] = {
      DCT_DCT,, // DC_PRED
      ADST_DCT,, // V_PRED
      DCT_ADST,, // H_PRED
      DCT_DCT,, // D45_PRED
      ADST_ADST,, // D135_PRED
      ADST_DCT,, // D113_PRED
      DCT_ADST,, // D157_PRED
      DCT_ADST,, // D203_PRED
      ADST_DCT,, // D67_PRED
      ADST_ADST,, // SMOOTH_PRED
      ADST_DCT,, // SMOOTH_V_PRED
      DCT_ADST,, // SMOOTH_H_PRED
      ADST_ADST,, // PAETH_PRED
      DCT_DCT,, // UV_CFL_PRED
  }




  Palette_Color_Context[[ PALETTE_MAX_COLOR_CONTEXT_HASH + 1 ] =
    { -1, -1, 0, -1, -1, 4, 3, 2, 1 }



   Note: The negative numbers in the array Palette_Color_Context indicate values that will never be accessed.




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  Palette_Color_Hash_Multipliers[[ PALETTE_NUM_NEIGHBORS ] = { 1, 2, 2 }




  Sm_Weights_Tx_4x4 [ 4 ] = { 255255,, 149
                                       149,, 8585,, 64 }
  Sm_Weights_Tx_8x8 [ 8 ] = { 255255,, 197
                                       197,, 146
                                              146,, 105
                                                     105,, 73
                                                            73,, 5050,, 3737,, 32 }
  Sm_Weights_Tx_16x16[[ 16 ] = { 255
                                 255,, 225
                                       225,, 196
                                              196,, 170
                                                     170,, 145
                                                           145,, 123
                                                                 123,, 102
                                                                         102,, 8484,, 68
                                                                                       68,, 5454,, 4343,, 33 33,, 2626,, 20
                                                                                                                          20,,
  17
  17,, 16 }
  Sm_Weights_Tx_32x32[[ 32 ] = { 255
                                 255,, 240
                                       240,, 225
                                              225,, 210
                                                     210,, 196
                                                           196,, 182
                                                                 182,, 169
                                                                         169,, 157
                                                                                157,, 145
                                                                                      145,, 133
                                                                                            133,, 122
                                                                                                    122,, 111
                                                                                                           111,, 101
                                                                                                                   101,, 92
                                                                                                                          92,,
  83
  83,, 74
        74,,
                                 66
                                 66,, 59
                                       59,, 5252,, 4545,, 39
                                                           39,, 34
                                                                 34,, 29 29,, 2525,, 21
                                                                                      21,, 17
                                                                                            17,, 14 14,, 1212,, 10 10,, 9,
  8, 8 }
  Sm_Weights_Tx_64x64[[ 64 ] = { 255
                                 255,, 248
                                       248,, 240
                                              240,, 233
                                                     233,, 225
                                                           225,, 218
                                                                 218,, 210
                                                                         210,, 203
                                                                                203,, 196
                                                                                      196,, 189
                                                                                            189,, 182
                                                                                                    182,, 176
                                                                                                           176,, 169
                                                                                                                   169,, 163
                                                                                                                          163,,
  156
  156,,
                                 150
                                 150,, 144
                                       144,, 138
                                              138,, 133
                                                     133,, 127
                                                           127,, 121
                                                                 121,, 116
                                                                         116,, 111
                                                                                111,, 106
                                                                                      106,, 101
                                                                                            101,, 9696,, 91
                                                                                                          91,, 86
                                                                                                                86,, 82
                                                                                                                      82,, 77
                                                                                                                            77,,
  73
  73,, 69
        69,,
                                 65
                                 65,, 61
                                      61,, 57
                                           57,, 54
                                                 54,, 50
                                                      50,, 47
                                                           47,, 44
                                                                44,, 41
                                                                      41,, 38
                                                                            38,, 35
                                                                                 35,, 32
                                                                                      32,, 29
                                                                                           29,, 27
                                                                                                 27,, 25
                                                                                                       25,, 22
                                                                                                             22,, 20
                                                                                                                   20,, 18
                                                                                                                         18,, 16
                                                                                                                               16,,
  15
  15,,
                                 13
                                 13,, 12
                                      12,, 10
                                           10,, 9, 8, 7, 6, 6, 5, 5, 4, 4, 4 }




  Mode_To_Angle[[ INTRA_MODES ] = { 0, 90
                                       90,, 180
                                            180,, 45
                                                  45,, 135
                                                       135,, 113
                                                             113,, 157
                                                                   157,, 203
                                                                         203,, 67
                                                                               67,, 0, 0, 0, 0 }




  Dr_Intra_Derivative[[ 90 ] = {
    0, 0, 0, 1023
              1023,, 0, 0, 547
                            547,, 0, 0, 372372,, 0, 0, 0, 0,
    273
    273,, 0, 0, 215
                215,, 0, 0, 178
                              178,, 0, 0, 151
                                            151,, 0, 0, 132
                                                          132,, 0, 0,
    116
    116,, 0, 0, 102
                102,, 0, 0, 0, 90 90,, 0, 0, 8080,, 0, 0, 7171,, 0, 0,
    64
    64,, 0, 0, 57
               57,, 0, 0, 51
                           51,, 0, 0, 4545,, 0, 0, 0, 40 40,, 0, 0,
    35
    35,, 0, 0, 31
               31,, 0, 0, 27
                           27,, 0, 0, 2323,, 0, 0, 1919,, 0, 0,
    15
    15,, 0, 0, 0, 0, 11
                      11,, 0, 0, 7, 0, 0, 3, 0, 0
  }




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  Intra_Filter_Taps[[ INTRA_FILTER_MODES ][ 8 ][ 7 ] = {
    {
        { -6, 10
               10,, 0, 0, 0, 12 12,, 0 },
        { -5, 2, 1010,, 0, 0, 9, 0 },
        { -3, 1, 1, 10 10,, 0, 7, 0 },
        { -3, 1, 1, 2, 10  10,, 5, 0 },
        { -4, 6, 0, 0, 0, 2, 12 },
        { -3, 2, 6, 0, 0, 2, 9 },
        { -3, 2, 2, 6, 0, 2, 7 },
        { -3, 1, 2, 2, 6, 3, 5 },
    },
    {
        { -10
           10,, 16
                16,, 0, 0, 0, 10  10,, 0 },
        { -6, 0, 1616,, 0, 0, 6, 0 },
        { -4, 0, 0, 16 16,, 0, 4, 0 },
        { -2, 0, 0, 0, 16  16,, 2, 0 },
        { -10
           10,, 16
                16,, 0, 0, 0, 0, 10 },
        { -6, 0, 1616,, 0, 0, 0, 6 },
        { -4, 0, 0, 16 16,, 0, 0, 4 },
        { -2, 0, 0, 0, 16  16,, 0, 2 },
    },
    {
        { -8, 8, 0, 0, 0, 16   16,, 0 },
        { -8, 0, 8, 0, 0, 16   16,, 0 },
        { -8, 0, 0, 8, 0, 16   16,, 0 },
        { -8, 0, 0, 0, 8, 16   16,, 0 },
        { -4, 4, 0, 0, 0, 0, 16 },
        { -4, 0, 4, 0, 0, 0, 16 },
        { -4, 0, 0, 4, 0, 0, 16 },
        { -4, 0, 0, 0, 4, 0, 16 },
    },
    {
        { -2, 8, 0, 0, 0, 10   10,, 0 },
        { -1, 3, 8, 0, 0, 6, 0 },
        { -1, 2, 3, 8, 0, 4, 0 },
        { 0, 1, 2, 3, 8, 2, 0 },
        { -1, 4, 0, 0, 0, 3, 10 },
        { -1, 3, 4, 0, 0, 4, 6 },
        { -1, 2, 3, 4, 0, 4, 4 },
        { -1, 2, 2, 3, 4, 3, 3 },
    },
    {
        { -12
           12,, 14
                14,, 0, 0, 0, 14  14,, 0 },
        { -10
           10,, 0, 14
                    14,, 0, 0, 12 12,, 0 },
        { -9, 0, 0, 14 14,, 0, 11
                                11,, 0 },
        { -8, 0, 0, 0, 14  14,, 10
                                10,, 0 },
        { -10
           10,, 12
                12,, 0, 0, 0, 0, 14 },
        { -9, 1, 1212,, 0, 0, 0, 12 },
        { -8, 0, 0, 12 12,, 0, 1, 11 },
        { -7, 0, 0, 1, 12  12,, 1, 9 },




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      }
  }


For a transform size t (of width w and height h) (with the same interpretation as for the TxSize variable), Tx_Size_Sqr[ t ]
returns a square tx size with side length Min( w, h ).


  Tx_Size_Sqr[[ TX_SIZES_ALL ] = {
      TX_4X4,,
      TX_8X8,,
      TX_16X16,,
      TX_32X32,,
      TX_64X64,,
      TX_4X4,,
      TX_4X4,,
      TX_8X8,,
      TX_8X8,,
      TX_16X16,,
      TX_16X16,,
      TX_32X32,,
      TX_32X32,,
      TX_4X4,,
      TX_4X4,,
      TX_8X8,,
      TX_8X8,,
      TX_16X16,,
      TX_16X16
  }


For a transform size t (of width w and height h), Tx_Size_Sqr_Up[ t ] returns a square tx size with side length Max( w, h ).




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   Tx_Size_Sqr_Up[[ TX_SIZES_ALL ] = {
       TX_4X4,,
       TX_8X8,,
       TX_16X16,,
       TX_32X32,,
       TX_64X64,,
       TX_8X8,,
       TX_8X8,,
       TX_16X16,,
       TX_16X16,,
       TX_32X32,,
       TX_32X32,,
       TX_64X64,,
       TX_64X64,,
       TX_16X16,,
       TX_16X16,,
       TX_32X32,,
       TX_32X32,,
       TX_64X64,,
       TX_64X64
   }


For a transform size t (of width w and height h), Tx_Width[ t ] returns w.


   Tx_Width[[ TX_SIZES_ALL ] = {
       4, 8, 1616,, 32
                    32,, 64
                         64,, 4, 8, 8, 16
                                       16,, 16
                                            16,, 32
                                                 32,, 32
                                                      32,, 64
                                                           64,, 4, 16
                                                                   16,, 8, 32
                                                                           32,, 16
                                                                                16,, 64
   }


For a transform size t (of width w and height h), Tx_Height[ t ] returns h.


   Tx_Height[[ TX_SIZES_ALL ] = {
       4, 8, 1616,, 32
                    32,, 64
                         64,, 8, 4, 16
                                    16,, 8, 32
                                            32,, 16
                                                 16,, 64
                                                      64,, 32
                                                           32,, 16
                                                                16,, 4, 32
                                                                        32,, 8, 64
                                                                                64,, 16
   }


For a transform size t (of width w and height h), Tx_Width_Log2[ t ] returns the base 2 logarithm of w.


   Tx_Width_Log2[[ TX_SIZES_ALL ] = {
       2, 3, 4, 5, 6, 2, 3, 3, 4, 4, 5, 5, 6, 2, 4, 3, 5, 4, 6
   }


For a transform size t (of width w and height h), Tx_Height_Log2[ t ] returns the base 2 logarithm of h.




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  Tx_Height_Log2[[ TX_SIZES_ALL ] = {
      2, 3, 4, 5, 6, 3, 2, 4, 3, 5, 4, 6, 5, 4, 2, 5, 3, 6, 4
  }




  Wedge_Bits[[ BLOCK_SIZES ] = {
     0, 0, 0, 4, 4, 4, 4, 4, 4, 4, 0,
     0, 0, 0, 0, 0, 0, 0, 4, 4, 0, 0
   }




  Sig_Ref_Diff_Offset[[ 3 ][ SIG_REF_DIFF_OFFSET_NUM ][ 2 ] = {
    {
       { 0, 1 }, { 1, 0 }, { 1, 1 }, { 0, 2 }, { 2, 0 }
    },
    {
       { 0, 1 }, { 1, 0 }, { 0, 2 }, { 0, 3 }, { 0, 4 }
    },
    {
       { 0, 1 }, { 1, 0 }, { 2, 0 }, { 3, 0 }, { 4, 0 }
    }
  }




  Adjusted_Tx_Size[[ TX_SIZES_ALL ] = {
      TX_4X4,,
      TX_8X8,,
      TX_16X16,,
      TX_32X32,,
      TX_32X32,,
      TX_4X8,,
      TX_8X4,,
      TX_8X16,,
      TX_16X8,,
      TX_16X32,,
      TX_32X16,,
      TX_32X32,,
      TX_32X32,,
      TX_4X16,,
      TX_16X4,,
      TX_8X32,,
      TX_32X8,,
      TX_16X32,,
      TX_32X16
  }




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The array Gaussian_Sequence contains random samples from a Gaussian distribution with zero mean and standard
deviation of about 512 clipped to the range of [-2048, 2047] and rounded to the nearest multiple of 4.




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  Gaussian_Sequence[[ 2048 ] = {
       56
       56,,   568
               568,, -180180,, 172
                                 172,, 124
                                         124,, -84 84,, 172
                                                          172,, -64 64,, -900900,, 2424,, 820
                                                                                            820,,
    224
    224,, 1248
            1248,, 996
                    996,, 272 272,, -8,       -916
                                               916,, -388
                                                        388,, -732
                                                                732,, -104
                                                                         104,, -188188,, 800
                                                                                         800,,
    112
    112,, -652
             652,, -320
                     320,, -376376,, 140
                                      140,, -252
                                               252,, 492
                                                       492,, -168
                                                                168,, 4444,,      -788
                                                                                   788,, 588
                                                                                         588,,
    -584
     584,, 500
            500,, -228
                     228,, 12 12,,    680
                                      680,, 272
                                              272,, -476476,, 972
                                                               972,, -100100,, 652652,, 368
                                                                                         368,,
    432
    432,, -196
             196,, -720
                     720,, -192192,, 1000
                                      1000,, -332
                                               332,, 652
                                                       652,, -136
                                                                136,, -552
                                                                         552,, -604604,, -4,
    192
    192,, -220
             220,, -136
                     136,, 1000
                              1000,, -52
                                       52,, 372
                                              372,, -96 96,, -624
                                                                624,, 124
                                                                        124,, -24  24,, 396
                                                                                         396,,
    540
    540,, -1212,, -104
                     104,, 640640,, 464
                                      464,, 244
                                              244,, -208208,, -84
                                                                84,, 368368,, -528 528,, -740
                                                                                          740,,
    248
    248,, -968
             968,, -848
                     848,, 608608,, 376
                                      376,, -6060,, -292292,, -40
                                                                40,, -156156,, 252252,, -292
                                                                                          292,,
    248
    248,, 224
            224,, -280
                     280,, 400400,, -244
                                       244,, 244
                                              244,, -60 60,, 7676,,     -80
                                                                         80,, 212 212,, 532
                                                                                         532,,
    340
    340,, 128
            128,, -3636,, 824 824,, -352
                                       352,, -60
                                               60,, -264264,, -96
                                                                96,, -612612,, 416416,, -704
                                                                                          704,,
    220
    220,, -204
             204,, 640
                    640,, -160 160,, 1220
                                      1220,, -408
                                               408,, 900
                                                       900,, 336
                                                               336,, 20 20,,      -336
                                                                                   336,, -96
                                                                                          96,,
    -792
     792,, 304
            304,, 4848,,      -28
                               28,, -1232
                                       1232,, -1172
                                               1172,, -448
                                                        448,, 104
                                                               104,, -292292,, -520520,, 244
                                                                                         244,,
    60
    60,,    -948
             948,, 0,         -708
                               708,, 268
                                      268,, 108
                                              108,, 356356,, -548
                                                                548,, 488
                                                                        488,, -344 344,, -136
                                                                                          136,,
    488
    488,, -196
             196,, -224
                     224,, 656656,, -236
                                       236,, -1128
                                               1128,, 60
                                                       60,,    4,       140
                                                                        140,, 276 276,, -676
                                                                                          676,,
    -376
     376,, 168
            168,, -108
                     108,, 464464,, 8,        564
                                              564,, 64 64,,    240
                                                               240,, 308308,, -300 300,, -400
                                                                                          400,,
    -456
     456,, -136
             136,, 56
                    56,,      120
                              120,, -408
                                       408,, -116
                                               116,, 436
                                                       436,, 504
                                                               504,, -232232,, 328328,, 844
                                                                                         844,,
    -164
     164,, -84
             84,, 784
                    784,, -168 168,, 232
                                      232,, -224
                                               224,, 348
                                                       348,, -376
                                                                376,, 128
                                                                        128,, 568 568,, 96
                                                                                         96,,
    -1244
     1244,, -288
             288,, 276
                    276,, 848 848,, 832
                                      832,, -360
                                               360,, 656
                                                       656,, 464
                                                               464,, -384384,, -332332,, -356
                                                                                          356,,
    728
    728,, -388
             388,, 160
                    160,, -192 192,, 468
                                      468,, 296
                                              296,, 224224,, 140
                                                               140,, -776776,, -100100,, 280
                                                                                         280,,
    4,      196
            196,, 4444,,      -36
                               36,, -648
                                       648,, 932
                                              932,, 16 16,,    1428
                                                               1428,, 2828,,      528
                                                                                  528,, 808
                                                                                         808,,
    772
    772,, 2020,,    268
                    268,, 88  88,,    -332
                                       332,, -284
                                               284,, 124
                                                       124,, -384
                                                                384,, -448
                                                                         448,, 208208,, -228
                                                                                          228,,
    -1044
     1044,, -328
             328,, 660
                    660,, 380 380,, -148
                                       148,, -300
                                               300,, 588
                                                       588,, 240
                                                               240,, 540540,, 28  28,, 136
                                                                                         136,,
    -88
     88,, -436
             436,, 256
                    256,, 296 296,, -1000
                                       1000,, 1400
                                              1400,, 0,        -48
                                                                48,, 1056
                                                                        1056,, -136136,, 264
                                                                                         264,,
    -528
     528,, -1108
             1108,, 632
                    632,, -484 484,, -592
                                       592,, -344
                                               344,, 796
                                                       796,, 124
                                                               124,, -668668,, -768768,, 388
                                                                                         388,,
    1296
    1296,, -232
             232,, -188
                     188,, -200200,, -288
                                       288,, -4,       308
                                                       308,, 100
                                                               100,, -168168,, 256256,, -500
                                                                                          500,,
    204
    204,, -508
             508,, 648
                    648,, -136 136,, 372
                                      372,, -272
                                               272,, -120
                                                        120,, -1004
                                                                1004,, -552
                                                                         552,, -548548,, -384
                                                                                          384,,
    548
    548,, -296
             296,, 428
                    428,, -108 108,, -8,      -912
                                               912,, -324
                                                        324,, -224
                                                                224,, -8888,, -112 112,, -220
                                                                                          220,,
    -100
     100,, 996
            996,, -796
                     796,, 548548,, 360
                                      360,, -216
                                               216,, 180
                                                       180,, 428
                                                               428,, -200200,, -212212,, 148
                                                                                         148,,
    96
    96,,    148
            148,, 284
                    284,, 216 216,, -412
                                       412,, -320
                                               320,, 120
                                                       120,, -300
                                                                300,, -384
                                                                         384,, -604604,, -572
                                                                                          572,,
    -332
     332,, -8,      -180
                     180,, -176176,, 696
                                      696,, 116
                                              116,, -88 88,, 628
                                                               628,, 76 76,,      44
                                                                                  44,, -516
                                                                                          516,,
    240
    240,, -208
             208,, -40
                     40,, 100 100,, -592
                                       592,, 344
                                              344,, -308308,, -452
                                                                452,, -228
                                                                         228,, 20 20,, 916
                                                                                         916,,
    -1752
     1752,, -136
             136,, -340
                     340,, -804804,, 140
                                      140,, 4040,,     512
                                                       512,, 340
                                                               340,, 248248,, 184 184,, -492
                                                                                          492,,
    896
    896,, -156
             156,, 932
                    932,, -628 628,, 328
                                      328,, -688
                                               688,, -448
                                                        448,, -616
                                                                616,, -752
                                                                         752,, -100100,, 560
                                                                                         560,,
    -1020
     1020,, 180
            180,, -800
                     800,, -64 64,, 7676,,    576
                                              576,, 1068
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     0,      160
             160,, 356
                     356,,    372
                              372,, -776
                                       776,, 740
                                              740,, -128
                                                       128,, 676
                                                              676,, -248
                                                                       248,,   -480
                                                                                480,, 4,
     -364
      364,, 96
             96,,    544
                     544,,    232
                              232,, -1032
                                       1032,, 956
                                              956,, 236
                                                      236,, 356
                                                              356,, 2020,,     -40
                                                                                40,, 300
                                                                                      300,,
     24
     24,,    -676
              676,, -596
                      596,,   132
                              132,, 1120
                                      1120,, -104
                                               104,, 532
                                                      532,, -1096
                                                               1096,, 568
                                                                      568,,    648
                                                                               648,, 444
                                                                                      444,,
     508
     508,, 380
             380,, 188
                     188,,    -376
                               376,, -604
                                       604,, 1488
                                              1488,, 424
                                                      424,, 2424,,    756
                                                                      756,,    -220
                                                                                220,, -192
                                                                                       192,,
     716
     716,, 120
             120,, 920
                     920,,    688
                              688,, 168
                                      168,, 4444,,    -460
                                                       460,, 568
                                                              568,, 284
                                                                      284,,    1144
                                                                               1144,, 1160
                                                                                      1160,,
     600
     600,, 424
             424,, 888
                     888,,    656
                              656,, -356
                                       356,, -320
                                               320,, 220
                                                      220,, 316
                                                              316,, -176
                                                                       176,,   -724
                                                                                724,, -188
                                                                                       188,,
     -816
      816,, -628
              628,, -348
                      348,,   -228
                               228,, -380
                                       380,, 1012
                                              1012,, -452
                                                       452,, -660
                                                               660,, 736
                                                                      736,,    928
                                                                               928,, 404
                                                                                      404,,
     -696
      696,, -72
              72,, -268
                      268,,   -892
                               892,, 128
                                      128,, 184
                                              184,, -344
                                                       344,, -780
                                                               780,, 360
                                                                      360,,    336
                                                                               336,, 400
                                                                                      400,,
     344
     344,, 428
             428,, 548
                     548,,    -112
                               112,, 136
                                      136,, -228
                                               228,, -216
                                                       216,, -820
                                                               820,, -516
                                                                       516,,   340
                                                                               340,, 92
                                                                                      92,,
     -136
      136,, 116
             116,, -300
                      300,,   376
                              376,, -244
                                       244,, 100
                                              100,, -316
                                                       316,, -520
                                                               520,, -284
                                                                       284,,   -12
                                                                                12,, 824
                                                                                      824,,
     164
     164,, -548
              548,, -180
                      180,,   -128
                               128,, 116
                                      116,, -924
                                               924,, -828
                                                       828,, 268
                                                              268,, -368
                                                                       368,,   -580
                                                                                580,, 620
                                                                                      620,,
     192
     192,, 160
             160,, 0,         -1676
                               1676,, 1068
                                      1068,, 424
                                              424,, -5656,, -360
                                                               360,, 468
                                                                      468,,    -156
                                                                                156,, 720
                                                                                      720,,
     288
     288,, -528
              528,, 556
                     556,,    -364
                               364,, 548
                                      548,, -148
                                               148,, 504
                                                      504,, 316
                                                              316,, 152
                                                                      152,,    -648
                                                                                648,, -620
                                                                                       620,,
     -684
      684,, -24
              24,, -376
                      376,,   -384
                               384,, -108
                                       108,, -920
                                               920,, -1032
                                                       1032,, 768
                                                              768,, 180
                                                                      180,,    -264
                                                                                264,, -508
                                                                                       508,,
     -1268
      1268,, -260
              260,, -60
                      60,,    300
                              300,, -240
                                       240,, 988
                                              988,, 724
                                                      724,, -376
                                                               376,, -576
                                                                       576,,   -212
                                                                                212,, -736
                                                                                       736,,
     556
     556,, 192
             192,, 1092
                     1092,,   -620
                               620,, -880
                                       880,, 376
                                              376,, -5656,, -4,       -216
                                                                       216,,   -32
                                                                                32,, 836
                                                                                      836,,
     268
     268,, 396
             396,, 1332
                     1332,,   864
                              864,, -600
                                       600,, 100
                                              100,, 5656,,    -412
                                                               412,, -92
                                                                       92,,    356
                                                                               356,, 180
                                                                                      180,,
     884
     884,, -468
              468,, -436
                      436,,   292
                              292,, -388
                                       388,, -804
                                               804,, -704
                                                       704,, -840
                                                               840,, 368
                                                                      368,,    -348
                                                                                348,, 140
                                                                                      140,,
     -724
      724,, 1536
             1536,, 940
                     940,,    372
                              372,, 112
                                      112,, -372
                                               372,, 436
                                                      436,, -480
                                                               480,, 1136
                                                                      1136,,   296
                                                                               296,, -32
                                                                                       32,,
     -228
      228,, 132
             132,, -4848,,    -220
                               220,, 868
                                      868,, -1016
                                               1016,, -60
                                                       60,, -1044
                                                               1044,, -464
                                                                       464,,   328
                                                                               328,, 916
                                                                                      916,,
     244
     244,, 1212,,    -736
                      736,,   -296
                               296,, 360
                                      360,, 468
                                              468,, -376
                                                       376,, -108
                                                               108,, -92
                                                                       92,,    788
                                                                               788,, 368
                                                                                      368,,
     -56
      56,, 544
             544,, 400
                     400,,    -672
                               672,, -420
                                       420,, 728
                                              728,, 1616,,    320
                                                              320,, 4444,,     -284
                                                                                284,, -380
                                                                                       380,,
     -796
      796,, 488
             488,, 132
                     132,,    204
                              204,, -596
                                       596,, -372
                                               372,, 88
                                                      88,,    -152
                                                               152,, -908
                                                                       908,,   -636
                                                                                636,, -572
                                                                                       572,,
     -624
      624,, -116
              116,, -692
                      692,,   -200
                               200,, -56
                                       56,, 276
                                              276,, -8888,, 484
                                                              484,, -324
                                                                       324,,   948
                                                                               948,, 864
                                                                                      864,,




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      1000
      1000,, -456
               456,, -184
                       184,,   -276
                                276,,   292
                                        292,, -296
                                                 296,, 156
                                                        156,, 676
                                                                676,, 320
                                                                        320,,    160
                                                                                 160,, 908
                                                                                        908,,
      -84
       84,, -1236
               1236,, -288
                       288,,   -116
                                116,,   260
                                        260,, -372
                                                 372,, -644
                                                         644,, 732
                                                                732,, -756
                                                                         756,,   -96
                                                                                  96,, 84
                                                                                        84,,
      344
      344,, -520
               520,, 348
                      348,,    -688
                                688,,   240
                                        240,, -8484,, 216
                                                        216,, -1044
                                                                 1044,, -136
                                                                         136,,   -676
                                                                                  676,, -396
                                                                                         396,,
      -1500
       1500,, 960
              960,, -4040,,    176
                               176,,    168
                                        168,, 1516
                                                1516,, 420
                                                        420,, -504
                                                                 504,, -344
                                                                         344,,   -364
                                                                                  364,, -360
                                                                                         360,,
      1216
      1216,, -940
               940,, -380
                       380,,   -212
                                212,,   252
                                        252,, -660
                                                 660,, -708
                                                         708,, 484
                                                                484,, -444
                                                                         444,,   -152
                                                                                  152,, 928
                                                                                        928,,
      -120
       120,, 1112
              1112,, 476
                      476,,    -260
                                260,,   560
                                        560,, -148
                                                 148,, -344
                                                         344,, 108
                                                                108,, -196
                                                                         196,,   228
                                                                                 228,, -288
                                                                                         288,,
      504
      504,, 560
              560,, -328
                       328,,   -88
                                88,,    288
                                        288,, -1008
                                                 1008,, 460
                                                        460,, -228
                                                                 228,, 468
                                                                        468,,    -836
                                                                                  836,, -196
                                                                                         196,,
      76
      76,,    388
              388,, 232
                      232,,    412
                               412,,    -1168
                                         1168,, -716
                                                 716,, -644
                                                         644,, 756
                                                                756,, -172
                                                                         172,,   -356
                                                                                  356,, -504
                                                                                         504,,
      116
      116,, 432
              432,, 528
                      528,,    48
                               48,,     476
                                        476,, -168
                                                 168,, -608
                                                         608,, 448
                                                                448,, 160
                                                                        160,,    -532
                                                                                  532,, -272
                                                                                         272,,
      28
      28,,    -676
               676,, -12
                       12,,    828
                               828,,    980
                                        980,, 456
                                                456,, 520
                                                        520,, 104
                                                                104,, -104
                                                                         104,,   256
                                                                                 256,, -344
                                                                                         344,,
      -4,     -28
               28,, -368
                       368,,   -52
                                52,,    -524
                                         524,, -572
                                                 572,, -556
                                                         556,, -200
                                                                 200,, 768
                                                                        768,,    1124
                                                                                 1124,, -208
                                                                                         208,,
      -512
       512,, 176
              176,, 232
                      232,,    248
                               248,,    -148
                                         148,, -888
                                                 888,, 604
                                                        604,, -600
                                                                 600,, -304
                                                                         304,,   804
                                                                                 804,, -156
                                                                                         156,,
      -212
       212,, 488
              488,, -192
                       192,,   -804
                                804,,   -256
                                         256,, 368
                                                368,, -360
                                                         360,, -916
                                                                 916,, -328
                                                                         328,,   228
                                                                                 228,, -240
                                                                                         240,,
      -448
       448,, -472
               472,, 856
                      856,,    -556
                                556,,   -364
                                         364,, 572
                                                572,, -1212,, -156
                                                                 156,, -368
                                                                         368,,   -340
                                                                                  340,, 432
                                                                                        432,,
      252
      252,, -752
               752,, -152
                       152,,   288
                               288,,    268
                                        268,, -580
                                                 580,, -848
                                                         848,, -592
                                                                 592,, 108
                                                                        108,,    -76
                                                                                  76,, 244
                                                                                        244,,
      312
      312,, -716
               716,, 592
                      592,,    -80
                                80,,    436
                                        436,, 360
                                                360,, 4,        -248
                                                                 248,, 160
                                                                        160,,    516
                                                                                 516,, 584
                                                                                        584,,
      732
      732,, 4444,,    -468
                       468,,   -280
                                280,,   -292
                                         292,, -156
                                                 156,, -588
                                                         588,, 28
                                                                28,,    308
                                                                        308,,    912
                                                                                 912,, 24
                                                                                        24,,
      124
      124,, 156
              156,, 180
                      180,,    -252
                                252,,   944
                                        944,, -924
                                                 924,, -772
                                                         772,, -520
                                                                 520,, -428
                                                                         428,,   -624
                                                                                  624,, 300
                                                                                        300,,
      -212
       212,, -1144
               1144,, 32
                      32,,     -724
                                724,,   800
                                        800,, -1128
                                                 1128,, -212
                                                         212,, -1288
                                                                 1288,, -848
                                                                         848,,   180
                                                                                 180,, -416
                                                                                         416,,
      440
      440,, 192
              192,, -576
                       576,,   -792
                                792,,   -76
                                         76,, -1080
                                                 1080,, 80
                                                        80,,    -532
                                                                 532,, -352
                                                                         352,,   -132
                                                                                  132,, 380
                                                                                        380,,
      -820
       820,, 148
              148,, 1112
                      1112,,   128
                               128,,    164
                                        164,, 456
                                                456,, 700
                                                        700,, -924
                                                                 924,, 144
                                                                        144,,    -668
                                                                                  668,, -384
                                                                                         384,,
      648
      648,, -832
               832,, 508
                      508,,    552
                               552,,    -52
                                         52,, -100
                                                 100,, -656
                                                         656,, 208
                                                                208,, -568
                                                                         568,,   748
                                                                                 748,, -88
                                                                                         88,,
      680
      680,, 232
              232,, 300
                      300,,    192
                               192,,    -408
                                         408,, -1012
                                                 1012,, -152
                                                         152,, -252
                                                                 252,, -268
                                                                         268,,   272
                                                                                 272,, -876
                                                                                         876,,
      -664
       664,, -648
               648,, -332
                       332,,   -136
                                136,,   16
                                        16,,    12
                                                12,,    1152
                                                        1152,, -28
                                                                 28,, 332
                                                                        332,,    -536
                                                                                  536,, 320
                                                                                        320,,
      -672
       672,, -460
               460,, -316
                       316,,   532
                               532,,    -260
                                         260,, 228
                                                228,, -4040,, 1052
                                                                1052,, -816
                                                                         816,,   180
                                                                                 180,, 88
                                                                                        88,,
      -496
       496,, -556
               556,, -672
                       672,,   -368
                                368,,   428
                                        428,, 9292,,    356
                                                        356,, 404
                                                                404,, -408
                                                                         408,,   252
                                                                                 252,, 196
                                                                                        196,,
      -176
       176,, -556
               556,, 792
                      792,,    268
                               268,,    32
                                        32,,    372
                                                372,, 4040,,    96
                                                                96,,    -332
                                                                         332,,   328
                                                                                 328,, 120
                                                                                        120,,
      372
      372,, -900
               900,, -40
                       40,,    472
                               472,,    -264
                                         264,, -592
                                                 592,, 952
                                                        952,, 128
                                                                128,, 656
                                                                        656,,    112
                                                                                 112,, 664
                                                                                        664,,
      -232
       232,, 420
              420,, 4,         -344
                                344,,   -464
                                         464,, 556
                                                556,, 244
                                                        244,, -416
                                                                 416,, -32
                                                                         32,,    252
                                                                                 252,, 0,
      -412
       412,, 188
              188,, -696
                       696,,   508
                               508,,    -476
                                         476,, 324
                                                324,, -1096
                                                         1096,, 656
                                                                656,, -312
                                                                         312,,   560
                                                                                 560,, 264
                                                                                        264,,
      -136
       136,, 304
              304,, 160
                      160,,    -64
                                64,,    -580
                                         580,, 248
                                                248,, 336
                                                        336,, -720
                                                                 720,, 560
                                                                        560,,    -348
                                                                                  348,, -288
                                                                                         288,,
      -276
       276,, -196
               196,, -500
                       500,,   852
                               852,,    -544
                                         544,, -236
                                                 236,, -1128
                                                         1128,, -992
                                                                 992,, -776
                                                                         776,,   116
                                                                                 116,, 56
                                                                                        56,,
      52
      52,,    860
              860,, 884
                      884,,    212
                               212,,    -12
                                         12,, 168
                                                168,, 1020
                                                        1020,, 512
                                                                512,, -552
                                                                         552,,   924
                                                                                 924,, -148
                                                                                         148,,
      716
      716,, 188
              188,, 164
                      164,,    -340
                                340,,   -520
                                         520,, -184
                                                 184,, 880
                                                        880,, -152
                                                                 152,, -680
                                                                         680,,   -208
                                                                                  208,, -1156
                                                                                         1156,,
      -300
       300,, -528
               528,, -472
                       472,,   364
                               364,,    100
                                        100,, -744
                                                 744,, -1056
                                                         1056,, -32
                                                                 32,, 540
                                                                        540,,    280
                                                                                 280,, 144
                                                                                        144,,
      -676
       676,, -32
               32,, -232
                       232,,   -280
                                280,,   -224
                                         224,, 96
                                                96,,    568
                                                        568,, -7676,, 172
                                                                        172,,    148
                                                                                 148,, 148
                                                                                        148,,
      104
      104,, 3232,,    -296
                       296,,   -32
                                32,,    788
                                        788,, -8080,, 3232,,    -16
                                                                 16,, 280
                                                                        280,,    288
                                                                                 288,, 944
                                                                                        944,,
      428
      428,, -484
  }



9.4. Default CDF tables
This section contains the default values for the cumulative distributions.




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  Default_Intra_Frame_Y_Mode_Cdf[[ INTRA_MODE_CONTEXTS ][ INTRA_MODE_CONTEXTS ][ INTRA_MODES + 1 ] = {
    {
       { 15588
         15588,, 17027
                 17027,, 19338
                         19338,, 20218
                                 20218,, 20682
                                         20682,, 21110
                                                 21110,, 21825
                                                          21825,, 23244
                                                                  23244,,
                     24189
                     24189,, 28165
                             28165,, 29093
                                     29093,, 30466
                                             30466,, 32768
                                                     32768,, 0 },
       { 12016
         12016,, 18066
                 18066,, 19516
                         19516,, 20303
                                 20303,, 20719
                                         20719,, 21444
                                                 21444,, 21888
                                                          21888,, 23032
                                                                  23032,,
                     24434
                     24434,, 28658
                             28658,, 30172
                                     30172,, 31409
                                             31409,, 32768
                                                     32768,, 0 },
       { 10052
         10052,, 10771
                 10771,, 22296
                         22296,, 22788
                                 22788,, 23055
                                         23055,, 23239
                                                 23239,, 24133
                                                          24133,, 25620
                                                                  25620,,
                     26160
                     26160,, 29336
                             29336,, 29929
                                     29929,, 31567
                                             31567,, 32768
                                                     32768,, 0 },
       { 14091
         14091,, 15406
                 15406,, 16442
                         16442,, 18808
                                 18808,, 19136
                                         19136,, 19546
                                                 19546,, 19998
                                                          19998,, 22096
                                                                  22096,,
                     24746
                     24746,, 29585
                             29585,, 30958
                                     30958,, 32462
                                             32462,, 32768
                                                     32768,, 0 },
       { 12122
         12122,, 13265
                 13265,, 15603
                         15603,, 16501
                                 16501,, 18609
                                         18609,, 20033
                                                 20033,, 22391
                                                          22391,, 25583
                                                                  25583,,
                     26437
                     26437,, 30261
                             30261,, 31073
                                     31073,, 32475
                                             32475,, 32768
                                                     32768,, 0 }
    },
    {
       { 10023
         10023,, 19585
                 19585,, 20848
                         20848,, 21440
                                 21440,, 21832
                                         21832,, 22760
                                                 22760,, 23089
                                                          23089,, 24023
                                                                  24023,,
                     25381
                     25381,, 29014
                             29014,, 30482
                                     30482,, 31436
                                             31436,, 32768
                                                     32768,, 0 },
       { 5983
         5983,, 24099
                24099,, 24560
                        24560,, 24886
                                24886,, 25066
                                        25066,, 25795
                                                25795,, 25913
                                                         25913,, 26423
                                                                 26423,,
                     27610
                     27610,, 29905
                             29905,, 31276
                                     31276,, 31794
                                             31794,, 32768
                                                     32768,, 0 },
       { 7444
         7444,, 12781
                12781,, 20177
                        20177,, 20728
                                20728,, 21077
                                        21077,, 21607
                                                21607,, 22170
                                                         22170,, 23405
                                                                 23405,,
                     24469
                     24469,, 27915
                             27915,, 29090
                                     29090,, 30492
                                             30492,, 32768
                                                     32768,, 0 },
       { 8537
         8537,, 14689
                14689,, 15432
                        15432,, 17087
                                17087,, 17408
                                        17408,, 18172
                                                18172,, 18408
                                                         18408,, 19825
                                                                 19825,,
                     24649
                     24649,, 29153
                             29153,, 31096
                                     31096,, 32210
                                             32210,, 32768
                                                     32768,, 0 },
       { 7543
         7543,, 14231
                14231,, 15496
                        15496,, 16195
                                16195,, 17905
                                        17905,, 20717
                                                20717,, 21984
                                                         21984,, 24516
                                                                 24516,,
                     26001
                     26001,, 29675
                             29675,, 30981
                                     30981,, 31994
                                             31994,, 32768
                                                     32768,, 0 }
    },
    {
       { 12613
         12613,, 13591
                 13591,, 21383
                         21383,, 22004
                                 22004,, 22312
                                         22312,, 22577
                                                 22577,, 23401
                                                          23401,, 25055
                                                                  25055,,
                     25729
                     25729,, 29538
                             29538,, 30305
                                     30305,, 32077
                                             32077,, 32768
                                                     32768,, 0 },
       { 9687
         9687,, 13470
                13470,, 18506
                        18506,, 19230
                                19230,, 19604
                                        19604,, 20147
                                                20147,, 20695
                                                         20695,, 22062
                                                                 22062,,
                     23219
                     23219,, 27743
                             27743,, 29211
                                     29211,, 30907
                                             30907,, 32768
                                                     32768,, 0 },
       { 6183
         6183,, 6505
                6505,, 26024
                       26024,, 26252
                               26252,, 26366
                                       26366,, 26434
                                               26434,, 27082
                                                       27082,, 28354
                                                                28354,, 28555
                                                                         28555,,
                     30467
                     30467,, 30794
                             30794,, 32086
                                     32086,, 32768
                                             32768,, 0 },
       { 10718
         10718,, 11734
                 11734,, 14954
                         14954,, 17224
                                 17224,, 17565
                                         17565,, 17924
                                                 17924,, 18561
                                                          18561,, 21523
                                                                  21523,,
                     23878
                     23878,, 28975
                             28975,, 30287
                                     30287,, 32252
                                             32252,, 32768
                                                     32768,, 0 },
       { 9194
         9194,, 9858
                9858,, 16501
                       16501,, 17263
                               17263,, 18424
                                       18424,, 19171
                                               19171,, 21563
                                                       21563,, 25961
                                                                25961,, 26561
                                                                         26561,,
                     30072
                     30072,, 30737
                             30737,, 32463
                                     32463,, 32768
                                             32768,, 0 }
    },
    {
       { 12602
         12602,, 14399
                 14399,, 15488
                         15488,, 18381
                                 18381,, 18778
                                         18778,, 19315
                                                 19315,, 19724
                                                          19724,, 21419
                                                                  21419,,
                     25060
                     25060,, 29696
                             29696,, 30917
                                     30917,, 32409
                                             32409,, 32768
                                                     32768,, 0 },
       { 8203
         8203,, 13821
                13821,, 14524
                        14524,, 17105
                                17105,, 17439
                                        17439,, 18131
                                                18131,, 18404
                                                         18404,, 19468
                                                                 19468,,
                     25225
                     25225,, 29485
                             29485,, 31158
                                     31158,, 32342
                                             32342,, 32768
                                                     32768,, 0 },
       { 8451
         8451,, 9731
                9731,, 15004
                       15004,, 17643
                               17643,, 18012
                                       18012,, 18425
                                               18425,, 19070
                                                       19070,, 21538
                                                                21538,, 24605
                                                                         24605,,
                     29118
                     29118,, 30078
                             30078,, 32018
                                     32018,, 32768
                                             32768,, 0 },
       { 7714
         7714,, 9048
                9048,, 9516
                       9516,, 16667
                              16667,, 16817
                                      16817,, 16994
                                              16994,, 17153
                                                      17153,, 18767
                                                               18767,, 26743
                                                                       26743,,
                     30389
                     30389,, 31536
                             31536,, 32528
                                     32528,, 32768
                                             32768,, 0 },
       { 8843
         8843,, 10280
                10280,, 11496
                        11496,, 15317
                                15317,, 16652
                                        16652,, 17943
                                                17943,, 19108
                                                         19108,, 22718
                                                                 22718,,
                     25769
                     25769,, 29953
                             29953,, 30983
                                     30983,, 32485
                                             32485,, 32768
                                                     32768,, 0 }
    },
    {




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          { 12578
            12578,, 13671
                    13671,, 15979
                            15979,, 16834
                                    16834,, 19075
                                            19075,, 20913
                                                    20913,, 22989
                                                             22989,, 25449
                                                                     25449,,
                        26219
                        26219,, 30214
                                30214,, 31150
                                        31150,, 32477
                                                32477,, 32768
                                                        32768,, 0 },
          { 9563
            9563,, 13626
                   13626,, 15080
                           15080,, 15892
                                   15892,, 17756
                                           17756,, 20863
                                                   20863,, 22207
                                                            22207,, 24236
                                                                    24236,,
                        25380
                        25380,, 29653
                                29653,, 31143
                                        31143,, 32277
                                                32277,, 32768
                                                        32768,, 0 },
          { 8356
            8356,, 8901
                   8901,, 17616
                          17616,, 18256
                                  18256,, 19350
                                          19350,, 20106
                                                  20106,, 22598
                                                          22598,, 25947
                                                                   25947,, 26466
                                                                            26466,,
                        29900
                        29900,, 30523
                                30523,, 32261
                                        32261,, 32768
                                                32768,, 0 },
          { 10835
            10835,, 11815
                    11815,, 13124
                            13124,, 16042
                                    16042,, 17018
                                            17018,, 18039
                                                    18039,, 18947
                                                             18947,, 22753
                                                                     22753,,
                        24615
                        24615,, 29489
                                29489,, 30883
                                        30883,, 32482
                                                32482,, 32768
                                                        32768,, 0 },
          { 7618
            7618,, 8288
                   8288,, 9859
                          9859,, 10509
                                 10509,, 15386
                                         15386,, 18657
                                                 18657,, 22903
                                                         22903,, 28776
                                                                  28776,, 29180
                                                                          29180,,
                        31355
                        31355,, 31802
                                31802,, 32593
                                        32593,, 32768
                                                32768,, 0 }
      }
  }




  Default_Y_Mode_Cdf[[ BLOCK_SIZE_GROUPS ][ INTRA_MODES + 1 ] = {
    { 22801
      22801,, 23489
              23489,, 24293
                      24293,, 24756
                              24756,,
      25601
      25601,, 26123
              26123,, 26606
                      26606,, 27418
                              27418,,
      27945
      27945,, 29228
              29228,, 29685
                      29685,, 30349
                              30349,,
      32768
      32768,, 0 },
    { 18673
      18673,, 19845
              19845,, 22631
                      22631,, 23318
                              23318,,
      23950
      23950,, 24649
              24649,, 25527
                      25527,, 27364
                              27364,,
      28152
      28152,, 29701
              29701,, 29984
                      29984,, 30852
                              30852,,
      32768
      32768,, 0 },
    { 19770
      19770,, 20979
              20979,, 23396
                      23396,, 23939
                              23939,,
      24241
      24241,, 24654
              24654,, 25136
                      25136,, 27073
                              27073,,
      27830
      27830,, 29360
              29360,, 29730
                      29730,, 30659
                              30659,,
      32768
      32768,, 0 },
    { 20155
      20155,, 21301
              21301,, 22838
                      22838,, 23178
                              23178,,
      23261
      23261,, 23533
              23533,, 23703
                      23703,, 24804
                              24804,,
      25352
      25352,, 26575
              26575,, 27016
                      27016,, 28049
                              28049,,
      32768
      32768,, 0 }
  }




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  Default_Uv_Mode_Cfl_Not_Allowed_Cdf[[ INTRA_MODES ][ UV_INTRA_MODES_CFL_NOT_ALLOWED + 1 ] = {
    { 22631
      22631,, 24152
              24152,, 25378
                      25378,, 25661
                              25661,, 25986
                                      25986,, 26520
                                              26520,, 27055
                                                      27055,, 27923
                                                              27923,,
      28244
      28244,, 30059
              30059,, 30941
                      30941,, 31961
                              31961,, 32768
                                      32768,, 0 },
    { 9513
      9513,, 26881
             26881,, 26973
                     26973,, 27046
                             27046,, 27118
                                     27118,, 27664
                                             27664,, 27739
                                                     27739,, 27824
                                                             27824,,
      28359
      28359,, 29505
              29505,, 29800
                      29800,, 31796
                              31796,, 32768
                                      32768,, 0 },
    { 9845
      9845,, 9915
             9915,, 28663
                    28663,, 28704
                            28704,, 28757
                                    28757,, 28780
                                            28780,, 29198
                                                    29198,, 29822
                                                            29822,, 29854
                                                                     29854,,
      30764
      30764,, 31777
              31777,, 32029
                      32029,, 32768
                              32768,, 0 },
    { 13639
      13639,, 13897
              13897,, 14171
                      14171,, 25331
                              25331,, 25606
                                      25606,, 25727
                                              25727,, 25953
                                                      25953,, 27148
                                                              27148,,
      28577
      28577,, 30612
              30612,, 31355
                      31355,, 32493
                              32493,, 32768
                                      32768,, 0 },
    { 9764
      9764,, 9835
             9835,, 9930
                    9930,, 9954
                           9954,, 25386
                                  25386,, 27053
                                          27053,, 27958
                                                  27958,, 28148
                                                          28148,, 28243
                                                                  28243,,
      31101
      31101,, 31744
              31744,, 32363
                      32363,, 32768
                              32768,, 0 },
    { 11825
      11825,, 13589
              13589,, 13677
                      13677,, 13720
                              13720,, 15048
                                      15048,, 29213
                                              29213,, 29301
                                                      29301,, 29458
                                                              29458,,
      29711
      29711,, 31161
              31161,, 31441
                      31441,, 32550
                              32550,, 32768
                                      32768,, 0 },
    { 14175
      14175,, 14399
              14399,, 16608
                      16608,, 16821
                              16821,, 17718
                                      17718,, 17775
                                              17775,, 28551
                                                      28551,, 30200
                                                              30200,,
      30245
      30245,, 31837
              31837,, 32342
                      32342,, 32667
                              32667,, 32768
                                      32768,, 0 },
    { 12885
      12885,, 13038
              13038,, 14978
                      14978,, 15590
                              15590,, 15673
                                      15673,, 15748
                                              15748,, 16176
                                                      16176,, 29128
                                                              29128,,
      29267
      29267,, 30643
              30643,, 31961
                      31961,, 32461
                              32461,, 32768
                                      32768,, 0 },
    { 12026
      12026,, 13661
              13661,, 13874
                      13874,, 15305
                              15305,, 15490
                                      15490,, 15726
                                              15726,, 15995
                                                      15995,, 16273
                                                              16273,,
      28443
      28443,, 30388
              30388,, 30767
                      30767,, 32416
                              32416,, 32768
                                      32768,, 0 },
    { 19052
      19052,, 19840
              19840,, 20579
                      20579,, 20916
                              20916,, 21150
                                      21150,, 21467
                                              21467,, 21885
                                                      21885,, 22719
                                                              22719,,
      23174
      23174,, 28861
              28861,, 30379
                      30379,, 32175
                              32175,, 32768
                                      32768,, 0 },
    { 18627
      18627,, 19649
              19649,, 20974
                      20974,, 21219
                              21219,, 21492
                                      21492,, 21816
                                              21816,, 22199
                                                      22199,, 23119
                                                              23119,,
      23527
      23527,, 27053
              27053,, 31397
                      31397,, 32148
                              32148,, 32768
                                      32768,, 0 },
    { 17026
      17026,, 19004
              19004,, 19997
                      19997,, 20339
                              20339,, 20586
                                      20586,, 21103
                                              21103,, 21349
                                                      21349,, 21907
                                                              21907,,
      22482
      22482,, 25896
              25896,, 26541
                      26541,, 31819
                              31819,, 32768
                                      32768,, 0 },
    { 12124
      12124,, 13759
              13759,, 14959
                      14959,, 14992
                              14992,, 15007
                                      15007,, 15051
                                              15051,, 15078
                                                      15078,, 15166
                                                              15166,,
      15255
      15255,, 15753
              15753,, 16039
                      16039,, 16606
                              16606,, 32768
                                      32768,, 0 }
  }




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          Case 2:25-cv-03053        Document 1-8       Filed 04/07/25 Page 432 of 682 Page ID
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  Default_Uv_Mode_Cfl_Allowed_Cdf[[ INTRA_MODES ][ UV_INTRA_MODES_CFL_ALLOWED + 1 ] = {
    { 10407
      10407,, 11208
              11208,, 12900
                      12900,, 13181
                              13181,, 13823
                                       13823,, 14175
                                               14175,, 14899
                                                       14899,, 15656
                                                                15656,,
      15986
      15986,, 20086
              20086,, 20995
                      20995,, 22455
                              22455,, 24212
                                       24212,, 32768
                                               32768,, 0 },
    { 4532
      4532,, 19780
             19780,, 20057
                     20057,, 20215
                             20215,, 20428
                                     20428,, 21071
                                              21071,, 21199
                                                      21199,, 21451
                                                               21451,,
      22099
      22099,, 24228
              24228,, 24693
                      24693,, 27032
                              27032,, 29472
                                       29472,, 32768
                                               32768,, 0 },
    { 5273
      5273,, 5379
             5379,, 20177
                    20177,, 20270
                            20270,, 20385
                                    20385,, 20439
                                             20439,, 20949
                                                     20949,, 21695
                                                             21695,, 21774
                                                                       21774,,
      23138
      23138,, 24256
              24256,, 24703
                      24703,, 26679
                              26679,, 32768
                                       32768,, 0 },
    { 6740
      6740,, 7167
             7167,, 7662
                    7662,, 14152
                           14152,, 14536
                                   14536,, 14785
                                           14785,, 15034
                                                    15034,, 16741
                                                            16741,, 18371
                                                                     18371,,
      21520
      21520,, 22206
              22206,, 23389
                      23389,, 24182
                              24182,, 32768
                                       32768,, 0 },
    { 4987
      4987,, 5368
             5368,, 5928
                    5928,, 6068
                           6068,, 19114
                                  19114,, 20315
                                          20315,, 21857
                                                   21857,, 22253
                                                           22253,, 22411
                                                                    22411,,
      24911
      24911,, 25380
              25380,, 26027
                      26027,, 26376
                              26376,, 32768
                                       32768,, 0 },
    { 5370
      5370,, 6889
             6889,, 7247
                    7247,, 7393
                           7393,, 9498
                                  9498,, 21114
                                         21114,, 21402
                                                 21402,, 21753
                                                          21753,, 21981
                                                                  21981,,
      24780
      24780,, 25386
              25386,, 26517
                      26517,, 27176
                              27176,, 32768
                                       32768,, 0 },
    { 4816
      4816,, 4961
             4961,, 7204
                    7204,, 7326
                           7326,, 8765
                                  8765,, 8930
                                         8930,, 20169
                                                20169,, 20682
                                                         20682,, 20803
                                                                 20803,,
      23188
      23188,, 23763
              23763,, 24455
                      24455,, 24940
                              24940,, 32768
                                       32768,, 0 },
    { 6608
      6608,, 6740
             6740,, 8529
                    8529,, 9049
                           9049,, 9257
                                  9257,, 9356
                                         9356,, 9735
                                                9735,, 18827
                                                       18827,, 19059
                                                                19059,,
      22336
      22336,, 23204
              23204,, 23964
                      23964,, 24793
                              24793,, 32768
                                       32768,, 0 },
    { 5998
      5998,, 7419
             7419,, 7781
                    7781,, 8933
                           8933,, 9255
                                  9255,, 9549
                                         9549,, 9753
                                                9753,, 10417
                                                       10417,, 18898
                                                                18898,,
      22494
      22494,, 23139
              23139,, 24764
                      24764,, 25989
                              25989,, 32768
                                       32768,, 0 },
    { 10660
      10660,, 11298
              11298,, 12550
                      12550,, 12957
                              12957,, 13322
                                       13322,, 13624
                                               13624,, 14040
                                                       14040,, 15004
                                                                15004,,
      15534
      15534,, 20714
              20714,, 21789
                      21789,, 23443
                              23443,, 24861
                                       24861,, 32768
                                               32768,, 0 },
    { 10522
      10522,, 11530
              11530,, 12552
                      12552,, 12963
                              12963,, 13378
                                       13378,, 13779
                                               13779,, 14245
                                                       14245,, 15235
                                                                15235,,
      15902
      15902,, 20102
              20102,, 22696
                      22696,, 23774
                              23774,, 25838
                                       25838,, 32768
                                               32768,, 0 },
    { 10099
      10099,, 10691
              10691,, 12639
                      12639,, 13049
                              13049,, 13386
                                       13386,, 13665
                                               13665,, 14125
                                                       14125,, 15163
                                                                15163,,
      15636
      15636,, 19676
              19676,, 20474
                      20474,, 23519
                              23519,, 25208
                                       25208,, 32768
                                               32768,, 0 },
    { 3144
      3144,, 5087
             5087,, 7382
                    7382,, 7504
                           7504,, 7593
                                  7593,, 7690
                                         7690,, 7801
                                                7801,, 8064
                                                       8064,, 8232
                                                               8232,, 9248
                                                                       9248,,
      9875
      9875,, 10521
             10521,, 29048
                     29048,, 32768
                             32768,, 0 }
  }




  Default_Angle_Delta_Cdf[[ DIRECTIONAL_MODES ][(  ][(22 * MAX_ANGLE_DELTA + 1) + 1] = {
    { 2180
      2180,, 5032
             5032,, 7567
                    7567,, 22776
                           22776,, 26989
                                   26989,, 30217
                                           30217,, 32768
                                                   32768,, 0 },
    { 2301
      2301,, 5608
             5608,, 8801
                    8801,, 23487
                           23487,, 26974
                                   26974,, 30330
                                           30330,, 32768
                                                   32768,, 0 },
    { 3780
      3780,, 11018
             11018,, 13699
                     13699,, 19354
                             19354,, 23083
                                     23083,, 31286
                                             31286,, 32768
                                                     32768,, 0 },
    { 4581
      4581,, 11226
             11226,, 15147
                     15147,, 17138
                             17138,, 21834
                                     21834,, 28397
                                             28397,, 32768
                                                     32768,, 0 },
    { 1737
      1737,, 10927
             10927,, 14509
                     14509,, 19588
                             19588,, 22745
                                     22745,, 28823
                                             28823,, 32768
                                                     32768,, 0 },
    { 2664
      2664,, 10176
             10176,, 12485
                     12485,, 17650
                             17650,, 21600
                                     21600,, 30495
                                             30495,, 32768
                                                     32768,, 0 },
    { 2240
      2240,, 11096
             11096,, 15453
                     15453,, 20341
                             20341,, 22561
                                     22561,, 28917
                                             28917,, 32768
                                                     32768,, 0 },
    { 3605
      3605,, 10428
             10428,, 12459
                     12459,, 17676
                             17676,, 21244
                                     21244,, 30655
                                             30655,, 32768
                                                     32768,, 0 }
  }




  Default_Intrabc_Cdf[[ 2 + 1 ] = { 30531
                                    30531,, 32768
                                            32768,, 0 }




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  Default_Partition_W8_Cdf[[ PARTITION_CONTEXTS ][ 5 ] = {
    { 19132
      19132,, 25510
              25510,, 30392
                      30392,, 32768
                              32768,, 0 },
    { 13928
      13928,, 19855
              19855,, 28540
                      28540,, 32768
                              32768,, 0 },
    { 12522
      12522,, 23679
              23679,, 28629
                      28629,, 32768
                              32768,, 0 },
    { 9896
      9896,, 18783
             18783,, 25853
                     25853,, 32768
                             32768,, 0 },
  }




  Default_Partition_W16_Cdf[[ PARTITION_CONTEXTS ][ 11 ] = {
    { 15597
      15597,, 20929
              20929,, 24571
                      24571,, 26706
                              26706,, 27664
                                      27664,, 28821
                                              28821,, 29601
                                                      29601,, 30571
                                                              30571,, 31902
                                                                      31902,, 32768
                                                                              32768,, 0 },
    { 7925
      7925,, 11043
             11043,, 16785
                     16785,, 22470
                             22470,, 23971
                                     23971,, 25043
                                             25043,, 26651
                                                     26651,, 28701
                                                             28701,, 29834
                                                                     29834,, 32768
                                                                             32768,, 0 },
    { 5414
      5414,, 13269
             13269,, 15111
                     15111,, 20488
                             20488,, 22360
                                     22360,, 24500
                                             24500,, 25537
                                                     25537,, 26336
                                                             26336,, 32117
                                                                     32117,, 32768
                                                                             32768,, 0 },
    { 2662
      2662,, 6362
             6362,, 8614
                    8614,, 20860
                           20860,, 23053
                                   23053,, 24778
                                           24778,, 26436
                                                   26436,, 27829
                                                           27829,, 31171
                                                                   31171,, 32768
                                                                           32768,, 0 }
  }




  Default_Partition_W32_Cdf[[ PARTITION_CONTEXTS ][ 11 ] = {
    { 18462
      18462,, 20920
              20920,, 23124
                      23124,, 27647
                              27647,, 28227
                                      28227,, 29049
                                              29049,, 29519
                                                      29519,, 30178
                                                              30178,, 31544
                                                                      31544,, 32768
                                                                              32768,, 0 },
    { 7689
      7689,, 9060
             9060,, 12056
                    12056,, 24992
                            24992,, 25660
                                    25660,, 26182
                                            26182,, 26951
                                                    26951,, 28041
                                                            28041,, 29052
                                                                    29052,, 32768
                                                                            32768,, 0 },
    { 6015
      6015,, 9009
             9009,, 10062
                    10062,, 24544
                            24544,, 25409
                                    25409,, 26545
                                            26545,, 27071
                                                    27071,, 27526
                                                            27526,, 32047
                                                                    32047,, 32768
                                                                            32768,, 0 },
    { 1394
      1394,, 2208
             2208,, 2796
                    2796,, 28614
                           28614,, 29061
                                   29061,, 29466
                                           29466,, 29840
                                                   29840,, 30185
                                                           30185,, 31899
                                                                   31899,, 32768
                                                                           32768,, 0 }
  }




  Default_Partition_W64_Cdf[[ PARTITION_CONTEXTS ][ 11 ] = {
    { 20137
      20137,, 21547
              21547,, 23078
                      23078,, 29566
                              29566,, 29837
                                      29837,, 30261
                                              30261,, 30524
                                                      30524,, 30892
                                                              30892,, 31724
                                                                      31724,, 32768
                                                                              32768,, 0 },
    { 6732
      6732,, 7490
             7490,, 9497
                    9497,, 27944
                           27944,, 28250
                                   28250,, 28515
                                           28515,, 28969
                                                   28969,, 29630
                                                           29630,, 30104
                                                                   30104,, 32768
                                                                           32768,, 0 },
    { 5945
      5945,, 7663
             7663,, 8348
                    8348,, 28683
                           28683,, 29117
                                   29117,, 29749
                                           29749,, 30064
                                                   30064,, 30298
                                                           30298,, 32238
                                                                   32238,, 32768
                                                                           32768,, 0 },
    { 870
      870,, 1212
            1212,, 1487
                   1487,, 31198
                          31198,, 31394
                                  31394,, 31574
                                          31574,, 31743
                                                  31743,, 31881
                                                          31881,, 32332
                                                                  32332,, 32768
                                                                          32768,, 0 }
  }




  Default_Partition_W128_Cdf[[ PARTITION_CONTEXTS ][ 9 ] = {
    { 27899
      27899,, 28219
              28219,, 28529
                       28529,, 32484
                               32484,, 32539
                                       32539,, 32619
                                               32619,, 32639
                                                       32639,, 32768
                                                               32768,, 0 },
    { 6607
      6607,, 6990
             6990,, 8268
                    8268,, 32060
                           32060,, 32219
                                   32219,, 32338
                                           32338,, 32371
                                                   32371,, 32768
                                                           32768,, 0 },
    { 5429
      5429,, 6676
             6676,, 7122
                    7122,, 32027
                           32027,, 32227
                                   32227,, 32531
                                           32531,, 32582
                                                   32582,, 32768
                                                           32768,, 0 },
    { 711
      711,, 966
            966,, 1172
                  1172,, 32448
                         32448,, 32538
                                 32538,, 32617
                                         32617,, 32664
                                                 32664,, 32768
                                                         32768,, 0 }
  }




  Default_Tx_8x8_Cdf[[ TX_SIZE_CONTEXTS ][ MAX_TX_DEPTH + 1 ] = {
    { 19968
      19968,, 32768
              32768,, 0 },
    { 19968
      19968,, 32768
              32768,, 0 },
    { 24320
      24320,, 32768
              32768,, 0 }
  }




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          Case 2:25-cv-03053        Document 1-8        Filed 04/07/25 Page 434 of 682 Page ID
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  Default_Tx_16x16_Cdf[[ TX_SIZE_CONTEXTS ][ MAX_TX_DEPTH + 2 ] = {
    { 12272
      12272,, 30172
              30172,, 32768
                      32768,, 0 },
    { 12272
      12272,, 30172
              30172,, 32768
                      32768,, 0 },
    { 18677
      18677,, 30848
              30848,, 32768
                      32768,, 0 }
  }




  Default_Tx_32x32_Cdf[[ TX_SIZE_CONTEXTS ][ MAX_TX_DEPTH + 2 ] = {
    { 12986
      12986,, 15180
              15180,, 32768
                      32768,, 0 },
    { 12986
      12986,, 15180
              15180,, 32768
                      32768,, 0 },
    { 24302
      24302,, 25602
              25602,, 32768
                      32768,, 0 }
  }




  Default_Tx_64x64_Cdf[[ TX_SIZE_CONTEXTS ][ MAX_TX_DEPTH + 2 ] = {
    { 5782
      5782,, 11475
             11475,, 32768
                     32768,, 0 },
    { 5782
      5782,, 11475
             11475,, 32768
                     32768,, 0 },
    { 16803
      16803,, 22759
              22759,, 32768
                      32768,, 0 }
  }




  Default_Txfm_Split_Cdf[[ TXFM_PARTITION_CONTEXTS ][ 3 ] = {
    { 28581
      28581,, 32768
              32768,, 0 }, { 23846
                             23846,, 32768
                                     32768,, 0 }, { 20847
                                                    20847,, 32768
                                                            32768,, 0 },
    { 24315
      24315,, 32768
              32768,, 0 }, { 18196
                             18196,, 32768
                                     32768,, 0 }, { 12133
                                                    12133,, 32768
                                                            32768,, 0 },
    { 18791
      18791,, 32768
              32768,, 0 }, { 10887
                             10887,, 32768
                                     32768,, 0 }, { 11005
                                                    11005,, 32768
                                                            32768,, 0 },
    { 27179
      27179,, 32768
              32768,, 0 }, { 20004
                             20004,, 32768
                                     32768,, 0 }, { 11281
                                                    11281,, 32768
                                                            32768,, 0 },
    { 26549
      26549,, 32768
              32768,, 0 }, { 19308
                             19308,, 32768
                                     32768,, 0 }, { 14224
                                                    14224,, 32768
                                                            32768,, 0 },
    { 28015
      28015,, 32768
              32768,, 0 }, { 21546
                             21546,, 32768
                                     32768,, 0 }, { 14400
                                                    14400,, 32768
                                                            32768,, 0 },
    { 28165
      28165,, 32768
              32768,, 0 }, { 22401
                             22401,, 32768
                                     32768,, 0 }, { 16088
                                                    16088,, 32768
                                                            32768,, 0 }
  }




  Default_Filter_Intra_Mode_Cdf[[ 6 ] = { 8949
                                          8949,, 12776
                                                 12776,, 17211
                                                         17211,, 29558
                                                                 29558,, 32768
                                                                         32768,, 0 }




  Default_Filter_Intra_Cdf[[ BLOCK_SIZES ][ 3 ] = {
    { 4621
       4621,, 32768
              32768,, 0 }, { 6743
                              6743,, 32768
                                     32768,, 0 }, { 5893
                                                     5893,, 32768
                                                            32768,, 0 },
    { 7866
       7866,, 32768
              32768,, 0 }, { 12551
                             12551,, 32768
                                     32768,, 0 }, { 9394
                                                     9394,, 32768
                                                            32768,, 0 },
    { 12408
      12408,, 32768
              32768,, 0 }, { 14301
                             14301,, 32768
                                     32768,, 0 }, { 12756
                                                    12756,, 32768
                                                            32768,, 0 },
    { 22343
      22343,, 32768
              32768,, 0 }, { 16384
                             16384,, 32768
                                     32768,, 0 }, { 16384
                                                    16384,, 32768
                                                            32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 }, { 16384
                             16384,, 32768
                                     32768,, 0 }, { 16384
                                                    16384,, 32768
                                                            32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 }, { 12770
                             12770,, 32768
                                     32768,, 0 }, { 10368
                                                    10368,, 32768
                                                            32768,, 0 },
    { 20229
      20229,, 32768
              32768,, 0 }, { 18101
                             18101,, 32768
                                     32768,, 0 }, { 16384
                                                    16384,, 32768
                                                            32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 }
  }




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   Note: Indices 10 to 15 and 20 to 21 inclusive are never used in the first dimension of the Default_Filter_Intra_Cdf
   CDF table.



  Default_Segment_Id_Cdf[[ SEGMENT_ID_CONTEXTS ][ MAX_SEGMENTS + 1 ] = {
    { 5622
      5622,, 7893
             7893,, 16093
                    16093,, 18233
                            18233,, 27809
                                    27809,, 28373
                                            28373,, 32533
                                                    32533,, 32768
                                                            32768,, 0 },
    { 14274
      14274,, 18230
              18230,, 22557
                      22557,, 24935
                              24935,, 29980
                                      29980,, 30851
                                              30851,, 32344
                                                      32344,, 32768
                                                              32768,, 0 },
    { 27527
      27527,, 28487
              28487,, 28723
                      28723,, 28890
                              28890,, 32397
                                      32397,, 32647
                                              32647,, 32679
                                                      32679,, 32768
                                                              32768,, 0 }
  }




  Default_Segment_Id_Predicted_Cdf[[ SEGMENT_ID_PREDICTED_CONTEXTS ][ 3 ] = {
    { 128 * 128
            128,, 32768
                  32768,, 0 },
    { 128 * 128
            128,, 32768
                  32768,, 0 },
    { 128 * 128
            128,, 32768
                  32768,, 0 }
  }




  Default_Mv_Class0_Hp_Cdf[[ 3 ] = {
    160
    160**128
         128,, 32768
               32768,, 0
  }




  Default_Mv_Hp_Cdf[[ 3 ] = {
    128
    128**128
         128,, 32768
               32768,, 0
  }




  Default_Mv_Sign_Cdf[[3] = {
    128
    128**128
         128,, 32768
               32768,, 0
  }




  Default_Mv_Bit_Cdf[[ MV_OFFSET_BITS ][ 3 ] = {
    { 136
      136**128
           128,, 32768
                 32768,, 0 },
    { 140
      140**128
           128,, 32768
                 32768,, 0 },
    { 148
      148**128
           128,, 32768
                 32768,, 0 },
    { 160
      160**128
           128,, 32768
                 32768,, 0 },
    { 176
      176**128
           128,, 32768
                 32768,, 0 },
    { 192
      192**128
           128,, 32768
                 32768,, 0 },
    { 224
      224**128
           128,, 32768
                 32768,, 0 },
    { 234
      234**128
           128,, 32768
                 32768,, 0 },
    { 234
      234**128
           128,, 32768
                 32768,, 0 },
    { 240
      240**128
           128,, 32768
                 32768,, 0 }
  }




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  Default_Mv_Class0_Bit_Cdf[[ 3 ] = {
    216
    216**128
         128,, 32768
               32768,, 0
  }




  Default_New_Mv_Cdf[[ NEW_MV_CONTEXTS ][ 3 ] = {
    { 24035
      24035,, 32768
              32768,, 0 },
    { 16630
      16630,, 32768
              32768,, 0 },
    { 15339
      15339,, 32768
              32768,, 0 },
    { 8386
      8386,, 32768
             32768,, 0 },
    { 12222
      12222,, 32768
              32768,, 0 },
    { 4676
      4676,, 32768
             32768,, 0 }
  }




  Default_Zero_Mv_Cdf[[ ZERO_MV_CONTEXTS ][ 3 ] = {
    { 2175
      2175,, 32768
             32768,, 0 },
    { 1054
      1054,, 32768
             32768,, 0 }
  }




  Default_Ref_Mv_Cdf[[ REF_MV_CONTEXTS ][ 3 ] = {
    { 23974
      23974,, 32768
              32768,, 0 },
    { 24188
      24188,, 32768
              32768,, 0 },
    { 17848
      17848,, 32768
              32768,, 0 },
    { 28622
      28622,, 32768
              32768,, 0 },
    { 24312
      24312,, 32768
              32768,, 0 },
    { 19923
      19923,, 32768
              32768,, 0 }
  }




  Default_Drl_Mode_Cdf[[ DRL_MODE_CONTEXTS ][ 3 ] = {
    { 13104
      13104,, 32768
              32768,, 0 },
    { 24560
      24560,, 32768
              32768,, 0 },
    { 18945
      18945,, 32768
              32768,, 0 }
  }




  Default_Is_Inter_Cdf[[ IS_INTER_CONTEXTS ][ 3 ] = {
    { 806
      806,, 32768
            32768,, 0 },
    { 16662
      16662,, 32768
              32768,, 0 },
    { 20186
      20186,, 32768
              32768,, 0 },
    { 26538
      26538,, 32768
              32768,, 0 }
  }




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  Default_Comp_Mode_Cdf[[ COMP_INTER_CONTEXTS ][ 3 ] = {
    { 26828
      26828,, 32768
              32768,, 0 },
    { 24035
      24035,, 32768
              32768,, 0 },
    { 12031
      12031,, 32768
              32768,, 0 },
    { 10640
      10640,, 32768
              32768,, 0 },
    { 2901
      2901,, 32768
             32768,, 0 }
  }




  Default_Skip_Mode_Cdf[[ SKIP_MODE_CONTEXTS ][ 3 ] = {
    {32621
     32621,, 32768
             32768,, 0},
    {20708
     20708,, 32768
             32768,, 0},
    {8127
     8127,, 32768
            32768,, 0}
  }




  Default_Skip_Cdf[[ SKIP_CONTEXTS ][ 3 ] = {
    { 31671
      31671,, 32768
              32768,, 0 },
    { 16515
      16515,, 32768
              32768,, 0 },
    { 4576
      4576,, 32768
             32768,, 0 }
  }




  Default_Comp_Ref_Cdf[[ REF_CONTEXTS ][ FWD_REFS - 1 ][ 3 ] = {
    { { 4946
        4946,, 32768
               32768,, 0 },
      { 9468
        9468,, 32768
               32768,, 0 },
      { 1503
        1503,, 32768
               32768,, 0 } },
    { { 19891
        19891,, 32768
                32768,, 0 },
      { 22441
        22441,, 32768
                32768,, 0 },
      { 15160
        15160,, 32768
                32768,, 0 } },
    { { 30731
        30731,, 32768
                32768,, 0 },
      { 31059
        31059,, 32768
                32768,, 0 },
      { 27544
        27544,, 32768
                32768,, 0 } }
  }




  Default_Comp_Bwd_Ref_Cdf[[ REF_CONTEXTS ][ BWD_REFS - 1 ][ 3 ] = {
    { { 2235
         2235,, 32768
                32768,, 0 }, { 1423
                                1423,, 32768
                                       32768,, 0 } },
    { { 17182
        17182,, 32768
                32768,, 0 }, { 15175
                               15175,, 32768
                                       32768,, 0 } },
    { { 30606
        30606,, 32768
                32768,, 0 }, { 30489
                               30489,, 32768
                                       32768,, 0 } }
  }




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  Default_Single_Ref_Cdf[[ REF_CONTEXTS ][ SINGLE_REFS - 1 ][ 3 ] = {
    { { 4897
        4897,, 32768
               32768,, 0 }, { 1555
                              1555,, 32768
                                     32768,, 0 }, { 4236
                                                    4236,, 32768
                                                           32768,, 0 },
      { 8650
        8650,, 32768
               32768,, 0 }, { 904
                              904,, 32768
                                    32768,, 0 }, { 1444
                                                   1444,, 32768
                                                          32768,, 0 } },
    { { 16973
        16973,, 32768
                32768,, 0 }, { 16751
                               16751,, 32768
                                       32768,, 0 }, { 19647
                                                      19647,, 32768
                                                              32768,, 0 },
      { 24773
        24773,, 32768
                32768,, 0 }, { 11014
                               11014,, 32768
                                       32768,, 0 }, { 15087
                                                      15087,, 32768
                                                              32768,, 0 } },
    { { 29744
        29744,, 32768
                32768,, 0 }, { 30279
                               30279,, 32768
                                       32768,, 0 }, { 31194
                                                      31194,, 32768
                                                              32768,, 0 },
      { 31895
        31895,, 32768
                32768,, 0 }, { 26875
                               26875,, 32768
                                       32768,, 0 }, { 30304
                                                      30304,, 32768
                                                              32768,, 0 } }
  }




  Default_Compound_Mode_Cdf[[ COMPOUND_MODE_CONTEXTS ][ COMPOUND_MODES + 1 ] = {
    { 7760
      7760,, 13823
             13823,, 15808
                     15808,, 17641
                             17641,, 19156
                                     19156,, 20666
                                             20666,, 26891
                                                     26891,, 32768
                                                             32768,, 0 },
    { 10730
      10730,, 19452
              19452,, 21145
                      21145,, 22749
                              22749,, 24039
                                      24039,, 25131
                                              25131,, 28724
                                                      28724,, 32768
                                                              32768,, 0 },
    { 10664
      10664,, 20221
              20221,, 21588
                      21588,, 22906
                              22906,, 24295
                                      24295,, 25387
                                              25387,, 28436
                                                      28436,, 32768
                                                              32768,, 0 },
    { 13298
      13298,, 16984
              16984,, 20471
                      20471,, 24182
                              24182,, 25067
                                      25067,, 25736
                                              25736,, 26422
                                                      26422,, 32768
                                                              32768,, 0 },
    { 18904
      18904,, 23325
              23325,, 25242
                      25242,, 27432
                              27432,, 27898
                                      27898,, 28258
                                              28258,, 30758
                                                      30758,, 32768
                                                              32768,, 0 },
    { 10725
      10725,, 17454
              17454,, 20124
                      20124,, 22820
                              22820,, 24195
                                      24195,, 25168
                                              25168,, 26046
                                                      26046,, 32768
                                                              32768,, 0 },
    { 17125
      17125,, 24273
              24273,, 25814
                      25814,, 27492
                              27492,, 28214
                                      28214,, 28704
                                              28704,, 30592
                                                      30592,, 32768
                                                              32768,, 0 },
    { 13046
      13046,, 23214
              23214,, 24505
                      24505,, 25942
                              25942,, 27435
                                      27435,, 28442
                                              28442,, 29330
                                                      29330,, 32768
                                                              32768,, 0 }
  }




  Default_Interp_Filter_Cdf[[ INTERP_FILTER_CONTEXTS ][ INTERP_FILTERS + 1 ] = {
    { 31935
      31935,, 32720
              32720,, 32768
                      32768,, 0 },
    { 5568
      5568,, 32719
             32719,, 32768
                     32768,, 0 },
    { 422
      422,, 2938
            2938,, 32768
                   32768,, 0 },
    { 28244
      28244,, 32608
              32608,, 32768
                      32768,, 0 },
    { 31206
      31206,, 31953
              31953,, 32768
                      32768,, 0 },
    { 4862
      4862,, 32121
             32121,, 32768
                     32768,, 0 },
    { 770
      770,, 1152
            1152,, 32768
                   32768,, 0 },
    { 20889
      20889,, 25637
              25637,, 32768
                      32768,, 0 },
    { 31910
      31910,, 32724
              32724,, 32768
                      32768,, 0 },
    { 4120
      4120,, 32712
             32712,, 32768
                     32768,, 0 },
    { 305
      305,, 2247
            2247,, 32768
                   32768,, 0 },
    { 27403
      27403,, 32636
              32636,, 32768
                      32768,, 0 },
    { 31022
      31022,, 32009
              32009,, 32768
                      32768,, 0 },
    { 2963
      2963,, 32093
             32093,, 32768
                     32768,, 0 },
    { 601
      601,, 943
            943,, 32768
                  32768,, 0 },
    { 14969
      14969,, 21398
              21398,, 32768
                      32768,, 0 }
  }




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  Default_Motion_Mode_Cdf[[ BLOCK_SIZES ][ MOTION_MODES + 1 ] = {
    { 10923
      10923,, 21845
              21845,, 32768
                      32768,, 0 },
    { 10923
      10923,, 21845
              21845,, 32768
                      32768,, 0 },
    { 10923
      10923,, 21845
              21845,, 32768
                      32768,, 0 },
    { 7651
      7651,, 24760
             24760,, 32768
                     32768,, 0 },
    { 4738
      4738,, 24765
             24765,, 32768
                     32768,, 0 },
    { 5391
      5391,, 25528
             25528,, 32768
                     32768,, 0 },
    { 19419
      19419,, 26810
              26810,, 32768
                      32768,, 0 },
    { 5123
      5123,, 23606
             23606,, 32768
                     32768,, 0 },
    { 11606
      11606,, 24308
              24308,, 32768
                      32768,, 0 },
    { 26260
      26260,, 29116
              29116,, 32768
                      32768,, 0 },
    { 20360
      20360,, 28062
              28062,, 32768
                      32768,, 0 },
    { 21679
      21679,, 26830
              26830,, 32768
                      32768,, 0 },
    { 29516
      29516,, 30701
              30701,, 32768
                      32768,, 0 },
    { 28898
      28898,, 30397
              30397,, 32768
                      32768,, 0 },
    { 30878
      30878,, 31335
              31335,, 32768
                      32768,, 0 },
    { 32507
      32507,, 32558
              32558,, 32768
                      32768,, 0 },
    { 10923
      10923,, 21845
              21845,, 32768
                      32768,, 0 },
    { 10923
      10923,, 21845
              21845,, 32768
                      32768,, 0 },
    { 28799
      28799,, 31390
              31390,, 32768
                      32768,, 0 },
    { 26431
      26431,, 30774
              30774,, 32768
                      32768,, 0 },
    { 28973
      28973,, 31594
              31594,, 32768
                      32768,, 0 },
    { 29742
      29742,, 31203
              31203,, 32768
                      32768,, 0 }
  }



   Note: Indices 0 to 2 and 16 to 17 inclusive are never used in the first dimension of the Default_Motion_Mode_Cdf
   CDF table.



  Default_Mv_Joint_Cdf[[ MV_JOINTS + 1 ] = {
    4096
    4096,, 11264
           11264,, 19328
                   19328,, 32768
                           32768,, 0
  }




  Default_Mv_Class_Cdf[[ 2 ][ MV_CLASSES + 1 ] = {
    { 28672
      28672,, 30976
              30976,, 31858
                      31858,, 32320
                              32320,,
      32551
      32551,, 32656
              32656,, 32740
                      32740,, 32757
                              32757,,
      32762
      32762,, 32767
              32767,, 32768
                      32768,, 0 },
    { 28672
      28672,, 30976
              30976,, 31858
                      31858,, 32320
                              32320,,
      32551
      32551,, 32656
              32656,, 32740
                      32740,, 32757
                              32757,,
      32762
      32762,, 32767
              32767,, 32768
                      32768,, 0 }
  }




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  Default_Mv_Class0_Fr_Cdf[[ 2 ][ CLASS0_SIZE ][ MV_JOINTS + 1 ] = {
    { { 16384
        16384,, 24576
                24576,, 26624
                        26624,, 32768
                                32768,, 0 },
      { 12288
        12288,, 21248
                21248,, 24128
                        24128,, 32768
                                32768,, 0 } },
    { { 16384
        16384,, 24576
                24576,, 26624
                        26624,, 32768
                                32768,, 0 },
      { 12288
        12288,, 21248
                21248,, 24128
                        24128,, 32768
                                32768,, 0 } },
  }




  Default_Mv_Fr_Cdf[[ 2 ][ MV_JOINTS + 1 ] = {
    { 8192
      8192,, 17408
             17408,, 21248
                     21248,, 32768
                             32768,, 0 },
    { 8192
      8192,, 17408
             17408,, 21248
                     21248,, 32768
                             32768,, 0 },
  }




  Default_Palette_Y_Size_Cdf[[ PALETTE_BLOCK_SIZE_CONTEXTS ][ PALETTE_SIZES + 1 ] = {
    { 7952
      7952,, 13000
             13000,, 18149
                     18149,, 21478
                             21478,, 25527
                                     25527,, 29241
                                             29241,, 32768
                                                     32768,, 0 },
    { 7139
      7139,, 11421
             11421,, 16195
                     16195,, 19544
                             19544,, 23666
                                     23666,, 28073
                                             28073,, 32768
                                                     32768,, 0 },
    { 7788
      7788,, 12741
             12741,, 17325
                     17325,, 20500
                             20500,, 24315
                                     24315,, 28530
                                             28530,, 32768
                                                     32768,, 0 },
    { 8271
      8271,, 14064
             14064,, 18246
                     18246,, 21564
                             21564,, 25071
                                     25071,, 28533
                                             28533,, 32768
                                                     32768,, 0 },
    { 12725
      12725,, 19180
              19180,, 21863
                      21863,, 24839
                              24839,, 27535
                                      27535,, 30120
                                              30120,, 32768
                                                      32768,, 0 },
    { 9711
      9711,, 14888
             14888,, 16923
                     16923,, 21052
                             21052,, 25661
                                     25661,, 27875
                                             27875,, 32768
                                                     32768,, 0 },
    { 14940
      14940,, 20797
              20797,, 21678
                      21678,, 24186
                              24186,, 27033
                                      27033,, 28999
                                              28999,, 32768
                                                      32768,, 0 }
  }




  Default_Palette_Uv_Size_Cdf[[ PALETTE_BLOCK_SIZE_CONTEXTS ][ PALETTE_SIZES + 1 ] = {
    { 8713
      8713,, 19979
             19979,, 27128
                     27128,, 29609
                             29609,, 31331
                                     31331,, 32272
                                             32272,, 32768
                                                     32768,, 0 },
    { 5839
      5839,, 15573
             15573,, 23581
                     23581,, 26947
                             26947,, 29848
                                     29848,, 31700
                                             31700,, 32768
                                                     32768,, 0 },
    { 4426
      4426,, 11260
             11260,, 17999
                     17999,, 21483
                             21483,, 25863
                                     25863,, 29430
                                             29430,, 32768
                                                     32768,, 0 },
    { 3228
      3228,, 9464
             9464,, 14993
                    14993,, 18089
                            18089,, 22523
                                    22523,, 27420
                                            27420,, 32768
                                                    32768,, 0 },
    { 3768
      3768,, 8886
             8886,, 13091
                    13091,, 17852
                            17852,, 22495
                                    22495,, 27207
                                            27207,, 32768
                                                    32768,, 0 },
    { 2464
      2464,, 8451
             8451,, 12861
                    12861,, 21632
                            21632,, 25525
                                    25525,, 28555
                                            28555,, 32768
                                                    32768,, 0 },
    { 1269
      1269,, 5435
             5435,, 10433
                    10433,, 18963
                            18963,, 21700
                                    21700,, 25865
                                            25865,, 32768
                                                    32768,, 0 }
  }




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  Default_Palette_Size_2_Y_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 3 ] = {
    { 28710
      28710,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 10553
      10553,, 32768
              32768,, 0 },
    { 27036
      27036,, 32768
              32768,, 0 },
    { 31603
      31603,, 32768
              32768,, 0 }
  }

  Default_Palette_Size_3_Y_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 4 ] = {
    { 27877
      27877,, 30490
              30490,, 32768
                      32768,, 0 },
    { 11532
      11532,, 25697
              25697,, 32768
                      32768,, 0 },
    { 6544
      6544,, 30234
             30234,, 32768
                     32768,, 0 },
    { 23018
      23018,, 28072
              28072,, 32768
                      32768,, 0 },
    { 31915
      31915,, 32385
              32385,, 32768
                      32768,, 0 }
  }

  Default_Palette_Size_4_Y_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 5 ] = {
    { 25572
      25572,, 28046
              28046,, 30045
                      30045,, 32768
                              32768,, 0 },
    { 9478
      9478,, 21590
             21590,, 27256
                     27256,, 32768
                             32768,, 0 },
    { 7248
      7248,, 26837
             26837,, 29824
                     29824,, 32768
                             32768,, 0 },
    { 19167
      19167,, 24486
              24486,, 28349
                      28349,, 32768
                              32768,, 0 },
    { 31400
      31400,, 31825
              31825,, 32250
                      32250,, 32768
                              32768,, 0 }
  }

  Default_Palette_Size_5_Y_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 6 ] = {
    { 24779
      24779,, 26955
              26955,, 28576
                      28576,, 30282
                              30282,, 32768
                                      32768,, 0 },
    { 8669
      8669,, 20364
             20364,, 24073
                     24073,, 28093
                             28093,, 32768
                                     32768,, 0 },
    { 4255
      4255,, 27565
             27565,, 29377
                     29377,, 31067
                             31067,, 32768
                                     32768,, 0 },
    { 19864
      19864,, 23674
              23674,, 26716
                      26716,, 29530
                              29530,, 32768
                                      32768,, 0 },
    { 31646
      31646,, 31893
              31893,, 32147
                      32147,, 32426
                              32426,, 32768
                                      32768,, 0 }
  }

  Default_Palette_Size_6_Y_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 7 ] = {
    { 23132
      23132,, 25407
              25407,, 26970
                      26970,, 28435
                              28435,, 30073
                                      30073,, 32768
                                              32768,, 0 },
    { 7443
      7443,, 17242
             17242,, 20717
                     20717,, 24762
                             24762,, 27982
                                     27982,, 32768
                                             32768,, 0 },
    { 6300
      6300,, 24862
             24862,, 26944
                     26944,, 28784
                             28784,, 30671
                                     30671,, 32768
                                             32768,, 0 },
    { 18916
      18916,, 22895
              22895,, 25267
                      25267,, 27435
                              27435,, 29652
                                      29652,, 32768
                                              32768,, 0 },
    { 31270
      31270,, 31550
              31550,, 31808
                      31808,, 32059
                              32059,, 32353
                                      32353,, 32768
                                              32768,, 0 }
  }

  Default_Palette_Size_7_Y_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 8 ] = {
    { 23105
      23105,, 25199
              25199,, 26464
                      26464,, 27684
                              27684,, 28931
                                      28931,, 30318
                                              30318,, 32768
                                                      32768,, 0 },
    { 6950
      6950,, 15447
             15447,, 18952
                     18952,, 22681
                             22681,, 25567
                                     25567,, 28563
                                             28563,, 32768
                                                     32768,, 0 },
    { 7560
      7560,, 23474
             23474,, 25490
                     25490,, 27203
                             27203,, 28921
                                     28921,, 30708
                                             30708,, 32768
                                                     32768,, 0 },
    { 18544
      18544,, 22373
              22373,, 24457
                      24457,, 26195
                              26195,, 28119
                                      28119,, 30045
                                              30045,, 32768
                                                      32768,, 0 },
    { 31198
      31198,, 31451
              31451,, 31670
                      31670,, 31882
                              31882,, 32123
                                      32123,, 32391
                                              32391,, 32768
                                                      32768,, 0 }
  }

  Default_Palette_Size_8_Y_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 9 ] = {
    { 21689
      21689,, 23883
              23883,, 25163
                      25163,, 26352
                              26352,, 27506
                                      27506,, 28827
                                              28827,, 30195
                                                      30195,, 32768
                                                              32768,, 0 },




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      { 6892
        6892,, 15385
               15385,, 17840
                       17840,, 21606
                               21606,, 24287
                                       24287,, 26753
                                               26753,, 29204
                                                       29204,, 32768
                                                               32768,, 0 },
      { 5651
        5651,, 23182
               23182,, 25042
                       25042,, 26518
                               26518,, 27982
                                       27982,, 29392
                                               29392,, 30900
                                                       30900,, 32768
                                                               32768,, 0 },
      { 19349
        19349,, 22578
                22578,, 24418
                        24418,, 25994
                                25994,, 27524
                                        27524,, 29031
                                                29031,, 30448
                                                        30448,, 32768
                                                                32768,, 0 },
      { 31028
        31028,, 31270
                31270,, 31504
                        31504,, 31705
                                31705,, 31927
                                        31927,, 32153
                                                32153,, 32392
                                                        32392,, 32768
                                                                32768,, 0 }
  }




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  Default_Palette_Size_2_Uv_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 3 ] = {
    { 29089
      29089,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 8713
      8713,, 32768
             32768,, 0 },
    { 29257
      29257,, 32768
              32768,, 0 },
    { 31610
      31610,, 32768
              32768,, 0 }
  }

  Default_Palette_Size_3_Uv_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 4 ] = {
    { 25257
      25257,, 29145
              29145,, 32768
                      32768,, 0 },
    { 12287
      12287,, 27293
              27293,, 32768
                      32768,, 0 },
    { 7033
      7033,, 27960
             27960,, 32768
                     32768,, 0 },
    { 20145
      20145,, 25405
              25405,, 32768
                      32768,, 0 },
    { 30608
      30608,, 31639
              31639,, 32768
                      32768,, 0 }
  }

  Default_Palette_Size_4_Uv_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 5 ] = {
    { 24210
      24210,, 27175
              27175,, 29903
                      29903,, 32768
                              32768,, 0 },
    { 9888
      9888,, 22386
             22386,, 27214
                     27214,, 32768
                             32768,, 0 },
    { 5901
      5901,, 26053
             26053,, 29293
                     29293,, 32768
                             32768,, 0 },
    { 18318
      18318,, 22152
              22152,, 28333
                      28333,, 32768
                              32768,, 0 },
    { 30459
      30459,, 31136
              31136,, 31926
                      31926,, 32768
                              32768,, 0 }
  }

  Default_Palette_Size_5_Uv_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 6 ] = {
    { 22980
      22980,, 25479
              25479,, 27781
                      27781,, 29986
                              29986,, 32768
                                      32768,, 0 },
    { 8413
      8413,, 21408
             21408,, 24859
                     24859,, 28874
                             28874,, 32768
                                     32768,, 0 },
    { 2257
      2257,, 29449
             29449,, 30594
                     30594,, 31598
                             31598,, 32768
                                     32768,, 0 },
    { 19189
      19189,, 21202
              21202,, 25915
                      25915,, 28620
                              28620,, 32768
                                      32768,, 0 },
    { 31844
      31844,, 32044
              32044,, 32281
                      32281,, 32518
                              32518,, 32768
                                      32768,, 0 }
  }

  Default_Palette_Size_6_Uv_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 7 ] = {
    { 22217
      22217,, 24567
              24567,, 26637
                      26637,, 28683
                              28683,, 30548
                                      30548,, 32768
                                              32768,, 0 },
    { 7307
      7307,, 16406
             16406,, 19636
                     19636,, 24632
                             24632,, 28424
                                     28424,, 32768
                                             32768,, 0 },
    { 4441
      4441,, 25064
             25064,, 26879
                     26879,, 28942
                             28942,, 30919
                                     30919,, 32768
                                             32768,, 0 },
    { 17210
      17210,, 20528
              20528,, 23319
                      23319,, 26750
                              26750,, 29582
                                      29582,, 32768
                                              32768,, 0 },
    { 30674
      30674,, 30953
              30953,, 31396
                      31396,, 31735
                              31735,, 32207
                                      32207,, 32768
                                              32768,, 0 }
  }

  Default_Palette_Size_7_Uv_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 8 ] = {
    { 21239
      21239,, 23168
              23168,, 25044
                      25044,, 26962
                              26962,, 28705
                                      28705,, 30506
                                              30506,, 32768
                                                      32768,, 0 },
    { 6545
      6545,, 15012
             15012,, 18004
                     18004,, 21817
                             21817,, 25503
                                     25503,, 28701
                                             28701,, 32768
                                                     32768,, 0 },
    { 3448
      3448,, 26295
             26295,, 27437
                     27437,, 28704
                             28704,, 30126
                                     30126,, 31442
                                             31442,, 32768
                                                     32768,, 0 },
    { 15889
      15889,, 18323
              18323,, 21704
                      21704,, 24698
                              24698,, 26976
                                      26976,, 29690
                                              29690,, 32768
                                                      32768,, 0 },
    { 30988
      30988,, 31204
              31204,, 31479
                      31479,, 31734
                              31734,, 31983
                                      31983,, 32325
                                              32325,, 32768
                                                      32768,, 0 }
  }

  Default_Palette_Size_8_Uv_Color_Cdf[[ PALETTE_COLOR_CONTEXTS ][ 9 ] = {
    { 21442
      21442,, 23288
              23288,, 24758
                      24758,, 26246
                              26246,, 27649
                                      27649,, 28980
                                              28980,, 30563
                                                      30563,, 32768
                                                              32768,, 0 },




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      { 5863
        5863,, 14933
               14933,, 17552
                       17552,, 20668
                               20668,, 23683
                                       23683,, 26411
                                               26411,, 29273
                                                       29273,, 32768
                                                               32768,, 0 },
      { 3415
        3415,, 25810
               25810,, 26877
                       26877,, 27990
                               27990,, 29223
                                       29223,, 30394
                                               30394,, 31618
                                                       31618,, 32768
                                                               32768,, 0 },
      { 17965
        17965,, 20084
                20084,, 22232
                        22232,, 23974
                                23974,, 26274
                                        26274,, 28402
                                                28402,, 30390
                                                        30390,, 32768
                                                                32768,, 0 },
      { 31190
        31190,, 31329
                31329,, 31516
                        31516,, 31679
                                31679,, 31825
                                        31825,, 32026
                                                32026,, 32322
                                                        32322,, 32768
                                                                32768,, 0 }
  }




  Default_Palette_Y_Mode_Cdf[[ PALETTE_BLOCK_SIZE_CONTEXTS ][ PALETTE_Y_MODE_CONTEXTS ][ 3 ] = {
    { { 31676
        31676,, 32768
                32768,, 0 }, { 3419
                               3419,, 32768
                                      32768,, 0 }, { 1261
                                                     1261,, 32768
                                                            32768,, 0 } },
    { { 31912
        31912,, 32768
                32768,, 0 }, { 2859
                               2859,, 32768
                                      32768,, 0 }, {  980
                                                      980,, 32768
                                                            32768,, 0 } },
    { { 31823
        31823,, 32768
                32768,, 0 }, { 3400
                               3400,, 32768
                                      32768,, 0 }, {  781
                                                      781,, 32768
                                                            32768,, 0 } },
    { { 32030
        32030,, 32768
                32768,, 0 }, { 3561
                               3561,, 32768
                                      32768,, 0 }, {  904
                                                      904,, 32768
                                                            32768,, 0 } },
    { { 32309
        32309,, 32768
                32768,, 0 }, { 7337
                               7337,, 32768
                                      32768,, 0 }, { 1462
                                                     1462,, 32768
                                                            32768,, 0 } },
    { { 32265
        32265,, 32768
                32768,, 0 }, { 4015
                               4015,, 32768
                                      32768,, 0 }, { 1521
                                                     1521,, 32768
                                                            32768,, 0 } },
    { { 32450
        32450,, 32768
                32768,, 0 }, { 7946
                               7946,, 32768
                                      32768,, 0 }, {  129
                                                      129,, 32768
                                                            32768,, 0 } }
  }




  Default_Palette_Uv_Mode_Cdf[[ PALETTE_UV_MODE_CONTEXTS ][ 3 ] = {
    { 32461
      32461,, 32768
              32768,, 0 }, { 21488
                             21488,, 32768
                                     32768,, 0 }
  }




  Default_Delta_Q_Cdf[[ DELTA_Q_SMALL + 2 ] = {
    28160
    28160,, 32120
            32120,, 32677
                    32677,, 32768
                            32768,, 0
  }




  Default_Delta_Lf_Cdf[[ DELTA_LF_SMALL + 2 ] = {
    28160
    28160,, 32120
            32120,, 32677
                    32677,, 32768
                            32768,, 0
  }




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  Default_Intra_Tx_Type_Set1_Cdf[[ 2 ][ INTRA_MODES ][ 8 ] = {
      {
          { 1535
            1535,, 8035
                   8035,, 9461
                          9461,, 12751
                                 12751,, 23467
                                         23467,, 27825
                                                 27825,, 32768
                                                         32768,, 0 },
          { 564
            564,, 3335
                  3335,, 9709
                         9709,, 10870
                                10870,, 18143
                                        18143,, 28094
                                                28094,, 32768
                                                        32768,, 0 },
          { 672
            672,, 3247
                  3247,, 3676
                         3676,, 11982
                                11982,, 19415
                                        19415,, 23127
                                                23127,, 32768
                                                        32768,, 0 },
          { 5279
            5279,, 13885
                   13885,, 15487
                           15487,, 18044
                                   18044,, 23527
                                           23527,, 30252
                                                   30252,, 32768
                                                           32768,, 0 },
          { 4423
            4423,, 6074
                   6074,, 7985
                          7985,, 10416
                                 10416,, 25693
                                         25693,, 29298
                                                 29298,, 32768
                                                         32768,, 0 },
          { 1486
            1486,, 4241
                   4241,, 9460
                          9460,, 10662
                                 10662,, 16456
                                         16456,, 27694
                                                 27694,, 32768
                                                         32768,, 0 },
          { 439
            439,, 2838
                  2838,, 3522
                         3522,, 6737
                                6737,, 18058
                                       18058,, 23754
                                               23754,, 32768
                                                       32768,, 0 },
          { 1190
            1190,, 4233
                   4233,, 4855
                          4855,, 11670
                                 11670,, 20281
                                         20281,, 24377
                                                 24377,, 32768
                                                         32768,, 0 },
          { 1045
            1045,, 4312
                   4312,, 8647
                          8647,, 10159
                                 10159,, 18644
                                         18644,, 29335
                                                 29335,, 32768
                                                         32768,, 0 },
          { 202
            202,, 3734
                  3734,, 4747
                         4747,, 7298
                                7298,, 17127
                                       17127,, 24016
                                               24016,, 32768
                                                       32768,, 0 },
          { 447
            447,, 4312
                  4312,, 6819
                         6819,, 8884
                                8884,, 16010
                                       16010,, 23858
                                               23858,, 32768
                                                       32768,, 0 },
          { 277
            277,, 4369
                  4369,, 5255
                         5255,, 8905
                                8905,, 16465
                                       16465,, 22271
                                               22271,, 32768
                                                       32768,, 0 },
          { 3409
            3409,, 5436
                   5436,, 10599
                          10599,, 15599
                                  15599,, 19687
                                          19687,, 24040
                                                  24040,, 32768
                                                          32768,, 0 }
      },
      {
          { 1870
            1870,, 13742
                   13742,, 14530
                           14530,, 16498
                                   16498,, 23770
                                           23770,, 27698
                                                   27698,, 32768
                                                           32768,, 0 },
          { 326
            326,, 8796
                  8796,, 14632
                         14632,, 15079
                                 15079,, 19272
                                         19272,, 27486
                                                 27486,, 32768
                                                         32768,, 0 },
          { 484
            484,, 7576
                  7576,, 7712
                         7712,, 14443
                                14443,, 19159
                                        19159,, 22591
                                                22591,, 32768
                                                        32768,, 0 },
          { 1126
            1126,, 15340
                   15340,, 15895
                           15895,, 17023
                                   17023,, 20896
                                           20896,, 30279
                                                   30279,, 32768
                                                           32768,, 0 },
          { 655
            655,, 4854
                  4854,, 5249
                         5249,, 5913
                                5913,, 22099
                                       22099,, 27138
                                               27138,, 32768
                                                       32768,, 0 },
          { 1299
            1299,, 6458
                   6458,, 8885
                          8885,, 9290
                                 9290,, 14851
                                        14851,, 25497
                                                25497,, 32768
                                                        32768,, 0 },
          { 311
            311,, 5295
                  5295,, 5552
                         5552,, 6885
                                6885,, 16107
                                       16107,, 22672
                                               22672,, 32768
                                                       32768,, 0 },
          { 883
            883,, 8059
                  8059,, 8270
                         8270,, 11258
                                11258,, 17289
                                        17289,, 21549
                                                21549,, 32768
                                                        32768,, 0 },
          { 741
            741,, 7580
                  7580,, 9318
                         9318,, 10345
                                10345,, 16688
                                        16688,, 29046
                                                29046,, 32768
                                                        32768,, 0 },
          { 110
            110,, 7406
                  7406,, 7915
                         7915,, 9195
                                9195,, 16041
                                       16041,, 23329
                                               23329,, 32768
                                                       32768,, 0 },
          { 363
            363,, 7974
                  7974,, 9357
                         9357,, 10673
                                10673,, 15629
                                        15629,, 24474
                                                24474,, 32768
                                                        32768,, 0 },
          { 153
            153,, 7647
                  7647,, 8112
                         8112,, 9936
                                9936,, 15307
                                       15307,, 19996
                                               19996,, 32768
                                                       32768,, 0 },
          { 3511
            3511,, 6332
                   6332,, 11165
                          11165,, 15335
                                  15335,, 19323
                                          19323,, 23594
                                                  23594,, 32768
                                                          32768,, 0 }
      }
  }




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  Default_Intra_Tx_Type_Set2_Cdf[[ 3 ][ INTRA_MODES ][ 6 ] = {
      {
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 }
      },
      {
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 },
          { 6554
            6554,, 13107
                   13107,, 19661
                           19661,, 26214
                                   26214,, 32768
                                           32768,, 0 }
      },
      {
          { 1127
            1127,, 12814
                   12814,, 22772
                           22772,, 27483
                                   27483,, 32768
                                           32768,, 0 },
          { 145
            145,, 6761
                  6761,, 11980
                         11980,, 26667
                                 26667,, 32768
                                         32768,, 0 },
          { 362
            362,, 5887
                  5887,, 11678
                         11678,, 16725
                                 16725,, 32768
                                         32768,, 0 },
          { 385
            385,, 15213
                  15213,, 18587
                          18587,, 30693
                                  30693,, 32768
                                          32768,, 0 },
          { 25
            25,, 2914
                 2914,, 23134
                        23134,, 27903
                                27903,, 32768
                                        32768,, 0 },
          { 60
            60,, 4470
                 4470,, 11749
                        11749,, 23991
                                23991,, 32768
                                        32768,, 0 },
          { 37
            37,, 3332
                 3332,, 14511
                        14511,, 21448
                                21448,, 32768
                                        32768,, 0 },
          { 157
            157,, 6320
                  6320,, 13036
                         13036,, 17439
                                 17439,, 32768
                                         32768,, 0 },
          { 119
            119,, 6719
                  6719,, 12906
                         12906,, 29396
                                 29396,, 32768
                                         32768,, 0 },
          { 47
            47,, 5537
                 5537,, 12576
                        12576,, 21499
                                21499,, 32768
                                        32768,, 0 },
          { 269
            269,, 6076
                  6076,, 11258
                         11258,, 23115
                                 23115,, 32768
                                         32768,, 0 },
          { 83
            83,, 5615
                 5615,, 12001
                        12001,, 17228
                                17228,, 32768
                                        32768,, 0 },
          { 1968
            1968,, 5556
                   5556,, 12023
                          12023,, 18547
                                  18547,, 32768
                                          32768,, 0 }
      }
  }




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  Default_Inter_Tx_Type_Set1_Cdf[[ 2 ][ 17 ] = {
      { 4458
        4458,, 5560
               5560,, 7695
                      7695,, 9709
                             9709,, 13330
                                    13330,, 14789
                                            14789,, 17537
                                                    17537,, 20266
                                                            20266,, 21504
                                                                     21504,,
        22848
        22848,, 23934
                23934,, 25474
                        25474,, 27727
                                27727,, 28915
                                         28915,, 30631
                                                 30631,, 32768
                                                         32768,, 0 },
      { 1645
        1645,, 2573
               2573,, 4778
                      4778,, 5711
                             5711,, 7807
                                    7807,, 8622
                                           8622,, 10522
                                                  10522,, 15357
                                                          15357,, 17674
                                                                  17674,,
        20408
        20408,, 22517
                22517,, 25010
                        25010,, 27116
                                27116,, 28856
                                         28856,, 30749
                                                 30749,, 32768
                                                         32768,, 0 }
  }




  Default_Inter_Tx_Type_Set2_Cdf[[ 13 ] = {
      770
      770,, 2421
            2421,, 5225
                   5225,, 12907
                          12907,, 15819
                                  15819,, 18927
                                          18927,, 21561
                                                  21561,, 24089
                                                          24089,, 26595
                                                                  26595,,
      28526
      28526,, 30529
              30529,, 32768
                      32768,, 0
  }




  Default_Inter_Tx_Type_Set3_Cdf[[ 4 ][ 3 ] = {
      { 16384
        16384,, 32768
                32768,, 0 },
      { 4167
        4167,, 32768
               32768,, 0 },
      { 1998
        1998,, 32768
               32768,, 0 },
      { 748
        748,, 32768
              32768,, 0 }
  }




  Default_Compound_Idx_Cdf[[ COMPOUND_IDX_CONTEXTS ][ 3 ] = {
    { 18244
      18244,, 32768
              32768,, 0 },
    { 12865
      12865,, 32768
              32768,, 0 },
    { 7053
      7053,, 32768
              32768,, 0 },
    { 13259
      13259,, 32768
              32768,, 0 },
    { 9334
      9334,, 32768
              32768,, 0 },
    { 4644
      4644,, 32768
              32768,, 0 }
  }




  Default_Comp_Group_Idx_Cdf[[ COMP_GROUP_IDX_CONTEXTS ][ 3 ] = {
    { 26607
      26607,, 32768
              32768,, 0 },
    { 22891
      22891,, 32768
              32768,, 0 },
    { 18840
      18840,, 32768
              32768,, 0 },
    { 24594
      24594,, 32768
              32768,, 0 },
    { 19934
      19934,, 32768
              32768,, 0 },
    { 22674
      22674,, 32768
              32768,, 0 }
  }




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  Default_Compound_Type_Cdf[[ BLOCK_SIZES ][ COMPOUND_TYPES + 1 ] = {
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 23431
      23431,, 32768
              32768,, 0 },
    { 13171
      13171,, 32768
              32768,, 0 },
    { 11470
      11470,, 32768
              32768,, 0 },
    { 9770
      9770,, 32768
             32768,, 0 },
    { 9100
      9100,, 32768
             32768,, 0 },
    { 8233
      8233,, 32768
             32768,, 0 },
    { 6172
      6172,, 32768
             32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 11820
      11820,, 32768
              32768,, 0 },
    { 7701
      7701,, 32768
             32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 }
  }



   Note: Indices 0 to 2, 10 to 17, and 20 to 21 inclusive are never used in the first dimension of the
   Default_Compound_Type_Cdf CDF table.



  Default_Inter_Intra_Cdf[[ BLOCK_SIZE_GROUPS - 1 ][ 3 ] = {
    { 26887
      26887,, 32768
              32768,, 0},
    { 27597
      27597,, 32768
              32768,, 0},
    { 30237
      30237,, 32768
              32768,, 0}
  }




  Default_Inter_Intra_Mode_Cdf[[ BLOCK_SIZE_GROUPS - 1 ][ INTERINTRA_MODES + 1 ] = {
    { 1875
      1875,, 11082
             11082,, 27332
                     27332,, 32768
                             32768,, 0 },
    { 2473
      2473,, 9996
             9996,, 26388
                    26388,, 32768
                            32768,, 0 },
    { 4238
      4238,, 11537
             11537,, 25926
                     25926,, 32768
                             32768,, 0 }
  }




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  Default_Wedge_Index_Cdf[[ BLOCK_SIZES ][ 16   16++1 ] = {
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2438
      2438,, 4440
             4440,, 6599
                    6599,, 8663
                           8663,, 11005
                                  11005,, 12874
                                          12874,, 15751
                                                   15751,, 18094
                                                           18094,, 20359
                                                                   20359,, 22362
                                                                            22362,, 24127
                                                                                    24127,, 25702
                                                                                            25702,, 27752
                                                                                                     27752,, 29450
                                                                                                             29450,,
  31171
  31171,, 32768
          32768,, 0 },
    { 806
      806,, 3266
            3266,, 6005
                   6005,, 6738
                          6738,, 7218
                                 7218,, 7367
                                        7367,, 7771
                                               7771,, 14588
                                                      14588,, 16323
                                                               16323,, 17367
                                                                       17367,, 18452
                                                                               18452,, 19422
                                                                                        19422,, 22839
                                                                                                22839,, 26127
                                                                                                        26127,, 29629
                                                                                                                 29629,,
  32768
  32768,, 0 },
    { 2779
      2779,, 3738
             3738,, 4683
                    4683,, 7213
                           7213,, 7775
                                  7775,, 8017
                                         8017,, 8655
                                                8655,, 14357
                                                       14357,, 17939
                                                                17939,, 21332
                                                                        21332,, 24520
                                                                                24520,, 27470
                                                                                         27470,, 29456
                                                                                                 29456,, 30529
                                                                                                         30529,, 31656
                                                                                                                   31656,,
  32768
  32768,, 0 },
    { 1684
      1684,, 3625
             3625,, 5675
                    5675,, 7108
                           7108,, 9302
                                  9302,, 11274
                                         11274,, 14429
                                                 14429,, 17144
                                                          17144,, 19163
                                                                  19163,, 20961
                                                                          20961,, 22884
                                                                                   22884,, 24471
                                                                                           24471,, 26719
                                                                                                   26719,, 28714
                                                                                                            28714,,
  30877
  30877,, 32768
          32768,, 0 },
    { 1142
      1142,, 3491
             3491,, 6277
                    6277,, 7314
                           7314,, 8089
                                  8089,, 8355
                                         8355,, 9023
                                                9023,, 13624
                                                       13624,, 15369
                                                                15369,, 16730
                                                                        16730,, 18114
                                                                                18114,, 19313
                                                                                         19313,, 22521
                                                                                                 22521,, 26012
                                                                                                         26012,, 29550
                                                                                                                   29550,,
  32768
  32768,, 0 },
    { 2742
      2742,, 4195
             4195,, 5727
                    5727,, 8035
                           8035,, 8980
                                  8980,, 9336
                                         9336,, 10146
                                                10146,, 14124
                                                         14124,, 17270
                                                                 17270,, 20533
                                                                         20533,, 23434
                                                                                  23434,, 25972
                                                                                          25972,, 27944
                                                                                                  27944,, 29570
                                                                                                           29570,,
  31416
  31416,, 32768
          32768,, 0 },
    { 1727
      1727,, 3948
             3948,, 6101
                    6101,, 7796
                           7796,, 9841
                                  9841,, 12344
                                         12344,, 15766
                                                 15766,, 18944
                                                          18944,, 20638
                                                                  20638,, 22038
                                                                          22038,, 23963
                                                                                   23963,, 25311
                                                                                           25311,, 26988
                                                                                                   26988,, 28766
                                                                                                            28766,,
  31012
  31012,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 154
      154,, 987
            987,, 1925
                  1925,, 2051
                         2051,, 2088
                                2088,, 2111
                                       2111,, 2151
                                              2151,, 23033
                                                     23033,, 23703
                                                             23703,, 24284
                                                                      24284,, 24985
                                                                              24985,, 25684
                                                                                      25684,, 27259
                                                                                               27259,, 28883
                                                                                                       28883,, 30911
                                                                                                               30911,,
  32768
  32768,, 0 },
    { 1135
      1135,, 1322
             1322,, 1493
                    1493,, 2635
                           2635,, 2696
                                  2696,, 2737
                                         2737,, 2770
                                                2770,, 21016
                                                       21016,, 22935
                                                                22935,, 25057
                                                                        25057,, 27251
                                                                                27251,, 29173
                                                                                         29173,, 30089
                                                                                                 30089,, 30960
                                                                                                         30960,, 31933
                                                                                                                   31933,,
  32768
  32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 },
    { 2048
      2048,, 4096
             4096,, 6144
                    6144,, 8192
                           8192,, 10240
                                  10240,, 12288
                                          12288,, 14336
                                                   14336,, 16384
                                                           16384,, 18432
                                                                   18432,, 20480
                                                                            20480,, 22528
                                                                                    22528,, 24576
                                                                                            24576,, 26624
                                                                                                     26624,, 28672
                                                                                                             28672,,
  30720
  30720,, 32768
          32768,, 0 }
  }




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   Note: Indices 0 to 2, 10 to 17, and 20 to 21 inclusive are never used in the first dimension of the
   Default_Wedge_Index_Cdf CDF table.



  Default_Wedge_Inter_Intra_Cdf[[ BLOCK_SIZES ][ 3 ] = {
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 20036
      20036,, 32768
              32768,, 0 },
    { 24957
      24957,, 32768
              32768,, 0 },
    { 26704
      26704,, 32768
              32768,, 0 },
    { 27530
      27530,, 32768
              32768,, 0 },
    { 29564
      29564,, 32768
              32768,, 0 },
    { 29444
      29444,, 32768
              32768,, 0 },
    { 26872
      26872,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 }
  }



   Note: Only indices 3 to 9 inclusive are used in the first dimension of the Default_Wedge_Inter_Intra_Cdf CDF
   table.




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  Default_Use_Obmc_Cdf[[ BLOCK_SIZES ][ 3 ] = {
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 10437
      10437,, 32768
              32768,, 0 },
    { 9371
      9371,, 32768
             32768,, 0 },
    { 9301
      9301,, 32768
             32768,, 0 },
    { 17432
      17432,, 32768
              32768,, 0 },
    { 14423
      14423,, 32768
              32768,, 0 },
    { 15142
      15142,, 32768
              32768,, 0 },
    { 25817
      25817,, 32768
              32768,, 0 },
    { 22823
      22823,, 32768
              32768,, 0 },
    { 22083
      22083,, 32768
              32768,, 0 },
    { 30128
      30128,, 32768
              32768,, 0 },
    { 31014
      31014,, 32768
              32768,, 0 },
    { 31560
      31560,, 32768
              32768,, 0 },
    { 32638
      32638,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 16384
      16384,, 32768
              32768,, 0 },
    { 23664
      23664,, 32768
              32768,, 0 },
    { 20901
      20901,, 32768
              32768,, 0 },
    { 24008
      24008,, 32768
              32768,, 0 },
    { 26879
      26879,, 32768
              32768,, 0 }
  }



   Note: Indices 0 to 2 and 16 to 17 inclusive are never used in the first dimension of the Default_Use_Obmc_Cdf
   CDF table.



  Default_Comp_Ref_Type_Cdf[[ COMP_REF_TYPE_CONTEXTS ][ 3 ] = {
    { 1198
      1198,, 32768
             32768,, 0 },
    { 2070
      2070,, 32768
             32768,, 0 },
    { 9166
      9166,, 32768
             32768,, 0 },
    { 7499
      7499,, 32768
             32768,, 0 },
    { 22475
      22475,, 32768
              32768,, 0 }
  }




  Default_Uni_Comp_Ref_Cdf[[ REF_CONTEXTS ][ UNIDIR_COMP_REFS - 1 ][ 3 ] = {
    { { 5284
        5284,, 32768
               32768,, 0 }, { 3865
                              3865,, 32768
                                     32768,, 0 }, { 3128
                                                    3128,, 32768
                                                           32768,, 0 } },
    { { 23152
        23152,, 32768
                32768,, 0 }, { 14173
                               14173,, 32768
                                       32768,, 0 }, { 15270
                                                      15270,, 32768
                                                              32768,, 0 } },
    { { 31774
        31774,, 32768
                32768,, 0 }, { 25120
                               25120,, 32768
                                       32768,, 0 }, { 26710
                                                      26710,, 32768
                                                              32768,, 0 } }
  }




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  Default_Cfl_Sign_Cdf[[ CFL_JOINT_SIGNS + 1 ] = {
    1418
    1418,, 2123
           2123,, 13340
                  13340,, 18405
                          18405,, 26972
                                  26972,, 28343
                                          28343,, 32294
                                                  32294,, 32768
                                                          32768,, 0
  }




  Default_Cfl_Alpha_Cdf[[ CFL_ALPHA_CONTEXTS ][ CFL_ALPHABET_SIZE + 1 ] = {
    { 7637
      7637,, 20719
             20719,, 31401
                     31401,, 32481
                             32481,, 32657
                                     32657,, 32688
                                             32688,, 32692
                                                     32692,, 32696
                                                             32696,, 32700
                                                                     32700,,
      32704
      32704,, 32708
              32708,, 32712
                      32712,, 32716
                              32716,, 32720
                                      32720,, 32724
                                              32724,, 32768
                                                      32768,, 0 },
    { 14365
      14365,, 23603
              23603,, 28135
                      28135,, 31168
                              31168,, 32167
                                      32167,, 32395
                                              32395,, 32487
                                                      32487,, 32573
                                                              32573,, 32620
                                                                      32620,,
      32647
      32647,, 32668
              32668,, 32672
                      32672,, 32676
                              32676,, 32680
                                      32680,, 32684
                                              32684,, 32768
                                                      32768,, 0 },
    { 11532
      11532,, 22380
              22380,, 28445
                      28445,, 31360
                              31360,, 32349
                                      32349,, 32523
                                              32523,, 32584
                                                      32584,, 32649
                                                              32649,, 32673
                                                                      32673,,
      32677
      32677,, 32681
              32681,, 32685
                      32685,, 32689
                              32689,, 32693
                                      32693,, 32697
                                              32697,, 32768
                                                      32768,, 0 },
    { 26990
      26990,, 31402
              31402,, 32282
                      32282,, 32571
                              32571,, 32692
                                      32692,, 32696
                                              32696,, 32700
                                                      32700,, 32704
                                                              32704,, 32708
                                                                      32708,,
      32712
      32712,, 32716
              32716,, 32720
                      32720,, 32724
                              32724,, 32728
                                      32728,, 32732
                                              32732,, 32768
                                                      32768,, 0 },
    { 17248
      17248,, 26058
              26058,, 28904
                      28904,, 30608
                              30608,, 31305
                                      31305,, 31877
                                              31877,, 32126
                                                      32126,, 32321
                                                              32321,, 32394
                                                                      32394,,
      32464
      32464,, 32516
              32516,, 32560
                      32560,, 32576
                              32576,, 32593
                                      32593,, 32622
                                              32622,, 32768
                                                      32768,, 0 },
    { 14738
      14738,, 21678
              21678,, 25779
                      25779,, 27901
                              27901,, 29024
                                      29024,, 30302
                                              30302,, 30980
                                                      30980,, 31843
                                                              31843,, 32144
                                                                      32144,,
      32413
      32413,, 32520
              32520,, 32594
                      32594,, 32622
                              32622,, 32656
                                      32656,, 32660
                                              32660,, 32768
                                                      32768,, 0 }
  }




  Default_Use_Wiener_Cdf[[ 2 + 1 ] = {
    11570
    11570,, 32768
            32768,, 0
  }




  Default_Use_Sgrproj_Cdf[[ 2 + 1 ] = {
    16855
    16855,, 32768
            32768,, 0
  }




  Default_Restoration_Type_Cdf[[ RESTORE_SWITCHABLE + 1 ] = {
    9413
    9413,, 22581
           22581,, 32768
                   32768,, 0
  }




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  Default_Txb_Skip_Cdf[[ COEFF_CDF_Q_CTXS ][ TX_SIZES ][ TXB_SKIP_CONTEXTS ][ 3 ] = {
    {
      { { 31849
          31849,, 32768
                  32768,, 0 },
        { 5892
          5892,, 32768
                 32768,, 0 },
        { 12112
          12112,, 32768
                  32768,, 0 },
        { 21935
          21935,, 32768
                  32768,, 0 },
        { 20289
          20289,, 32768
                  32768,, 0 },
        { 27473
          27473,, 32768
                  32768,, 0 },
        { 32487
          32487,, 32768
                  32768,, 0 },
        { 7654
          7654,, 32768
                 32768,, 0 },
        { 19473
          19473,, 32768
                  32768,, 0 },
        { 29984
          29984,, 32768
                  32768,, 0 },
        { 9961
          9961,, 32768
                 32768,, 0 },
        { 30242
          30242,, 32768
                  32768,, 0 },
        { 32117
          32117,, 32768
                  32768,, 0 } },
      { { 31548
          31548,, 32768
                  32768,, 0 },
        { 1549
          1549,, 32768
                 32768,, 0 },
        { 10130
          10130,, 32768
                  32768,, 0 },
        { 16656
          16656,, 32768
                  32768,, 0 },
        { 18591
          18591,, 32768
                  32768,, 0 },
        { 26308
          26308,, 32768
                  32768,, 0 },
        { 32537
          32537,, 32768
                  32768,, 0 },
        { 5403
          5403,, 32768
                 32768,, 0 },
        { 18096
          18096,, 32768
                  32768,, 0 },
        { 30003
          30003,, 32768
                  32768,, 0 },
        { 16384
          16384,, 32768
                  32768,, 0 },
        { 16384
          16384,, 32768
                  32768,, 0 },
        { 16384
          16384,, 32768
                  32768,, 0 } },
      { { 29957
          29957,, 32768
                  32768,, 0 },
        { 5391
          5391,, 32768
                 32768,, 0 },
        { 18039
          18039,, 32768
                  32768,, 0 },
        { 23566
          23566,, 32768
                  32768,, 0 },
        { 22431
          22431,, 32768
                  32768,, 0 },
        { 25822
          25822,, 32768
                  32768,, 0 },
        { 32197
          32197,, 32768
                  32768,, 0 },
        { 3778
          3778,, 32768
                 32768,, 0 },
        { 15336
          15336,, 32768
                  32768,, 0 },
        { 28981
          28981,, 32768
                  32768,, 0 },
        { 16384
          16384,, 32768
                  32768,, 0 },
        { 16384
          16384,, 32768
                  32768,, 0 },
        { 16384
          16384,, 32768
                  32768,, 0 } },
      { { 17920
          17920,, 32768
                  32768,, 0 },
        { 1818
          1818,, 32768
                 32768,, 0 },
        { 7282
          7282,, 32768
                 32768,, 0 },
        { 25273
          25273,, 32768
                  32768,, 0 },
        { 10923
          10923,, 32768
                  32768,, 0 },
        { 31554
          31554,, 32768
                  32768,, 0 },
        { 32624
          32624,, 32768
                  32768,, 0 },
        { 1366
          1366,, 32768
                 32768,, 0 },
        { 15628
          15628,, 32768
                  32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8     Filed 04/07/25 Page 454 of 682 Page ID
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          { 30462
            30462,, 32768
                    32768,, 0 },
          { 146
            146,, 32768
                  32768,, 0 },
          { 5132
            5132,, 32768
                   32768,, 0 },
          { 31657
            31657,, 32768
                    32768,, 0 } },
        { { 6308
            6308,, 32768
                   32768,, 0 },
          { 117
            117,, 32768
                  32768,, 0 },
          { 1638
            1638,, 32768
                   32768,, 0 },
          { 2161
            2161,, 32768
                   32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 10923
            10923,, 32768
                    32768,, 0 },
          { 30247
            30247,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } }
     },
     {
        { { 30371
            30371,, 32768
                    32768,, 0 },
          { 7570
            7570,, 32768
                   32768,, 0 },
          { 13155
            13155,, 32768
                    32768,, 0 },
          { 20751
            20751,, 32768
                    32768,, 0 },
          { 20969
            20969,, 32768
                    32768,, 0 },
          { 27067
            27067,, 32768
                    32768,, 0 },
          { 32013
            32013,, 32768
                    32768,, 0 },
          { 5495
            5495,, 32768
                   32768,, 0 },
          { 17942
            17942,, 32768
                    32768,, 0 },
          { 28280
            28280,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } },
        { { 31782
            31782,, 32768
                    32768,, 0 },
          { 1836
            1836,, 32768
                   32768,, 0 },
          { 10689
            10689,, 32768
                    32768,, 0 },
          { 17604
            17604,, 32768
                    32768,, 0 },
          { 21622
            21622,, 32768
                    32768,, 0 },
          { 27518
            27518,, 32768
                    32768,, 0 },
          { 32399
            32399,, 32768
                    32768,, 0 },
          { 4419
            4419,, 32768
                   32768,, 0 },
          { 16294
            16294,, 32768
                    32768,, 0 },
          { 28345
            28345,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } },
        { { 31901
            31901,, 32768
                    32768,, 0 },
          { 10311
            10311,, 32768
                    32768,, 0 },
          { 18047
            18047,, 32768
                    32768,, 0 },
          { 24806
            24806,, 32768
                    32768,, 0 },
          { 23288
            23288,, 32768
                    32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8     Filed 04/07/25 Page 455 of 682 Page ID
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          { 27914
            27914,, 32768
                    32768,, 0 },
          { 32296
            32296,, 32768
                    32768,, 0 },
          { 4215
            4215,, 32768
                   32768,, 0 },
          { 15756
            15756,, 32768
                    32768,, 0 },
          { 28341
            28341,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } },
        { { 26726
            26726,, 32768
                    32768,, 0 },
          { 1045
            1045,, 32768
                   32768,, 0 },
          { 11703
            11703,, 32768
                    32768,, 0 },
          { 20590
            20590,, 32768
                    32768,, 0 },
          { 18554
            18554,, 32768
                    32768,, 0 },
          { 25970
            25970,, 32768
                    32768,, 0 },
          { 31938
            31938,, 32768
                    32768,, 0 },
          { 5583
            5583,, 32768
                   32768,, 0 },
          { 21313
            21313,, 32768
                    32768,, 0 },
          { 29390
            29390,, 32768
                    32768,, 0 },
          { 641
            641,, 32768
                  32768,, 0 },
          { 22265
            22265,, 32768
                    32768,, 0 },
          { 31452
            31452,, 32768
                    32768,, 0 } },
        { { 26584
            26584,, 32768
                    32768,, 0 },
          { 188
            188,, 32768
                  32768,, 0 },
          { 8847
            8847,, 32768
                   32768,, 0 },
          { 24519
            24519,, 32768
                    32768,, 0 },
          { 22938
            22938,, 32768
                    32768,, 0 },
          { 30583
            30583,, 32768
                    32768,, 0 },
          { 32608
            32608,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } }
     },
     {
        { { 29614
            29614,, 32768
                    32768,, 0 },
          { 9068
            9068,, 32768
                   32768,, 0 },
          { 12924
            12924,, 32768
                    32768,, 0 },
          { 19538
            19538,, 32768
                    32768,, 0 },
          { 17737
            17737,, 32768
                    32768,, 0 },
          { 24619
            24619,, 32768
                    32768,, 0 },
          { 30642
            30642,, 32768
                    32768,, 0 },
          { 4119
            4119,, 32768
                   32768,, 0 },
          { 16026
            16026,, 32768
                    32768,, 0 },
          { 25657
            25657,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } },
        { { 31957
            31957,, 32768
                    32768,, 0 },




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          Case 2:25-cv-03053        Document 1-8     Filed 04/07/25 Page 456 of 682 Page ID
                                                   #:1702        AV1 Bitstream & Decoding Process Specification



         { 3230
           3230,, 32768
                  32768,, 0 },
         { 11153
           11153,, 32768
                   32768,, 0 },
         { 18123
           18123,, 32768
                   32768,, 0 },
         { 20143
           20143,, 32768
                   32768,, 0 },
         { 26536
           26536,, 32768
                   32768,, 0 },
         { 31986
           31986,, 32768
                   32768,, 0 },
         { 3050
           3050,, 32768
                  32768,, 0 },
         { 14603
           14603,, 32768
                   32768,, 0 },
         { 25155
           25155,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 } },
       { { 32363
           32363,, 32768
                   32768,, 0 },
         { 10692
           10692,, 32768
                   32768,, 0 },
         { 19090
           19090,, 32768
                   32768,, 0 },
         { 24357
           24357,, 32768
                   32768,, 0 },
         { 24442
           24442,, 32768
                   32768,, 0 },
         { 28312
           28312,, 32768
                   32768,, 0 },
         { 32169
           32169,, 32768
                   32768,, 0 },
         { 3648
           3648,, 32768
                  32768,, 0 },
         { 15690
           15690,, 32768
                   32768,, 0 },
         { 26815
           26815,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 } },
       { { 30669
           30669,, 32768
                   32768,, 0 },
         { 3832
           3832,, 32768
                  32768,, 0 },
         { 11663
           11663,, 32768
                   32768,, 0 },
         { 18889
           18889,, 32768
                   32768,, 0 },
         { 19782
           19782,, 32768
                   32768,, 0 },
         { 23313
           23313,, 32768
                   32768,, 0 },
         { 31330
           31330,, 32768
                   32768,, 0 },
         { 5124
           5124,, 32768
                  32768,, 0 },
         { 18719
           18719,, 32768
                   32768,, 0 },
         { 28468
           28468,, 32768
                   32768,, 0 },
         { 3082
           3082,, 32768
                  32768,, 0 },
         { 20982
           20982,, 32768
                   32768,, 0 },
         { 29443
           29443,, 32768
                   32768,, 0 } },
       { { 28573
           28573,, 32768
                   32768,, 0 },
         { 3183
           3183,, 32768
                  32768,, 0 },
         { 17802
           17802,, 32768
                   32768,, 0 },
         { 25977
           25977,, 32768
                   32768,, 0 },
         { 26677
           26677,, 32768
                   32768,, 0 },
         { 27832
           27832,, 32768
                   32768,, 0 },
         { 32387
           32387,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },
         { 16384
           16384,, 32768
                   32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8     Filed 04/07/25 Page 457 of 682 Page ID
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          { 16384
            16384,, 32768
                    32768,, 0 } }
     },
     {
        { { 26887
            26887,, 32768
                    32768,, 0 },
          { 6729
            6729,, 32768
                   32768,, 0 },
          { 10361
            10361,, 32768
                    32768,, 0 },
          { 17442
            17442,, 32768
                    32768,, 0 },
          { 15045
            15045,, 32768
                    32768,, 0 },
          { 22478
            22478,, 32768
                    32768,, 0 },
          { 29072
            29072,, 32768
                    32768,, 0 },
          { 2713
            2713,, 32768
                   32768,, 0 },
          { 11861
            11861,, 32768
                    32768,, 0 },
          { 20773
            20773,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } },
        { { 31903
            31903,, 32768
                    32768,, 0 },
          { 2044
            2044,, 32768
                   32768,, 0 },
          { 7528
            7528,, 32768
                   32768,, 0 },
          { 14618
            14618,, 32768
                    32768,, 0 },
          { 16182
            16182,, 32768
                    32768,, 0 },
          { 24168
            24168,, 32768
                    32768,, 0 },
          { 31037
            31037,, 32768
                    32768,, 0 },
          { 2786
            2786,, 32768
                   32768,, 0 },
          { 11194
            11194,, 32768
                    32768,, 0 },
          { 20155
            20155,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } },
        { { 32510
            32510,, 32768
                    32768,, 0 },
          { 8430
            8430,, 32768
                   32768,, 0 },
          { 17318
            17318,, 32768
                    32768,, 0 },
          { 24154
            24154,, 32768
                    32768,, 0 },
          { 23674
            23674,, 32768
                    32768,, 0 },
          { 28789
            28789,, 32768
                    32768,, 0 },
          { 32139
            32139,, 32768
                    32768,, 0 },
          { 3440
            3440,, 32768
                   32768,, 0 },
          { 13117
            13117,, 32768
                    32768,, 0 },
          { 22702
            22702,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 },
          { 16384
            16384,, 32768
                    32768,, 0 } },
        { { 31671
            31671,, 32768
                    32768,, 0 },
          { 2056
            2056,, 32768
                   32768,, 0 },
          { 11746
            11746,, 32768
                    32768,, 0 },
          { 16852
            16852,, 32768
                    32768,, 0 },
          { 18635
            18635,, 32768
                    32768,, 0 },
          { 24715
            24715,, 32768
                    32768,, 0 },
          { 31484
            31484,, 32768
                    32768,, 0 },
          { 4656
            4656,, 32768
                   32768,, 0 },




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            Case 2:25-cv-03053         Document 1-8     Filed 04/07/25 Page 458 of 682 Page ID
                                                      #:1704        AV1 Bitstream & Decoding Process Specification



            { 16074
              16074,, 32768
                      32768,, 0 },
            { 24704
              24704,, 32768
                      32768,, 0 },
            { 1806
              1806,, 32768
                     32768,, 0 },
            { 14645
              14645,, 32768
                      32768,, 0 },
            { 25336
              25336,, 32768
                      32768,, 0 } },
          { { 31539
              31539,, 32768
                      32768,, 0 },
            { 8433
              8433,, 32768
                     32768,, 0 },
            { 20576
              20576,, 32768
                      32768,, 0 },
            { 27904
              27904,, 32768
                      32768,, 0 },
            { 27852
              27852,, 32768
                      32768,, 0 },
            { 30026
              30026,, 32768
                      32768,, 0 },
            { 32441
              32441,, 32768
                      32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 } }
      }
  }




  Default_Eob_Pt_16_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ 2 ][ 6 ] = {
    { { { 840
          840,, 1039
                1039,, 1980
                       1980,, 4895
                              4895,, 32768
                                     32768,, 0 },
        { 370
          370,, 671
                671,, 1883
                      1883,, 4471
                             4471,, 32768
                                    32768,, 0 } },
      { { 3247
          3247,, 4950
                 4950,, 9688
                        9688,, 14563
                               14563,, 32768
                                        32768,, 0 },
        { 1904
          1904,, 3354
                 3354,, 7763
                        7763,, 14647
                               14647,, 32768
                                        32768,, 0 } } },
    { { { 2125
          2125,, 2551
                 2551,, 5165
                        5165,, 8946
                               8946,, 32768
                                       32768,, 0 },
        { 513
          513,, 765
                765,, 1859
                      1859,, 6339
                             6339,, 32768
                                    32768,, 0 } },
      { { 7637
          7637,, 9498
                 9498,, 14259
                        14259,, 19108
                                 19108,, 32768
                                         32768,, 0 },
        { 2497
          2497,, 4096
                 4096,, 8866
                        8866,, 16993
                               16993,, 32768
                                        32768,, 0 } } },
    { { { 4016
          4016,, 4897
                 4897,, 8881
                        8881,, 14968
                               14968,, 32768
                                        32768,, 0 },
        { 716
          716,, 1105
                1105,, 2646
                       2646,, 10056
                              10056,, 32768
                                       32768,, 0 } },
      { { 11139
          11139,, 13270
                  13270,, 18241
                           18241,, 23566
                                   23566,, 32768
                                           32768,, 0 },
        { 3192
          3192,, 5032
                 5032,, 10297
                        10297,, 19755
                                 19755,, 32768
                                         32768,, 0 } } },
    { { { 6708
          6708,, 8958
                 8958,, 14746
                        14746,, 22133
                                 22133,, 32768
                                         32768,, 0 },
        { 1222
          1222,, 2074
                 2074,, 4783
                        4783,, 15410
                               15410,, 32768
                                        32768,, 0 } },
      { { 19575
          19575,, 21766
                  21766,, 26044
                           26044,, 29709
                                   29709,, 32768
                                           32768,, 0 },
        { 7297
          7297,, 10767
                 10767,, 19273
                         19273,, 28194
                                  28194,, 32768
                                          32768,, 0 } } }
  }




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          Case 2:25-cv-03053      Document 1-8       Filed 04/07/25 Page 459 of 682 Page ID
                                                   #:1705        AV1 Bitstream & Decoding Process Specification



  Default_Eob_Pt_32_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ 2 ][ 7 ] = {
    { { { 400
          400,, 520
                520,, 977
                      977,, 2102
                            2102,, 6542
                                   6542,, 32768
                                           32768,, 0 },
        { 210
          210,, 405
                405,, 1315
                      1315,, 3326
                             3326,, 7537
                                     7537,, 32768
                                            32768,, 0 } },
      { { 2636
          2636,, 4273
                 4273,, 7588
                        7588,, 11794
                                11794,, 20401
                                        20401,, 32768
                                                 32768,, 0 },
        { 1786
          1786,, 3179
                 3179,, 6902
                        6902,, 11357
                                11357,, 19054
                                        19054,, 32768
                                                 32768,, 0 } } },
    { { { 989
          989,, 1249
                1249,, 2019
                       2019,, 4151
                              4151,, 10785
                                      10785,, 32768
                                              32768,, 0 },
        { 313
          313,, 441
                441,, 1099
                      1099,, 2917
                             2917,, 8562
                                     8562,, 32768
                                            32768,, 0 } },
      { { 8394
          8394,, 10352
                 10352,, 13932
                          13932,, 18855
                                  18855,, 26014
                                           26014,, 32768
                                                   32768,, 0 },
        { 2578
          2578,, 4124
                 4124,, 8181
                        8181,, 13670
                                13670,, 24234
                                        24234,, 32768
                                                 32768,, 0 } } },
    { { { 2515
          2515,, 3003
                 3003,, 4452
                        4452,, 8162
                                8162,, 16041
                                       16041,, 32768
                                                32768,, 0 },
        { 574
          574,, 821
                821,, 1836
                      1836,, 5089
                             5089,, 13128
                                     13128,, 32768
                                             32768,, 0 } },
      { { 13468
          13468,, 16303
                  16303,, 20361
                           20361,, 25105
                                   25105,, 29281
                                            29281,, 32768
                                                    32768,, 0 },
        { 3542
          3542,, 5502
                 5502,, 10415
                        10415,, 16760
                                 16760,, 25644
                                          25644,, 32768
                                                  32768,, 0 } } },
    { { { 4617
          4617,, 5709
                 5709,, 8446
                        8446,, 13584
                                13584,, 23135
                                        23135,, 32768
                                                 32768,, 0 },
        { 1156
          1156,, 1702
                 1702,, 3675
                        3675,, 9274
                                9274,, 20539
                                       20539,, 32768
                                                32768,, 0 } },
      { { 22086
          22086,, 24282
                  24282,, 27010
                           27010,, 29770
                                   29770,, 31743
                                            31743,, 32768
                                                    32768,, 0 },
        { 7699
          7699,, 10897
                 10897,, 20891
                          20891,, 26926
                                  26926,, 31628
                                           31628,, 32768
                                                   32768,, 0 } } }
  }




  Default_Eob_Pt_64_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ 2 ][ 8 ] = {
    { { { 329
          329,, 498
                498,, 1101
                      1101,, 1784
                             1784,, 3265
                                    3265,, 7758
                                            7758,, 32768
                                                   32768,, 0 },
        { 335
          335,, 730
                730,, 1459
                      1459,, 5494
                             5494,, 8755
                                    8755,, 12997
                                            12997,, 32768
                                                    32768,, 0 } },
      { { 3505
          3505,, 5304
                 5304,, 10086
                        10086,, 13814
                                 13814,, 17684
                                         17684,, 23370
                                                  23370,, 32768
                                                          32768,, 0 },
        { 1563
          1563,, 2700
                 2700,, 4876
                        4876,, 10911
                               10911,, 14706
                                        14706,, 22480
                                                 22480,, 32768
                                                         32768,, 0 } } },
    { { { 1260
          1260,, 1446
                 1446,, 2253
                        2253,, 3712
                               3712,, 6652
                                       6652,, 13369
                                              13369,, 32768
                                                       32768,, 0 },
        { 401
          401,, 605
                605,, 1029
                      1029,, 2563
                             2563,, 5845
                                    5845,, 12626
                                            12626,, 32768
                                                    32768,, 0 } },
      { { 8609
          8609,, 10612
                 10612,, 14624
                         14624,, 18714
                                  18714,, 22614
                                          22614,, 29024
                                                   29024,, 32768
                                                           32768,, 0 },
        { 1923
          1923,, 3127
                 3127,, 5867
                        5867,, 9703
                               9703,, 14277
                                       14277,, 27100
                                               27100,, 32768
                                                        32768,, 0 } } },
    { { { 2374
          2374,, 2772
                 2772,, 4583
                        4583,, 7276
                               7276,, 12288
                                       12288,, 19706
                                               19706,, 32768
                                                        32768,, 0 },
        { 497
          497,, 810
                810,, 1315
                      1315,, 3000
                             3000,, 7004
                                    7004,, 15641
                                            15641,, 32768
                                                    32768,, 0 } },
      { { 15050
          15050,, 17126
                  17126,, 21410
                           21410,, 24886
                                   24886,, 28156
                                            28156,, 30726
                                                    30726,, 32768
                                                             32768,, 0 },
        { 4034
          4034,, 6290
                 6290,, 10235
                        10235,, 14982
                                 14982,, 21214
                                         21214,, 28491
                                                  28491,, 32768
                                                          32768,, 0 } } },
    { { { 6307
          6307,, 7541
                 7541,, 12060
                        12060,, 16358
                                 16358,, 22553
                                         22553,, 27865
                                                  27865,, 32768
                                                          32768,, 0 },
        { 1289
          1289,, 2320
                 2320,, 3971
                        3971,, 7926
                               7926,, 14153
                                       14153,, 24291
                                               24291,, 32768
                                                        32768,, 0 } },
      { { 24212
          24212,, 25708
                  25708,, 28268
                           28268,, 30035
                                   30035,, 31307
                                            31307,, 32049
                                                    32049,, 32768
                                                             32768,, 0 },
        { 8726
          8726,, 12378
                 12378,, 19409
                         19409,, 26450
                                  26450,, 30038
                                          30038,, 32462
                                                   32462,, 32768
                                                           32768,, 0 } } }
  }




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  Default_Eob_Pt_128_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ 2 ][ 9 ] = {
    { { { 219
          219,, 482
                482,, 1140
                      1140,, 2091
                             2091,, 3680
                                     3680,, 6028
                                            6028,, 12586
                                                   12586,, 32768
                                                           32768,, 0 },
        { 371
          371,, 699
                699,, 1254
                      1254,, 4830
                             4830,, 9479
                                     9479,, 12562
                                            12562,, 17497
                                                    17497,, 32768
                                                             32768,, 0 } },
      { { 5245
          5245,, 7456
                 7456,, 12880
                        12880,, 15852
                                 15852,, 20033
                                          20033,, 23932
                                                  23932,, 27608
                                                          27608,, 32768
                                                                   32768,, 0 },
        { 2054
          2054,, 3472
                 3472,, 5869
                        5869,, 14232
                                14232,, 18242
                                        18242,, 20590
                                                 20590,, 26752
                                                         26752,, 32768
                                                                 32768,, 0 } } },
    { { { 685
          685,, 933
                933,, 1488
                      1488,, 2714
                             2714,, 4766
                                     4766,, 8562
                                            8562,, 19254
                                                   19254,, 32768
                                                           32768,, 0 },
        { 217
          217,, 352
                352,, 618
                      618,, 2303
                            2303,, 5261
                                   5261,, 9969
                                           9969,, 17472
                                                  17472,, 32768
                                                          32768,, 0 } },
      { { 8045
          8045,, 11200
                 11200,, 15497
                          15497,, 19595
                                  19595,, 23948
                                           23948,, 27408
                                                   27408,, 30938
                                                           30938,, 32768
                                                                    32768,, 0 },
        { 2310
          2310,, 4160
                 4160,, 7471
                        7471,, 14997
                                14997,, 17931
                                        17931,, 20768
                                                 20768,, 30240
                                                         30240,, 32768
                                                                 32768,, 0 } } },
    { { { 1366
          1366,, 1738
                 1738,, 2527
                        2527,, 5016
                                5016,, 9355
                                       9355,, 15797
                                              15797,, 24643
                                                       24643,, 32768
                                                               32768,, 0 },
        { 354
          354,, 558
                558,, 944
                      944,, 2760
                            2760,, 7287
                                   7287,, 14037
                                           14037,, 21779
                                                   21779,, 32768
                                                           32768,, 0 } },
      { { 13627
          13627,, 16246
                  16246,, 20173
                           20173,, 24429
                                   24429,, 27948
                                            27948,, 30415
                                                    30415,, 31863
                                                             31863,, 32768
                                                                     32768,, 0 },
        { 6275
          6275,, 9889
                 9889,, 14769
                        14769,, 23164
                                 23164,, 27988
                                          27988,, 30493
                                                  30493,, 32272
                                                          32272,, 32768
                                                                   32768,, 0 } } },
    { { { 3472
          3472,, 4885
                 4885,, 7489
                        7489,, 12481
                                12481,, 18517
                                        18517,, 24536
                                                 24536,, 29635
                                                         29635,, 32768
                                                                 32768,, 0 },
        { 886
          886,, 1731
                1731,, 3271
                       3271,, 8469
                              8469,, 15569
                                      15569,, 22126
                                              22126,, 28383
                                                       28383,, 32768
                                                               32768,, 0 } },
      { { 24313
          24313,, 26062
                  26062,, 28385
                           28385,, 30107
                                   30107,, 31217
                                            31217,, 31898
                                                    31898,, 32345
                                                             32345,, 32768
                                                                     32768,, 0 },
        { 9165
          9165,, 13282
                 13282,, 21150
                          21150,, 30286
                                  30286,, 31894
                                           31894,, 32571
                                                   32571,, 32712
                                                           32712,, 32768
                                                                    32768,, 0 } } }
  }




  Default_Eob_Pt_256_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ 2 ][ 10 ] = {
    { { { 310
          310,, 584
                584,, 1887
                      1887,, 3589
                             3589,, 6168
                                    6168,, 8611
                                            8611,, 11352
                                                   11352,, 15652
                                                           15652,, 32768
                                                                    32768,, 0 },
        { 998
          998,, 1850
                1850,, 2998
                       2998,, 5604
                              5604,, 17341
                                     17341,, 19888
                                              19888,, 22899
                                                       22899,, 25583
                                                               25583,, 32768
                                                                       32768,, 0 } },
      { { 2520
          2520,, 3240
                 3240,, 5952
                        5952,, 8870
                               8870,, 12577
                                       12577,, 17558
                                               17558,, 19954
                                                        19954,, 24168
                                                                24168,, 32768
                                                                         32768,, 0 },
        { 2203
          2203,, 4130
                 4130,, 7435
                        7435,, 10739
                               10739,, 20652
                                        20652,, 23681
                                                 23681,, 25609
                                                         25609,, 27261
                                                                 27261,, 32768
                                                                          32768,, 0 } } },
    { { { 1448
          1448,, 2109
                 2109,, 4151
                        4151,, 6263
                               6263,, 9329
                                       9329,, 13260
                                              13260,, 17944
                                                       17944,, 23300
                                                               23300,, 32768
                                                                       32768,, 0 },
        { 399
          399,, 1019
                1019,, 1749
                       1749,, 3038
                              3038,, 10444
                                     10444,, 15546
                                              15546,, 22739
                                                       22739,, 27294
                                                               27294,, 32768
                                                                       32768,, 0 } },
      { { 6402
          6402,, 8148
                 8148,, 12623
                        12623,, 15072
                                 15072,, 18728
                                         18728,, 22847
                                                  22847,, 26447
                                                          26447,, 29377
                                                                   29377,, 32768
                                                                           32768,, 0 },
        { 1674
          1674,, 3252
                 3252,, 5734
                        5734,, 10159
                               10159,, 22397
                                        22397,, 23802
                                                 23802,, 24821
                                                         24821,, 30940
                                                                 30940,, 32768
                                                                          32768,, 0 } } },
    { { { 3089
          3089,, 3920
                 3920,, 6038
                        6038,, 9460
                               9460,, 14266
                                       14266,, 19881
                                               19881,, 25766
                                                        25766,, 29176
                                                                29176,, 32768
                                                                         32768,, 0 },
        { 1084
          1084,, 2358
                 2358,, 3488
                        3488,, 5122
                               5122,, 11483
                                       11483,, 18103
                                               18103,, 26023
                                                        26023,, 29799
                                                                29799,, 32768
                                                                         32768,, 0 } },
      { { 11514
          11514,, 13794
                  13794,, 17480
                           17480,, 20754
                                   20754,, 24361
                                            24361,, 27378
                                                    27378,, 29492
                                                             29492,, 31277
                                                                     31277,, 32768
                                                                             32768,, 0 },
        { 6571
          6571,, 9610
                 9610,, 15516
                        15516,, 21826
                                 21826,, 29092
                                         29092,, 30829
                                                  30829,, 31842
                                                          31842,, 32708
                                                                   32708,, 32768
                                                                           32768,, 0 } } },
    { { { 5348
          5348,, 7113
                 7113,, 11820
                        11820,, 15924
                                 15924,, 22106
                                         22106,, 26777
                                                  26777,, 30334
                                                          30334,, 31757
                                                                   31757,, 32768
                                                                           32768,, 0 },
        { 2453
          2453,, 4474
                 4474,, 6307
                        6307,, 8777
                               8777,, 16474
                                       16474,, 22975
                                               22975,, 29000
                                                        29000,, 31547
                                                                31547,, 32768
                                                                         32768,, 0 } },
      { { 23110
          23110,, 24597
                  24597,, 27140
                           27140,, 28894
                                   28894,, 30167
                                            30167,, 30927
                                                    30927,, 31392
                                                             31392,, 32094
                                                                     32094,, 32768
                                                                             32768,, 0 },
        { 9998
          9998,, 17661
                 17661,, 25178
                         25178,, 28097
                                  28097,, 31308
                                          31308,, 32038
                                                   32038,, 32403
                                                           32403,, 32695
                                                                    32695,, 32768
                                                                            32768,, 0 } } }
  }




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  Default_Eob_Pt_512_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ 11 ] = {
    { { 641
        641,, 983
              983,, 3707
                    3707,, 5430
                           5430,, 10234
                                  10234,, 14958
                                           14958,, 18788
                                                   18788,, 23412
                                                           23412,, 26061
                                                                    26061,, 32768
                                                                            32768,, 0 },
      { 5095
        5095,, 6446
               6446,, 9996
                      9996,, 13354
                             13354,, 16017
                                      16017,, 17986
                                              17986,, 20919
                                                      20919,, 26129
                                                               26129,, 29140
                                                                       29140,, 32768
                                                                               32768,, 0 } },
    { { 1230
        1230,, 2278
               2278,, 5035
                      5035,, 7776
                             7776,, 11871
                                     11871,, 15346
                                             15346,, 19590
                                                     19590,, 24584
                                                              24584,, 28749
                                                                      28749,, 32768
                                                                              32768,, 0 },
      { 7265
        7265,, 9979
               9979,, 15819
                      15819,, 19250
                               19250,, 21780
                                       21780,, 23846
                                               23846,, 26478
                                                        26478,, 28396
                                                                28396,, 31811
                                                                        31811,, 32768
                                                                                 32768,, 0 } },
    { { 2624
        2624,, 3936
               3936,, 6480
                      6480,, 9686
                             9686,, 13979
                                     13979,, 17726
                                             17726,, 23267
                                                     23267,, 28410
                                                              28410,, 31078
                                                                      31078,, 32768
                                                                              32768,, 0 },
      { 12015
        12015,, 14769
                14769,, 19588
                         19588,, 22052
                                 22052,, 24222
                                         24222,, 25812
                                                  25812,, 27300
                                                          27300,, 29219
                                                                  29219,, 32114
                                                                           32114,, 32768
                                                                                   32768,, 0 } },
    { { 5927
        5927,, 7809
               7809,, 10923
                      10923,, 14597
                               14597,, 19439
                                       19439,, 24135
                                               24135,, 28456
                                                        28456,, 31142
                                                                31142,, 32060
                                                                        32060,, 32768
                                                                                 32768,, 0 },
      { 21093
        21093,, 23043
                23043,, 25742
                         25742,, 27658
                                 27658,, 29097
                                         29097,, 29716
                                                  29716,, 30073
                                                          30073,, 30820
                                                                  30820,, 31956
                                                                           31956,, 32768
                                                                                   32768,, 0 } }
  }




  Default_Eob_Pt_1024_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ 12 ] = {
    { { 393
        393,, 421
              421,, 751
                    751,, 1623
                          1623,, 3160
                                 3160,, 6352
                                         6352,, 13345
                                                13345,, 18047
                                                        18047,, 22571
                                                                22571,, 25830
                                                                        25830,, 32768
                                                                                32768,, 0 },
      { 1865
        1865,, 1988
               1988,, 2930
                      2930,, 4242
                              4242,, 10533
                                     10533,, 16538
                                              16538,, 21354
                                                      21354,, 27255
                                                              27255,, 28546
                                                                      28546,, 31784
                                                                              31784,, 32768
                                                                                      32768,, 0 } },
    { { 696
        696,, 948
              948,, 3145
                    3145,, 5702
                           5702,, 9706
                                   9706,, 13217
                                          13217,, 17851
                                                  17851,, 21856
                                                          21856,, 25692
                                                                  25692,, 28034
                                                                          28034,, 32768
                                                                                  32768,, 0 },
      { 2672
        2672,, 3591
               3591,, 9330
                      9330,, 17084
                              17084,, 22725
                                      22725,, 24284
                                               24284,, 26527
                                                       26527,, 28027
                                                               28027,, 28377
                                                                       28377,, 30876
                                                                               30876,, 32768
                                                                                       32768,, 0 } },
    { { 2784
        2784,, 3831
               3831,, 7041
                      7041,, 10521
                              10521,, 14847
                                      14847,, 18844
                                               18844,, 23155
                                                       23155,, 26682
                                                               26682,, 29229
                                                                       29229,, 31045
                                                                               31045,, 32768
                                                                                       32768,, 0 },
      { 9577
        9577,, 12466
               12466,, 17739
                        17739,, 20750
                                20750,, 22061
                                         22061,, 23215
                                                 23215,, 24601
                                                         24601,, 25483
                                                                 25483,, 25843
                                                                         25843,, 32056
                                                                                 32056,, 32768
                                                                                         32768,, 0 } },
    { { 6698
        6698,, 8334
               8334,, 11961
                      11961,, 15762
                               15762,, 20186
                                        20186,, 23862
                                                23862,, 27434
                                                        27434,, 29326
                                                                29326,, 31082
                                                                        31082,, 32050
                                                                                32050,, 32768
                                                                                        32768,, 0 },
      { 20569
        20569,, 22426
                22426,, 25569
                         25569,, 26859
                                 26859,, 28053
                                          28053,, 28913
                                                  28913,, 29486
                                                          29486,, 29724
                                                                  29724,, 29807
                                                                          29807,, 32570
                                                                                  32570,, 32768
                                                                                          32768,, 0 } }
  }




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  Default_Eob_Extra_Cdf[[ COEFF_CDF_Q_CTXS ][ TX_SIZES ][ PLANE_TYPES ][ EOB_COEF_CONTEXTS ][ 3 ] = {
    { { { { 16961
             16961,, 32768
                     32768,, 0 }, { 17223
                                    17223,, 32768
                                            32768,, 0 }, { 7621
                                                           7621,, 32768
                                                                  32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        },
        { { 19069
             19069,, 32768
                     32768,, 0 }, { 22525
                                    22525,, 32768
                                            32768,, 0 }, { 13377
                                                           13377,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        } },
      { { { 20401
             20401,, 32768
                     32768,, 0 }, { 17025
                                    17025,, 32768
                                            32768,, 0 }, { 12845
                                                           12845,, 32768
                                                                   32768,, 0 },
           { 12873
             12873,, 32768
                     32768,, 0 }, { 14094
                                    14094,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        },
        { { 20681
             20681,, 32768
                     32768,, 0 }, { 20701
                                    20701,, 32768
                                            32768,, 0 }, { 15250
                                                           15250,, 32768
                                                                   32768,, 0 },
           { 15017
             15017,, 32768
                     32768,, 0 }, { 14928
                                    14928,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        } },
      { { { 23905
             23905,, 32768
                     32768,, 0 }, { 17194
                                    17194,, 32768
                                            32768,, 0 }, { 16170
                                                           16170,, 32768
                                                                   32768,, 0 },
           { 17695
             17695,, 32768
                     32768,, 0 }, { 13826
                                    13826,, 32768
                                            32768,, 0 }, { 15810
                                                           15810,, 32768
                                                                   32768,, 0 },
           { 12036
             12036,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        },
        { { 23959
             23959,, 32768
                     32768,, 0 }, { 20799
                                    20799,, 32768
                                            32768,, 0 }, { 19021
                                                           19021,, 32768
                                                                   32768,, 0 },
           { 16203
             16203,, 32768
                     32768,, 0 }, { 17886
                                    17886,, 32768
                                            32768,, 0 }, { 14144
                                                           14144,, 32768
                                                                   32768,, 0 },
           { 12010
             12010,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        } },
      { { { 27399
             27399,, 32768
                     32768,, 0 }, { 16327
                                    16327,, 32768
                                            32768,, 0 }, { 18071
                                                           18071,, 32768
                                                                   32768,, 0 },
           { 19584
             19584,, 32768
                     32768,, 0 }, { 20721
                                    20721,, 32768
                                            32768,, 0 }, { 18432
                                                           18432,, 32768
                                                                   32768,, 0 },
           { 19560
             19560,, 32768
                     32768,, 0 }, { 10150
                                    10150,, 32768
                                            32768,, 0 }, { 8805
                                                           8805,, 32768
                                                                  32768,, 0 }
        },
        { { 24932
             24932,, 32768
                     32768,, 0 }, { 20833
                                    20833,, 32768
                                            32768,, 0 }, { 12027
                                                           12027,, 32768
                                                                   32768,, 0 },
           { 16670
             16670,, 32768
                     32768,, 0 }, { 19914
                                    19914,, 32768
                                            32768,, 0 }, { 15106
                                                           15106,, 32768
                                                                   32768,, 0 },
           { 17662
             17662,, 32768
                     32768,, 0 }, { 13783
                                    13783,, 32768
                                            32768,, 0 }, { 28756
                                                           28756,, 32768
                                                                   32768,, 0 }
        } },
      { { { 23406
             23406,, 32768
                     32768,, 0 }, { 21845
                                    21845,, 32768
                                            32768,, 0 }, { 18432
                                                           18432,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 17096
                                    17096,, 32768
                                            32768,, 0 }, { 12561
                                                           12561,, 32768
                                                                   32768,, 0 },
           { 17320
             17320,, 32768
                     32768,, 0 }, { 22395
                                    22395,, 32768
                                            32768,, 0 }, { 21370
                                                           21370,, 32768
                                                                   32768,, 0 }
        },
        { { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        } } },
    { { { { 17471
             17471,, 32768
                     32768,, 0 }, { 20223
                                    20223,, 32768
                                            32768,, 0 }, { 11357
                                                           11357,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        },
        { { 20335
             20335,, 32768
                     32768,, 0 }, { 21667
                                    21667,, 32768
                                            32768,, 0 }, { 14818
                                                           14818,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 },
           { 16384
             16384,, 32768
                     32768,, 0 }, { 16384
                                    16384,, 32768
                                            32768,, 0 }, { 16384
                                                           16384,, 32768
                                                                   32768,, 0 }
        } },
      { { { 20430
             20430,, 32768
                     32768,, 0 }, { 20662
                                    20662,, 32768
                                            32768,, 0 }, { 15367
                                                           15367,, 32768
                                                                   32768,, 0 },




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            { 16970
              16970,, 32768
                      32768,, 0 }, { 14657
                                     14657,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         },
         { { 22117
              22117,, 32768
                      32768,, 0 }, { 22028
                                     22028,, 32768
                                             32768,, 0 }, { 18650
                                                            18650,, 32768
                                                                    32768,, 0 },
            { 16042
              16042,, 32768
                      32768,, 0 }, { 15885
                                     15885,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 22409
              22409,, 32768
                      32768,, 0 }, { 21012
                                     21012,, 32768
                                             32768,, 0 }, { 15650
                                                            15650,, 32768
                                                                    32768,, 0 },
            { 17395
              17395,, 32768
                      32768,, 0 }, { 15469
                                     15469,, 32768
                                             32768,, 0 }, { 20205
                                                            20205,, 32768
                                                                    32768,, 0 },
            { 19511
              19511,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         },
         { { 24220
              24220,, 32768
                      32768,, 0 }, { 22480
                                     22480,, 32768
                                             32768,, 0 }, { 17737
                                                            17737,, 32768
                                                                    32768,, 0 },
            { 18916
              18916,, 32768
                      32768,, 0 }, { 19268
                                     19268,, 32768
                                             32768,, 0 }, { 18412
                                                            18412,, 32768
                                                                    32768,, 0 },
            { 18844
              18844,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 25991
              25991,, 32768
                      32768,, 0 }, { 20314
                                     20314,, 32768
                                             32768,, 0 }, { 17731
                                                            17731,, 32768
                                                                    32768,, 0 },
            { 19678
              19678,, 32768
                      32768,, 0 }, { 18649
                                     18649,, 32768
                                             32768,, 0 }, { 17307
                                                            17307,, 32768
                                                                    32768,, 0 },
            { 21798
              21798,, 32768
                      32768,, 0 }, { 17549
                                     17549,, 32768
                                             32768,, 0 }, { 15630
                                                            15630,, 32768
                                                                    32768,, 0 }
         },
         { { 26585
              26585,, 32768
                      32768,, 0 }, { 21469
                                     21469,, 32768
                                             32768,, 0 }, { 20432
                                                            20432,, 32768
                                                                    32768,, 0 },
            { 17735
              17735,, 32768
                      32768,, 0 }, { 19280
                                     19280,, 32768
                                             32768,, 0 }, { 15235
                                                            15235,, 32768
                                                                    32768,, 0 },
            { 20297
              20297,, 32768
                      32768,, 0 }, { 22471
                                     22471,, 32768
                                             32768,, 0 }, { 28997
                                                            28997,, 32768
                                                                    32768,, 0 }
         } },
       { { { 26605
              26605,, 32768
                      32768,, 0 }, { 11304
                                     11304,, 32768
                                             32768,, 0 }, { 16726
                                                            16726,, 32768
                                                                    32768,, 0 },
            { 16560
              16560,, 32768
                      32768,, 0 }, { 20866
                                     20866,, 32768
                                             32768,, 0 }, { 23524
                                                            23524,, 32768
                                                                    32768,, 0 },
            { 19878
              19878,, 32768
                      32768,, 0 }, { 13469
                                     13469,, 32768
                                             32768,, 0 }, { 23084
                                                            23084,, 32768
                                                                    32768,, 0 }
         },
         { { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } } },
     { { { { 18983
              18983,, 32768
                      32768,, 0 }, { 20512
                                     20512,, 32768
                                             32768,, 0 }, { 14885
                                                            14885,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         },
         { { 20090
              20090,, 32768
                      32768,, 0 }, { 19444
                                     19444,, 32768
                                             32768,, 0 }, { 17286
                                                            17286,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 19139
              19139,, 32768
                      32768,, 0 }, { 21487
                                     21487,, 32768
                                             32768,, 0 }, { 18959
                                                            18959,, 32768
                                                                    32768,, 0 },
            { 20910
              20910,, 32768
                      32768,, 0 }, { 19089
                                     19089,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         },
         { { 20536
              20536,, 32768
                      32768,, 0 }, { 20664
                                     20664,, 32768
                                             32768,, 0 }, { 20625
                                                            20625,, 32768
                                                                    32768,, 0 },
            { 19123
              19123,, 32768
                      32768,, 0 }, { 14862
                                     14862,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 19833
              19833,, 32768
                      32768,, 0 }, { 21502
                                     21502,, 32768
                                             32768,, 0 }, { 17485
                                                            17485,, 32768
                                                                    32768,, 0 },
            { 20267
              20267,, 32768
                      32768,, 0 }, { 18353
                                     18353,, 32768
                                             32768,, 0 }, { 23329
                                                            23329,, 32768
                                                                    32768,, 0 },
            { 21478
              21478,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }




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          Case 2:25-cv-03053         Document 1-8        Filed 04/07/25 Page 464 of 682 Page ID
                                                       #:1710        AV1 Bitstream & Decoding Process Specification



         },
         { { 22041
              22041,, 32768
                      32768,, 0 }, { 23434
                                     23434,, 32768
                                             32768,, 0 }, { 20001
                                                            20001,, 32768
                                                                    32768,, 0 },
            { 20554
              20554,, 32768
                      32768,, 0 }, { 20951
                                     20951,, 32768
                                             32768,, 0 }, { 20145
                                                            20145,, 32768
                                                                    32768,, 0 },
            { 15562
              15562,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 23312
              23312,, 32768
                      32768,, 0 }, { 21607
                                     21607,, 32768
                                             32768,, 0 }, { 16526
                                                            16526,, 32768
                                                                    32768,, 0 },
            { 18957
              18957,, 32768
                      32768,, 0 }, { 18034
                                     18034,, 32768
                                             32768,, 0 }, { 18934
                                                            18934,, 32768
                                                                    32768,, 0 },
            { 24247
              24247,, 32768
                      32768,, 0 }, { 16921
                                     16921,, 32768
                                             32768,, 0 }, { 17080
                                                            17080,, 32768
                                                                    32768,, 0 }
         },
         { { 26579
              26579,, 32768
                      32768,, 0 }, { 24910
                                     24910,, 32768
                                             32768,, 0 }, { 18637
                                                            18637,, 32768
                                                                    32768,, 0 },
            { 19800
              19800,, 32768
                      32768,, 0 }, { 20388
                                     20388,, 32768
                                             32768,, 0 }, { 9887
                                                            9887,, 32768
                                                                   32768,, 0 },
            { 15642
              15642,, 32768
                      32768,, 0 }, { 30198
                                     30198,, 32768
                                             32768,, 0 }, { 24721
                                                            24721,, 32768
                                                                    32768,, 0 }
         } },
       { { { 26998
              26998,, 32768
                      32768,, 0 }, { 16737
                                     16737,, 32768
                                             32768,, 0 }, { 17838
                                                            17838,, 32768
                                                                    32768,, 0 },
            { 18922
              18922,, 32768
                      32768,, 0 }, { 19515
                                     19515,, 32768
                                             32768,, 0 }, { 18636
                                                            18636,, 32768
                                                                    32768,, 0 },
            { 17333
              17333,, 32768
                      32768,, 0 }, { 15776
                                     15776,, 32768
                                             32768,, 0 }, { 22658
                                                            22658,, 32768
                                                                    32768,, 0 }
         },
         { { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } } },
     { { { { 20177
              20177,, 32768
                      32768,, 0 }, { 20789
                                     20789,, 32768
                                             32768,, 0 }, { 20262
                                                            20262,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         },
         { { 21416
              21416,, 32768
                      32768,, 0 }, { 20855
                                     20855,, 32768
                                             32768,, 0 }, { 23410
                                                            23410,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 20238
              20238,, 32768
                      32768,, 0 }, { 21057
                                     21057,, 32768
                                             32768,, 0 }, { 19159
                                                            19159,, 32768
                                                                    32768,, 0 },
            { 22337
              22337,, 32768
                      32768,, 0 }, { 20159
                                     20159,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         },
         { { 20125
              20125,, 32768
                      32768,, 0 }, { 20559
                                     20559,, 32768
                                             32768,, 0 }, { 21707
                                                            21707,, 32768
                                                                    32768,, 0 },
            { 22296
              22296,, 32768
                      32768,, 0 }, { 17333
                                     17333,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 19941
              19941,, 32768
                      32768,, 0 }, { 20527
                                     20527,, 32768
                                             32768,, 0 }, { 21470
                                                            21470,, 32768
                                                                    32768,, 0 },
            { 22487
              22487,, 32768
                      32768,, 0 }, { 19558
                                     19558,, 32768
                                             32768,, 0 }, { 22354
                                                            22354,, 32768
                                                                    32768,, 0 },
            { 20331
              20331,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         },
         { { 22752
              22752,, 32768
                      32768,, 0 }, { 25006
                                     25006,, 32768
                                             32768,, 0 }, { 22075
                                                            22075,, 32768
                                                                    32768,, 0 },
            { 21576
              21576,, 32768
                      32768,, 0 }, { 17740
                                     17740,, 32768
                                             32768,, 0 }, { 21690
                                                            21690,, 32768
                                                                    32768,, 0 },
            { 19211
              19211,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } },
       { { { 21442
              21442,, 32768
                      32768,, 0 }, { 22358
                                     22358,, 32768
                                             32768,, 0 }, { 18503
                                                            18503,, 32768
                                                                    32768,, 0 },
            { 20291
              20291,, 32768
                      32768,, 0 }, { 19945
                                     19945,, 32768
                                             32768,, 0 }, { 21294
                                                            21294,, 32768
                                                                    32768,, 0 },
            { 21178
              21178,, 32768
                      32768,, 0 }, { 19400
                                     19400,, 32768
                                             32768,, 0 }, { 10556
                                                            10556,, 32768
                                                                    32768,, 0 }
         },
         { { 24648
              24648,, 32768
                      32768,, 0 }, { 24949
                                     24949,, 32768
                                             32768,, 0 }, { 20708
                                                            20708,, 32768
                                                                    32768,, 0 },




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            { 23905
              23905,, 32768
                      32768,, 0 }, { 20501
                                     20501,, 32768
                                             32768,, 0 }, { 9558
                                                            9558,, 32768
                                                                   32768,, 0 },
            { 9423
              9423,, 32768
                     32768,, 0 }, { 30365
                                     30365,, 32768
                                             32768,, 0 }, { 19253
                                                            19253,, 32768
                                                                    32768,, 0 }
         } },
       { { { 26064
              26064,, 32768
                      32768,, 0 }, { 22098
                                     22098,, 32768
                                             32768,, 0 }, { 19613
                                                            19613,, 32768
                                                                    32768,, 0 },
            { 20525
              20525,, 32768
                      32768,, 0 }, { 17595
                                     17595,, 32768
                                             32768,, 0 }, { 16618
                                                            16618,, 32768
                                                                    32768,, 0 },
            { 20497
              20497,, 32768
                      32768,, 0 }, { 18989
                                     18989,, 32768
                                             32768,, 0 }, { 15513
                                                            15513,, 32768
                                                                    32768,, 0 }
         },
         { { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 },
            { 16384
              16384,, 32768
                      32768,, 0 }, { 16384
                                     16384,, 32768
                                             32768,, 0 }, { 16384
                                                            16384,, 32768
                                                                    32768,, 0 }
         } } }
  }




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                                                  #:1712        AV1 Bitstream & Decoding Process Specification



  Default_Dc_Sign_Cdf[[ COEFF_CDF_Q_CTXS ][ PLANE_TYPES ][ DC_SIGN_CONTEXTS ][ 3 ] = {
    { {
         { 128 * 125
                 125,, 32768
                       32768,, 0 },
         { 128 * 102
                 102,, 32768
                       32768,, 0 },
         { 128 * 147
                 147,, 32768
                       32768,, 0 },
      },
      {
         { 128 * 119
                 119,, 32768
                       32768,, 0 },
         { 128 * 101
                 101,, 32768
                       32768,, 0 },
         { 128 * 135
                 135,, 32768
                       32768,, 0 },
      } },
    { {
         { 128 * 125
                 125,, 32768
                       32768,, 0 },
         { 128 * 102
                 102,, 32768
                       32768,, 0 },
         { 128 * 147
                 147,, 32768
                       32768,, 0 },
      },
      {
         { 128 * 119
                 119,, 32768
                       32768,, 0 },
         { 128 * 101
                 101,, 32768
                       32768,, 0 },
         { 128 * 135
                 135,, 32768
                       32768,, 0 },
      } },
    { {
         { 128 * 125
                 125,, 32768
                       32768,, 0 },
         { 128 * 102
                 102,, 32768
                       32768,, 0 },
         { 128 * 147
                 147,, 32768
                       32768,, 0 },
      },
      {
         { 128 * 119
                 119,, 32768
                       32768,, 0 },
         { 128 * 101
                 101,, 32768
                       32768,, 0 },
         { 128 * 135
                 135,, 32768
                       32768,, 0 },
      } },
    { {
         { 128 * 125
                 125,, 32768
                       32768,, 0 },
         { 128 * 102
                 102,, 32768
                       32768,, 0 },
         { 128 * 147
                 147,, 32768
                       32768,, 0 },
      },
      {
         { 128 * 119
                 119,, 32768
                       32768,, 0 },
         { 128 * 101
                 101,, 32768
                       32768,, 0 },
         { 128 * 135
                 135,, 32768
                       32768,, 0 },
      } }
  }




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                                                  #:1713        AV1 Bitstream & Decoding Process Specification



  Default_Coeff_Base_Eob_Cdf[[ COEFF_CDF_Q_CTXS ][ TX_SIZES ][ PLANE_TYPES ][ SIG_COEF_CONTEXTS_EOB ][ 4
  ] = {
    { { { { 17837
            17837,, 29055
                    29055,, 32768
                            32768,, 0 },
          { 29600
            29600,, 31446
                    31446,, 32768
                            32768,, 0 },
          { 30844
            30844,, 31878
                    31878,, 32768
                            32768,, 0 },
          { 24926
            24926,, 28948
                    28948,, 32768
                            32768,, 0 } },
        { { 21365
            21365,, 30026
                    30026,, 32768
                            32768,, 0 },
          { 30512
            30512,, 32423
                    32423,, 32768
                            32768,, 0 },
          { 31658
            31658,, 32621
                    32621,, 32768
                            32768,, 0 },
          { 29630
            29630,, 31881
                    31881,, 32768
                            32768,, 0 } } },
      { { { 5717
            5717,, 26477
                   26477,, 32768
                           32768,, 0 },
          { 30491
            30491,, 31703
                    31703,, 32768
                            32768,, 0 },
          { 31550
            31550,, 32158
                    32158,, 32768
                            32768,, 0 },
          { 29648
            29648,, 31491
                    31491,, 32768
                            32768,, 0 } },
        { { 12608
            12608,, 27820
                    27820,, 32768
                            32768,, 0 },
          { 30680
            30680,, 32225
                    32225,, 32768
                            32768,, 0 },
          { 30809
            30809,, 32335
                    32335,, 32768
                            32768,, 0 },
          { 31299
            31299,, 32423
                    32423,, 32768
                            32768,, 0 } } },
      { { { 1786
            1786,, 12612
                   12612,, 32768
                           32768,, 0 },
          { 30663
            30663,, 31625
                    31625,, 32768
                            32768,, 0 },
          { 32339
            32339,, 32468
                    32468,, 32768
                            32768,, 0 },
          { 31148
            31148,, 31833
                    31833,, 32768
                            32768,, 0 } },
        { { 18857
            18857,, 23865
                    23865,, 32768
                            32768,, 0 },
          { 31428
            31428,, 32428
                    32428,, 32768
                            32768,, 0 },
          { 31744
            31744,, 32373
                    32373,, 32768
                            32768,, 0 },
          { 31775
            31775,, 32526
                    32526,, 32768
                            32768,, 0 } } },
      { { { 1787
            1787,, 2532
                   2532,, 32768
                          32768,, 0 },
          { 30832
            30832,, 31662
                    31662,, 32768
                            32768,, 0 },
          { 31824
            31824,, 32682
                    32682,, 32768
                            32768,, 0 },
          { 32133
            32133,, 32569
                    32569,, 32768
                            32768,, 0 } },
        { { 13751
            13751,, 22235
                    22235,, 32768
                            32768,, 0 },
          { 32089
            32089,, 32409
                    32409,, 32768
                            32768,, 0 },
          { 27084
            27084,, 27920
                    27920,, 32768
                            32768,, 0 },
          { 29291
            29291,, 32594
                    32594,, 32768
                            32768,, 0 } } },
      { { { 1725
            1725,, 3449
                   3449,, 32768
                          32768,, 0 },
          { 31102
            31102,, 31935
                    31935,, 32768
                            32768,, 0 },
          { 32457
            32457,, 32613
                    32613,, 32768
                            32768,, 0 },
          { 32412
            32412,, 32649
                    32649,, 32768
                            32768,, 0 } },
        { { 10923
            10923,, 21845
                    21845,, 32768
                            32768,, 0 },
          { 10923
            10923,, 21845
                    21845,, 32768
                            32768,, 0 },
          { 10923
            10923,, 21845
                    21845,, 32768
                            32768,, 0 },
          { 10923
            10923,, 21845
                    21845,, 32768
                            32768,, 0 } } } },
    { { { { 17560
            17560,, 29888
                    29888,, 32768
                            32768,, 0 },
          { 29671
            29671,, 31549
                    31549,, 32768
                            32768,, 0 },
          { 31007
            31007,, 32056
                    32056,, 32768
                            32768,, 0 },
          { 27286
            27286,, 30006
                    30006,, 32768
                            32768,, 0 } },
        { { 26594
            26594,, 31212
                    31212,, 32768
                            32768,, 0 },
          { 31208
            31208,, 32582
                    32582,, 32768
                            32768,, 0 },
          { 31835
            31835,, 32637
                    32637,, 32768
                            32768,, 0 },
          { 30595
            30595,, 32206
                    32206,, 32768
                            32768,, 0 } } },




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       { { { 15239
             15239,, 29932
                     29932,, 32768
                             32768,, 0 },
           { 31315
             31315,, 32095
                     32095,, 32768
                             32768,, 0 },
           { 32130
             32130,, 32434
                     32434,, 32768
                             32768,, 0 },
           { 30864
             30864,, 31996
                     31996,, 32768
                             32768,, 0 } },
         { { 26279
             26279,, 30968
                     30968,, 32768
                             32768,, 0 },
           { 31142
             31142,, 32495
                     32495,, 32768
                             32768,, 0 },
           { 31713
             31713,, 32540
                     32540,, 32768
                             32768,, 0 },
           { 31929
             31929,, 32594
                     32594,, 32768
                             32768,, 0 } } },
       { { { 2644
             2644,, 25198
                    25198,, 32768
                            32768,, 0 },
           { 32038
             32038,, 32451
                     32451,, 32768
                             32768,, 0 },
           { 32639
             32639,, 32695
                     32695,, 32768
                             32768,, 0 },
           { 32166
             32166,, 32518
                     32518,, 32768
                             32768,, 0 } },
         { { 17187
             17187,, 27668
                     27668,, 32768
                             32768,, 0 },
           { 31714
             31714,, 32550
                     32550,, 32768
                             32768,, 0 },
           { 32283
             32283,, 32678
                     32678,, 32768
                             32768,, 0 },
           { 31930
             31930,, 32563
                     32563,, 32768
                             32768,, 0 } } },
       { { { 1044
             1044,, 2257
                    2257,, 32768
                           32768,, 0 },
           { 30755
             30755,, 31923
                     31923,, 32768
                             32768,, 0 },
           { 32208
             32208,, 32693
                     32693,, 32768
                             32768,, 0 },
           { 32244
             32244,, 32615
                     32615,, 32768
                             32768,, 0 } },
         { { 21317
             21317,, 26207
                     26207,, 32768
                             32768,, 0 },
           { 29133
             29133,, 30868
                     30868,, 32768
                             32768,, 0 },
           { 29311
             29311,, 31231
                     31231,, 32768
                             32768,, 0 },
           { 29657
             29657,, 31087
                     31087,, 32768
                             32768,, 0 } } },
       { { { 478
             478,, 1834
                   1834,, 32768
                          32768,, 0 },
           { 31005
             31005,, 31987
                     31987,, 32768
                             32768,, 0 },
           { 32317
             32317,, 32724
                     32724,, 32768
                             32768,, 0 },
           { 30865
             30865,, 32648
                     32648,, 32768
                             32768,, 0 } },
         { { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 } } } },
     { { { { 20092
             20092,, 30774
                     30774,, 32768
                             32768,, 0 },
           { 30695
             30695,, 32020
                     32020,, 32768
                             32768,, 0 },
           { 31131
             31131,, 32103
                     32103,, 32768
                             32768,, 0 },
           { 28666
             28666,, 30870
                     30870,, 32768
                             32768,, 0 } },
         { { 27258
             27258,, 31095
                     31095,, 32768
                             32768,, 0 },
           { 31804
             31804,, 32623
                     32623,, 32768
                             32768,, 0 },
           { 31763
             31763,, 32528
                     32528,, 32768
                             32768,, 0 },
           { 31438
             31438,, 32506
                     32506,, 32768
                             32768,, 0 } } },
       { { { 18049
             18049,, 30489
                     30489,, 32768
                             32768,, 0 },
           { 31706
             31706,, 32286
                     32286,, 32768
                             32768,, 0 },
           { 32163
             32163,, 32473
                     32473,, 32768
                             32768,, 0 },
           { 31550
             31550,, 32184
                     32184,, 32768
                             32768,, 0 } },
         { { 27116
             27116,, 30842
                     30842,, 32768
                             32768,, 0 },
           { 31971
             31971,, 32598
                     32598,, 32768
                             32768,, 0 },
           { 32088
             32088,, 32576
                     32576,, 32768
                             32768,, 0 },
           { 32067
             32067,, 32664
                     32664,, 32768
                             32768,, 0 } } },
       { { { 12854
             12854,, 29093
                     29093,, 32768
                             32768,, 0 },
           { 32272
             32272,, 32558
                     32558,, 32768
                             32768,, 0 },




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           { 32667
             32667,, 32729
                     32729,, 32768
                             32768,, 0 },
           { 32306
             32306,, 32585
                     32585,, 32768
                             32768,, 0 } },
         { { 25476
             25476,, 30366
                     30366,, 32768
                             32768,, 0 },
           { 32169
             32169,, 32687
                     32687,, 32768
                             32768,, 0 },
           { 32479
             32479,, 32689
                     32689,, 32768
                             32768,, 0 },
           { 31673
             31673,, 32634
                     32634,, 32768
                             32768,, 0 } } },
       { { { 2809
             2809,, 19301
                    19301,, 32768
                            32768,, 0 },
           { 32205
             32205,, 32622
                     32622,, 32768
                             32768,, 0 },
           { 32338
             32338,, 32730
                     32730,, 32768
                             32768,, 0 },
           { 31786
             31786,, 32616
                     32616,, 32768
                             32768,, 0 } },
         { { 22737
             22737,, 29105
                     29105,, 32768
                             32768,, 0 },
           { 30810
             30810,, 32362
                     32362,, 32768
                             32768,, 0 },
           { 30014
             30014,, 32627
                     32627,, 32768
                             32768,, 0 },
           { 30528
             30528,, 32574
                     32574,, 32768
                             32768,, 0 } } },
       { { { 935
             935,, 3382
                   3382,, 32768
                          32768,, 0 },
           { 30789
             30789,, 31909
                     31909,, 32768
                             32768,, 0 },
           { 32466
             32466,, 32756
                     32756,, 32768
                             32768,, 0 },
           { 30860
             30860,, 32513
                     32513,, 32768
                             32768,, 0 } },
         { { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 } } } },
     { { { { 22497
             22497,, 31198
                     31198,, 32768
                             32768,, 0 },
           { 31715
             31715,, 32495
                     32495,, 32768
                             32768,, 0 },
           { 31606
             31606,, 32337
                     32337,, 32768
                             32768,, 0 },
           { 30388
             30388,, 31990
                     31990,, 32768
                             32768,, 0 } },
         { { 27877
             27877,, 31584
                     31584,, 32768
                             32768,, 0 },
           { 32170
             32170,, 32728
                     32728,, 32768
                             32768,, 0 },
           { 32155
             32155,, 32688
                     32688,, 32768
                             32768,, 0 },
           { 32219
             32219,, 32702
                     32702,, 32768
                             32768,, 0 } } },
       { { { 21457
             21457,, 31043
                     31043,, 32768
                             32768,, 0 },
           { 31951
             31951,, 32483
                     32483,, 32768
                             32768,, 0 },
           { 32153
             32153,, 32562
                     32562,, 32768
                             32768,, 0 },
           { 31473
             31473,, 32215
                     32215,, 32768
                             32768,, 0 } },
         { { 27558
             27558,, 31151
                     31151,, 32768
                             32768,, 0 },
           { 32020
             32020,, 32640
                     32640,, 32768
                             32768,, 0 },
           { 32097
             32097,, 32575
                     32575,, 32768
                             32768,, 0 },
           { 32242
             32242,, 32719
                     32719,, 32768
                             32768,, 0 } } },
       { { { 19980
             19980,, 30591
                     30591,, 32768
                             32768,, 0 },
           { 32219
             32219,, 32597
                     32597,, 32768
                             32768,, 0 },
           { 32581
             32581,, 32706
                     32706,, 32768
                             32768,, 0 },
           { 31803
             31803,, 32287
                     32287,, 32768
                             32768,, 0 } },
         { { 26473
             26473,, 30507
                     30507,, 32768
                             32768,, 0 },
           { 32431
             32431,, 32723
                     32723,, 32768
                             32768,, 0 },
           { 32196
             32196,, 32611
                     32611,, 32768
                             32768,, 0 },
           { 31588
             31588,, 32528
                     32528,, 32768
                             32768,, 0 } } },
       { { { 24647
             24647,, 30463
                     30463,, 32768
                             32768,, 0 },
           { 32412
             32412,, 32695
                     32695,, 32768
                             32768,, 0 },
           { 32468
             32468,, 32720
                     32720,, 32768
                             32768,, 0 },
           { 31269
             31269,, 32523
                     32523,, 32768
                             32768,, 0 } },




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          Case 2:25-cv-03053        Document 1-8     Filed 04/07/25 Page 470 of 682 Page ID
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         { { 28482
             28482,, 31505
                     31505,, 32768
                             32768,, 0 },
           { 32152
             32152,, 32701
                     32701,, 32768
                             32768,, 0 },
           { 31732
             31732,, 32598
                     32598,, 32768
                             32768,, 0 },
           { 31767
             31767,, 32712
                     32712,, 32768
                             32768,, 0 } } },
       { { { 12358
             12358,, 24977
                     24977,, 32768
                             32768,, 0 },
           { 31331
             31331,, 32385
                     32385,, 32768
                             32768,, 0 },
           { 32634
             32634,, 32756
                     32756,, 32768
                             32768,, 0 },
           { 30411
             30411,, 32548
                     32548,, 32768
                             32768,, 0 } },
         { { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 },
           { 10923
             10923,, 21845
                     21845,, 32768
                             32768,, 0 } } } }
  }




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  Default_Coeff_Base_Cdf[[ COEFF_CDF_Q_CTXS ][ TX_SIZES ][ PLANE_TYPES ][ SIG_COEF_CONTEXTS ][ 5 ] = {
    { { { { 4034
            4034,, 8930
                   8930,, 12727
                          12727,, 32768
                                  32768,, 0 },
          { 18082
            18082,, 29741
                    29741,, 31877
                            31877,, 32768
                                    32768,, 0 },
          { 12596
            12596,, 26124
                    26124,, 30493
                            30493,, 32768
                                    32768,, 0 },
          { 9446
            9446,, 21118
                   21118,, 27005
                           27005,, 32768
                                   32768,, 0 },
          { 6308
            6308,, 15141
                   15141,, 21279
                           21279,, 32768
                                   32768,, 0 },
          { 2463
            2463,, 6357
                   6357,, 9783
                          9783,, 32768
                                 32768,, 0 },
          { 20667
            20667,, 30546
                    30546,, 31929
                            31929,, 32768
                                    32768,, 0 },
          { 13043
            13043,, 26123
                    26123,, 30134
                            30134,, 32768
                                    32768,, 0 },
          { 8151
            8151,, 18757
                   18757,, 24778
                           24778,, 32768
                                   32768,, 0 },
          { 5255
            5255,, 12839
                   12839,, 18632
                           18632,, 32768
                                   32768,, 0 },
          { 2820
            2820,, 7206
                   7206,, 11161
                          11161,, 32768
                                  32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 15736
            15736,, 27553
                    27553,, 30604
                            30604,, 32768
                                    32768,, 0 },
          { 11210
            11210,, 23794
                    23794,, 28787
                            28787,, 32768
                                    32768,, 0 },
          { 5947
            5947,, 13874
                   13874,, 19701
                           19701,, 32768
                                   32768,, 0 },
          { 4215
            4215,, 9323
                   9323,, 13891
                          13891,, 32768
                                  32768,, 0 },
          { 2833
            2833,, 6462
                   6462,, 10059
                          10059,, 32768
                                  32768,, 0 },
          { 19605
            19605,, 30393
                    30393,, 31582
                            31582,, 32768
                                    32768,, 0 },
          { 13523
            13523,, 26252
                    26252,, 30248
                            30248,, 32768
                                    32768,, 0 },
          { 8446
            8446,, 18622
                   18622,, 24512
                           24512,, 32768
                                   32768,, 0 },
          { 3818
            3818,, 10343
                   10343,, 15974
                           15974,, 32768
                                   32768,, 0 },
          { 1481
            1481,, 4117
                   4117,, 6796
                          6796,, 32768
                                 32768,, 0 },
          { 22649
            22649,, 31302
                    31302,, 32190
                            32190,, 32768
                                    32768,, 0 },
          { 14829
            14829,, 27127
                    27127,, 30449
                            30449,, 32768
                                    32768,, 0 },
          { 8313
            8313,, 17702
                   17702,, 23304
                           23304,, 32768
                                   32768,, 0 },
          { 3022
            3022,, 8301
                   8301,, 12786
                          12786,, 32768
                                  32768,, 0 },
          { 1536
            1536,, 4412
                   4412,, 7184
                          7184,, 32768
                                 32768,, 0 },
          { 22354
            22354,, 29774
                    29774,, 31372
                            31372,, 32768
                                    32768,, 0 },
          { 14723
            14723,, 25472
                    25472,, 29214
                            29214,, 32768
                                    32768,, 0 },
          { 6673
            6673,, 13745
                   13745,, 18662
                           18662,, 32768
                                   32768,, 0 },
          { 2068
            2068,, 5766
                   5766,, 9322
                          9322,, 32768
                                 32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 },
          { 8192
            8192,, 16384
                   16384,, 24576
                           24576,, 32768
                                   32768,, 0 } },
        { { 6302
            6302,, 16444
                   16444,, 21761
                           21761,, 32768
                                   32768,, 0 },
          { 23040
            23040,, 31538
                    31538,, 32475
                            32475,, 32768
                                    32768,, 0 },
          { 15196
            15196,, 28452
                    28452,, 31496
                            31496,, 32768
                                    32768,, 0 },
          { 10020
            10020,, 22946
                    22946,, 28514
                            28514,, 32768
                                    32768,, 0 },
          { 6533
            6533,, 16862
                   16862,, 23501
                           23501,, 32768
                                   32768,, 0 },
          { 3538
            3538,, 9816
                   9816,, 15076
                          15076,, 32768
                                  32768,, 0 },
          { 24444
            24444,, 31875
                    31875,, 32525
                            32525,, 32768
                                    32768,, 0 },




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          Case 2:25-cv-03053        Document 1-8         Filed 04/07/25 Page 472 of 682 Page ID
                                                       #:1718        AV1 Bitstream & Decoding Process Specification



           { 15881
             15881,, 28924
                     28924,, 31635
                             31635,, 32768
                                     32768,, 0 },
           { 9922
             9922,, 22873
                    22873,, 28466
                            28466,, 32768
                                    32768,, 0 },
           { 6527
             6527,, 16966
                    16966,, 23691
                            23691,, 32768
                                    32768,, 0 },
           { 4114
             4114,, 11303
                    11303,, 17220
                            17220,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 20201
             20201,, 30770
                     30770,, 32209
                             32209,, 32768
                                     32768,, 0 },
           { 14754
             14754,, 28071
                     28071,, 31258
                             31258,, 32768
                                     32768,, 0 },
           { 8378
             8378,, 20186
                    20186,, 26517
                            26517,, 32768
                                    32768,, 0 },
           { 5916
             5916,, 15299
                    15299,, 21978
                            21978,, 32768
                                    32768,, 0 },
           { 4268
             4268,, 11583
                    11583,, 17901
                            17901,, 32768
                                    32768,, 0 },
           { 24361
             24361,, 32025
                     32025,, 32581
                             32581,, 32768
                                     32768,, 0 },
           { 18673
             18673,, 30105
                     30105,, 31943
                             31943,, 32768
                                     32768,, 0 },
           { 10196
             10196,, 22244
                     22244,, 27576
                             27576,, 32768
                                     32768,, 0 },
           { 5495
             5495,, 14349
                    14349,, 20417
                            20417,, 32768
                                    32768,, 0 },
           { 2676
             2676,, 7415
                    7415,, 11498
                           11498,, 32768
                                   32768,, 0 },
           { 24678
             24678,, 31958
                     31958,, 32585
                             32585,, 32768
                                     32768,, 0 },
           { 18629
             18629,, 29906
                     29906,, 31831
                             31831,, 32768
                                     32768,, 0 },
           { 9364
             9364,, 20724
                    20724,, 26315
                            26315,, 32768
                                    32768,, 0 },
           { 4641
             4641,, 12318
                    12318,, 18094
                            18094,, 32768
                                    32768,, 0 },
           { 2758
             2758,, 7387
                    7387,, 11579
                           11579,, 32768
                                   32768,, 0 },
           { 25433
             25433,, 31842
                     31842,, 32469
                             32469,, 32768
                                     32768,, 0 },
           { 18795
             18795,, 29289
                     29289,, 31411
                             31411,, 32768
                                     32768,, 0 },
           { 7644
             7644,, 17584
                    17584,, 23592
                            23592,, 32768
                                    32768,, 0 },
           { 3408
             3408,, 9014
                    9014,, 15047
                           15047,, 32768
                                   32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 4536
             4536,, 10072
                    10072,, 14001
                            14001,, 32768
                                    32768,, 0 },
           { 25459
             25459,, 31416
                     31416,, 32206
                             32206,, 32768
                                     32768,, 0 },
           { 16605
             16605,, 28048
                     28048,, 30818
                             30818,, 32768
                                     32768,, 0 },
           { 11008
             11008,, 22857
                     22857,, 27719
                             27719,, 32768
                                     32768,, 0 },
           { 6915
             6915,, 16268
                    16268,, 22315
                            22315,, 32768
                                    32768,, 0 },
           { 2625
             2625,, 6812
                    6812,, 10537
                           10537,, 32768
                                   32768,, 0 },
           { 24257
             24257,, 31788
                     31788,, 32499
                             32499,, 32768
                                     32768,, 0 },
           { 16880
             16880,, 29454
                     29454,, 31879
                             31879,, 32768
                                     32768,, 0 },
           { 11958
             11958,, 25054
                     25054,, 29778
                             29778,, 32768
                                     32768,, 0 },
           { 7916
             7916,, 18718
                    18718,, 25084
                            25084,, 32768
                                    32768,, 0 },
           { 3383
             3383,, 8777
                    8777,, 13446
                           13446,, 32768
                                   32768,, 0 },
           { 22720
             22720,, 31603
                     31603,, 32393
                             32393,, 32768
                                     32768,, 0 },
           { 14960
             14960,, 28125
                     28125,, 31335
                             31335,, 32768
                                     32768,, 0 },
           { 9731
             9731,, 22210
                    22210,, 27928
                            27928,, 32768
                                    32768,, 0 },
           { 6304
             6304,, 15832
                    15832,, 22277
                            22277,, 32768
                                    32768,, 0 },




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           { 2910
             2910,, 7818
                    7818,, 12166
                           12166,, 32768
                                   32768,, 0 },
           { 20375
             20375,, 30627
                     30627,, 32131
                             32131,, 32768
                                     32768,, 0 },
           { 13904
             13904,, 27284
                     27284,, 30887
                             30887,, 32768
                                     32768,, 0 },
           { 9368
             9368,, 21558
                    21558,, 27144
                            27144,, 32768
                                    32768,, 0 },
           { 5937
             5937,, 14966
                    14966,, 21119
                            21119,, 32768
                                    32768,, 0 },
           { 2667
             2667,, 7225
                    7225,, 11319
                           11319,, 32768
                                   32768,, 0 },
           { 23970
             23970,, 31470
                     31470,, 32378
                             32378,, 32768
                                     32768,, 0 },
           { 17173
             17173,, 29734
                     29734,, 32018
                             32018,, 32768
                                     32768,, 0 },
           { 12795
             12795,, 25441
                     25441,, 29965
                             29965,, 32768
                                     32768,, 0 },
           { 8981
             8981,, 19680
                    19680,, 25893
                            25893,, 32768
                                    32768,, 0 },
           { 4728
             4728,, 11372
                    11372,, 16902
                            16902,, 32768
                                    32768,, 0 },
           { 24287
             24287,, 31797
                     31797,, 32439
                             32439,, 32768
                                     32768,, 0 },
           { 16703
             16703,, 29145
                     29145,, 31696
                             31696,, 32768
                                     32768,, 0 },
           { 10833
             10833,, 23554
                     23554,, 28725
                             28725,, 32768
                                     32768,, 0 },
           { 6468
             6468,, 16566
                    16566,, 23057
                            23057,, 32768
                                    32768,, 0 },
           { 2415
             2415,, 6562
                    6562,, 10278
                           10278,, 32768
                                   32768,, 0 },
           { 26610
             26610,, 32395
                     32395,, 32659
                             32659,, 32768
                                     32768,, 0 },
           { 18590
             18590,, 30498
                     30498,, 32117
                             32117,, 32768
                                     32768,, 0 },
           { 12420
             12420,, 25756
                     25756,, 29950
                             29950,, 32768
                                     32768,, 0 },
           { 7639
             7639,, 18746
                    18746,, 24710
                            24710,, 32768
                                    32768,, 0 },
           { 3001
             3001,, 8086
                    8086,, 12347
                           12347,, 32768
                                   32768,, 0 },
           { 25076
             25076,, 32064
                     32064,, 32580
                             32580,, 32768
                                     32768,, 0 },
           { 17946
             17946,, 30128
                     30128,, 32028
                             32028,, 32768
                                     32768,, 0 },
           { 12024
             12024,, 24985
                     24985,, 29378
                             29378,, 32768
                                     32768,, 0 },
           { 7517
             7517,, 18390
                    18390,, 24304
                            24304,, 32768
                                    32768,, 0 },
           { 3243
             3243,, 8781
                    8781,, 13331
                           13331,, 32768
                                   32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 6037
             6037,, 16771
                    16771,, 21957
                            21957,, 32768
                                    32768,, 0 },
           { 24774
             24774,, 31704
                     31704,, 32426
                             32426,, 32768
                                     32768,, 0 },
           { 16830
             16830,, 28589
                     28589,, 31056
                             31056,, 32768
                                     32768,, 0 },
           { 10602
             10602,, 22828
                     22828,, 27760
                             27760,, 32768
                                     32768,, 0 },
           { 6733
             6733,, 16829
                    16829,, 23071
                            23071,, 32768
                                    32768,, 0 },
           { 3250
             3250,, 8914
                    8914,, 13556
                           13556,, 32768
                                   32768,, 0 },
           { 25582
             25582,, 32220
                     32220,, 32668
                             32668,, 32768
                                     32768,, 0 },
           { 18659
             18659,, 30342
                     30342,, 32223
                             32223,, 32768
                                     32768,, 0 },
           { 12546
             12546,, 26149
                     26149,, 30515
                             30515,, 32768
                                     32768,, 0 },
           { 8420
             8420,, 20451
                    20451,, 26801
                            26801,, 32768
                                    32768,, 0 },
           { 4636
             4636,, 12420
                    12420,, 18344
                            18344,, 32768
                                    32768,, 0 },
           { 27581
             27581,, 32362
                     32362,, 32639
                             32639,, 32768
                                     32768,, 0 },
           { 18987
             18987,, 30083
                     30083,, 31978
                             31978,, 32768
                                     32768,, 0 },
           { 11327
             11327,, 24248
                     24248,, 29084
                             29084,, 32768
                                     32768,, 0 },
           { 7264
             7264,, 17719
                    17719,, 24120
                            24120,, 32768
                                    32768,, 0 },
           { 3995
             3995,, 10768
                    10768,, 16169
                            16169,, 32768
                                    32768,, 0 },
           { 25893
             25893,, 31831
                     31831,, 32487
                             32487,, 32768
                                     32768,, 0 },
           { 16577
             16577,, 28587
                     28587,, 31379
                             31379,, 32768
                                     32768,, 0 },
           { 10189
             10189,, 22748
                     22748,, 28182
                             28182,, 32768
                                     32768,, 0 },
           { 6832
             6832,, 17094
                    17094,, 23556
                            23556,, 32768
                                    32768,, 0 },
           { 3708
             3708,, 10110
                    10110,, 15334
                            15334,, 32768
                                    32768,, 0 },
           { 25904
             25904,, 32282
                     32282,, 32656
                             32656,, 32768
                                     32768,, 0 },
           { 19721
             19721,, 30792
                     30792,, 32276
                             32276,, 32768
                                     32768,, 0 },




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           { 12819
             12819,, 26243
                     26243,, 30411
                             30411,, 32768
                                     32768,, 0 },
           { 8572
             8572,, 20614
                    20614,, 26891
                            26891,, 32768
                                    32768,, 0 },
           { 5364
             5364,, 14059
                    14059,, 20467
                            20467,, 32768
                                    32768,, 0 },
           { 26580
             26580,, 32438
                     32438,, 32677
                             32677,, 32768
                                     32768,, 0 },
           { 20852
             20852,, 31225
                     31225,, 32340
                             32340,, 32768
                                     32768,, 0 },
           { 12435
             12435,, 25700
                     25700,, 29967
                             29967,, 32768
                                     32768,, 0 },
           { 8691
             8691,, 20825
                    20825,, 26976
                            26976,, 32768
                                    32768,, 0 },
           { 4446
             4446,, 12209
                    12209,, 17269
                            17269,, 32768
                                    32768,, 0 },
           { 27350
             27350,, 32429
                     32429,, 32696
                             32696,, 32768
                                     32768,, 0 },
           { 21372
             21372,, 30977
                     30977,, 32272
                             32272,, 32768
                                     32768,, 0 },
           { 12673
             12673,, 25270
                     25270,, 29853
                             29853,, 32768
                                     32768,, 0 },
           { 9208
             9208,, 20925
                    20925,, 26640
                            26640,, 32768
                                    32768,, 0 },
           { 5018
             5018,, 13351
                    13351,, 18732
                            18732,, 32768
                                    32768,, 0 },
           { 27351
             27351,, 32479
                     32479,, 32713
                             32713,, 32768
                                     32768,, 0 },
           { 21398
             21398,, 31209
                     31209,, 32387
                             32387,, 32768
                                     32768,, 0 },
           { 12162
             12162,, 25047
                     25047,, 29842
                             29842,, 32768
                                     32768,, 0 },
           { 7896
             7896,, 18691
                    18691,, 25319
                            25319,, 32768
                                    32768,, 0 },
           { 4670
             4670,, 12882
                    12882,, 18881
                            18881,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 5487
             5487,, 10460
                    10460,, 13708
                            13708,, 32768
                                    32768,, 0 },
           { 21597
             21597,, 28303
                     28303,, 30674
                             30674,, 32768
                                     32768,, 0 },
           { 11037
             11037,, 21953
                     21953,, 26476
                             26476,, 32768
                                     32768,, 0 },
           { 8147
             8147,, 17962
                    17962,, 22952
                            22952,, 32768
                                    32768,, 0 },
           { 5242
             5242,, 13061
                    13061,, 18532
                            18532,, 32768
                                    32768,, 0 },
           { 1889
             1889,, 5208
                    5208,, 8182
                           8182,, 32768
                                  32768,, 0 },
           { 26774
             26774,, 32133
                     32133,, 32590
                             32590,, 32768
                                     32768,, 0 },
           { 17844
             17844,, 29564
                     29564,, 31767
                             31767,, 32768
                                     32768,, 0 },
           { 11690
             11690,, 24438
                     24438,, 29171
                             29171,, 32768
                                     32768,, 0 },
           { 7542
             7542,, 18215
                    18215,, 24459
                            24459,, 32768
                                    32768,, 0 },
           { 2993
             2993,, 8050
                    8050,, 12319
                           12319,, 32768
                                   32768,, 0 },
           { 28023
             28023,, 32328
                     32328,, 32591
                             32591,, 32768
                                     32768,, 0 },
           { 18651
             18651,, 30126
                     30126,, 31954
                             31954,, 32768
                                     32768,, 0 },
           { 12164
             12164,, 25146
                     25146,, 29589
                             29589,, 32768
                                     32768,, 0 },
           { 7762
             7762,, 18530
                    18530,, 24771
                            24771,, 32768
                                    32768,, 0 },
           { 3492
             3492,, 9183
                    9183,, 13920
                           13920,, 32768
                                   32768,, 0 },
           { 27591
             27591,, 32008
                     32008,, 32491
                             32491,, 32768
                                     32768,, 0 },
           { 17149
             17149,, 28853
                     28853,, 31510
                             31510,, 32768
                                     32768,, 0 },
           { 11485
             11485,, 24003
                     24003,, 28860
                             28860,, 32768
                                     32768,, 0 },
           { 7697
             7697,, 18086
                    18086,, 24210
                            24210,, 32768
                                    32768,, 0 },
           { 3075
             3075,, 7999
                    7999,, 12218
                           12218,, 32768
                                   32768,, 0 },
           { 28268
             28268,, 32482
                     32482,, 32654
                             32654,, 32768
                                     32768,, 0 },
           { 19631
             19631,, 31051
                     31051,, 32404
                             32404,, 32768
                                     32768,, 0 },
           { 13860
             13860,, 27260
                     27260,, 31020
                             31020,, 32768
                                     32768,, 0 },
           { 9605
             9605,, 21613
                    21613,, 27594
                            27594,, 32768
                                    32768,, 0 },
           { 4876
             4876,, 12162
                    12162,, 17908
                            17908,, 32768
                                    32768,, 0 },
           { 27248
             27248,, 32316
                     32316,, 32576
                             32576,, 32768
                                     32768,, 0 },
           { 18955
             18955,, 30457
                     30457,, 32075
                             32075,, 32768
                                     32768,, 0 },
           { 11824
             11824,, 23997
                     23997,, 28795
                             28795,, 32768
                                     32768,, 0 },
           { 7346
             7346,, 18196
                    18196,, 24647
                            24647,, 32768
                                    32768,, 0 },
           { 3403
             3403,, 9247
                    9247,, 14111
                           14111,, 32768
                                   32768,, 0 },




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           { 29711
             29711,, 32655
                     32655,, 32735
                             32735,, 32768
                                     32768,, 0 },
           { 21169
             21169,, 31394
                     31394,, 32417
                             32417,, 32768
                                     32768,, 0 },
           { 13487
             13487,, 27198
                     27198,, 30957
                             30957,, 32768
                                     32768,, 0 },
           { 8828
             8828,, 21683
                    21683,, 27614
                            27614,, 32768
                                    32768,, 0 },
           { 4270
             4270,, 11451
                    11451,, 17038
                            17038,, 32768
                                    32768,, 0 },
           { 28708
             28708,, 32578
                     32578,, 32731
                             32731,, 32768
                                     32768,, 0 },
           { 20120
             20120,, 31241
                     31241,, 32482
                             32482,, 32768
                                     32768,, 0 },
           { 13692
             13692,, 27550
                     27550,, 31321
                             31321,, 32768
                                     32768,, 0 },
           { 9418
             9418,, 22514
                    22514,, 28439
                            28439,, 32768
                                    32768,, 0 },
           { 4999
             4999,, 13283
                    13283,, 19462
                            19462,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 5673
             5673,, 14302
                    14302,, 19711
                            19711,, 32768
                                    32768,, 0 },
           { 26251
             26251,, 30701
                     30701,, 31834
                             31834,, 32768
                                     32768,, 0 },
           { 12782
             12782,, 23783
                     23783,, 27803
                             27803,, 32768
                                     32768,, 0 },
           { 9127
             9127,, 20657
                    20657,, 25808
                            25808,, 32768
                                    32768,, 0 },
           { 6368
             6368,, 16208
                    16208,, 21462
                            21462,, 32768
                                    32768,, 0 },
           { 2465
             2465,, 7177
                    7177,, 10822
                           10822,, 32768
                                   32768,, 0 },
           { 29961
             29961,, 32563
                     32563,, 32719
                             32719,, 32768
                                     32768,, 0 },
           { 18318
             18318,, 29891
                     29891,, 31949
                             31949,, 32768
                                     32768,, 0 },
           { 11361
             11361,, 24514
                     24514,, 29357
                             29357,, 32768
                                     32768,, 0 },
           { 7900
             7900,, 19603
                    19603,, 25607
                            25607,, 32768
                                    32768,, 0 },
           { 4002
             4002,, 10590
                    10590,, 15546
                            15546,, 32768
                                    32768,, 0 },
           { 29637
             29637,, 32310
                     32310,, 32595
                             32595,, 32768
                                     32768,, 0 },
           { 18296
             18296,, 29913
                     29913,, 31809
                             31809,, 32768
                                     32768,, 0 },
           { 10144
             10144,, 21515
                     21515,, 26871
                             26871,, 32768
                                     32768,, 0 },
           { 5358
             5358,, 14322
                    14322,, 20394
                            20394,, 32768
                                    32768,, 0 },
           { 3067
             3067,, 8362
                    8362,, 13346
                           13346,, 32768
                                   32768,, 0 },
           { 28652
             28652,, 32470
                     32470,, 32676
                             32676,, 32768
                                     32768,, 0 },
           { 17538
             17538,, 30771
                     30771,, 32209
                             32209,, 32768
                                     32768,, 0 },
           { 13924
             13924,, 26882
                     26882,, 30494
                             30494,, 32768
                                     32768,, 0 },
           { 10496
             10496,, 22837
                     22837,, 27869
                             27869,, 32768
                                     32768,, 0 },
           { 7236
             7236,, 16396
                    16396,, 21621
                            21621,, 32768
                                    32768,, 0 },
           { 30743
             30743,, 32687
                     32687,, 32746
                             32746,, 32768
                                     32768,, 0 },
           { 23006
             23006,, 31676
                     31676,, 32489
                             32489,, 32768
                                     32768,, 0 },
           { 14494
             14494,, 27828
                     27828,, 31120
                             31120,, 32768
                                     32768,, 0 },
           { 10174
             10174,, 22801
                     22801,, 28352
                             28352,, 32768
                                     32768,, 0 },
           { 6242
             6242,, 15281
                    15281,, 21043
                            21043,, 32768
                                    32768,, 0 },
           { 25817
             25817,, 32243
                     32243,, 32720
                             32720,, 32768
                                     32768,, 0 },
           { 18618
             18618,, 31367
                     31367,, 32325
                             32325,, 32768
                                     32768,, 0 },
           { 13997
             13997,, 28318
                     28318,, 31878
                             31878,, 32768
                                     32768,, 0 },
           { 12255
             12255,, 26534
                     26534,, 31383
                             31383,, 32768
                                     32768,, 0 },
           { 9561
             9561,, 21588
                    21588,, 28450
                            28450,, 32768
                                    32768,, 0 },
           { 28188
             28188,, 32635
                     32635,, 32724
                             32724,, 32768
                                     32768,, 0 },
           { 22060
             22060,, 32365
                     32365,, 32728
                             32728,, 32768
                                     32768,, 0 },
           { 18102
             18102,, 30690
                     30690,, 32528
                             32528,, 32768
                                     32768,, 0 },
           { 14196
             14196,, 28864
                     28864,, 31999
                             31999,, 32768
                                     32768,, 0 },
           { 12262
             12262,, 25792
                     25792,, 30865
                             30865,, 32768
                                     32768,, 0 },
           { 24176
             24176,, 32109
                     32109,, 32628
                             32628,, 32768
                                     32768,, 0 },
           { 18280
             18280,, 29681
                     29681,, 31963
                             31963,, 32768
                                     32768,, 0 },
           { 10205
             10205,, 23703
                     23703,, 29664
                             29664,, 32768
                                     32768,, 0 },




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           { 7889
             7889,, 20025
                    20025,, 27676
                            27676,, 32768
                                    32768,, 0 },
           { 6060
             6060,, 16743
                    16743,, 23970
                            23970,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 5141
             5141,, 7096
                    7096,, 8260
                           8260,, 32768
                                  32768,, 0 },
           { 27186
             27186,, 29022
                     29022,, 29789
                             29789,, 32768
                                     32768,, 0 },
           { 6668
             6668,, 12568
                    12568,, 15682
                            15682,, 32768
                                    32768,, 0 },
           { 2172
             2172,, 6181
                    6181,, 8638
                           8638,, 32768
                                  32768,, 0 },
           { 1126
             1126,, 3379
                    3379,, 4531
                           4531,, 32768
                                  32768,, 0 },
           { 443
             443,, 1361
                   1361,, 2254
                          2254,, 32768
                                 32768,, 0 },
           { 26083
             26083,, 31153
                     31153,, 32436
                             32436,, 32768
                                     32768,, 0 },
           { 13486
             13486,, 24603
                     24603,, 28483
                             28483,, 32768
                                     32768,, 0 },
           { 6508
             6508,, 14840
                    14840,, 19910
                            19910,, 32768
                                    32768,, 0 },
           { 3386
             3386,, 8800
                    8800,, 13286
                           13286,, 32768
                                   32768,, 0 },
           { 1530
             1530,, 4322
                    4322,, 7054
                           7054,, 32768
                                  32768,, 0 },
           { 29639
             29639,, 32080
                     32080,, 32548
                             32548,, 32768
                                     32768,, 0 },
           { 15897
             15897,, 27552
                     27552,, 30290
                             30290,, 32768
                                     32768,, 0 },
           { 8588
             8588,, 20047
                    20047,, 25383
                            25383,, 32768
                                    32768,, 0 },
           { 4889
             4889,, 13339
                    13339,, 19269
                            19269,, 32768
                                    32768,, 0 },
           { 2240
             2240,, 6871
                    6871,, 10498
                           10498,, 32768
                                   32768,, 0 },
           { 28165
             28165,, 32197
                     32197,, 32517
                             32517,, 32768
                                     32768,, 0 },
           { 20735
             20735,, 30427
                     30427,, 31568
                             31568,, 32768
                                     32768,, 0 },
           { 14325
             14325,, 24671
                     24671,, 27692
                             27692,, 32768
                                     32768,, 0 },
           { 5119
             5119,, 12554
                    12554,, 17805
                            17805,, 32768
                                    32768,, 0 },
           { 1810
             1810,, 5441
                    5441,, 8261
                           8261,, 32768
                                  32768,, 0 },
           { 31212
             31212,, 32724
                     32724,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 23352
             23352,, 31766
                     31766,, 32545
                             32545,, 32768
                                     32768,, 0 },
           { 14669
             14669,, 27570
                     27570,, 31059
                             31059,, 32768
                                     32768,, 0 },
           { 8492
             8492,, 20894
                    20894,, 27272
                            27272,, 32768
                                    32768,, 0 },
           { 3644
             3644,, 10194
                    10194,, 15204
                            15204,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 2461
             2461,, 7013
                    7013,, 9371
                           9371,, 32768
                                  32768,, 0 },
           { 24749
             24749,, 29600
                     29600,, 30986
                             30986,, 32768
                                     32768,, 0 },
           { 9466
             9466,, 19037
                    19037,, 22417
                            22417,, 32768
                                    32768,, 0 },
           { 3584
             3584,, 9280
                    9280,, 14400
                           14400,, 32768
                                   32768,, 0 },
           { 1505
             1505,, 3929
                    3929,, 5433
                           5433,, 32768
                                  32768,, 0 },




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           { 677
             677,, 1500
                   1500,, 2736
                          2736,, 32768
                                 32768,, 0 },
           { 23987
             23987,, 30702
                     30702,, 32117
                              32117,, 32768
                                      32768,, 0 },
           { 13554
             13554,, 24571
                     24571,, 29263
                              29263,, 32768
                                      32768,, 0 },
           { 6211
             6211,, 14556
                    14556,, 21155
                             21155,, 32768
                                     32768,, 0 },
           { 3135
             3135,, 10972
                    10972,, 15625
                             15625,, 32768
                                     32768,, 0 },
           { 2435
             2435,, 7127
                    7127,, 11427
                           11427,, 32768
                                    32768,, 0 },
           { 31300
             31300,, 32532
                     32532,, 32550
                              32550,, 32768
                                      32768,, 0 },
           { 14757
             14757,, 30365
                     30365,, 31954
                              31954,, 32768
                                      32768,, 0 },
           { 4405
             4405,, 11612
                    11612,, 18553
                             18553,, 32768
                                     32768,, 0 },
           { 580
             580,, 4132
                   4132,, 7322
                          7322,, 32768
                                 32768,, 0 },
           { 1695
             1695,, 10169
                    10169,, 14124
                             14124,, 32768
                                     32768,, 0 },
           { 30008
             30008,, 32282
                     32282,, 32591
                              32591,, 32768
                                      32768,, 0 },
           { 19244
             19244,, 30108
                     30108,, 31748
                              31748,, 32768
                                      32768,, 0 },
           { 11180
             11180,, 24158
                     24158,, 29555
                              29555,, 32768
                                      32768,, 0 },
           { 5650
             5650,, 14972
                    14972,, 19209
                             19209,, 32768
                                     32768,, 0 },
           { 2114
             2114,, 5109
                    5109,, 8456
                           8456,, 32768
                                   32768,, 0 },
           { 31856
             31856,, 32716
                     32716,, 32748
                              32748,, 32768
                                      32768,, 0 },
           { 23012
             23012,, 31664
                     31664,, 32572
                              32572,, 32768
                                      32768,, 0 },
           { 13694
             13694,, 26656
                     26656,, 30636
                              30636,, 32768
                                      32768,, 0 },
           { 8142
             8142,, 19508
                    19508,, 26093
                             26093,, 32768
                                     32768,, 0 },
           { 4253
             4253,, 10955
                    10955,, 16724
                             16724,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                             24576,, 32768
                                     32768,, 0 } } },
       { { { 601
             601,, 983
                   983,, 1311
                         1311,, 32768
                                32768,, 0 },
           { 18725
             18725,, 23406
                     23406,, 28087
                              28087,, 32768
                                      32768,, 0 },
           { 5461
             5461,, 8192
                    8192,, 10923
                           10923,, 32768
                                    32768,, 0 },
           { 3781
             3781,, 15124
                    15124,, 21425
                             21425,, 32768
                                     32768,, 0 },
           { 2587
             2587,, 7761
                    7761,, 12072
                           12072,, 32768
                                    32768,, 0 },
           { 106
             106,, 458
                   458,, 810
                         810,, 32768
                               32768,, 0 },
           { 22282
             22282,, 29710
                     29710,, 31894
                              31894,, 32768
                                      32768,, 0 },
           { 8508
             8508,, 20926
                    20926,, 25984
                             25984,, 32768
                                     32768,, 0 },
           { 3726
             3726,, 12713
                    12713,, 18083
                             18083,, 32768
                                     32768,, 0 },
           { 1620
             1620,, 7112
                    7112,, 10893
                           10893,, 32768
                                    32768,, 0 },
           { 729
             729,, 2236
                   2236,, 3495
                          3495,, 32768
                                 32768,, 0 },
           { 30163
             30163,, 32474
                     32474,, 32684
                              32684,, 32768
                                      32768,, 0 },
           { 18304
             18304,, 30464
                     30464,, 32000
                              32000,, 32768
                                      32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8      Filed 04/07/25 Page 478 of 682 Page ID
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           { 11443
             11443,, 26526
                     26526,, 29647
                             29647,, 32768
                                     32768,, 0 },
           { 6007
             6007,, 15292
                    15292,, 21299
                            21299,, 32768
                                    32768,, 0 },
           { 2234
             2234,, 6703
                    6703,, 8937
                           8937,, 32768
                                  32768,, 0 },
           { 30954
             30954,, 32177
                     32177,, 32571
                             32571,, 32768
                                     32768,, 0 },
           { 17363
             17363,, 29562
                     29562,, 31076
                             31076,, 32768
                                     32768,, 0 },
           { 9686
             9686,, 22464
                    22464,, 27410
                            27410,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 21390
                            21390,, 32768
                                    32768,, 0 },
           { 1755
             1755,, 8046
                    8046,, 11264
                           11264,, 32768
                                   32768,, 0 },
           { 31168
             31168,, 32734
                     32734,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 22486
             22486,, 31441
                     31441,, 32471
                             32471,, 32768
                                     32768,, 0 },
           { 12833
             12833,, 25627
                     25627,, 29738
                             29738,, 32768
                                     32768,, 0 },
           { 6980
             6980,, 17379
                    17379,, 23122
                            23122,, 32768
                                    32768,, 0 },
           { 3111
             3111,, 8887
                    8887,, 13479
                           13479,, 32768
                                   32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } } },
     { { { { 6041
             6041,, 11854
                    11854,, 15927
                            15927,, 32768
                                    32768,, 0 },
           { 20326
             20326,, 30905
                     30905,, 32251
                             32251,, 32768
                                     32768,, 0 },
           { 14164
             14164,, 26831
                     26831,, 30725
                             30725,, 32768
                                     32768,, 0 },
           { 9760
             9760,, 20647
                    20647,, 26585
                            26585,, 32768
                                    32768,, 0 },
           { 6416
             6416,, 14953
                    14953,, 21219
                            21219,, 32768
                                    32768,, 0 },
           { 2966
             2966,, 7151
                    7151,, 10891
                           10891,, 32768
                                   32768,, 0 },
           { 23567
             23567,, 31374
                     31374,, 32254
                             32254,, 32768
                                     32768,, 0 },
           { 14978
             14978,, 27416
                     27416,, 30946
                             30946,, 32768
                                     32768,, 0 },
           { 9434
             9434,, 20225
                    20225,, 26254
                            26254,, 32768
                                    32768,, 0 },
           { 6658
             6658,, 14558
                    14558,, 20535
                            20535,, 32768
                                    32768,, 0 },
           { 3916
             3916,, 8677
                    8677,, 12989
                           12989,, 32768
                                   32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 18088
             18088,, 29545
                     29545,, 31587
                             31587,, 32768
                                     32768,, 0 },
           { 13062
             13062,, 25843
                     25843,, 30073
                             30073,, 32768
                                     32768,, 0 },
           { 8940
             8940,, 16827
                    16827,, 22251
                            22251,, 32768
                                    32768,, 0 },
           { 7654
             7654,, 13220
                    13220,, 17973
                            17973,, 32768
                                    32768,, 0 },
           { 5733
             5733,, 10316
                    10316,, 14456
                            14456,, 32768
                                    32768,, 0 },
           { 22879
             22879,, 31388
                     31388,, 32114
                             32114,, 32768
                                     32768,, 0 },
           { 15215
             15215,, 27993
                     27993,, 30955
                             30955,, 32768
                                     32768,, 0 },
           { 9397
             9397,, 19445
                    19445,, 24978
                            24978,, 32768
                                    32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8      Filed 04/07/25 Page 480 of 682 Page ID
                                                     #:1726        AV1 Bitstream & Decoding Process Specification



           { 3442
             3442,, 9813
                    9813,, 15344
                           15344,, 32768
                                   32768,, 0 },
           { 1368
             1368,, 3936
                    3936,, 6532
                           6532,, 32768
                                  32768,, 0 },
           { 25494
             25494,, 32033
                     32033,, 32406
                             32406,, 32768
                                     32768,, 0 },
           { 16772
             16772,, 27963
                     27963,, 30718
                             30718,, 32768
                                     32768,, 0 },
           { 9419
             9419,, 18165
                    18165,, 23260
                            23260,, 32768
                                    32768,, 0 },
           { 2677
             2677,, 7501
                    7501,, 11797
                           11797,, 32768
                                   32768,, 0 },
           { 1516
             1516,, 4344
                    4344,, 7170
                           7170,, 32768
                                  32768,, 0 },
           { 26556
             26556,, 31454
                     31454,, 32101
                             32101,, 32768
                                     32768,, 0 },
           { 17128
             17128,, 27035
                     27035,, 30108
                             30108,, 32768
                                     32768,, 0 },
           { 8324
             8324,, 15344
                    15344,, 20249
                            20249,, 32768
                                    32768,, 0 },
           { 1903
             1903,, 5696
                    5696,, 9469
                           9469,, 32768
                                  32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8455
             8455,, 19003
                    19003,, 24368
                            24368,, 32768
                                    32768,, 0 },
           { 23563
             23563,, 32021
                     32021,, 32604
                             32604,, 32768
                                     32768,, 0 },
           { 16237
             16237,, 29446
                     29446,, 31935
                             31935,, 32768
                                     32768,, 0 },
           { 10724
             10724,, 23999
                     23999,, 29358
                             29358,, 32768
                                     32768,, 0 },
           { 6725
             6725,, 17528
                    17528,, 24416
                            24416,, 32768
                                    32768,, 0 },
           { 3927
             3927,, 10927
                    10927,, 16825
                            16825,, 32768
                                    32768,, 0 },
           { 26313
             26313,, 32288
                     32288,, 32634
                             32634,, 32768
                                     32768,, 0 },
           { 17430
             17430,, 30095
                     30095,, 32095
                             32095,, 32768
                                     32768,, 0 },
           { 11116
             11116,, 24606
                     24606,, 29679
                             29679,, 32768
                                     32768,, 0 },
           { 7195
             7195,, 18384
                    18384,, 25269
                            25269,, 32768
                                    32768,, 0 },
           { 4726
             4726,, 12852
                    12852,, 19315
                            19315,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 22822
             22822,, 31648
                     31648,, 32483
                             32483,, 32768
                                     32768,, 0 },
           { 16724
             16724,, 29633
                     29633,, 31929
                             31929,, 32768
                                     32768,, 0 },
           { 10261
             10261,, 23033
                     23033,, 28725
                             28725,, 32768
                                     32768,, 0 },
           { 7029
             7029,, 17840
                    17840,, 24528
                            24528,, 32768
                                    32768,, 0 },
           { 4867
             4867,, 13886
                    13886,, 21502
                            21502,, 32768
                                    32768,, 0 },
           { 25298
             25298,, 31892
                     31892,, 32491
                             32491,, 32768
                                     32768,, 0 },
           { 17809
             17809,, 29330
                     29330,, 31512
                             31512,, 32768
                                     32768,, 0 },
           { 9668
             9668,, 21329
                    21329,, 26579
                            26579,, 32768
                                    32768,, 0 },
           { 4774
             4774,, 12956
                    12956,, 18976
                            18976,, 32768
                                    32768,, 0 },
           { 2322
             2322,, 7030
                    7030,, 11540
                           11540,, 32768
                                   32768,, 0 },
           { 25472
             25472,, 31920
                     31920,, 32543
                             32543,, 32768
                                     32768,, 0 },
           { 17957
             17957,, 29387
                     29387,, 31632
                             31632,, 32768
                                     32768,, 0 },
           { 9196
             9196,, 20593
                    20593,, 26400
                            26400,, 32768
                                    32768,, 0 },
           { 4680
             4680,, 12705
                    12705,, 19202
                            19202,, 32768
                                    32768,, 0 },
           { 2917
             2917,, 8456
                    8456,, 13436
                           13436,, 32768
                                   32768,, 0 },
           { 26471
             26471,, 32059
                     32059,, 32574
                             32574,, 32768
                                     32768,, 0 },




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           { 18458
             18458,, 29783
                     29783,, 31909
                             31909,, 32768
                                     32768,, 0 },
           { 8400
             8400,, 19464
                    19464,, 25956
                            25956,, 32768
                                    32768,, 0 },
           { 3812
             3812,, 10973
                    10973,, 17206
                            17206,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 6779
             6779,, 13743
                    13743,, 17678
                            17678,, 32768
                                    32768,, 0 },
           { 24806
             24806,, 31797
                     31797,, 32457
                             32457,, 32768
                                     32768,, 0 },
           { 17616
             17616,, 29047
                     29047,, 31372
                             31372,, 32768
                                     32768,, 0 },
           { 11063
             11063,, 23175
                     23175,, 28003
                             28003,, 32768
                                     32768,, 0 },
           { 6521
             6521,, 16110
                    16110,, 22324
                            22324,, 32768
                                    32768,, 0 },
           { 2764
             2764,, 7504
                    7504,, 11654
                           11654,, 32768
                                   32768,, 0 },
           { 25266
             25266,, 32367
                     32367,, 32637
                             32637,, 32768
                                     32768,, 0 },
           { 19054
             19054,, 30553
                     30553,, 32175
                             32175,, 32768
                                     32768,, 0 },
           { 12139
             12139,, 25212
                     25212,, 29807
                             29807,, 32768
                                     32768,, 0 },
           { 7311
             7311,, 18162
                    18162,, 24704
                            24704,, 32768
                                    32768,, 0 },
           { 3397
             3397,, 9164
                    9164,, 14074
                           14074,, 32768
                                   32768,, 0 },
           { 25988
             25988,, 32208
                     32208,, 32522
                             32522,, 32768
                                     32768,, 0 },
           { 16253
             16253,, 28912
                     28912,, 31526
                             31526,, 32768
                                     32768,, 0 },
           { 9151
             9151,, 21387
                    21387,, 27372
                            27372,, 32768
                                    32768,, 0 },
           { 5688
             5688,, 14915
                    14915,, 21496
                            21496,, 32768
                                    32768,, 0 },
           { 2717
             2717,, 7627
                    7627,, 12004
                           12004,, 32768
                                   32768,, 0 },
           { 23144
             23144,, 31855
                     31855,, 32443
                             32443,, 32768
                                     32768,, 0 },
           { 16070
             16070,, 28491
                     28491,, 31325
                             31325,, 32768
                                     32768,, 0 },
           { 8702
             8702,, 20467
                    20467,, 26517
                            26517,, 32768
                                    32768,, 0 },
           { 5243
             5243,, 13956
                    13956,, 20367
                            20367,, 32768
                                    32768,, 0 },
           { 2621
             2621,, 7335
                    7335,, 11567
                           11567,, 32768
                                   32768,, 0 },
           { 26636
             26636,, 32340
                     32340,, 32630
                             32630,, 32768
                                     32768,, 0 },
           { 19990
             19990,, 31050
                     31050,, 32341
                             32341,, 32768
                                     32768,, 0 },
           { 13243
             13243,, 26105
                     26105,, 30315
                             30315,, 32768
                                     32768,, 0 },
           { 8588
             8588,, 19521
                    19521,, 25918
                            25918,, 32768
                                    32768,, 0 },
           { 4717
             4717,, 11585
                    11585,, 17304
                            17304,, 32768
                                    32768,, 0 },
           { 25844
             25844,, 32292
                     32292,, 32582
                             32582,, 32768
                                     32768,, 0 },
           { 19090
             19090,, 30635
                     30635,, 32097
                             32097,, 32768
                                     32768,, 0 },
           { 11963
             11963,, 24546
                     24546,, 28939
                             28939,, 32768
                                     32768,, 0 },
           { 6218
             6218,, 16087
                    16087,, 22354
                            22354,, 32768
                                    32768,, 0 },
           { 2340
             2340,, 6608
                    6608,, 10426
                           10426,, 32768
                                   32768,, 0 },
           { 28046
             28046,, 32576
                     32576,, 32694
                             32694,, 32768
                                     32768,, 0 },
           { 21178
             21178,, 31313
                     31313,, 32296
                             32296,, 32768
                                     32768,, 0 },
           { 13486
             13486,, 26184
                     26184,, 29870
                             29870,, 32768
                                     32768,, 0 },
           { 7149
             7149,, 17871
                    17871,, 23723
                            23723,, 32768
                                    32768,, 0 },
           { 2833
             2833,, 7958
                    7958,, 12259
                           12259,, 32768
                                   32768,, 0 },
           { 27710
             27710,, 32528
                     32528,, 32686
                             32686,, 32768
                                     32768,, 0 },
           { 20674
             20674,, 31076
                     31076,, 32268
                             32268,, 32768
                                     32768,, 0 },
           { 12413
             12413,, 24955
                     24955,, 29243
                             29243,, 32768
                                     32768,, 0 },
           { 6676
             6676,, 16927
                    16927,, 23097
                            23097,, 32768
                                    32768,, 0 },
           { 2966
             2966,, 8333
                    8333,, 12919
                           12919,, 32768
                                   32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8639
             8639,, 19339
                    19339,, 24429
                            24429,, 32768
                                    32768,, 0 },
           { 24404
             24404,, 31837
                     31837,, 32525
                             32525,, 32768
                                     32768,, 0 },
           { 16997
             16997,, 29425
                     29425,, 31784
                             31784,, 32768
                                     32768,, 0 },




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           { 11253
             11253,, 24234
                     24234,, 29149
                             29149,, 32768
                                     32768,, 0 },
           { 6751
             6751,, 17394
                    17394,, 24028
                            24028,, 32768
                                    32768,, 0 },
           { 3490
             3490,, 9830
                    9830,, 15191
                           15191,, 32768
                                   32768,, 0 },
           { 26283
             26283,, 32471
                     32471,, 32714
                             32714,, 32768
                                     32768,, 0 },
           { 19599
             19599,, 31168
                     31168,, 32442
                             32442,, 32768
                                     32768,, 0 },
           { 13146
             13146,, 26954
                     26954,, 30893
                             30893,, 32768
                                     32768,, 0 },
           { 8214
             8214,, 20588
                    20588,, 26890
                            26890,, 32768
                                    32768,, 0 },
           { 4699
             4699,, 13081
                    13081,, 19300
                            19300,, 32768
                                    32768,, 0 },
           { 28212
             28212,, 32458
                     32458,, 32669
                             32669,, 32768
                                     32768,, 0 },
           { 18594
             18594,, 30316
                     30316,, 32100
                             32100,, 32768
                                     32768,, 0 },
           { 11219
             11219,, 24408
                     24408,, 29234
                             29234,, 32768
                                     32768,, 0 },
           { 6865
             6865,, 17656
                    17656,, 24149
                            24149,, 32768
                                    32768,, 0 },
           { 3678
             3678,, 10362
                    10362,, 16006
                            16006,, 32768
                                    32768,, 0 },
           { 25825
             25825,, 32136
                     32136,, 32616
                             32616,, 32768
                                     32768,, 0 },
           { 17313
             17313,, 29853
                     29853,, 32021
                             32021,, 32768
                                     32768,, 0 },
           { 11197
             11197,, 24471
                     24471,, 29472
                             29472,, 32768
                                     32768,, 0 },
           { 6947
             6947,, 17781
                    17781,, 24405
                            24405,, 32768
                                    32768,, 0 },
           { 3768
             3768,, 10660
                    10660,, 16261
                            16261,, 32768
                                    32768,, 0 },
           { 27352
             27352,, 32500
                     32500,, 32706
                             32706,, 32768
                                     32768,, 0 },
           { 20850
             20850,, 31468
                     31468,, 32469
                             32469,, 32768
                                     32768,, 0 },
           { 14021
             14021,, 27707
                     27707,, 31133
                             31133,, 32768
                                     32768,, 0 },
           { 8964
             8964,, 21748
                    21748,, 27838
                            27838,, 32768
                                    32768,, 0 },
           { 5437
             5437,, 14665
                    14665,, 21187
                            21187,, 32768
                                    32768,, 0 },
           { 26304
             26304,, 32492
                     32492,, 32698
                             32698,, 32768
                                     32768,, 0 },
           { 20409
             20409,, 31380
                     31380,, 32385
                             32385,, 32768
                                     32768,, 0 },
           { 13682
             13682,, 27222
                     27222,, 30632
                             30632,, 32768
                                     32768,, 0 },
           { 8974
             8974,, 21236
                    21236,, 26685
                            26685,, 32768
                                    32768,, 0 },
           { 4234
             4234,, 11665
                    11665,, 16934
                            16934,, 32768
                                    32768,, 0 },
           { 26273
             26273,, 32357
                     32357,, 32711
                             32711,, 32768
                                     32768,, 0 },
           { 20672
             20672,, 31242
                     31242,, 32441
                             32441,, 32768
                                     32768,, 0 },
           { 14172
             14172,, 27254
                     27254,, 30902
                             30902,, 32768
                                     32768,, 0 },
           { 9870
             9870,, 21898
                    21898,, 27275
                            27275,, 32768
                                    32768,, 0 },
           { 5164
             5164,, 13506
                    13506,, 19270
                            19270,, 32768
                                    32768,, 0 },
           { 26725
             26725,, 32459
                     32459,, 32728
                             32728,, 32768
                                     32768,, 0 },
           { 20991
             20991,, 31442
                     31442,, 32527
                             32527,, 32768
                                     32768,, 0 },
           { 13071
             13071,, 26434
                     26434,, 30811
                             30811,, 32768
                                     32768,, 0 },
           { 8184
             8184,, 20090
                    20090,, 26742
                            26742,, 32768
                                    32768,, 0 },
           { 4803
             4803,, 13255
                    13255,, 19895
                            19895,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 7555
             7555,, 14942
                    14942,, 18501
                            18501,, 32768
                                    32768,, 0 },
           { 24410
             24410,, 31178
                     31178,, 32287
                             32287,, 32768
                                     32768,, 0 },
           { 14394
             14394,, 26738
                     26738,, 30253
                             30253,, 32768
                                     32768,, 0 },
           { 8413
             8413,, 19554
                    19554,, 25195
                            25195,, 32768
                                    32768,, 0 },
           { 4766
             4766,, 12924
                    12924,, 18785
                            18785,, 32768
                                    32768,, 0 },
           { 2029
             2029,, 5806
                    5806,, 9207
                           9207,, 32768
                                  32768,, 0 },
           { 26776
             26776,, 32364
                     32364,, 32663
                             32663,, 32768
                                     32768,, 0 },
           { 18732
             18732,, 29967
                     29967,, 31931
                             31931,, 32768
                                     32768,, 0 },
           { 11005
             11005,, 23786
                     23786,, 28852
                             28852,, 32768
                                     32768,, 0 },
           { 6466
             6466,, 16909
                    16909,, 23510
                            23510,, 32768
                                    32768,, 0 },
           { 3044
             3044,, 8638
                    8638,, 13419
                           13419,, 32768
                                   32768,, 0 },




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           { 29208
             29208,, 32582
                     32582,, 32704
                             32704,, 32768
                                     32768,, 0 },
           { 20068
             20068,, 30857
                     30857,, 32208
                             32208,, 32768
                                     32768,, 0 },
           { 12003
             12003,, 25085
                     25085,, 29595
                             29595,, 32768
                                     32768,, 0 },
           { 6947
             6947,, 17750
                    17750,, 24189
                            24189,, 32768
                                    32768,, 0 },
           { 3245
             3245,, 9103
                    9103,, 14007
                           14007,, 32768
                                   32768,, 0 },
           { 27359
             27359,, 32465
                     32465,, 32669
                             32669,, 32768
                                     32768,, 0 },
           { 19421
             19421,, 30614
                     30614,, 32174
                             32174,, 32768
                                     32768,, 0 },
           { 11915
             11915,, 25010
                     25010,, 29579
                             29579,, 32768
                                     32768,, 0 },
           { 6950
             6950,, 17676
                    17676,, 24074
                            24074,, 32768
                                    32768,, 0 },
           { 3007
             3007,, 8473
                    8473,, 13096
                           13096,, 32768
                                   32768,, 0 },
           { 29002
             29002,, 32676
                     32676,, 32735
                             32735,, 32768
                                     32768,, 0 },
           { 22102
             22102,, 31849
                     31849,, 32576
                             32576,, 32768
                                     32768,, 0 },
           { 14408
             14408,, 28009
                     28009,, 31405
                             31405,, 32768
                                     32768,, 0 },
           { 9027
             9027,, 21679
                    21679,, 27931
                            27931,, 32768
                                    32768,, 0 },
           { 4694
             4694,, 12678
                    12678,, 18748
                            18748,, 32768
                                    32768,, 0 },
           { 28216
             28216,, 32528
                     32528,, 32682
                             32682,, 32768
                                     32768,, 0 },
           { 20849
             20849,, 31264
                     31264,, 32318
                             32318,, 32768
                                     32768,, 0 },
           { 12756
             12756,, 25815
                     25815,, 29751
                             29751,, 32768
                                     32768,, 0 },
           { 7565
             7565,, 18801
                    18801,, 24923
                            24923,, 32768
                                    32768,, 0 },
           { 3509
             3509,, 9533
                    9533,, 14477
                           14477,, 32768
                                   32768,, 0 },
           { 30133
             30133,, 32687
                     32687,, 32739
                             32739,, 32768
                                     32768,, 0 },
           { 23063
             23063,, 31910
                     31910,, 32515
                             32515,, 32768
                                     32768,, 0 },
           { 14588
             14588,, 28051
                     28051,, 31132
                             31132,, 32768
                                     32768,, 0 },
           { 9085
             9085,, 21649
                    21649,, 27457
                            27457,, 32768
                                    32768,, 0 },
           { 4261
             4261,, 11654
                    11654,, 17264
                            17264,, 32768
                                    32768,, 0 },
           { 29518
             29518,, 32691
                     32691,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 22451
             22451,, 31959
                     31959,, 32613
                             32613,, 32768
                                     32768,, 0 },
           { 14864
             14864,, 28722
                     28722,, 31700
                             31700,, 32768
                                     32768,, 0 },
           { 9695
             9695,, 22964
                    22964,, 28716
                            28716,, 32768
                                    32768,, 0 },
           { 4932
             4932,, 13358
                    13358,, 19502
                            19502,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 6465
             6465,, 16958
                    16958,, 21688
                            21688,, 32768
                                    32768,, 0 },
           { 25199
             25199,, 31514
                     31514,, 32360
                             32360,, 32768
                                     32768,, 0 },
           { 14774
             14774,, 27149
                     27149,, 30607
                             30607,, 32768
                                     32768,, 0 },
           { 9257
             9257,, 21438
                    21438,, 26972
                            26972,, 32768
                                    32768,, 0 },
           { 5723
             5723,, 15183
                    15183,, 21882
                            21882,, 32768
                                    32768,, 0 },
           { 3150
             3150,, 8879
                    8879,, 13731
                           13731,, 32768
                                   32768,, 0 },
           { 26989
             26989,, 32262
                     32262,, 32682
                             32682,, 32768
                                     32768,, 0 },
           { 17396
             17396,, 29937
                     29937,, 32085
                             32085,, 32768
                                     32768,, 0 },
           { 11387
             11387,, 24901
                     24901,, 29784
                             29784,, 32768
                                     32768,, 0 },
           { 7289
             7289,, 18821
                    18821,, 25548
                            25548,, 32768
                                    32768,, 0 },
           { 3734
             3734,, 10577
                    10577,, 16086
                            16086,, 32768
                                    32768,, 0 },
           { 29728
             29728,, 32501
                     32501,, 32695
                             32695,, 32768
                                     32768,, 0 },
           { 17431
             17431,, 29701
                     29701,, 31903
                             31903,, 32768
                                     32768,, 0 },
           { 9921
             9921,, 22826
                    22826,, 28300
                            28300,, 32768
                                    32768,, 0 },
           { 5896
             5896,, 15434
                    15434,, 22068
                            22068,, 32768
                                    32768,, 0 },
           { 3430
             3430,, 9646
                    9646,, 14757
                           14757,, 32768
                                   32768,, 0 },
           { 28614
             28614,, 32511
                     32511,, 32705
                             32705,, 32768
                                     32768,, 0 },
           { 19364
             19364,, 30638
                     30638,, 32263
                             32263,, 32768
                                     32768,, 0 },
           { 13129
             13129,, 26254
                     26254,, 30402
                             30402,, 32768
                                     32768,, 0 },




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           { 8754
             8754,, 20484
                    20484,, 26440
                            26440,, 32768
                                    32768,, 0 },
           { 4378
             4378,, 11607
                    11607,, 17110
                            17110,, 32768
                                    32768,, 0 },
           { 30292
             30292,, 32671
                     32671,, 32744
                             32744,, 32768
                                     32768,, 0 },
           { 21780
             21780,, 31603
                     31603,, 32501
                             32501,, 32768
                                     32768,, 0 },
           { 14314
             14314,, 27829
                     27829,, 31291
                             31291,, 32768
                                     32768,, 0 },
           { 9611
             9611,, 22327
                    22327,, 28263
                            28263,, 32768
                                    32768,, 0 },
           { 4890
             4890,, 13087
                    13087,, 19065
                            19065,, 32768
                                    32768,, 0 },
           { 25862
             25862,, 32567
                     32567,, 32733
                             32733,, 32768
                                     32768,, 0 },
           { 20794
             20794,, 32050
                     32050,, 32567
                             32567,, 32768
                                     32768,, 0 },
           { 17243
             17243,, 30625
                     30625,, 32254
                             32254,, 32768
                                     32768,, 0 },
           { 13283
             13283,, 27628
                     27628,, 31474
                             31474,, 32768
                                     32768,, 0 },
           { 9669
             9669,, 22532
                    22532,, 28918
                            28918,, 32768
                                    32768,, 0 },
           { 27435
             27435,, 32697
                     32697,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 24922
             24922,, 32390
                     32390,, 32714
                             32714,, 32768
                                     32768,, 0 },
           { 21449
             21449,, 31504
                     31504,, 32536
                             32536,, 32768
                                     32768,, 0 },
           { 16392
             16392,, 29729
                     29729,, 31832
                             31832,, 32768
                                     32768,, 0 },
           { 11692
             11692,, 24884
                     24884,, 29076
                             29076,, 32768
                                     32768,, 0 },
           { 24193
             24193,, 32290
                     32290,, 32735
                             32735,, 32768
                                     32768,, 0 },
           { 18909
             18909,, 31104
                     31104,, 32563
                             32563,, 32768
                                     32768,, 0 },
           { 12236
             12236,, 26841
                     26841,, 31403
                             31403,, 32768
                                     32768,, 0 },
           { 8171
             8171,, 21840
                    21840,, 29082
                            29082,, 32768
                                    32768,, 0 },
           { 7224
             7224,, 17280
                    17280,, 25275
                            25275,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 3078
             3078,, 6839
                    6839,, 9890
                           9890,, 32768
                                  32768,, 0 },
           { 13837
             13837,, 20450
                     20450,, 24479
                             24479,, 32768
                                     32768,, 0 },
           { 5914
             5914,, 14222
                    14222,, 19328
                            19328,, 32768
                                    32768,, 0 },
           { 3866
             3866,, 10267
                    10267,, 14762
                            14762,, 32768
                                    32768,, 0 },
           { 2612
             2612,, 7208
                    7208,, 11042
                           11042,, 32768
                                   32768,, 0 },
           { 1067
             1067,, 2991
                    2991,, 4776
                           4776,, 32768
                                  32768,, 0 },
           { 25817
             25817,, 31646
                     31646,, 32529
                             32529,, 32768
                                     32768,, 0 },
           { 13708
             13708,, 26338
                     26338,, 30385
                             30385,, 32768
                                     32768,, 0 },
           { 7328
             7328,, 18585
                    18585,, 24870
                            24870,, 32768
                                    32768,, 0 },
           { 4691
             4691,, 13080
                    13080,, 19276
                            19276,, 32768
                                    32768,, 0 },
           { 1825
             1825,, 5253
                    5253,, 8352
                           8352,, 32768
                                  32768,, 0 },
           { 29386
             29386,, 32315
                     32315,, 32624
                             32624,, 32768
                                     32768,, 0 },
           { 17160
             17160,, 29001
                     29001,, 31360
                             31360,, 32768
                                     32768,, 0 },
           { 9602
             9602,, 21862
                    21862,, 27396
                            27396,, 32768
                                    32768,, 0 },
           { 5915
             5915,, 15772
                    15772,, 22148
                            22148,, 32768
                                    32768,, 0 },
           { 2786
             2786,, 7779
                    7779,, 12047
                           12047,, 32768
                                   32768,, 0 },
           { 29246
             29246,, 32450
                     32450,, 32663
                             32663,, 32768
                                     32768,, 0 },
           { 18696
             18696,, 29929
                     29929,, 31818
                             31818,, 32768
                                     32768,, 0 },
           { 10510
             10510,, 23369
                     23369,, 28560
                             28560,, 32768
                                     32768,, 0 },
           { 6229
             6229,, 16499
                    16499,, 23125
                            23125,, 32768
                                    32768,, 0 },
           { 2608
             2608,, 7448
                    7448,, 11705
                           11705,, 32768
                                   32768,, 0 },
           { 30753
             30753,, 32710
                     32710,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 21638
             21638,, 31487
                     31487,, 32503
                             32503,, 32768
                                     32768,, 0 },
           { 12937
             12937,, 26854
                     26854,, 30870
                             30870,, 32768
                                     32768,, 0 },
           { 8182
             8182,, 20596
                    20596,, 26970
                            26970,, 32768
                                    32768,, 0 },
           { 3637
             3637,, 10269
                    10269,, 15497
                            15497,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 5244
             5244,, 12150
                    12150,, 16906
                            16906,, 32768
                                    32768,, 0 },
           { 20486
             20486,, 26858
                     26858,, 29701
                             29701,, 32768
                                     32768,, 0 },
           { 7756
             7756,, 18317
                    18317,, 23735
                            23735,, 32768
                                    32768,, 0 },
           { 3452
             3452,, 9256
                    9256,, 13146
                           13146,, 32768
                                   32768,, 0 },
           { 2020
             2020,, 5206
                    5206,, 8229
                           8229,, 32768
                                  32768,, 0 },
           { 1801
             1801,, 4993
                    4993,, 7903
                           7903,, 32768
                                  32768,, 0 },
           { 27051
             27051,, 31858
                     31858,, 32531
                             32531,, 32768
                                     32768,, 0 },
           { 15988
             15988,, 27531
                     27531,, 30619
                             30619,, 32768
                                     32768,, 0 },
           { 9188
             9188,, 21484
                    21484,, 26719
                            26719,, 32768
                                    32768,, 0 },
           { 6273
             6273,, 17186
                    17186,, 23800
                            23800,, 32768
                                    32768,, 0 },
           { 3108
             3108,, 9355
                    9355,, 14764
                           14764,, 32768
                                   32768,, 0 },
           { 31076
             31076,, 32520
                     32520,, 32680
                             32680,, 32768
                                     32768,, 0 },
           { 18119
             18119,, 30037
                     30037,, 31850
                             31850,, 32768
                                     32768,, 0 },
           { 10244
             10244,, 22969
                     22969,, 27472
                             27472,, 32768
                                     32768,, 0 },
           { 4692
             4692,, 14077
                    14077,, 19273
                            19273,, 32768
                                    32768,, 0 },
           { 3694
             3694,, 11677
                    11677,, 17556
                            17556,, 32768
                                    32768,, 0 },
           { 30060
             30060,, 32581
                     32581,, 32720
                             32720,, 32768
                                     32768,, 0 },
           { 21011
             21011,, 30775
                     30775,, 32120
                             32120,, 32768
                                     32768,, 0 },
           { 11931
             11931,, 24820
                     24820,, 29289
                             29289,, 32768
                                     32768,, 0 },
           { 7119
             7119,, 17662
                    17662,, 24356
                            24356,, 32768
                                    32768,, 0 },
           { 3833
             3833,, 10706
                    10706,, 16304
                            16304,, 32768
                                    32768,, 0 },
           { 31954
             31954,, 32731
                     32731,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 23913
             23913,, 31724
                     31724,, 32489
                             32489,, 32768
                                     32768,, 0 },
           { 15520
             15520,, 28060
                     28060,, 31286
                             31286,, 32768
                                     32768,, 0 },
           { 11517
             11517,, 23008
                     23008,, 28571
                             28571,, 32768
                                     32768,, 0 },
           { 6193
             6193,, 14508
                    14508,, 20629
                            20629,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 1035
             1035,, 2807
                    2807,, 4156
                           4156,, 32768
                                  32768,, 0 },
           { 13162
             13162,, 18138
                     18138,, 20939
                             20939,, 32768
                                     32768,, 0 },
           { 2696
             2696,, 6633
                    6633,, 8755
                           8755,, 32768
                                  32768,, 0 },
           { 1373
             1373,, 4161
                    4161,, 6853
                           6853,, 32768
                                  32768,, 0 },
           { 1099
             1099,, 2746
                    2746,, 4716
                           4716,, 32768
                                  32768,, 0 },
           { 340
             340,, 1021
                   1021,, 1599
                          1599,, 32768
                                 32768,, 0 },
           { 22826
             22826,, 30419
                     30419,, 32135
                             32135,, 32768
                                     32768,, 0 },
           { 10395
             10395,, 21762
                     21762,, 26942
                             26942,, 32768
                                     32768,, 0 },
           { 4726
             4726,, 12407
                    12407,, 17361
                            17361,, 32768
                                    32768,, 0 },
           { 2447
             2447,, 7080
                    7080,, 10593
                           10593,, 32768
                                   32768,, 0 },
           { 1227
             1227,, 3717
                    3717,, 6011
                           6011,, 32768
                                  32768,, 0 },
           { 28156
             28156,, 31424
                     31424,, 31934
                             31934,, 32768
                                     32768,, 0 },
           { 16915
             16915,, 27754
                     27754,, 30373
                             30373,, 32768
                                     32768,, 0 },
           { 9148
             9148,, 20990
                    20990,, 26431
                            26431,, 32768
                                    32768,, 0 },
           { 5950
             5950,, 15515
                    15515,, 21148
                            21148,, 32768
                                    32768,, 0 },
           { 2492
             2492,, 7327
                    7327,, 11526
                           11526,, 32768
                                   32768,, 0 },
           { 30602
             30602,, 32477
                     32477,, 32670
                             32670,, 32768
                                     32768,, 0 },
           { 20026
             20026,, 29955
                     29955,, 31568
                             31568,, 32768
                                     32768,, 0 },
           { 11220
             11220,, 23628
                     23628,, 28105
                             28105,, 32768
                                     32768,, 0 },
           { 6652
             6652,, 17019
                    17019,, 22973
                            22973,, 32768
                                    32768,, 0 },
           { 3064
             3064,, 8536
                    8536,, 13043
                           13043,, 32768
                                   32768,, 0 },
           { 31769
             31769,, 32724
                     32724,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 22230
             22230,, 30887
                     30887,, 32373
                             32373,, 32768
                                     32768,, 0 },
           { 12234
             12234,, 25079
                     25079,, 29731
                             29731,, 32768
                                     32768,, 0 },
           { 7326
             7326,, 18816
                    18816,, 25353
                            25353,, 32768
                                    32768,, 0 },
           { 3933
             3933,, 10907
                    10907,, 16616
                            16616,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } } },
     { { { { 8896
             8896,, 16227
                    16227,, 20630
                            20630,, 32768
                                    32768,, 0 },
           { 23629
             23629,, 31782
                     31782,, 32527
                             32527,, 32768
                                     32768,, 0 },
           { 15173
             15173,, 27755
                     27755,, 31321
                             31321,, 32768
                                     32768,, 0 },
           { 10158
             10158,, 21233
                     21233,, 27382
                             27382,, 32768
                                     32768,, 0 },
           { 6420
             6420,, 14857
                    14857,, 21558
                            21558,, 32768
                                    32768,, 0 },
           { 3269
             3269,, 8155
                    8155,, 12646
                           12646,, 32768
                                   32768,, 0 },
           { 24835
             24835,, 32009
                     32009,, 32496
                             32496,, 32768
                                     32768,, 0 },
           { 16509
             16509,, 28421
                     28421,, 31579
                             31579,, 32768
                                     32768,, 0 },
           { 10957
             10957,, 21514
                     21514,, 27418
                             27418,, 32768
                                     32768,, 0 },




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           { 7881
             7881,, 15930
                    15930,, 22096
                            22096,, 32768
                                    32768,, 0 },
           { 5388
             5388,, 10960
                    10960,, 15918
                            15918,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 20745
             20745,, 30773
                     30773,, 32093
                             32093,, 32768
                                     32768,, 0 },
           { 15200
             15200,, 27221
                     27221,, 30861
                             30861,, 32768
                                     32768,, 0 },
           { 13032
             13032,, 20873
                     20873,, 25667
                             25667,, 32768
                                     32768,, 0 },
           { 12285
             12285,, 18663
                     18663,, 23494
                             23494,, 32768
                                     32768,, 0 },
           { 11563
             11563,, 17481
                     17481,, 21489
                             21489,, 32768
                                     32768,, 0 },
           { 26260
             26260,, 31982
                     31982,, 32320
                             32320,, 32768
                                     32768,, 0 },
           { 15397
             15397,, 28083
                     28083,, 31100
                             31100,, 32768
                                     32768,, 0 },
           { 9742
             9742,, 19217
                    19217,, 24824
                            24824,, 32768
                                    32768,, 0 },
           { 3261
             3261,, 9629
                    9629,, 15362
                           15362,, 32768
                                   32768,, 0 },
           { 1480
             1480,, 4322
                    4322,, 7499
                           7499,, 32768
                                  32768,, 0 },
           { 27599
             27599,, 32256
                     32256,, 32460
                             32460,, 32768
                                     32768,, 0 },
           { 16857
             16857,, 27659
                     27659,, 30774
                             30774,, 32768
                                     32768,, 0 },
           { 9551
             9551,, 18290
                    18290,, 23748
                            23748,, 32768
                                    32768,, 0 },
           { 3052
             3052,, 8933
                    8933,, 14103
                           14103,, 32768
                                   32768,, 0 },
           { 2021
             2021,, 5910
                    5910,, 9787
                           9787,, 32768
                                  32768,, 0 },
           { 29005
             29005,, 32015
                     32015,, 32392
                             32392,, 32768
                                     32768,, 0 },
           { 17677
             17677,, 27694
                     27694,, 30863
                             30863,, 32768
                                     32768,, 0 },
           { 9204
             9204,, 17356
                    17356,, 23219
                            23219,, 32768
                                    32768,, 0 },
           { 2403
             2403,, 7516
                    7516,, 12814
                           12814,, 32768
                                   32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 10808
             10808,, 22056
                     22056,, 26896
                             26896,, 32768
                                     32768,, 0 },
           { 25739
             25739,, 32313
                     32313,, 32676
                             32676,, 32768
                                     32768,, 0 },
           { 17288
             17288,, 30203
                     30203,, 32221
                             32221,, 32768
                                     32768,, 0 },
           { 11359
             11359,, 24878
                     24878,, 29896
                             29896,, 32768
                                     32768,, 0 },
           { 6949
             6949,, 17767
                    17767,, 24893
                            24893,, 32768
                                    32768,, 0 },
           { 4287
             4287,, 11796
                    11796,, 18071
                            18071,, 32768
                                    32768,, 0 },
           { 27880
             27880,, 32521
                     32521,, 32705
                             32705,, 32768
                                     32768,, 0 },
           { 19038
             19038,, 31004
                     31004,, 32414
                             32414,, 32768
                                     32768,, 0 },
           { 12564
             12564,, 26345
                     26345,, 30768
                             30768,, 32768
                                     32768,, 0 },
           { 8269
             8269,, 19947
                    19947,, 26779
                            26779,, 32768
                                    32768,, 0 },
           { 5674
             5674,, 14657
                    14657,, 21674
                            21674,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 25742
             25742,, 32319
                     32319,, 32671
                             32671,, 32768
                                     32768,, 0 },
           { 19557
             19557,, 31164
                     31164,, 32454
                             32454,, 32768
                                     32768,, 0 },
           { 13381
             13381,, 26381
                     26381,, 30755
                             30755,, 32768
                                     32768,, 0 },
           { 10101
             10101,, 21466
                     21466,, 26722
                             26722,, 32768
                                     32768,, 0 },
           { 9209
             9209,, 19650
                    19650,, 26825
                            26825,, 32768
                                    32768,, 0 },
           { 27107
             27107,, 31917
                     31917,, 32432
                             32432,, 32768
                                     32768,, 0 },
           { 18056
             18056,, 28893
                     28893,, 31203
                             31203,, 32768
                                     32768,, 0 },
           { 10200
             10200,, 21434
                     21434,, 26764
                             26764,, 32768
                                     32768,, 0 },
           { 4660
             4660,, 12913
                    12913,, 19502
                            19502,, 32768
                                    32768,, 0 },
           { 2368
             2368,, 6930
                    6930,, 12504
                           12504,, 32768
                                   32768,, 0 },
           { 26960
             26960,, 32158
                     32158,, 32613
                             32613,, 32768
                                     32768,, 0 },
           { 18628
             18628,, 30005
                     30005,, 32031
                             32031,, 32768
                                     32768,, 0 },
           { 10233
             10233,, 22442
                     22442,, 28232
                             28232,, 32768
                                     32768,, 0 },
           { 5471
             5471,, 14630
                    14630,, 21516
                            21516,, 32768
                                    32768,, 0 },
           { 3235
             3235,, 10767
                    10767,, 17109
                            17109,, 32768
                                    32768,, 0 },
           { 27696
             27696,, 32440
                     32440,, 32692
                             32692,, 32768
                                     32768,, 0 },
           { 20032
             20032,, 31167
                     31167,, 32438
                             32438,, 32768
                                     32768,, 0 },
           { 8700
             8700,, 21341
                    21341,, 28442
                            28442,, 32768
                                    32768,, 0 },
           { 5662
             5662,, 14831
                    14831,, 21795
                            21795,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 9704
             9704,, 17294
                    17294,, 21132
                            21132,, 32768
                                    32768,, 0 },
           { 26762
             26762,, 32278
                     32278,, 32633
                             32633,, 32768
                                     32768,, 0 },
           { 18382
             18382,, 29620
                     29620,, 31819
                             31819,, 32768
                                     32768,, 0 },
           { 10891
             10891,, 23475
                     23475,, 28723
                             28723,, 32768
                                     32768,, 0 },
           { 6358
             6358,, 16583
                    16583,, 23309
                            23309,, 32768
                                    32768,, 0 },
           { 3248
             3248,, 9118
                    9118,, 14141
                           14141,, 32768
                                   32768,, 0 },
           { 27204
             27204,, 32573
                     32573,, 32699
                             32699,, 32768
                                     32768,, 0 },
           { 19818
             19818,, 30824
                     30824,, 32329
                             32329,, 32768
                                     32768,, 0 },
           { 11772
             11772,, 25120
                     25120,, 30041
                             30041,, 32768
                                     32768,, 0 },
           { 6995
             6995,, 18033
                    18033,, 25039
                            25039,, 32768
                                    32768,, 0 },
           { 3752
             3752,, 10442
                    10442,, 16098
                            16098,, 32768
                                    32768,, 0 },
           { 27222
             27222,, 32256
                     32256,, 32559
                             32559,, 32768
                                     32768,, 0 },
           { 15356
             15356,, 28399
                     28399,, 31475
                             31475,, 32768
                                     32768,, 0 },
           { 8821
             8821,, 20635
                    20635,, 27057
                            27057,, 32768
                                    32768,, 0 },
           { 5511
             5511,, 14404
                    14404,, 21239
                            21239,, 32768
                                    32768,, 0 },
           { 2935
             2935,, 8222
                    8222,, 13051
                           13051,, 32768
                                   32768,, 0 },
           { 24875
             24875,, 32120
                     32120,, 32529
                             32529,, 32768
                                     32768,, 0 },
           { 15233
             15233,, 28265
                     28265,, 31445
                             31445,, 32768
                                     32768,, 0 },
           { 8605
             8605,, 20570
                    20570,, 26932
                            26932,, 32768
                                    32768,, 0 },
           { 5431
             5431,, 14413
                    14413,, 21196
                            21196,, 32768
                                    32768,, 0 },
           { 2994
             2994,, 8341
                    8341,, 13223
                           13223,, 32768
                                   32768,, 0 },
           { 28201
             28201,, 32604
                     32604,, 32700
                             32700,, 32768
                                     32768,, 0 },
           { 21041
             21041,, 31446
                     31446,, 32456
                             32456,, 32768
                                     32768,, 0 },
           { 13221
             13221,, 26213
                     26213,, 30475
                             30475,, 32768
                                     32768,, 0 },
           { 8255
             8255,, 19385
                    19385,, 26037
                            26037,, 32768
                                    32768,, 0 },




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           { 4930
             4930,, 12585
                    12585,, 18830
                            18830,, 32768
                                    32768,, 0 },
           { 28768
             28768,, 32448
                     32448,, 32627
                             32627,, 32768
                                     32768,, 0 },
           { 19705
             19705,, 30561
                     30561,, 32021
                             32021,, 32768
                                     32768,, 0 },
           { 11572
             11572,, 23589
                     23589,, 28220
                             28220,, 32768
                                     32768,, 0 },
           { 5532
             5532,, 15034
                    15034,, 21446
                            21446,, 32768
                                    32768,, 0 },
           { 2460
             2460,, 7150
                    7150,, 11456
                           11456,, 32768
                                   32768,, 0 },
           { 29874
             29874,, 32619
                     32619,, 32699
                             32699,, 32768
                                     32768,, 0 },
           { 21621
             21621,, 31071
                     31071,, 32201
                             32201,, 32768
                                     32768,, 0 },
           { 12511
             12511,, 24747
                     24747,, 28992
                             28992,, 32768
                                     32768,, 0 },
           { 6281
             6281,, 16395
                    16395,, 22748
                            22748,, 32768
                                    32768,, 0 },
           { 3246
             3246,, 9278
                    9278,, 14497
                           14497,, 32768
                                   32768,, 0 },
           { 29715
             29715,, 32625
                     32625,, 32712
                             32712,, 32768
                                     32768,, 0 },
           { 20958
             20958,, 31011
                     31011,, 32283
                             32283,, 32768
                                     32768,, 0 },
           { 11233
             11233,, 23671
                     23671,, 28806
                             28806,, 32768
                                     32768,, 0 },
           { 6012
             6012,, 16128
                    16128,, 22868
                            22868,, 32768
                                    32768,, 0 },
           { 3427
             3427,, 9851
                    9851,, 15414
                           15414,, 32768
                                   32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 11016
             11016,, 22111
                     22111,, 26794
                             26794,, 32768
                                     32768,, 0 },
           { 25946
             25946,, 32357
                     32357,, 32677
                             32677,, 32768
                                     32768,, 0 },
           { 17890
             17890,, 30452
                     30452,, 32252
                             32252,, 32768
                                     32768,, 0 },
           { 11678
             11678,, 25142
                     25142,, 29816
                             29816,, 32768
                                     32768,, 0 },
           { 6720
             6720,, 17534
                    17534,, 24584
                            24584,, 32768
                                    32768,, 0 },
           { 4230
             4230,, 11665
                    11665,, 17820
                            17820,, 32768
                                    32768,, 0 },
           { 28400
             28400,, 32623
                     32623,, 32747
                             32747,, 32768
                                     32768,, 0 },
           { 21164
             21164,, 31668
                     31668,, 32575
                             32575,, 32768
                                     32768,, 0 },
           { 13572
             13572,, 27388
                     27388,, 31182
                             31182,, 32768
                                     32768,, 0 },
           { 8234
             8234,, 20750
                    20750,, 27358
                            27358,, 32768
                                    32768,, 0 },
           { 5065
             5065,, 14055
                    14055,, 20897
                            20897,, 32768
                                    32768,, 0 },
           { 28981
             28981,, 32547
                     32547,, 32705
                             32705,, 32768
                                     32768,, 0 },
           { 18681
             18681,, 30543
                     30543,, 32239
                             32239,, 32768
                                     32768,, 0 },
           { 10919
             10919,, 24075
                     24075,, 29286
                             29286,, 32768
                                     32768,, 0 },
           { 6431
             6431,, 17199
                    17199,, 24077
                            24077,, 32768
                                    32768,, 0 },
           { 3819
             3819,, 10464
                    10464,, 16618
                            16618,, 32768
                                    32768,, 0 },
           { 26870
             26870,, 32467
                     32467,, 32693
                             32693,, 32768
                                     32768,, 0 },
           { 19041
             19041,, 30831
                     30831,, 32347
                             32347,, 32768
                                     32768,, 0 },
           { 11794
             11794,, 25211
                     25211,, 30016
                             30016,, 32768
                                     32768,, 0 },
           { 6888
             6888,, 18019
                    18019,, 24970
                            24970,, 32768
                                    32768,, 0 },
           { 4370
             4370,, 12363
                    12363,, 18992
                            18992,, 32768
                                    32768,, 0 },
           { 29578
             29578,, 32670
                     32670,, 32744
                             32744,, 32768
                                     32768,, 0 },
           { 23159
             23159,, 32007
                     32007,, 32613
                             32613,, 32768
                                     32768,, 0 },
           { 15315
             15315,, 28669
                     28669,, 31676
                             31676,, 32768
                                     32768,, 0 },
           { 9298
             9298,, 22607
                    22607,, 28782
                            28782,, 32768
                                    32768,, 0 },
           { 6144
             6144,, 15913
                    15913,, 22968
                            22968,, 32768
                                    32768,, 0 },
           { 28110
             28110,, 32499
                     32499,, 32669
                             32669,, 32768
                                     32768,, 0 },
           { 21574
             21574,, 30937
                     30937,, 32015
                             32015,, 32768
                                     32768,, 0 },
           { 12759
             12759,, 24818
                     24818,, 28727
                             28727,, 32768
                                     32768,, 0 },
           { 6545
             6545,, 16761
                    16761,, 23042
                            23042,, 32768
                                    32768,, 0 },
           { 3649
             3649,, 10597
                    10597,, 16833
                            16833,, 32768
                                    32768,, 0 },
           { 28163
             28163,, 32552
                     32552,, 32728
                             32728,, 32768
                                     32768,, 0 },
           { 22101
             22101,, 31469
                     31469,, 32464
                             32464,, 32768
                                     32768,, 0 },




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           { 13160
             13160,, 25472
                     25472,, 30143
                             30143,, 32768
                                     32768,, 0 },
           { 7303
             7303,, 18684
                    18684,, 25468
                            25468,, 32768
                                    32768,, 0 },
           { 5241
             5241,, 13975
                    13975,, 20955
                            20955,, 32768
                                    32768,, 0 },
           { 28400
             28400,, 32631
                     32631,, 32744
                             32744,, 32768
                                     32768,, 0 },
           { 22104
             22104,, 31793
                     31793,, 32603
                             32603,, 32768
                                     32768,, 0 },
           { 13557
             13557,, 26571
                     26571,, 30846
                             30846,, 32768
                                     32768,, 0 },
           { 7749
             7749,, 19861
                    19861,, 26675
                            26675,, 32768
                                    32768,, 0 },
           { 4873
             4873,, 14030
                    14030,, 21234
                            21234,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 9800
             9800,, 17635
                    17635,, 21073
                            21073,, 32768
                                    32768,, 0 },
           { 26153
             26153,, 31885
                     31885,, 32527
                             32527,, 32768
                                     32768,, 0 },
           { 15038
             15038,, 27852
                     27852,, 31006
                             31006,, 32768
                                     32768,, 0 },
           { 8718
             8718,, 20564
                    20564,, 26486
                            26486,, 32768
                                    32768,, 0 },
           { 5128
             5128,, 14076
                    14076,, 20514
                            20514,, 32768
                                    32768,, 0 },
           { 2636
             2636,, 7566
                    7566,, 11925
                           11925,, 32768
                                   32768,, 0 },
           { 27551
             27551,, 32504
                     32504,, 32701
                             32701,, 32768
                                     32768,, 0 },
           { 18310
             18310,, 30054
                     30054,, 32100
                             32100,, 32768
                                     32768,, 0 },
           { 10211
             10211,, 23420
                     23420,, 29082
                             29082,, 32768
                                     32768,, 0 },
           { 6222
             6222,, 16876
                    16876,, 23916
                            23916,, 32768
                                    32768,, 0 },
           { 3462
             3462,, 9954
                    9954,, 15498
                           15498,, 32768
                                   32768,, 0 },
           { 29991
             29991,, 32633
                     32633,, 32721
                             32721,, 32768
                                     32768,, 0 },
           { 19883
             19883,, 30751
                     30751,, 32201
                             32201,, 32768
                                     32768,, 0 },
           { 11141
             11141,, 24184
                     24184,, 29285
                             29285,, 32768
                                     32768,, 0 },
           { 6420
             6420,, 16940
                    16940,, 23774
                            23774,, 32768
                                    32768,, 0 },
           { 3392
             3392,, 9753
                    9753,, 15118
                           15118,, 32768
                                   32768,, 0 },
           { 28465
             28465,, 32616
                     32616,, 32712
                             32712,, 32768
                                     32768,, 0 },
           { 19850
             19850,, 30702
                     30702,, 32244
                             32244,, 32768
                                     32768,, 0 },
           { 10983
             10983,, 24024
                     24024,, 29223
                             29223,, 32768
                                     32768,, 0 },
           { 6294
             6294,, 16770
                    16770,, 23582
                            23582,, 32768
                                    32768,, 0 },
           { 3244
             3244,, 9283
                    9283,, 14509
                           14509,, 32768
                                   32768,, 0 },
           { 30023
             30023,, 32717
                     32717,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 22940
             22940,, 32032
                     32032,, 32626
                             32626,, 32768
                                     32768,, 0 },
           { 14282
             14282,, 27928
                     27928,, 31473
                             31473,, 32768
                                     32768,, 0 },
           { 8562
             8562,, 21327
                    21327,, 27914
                            27914,, 32768
                                    32768,, 0 },
           { 4846
             4846,, 13393
                    13393,, 19919
                            19919,, 32768
                                    32768,, 0 },
           { 29981
             29981,, 32590
                     32590,, 32695
                             32695,, 32768
                                     32768,, 0 },
           { 20465
             20465,, 30963
                     30963,, 32166
                             32166,, 32768
                                     32768,, 0 },
           { 11479
             11479,, 23579
                     23579,, 28195
                             28195,, 32768
                                     32768,, 0 },
           { 5916
             5916,, 15648
                    15648,, 22073
                            22073,, 32768
                                    32768,, 0 },
           { 3031
             3031,, 8605
                    8605,, 13398
                           13398,, 32768
                                   32768,, 0 },
           { 31146
             31146,, 32691
                     32691,, 32739
                             32739,, 32768
                                     32768,, 0 },
           { 23106
             23106,, 31724
                     31724,, 32444
                             32444,, 32768
                                     32768,, 0 },
           { 13783
             13783,, 26738
                     26738,, 30439
                             30439,, 32768
                                     32768,, 0 },
           { 7852
             7852,, 19468
                    19468,, 25807
                            25807,, 32768
                                    32768,, 0 },
           { 3860
             3860,, 11124
                    11124,, 16853
                            16853,, 32768
                                    32768,, 0 },
           { 31014
             31014,, 32724
                     32724,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 23629
             23629,, 32109
                     32109,, 32628
                             32628,, 32768
                                     32768,, 0 },
           { 14747
             14747,, 28115
                     28115,, 31403
                             31403,, 32768
                                     32768,, 0 },
           { 8545
             8545,, 21242
                    21242,, 27478
                            27478,, 32768
                                    32768,, 0 },
           { 4574
             4574,, 12781
                    12781,, 19067
                            19067,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 9185
             9185,, 19694
                    19694,, 24688
                            24688,, 32768
                                    32768,, 0 },
           { 26081
             26081,, 31985
                     31985,, 32621
                             32621,, 32768
                                     32768,, 0 },
           { 16015
             16015,, 29000
                     29000,, 31787
                             31787,, 32768
                                     32768,, 0 },
           { 10542
             10542,, 23690
                     23690,, 29206
                             29206,, 32768
                                     32768,, 0 },
           { 6732
             6732,, 17945
                    17945,, 24677
                            24677,, 32768
                                    32768,, 0 },
           { 3916
             3916,, 11039
                    11039,, 16722
                            16722,, 32768
                                    32768,, 0 },
           { 28224
             28224,, 32566
                     32566,, 32744
                             32744,, 32768
                                     32768,, 0 },
           { 19100
             19100,, 31138
                     31138,, 32485
                             32485,, 32768
                                     32768,, 0 },
           { 12528
             12528,, 26620
                     26620,, 30879
                             30879,, 32768
                                     32768,, 0 },
           { 7741
             7741,, 20277
                    20277,, 26885
                            26885,, 32768
                                    32768,, 0 },
           { 4566
             4566,, 12845
                    12845,, 18990
                            18990,, 32768
                                    32768,, 0 },
           { 29933
             29933,, 32593
                     32593,, 32718
                             32718,, 32768
                                     32768,, 0 },
           { 17670
             17670,, 30333
                     30333,, 32155
                             32155,, 32768
                                     32768,, 0 },
           { 10385
             10385,, 23600
                     23600,, 28909
                             28909,, 32768
                                     32768,, 0 },
           { 6243
             6243,, 16236
                    16236,, 22407
                            22407,, 32768
                                    32768,, 0 },
           { 3976
             3976,, 10389
                    10389,, 16017
                            16017,, 32768
                                    32768,, 0 },
           { 28377
             28377,, 32561
                     32561,, 32738
                             32738,, 32768
                                     32768,, 0 },
           { 19366
             19366,, 31175
                     31175,, 32482
                             32482,, 32768
                                     32768,, 0 },
           { 13327
             13327,, 27175
                     27175,, 31094
                             31094,, 32768
                                     32768,, 0 },
           { 8258
             8258,, 20769
                    20769,, 27143
                            27143,, 32768
                                    32768,, 0 },
           { 4703
             4703,, 13198
                    13198,, 19527
                            19527,, 32768
                                    32768,, 0 },
           { 31086
             31086,, 32706
                     32706,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 22853
             22853,, 31902
                     31902,, 32583
                             32583,, 32768
                                     32768,, 0 },
           { 14759
             14759,, 28186
                     28186,, 31419
                             31419,, 32768
                                     32768,, 0 },
           { 9284
             9284,, 22382
                    22382,, 28348
                            28348,, 32768
                                    32768,, 0 },
           { 5585
             5585,, 15192
                    15192,, 21868
                            21868,, 32768
                                    32768,, 0 },
           { 28291
             28291,, 32652
                     32652,, 32746
                             32746,, 32768
                                     32768,, 0 },
           { 19849
             19849,, 32107
                     32107,, 32571
                             32571,, 32768
                                     32768,, 0 },
           { 14834
             14834,, 26818
                     26818,, 29214
                             29214,, 32768
                                     32768,, 0 },
           { 10306
             10306,, 22594
                     22594,, 28672
                             28672,, 32768
                                     32768,, 0 },
           { 6615
             6615,, 17384
                    17384,, 23384
                            23384,, 32768
                                    32768,, 0 },
           { 28947
             28947,, 32604
                     32604,, 32745
                             32745,, 32768
                                     32768,, 0 },
           { 25625
             25625,, 32289
                     32289,, 32646
                             32646,, 32768
                                     32768,, 0 },
           { 18758
             18758,, 28672
                     28672,, 31403
                             31403,, 32768
                                     32768,, 0 },
           { 10017
             10017,, 23430
                     23430,, 28523
                             28523,, 32768
                                     32768,, 0 },
           { 6862
             6862,, 15269
                    15269,, 22131
                            22131,, 32768
                                    32768,, 0 },
           { 23933
             23933,, 32509
                     32509,, 32739
                             32739,, 32768
                                     32768,, 0 },
           { 19927
             19927,, 31495
                     31495,, 32631
                             32631,, 32768
                                     32768,, 0 },
           { 11903
             11903,, 26023
                     26023,, 30621
                             30621,, 32768
                                     32768,, 0 },
           { 7026
             7026,, 20094
                    20094,, 27252
                            27252,, 32768
                                    32768,, 0 },
           { 5998
             5998,, 18106
                    18106,, 24437
                            24437,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 4456
             4456,, 11274
                    11274,, 15533
                            15533,, 32768
                                    32768,, 0 },
           { 21219
             21219,, 29079
                     29079,, 31616
                             31616,, 32768
                                     32768,, 0 },
           { 11173
             11173,, 23774
                     23774,, 28567
                             28567,, 32768
                                     32768,, 0 },
           { 7282
             7282,, 18293
                    18293,, 24263
                            24263,, 32768
                                    32768,, 0 },
           { 4890
             4890,, 13286
                    13286,, 19115
                            19115,, 32768
                                    32768,, 0 },
           { 1890
             1890,, 5508
                    5508,, 8659
                           8659,, 32768
                                  32768,, 0 },
           { 26651
             26651,, 32136
                     32136,, 32647
                             32647,, 32768
                                     32768,, 0 },




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           { 14630
             14630,, 28254
                     28254,, 31455
                             31455,, 32768
                                     32768,, 0 },
           { 8716
             8716,, 21287
                    21287,, 27395
                            27395,, 32768
                                    32768,, 0 },
           { 5615
             5615,, 15331
                    15331,, 22008
                            22008,, 32768
                                    32768,, 0 },
           { 2675
             2675,, 7700
                    7700,, 12150
                           12150,, 32768
                                   32768,, 0 },
           { 29954
             29954,, 32526
                     32526,, 32690
                             32690,, 32768
                                     32768,, 0 },
           { 16126
             16126,, 28982
                     28982,, 31633
                             31633,, 32768
                                     32768,, 0 },
           { 9030
             9030,, 21361
                    21361,, 27352
                            27352,, 32768
                                    32768,, 0 },
           { 5411
             5411,, 14793
                    14793,, 21271
                            21271,, 32768
                                    32768,, 0 },
           { 2943
             2943,, 8422
                    8422,, 13163
                           13163,, 32768
                                   32768,, 0 },
           { 29539
             29539,, 32601
                     32601,, 32730
                             32730,, 32768
                                     32768,, 0 },
           { 18125
             18125,, 30385
                     30385,, 32201
                             32201,, 32768
                                     32768,, 0 },
           { 10422
             10422,, 24090
                     24090,, 29468
                             29468,, 32768
                                     32768,, 0 },
           { 6468
             6468,, 17487
                    17487,, 24438
                            24438,, 32768
                                    32768,, 0 },
           { 2970
             2970,, 8653
                    8653,, 13531
                           13531,, 32768
                                   32768,, 0 },
           { 30912
             30912,, 32715
                     32715,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 20666
             20666,, 31373
                     31373,, 32497
                             32497,, 32768
                                     32768,, 0 },
           { 12509
             12509,, 26640
                     26640,, 30917
                             30917,, 32768
                                     32768,, 0 },
           { 8058
             8058,, 20629
                    20629,, 27290
                            27290,, 32768
                                    32768,, 0 },
           { 4231
             4231,, 12006
                    12006,, 18052
                            18052,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 10202
             10202,, 20633
                     20633,, 25484
                             25484,, 32768
                                     32768,, 0 },
           { 27336
             27336,, 31445
                     31445,, 32352
                             32352,, 32768
                                     32768,, 0 },
           { 12420
             12420,, 24384
                     24384,, 28552
                             28552,, 32768
                                     32768,, 0 },
           { 7648
             7648,, 18115
                    18115,, 23856
                            23856,, 32768
                                    32768,, 0 },
           { 5662
             5662,, 14341
                    14341,, 19902
                            19902,, 32768
                                    32768,, 0 },
           { 3611
             3611,, 10328
                    10328,, 15390
                            15390,, 32768
                                    32768,, 0 },
           { 30945
             30945,, 32616
                     32616,, 32736
                             32736,, 32768
                                     32768,, 0 },
           { 18682
             18682,, 30505
                     30505,, 32253
                             32253,, 32768
                                     32768,, 0 },
           { 11513
             11513,, 25336
                     25336,, 30203
                             30203,, 32768
                                     32768,, 0 },
           { 7449
             7449,, 19452
                    19452,, 26148
                            26148,, 32768
                                    32768,, 0 },
           { 4482
             4482,, 13051
                    13051,, 18886
                            18886,, 32768
                                    32768,, 0 },
           { 32022
             32022,, 32690
                     32690,, 32747
                             32747,, 32768
                                     32768,, 0 },
           { 18578
             18578,, 30501
                     30501,, 32146
                             32146,, 32768
                                     32768,, 0 },
           { 11249
             11249,, 23368
                     23368,, 28631
                             28631,, 32768
                                     32768,, 0 },
           { 5645
             5645,, 16958
                    16958,, 22158
                            22158,, 32768
                                    32768,, 0 },




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           { 5009
             5009,, 11444
                    11444,, 16637
                            16637,, 32768
                                    32768,, 0 },
           { 31357
             31357,, 32710
                     32710,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 21552
             21552,, 31494
                     31494,, 32504
                             32504,, 32768
                                     32768,, 0 },
           { 13891
             13891,, 27677
                     27677,, 31340
                             31340,, 32768
                                     32768,, 0 },
           { 9051
             9051,, 22098
                    22098,, 28172
                            28172,, 32768
                                    32768,, 0 },
           { 5190
             5190,, 13377
                    13377,, 19486
                            19486,, 32768
                                    32768,, 0 },
           { 32364
             32364,, 32740
                     32740,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 24839
             24839,, 31907
                     31907,, 32551
                             32551,, 32768
                                     32768,, 0 },
           { 17160
             17160,, 28779
                     28779,, 31696
                             31696,, 32768
                                     32768,, 0 },
           { 12452
             12452,, 24137
                     24137,, 29602
                             29602,, 32768
                                     32768,, 0 },
           { 6165
             6165,, 15389
                    15389,, 22477
                            22477,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 2575
             2575,, 7281
                    7281,, 11077
                           11077,, 32768
                                   32768,, 0 },
           { 14002
             14002,, 20866
                     20866,, 25402
                             25402,, 32768
                                     32768,, 0 },
           { 6343
             6343,, 15056
                    15056,, 19658
                            19658,, 32768
                                    32768,, 0 },
           { 4474
             4474,, 11858
                    11858,, 17041
                            17041,, 32768
                                    32768,, 0 },
           { 2865
             2865,, 8299
                    8299,, 12534
                           12534,, 32768
                                   32768,, 0 },
           { 1344
             1344,, 3949
                    3949,, 6391
                           6391,, 32768
                                  32768,, 0 },
           { 24720
             24720,, 31239
                     31239,, 32459
                             32459,, 32768
                                     32768,, 0 },
           { 12585
             12585,, 25356
                     25356,, 29968
                             29968,, 32768
                                     32768,, 0 },
           { 7181
             7181,, 18246
                    18246,, 24444
                            24444,, 32768
                                    32768,, 0 },
           { 5025
             5025,, 13667
                    13667,, 19885
                            19885,, 32768
                                    32768,, 0 },
           { 2521
             2521,, 7304
                    7304,, 11605
                           11605,, 32768
                                   32768,, 0 },
           { 29908
             29908,, 32252
                     32252,, 32584
                             32584,, 32768
                                     32768,, 0 },
           { 17421
             17421,, 29156
                     29156,, 31575
                             31575,, 32768
                                     32768,, 0 },
           { 9889
             9889,, 22188
                    22188,, 27782
                            27782,, 32768
                                    32768,, 0 },
           { 5878
             5878,, 15647
                    15647,, 22123
                            22123,, 32768
                                    32768,, 0 },
           { 2814
             2814,, 8665
                    8665,, 13323
                           13323,, 32768
                                   32768,, 0 },
           { 30183
             30183,, 32568
                     32568,, 32713
                             32713,, 32768
                                     32768,, 0 },
           { 18528
             18528,, 30195
                     30195,, 32049
                             32049,, 32768
                                     32768,, 0 },
           { 10982
             10982,, 24606
                     24606,, 29657
                             29657,, 32768
                                     32768,, 0 },
           { 6957
             6957,, 18165
                    18165,, 25231
                            25231,, 32768
                                    32768,, 0 },
           { 3508
             3508,, 10118
                    10118,, 15468
                            15468,, 32768
                                    32768,, 0 },
           { 31761
             31761,, 32736
                     32736,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 21041
             21041,, 31328
                     31328,, 32546
                             32546,, 32768
                                     32768,, 0 },




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           { 12568
             12568,, 26732
                     26732,, 31166
                             31166,, 32768
                                     32768,, 0 },
           { 8052
             8052,, 20720
                    20720,, 27733
                            27733,, 32768
                                    32768,, 0 },
           { 4336
             4336,, 12192
                    12192,, 18396
                            18396,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } } },
     { { { { 7062
             7062,, 16472
                    16472,, 22319
                            22319,, 32768
                                    32768,, 0 },
           { 24538
             24538,, 32261
                     32261,, 32674
                             32674,, 32768
                                     32768,, 0 },
           { 13675
             13675,, 28041
                     28041,, 31779
                             31779,, 32768
                                     32768,, 0 },
           { 8590
             8590,, 20674
                    20674,, 27631
                            27631,, 32768
                                    32768,, 0 },
           { 5685
             5685,, 14675
                    14675,, 22013
                            22013,, 32768
                                    32768,, 0 },
           { 3655
             3655,, 9898
                    9898,, 15731
                           15731,, 32768
                                   32768,, 0 },
           { 26493
             26493,, 32418
                     32418,, 32658
                             32658,, 32768
                                     32768,, 0 },
           { 16376
             16376,, 29342
                     29342,, 32090
                             32090,, 32768
                                     32768,, 0 },
           { 10594
             10594,, 22649
                     22649,, 28970
                             28970,, 32768
                                     32768,, 0 },
           { 8176
             8176,, 17170
                    17170,, 24303
                            24303,, 32768
                                    32768,, 0 },
           { 5605
             5605,, 12694
                    12694,, 19139
                            19139,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 23888
             23888,, 31902
                     31902,, 32542
                             32542,, 32768
                                     32768,, 0 },
           { 18612
             18612,, 29687
                     29687,, 31987
                             31987,, 32768
                                     32768,, 0 },
           { 16245
             16245,, 24852
                     24852,, 29249
                             29249,, 32768
                                     32768,, 0 },
           { 15765
             15765,, 22608
                     22608,, 27559
                             27559,, 32768
                                     32768,, 0 },
           { 19895
             19895,, 24699
                     24699,, 27510
                             27510,, 32768
                                     32768,, 0 },
           { 28401
             28401,, 32212
                     32212,, 32457
                             32457,, 32768
                                     32768,, 0 },
           { 15274
             15274,, 27825
                     27825,, 30980
                             30980,, 32768
                                     32768,, 0 },
           { 9364
             9364,, 18128
                    18128,, 24332
                            24332,, 32768
                                    32768,, 0 },
           { 2283
             2283,, 8193
                    8193,, 15082
                           15082,, 32768
                                   32768,, 0 },
           { 1228
             1228,, 3972
                    3972,, 7881
                           7881,, 32768
                                  32768,, 0 },
           { 29455
             29455,, 32469
                     32469,, 32620
                             32620,, 32768
                                     32768,, 0 },
           { 17981
             17981,, 28245
                     28245,, 31388
                             31388,, 32768
                                     32768,, 0 },
           { 10921
             10921,, 20098
                     20098,, 26240
                             26240,, 32768
                                     32768,, 0 },
           { 3743
             3743,, 11829
                    11829,, 18657
                            18657,, 32768
                                    32768,, 0 },
           { 2374
             2374,, 9593
                    9593,, 15715
                           15715,, 32768
                                   32768,, 0 },
           { 31068
             31068,, 32466
                     32466,, 32635
                             32635,, 32768
                                     32768,, 0 },
           { 20321
             20321,, 29572
                     29572,, 31971
                             31971,, 32768
                                     32768,, 0 },
           { 10771
             10771,, 20255
                     20255,, 27119
                             27119,, 32768
                                     32768,, 0 },




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           { 2795
             2795,, 10410
                    10410,, 17361
                            17361,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 9320
             9320,, 22102
                    22102,, 27840
                            27840,, 32768
                                    32768,, 0 },
           { 27057
             27057,, 32464
                     32464,, 32724
                             32724,, 32768
                                     32768,, 0 },
           { 16331
             16331,, 30268
                     30268,, 32309
                             32309,, 32768
                                     32768,, 0 },
           { 10319
             10319,, 23935
                     23935,, 29720
                             29720,, 32768
                                     32768,, 0 },
           { 6189
             6189,, 16448
                    16448,, 24106
                            24106,, 32768
                                    32768,, 0 },
           { 3589
             3589,, 10884
                    10884,, 18808
                            18808,, 32768
                                    32768,, 0 },
           { 29026
             29026,, 32624
                     32624,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 19226
             19226,, 31507
                     31507,, 32587
                             32587,, 32768
                                     32768,, 0 },
           { 12692
             12692,, 26921
                     26921,, 31203
                             31203,, 32768
                                     32768,, 0 },
           { 7049
             7049,, 19532
                    19532,, 27635
                            27635,, 32768
                                    32768,, 0 },
           { 7727
             7727,, 15669
                    15669,, 23252
                            23252,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 28056
             28056,, 32625
                     32625,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 22383
             22383,, 32075
                     32075,, 32669
                             32669,, 32768
                                     32768,, 0 },
           { 15417
             15417,, 27098
                     27098,, 31749
                             31749,, 32768
                                     32768,, 0 },
           { 18127
             18127,, 26493
                     26493,, 27190
                             27190,, 32768
                                     32768,, 0 },
           { 5461
             5461,, 16384
                    16384,, 21845
                            21845,, 32768
                                    32768,, 0 },
           { 27982
             27982,, 32091
                     32091,, 32584
                             32584,, 32768
                                     32768,, 0 },
           { 19045
             19045,, 29868
                     29868,, 31972
                             31972,, 32768
                                     32768,, 0 },
           { 10397
             10397,, 22266
                     22266,, 27932
                             27932,, 32768
                                     32768,, 0 },
           { 5990
             5990,, 13697
                    13697,, 21500
                            21500,, 32768
                                    32768,, 0 },
           { 1792
             1792,, 6912
                    6912,, 15104
                           15104,, 32768
                                   32768,, 0 },
           { 28198
             28198,, 32501
                     32501,, 32718
                             32718,, 32768
                                     32768,, 0 },
           { 21534
             21534,, 31521
                     31521,, 32569
                             32569,, 32768
                                     32768,, 0 },
           { 11109
             11109,, 25217
                     25217,, 30017
                             30017,, 32768
                                     32768,, 0 },
           { 5671
             5671,, 15124
                    15124,, 26151
                            26151,, 32768
                                    32768,, 0 },
           { 4681
             4681,, 14043
                    14043,, 18725
                            18725,, 32768
                                    32768,, 0 },
           { 28688
             28688,, 32580
                     32580,, 32741
                             32741,, 32768
                                     32768,, 0 },
           { 22576
             22576,, 32079
                     32079,, 32661
                             32661,, 32768
                                     32768,, 0 },
           { 10627
             10627,, 22141
                     22141,, 28340
                             28340,, 32768
                                     32768,, 0 },
           { 9362
             9362,, 14043
                    14043,, 28087
                            28087,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 7754
             7754,, 16948
                    16948,, 22142
                            22142,, 32768
                                    32768,, 0 },
           { 25670
             25670,, 32330
                     32330,, 32691
                             32691,, 32768
                                     32768,, 0 },
           { 15663
             15663,, 29225
                     29225,, 31994
                             31994,, 32768
                                     32768,, 0 },
           { 9878
             9878,, 23288
                    23288,, 29158
                            29158,, 32768
                                    32768,, 0 },
           { 6419
             6419,, 17088
                    17088,, 24336
                            24336,, 32768
                                    32768,, 0 },




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           { 3859
             3859,, 11003
                    11003,, 17039
                            17039,, 32768
                                    32768,, 0 },
           { 27562
             27562,, 32595
                     32595,, 32725
                             32725,, 32768
                                     32768,, 0 },
           { 17575
             17575,, 30588
                     30588,, 32399
                             32399,, 32768
                                     32768,, 0 },
           { 10819
             10819,, 24838
                     24838,, 30309
                             30309,, 32768
                                     32768,, 0 },
           { 7124
             7124,, 18686
                    18686,, 25916
                            25916,, 32768
                                    32768,, 0 },
           { 4479
             4479,, 12688
                    12688,, 19340
                            19340,, 32768
                                    32768,, 0 },
           { 28385
             28385,, 32476
                     32476,, 32673
                             32673,, 32768
                                     32768,, 0 },
           { 15306
             15306,, 29005
                     29005,, 31938
                             31938,, 32768
                                     32768,, 0 },
           { 8937
             8937,, 21615
                    21615,, 28322
                            28322,, 32768
                                    32768,, 0 },
           { 5982
             5982,, 15603
                    15603,, 22786
                            22786,, 32768
                                    32768,, 0 },
           { 3620
             3620,, 10267
                    10267,, 16136
                            16136,, 32768
                                    32768,, 0 },
           { 27280
             27280,, 32464
                     32464,, 32667
                             32667,, 32768
                                     32768,, 0 },
           { 15607
             15607,, 29160
                     29160,, 32004
                             32004,, 32768
                                     32768,, 0 },
           { 9091
             9091,, 22135
                    22135,, 28740
                            28740,, 32768
                                    32768,, 0 },
           { 6232
             6232,, 16632
                    16632,, 24020
                            24020,, 32768
                                    32768,, 0 },
           { 4047
             4047,, 11377
                    11377,, 17672
                            17672,, 32768
                                    32768,, 0 },
           { 29220
             29220,, 32630
                     32630,, 32718
                             32718,, 32768
                                     32768,, 0 },
           { 19650
             19650,, 31220
                     31220,, 32462
                             32462,, 32768
                                     32768,, 0 },
           { 13050
             13050,, 26312
                     26312,, 30827
                             30827,, 32768
                                     32768,, 0 },
           { 9228
             9228,, 20870
                    20870,, 27468
                            27468,, 32768
                                    32768,, 0 },
           { 6146
             6146,, 15149
                    15149,, 21971
                            21971,, 32768
                                    32768,, 0 },
           { 30169
             30169,, 32481
                     32481,, 32623
                             32623,, 32768
                                     32768,, 0 },
           { 17212
             17212,, 29311
                     29311,, 31554
                             31554,, 32768
                                     32768,, 0 },
           { 9911
             9911,, 21311
                    21311,, 26882
                            26882,, 32768
                                    32768,, 0 },
           { 4487
             4487,, 13314
                    13314,, 20372
                            20372,, 32768
                                    32768,, 0 },
           { 2570
             2570,, 7772
                    7772,, 12889
                           12889,, 32768
                                   32768,, 0 },
           { 30924
             30924,, 32613
                     32613,, 32708
                             32708,, 32768
                                     32768,, 0 },
           { 19490
             19490,, 30206
                     30206,, 32107
                             32107,, 32768
                                     32768,, 0 },
           { 11232
             11232,, 23998
                     23998,, 29276
                             29276,, 32768
                                     32768,, 0 },
           { 6769
             6769,, 17955
                    17955,, 25035
                            25035,, 32768
                                    32768,, 0 },
           { 4398
             4398,, 12623
                    12623,, 19214
                            19214,, 32768
                                    32768,, 0 },
           { 30609
             30609,, 32627
                     32627,, 32722
                             32722,, 32768
                                     32768,, 0 },
           { 19370
             19370,, 30582
                     30582,, 32287
                             32287,, 32768
                                     32768,, 0 },
           { 10457
             10457,, 23619
                     23619,, 29409
                             29409,, 32768
                                     32768,, 0 },
           { 6443
             6443,, 17637
                    17637,, 24834
                            24834,, 32768
                                    32768,, 0 },
           { 4645
             4645,, 13236
                    13236,, 20106
                            20106,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8626
             8626,, 20271
                    20271,, 26216
                            26216,, 32768
                                    32768,, 0 },
           { 26707
             26707,, 32406
                     32406,, 32711
                             32711,, 32768
                                     32768,, 0 },
           { 16999
             16999,, 30329
                     30329,, 32286
                             32286,, 32768
                                     32768,, 0 },
           { 11445
             11445,, 25123
                     25123,, 30286
                             30286,, 32768
                                     32768,, 0 },
           { 6411
             6411,, 18828
                    18828,, 25601
                            25601,, 32768
                                    32768,, 0 },
           { 6801
             6801,, 12458
                    12458,, 20248
                            20248,, 32768
                                    32768,, 0 },
           { 29918
             29918,, 32682
                     32682,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 20649
             20649,, 31739
                     31739,, 32618
                             32618,, 32768
                                     32768,, 0 },
           { 12879
             12879,, 27773
                     27773,, 31581
                             31581,, 32768
                                     32768,, 0 },
           { 7896
             7896,, 21751
                    21751,, 28244
                            28244,, 32768
                                    32768,, 0 },
           { 5260
             5260,, 14870
                    14870,, 23698
                            23698,, 32768
                                    32768,, 0 },
           { 29252
             29252,, 32593
                     32593,, 32731
                             32731,, 32768
                                     32768,, 0 },
           { 17072
             17072,, 30460
                     30460,, 32294
                             32294,, 32768
                                     32768,, 0 },




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           { 10653
             10653,, 24143
                     24143,, 29365
                             29365,, 32768
                                     32768,, 0 },
           { 6536
             6536,, 17490
                    17490,, 23983
                            23983,, 32768
                                    32768,, 0 },
           { 4929
             4929,, 13170
                    13170,, 20085
                            20085,, 32768
                                    32768,, 0 },
           { 28137
             28137,, 32518
                     32518,, 32715
                             32715,, 32768
                                     32768,, 0 },
           { 18171
             18171,, 30784
                     30784,, 32407
                             32407,, 32768
                                     32768,, 0 },
           { 11437
             11437,, 25436
                     25436,, 30459
                             30459,, 32768
                                     32768,, 0 },
           { 7252
             7252,, 18534
                    18534,, 26176
                            26176,, 32768
                                    32768,, 0 },
           { 4126
             4126,, 13353
                    13353,, 20978
                            20978,, 32768
                                    32768,, 0 },
           { 31162
             31162,, 32726
                     32726,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 23017
             23017,, 32222
                     32222,, 32701
                             32701,, 32768
                                     32768,, 0 },
           { 15629
             15629,, 29233
                     29233,, 32046
                             32046,, 32768
                                     32768,, 0 },
           { 9387
             9387,, 22621
                    22621,, 29480
                            29480,, 32768
                                    32768,, 0 },
           { 6922
             6922,, 17616
                    17616,, 25010
                            25010,, 32768
                                    32768,, 0 },
           { 28838
             28838,, 32265
                     32265,, 32614
                             32614,, 32768
                                     32768,, 0 },
           { 19701
             19701,, 30206
                     30206,, 31920
                             31920,, 32768
                                     32768,, 0 },
           { 11214
             11214,, 22410
                     22410,, 27933
                             27933,, 32768
                                     32768,, 0 },
           { 5320
             5320,, 14177
                    14177,, 23034
                            23034,, 32768
                                    32768,, 0 },
           { 5049
             5049,, 12881
                    12881,, 17827
                            17827,, 32768
                                    32768,, 0 },
           { 27484
             27484,, 32471
                     32471,, 32734
                             32734,, 32768
                                     32768,, 0 },
           { 21076
             21076,, 31526
                     31526,, 32561
                             32561,, 32768
                                     32768,, 0 },
           { 12707
             12707,, 26303
                     26303,, 31211
                             31211,, 32768
                                     32768,, 0 },
           { 8169
             8169,, 21722
                    21722,, 28219
                            28219,, 32768
                                    32768,, 0 },
           { 6045
             6045,, 19406
                    19406,, 27042
                            27042,, 32768
                                    32768,, 0 },
           { 27753
             27753,, 32572
                     32572,, 32745
                             32745,, 32768
                                     32768,, 0 },
           { 20832
             20832,, 31878
                     31878,, 32653
                             32653,, 32768
                                     32768,, 0 },
           { 13250
             13250,, 27356
                     27356,, 31674
                             31674,, 32768
                                     32768,, 0 },
           { 7718
             7718,, 21508
                    21508,, 29858
                            29858,, 32768
                                    32768,, 0 },
           { 7209
             7209,, 18350
                    18350,, 25559
                            25559,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 7876
             7876,, 16901
                    16901,, 21741
                            21741,, 32768
                                    32768,, 0 },
           { 24001
             24001,, 31898
                     31898,, 32625
                             32625,, 32768
                                     32768,, 0 },
           { 14529
             14529,, 27959
                     27959,, 31451
                             31451,, 32768
                                     32768,, 0 },
           { 8273
             8273,, 20818
                    20818,, 27258
                            27258,, 32768
                                    32768,, 0 },
           { 5278
             5278,, 14673
                    14673,, 21510
                            21510,, 32768
                                    32768,, 0 },
           { 2983
             2983,, 8843
                    8843,, 14039
                           14039,, 32768
                                   32768,, 0 },
           { 28016
             28016,, 32574
                     32574,, 32732
                             32732,, 32768
                                     32768,, 0 },
           { 17471
             17471,, 30306
                     30306,, 32301
                             32301,, 32768
                                     32768,, 0 },
           { 10224
             10224,, 24063
                     24063,, 29728
                             29728,, 32768
                                     32768,, 0 },
           { 6602
             6602,, 17954
                    17954,, 25052
                            25052,, 32768
                                    32768,, 0 },
           { 4002
             4002,, 11585
                    11585,, 17759
                            17759,, 32768
                                    32768,, 0 },
           { 30190
             30190,, 32634
                     32634,, 32739
                             32739,, 32768
                                     32768,, 0 },
           { 17497
             17497,, 30282
                     30282,, 32270
                             32270,, 32768
                                     32768,, 0 },
           { 10229
             10229,, 23729
                     23729,, 29538
                             29538,, 32768
                                     32768,, 0 },
           { 6344
             6344,, 17211
                    17211,, 24440
                            24440,, 32768
                                    32768,, 0 },
           { 3849
             3849,, 11189
                    11189,, 17108
                            17108,, 32768
                                    32768,, 0 },
           { 28570
             28570,, 32583
                     32583,, 32726
                             32726,, 32768
                                     32768,, 0 },
           { 17521
             17521,, 30161
                     30161,, 32238
                             32238,, 32768
                                     32768,, 0 },
           { 10153
             10153,, 23565
                     23565,, 29378
                             29378,, 32768
                                     32768,, 0 },
           { 6455
             6455,, 17341
                    17341,, 24443
                            24443,, 32768
                                    32768,, 0 },
           { 3907
             3907,, 11042
                    11042,, 17024
                            17024,, 32768
                                    32768,, 0 },




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           { 30689
             30689,, 32715
                     32715,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 21546
             21546,, 31840
                     31840,, 32610
                             32610,, 32768
                                     32768,, 0 },
           { 13547
             13547,, 27581
                     27581,, 31459
                             31459,, 32768
                                     32768,, 0 },
           { 8912
             8912,, 21757
                    21757,, 28309
                            28309,, 32768
                                    32768,, 0 },
           { 5548
             5548,, 15080
                    15080,, 22046
                            22046,, 32768
                                    32768,, 0 },
           { 30783
             30783,, 32540
                     32540,, 32685
                             32685,, 32768
                                     32768,, 0 },
           { 17540
             17540,, 29528
                     29528,, 31668
                             31668,, 32768
                                     32768,, 0 },
           { 10160
             10160,, 21468
                     21468,, 26783
                             26783,, 32768
                                     32768,, 0 },
           { 4724
             4724,, 13393
                    13393,, 20054
                            20054,, 32768
                                    32768,, 0 },
           { 2702
             2702,, 8174
                    8174,, 13102
                           13102,, 32768
                                   32768,, 0 },
           { 31648
             31648,, 32686
                     32686,, 32742
                             32742,, 32768
                                     32768,, 0 },
           { 20954
             20954,, 31094
                     31094,, 32337
                             32337,, 32768
                                     32768,, 0 },
           { 12420
             12420,, 25698
                     25698,, 30179
                             30179,, 32768
                                     32768,, 0 },
           { 7304
             7304,, 19320
                    19320,, 26248
                            26248,, 32768
                                    32768,, 0 },
           { 4366
             4366,, 12261
                    12261,, 18864
                            18864,, 32768
                                    32768,, 0 },
           { 31581
             31581,, 32723
                     32723,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 21373
             21373,, 31586
                     31586,, 32525
                             32525,, 32768
                                     32768,, 0 },
           { 12744
             12744,, 26625
                     26625,, 30885
                             30885,, 32768
                                     32768,, 0 },
           { 7431
             7431,, 20322
                    20322,, 26950
                            26950,, 32768
                                    32768,, 0 },
           { 4692
             4692,, 13323
                    13323,, 20111
                            20111,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 7833
             7833,, 18369
                    18369,, 24095
                            24095,, 32768
                                    32768,, 0 },
           { 26650
             26650,, 32273
                     32273,, 32702
                             32702,, 32768
                                     32768,, 0 },
           { 16371
             16371,, 29961
                     29961,, 32191
                             32191,, 32768
                                     32768,, 0 },
           { 11055
             11055,, 24082
                     24082,, 29629
                             29629,, 32768
                                     32768,, 0 },
           { 6892
             6892,, 18644
                    18644,, 25400
                            25400,, 32768
                                    32768,, 0 },
           { 5006
             5006,, 13057
                    13057,, 19240
                            19240,, 32768
                                    32768,, 0 },
           { 29834
             29834,, 32666
                     32666,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 19577
             19577,, 31335
                     31335,, 32570
                             32570,, 32768
                                     32768,, 0 },
           { 12253
             12253,, 26509
                     26509,, 31122
                             31122,, 32768
                                     32768,, 0 },
           { 7991
             7991,, 20772
                    20772,, 27711
                            27711,, 32768
                                    32768,, 0 },
           { 5677
             5677,, 15910
                    15910,, 23059
                            23059,, 32768
                                    32768,, 0 },
           { 30109
             30109,, 32532
                     32532,, 32720
                             32720,, 32768
                                     32768,, 0 },
           { 16747
             16747,, 30166
                     30166,, 32252
                             32252,, 32768
                                     32768,, 0 },
           { 10134
             10134,, 23542
                     23542,, 29184
                             29184,, 32768
                                     32768,, 0 },
           { 5791
             5791,, 16176
                    16176,, 23556
                            23556,, 32768
                                    32768,, 0 },
           { 4362
             4362,, 10414
                    10414,, 17284
                            17284,, 32768
                                    32768,, 0 },
           { 29492
             29492,, 32626
                     32626,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 19894
             19894,, 31402
                     31402,, 32525
                             32525,, 32768
                                     32768,, 0 },
           { 12942
             12942,, 27071
                     27071,, 30869
                             30869,, 32768
                                     32768,, 0 },
           { 8346
             8346,, 21216
                    21216,, 27405
                            27405,, 32768
                                    32768,, 0 },
           { 6572
             6572,, 17087
                    17087,, 23859
                            23859,, 32768
                                    32768,, 0 },
           { 32035
             32035,, 32735
                     32735,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 22957
             22957,, 31838
                     31838,, 32618
                             32618,, 32768
                                     32768,, 0 },
           { 14724
             14724,, 28572
                     28572,, 31772
                             31772,, 32768
                                     32768,, 0 },
           { 10364
             10364,, 23999
                     23999,, 29553
                             29553,, 32768
                                     32768,, 0 },
           { 7004
             7004,, 18433
                    18433,, 25655
                            25655,, 32768
                                    32768,, 0 },
           { 27528
             27528,, 32277
                     32277,, 32681
                             32681,, 32768
                                     32768,, 0 },
           { 16959
             16959,, 31171
                     31171,, 32096
                             32096,, 32768
                                     32768,, 0 },
           { 10486
             10486,, 23593
                     23593,, 27962
                             27962,, 32768
                                     32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 23211
                            23211,, 32768
                                    32768,, 0 },
           { 8937
             8937,, 17873
                    17873,, 20852
                            20852,, 32768
                                    32768,, 0 },
           { 27715
             27715,, 32002
                     32002,, 32615
                             32615,, 32768
                                     32768,, 0 },
           { 15073
             15073,, 29491
                     29491,, 31676
                             31676,, 32768
                                     32768,, 0 },
           { 11264
             11264,, 24576
                     24576,, 28672
                             28672,, 32768
                                     32768,, 0 },
           { 2341
             2341,, 18725
                    18725,, 23406
                            23406,, 32768
                                    32768,, 0 },
           { 7282
             7282,, 18204
                    18204,, 25486
                            25486,, 32768
                                    32768,, 0 },
           { 28547
             28547,, 32213
                     32213,, 32657
                             32657,, 32768
                                     32768,, 0 },
           { 20788
             20788,, 29773
                     29773,, 32239
                             32239,, 32768
                                     32768,, 0 },
           { 6780
             6780,, 21469
                    21469,, 30508
                            30508,, 32768
                                    32768,, 0 },
           { 5958
             5958,, 14895
                    14895,, 23831
                            23831,, 32768
                                    32768,, 0 },
           { 16384
             16384,, 21845
                     21845,, 27307
                             27307,, 32768
                                     32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 5992
             5992,, 14304
                    14304,, 19765
                            19765,, 32768
                                    32768,, 0 },
           { 22612
             22612,, 31238
                     31238,, 32456
                             32456,, 32768
                                     32768,, 0 },
           { 13456
             13456,, 27162
                     27162,, 31087
                             31087,, 32768
                                     32768,, 0 },
           { 8001
             8001,, 20062
                    20062,, 26504
                            26504,, 32768
                                    32768,, 0 },
           { 5168
             5168,, 14105
                    14105,, 20764
                            20764,, 32768
                                    32768,, 0 },
           { 2632
             2632,, 7771
                    7771,, 12385
                           12385,, 32768
                                   32768,, 0 },
           { 27034
             27034,, 32344
                     32344,, 32709
                             32709,, 32768
                                     32768,, 0 },
           { 15850
             15850,, 29415
                     29415,, 31997
                             31997,, 32768
                                     32768,, 0 },
           { 9494
             9494,, 22776
                    22776,, 28841
                            28841,, 32768
                                    32768,, 0 },
           { 6151
             6151,, 16830
                    16830,, 23969
                            23969,, 32768
                                    32768,, 0 },
           { 3461
             3461,, 10039
                    10039,, 15722
                            15722,, 32768
                                    32768,, 0 },
           { 30134
             30134,, 32569
                     32569,, 32731
                             32731,, 32768
                                     32768,, 0 },
           { 15638
             15638,, 29422
                     29422,, 31945
                             31945,, 32768
                                     32768,, 0 },
           { 9150
             9150,, 21865
                    21865,, 28218
                            28218,, 32768
                                    32768,, 0 },
           { 5647
             5647,, 15719
                    15719,, 22676
                            22676,, 32768
                                    32768,, 0 },
           { 3402
             3402,, 9772
                    9772,, 15477
                           15477,, 32768
                                   32768,, 0 },
           { 28530
             28530,, 32586
                     32586,, 32735
                             32735,, 32768
                                     32768,, 0 },
           { 17139
             17139,, 30298
                     30298,, 32292
                             32292,, 32768
                                     32768,, 0 },
           { 10200
             10200,, 24039
                     24039,, 29685
                             29685,, 32768
                                     32768,, 0 },
           { 6419
             6419,, 17674
                    17674,, 24786
                            24786,, 32768
                                    32768,, 0 },
           { 3544
             3544,, 10225
                    10225,, 15824
                            15824,, 32768
                                    32768,, 0 },
           { 31333
             31333,, 32726
                     32726,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 20618
             20618,, 31487
                     31487,, 32544
                             32544,, 32768
                                     32768,, 0 },
           { 12901
             12901,, 27217
                     27217,, 31232
                             31232,, 32768
                                     32768,, 0 },
           { 8624
             8624,, 21734
                    21734,, 28171
                            28171,, 32768
                                    32768,, 0 },
           { 5104
             5104,, 14191
                    14191,, 20748
                            20748,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 11206
             11206,, 21090
                     21090,, 26561
                             26561,, 32768
                                     32768,, 0 },
           { 28759
             28759,, 32279
                     32279,, 32671
                             32671,, 32768
                                     32768,, 0 },
           { 14171
             14171,, 27952
                     27952,, 31569
                             31569,, 32768
                                     32768,, 0 },
           { 9743
             9743,, 22907
                    22907,, 29141
                            29141,, 32768
                                    32768,, 0 },
           { 6871
             6871,, 17886
                    17886,, 24868
                            24868,, 32768
                                    32768,, 0 },
           { 4960
             4960,, 13152
                    13152,, 19315
                            19315,, 32768
                                    32768,, 0 },
           { 31077
             31077,, 32661
                     32661,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 19400
             19400,, 31195
                     31195,, 32515
                             32515,, 32768
                                     32768,, 0 },
           { 12752
             12752,, 26858
                     26858,, 31040
                             31040,, 32768
                                     32768,, 0 },
           { 8370
             8370,, 22098
                    22098,, 28591
                            28591,, 32768
                                    32768,, 0 },
           { 5457
             5457,, 15373
                    15373,, 22298
                            22298,, 32768
                                    32768,, 0 },
           { 31697
             31697,, 32706
                     32706,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 17860
             17860,, 30657
                     30657,, 32333
                             32333,, 32768
                                     32768,, 0 },
           { 12510
             12510,, 24812
                     24812,, 29261
                             29261,, 32768
                                     32768,, 0 },
           { 6180
             6180,, 19124
                    19124,, 24722
                            24722,, 32768
                                    32768,, 0 },
           { 5041
             5041,, 13548
                    13548,, 17959
                            17959,, 32768
                                    32768,, 0 },
           { 31552
             31552,, 32716
                     32716,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 21908
             21908,, 31769
                     31769,, 32623
                             32623,, 32768
                                     32768,, 0 },
           { 14470
             14470,, 28201
                     28201,, 31565
                             31565,, 32768
                                     32768,, 0 },
           { 9493
             9493,, 22982
                    22982,, 28608
                            28608,, 32768
                                    32768,, 0 },
           { 6858
             6858,, 17240
                    17240,, 24137
                            24137,, 32768
                                    32768,, 0 },
           { 32543
             32543,, 32752
                     32752,, 32756
                             32756,, 32768
                                     32768,, 0 },
           { 24286
             24286,, 32097
                     32097,, 32666
                             32666,, 32768
                                     32768,, 0 },
           { 15958
             15958,, 29217
                     29217,, 32024
                             32024,, 32768
                                     32768,, 0 },
           { 10207
             10207,, 24234
                     24234,, 29958
                             29958,, 32768
                                     32768,, 0 },
           { 6929
             6929,, 18305
                    18305,, 25652
                            25652,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } },
       { { { 4137
             4137,, 10847
                    10847,, 15682
                            15682,, 32768
                                    32768,, 0 },
           { 17824
             17824,, 27001
                     27001,, 30058
                             30058,, 32768
                                     32768,, 0 },
           { 10204
             10204,, 22796
                     22796,, 28291
                             28291,, 32768
                                     32768,, 0 },




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           { 6076
             6076,, 15935
                    15935,, 22125
                            22125,, 32768
                                    32768,, 0 },
           { 3852
             3852,, 10937
                    10937,, 16816
                            16816,, 32768
                                    32768,, 0 },
           { 2252
             2252,, 6324
                    6324,, 10131
                           10131,, 32768
                                   32768,, 0 },
           { 25840
             25840,, 32016
                     32016,, 32662
                             32662,, 32768
                                     32768,, 0 },
           { 15109
             15109,, 28268
                     28268,, 31531
                             31531,, 32768
                                     32768,, 0 },
           { 9385
             9385,, 22231
                    22231,, 28340
                            28340,, 32768
                                    32768,, 0 },
           { 6082
             6082,, 16672
                    16672,, 23479
                            23479,, 32768
                                    32768,, 0 },
           { 3318
             3318,, 9427
                    9427,, 14681
                           14681,, 32768
                                   32768,, 0 },
           { 30594
             30594,, 32574
                     32574,, 32718
                             32718,, 32768
                                     32768,, 0 },
           { 16836
             16836,, 29552
                     29552,, 31859
                             31859,, 32768
                                     32768,, 0 },
           { 9556
             9556,, 22542
                    22542,, 28356
                            28356,, 32768
                                    32768,, 0 },
           { 6305
             6305,, 16725
                    16725,, 23540
                            23540,, 32768
                                    32768,, 0 },
           { 3376
             3376,, 9895
                    9895,, 15184
                           15184,, 32768
                                   32768,, 0 },
           { 29383
             29383,, 32617
                     32617,, 32745
                             32745,, 32768
                                     32768,, 0 },
           { 18891
             18891,, 30809
                     30809,, 32401
                             32401,, 32768
                                     32768,, 0 },
           { 11688
             11688,, 25942
                     25942,, 30687
                             30687,, 32768
                                     32768,, 0 },
           { 7468
             7468,, 19469
                    19469,, 26651
                            26651,, 32768
                                    32768,, 0 },
           { 3909
             3909,, 11358
                    11358,, 17012
                            17012,, 32768
                                    32768,, 0 },
           { 31564
             31564,, 32736
                     32736,, 32748
                             32748,, 32768
                                     32768,, 0 },
           { 20906
             20906,, 31611
                     31611,, 32600
                             32600,, 32768
                                     32768,, 0 },
           { 13191
             13191,, 27621
                     27621,, 31537
                             31537,, 32768
                                     32768,, 0 },
           { 8768
             8768,, 22029
                    22029,, 28676
                            28676,, 32768
                                    32768,, 0 },
           { 5079
             5079,, 14109
                    14109,, 20906
                            20906,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 },
            { 8192
              8192,, 16384
                     16384,, 24576
                             24576,, 32768
                                     32768,, 0 } } } }
  }




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  Default_Coeff_Br_Cdf[[ COEFF_CDF_Q_CTXS ][ TX_SIZES ][ PLANE_TYPES ][ LEVEL_CONTEXTS ][ BR_CDF_SIZE +
  1 ] = {
    { { { { 14298
            14298,, 20718
                    20718,, 24174
                            24174,, 32768
                                    32768,, 0 },
          { 12536
            12536,, 19601
                    19601,, 23789
                            23789,, 32768
                                    32768,, 0 },
          { 8712
            8712,, 15051
                   15051,, 19503
                           19503,, 32768
                                   32768,, 0 },
          { 6170
            6170,, 11327
                   11327,, 15434
                           15434,, 32768
                                   32768,, 0 },
          { 4742
            4742,, 8926
                   8926,, 12538
                          12538,, 32768
                                  32768,, 0 },
          { 3803
            3803,, 7317
                   7317,, 10546
                          10546,, 32768
                                  32768,, 0 },
          { 1696
            1696,, 3317
                   3317,, 4871
                          4871,, 32768
                                 32768,, 0 },
          { 14392
            14392,, 19951
                    19951,, 22756
                            22756,, 32768
                                    32768,, 0 },
          { 15978
            15978,, 23218
                    23218,, 26818
                            26818,, 32768
                                    32768,, 0 },
          { 12187
            12187,, 19474
                    19474,, 23889
                            23889,, 32768
                                    32768,, 0 },
          { 9176
            9176,, 15640
                   15640,, 20259
                           20259,, 32768
                                   32768,, 0 },
          { 7068
            7068,, 12655
                   12655,, 17028
                           17028,, 32768
                                   32768,, 0 },
          { 5656
            5656,, 10442
                   10442,, 14472
                           14472,, 32768
                                   32768,, 0 },
          { 2580
            2580,, 4992
                   4992,, 7244
                          7244,, 32768
                                 32768,, 0 },
          { 12136
            12136,, 18049
                    18049,, 21426
                            21426,, 32768
                                    32768,, 0 },
          { 13784
            13784,, 20721
                    20721,, 24481
                            24481,, 32768
                                    32768,, 0 },
          { 10836
            10836,, 17621
                    17621,, 21900
                            21900,, 32768
                                    32768,, 0 },
          { 8372
            8372,, 14444
                   14444,, 18847
                           18847,, 32768
                                   32768,, 0 },
          { 6523
            6523,, 11779
                   11779,, 16000
                           16000,, 32768
                                   32768,, 0 },
          { 5337
            5337,, 9898
                   9898,, 13760
                          13760,, 32768
                                  32768,, 0 },
          { 3034
            3034,, 5860
                   5860,, 8462
                          8462,, 32768
                                 32768,, 0 } },
        { { 15967
            15967,, 22905
                    22905,, 26286
                            26286,, 32768
                                    32768,, 0 },
          { 13534
            13534,, 20654
                    20654,, 24579
                            24579,, 32768
                                    32768,, 0 },
          { 9504
            9504,, 16092
                   16092,, 20535
                           20535,, 32768
                                   32768,, 0 },
          { 6975
            6975,, 12568
                   12568,, 16903
                           16903,, 32768
                                   32768,, 0 },
          { 5364
            5364,, 10091
                   10091,, 14020
                           14020,, 32768
                                   32768,, 0 },
          { 4357
            4357,, 8370
                   8370,, 11857
                          11857,, 32768
                                  32768,, 0 },
          { 2506
            2506,, 4934
                   4934,, 7218
                          7218,, 32768
                                 32768,, 0 },
          { 23032
            23032,, 28815
                    28815,, 30936
                            30936,, 32768
                                    32768,, 0 },
          { 19540
            19540,, 26704
                    26704,, 29719
                            29719,, 32768
                                    32768,, 0 },
          { 15158
            15158,, 22969
                    22969,, 27097
                            27097,, 32768
                                    32768,, 0 },
          { 11408
            11408,, 18865
                    18865,, 23650
                            23650,, 32768
                                    32768,, 0 },
          { 8885
            8885,, 15448
                   15448,, 20250
                           20250,, 32768
                                   32768,, 0 },
          { 7108
            7108,, 12853
                   12853,, 17416
                           17416,, 32768
                                   32768,, 0 },
          { 4231
            4231,, 8041
                   8041,, 11480
                          11480,, 32768
                                  32768,, 0 },
          { 19823
            19823,, 26490
                    26490,, 29156
                            29156,, 32768
                                    32768,, 0 },
          { 18890
            18890,, 25929
                    25929,, 28932
                            28932,, 32768
                                    32768,, 0 },
          { 15660
            15660,, 23491
                    23491,, 27433
                            27433,, 32768
                                    32768,, 0 },
          { 12147
            12147,, 19776
                    19776,, 24488
                            24488,, 32768
                                    32768,, 0 },
          { 9728
            9728,, 16774
                   16774,, 21649
                           21649,, 32768
                                   32768,, 0 },
          { 7919
            7919,, 14277
                   14277,, 19066
                           19066,, 32768
                                   32768,, 0 },
          { 5440
            5440,, 10170
                   10170,, 14185
                           14185,, 32768
                                   32768,, 0 } } },
      { { { 14406
            14406,, 20862
                    20862,, 24414
                            24414,, 32768
                                    32768,, 0 },
          { 11824
            11824,, 18907
                    18907,, 23109
                            23109,, 32768
                                    32768,, 0 },
          { 8257
            8257,, 14393
                   14393,, 18803
                           18803,, 32768
                                   32768,, 0 },
          { 5860
            5860,, 10747
                   10747,, 14778
                           14778,, 32768
                                   32768,, 0 },
          { 4475
            4475,, 8486
                   8486,, 11984
                          11984,, 32768
                                  32768,, 0 },
          { 3606
            3606,, 6954
                   6954,, 10043
                          10043,, 32768
                                  32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8       Filed 04/07/25 Page 506 of 682 Page ID
                                                      #:1752        AV1 Bitstream & Decoding Process Specification



           { 1736
             1736,, 3410
                    3410,, 5048
                           5048,, 32768
                                  32768,, 0 },
           { 14430
             14430,, 20046
                     20046,, 22882
                             22882,, 32768
                                     32768,, 0 },
           { 15593
             15593,, 22899
                     22899,, 26709
                             26709,, 32768
                                     32768,, 0 },
           { 12102
             12102,, 19368
                     19368,, 23811
                             23811,, 32768
                                     32768,, 0 },
           { 9059
             9059,, 15584
                    15584,, 20262
                            20262,, 32768
                                    32768,, 0 },
           { 6999
             6999,, 12603
                    12603,, 17048
                            17048,, 32768
                                    32768,, 0 },
           { 5684
             5684,, 10497
                    10497,, 14553
                            14553,, 32768
                                    32768,, 0 },
           { 2822
             2822,, 5438
                    5438,, 7862
                           7862,, 32768
                                  32768,, 0 },
           { 15785
             15785,, 21585
                     21585,, 24359
                             24359,, 32768
                                     32768,, 0 },
           { 18347
             18347,, 25229
                     25229,, 28266
                             28266,, 32768
                                     32768,, 0 },
           { 14974
             14974,, 22487
                     22487,, 26389
                             26389,, 32768
                                     32768,, 0 },
           { 11423
             11423,, 18681
                     18681,, 23271
                             23271,, 32768
                                     32768,, 0 },
           { 8863
             8863,, 15350
                    15350,, 20008
                            20008,, 32768
                                    32768,, 0 },
           { 7153
             7153,, 12852
                    12852,, 17278
                            17278,, 32768
                                    32768,, 0 },
           { 3707
             3707,, 7036
                    7036,, 9982
                           9982,, 32768
                                  32768,, 0 } },
         { { 15460
             15460,, 21696
                     21696,, 25469
                             25469,, 32768
                                     32768,, 0 },
           { 12170
             12170,, 19249
                     19249,, 23191
                             23191,, 32768
                                     32768,, 0 },
           { 8723
             8723,, 15027
                    15027,, 19332
                            19332,, 32768
                                    32768,, 0 },
           { 6428
             6428,, 11704
                    11704,, 15874
                            15874,, 32768
                                    32768,, 0 },
           { 4922
             4922,, 9292
                    9292,, 13052
                           13052,, 32768
                                   32768,, 0 },
           { 4139
             4139,, 7695
                    7695,, 11010
                           11010,, 32768
                                   32768,, 0 },
           { 2291
             2291,, 4508
                    4508,, 6598
                           6598,, 32768
                                  32768,, 0 },
           { 19856
             19856,, 26920
                     26920,, 29828
                             29828,, 32768
                                     32768,, 0 },
           { 17923
             17923,, 25289
                     25289,, 28792
                             28792,, 32768
                                     32768,, 0 },
           { 14278
             14278,, 21968
                     21968,, 26297
                             26297,, 32768
                                     32768,, 0 },
           { 10910
             10910,, 18136
                     18136,, 22950
                             22950,, 32768
                                     32768,, 0 },
           { 8423
             8423,, 14815
                    14815,, 19627
                            19627,, 32768
                                    32768,, 0 },
           { 6771
             6771,, 12283
                    12283,, 16774
                            16774,, 32768
                                    32768,, 0 },
           { 4074
             4074,, 7750
                    7750,, 11081
                           11081,, 32768
                                   32768,, 0 },
           { 19852
             19852,, 26074
                     26074,, 28672
                             28672,, 32768
                                     32768,, 0 },
           { 19371
             19371,, 26110
                     26110,, 28989
                             28989,, 32768
                                     32768,, 0 },
           { 16265
             16265,, 23873
                     23873,, 27663
                             27663,, 32768
                                     32768,, 0 },
           { 12758
             12758,, 20378
                     20378,, 24952
                             24952,, 32768
                                     32768,, 0 },
           { 10095
             10095,, 17098
                     17098,, 21961
                             21961,, 32768
                                     32768,, 0 },
           { 8250
             8250,, 14628
                    14628,, 19451
                            19451,, 32768
                                    32768,, 0 },
           { 5205
             5205,, 9745
                    9745,, 13622
                           13622,, 32768
                                   32768,, 0 } } },
       { { { 10563
             10563,, 16233
                     16233,, 19763
                             19763,, 32768
                                     32768,, 0 },
           { 9794
             9794,, 16022
                    16022,, 19804
                            19804,, 32768
                                    32768,, 0 },
           { 6750
             6750,, 11945
                    11945,, 15759
                            15759,, 32768
                                    32768,, 0 },
           { 4963
             4963,, 9186
                    9186,, 12752
                           12752,, 32768
                                   32768,, 0 },
           { 3845
             3845,, 7435
                    7435,, 10627
                           10627,, 32768
                                   32768,, 0 },
           { 3051
             3051,, 6085
                    6085,, 8834
                           8834,, 32768
                                  32768,, 0 },
           { 1311
             1311,, 2596
                    2596,, 3830
                           3830,, 32768
                                  32768,, 0 },
           { 11246
             11246,, 16404
                     16404,, 19689
                             19689,, 32768
                                     32768,, 0 },
           { 12315
             12315,, 18911
                     18911,, 22731
                             22731,, 32768
                                     32768,, 0 },
           { 10557
             10557,, 17095
                     17095,, 21289
                             21289,, 32768
                                     32768,, 0 },
           { 8136
             8136,, 14006
                    14006,, 18249
                            18249,, 32768
                                    32768,, 0 },
           { 6348
             6348,, 11474
                    11474,, 15565
                            15565,, 32768
                                    32768,, 0 },
           { 5196
             5196,, 9655
                    9655,, 13400
                           13400,, 32768
                                   32768,, 0 },
           { 2349
             2349,, 4526
                    4526,, 6587
                           6587,, 32768
                                  32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8       Filed 04/07/25 Page 507 of 682 Page ID
                                                      #:1753        AV1 Bitstream & Decoding Process Specification



           { 13337
             13337,, 18730
                     18730,, 21569
                             21569,, 32768
                                     32768,, 0 },
           { 19306
             19306,, 26071
                     26071,, 28882
                             28882,, 32768
                                     32768,, 0 },
           { 15952
             15952,, 23540
                     23540,, 27254
                             27254,, 32768
                                     32768,, 0 },
           { 12409
             12409,, 19934
                     19934,, 24430
                             24430,, 32768
                                     32768,, 0 },
           { 9760
             9760,, 16706
                    16706,, 21389
                            21389,, 32768
                                    32768,, 0 },
           { 8004
             8004,, 14220
                    14220,, 18818
                            18818,, 32768
                                    32768,, 0 },
           { 4138
             4138,, 7794
                    7794,, 10961
                           10961,, 32768
                                   32768,, 0 } },
         { { 10870
             10870,, 16684
                     16684,, 20949
                             20949,, 32768
                                     32768,, 0 },
           { 9664
             9664,, 15230
                    15230,, 18680
                            18680,, 32768
                                    32768,, 0 },
           { 6886
             6886,, 12109
                    12109,, 15408
                            15408,, 32768
                                    32768,, 0 },
           { 4825
             4825,, 8900
                    8900,, 12305
                           12305,, 32768
                                   32768,, 0 },
           { 3630
             3630,, 7162
                    7162,, 10314
                           10314,, 32768
                                   32768,, 0 },
           { 3036
             3036,, 6429
                    6429,, 9387
                           9387,, 32768
                                  32768,, 0 },
           { 1671
             1671,, 3296
                    3296,, 4940
                           4940,, 32768
                                  32768,, 0 },
           { 13819
             13819,, 19159
                     19159,, 23026
                             23026,, 32768
                                     32768,, 0 },
           { 11984
             11984,, 19108
                     19108,, 23120
                             23120,, 32768
                                     32768,, 0 },
           { 10690
             10690,, 17210
                     17210,, 21663
                             21663,, 32768
                                     32768,, 0 },
           { 7984
             7984,, 14154
                    14154,, 18333
                            18333,, 32768
                                    32768,, 0 },
           { 6868
             6868,, 12294
                    12294,, 16124
                            16124,, 32768
                                    32768,, 0 },
           { 5274
             5274,, 8994
                    8994,, 12868
                           12868,, 32768
                                   32768,, 0 },
           { 2988
             2988,, 5771
                    5771,, 8424
                           8424,, 32768
                                  32768,, 0 },
           { 19736
             19736,, 26647
                     26647,, 29141
                             29141,, 32768
                                     32768,, 0 },
           { 18933
             18933,, 26070
                     26070,, 28984
                             28984,, 32768
                                     32768,, 0 },
           { 15779
             15779,, 23048
                     23048,, 27200
                             27200,, 32768
                                     32768,, 0 },
           { 12638
             12638,, 20061
                     20061,, 24532
                             24532,, 32768
                                     32768,, 0 },
           { 10692
             10692,, 17545
                     17545,, 22220
                             22220,, 32768
                                     32768,, 0 },
           { 9217
             9217,, 15251
                    15251,, 20054
                            20054,, 32768
                                    32768,, 0 },
           { 5078
             5078,, 9284
                    9284,, 12594
                           12594,, 32768
                                   32768,, 0 } } },
       { { { 2331
             2331,, 3662
                    3662,, 5244
                           5244,, 32768
                                  32768,, 0 },
           { 2891
             2891,, 4771
                    4771,, 6145
                           6145,, 32768
                                  32768,, 0 },
           { 4598
             4598,, 7623
                    7623,, 9729
                           9729,, 32768
                                  32768,, 0 },
           { 3520
             3520,, 6845
                    6845,, 9199
                           9199,, 32768
                                  32768,, 0 },
           { 3417
             3417,, 6119
                    6119,, 9324
                           9324,, 32768
                                  32768,, 0 },
           { 2601
             2601,, 5412
                    5412,, 7385
                           7385,, 32768
                                  32768,, 0 },
           { 600
             600,, 1173
                   1173,, 1744
                          1744,, 32768
                                 32768,, 0 },
           { 7672
             7672,, 13286
                    13286,, 17469
                            17469,, 32768
                                    32768,, 0 },
           { 4232
             4232,, 7792
                    7792,, 10793
                           10793,, 32768
                                   32768,, 0 },
           { 2915
             2915,, 5317
                    5317,, 7397
                           7397,, 32768
                                  32768,, 0 },
           { 2318
             2318,, 4356
                    4356,, 6152
                           6152,, 32768
                                  32768,, 0 },
           { 2127
             2127,, 4000
                    4000,, 5554
                           5554,, 32768
                                  32768,, 0 },
           { 1850
             1850,, 3478
                    3478,, 5275
                           5275,, 32768
                                  32768,, 0 },
           { 977
             977,, 1933
                   1933,, 2843
                          2843,, 32768
                                 32768,, 0 },
           { 18280
             18280,, 24387
                     24387,, 27989
                             27989,, 32768
                                     32768,, 0 },
           { 15852
             15852,, 22671
                     22671,, 26185
                             26185,, 32768
                                     32768,, 0 },
           { 13845
             13845,, 20951
                     20951,, 24789
                             24789,, 32768
                                     32768,, 0 },
           { 11055
             11055,, 17966
                     17966,, 22129
                             22129,, 32768
                                     32768,, 0 },
           { 9138
             9138,, 15422
                    15422,, 19801
                            19801,, 32768
                                    32768,, 0 },
           { 7454
             7454,, 13145
                    13145,, 17456
                            17456,, 32768
                                    32768,, 0 },
           { 3370
             3370,, 6393
                    6393,, 9013
                           9013,, 32768
                                  32768,, 0 } },
         { { 5842
             5842,, 9229
                    9229,, 10838
                           10838,, 32768
                                   32768,, 0 },




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          Case 2:25-cv-03053         Document 1-8       Filed 04/07/25 Page 508 of 682 Page ID
                                                      #:1754        AV1 Bitstream & Decoding Process Specification



           { 2313
             2313,, 3491
                    3491,, 4276
                           4276,, 32768
                                  32768,, 0 },
           { 2998
             2998,, 6104
                    6104,, 7496
                           7496,, 32768
                                  32768,, 0 },
           { 2420
             2420,, 7447
                    7447,, 9868
                           9868,, 32768
                                  32768,, 0 },
           { 3034
             3034,, 8495
                    8495,, 10923
                           10923,, 32768
                                   32768,, 0 },
           { 4076
             4076,, 8937
                    8937,, 10975
                           10975,, 32768
                                   32768,, 0 },
           { 1086
             1086,, 2370
                    2370,, 3299
                           3299,, 32768
                                  32768,, 0 },
           { 9714
             9714,, 17254
                    17254,, 20444
                            20444,, 32768
                                    32768,, 0 },
           { 8543
             8543,, 13698
                    13698,, 17123
                            17123,, 32768
                                    32768,, 0 },
           { 4918
             4918,, 9007
                    9007,, 11910
                           11910,, 32768
                                   32768,, 0 },
           { 4129
             4129,, 7532
                    7532,, 10553
                           10553,, 32768
                                   32768,, 0 },
           { 2364
             2364,, 5533
                    5533,, 8058
                           8058,, 32768
                                  32768,, 0 },
           { 1834
             1834,, 3546
                    3546,, 5563
                           5563,, 32768
                                  32768,, 0 },
           { 1473
             1473,, 2908
                    2908,, 4133
                           4133,, 32768
                                  32768,, 0 },
           { 15405
             15405,, 21193
                     21193,, 25619
                             25619,, 32768
                                     32768,, 0 },
           { 15691
             15691,, 21952
                     21952,, 26561
                             26561,, 32768
                                     32768,, 0 },
           { 12962
             12962,, 19194
                     19194,, 24165
                             24165,, 32768
                                     32768,, 0 },
           { 10272
             10272,, 17855
                     17855,, 22129
                             22129,, 32768
                                     32768,, 0 },
           { 8588
             8588,, 15270
                    15270,, 20718
                            20718,, 32768
                                    32768,, 0 },
           { 8682
             8682,, 14669
                    14669,, 19500
                            19500,, 32768
                                    32768,, 0 },
           { 4870
             4870,, 9636
                    9636,, 13205
                           13205,, 32768
                                   32768,, 0 } } },
       { { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } } },
     { { { { 14995
             14995,, 21341
                     21341,, 24749
                             24749,, 32768
                                     32768,, 0 },
           { 13158
             13158,, 20289
                     20289,, 24601
                             24601,, 32768
                                     32768,, 0 },
           { 8941
             8941,, 15326
                    15326,, 19876
                            19876,, 32768
                                    32768,, 0 },
           { 6297
             6297,, 11541
                    11541,, 15807
                            15807,, 32768
                                    32768,, 0 },
           { 4817
             4817,, 9029
                    9029,, 12776
                           12776,, 32768
                                   32768,, 0 },
           { 3731
             3731,, 7273
                    7273,, 10627
                           10627,, 32768
                                   32768,, 0 },
           { 1847
             1847,, 3617
                    3617,, 5354
                           5354,, 32768
                                  32768,, 0 },
           { 14472
             14472,, 19659
                     19659,, 22343
                             22343,, 32768
                                     32768,, 0 },
           { 16806
             16806,, 24162
                     24162,, 27533
                             27533,, 32768
                                     32768,, 0 },
           { 12900
             12900,, 20404
                     20404,, 24713
                             24713,, 32768
                                     32768,, 0 },
           { 9411
             9411,, 16112
                    16112,, 20797
                            20797,, 32768
                                    32768,, 0 },
           { 7056
             7056,, 12697
                    12697,, 17148
                            17148,, 32768
                                    32768,, 0 },
           { 5544
             5544,, 10339
                    10339,, 14460
                            14460,, 32768
                                    32768,, 0 },
           { 2954
             2954,, 5704
                    5704,, 8319
                           8319,, 32768
                                  32768,, 0 },
           { 12464
             12464,, 18071
                     18071,, 21354
                             21354,, 32768
                                     32768,, 0 },
           { 15482
             15482,, 22528
                     22528,, 26034
                             26034,, 32768
                                     32768,, 0 },
           { 12070
             12070,, 19269
                     19269,, 23624
                             23624,, 32768
                                     32768,, 0 },
           { 8953
             8953,, 15406
                    15406,, 20106
                            20106,, 32768
                                    32768,, 0 },
           { 7027
             7027,, 12730
                    12730,, 17220
                            17220,, 32768
                                    32768,, 0 },
           { 5887
             5887,, 10913
                    10913,, 15140
                            15140,, 32768
                                    32768,, 0 },
           { 3793
             3793,, 7278
                    7278,, 10447
                           10447,, 32768
                                   32768,, 0 } },
         { { 15571
             15571,, 22232
                     22232,, 25749
                             25749,, 32768
                                     32768,, 0 },
           { 14506
             14506,, 21575
                     21575,, 25374
                             25374,, 32768
                                     32768,, 0 },
           { 10189
             10189,, 17089
                     17089,, 21569
                             21569,, 32768
                                     32768,, 0 },
           { 7316
             7316,, 13301
                    13301,, 17915
                            17915,, 32768
                                    32768,, 0 },
           { 5783
             5783,, 10912
                    10912,, 15190
                            15190,, 32768
                                    32768,, 0 },
           { 4760
             4760,, 9155
                    9155,, 13088
                           13088,, 32768
                                   32768,, 0 },
           { 2993
             2993,, 5966
                    5966,, 8774
                           8774,, 32768
                                  32768,, 0 },
           { 23424
             23424,, 28903
                     28903,, 30778
                             30778,, 32768
                                     32768,, 0 },
           { 20775
             20775,, 27666
                     27666,, 30290
                             30290,, 32768
                                     32768,, 0 },
           { 16474
             16474,, 24410
                     24410,, 28299
                             28299,, 32768
                                     32768,, 0 },
           { 12471
             12471,, 20180
                     20180,, 24987
                             24987,, 32768
                                     32768,, 0 },
           { 9410
             9410,, 16487
                    16487,, 21439
                            21439,, 32768
                                    32768,, 0 },
           { 7536
             7536,, 13614
                    13614,, 18529
                            18529,, 32768
                                    32768,, 0 },
           { 5048
             5048,, 9586
                    9586,, 13549
                           13549,, 32768
                                   32768,, 0 },
           { 21090
             21090,, 27290
                     27290,, 29756
                             29756,, 32768
                                     32768,, 0 },
           { 20796
             20796,, 27402
                     27402,, 30026
                             30026,, 32768
                                     32768,, 0 },
           { 17819
             17819,, 25485
                     25485,, 28969
                             28969,, 32768
                                     32768,, 0 },




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           { 13860
             13860,, 21909
                     21909,, 26462
                             26462,, 32768
                                     32768,, 0 },
           { 11002
             11002,, 18494
                     18494,, 23529
                             23529,, 32768
                                     32768,, 0 },
           { 8953
             8953,, 15929
                    15929,, 20897
                            20897,, 32768
                                    32768,, 0 },
           { 6448
             6448,, 11918
                    11918,, 16454
                            16454,, 32768
                                    32768,, 0 } } },
       { { { 15999
             15999,, 22208
                     22208,, 25449
                             25449,, 32768
                                     32768,, 0 },
           { 13050
             13050,, 19988
                     19988,, 24122
                             24122,, 32768
                                     32768,, 0 },
           { 8594
             8594,, 14864
                    14864,, 19378
                            19378,, 32768
                                    32768,, 0 },
           { 6033
             6033,, 11079
                    11079,, 15238
                            15238,, 32768
                                    32768,, 0 },
           { 4554
             4554,, 8683
                    8683,, 12347
                           12347,, 32768
                                   32768,, 0 },
           { 3672
             3672,, 7139
                    7139,, 10337
                           10337,, 32768
                                   32768,, 0 },
           { 1900
             1900,, 3771
                    3771,, 5576
                           5576,, 32768
                                  32768,, 0 },
           { 15788
             15788,, 21340
                     21340,, 23949
                             23949,, 32768
                                     32768,, 0 },
           { 16825
             16825,, 24235
                     24235,, 27758
                             27758,, 32768
                                     32768,, 0 },
           { 12873
             12873,, 20402
                     20402,, 24810
                             24810,, 32768
                                     32768,, 0 },
           { 9590
             9590,, 16363
                    16363,, 21094
                            21094,, 32768
                                    32768,, 0 },
           { 7352
             7352,, 13209
                    13209,, 17733
                            17733,, 32768
                                    32768,, 0 },
           { 5960
             5960,, 10989
                    10989,, 15184
                            15184,, 32768
                                    32768,, 0 },
           { 3232
             3232,, 6234
                    6234,, 9007
                           9007,, 32768
                                  32768,, 0 },
           { 15761
             15761,, 20716
                     20716,, 23224
                             23224,, 32768
                                     32768,, 0 },
           { 19318
             19318,, 25989
                     25989,, 28759
                             28759,, 32768
                                     32768,, 0 },
           { 15529
             15529,, 23094
                     23094,, 26929
                             26929,, 32768
                                     32768,, 0 },
           { 11662
             11662,, 18989
                     18989,, 23641
                             23641,, 32768
                                     32768,, 0 },
           { 8955
             8955,, 15568
                    15568,, 20366
                            20366,, 32768
                                    32768,, 0 },
           { 7281
             7281,, 13106
                    13106,, 17708
                            17708,, 32768
                                    32768,, 0 },
           { 4248
             4248,, 8059
                    8059,, 11440
                           11440,, 32768
                                   32768,, 0 } },
         { { 14899
             14899,, 21217
                     21217,, 24503
                             24503,, 32768
                                     32768,, 0 },
           { 13519
             13519,, 20283
                     20283,, 24047
                             24047,, 32768
                                     32768,, 0 },
           { 9429
             9429,, 15966
                    15966,, 20365
                            20365,, 32768
                                    32768,, 0 },
           { 6700
             6700,, 12355
                    12355,, 16652
                            16652,, 32768
                                    32768,, 0 },
           { 5088
             5088,, 9704
                    9704,, 13716
                           13716,, 32768
                                   32768,, 0 },
           { 4243
             4243,, 8154
                    8154,, 11731
                           11731,, 32768
                                   32768,, 0 },
           { 2702
             2702,, 5364
                    5364,, 7861
                           7861,, 32768
                                  32768,, 0 },
           { 22745
             22745,, 28388
                     28388,, 30454
                             30454,, 32768
                                     32768,, 0 },
           { 20235
             20235,, 27146
                     27146,, 29922
                             29922,, 32768
                                     32768,, 0 },
           { 15896
             15896,, 23715
                     23715,, 27637
                             27637,, 32768
                                     32768,, 0 },
           { 11840
             11840,, 19350
                     19350,, 24131
                             24131,, 32768
                                     32768,, 0 },
           { 9122
             9122,, 15932
                    15932,, 20880
                            20880,, 32768
                                    32768,, 0 },
           { 7488
             7488,, 13581
                    13581,, 18362
                            18362,, 32768
                                    32768,, 0 },
           { 5114
             5114,, 9568
                    9568,, 13370
                           13370,, 32768
                                   32768,, 0 },
           { 20845
             20845,, 26553
                     26553,, 28932
                             28932,, 32768
                                     32768,, 0 },
           { 20981
             20981,, 27372
                     27372,, 29884
                             29884,, 32768
                                     32768,, 0 },
           { 17781
             17781,, 25335
                     25335,, 28785
                             28785,, 32768
                                     32768,, 0 },
           { 13760
             13760,, 21708
                     21708,, 26297
                             26297,, 32768
                                     32768,, 0 },
           { 10975
             10975,, 18415
                     18415,, 23365
                             23365,, 32768
                                     32768,, 0 },
           { 9045
             9045,, 15789
                    15789,, 20686
                            20686,, 32768
                                    32768,, 0 },
           { 6130
             6130,, 11199
                    11199,, 15423
                            15423,, 32768
                                    32768,, 0 } } },
       { { { 13549
             13549,, 19724
                     19724,, 23158
                             23158,, 32768
                                     32768,, 0 },
           { 11844
             11844,, 18382
                     18382,, 22246
                             22246,, 32768
                                     32768,, 0 },
           { 7919
             7919,, 13619
                    13619,, 17773
                            17773,, 32768
                                    32768,, 0 },
           { 5486
             5486,, 10143
                    10143,, 13946
                            13946,, 32768
                                    32768,, 0 },




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           { 4166
             4166,, 7983
                    7983,, 11324
                           11324,, 32768
                                   32768,, 0 },
           { 3364
             3364,, 6506
                    6506,, 9427
                           9427,, 32768
                                  32768,, 0 },
           { 1598
             1598,, 3160
                    3160,, 4674
                           4674,, 32768
                                  32768,, 0 },
           { 15281
             15281,, 20979
                     20979,, 23781
                             23781,, 32768
                                     32768,, 0 },
           { 14939
             14939,, 22119
                     22119,, 25952
                             25952,, 32768
                                     32768,, 0 },
           { 11363
             11363,, 18407
                     18407,, 22812
                             22812,, 32768
                                     32768,, 0 },
           { 8609
             8609,, 14857
                    14857,, 19370
                            19370,, 32768
                                    32768,, 0 },
           { 6737
             6737,, 12184
                    12184,, 16480
                            16480,, 32768
                                    32768,, 0 },
           { 5506
             5506,, 10263
                    10263,, 14262
                            14262,, 32768
                                    32768,, 0 },
           { 2990
             2990,, 5786
                    5786,, 8380
                           8380,, 32768
                                  32768,, 0 },
           { 20249
             20249,, 25253
                     25253,, 27417
                             27417,, 32768
                                     32768,, 0 },
           { 21070
             21070,, 27518
                     27518,, 30001
                             30001,, 32768
                                     32768,, 0 },
           { 16854
             16854,, 24469
                     24469,, 28074
                             28074,, 32768
                                     32768,, 0 },
           { 12864
             12864,, 20486
                     20486,, 25000
                             25000,, 32768
                                     32768,, 0 },
           { 9962
             9962,, 16978
                    16978,, 21778
                            21778,, 32768
                                    32768,, 0 },
           { 8074
             8074,, 14338
                    14338,, 19048
                            19048,, 32768
                                    32768,, 0 },
           { 4494
             4494,, 8479
                    8479,, 11906
                           11906,, 32768
                                   32768,, 0 } },
         { { 13960
             13960,, 19617
                     19617,, 22829
                             22829,, 32768
                                     32768,, 0 },
           { 11150
             11150,, 17341
                     17341,, 21228
                             21228,, 32768
                                     32768,, 0 },
           { 7150
             7150,, 12964
                    12964,, 17190
                            17190,, 32768
                                    32768,, 0 },
           { 5331
             5331,, 10002
                    10002,, 13867
                            13867,, 32768
                                    32768,, 0 },
           { 4167
             4167,, 7744
                    7744,, 11057
                           11057,, 32768
                                   32768,, 0 },
           { 3480
             3480,, 6629
                    6629,, 9646
                           9646,, 32768
                                  32768,, 0 },
           { 1883
             1883,, 3784
                    3784,, 5686
                           5686,, 32768
                                  32768,, 0 },
           { 18752
             18752,, 25660
                     25660,, 28912
                             28912,, 32768
                                     32768,, 0 },
           { 16968
             16968,, 24586
                     24586,, 28030
                             28030,, 32768
                                     32768,, 0 },
           { 13520
             13520,, 21055
                     21055,, 25313
                             25313,, 32768
                                     32768,, 0 },
           { 10453
             10453,, 17626
                     17626,, 22280
                             22280,, 32768
                                     32768,, 0 },
           { 8386
             8386,, 14505
                    14505,, 19116
                            19116,, 32768
                                    32768,, 0 },
           { 6742
             6742,, 12595
                    12595,, 17008
                            17008,, 32768
                                    32768,, 0 },
           { 4273
             4273,, 8140
                    8140,, 11499
                           11499,, 32768
                                   32768,, 0 },
           { 22120
             22120,, 27827
                     27827,, 30233
                             30233,, 32768
                                     32768,, 0 },
           { 20563
             20563,, 27358
                     27358,, 29895
                             29895,, 32768
                                     32768,, 0 },
           { 17076
             17076,, 24644
                     24644,, 28153
                             28153,, 32768
                                     32768,, 0 },
           { 13362
             13362,, 20942
                     20942,, 25309
                             25309,, 32768
                                     32768,, 0 },
           { 10794
             10794,, 17965
                     17965,, 22695
                             22695,, 32768
                                     32768,, 0 },
           { 9014
             9014,, 15652
                    15652,, 20319
                            20319,, 32768
                                    32768,, 0 },
           { 5708
             5708,, 10512
                    10512,, 14497
                            14497,, 32768
                                    32768,, 0 } } },
       { { { 5705
             5705,, 10930
                    10930,, 15725
                            15725,, 32768
                                    32768,, 0 },
           { 7946
             7946,, 12765
                    12765,, 16115
                            16115,, 32768
                                    32768,, 0 },
           { 6801
             6801,, 12123
                    12123,, 16226
                            16226,, 32768
                                    32768,, 0 },
           { 5462
             5462,, 10135
                    10135,, 14200
                            14200,, 32768
                                    32768,, 0 },
           { 4189
             4189,, 8011
                    8011,, 11507
                           11507,, 32768
                                   32768,, 0 },
           { 3191
             3191,, 6229
                    6229,, 9408
                           9408,, 32768
                                  32768,, 0 },
           { 1057
             1057,, 2137
                    2137,, 3212
                           3212,, 32768
                                  32768,, 0 },
           { 10018
             10018,, 17067
                     17067,, 21491
                             21491,, 32768
                                     32768,, 0 },
           { 7380
             7380,, 12582
                    12582,, 16453
                            16453,, 32768
                                    32768,, 0 },
           { 6068
             6068,, 10845
                    10845,, 14339
                            14339,, 32768
                                    32768,, 0 },
           { 5098
             5098,, 9198
                    9198,, 12555
                           12555,, 32768
                                   32768,, 0 },
           { 4312
             4312,, 8010
                    8010,, 11119
                           11119,, 32768
                                   32768,, 0 },




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           { 3700
             3700,, 6966
                    6966,, 9781
                           9781,, 32768
                                  32768,, 0 },
           { 1693
             1693,, 3326
                    3326,, 4887
                           4887,, 32768
                                  32768,, 0 },
           { 18757
             18757,, 24930
                     24930,, 27774
                             27774,, 32768
                                     32768,, 0 },
           { 17648
             17648,, 24596
                     24596,, 27817
                             27817,, 32768
                                     32768,, 0 },
           { 14707
             14707,, 22052
                     22052,, 26026
                             26026,, 32768
                                     32768,, 0 },
           { 11720
             11720,, 18852
                     18852,, 23292
                             23292,, 32768
                                     32768,, 0 },
           { 9357
             9357,, 15952
                    15952,, 20525
                            20525,, 32768
                                    32768,, 0 },
           { 7810
             7810,, 13753
                    13753,, 18210
                            18210,, 32768
                                    32768,, 0 },
           { 3879
             3879,, 7333
                    7333,, 10328
                           10328,, 32768
                                   32768,, 0 } },
         { { 8278
             8278,, 13242
                    13242,, 15922
                            15922,, 32768
                                    32768,, 0 },
           { 10547
             10547,, 15867
                     15867,, 18919
                             18919,, 32768
                                     32768,, 0 },
           { 9106
             9106,, 15842
                    15842,, 20609
                            20609,, 32768
                                    32768,, 0 },
           { 6833
             6833,, 13007
                    13007,, 17218
                            17218,, 32768
                                    32768,, 0 },
           { 4811
             4811,, 9712
                    9712,, 13923
                           13923,, 32768
                                   32768,, 0 },
           { 3985
             3985,, 7352
                    7352,, 11128
                           11128,, 32768
                                   32768,, 0 },
           { 1688
             1688,, 3458
                    3458,, 5262
                           5262,, 32768
                                  32768,, 0 },
           { 12951
             12951,, 21861
                     21861,, 26510
                             26510,, 32768
                                     32768,, 0 },
           { 9788
             9788,, 16044
                    16044,, 20276
                            20276,, 32768
                                    32768,, 0 },
           { 6309
             6309,, 11244
                    11244,, 14870
                            14870,, 32768
                                    32768,, 0 },
           { 5183
             5183,, 9349
                    9349,, 12566
                           12566,, 32768
                                   32768,, 0 },
           { 4389
             4389,, 8229
                    8229,, 11492
                           11492,, 32768
                                   32768,, 0 },
           { 3633
             3633,, 6945
                    6945,, 10620
                           10620,, 32768
                                   32768,, 0 },
           { 3600
             3600,, 6847
                    6847,, 9907
                           9907,, 32768
                                  32768,, 0 },
           { 21748
             21748,, 28137
                     28137,, 30255
                             30255,, 32768
                                     32768,, 0 },
           { 19436
             19436,, 26581
                     26581,, 29560
                             29560,, 32768
                                     32768,, 0 },
           { 16359
             16359,, 24201
                     24201,, 27953
                             27953,, 32768
                                     32768,, 0 },
           { 13961
             13961,, 21693
                     21693,, 25871
                             25871,, 32768
                                     32768,, 0 },
           { 11544
             11544,, 18686
                     18686,, 23322
                             23322,, 32768
                                     32768,, 0 },
           { 9372
             9372,, 16462
                    16462,, 20952
                            20952,, 32768
                                    32768,, 0 },
           { 6138
             6138,, 11210
                    11210,, 15390
                            15390,, 32768
                                    32768,, 0 } } },
       { { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } } },
     { { { { 16138
             16138,, 22223
                     22223,, 25509
                             25509,, 32768
                                     32768,, 0 },
           { 15347
             15347,, 22430
                     22430,, 26332
                             26332,, 32768
                                     32768,, 0 },
           { 9614
             9614,, 16736
                    16736,, 21332
                            21332,, 32768
                                    32768,, 0 },
           { 6600
             6600,, 12275
                    12275,, 16907
                            16907,, 32768
                                    32768,, 0 },
           { 4811
             4811,, 9424
                    9424,, 13547
                           13547,, 32768
                                   32768,, 0 },
           { 3748
             3748,, 7809
                    7809,, 11420
                           11420,, 32768
                                   32768,, 0 },
           { 2254
             2254,, 4587
                    4587,, 6890
                           6890,, 32768
                                  32768,, 0 },
           { 15196
             15196,, 20284
                     20284,, 23177
                             23177,, 32768
                                     32768,, 0 },
           { 18317
             18317,, 25469
                     25469,, 28451
                             28451,, 32768
                                     32768,, 0 },
           { 13918
             13918,, 21651
                     21651,, 25842
                             25842,, 32768
                                     32768,, 0 },
           { 10052
             10052,, 17150
                     17150,, 21995
                             21995,, 32768
                                     32768,, 0 },
           { 7499
             7499,, 13630
                    13630,, 18587
                            18587,, 32768
                                    32768,, 0 },
           { 6158
             6158,, 11417
                    11417,, 16003
                            16003,, 32768
                                    32768,, 0 },
           { 4014
             4014,, 7785
                    7785,, 11252
                           11252,, 32768
                                   32768,, 0 },
           { 15048
             15048,, 21067
                     21067,, 24384
                             24384,, 32768
                                     32768,, 0 },
           { 18202
             18202,, 25346
                     25346,, 28553
                             28553,, 32768
                                     32768,, 0 },
           { 14302
             14302,, 22019
                     22019,, 26356
                             26356,, 32768
                                     32768,, 0 },
           { 10839
             10839,, 18139
                     18139,, 23166
                             23166,, 32768
                                     32768,, 0 },
           { 8715
             8715,, 15744
                    15744,, 20806
                            20806,, 32768
                                    32768,, 0 },
           { 7536
             7536,, 13576
                    13576,, 18544
                            18544,, 32768
                                    32768,, 0 },
           { 5413
             5413,, 10335
                    10335,, 14498
                            14498,, 32768
                                    32768,, 0 } },
         { { 17394
             17394,, 24501
                     24501,, 27895
                             27895,, 32768
                                     32768,, 0 },
           { 15889
             15889,, 23420
                     23420,, 27185
                             27185,, 32768
                                     32768,, 0 },
           { 11561
             11561,, 19133
                     19133,, 23870
                             23870,, 32768
                                     32768,, 0 },
           { 8285
             8285,, 14812
                    14812,, 19844
                            19844,, 32768
                                    32768,, 0 },
           { 6496
             6496,, 12043
                    12043,, 16550
                            16550,, 32768
                                    32768,, 0 },
           { 4771
             4771,, 9574
                    9574,, 13677
                           13677,, 32768
                                   32768,, 0 },
           { 3603
             3603,, 6830
                    6830,, 10144
                           10144,, 32768
                                   32768,, 0 },




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           { 21656
             21656,, 27704
                     27704,, 30200
                             30200,, 32768
                                     32768,, 0 },
           { 21324
             21324,, 27915
                     27915,, 30511
                             30511,, 32768
                                     32768,, 0 },
           { 17327
             17327,, 25336
                     25336,, 28997
                             28997,, 32768
                                     32768,, 0 },
           { 13417
             13417,, 21381
                     21381,, 26033
                             26033,, 32768
                                     32768,, 0 },
           { 10132
             10132,, 17425
                     17425,, 22338
                             22338,, 32768
                                     32768,, 0 },
           { 8580
             8580,, 15016
                    15016,, 19633
                            19633,, 32768
                                    32768,, 0 },
           { 5694
             5694,, 11477
                    11477,, 16411
                            16411,, 32768
                                    32768,, 0 },
           { 24116
             24116,, 29780
                     29780,, 31450
                             31450,, 32768
                                     32768,, 0 },
           { 23853
             23853,, 29695
                     29695,, 31591
                             31591,, 32768
                                     32768,, 0 },
           { 20085
             20085,, 27614
                     27614,, 30428
                             30428,, 32768
                                     32768,, 0 },
           { 15326
             15326,, 24335
                     24335,, 28575
                             28575,, 32768
                                     32768,, 0 },
           { 11814
             11814,, 19472
                     19472,, 24810
                             24810,, 32768
                                     32768,, 0 },
           { 10221
             10221,, 18611
                     18611,, 24767
                             24767,, 32768
                                     32768,, 0 },
           { 7689
             7689,, 14558
                    14558,, 20321
                            20321,, 32768
                                    32768,, 0 } } },
       { { { 16214
             16214,, 22380
                     22380,, 25770
                             25770,, 32768
                                     32768,, 0 },
           { 14213
             14213,, 21304
                     21304,, 25295
                             25295,, 32768
                                     32768,, 0 },
           { 9213
             9213,, 15823
                    15823,, 20455
                            20455,, 32768
                                    32768,, 0 },
           { 6395
             6395,, 11758
                    11758,, 16139
                            16139,, 32768
                                    32768,, 0 },
           { 4779
             4779,, 9187
                    9187,, 13066
                           13066,, 32768
                                   32768,, 0 },
           { 3821
             3821,, 7501
                    7501,, 10953
                           10953,, 32768
                                   32768,, 0 },
           { 2293
             2293,, 4567
                    4567,, 6795
                           6795,, 32768
                                  32768,, 0 },
           { 15859
             15859,, 21283
                     21283,, 23820
                             23820,, 32768
                                     32768,, 0 },
           { 18404
             18404,, 25602
                     25602,, 28726
                             28726,, 32768
                                     32768,, 0 },
           { 14325
             14325,, 21980
                     21980,, 26206
                             26206,, 32768
                                     32768,, 0 },
           { 10669
             10669,, 17937
                     17937,, 22720
                             22720,, 32768
                                     32768,, 0 },
           { 8297
             8297,, 14642
                    14642,, 19447
                            19447,, 32768
                                    32768,, 0 },
           { 6746
             6746,, 12389
                    12389,, 16893
                            16893,, 32768
                                    32768,, 0 },
           { 4324
             4324,, 8251
                    8251,, 11770
                           11770,, 32768
                                   32768,, 0 },
           { 16532
             16532,, 21631
                     21631,, 24475
                             24475,, 32768
                                     32768,, 0 },
           { 20667
             20667,, 27150
                     27150,, 29668
                             29668,, 32768
                                     32768,, 0 },
           { 16728
             16728,, 24510
                     24510,, 28175
                             28175,, 32768
                                     32768,, 0 },
           { 12861
             12861,, 20645
                     20645,, 25332
                             25332,, 32768
                                     32768,, 0 },
           { 10076
             10076,, 17361
                     17361,, 22417
                             22417,, 32768
                                     32768,, 0 },
           { 8395
             8395,, 14940
                    14940,, 19963
                            19963,, 32768
                                    32768,, 0 },
           { 5731
             5731,, 10683
                    10683,, 14912
                            14912,, 32768
                                    32768,, 0 } },
         { { 14433
             14433,, 21155
                     21155,, 24938
                             24938,, 32768
                                     32768,, 0 },
           { 14658
             14658,, 21716
                     21716,, 25545
                             25545,, 32768
                                     32768,, 0 },
           { 9923
             9923,, 16824
                    16824,, 21557
                            21557,, 32768
                                    32768,, 0 },
           { 6982
             6982,, 13052
                    13052,, 17721
                            17721,, 32768
                                    32768,, 0 },
           { 5419
             5419,, 10503
                    10503,, 15050
                            15050,, 32768
                                    32768,, 0 },
           { 4852
             4852,, 9162
                    9162,, 13014
                           13014,, 32768
                                   32768,, 0 },
           { 3271
             3271,, 6395
                    6395,, 9630
                           9630,, 32768
                                  32768,, 0 },
           { 22210
             22210,, 27833
                     27833,, 30109
                             30109,, 32768
                                     32768,, 0 },
           { 20750
             20750,, 27368
                     27368,, 29821
                             29821,, 32768
                                     32768,, 0 },
           { 16894
             16894,, 24828
                     24828,, 28573
                             28573,, 32768
                                     32768,, 0 },
           { 13247
             13247,, 21276
                     21276,, 25757
                             25757,, 32768
                                     32768,, 0 },
           { 10038
             10038,, 17265
                     17265,, 22563
                             22563,, 32768
                                     32768,, 0 },
           { 8587
             8587,, 14947
                    14947,, 20327
                            20327,, 32768
                                    32768,, 0 },
           { 5645
             5645,, 11371
                    11371,, 15252
                            15252,, 32768
                                    32768,, 0 },
           { 22027
             22027,, 27526
                     27526,, 29714
                             29714,, 32768
                                     32768,, 0 },




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           { 23098
             23098,, 29146
                     29146,, 31221
                             31221,, 32768
                                     32768,, 0 },
           { 19886
             19886,, 27341
                     27341,, 30272
                             30272,, 32768
                                     32768,, 0 },
           { 15609
             15609,, 23747
                     23747,, 28046
                             28046,, 32768
                                     32768,, 0 },
           { 11993
             11993,, 20065
                     20065,, 24939
                             24939,, 32768
                                     32768,, 0 },
           { 9637
             9637,, 18267
                    18267,, 23671
                            23671,, 32768
                                    32768,, 0 },
           { 7625
             7625,, 13801
                    13801,, 19144
                            19144,, 32768
                                    32768,, 0 } } },
       { { { 14438
             14438,, 20798
                     20798,, 24089
                             24089,, 32768
                                     32768,, 0 },
           { 12621
             12621,, 19203
                     19203,, 23097
                             23097,, 32768
                                     32768,, 0 },
           { 8177
             8177,, 14125
                    14125,, 18402
                            18402,, 32768
                                    32768,, 0 },
           { 5674
             5674,, 10501
                    10501,, 14456
                            14456,, 32768
                                    32768,, 0 },
           { 4236
             4236,, 8239
                    8239,, 11733
                           11733,, 32768
                                   32768,, 0 },
           { 3447
             3447,, 6750
                    6750,, 9806
                           9806,, 32768
                                  32768,, 0 },
           { 1986
             1986,, 3950
                    3950,, 5864
                           5864,, 32768
                                  32768,, 0 },
           { 16208
             16208,, 22099
                     22099,, 24930
                             24930,, 32768
                                     32768,, 0 },
           { 16537
             16537,, 24025
                     24025,, 27585
                             27585,, 32768
                                     32768,, 0 },
           { 12780
             12780,, 20381
                     20381,, 24867
                             24867,, 32768
                                     32768,, 0 },
           { 9767
             9767,, 16612
                    16612,, 21416
                            21416,, 32768
                                    32768,, 0 },
           { 7686
             7686,, 13738
                    13738,, 18398
                            18398,, 32768
                                    32768,, 0 },
           { 6333
             6333,, 11614
                    11614,, 15964
                            15964,, 32768
                                    32768,, 0 },
           { 3941
             3941,, 7571
                    7571,, 10836
                           10836,, 32768
                                   32768,, 0 },
           { 22819
             22819,, 27422
                     27422,, 29202
                             29202,, 32768
                                     32768,, 0 },
           { 22224
             22224,, 28514
                     28514,, 30721
                             30721,, 32768
                                     32768,, 0 },
           { 17660
             17660,, 25433
                     25433,, 28913
                             28913,, 32768
                                     32768,, 0 },
           { 13574
             13574,, 21482
                     21482,, 26002
                             26002,, 32768
                                     32768,, 0 },
           { 10629
             10629,, 17977
                     17977,, 22938
                             22938,, 32768
                                     32768,, 0 },
           { 8612
             8612,, 15298
                    15298,, 20265
                            20265,, 32768
                                    32768,, 0 },
           { 5607
             5607,, 10491
                    10491,, 14596
                            14596,, 32768
                                    32768,, 0 } },
         { { 13569
             13569,, 19800
                     19800,, 23206
                             23206,, 32768
                                     32768,, 0 },
           { 13128
             13128,, 19924
                     19924,, 23869
                             23869,, 32768
                                     32768,, 0 },
           { 8329
             8329,, 14841
                    14841,, 19403
                            19403,, 32768
                                    32768,, 0 },
           { 6130
             6130,, 10976
                    10976,, 15057
                            15057,, 32768
                                    32768,, 0 },
           { 4682
             4682,, 8839
                    8839,, 12518
                           12518,, 32768
                                   32768,, 0 },
           { 3656
             3656,, 7409
                    7409,, 10588
                           10588,, 32768
                                   32768,, 0 },
           { 2577
             2577,, 5099
                    5099,, 7412
                           7412,, 32768
                                  32768,, 0 },
           { 22427
             22427,, 28684
                     28684,, 30585
                             30585,, 32768
                                     32768,, 0 },
           { 20913
             20913,, 27750
                     27750,, 30139
                             30139,, 32768
                                     32768,, 0 },
           { 15840
             15840,, 24109
                     24109,, 27834
                             27834,, 32768
                                     32768,, 0 },
           { 12308
             12308,, 20029
                     20029,, 24569
                             24569,, 32768
                                     32768,, 0 },
           { 10216
             10216,, 16785
                     16785,, 21458
                             21458,, 32768
                                     32768,, 0 },
           { 8309
             8309,, 14203
                    14203,, 19113
                            19113,, 32768
                                    32768,, 0 },
           { 6043
             6043,, 11168
                    11168,, 15307
                            15307,, 32768
                                    32768,, 0 },
           { 23166
             23166,, 28901
                     28901,, 30998
                             30998,, 32768
                                     32768,, 0 },
           { 21899
             21899,, 28405
                     28405,, 30751
                             30751,, 32768
                                     32768,, 0 },
           { 18413
             18413,, 26091
                     26091,, 29443
                             29443,, 32768
                                     32768,, 0 },
           { 15233
             15233,, 23114
                     23114,, 27352
                             27352,, 32768
                                     32768,, 0 },
           { 12683
             12683,, 20472
                     20472,, 25288
                             25288,, 32768
                                     32768,, 0 },
           { 10702
             10702,, 18259
                     18259,, 23409
                             23409,, 32768
                                     32768,, 0 },
           { 8125
             8125,, 14464
                    14464,, 19226
                            19226,, 32768
                                    32768,, 0 } } },
       { { { 9040
             9040,, 14786
                    14786,, 18360
                            18360,, 32768
                                    32768,, 0 },
           { 9979
             9979,, 15718
                    15718,, 19415
                            19415,, 32768
                                    32768,, 0 },




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           { 7913
             7913,, 13918
                    13918,, 18311
                            18311,, 32768
                                    32768,, 0 },
           { 5859
             5859,, 10889
                    10889,, 15184
                            15184,, 32768
                                    32768,, 0 },
           { 4593
             4593,, 8677
                    8677,, 12510
                           12510,, 32768
                                   32768,, 0 },
           { 3820
             3820,, 7396
                    7396,, 10791
                           10791,, 32768
                                   32768,, 0 },
           { 1730
             1730,, 3471
                    3471,, 5192
                           5192,, 32768
                                  32768,, 0 },
           { 11803
             11803,, 18365
                     18365,, 22709
                             22709,, 32768
                                     32768,, 0 },
           { 11419
             11419,, 18058
                     18058,, 22225
                             22225,, 32768
                                     32768,, 0 },
           { 9418
             9418,, 15774
                    15774,, 20243
                            20243,, 32768
                                    32768,, 0 },
           { 7539
             7539,, 13325
                    13325,, 17657
                            17657,, 32768
                                    32768,, 0 },
           { 6233
             6233,, 11317
                    11317,, 15384
                            15384,, 32768
                                    32768,, 0 },
           { 5137
             5137,, 9656
                    9656,, 13545
                           13545,, 32768
                                   32768,, 0 },
           { 2977
             2977,, 5774
                    5774,, 8349
                           8349,, 32768
                                  32768,, 0 },
           { 21207
             21207,, 27246
                     27246,, 29640
                             29640,, 32768
                                     32768,, 0 },
           { 19547
             19547,, 26578
                     26578,, 29497
                             29497,, 32768
                                     32768,, 0 },
           { 16169
             16169,, 23871
                     23871,, 27690
                             27690,, 32768
                                     32768,, 0 },
           { 12820
             12820,, 20458
                     20458,, 25018
                             25018,, 32768
                                     32768,, 0 },
           { 10224
             10224,, 17332
                     17332,, 22214
                             22214,, 32768
                                     32768,, 0 },
           { 8526
             8526,, 15048
                    15048,, 19884
                            19884,, 32768
                                    32768,, 0 },
           { 5037
             5037,, 9410
                    9410,, 13118
                           13118,, 32768
                                   32768,, 0 } },
         { { 12339
             12339,, 17329
                     17329,, 20140
                             20140,, 32768
                                     32768,, 0 },
           { 13505
             13505,, 19895
                     19895,, 23225
                             23225,, 32768
                                     32768,, 0 },
           { 9847
             9847,, 16944
                    16944,, 21564
                            21564,, 32768
                                    32768,, 0 },
           { 7280
             7280,, 13256
                    13256,, 18348
                            18348,, 32768
                                    32768,, 0 },
           { 4712
             4712,, 10009
                    10009,, 14454
                            14454,, 32768
                                    32768,, 0 },
           { 4361
             4361,, 7914
                    7914,, 12477
                           12477,, 32768
                                   32768,, 0 },
           { 2870
             2870,, 5628
                    5628,, 7995
                           7995,, 32768
                                  32768,, 0 },
           { 20061
             20061,, 25504
                     25504,, 28526
                             28526,, 32768
                                     32768,, 0 },
           { 15235
             15235,, 22878
                     22878,, 26145
                             26145,, 32768
                                     32768,, 0 },
           { 12985
             12985,, 19958
                     19958,, 24155
                             24155,, 32768
                                     32768,, 0 },
           { 9782
             9782,, 16641
                    16641,, 21403
                            21403,, 32768
                                    32768,, 0 },
           { 9456
             9456,, 16360
                    16360,, 20760
                            20760,, 32768
                                    32768,, 0 },
           { 6855
             6855,, 12940
                    12940,, 18557
                            18557,, 32768
                                    32768,, 0 },
           { 5661
             5661,, 10564
                    10564,, 15002
                            15002,, 32768
                                    32768,, 0 },
           { 25656
             25656,, 30602
                     30602,, 31894
                             31894,, 32768
                                     32768,, 0 },
           { 22570
             22570,, 29107
                     29107,, 31092
                             31092,, 32768
                                     32768,, 0 },
           { 18917
             18917,, 26423
                     26423,, 29541
                             29541,, 32768
                                     32768,, 0 },
           { 15940
             15940,, 23649
                     23649,, 27754
                             27754,, 32768
                                     32768,, 0 },
           { 12803
             12803,, 20581
                     20581,, 25219
                             25219,, 32768
                                     32768,, 0 },
           { 11082
             11082,, 18695
                     18695,, 23376
                             23376,, 32768
                                     32768,, 0 },
           { 7939
             7939,, 14373
                    14373,, 19005
                            19005,, 32768
                                    32768,, 0 } } },
       { { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },




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           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } } },
     { { { { 18315
             18315,, 24289
                     24289,, 27551
                             27551,, 32768
                                     32768,, 0 },
           { 16854
             16854,, 24068
                     24068,, 27835
                             27835,, 32768
                                     32768,, 0 },
           { 10140
             10140,, 17927
                     17927,, 23173
                             23173,, 32768
                                     32768,, 0 },
           { 6722
             6722,, 12982
                    12982,, 18267
                            18267,, 32768
                                    32768,, 0 },
           { 4661
             4661,, 9826
                    9826,, 14706
                           14706,, 32768
                                   32768,, 0 },
           { 3832
             3832,, 8165
                    8165,, 12294
                           12294,, 32768
                                   32768,, 0 },
           { 2795
             2795,, 6098
                    6098,, 9245
                           9245,, 32768
                                  32768,, 0 },
           { 17145
             17145,, 23326
                     23326,, 26672
                             26672,, 32768
                                     32768,, 0 },
           { 20733
             20733,, 27680
                     27680,, 30308
                             30308,, 32768
                                     32768,, 0 },
           { 16032
             16032,, 24461
                     24461,, 28546
                             28546,, 32768
                                     32768,, 0 },
           { 11653
             11653,, 20093
                     20093,, 25081
                             25081,, 32768
                                     32768,, 0 },
           { 9290
             9290,, 16429
                    16429,, 22086
                            22086,, 32768
                                    32768,, 0 },
           { 7796
             7796,, 14598
                    14598,, 19982
                            19982,, 32768
                                    32768,, 0 },
           { 6502
             6502,, 12378
                    12378,, 17441
                            17441,, 32768
                                    32768,, 0 },
           { 21681
             21681,, 27732
                     27732,, 30320
                             30320,, 32768
                                     32768,, 0 },
           { 22389
             22389,, 29044
                     29044,, 31261
                             31261,, 32768
                                     32768,, 0 },
           { 19027
             19027,, 26731
                     26731,, 30087
                             30087,, 32768
                                     32768,, 0 },
           { 14739
             14739,, 23755
                     23755,, 28624
                             28624,, 32768
                                     32768,, 0 },




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           { 11358
             11358,, 20778
                     20778,, 25511
                             25511,, 32768
                                     32768,, 0 },
           { 10995
             10995,, 18073
                     18073,, 24190
                             24190,, 32768
                                     32768,, 0 },
           { 9162
             9162,, 14990
                    14990,, 20617
                            20617,, 32768
                                    32768,, 0 } },
         { { 21425
             21425,, 27952
                     27952,, 30388
                             30388,, 32768
                                     32768,, 0 },
           { 18062
             18062,, 25838
                     25838,, 29034
                             29034,, 32768
                                     32768,, 0 },
           { 11956
             11956,, 19881
                     19881,, 24808
                             24808,, 32768
                                     32768,, 0 },
           { 7718
             7718,, 15000
                    15000,, 20980
                            20980,, 32768
                                    32768,, 0 },
           { 5702
             5702,, 11254
                    11254,, 16143
                            16143,, 32768
                                    32768,, 0 },
           { 4898
             4898,, 9088
                    9088,, 16864
                           16864,, 32768
                                   32768,, 0 },
           { 3679
             3679,, 6776
                    6776,, 11907
                           11907,, 32768
                                   32768,, 0 },
           { 23294
             23294,, 30160
                     30160,, 31663
                             31663,, 32768
                                     32768,, 0 },
           { 24397
             24397,, 29896
                     29896,, 31836
                             31836,, 32768
                                     32768,, 0 },
           { 19245
             19245,, 27128
                     27128,, 30593
                             30593,, 32768
                                     32768,, 0 },
           { 13202
             13202,, 19825
                     19825,, 26404
                             26404,, 32768
                                     32768,, 0 },
           { 11578
             11578,, 19297
                     19297,, 23957
                             23957,, 32768
                                     32768,, 0 },
           { 8073
             8073,, 13297
                    13297,, 21370
                            21370,, 32768
                                    32768,, 0 },
           { 5461
             5461,, 10923
                    10923,, 19745
                            19745,, 32768
                                    32768,, 0 },
           { 27367
             27367,, 30521
                     30521,, 31934
                             31934,, 32768
                                     32768,, 0 },
           { 24904
             24904,, 30671
                     30671,, 31940
                             31940,, 32768
                                     32768,, 0 },
           { 23075
             23075,, 28460
                     28460,, 31299
                             31299,, 32768
                                     32768,, 0 },
           { 14400
             14400,, 23658
                     23658,, 30417
                             30417,, 32768
                                     32768,, 0 },
           { 13885
             13885,, 23882
                     23882,, 28325
                             28325,, 32768
                                     32768,, 0 },
           { 14746
             14746,, 22938
                     22938,, 27853
                             27853,, 32768
                                     32768,, 0 },
           { 5461
             5461,, 16384
                    16384,, 27307
                            27307,, 32768
                                    32768,, 0 } } },
       { { { 18274
             18274,, 24813
                     24813,, 27890
                             27890,, 32768
                                     32768,, 0 },
           { 15537
             15537,, 23149
                     23149,, 27003
                             27003,, 32768
                                     32768,, 0 },
           { 9449
             9449,, 16740
                    16740,, 21827
                            21827,, 32768
                                    32768,, 0 },
           { 6700
             6700,, 12498
                    12498,, 17261
                            17261,, 32768
                                    32768,, 0 },
           { 4988
             4988,, 9866
                    9866,, 14198
                           14198,, 32768
                                   32768,, 0 },
           { 4236
             4236,, 8147
                    8147,, 11902
                           11902,, 32768
                                   32768,, 0 },
           { 2867
             2867,, 5860
                    5860,, 8654
                           8654,, 32768
                                  32768,, 0 },
           { 17124
             17124,, 23171
                     23171,, 26101
                             26101,, 32768
                                     32768,, 0 },
           { 20396
             20396,, 27477
                     27477,, 30148
                             30148,, 32768
                                     32768,, 0 },
           { 16573
             16573,, 24629
                     24629,, 28492
                             28492,, 32768
                                     32768,, 0 },
           { 12749
             12749,, 20846
                     20846,, 25674
                             25674,, 32768
                                     32768,, 0 },
           { 10233
             10233,, 17878
                     17878,, 22818
                             22818,, 32768
                                     32768,, 0 },
           { 8525
             8525,, 15332
                    15332,, 20363
                            20363,, 32768
                                    32768,, 0 },
           { 6283
             6283,, 11632
                    11632,, 16255
                            16255,, 32768
                                    32768,, 0 },
           { 20466
             20466,, 26511
                     26511,, 29286
                             29286,, 32768
                                     32768,, 0 },
           { 23059
             23059,, 29174
                     29174,, 31191
                             31191,, 32768
                                     32768,, 0 },
           { 19481
             19481,, 27263
                     27263,, 30241
                             30241,, 32768
                                     32768,, 0 },
           { 15458
             15458,, 23631
                     23631,, 28137
                             28137,, 32768
                                     32768,, 0 },
           { 12416
             12416,, 20608
                     20608,, 25693
                             25693,, 32768
                                     32768,, 0 },
           { 10261
             10261,, 18011
                     18011,, 23261
                             23261,, 32768
                                     32768,, 0 },
           { 8016
             8016,, 14655
                    14655,, 19666
                            19666,, 32768
                                    32768,, 0 } },
         { { 17616
             17616,, 24586
                     24586,, 28112
                             28112,, 32768
                                     32768,, 0 },
           { 15809
             15809,, 23299
                     23299,, 27155
                             27155,, 32768
                                     32768,, 0 },
           { 10767
             10767,, 18890
                     18890,, 23793
                             23793,, 32768
                                     32768,, 0 },
           { 7727
             7727,, 14255
                    14255,, 18865
                            18865,, 32768
                                    32768,, 0 },
           { 6129
             6129,, 11926
                    11926,, 16882
                            16882,, 32768
                                    32768,, 0 },




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           { 4482
             4482,, 9704
                    9704,, 14861
                           14861,, 32768
                                   32768,, 0 },
           { 3277
             3277,, 7452
                    7452,, 11522
                           11522,, 32768
                                   32768,, 0 },
           { 22956
             22956,, 28551
                     28551,, 30730
                             30730,, 32768
                                     32768,, 0 },
           { 22724
             22724,, 28937
                     28937,, 30961
                             30961,, 32768
                                     32768,, 0 },
           { 18467
             18467,, 26324
                     26324,, 29580
                             29580,, 32768
                                     32768,, 0 },
           { 13234
             13234,, 20713
                     20713,, 25649
                             25649,, 32768
                                     32768,, 0 },
           { 11181
             11181,, 17592
                     17592,, 22481
                             22481,, 32768
                                     32768,, 0 },
           { 8291
             8291,, 18358
                    18358,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 7568
             7568,, 11881
                    11881,, 14984
                            14984,, 32768
                                    32768,, 0 },
           { 24948
             24948,, 29001
                     29001,, 31147
                             31147,, 32768
                                     32768,, 0 },
           { 25674
             25674,, 30619
                     30619,, 32151
                             32151,, 32768
                                     32768,, 0 },
           { 20841
             20841,, 26793
                     26793,, 29603
                             29603,, 32768
                                     32768,, 0 },
           { 14669
             14669,, 24356
                     24356,, 28666
                             28666,, 32768
                                     32768,, 0 },
           { 11334
             11334,, 23593
                     23593,, 28219
                             28219,, 32768
                                     32768,, 0 },
           { 8922
             8922,, 14762
                    14762,, 22873
                            22873,, 32768
                                    32768,, 0 },
           { 8301
             8301,, 13544
                    13544,, 20535
                            20535,, 32768
                                    32768,, 0 } } },
       { { { 17113
             17113,, 23733
                     23733,, 27081
                             27081,, 32768
                                     32768,, 0 },
           { 14139
             14139,, 21406
                     21406,, 25452
                             25452,, 32768
                                     32768,, 0 },
           { 8552
             8552,, 15002
                    15002,, 19776
                            19776,, 32768
                                    32768,, 0 },
           { 5871
             5871,, 11120
                    11120,, 15378
                            15378,, 32768
                                    32768,, 0 },
           { 4455
             4455,, 8616
                    8616,, 12253
                           12253,, 32768
                                   32768,, 0 },
           { 3469
             3469,, 6910
                    6910,, 10386
                           10386,, 32768
                                   32768,, 0 },
           { 2255
             2255,, 4553
                    4553,, 6782
                           6782,, 32768
                                  32768,, 0 },
           { 18224
             18224,, 24376
                     24376,, 27053
                             27053,, 32768
                                     32768,, 0 },
           { 19290
             19290,, 26710
                     26710,, 29614
                             29614,, 32768
                                     32768,, 0 },
           { 14936
             14936,, 22991
                     22991,, 27184
                             27184,, 32768
                                     32768,, 0 },
           { 11238
             11238,, 18951
                     18951,, 23762
                             23762,, 32768
                                     32768,, 0 },
           { 8786
             8786,, 15617
                    15617,, 20588
                            20588,, 32768
                                    32768,, 0 },
           { 7317
             7317,, 13228
                    13228,, 18003
                            18003,, 32768
                                    32768,, 0 },
           { 5101
             5101,, 9512
                    9512,, 13493
                           13493,, 32768
                                   32768,, 0 },
           { 22639
             22639,, 28222
                     28222,, 30210
                             30210,, 32768
                                     32768,, 0 },
           { 23216
             23216,, 29331
                     29331,, 31307
                             31307,, 32768
                                     32768,, 0 },
           { 19075
             19075,, 26762
                     26762,, 29895
                             29895,, 32768
                                     32768,, 0 },
           { 15014
             15014,, 23113
                     23113,, 27457
                             27457,, 32768
                                     32768,, 0 },
           { 11938
             11938,, 19857
                     19857,, 24752
                             24752,, 32768
                                     32768,, 0 },
           { 9942
             9942,, 17280
                    17280,, 22282
                            22282,, 32768
                                    32768,, 0 },
           { 7167
             7167,, 13144
                    13144,, 17752
                            17752,, 32768
                                    32768,, 0 } },
         { { 15820
             15820,, 22738
                     22738,, 26488
                             26488,, 32768
                                     32768,, 0 },
           { 13530
             13530,, 20885
                     20885,, 25216
                             25216,, 32768
                                     32768,, 0 },
           { 8395
             8395,, 15530
                    15530,, 20452
                            20452,, 32768
                                    32768,, 0 },
           { 6574
             6574,, 12321
                    12321,, 16380
                            16380,, 32768
                                    32768,, 0 },
           { 5353
             5353,, 10419
                    10419,, 14568
                            14568,, 32768
                                    32768,, 0 },
           { 4613
             4613,, 8446
                    8446,, 12381
                           12381,, 32768
                                   32768,, 0 },
           { 3440
             3440,, 7158
                    7158,, 9903
                           9903,, 32768
                                  32768,, 0 },
           { 24247
             24247,, 29051
                     29051,, 31224
                             31224,, 32768
                                     32768,, 0 },
           { 22118
             22118,, 28058
                     28058,, 30369
                             30369,, 32768
                                     32768,, 0 },
           { 16498
             16498,, 24768
                     24768,, 28389
                             28389,, 32768
                                     32768,, 0 },
           { 12920
             12920,, 21175
                     21175,, 26137
                             26137,, 32768
                                     32768,, 0 },
           { 10730
             10730,, 18619
                     18619,, 25352
                             25352,, 32768
                                     32768,, 0 },
           { 10187
             10187,, 16279
                     16279,, 22791
                             22791,, 32768
                                     32768,, 0 },




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           { 9310
             9310,, 14631
                    14631,, 22127
                            22127,, 32768
                                    32768,, 0 },
           { 24970
             24970,, 30558
                     30558,, 32057
                             32057,, 32768
                                     32768,, 0 },
           { 24801
             24801,, 29942
                     29942,, 31698
                             31698,, 32768
                                     32768,, 0 },
           { 22432
             22432,, 28453
                     28453,, 30855
                             30855,, 32768
                                     32768,, 0 },
           { 19054
             19054,, 25680
                     25680,, 29580
                             29580,, 32768
                                     32768,, 0 },
           { 14392
             14392,, 23036
                     23036,, 28109
                             28109,, 32768
                                     32768,, 0 },
           { 12495
             12495,, 20947
                     20947,, 26650
                             26650,, 32768
                                     32768,, 0 },
           { 12442
             12442,, 20326
                     20326,, 26214
                             26214,, 32768
                                     32768,, 0 } } },
       { { { 12162
             12162,, 18785
                     18785,, 22648
                             22648,, 32768
                                     32768,, 0 },
           { 12749
             12749,, 19697
                     19697,, 23806
                             23806,, 32768
                                     32768,, 0 },
           { 8580
             8580,, 15297
                    15297,, 20346
                            20346,, 32768
                                    32768,, 0 },
           { 6169
             6169,, 11749
                    11749,, 16543
                            16543,, 32768
                                    32768,, 0 },
           { 4836
             4836,, 9391
                    9391,, 13448
                           13448,, 32768
                                   32768,, 0 },
           { 3821
             3821,, 7711
                    7711,, 11613
                           11613,, 32768
                                   32768,, 0 },
           { 2228
             2228,, 4601
                    4601,, 7070
                           7070,, 32768
                                  32768,, 0 },
           { 16319
             16319,, 24725
                     24725,, 28280
                             28280,, 32768
                                     32768,, 0 },
           { 15698
             15698,, 23277
                     23277,, 27168
                             27168,, 32768
                                     32768,, 0 },
           { 12726
             12726,, 20368
                     20368,, 25047
                             25047,, 32768
                                     32768,, 0 },
           { 9912
             9912,, 17015
                    17015,, 21976
                            21976,, 32768
                                    32768,, 0 },
           { 7888
             7888,, 14220
                    14220,, 19179
                            19179,, 32768
                                    32768,, 0 },
           { 6777
             6777,, 12284
                    12284,, 17018
                            17018,, 32768
                                    32768,, 0 },
           { 4492
             4492,, 8590
                    8590,, 12252
                           12252,, 32768
                                   32768,, 0 },
           { 23249
             23249,, 28904
                     28904,, 30947
                             30947,, 32768
                                     32768,, 0 },
           { 21050
             21050,, 27908
                     27908,, 30512
                             30512,, 32768
                                     32768,, 0 },
           { 17440
             17440,, 25340
                     25340,, 28949
                             28949,, 32768
                                     32768,, 0 },
           { 14059
             14059,, 22018
                     22018,, 26541
                             26541,, 32768
                                     32768,, 0 },
           { 11288
             11288,, 18903
                     18903,, 23898
                             23898,, 32768
                                     32768,, 0 },
           { 9411
             9411,, 16342
                    16342,, 21428
                            21428,, 32768
                                    32768,, 0 },
           { 6278
             6278,, 11588
                    11588,, 15944
                            15944,, 32768
                                    32768,, 0 } },
         { { 13981
             13981,, 20067
                     20067,, 23226
                             23226,, 32768
                                     32768,, 0 },
           { 16922
             16922,, 23580
                     23580,, 26783
                             26783,, 32768
                                     32768,, 0 },
           { 11005
             11005,, 19039
                     19039,, 24487
                             24487,, 32768
                                     32768,, 0 },
           { 7389
             7389,, 14218
                    14218,, 19798
                            19798,, 32768
                                    32768,, 0 },
           { 5598
             5598,, 11505
                    11505,, 17206
                            17206,, 32768
                                    32768,, 0 },
           { 6090
             6090,, 11213
                    11213,, 15659
                            15659,, 32768
                                    32768,, 0 },
           { 3820
             3820,, 7371
                    7371,, 10119
                           10119,, 32768
                                   32768,, 0 },
           { 21082
             21082,, 26925
                     26925,, 29675
                             29675,, 32768
                                     32768,, 0 },
           { 21262
             21262,, 28627
                     28627,, 31128
                             31128,, 32768
                                     32768,, 0 },
           { 18392
             18392,, 26454
                     26454,, 30437
                             30437,, 32768
                                     32768,, 0 },
           { 14870
             14870,, 22910
                     22910,, 27096
                             27096,, 32768
                                     32768,, 0 },
           { 12620
             12620,, 19484
                     19484,, 24908
                             24908,, 32768
                                     32768,, 0 },
           { 9290
             9290,, 16553
                    16553,, 22802
                            22802,, 32768
                                    32768,, 0 },
           { 6668
             6668,, 14288
                    14288,, 20004
                            20004,, 32768
                                    32768,, 0 },
           { 27704
             27704,, 31055
                     31055,, 31949
                             31949,, 32768
                                     32768,, 0 },
           { 24709
             24709,, 29978
                     29978,, 31788
                             31788,, 32768
                                     32768,, 0 },
           { 21668
             21668,, 29264
                     29264,, 31657
                             31657,, 32768
                                     32768,, 0 },
           { 18295
             18295,, 26968
                     26968,, 30074
                             30074,, 32768
                                     32768,, 0 },
           { 16399
             16399,, 24422
                     24422,, 29313
                             29313,, 32768
                                     32768,, 0 },
           { 14347
             14347,, 23026
                     23026,, 28104
                             28104,, 32768
                                     32768,, 0 },
           { 12370
             12370,, 19806
                     19806,, 24477
                             24477,, 32768
                                     32768,, 0 } } },




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       { { { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } },
         { { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
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                                    32768,, 0 },
           { 8192
             8192,, 16384
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                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
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                                    32768,, 0 },
           { 8192
             8192,, 16384
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                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 },
           { 8192
             8192,, 16384
                    16384,, 24576
                            24576,, 32768
                                    32768,, 0 } } } }
  }




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9.5. Quantizer matrix tables
9.5.1. General
There are three fundamental quantizer matrix sizes: 32x32, 32x16 and 16x32. One set of these three sizes of matrix is
defined for each quantizer level (except level 15) and for each plane type (luma or chroma). All other quantizer matrix
sizes are subsampled from these. All matrix sizes, including derived ones, are defined in the table Quantizer_Matrix in
section 9.5.3. For informative purposes the subsampling process is defined in section 9.5.2.


9.5.2. Derivation process (Informative)
   Note: This subsection is provided for information only regarding the derivation of Quantizer_Matrix, and is not
   required to correctly decode AV1 bitstreams (and therefore not invoked by this specification). All required tables
   are defined in section 9.5.3.


The input to this process is a transform size txSz.

The output is an array derivedMatrix of size Tx_Width[ txSz ] * Tx_Height[ txSz ], containing the derived matrix.

      • The array fundamentalMatrix is derived as follows.

                ◦ If Tx_Width[ txSz ] is equal to Tx_Height[ txSz ], fundamentalMatrix is set equal to the 32x32
                  fundamental matrix for the quantizer level and plane type in question.

                ◦ If Tx_Width[ txSz ] is greater than Tx_Height[ txSz ], fundamentalMatrix is set equal to the 32x16
                  fundamental matrix for the quantizer level and plane type in question.

                ◦ Otherwise (Tx_Width[ txSz ] is less than Tx_Height[ txSz ]), fundamentalMatrix is set equal to the 16x32
                  fundamental matrix for the quantizer level and plane type in question.

      • The variable fW is set equal to the width of fundamentalMatrix.

      • The variable fH is set equal to the height of fundamentalMatrix.

      • The variable ratioW is set equal to fW / Tx_Width[ txSz ].

      • The variable ratioH is set equal to fH / Tx_Height[ txSz ].

      • The variable phaseW is set equal to ( ratioW + 1 ) / 2 - 1.

      • The variable phaseH is set equal to ( ratioH + 1 ) / 2 - 1.

      • The array element derivedMatrix[ i * Tx_Width[ txSz ] + j ] is set equal to fundamentalMatrix[ ( ratioH * i + phaseH
        ) * fW + ratioW * j + phaseW ] for i=0..Tx_Height[ txSz ] - 1, for j=0..Tx_Width[ txSz ] - 1.




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9.5.3. Tables
  Qm_Offset[[ TX_SIZES_ALL ] = { 0, 16
                                     16,, 80
                                          80,, 336
                                               336,, 336
                                                     336,, 1360
                                                           1360,, 1392
                                                                  1392,, 1424
                                                                         1424,, 1552
                                                                                1552,, 1680
                                                                                       1680,, 2192
                                                                                              2192,,
                                 336
                                 336,, 336
                                        336,, 2704
                                              2704,, 2768
                                                     2768,, 2832
                                                            2832,, 3088
                                                                   3088,, 1680
                                                                          1680,, 2192 }




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  Quantizer_Matrix[[ 15 ][ 2 ][ QM_TOTAL_SIZE ] = {
    {
        { /* Luma */
          /* Size 4x4 */
          32
          32,, 43
                43,, 73
                     73,, 97
                          97,, 43
                                43,, 67
                                      67,, 94
                                            94,, 110
                                                  110,, 7373,, 94
                                                                94,, 137
                                                                      137,, 150
                                                                             150,, 9797,, 110
                                                                                           110,, 150
                                                                                                  150,, 200
                                                                                                          200,,
          /* Size 8x8 */
          32
          32,, 32
                32,, 38
                     38,, 51
                          51,, 68
                                68,, 84
                                      84,, 95
                                            95,, 109
                                                  109,, 3232,, 35
                                                                35,, 40
                                                                      40,, 49
                                                                            49,, 63
                                                                                  63,, 76
                                                                                        76,, 89
                                                                                              89,, 102
                                                                                                    102,, 38
                                                                                                           38,,
          40
          40,, 54
                54,, 65
                     65,, 78
                          78,, 91
                                91,, 98
                                      98,, 106
                                            106,, 5151,, 49
                                                          49,, 65
                                                                65,, 82
                                                                      82,, 97
                                                                            97,, 111
                                                                                  111,, 113
                                                                                         113,, 121
                                                                                                 121,, 68
                                                                                                        68,, 63
                                                                                                              63,,
          78
          78,, 97
                97,, 117
                     117,, 134
                            134,, 138
                                   138,, 142
                                           142,, 84
                                                  84,, 76
                                                        76,, 91
                                                              91,, 111
                                                                    111,, 134
                                                                            134,, 152
                                                                                   152,, 159
                                                                                           159,, 168
                                                                                                  168,, 9595,, 89
                                                                                                                89,,
          98
          98,, 113
                113,, 138
                      138,, 159
                             159,, 183
                                     183,, 199
                                            199,, 109
                                                    109,, 102
                                                           102,, 106
                                                                   106,, 121
                                                                          121,, 142
                                                                                  142,, 168
                                                                                         168,, 199
                                                                                                 199,, 220
                                                                                                        220,,
          /* Size 16x16 */
          32
          32,, 31
                31,, 31
                     31,, 34
                          34,, 36
                                36,, 44
                                      44,, 48
                                            48,, 59
                                                  59,, 65
                                                        65,, 80
                                                              80,, 83
                                                                    83,, 91
                                                                          91,, 97
                                                                                97,, 104
                                                                                      104,, 111
                                                                                              111,, 119
                                                                                                     119,, 3131,,
          32
          32,, 32
                32,, 33
                     33,, 34
                          34,, 41
                                41,, 44
                                      44,, 54
                                            54,, 59
                                                  59,, 72
                                                        72,, 75
                                                              75,, 83
                                                                    83,, 90
                                                                          90,, 97
                                                                                97,, 104
                                                                                      104,, 112
                                                                                              112,, 31
                                                                                                     31,, 32
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          33
          33,, 35
                35,, 36
                     36,, 42
                          42,, 45
                                45,, 54
                                      54,, 59
                                            59,, 71
                                                  71,, 74
                                                        74,, 81
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                                                                    86,, 93
                                                                          93,, 100
                                                                                100,, 107
                                                                                        107,, 34
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          39
          39,, 42
                42,, 47
                     47,, 51
                          51,, 58
                                58,, 63
                                      63,, 74
                                            74,, 76
                                                  76,, 81
                                                        81,, 84
                                                              84,, 90
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                                                                          97,, 105
                                                                                105,, 3636,, 34
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          54
          54,, 57
                57,, 64
                     64,, 68
                          68,, 79
                                79,, 81
                                      81,, 88
                                            88,, 91
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                                                              102,, 105
                                                                      105,, 44
                                                                             44,, 41
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          67
          67,, 75
                75,, 79
                     79,, 90
                          90,, 92
                                92,, 95
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                                                                   112,, 48
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          80
          80,, 85
                85,, 96
                     96,, 99
                          99,, 107
                                107,, 108
                                        108,, 111
                                               111,, 117
                                                       117,, 120
                                                              120,, 5959,, 54
                                                                            54,, 54
                                                                                  54,, 58
                                                                                        58,, 64
                                                                                              64,, 75
                                                                                                    75,, 80
                                                                                                          80,, 92
                                                                                                                92,,
          98
          98,, 110
                110,, 113
                      113,, 115
                             115,, 116
                                     116,, 122
                                            122,, 125
                                                    125,, 130
                                                           130,, 6565,, 59
                                                                         59,, 59
                                                                               59,, 63
                                                                                     63,, 68
                                                                                           68,, 79
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          105
          105,, 118
                 118,, 121
                        121,, 127
                               127,, 130
                                      130,, 134
                                              134,, 135
                                                     135,, 140
                                                             140,, 80
                                                                    80,, 72
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                                                                                71,, 74
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                                                                                                  90,, 96
                                                                                                        96,, 110
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          118
          118,, 134
                 134,, 137
                        137,, 140
                               140,, 143
                                      143,, 144
                                              144,, 146
                                                     146,, 152
                                                             152,, 83
                                                                    83,, 75
                                                                          75,, 74
                                                                                74,, 76
                                                                                      76,, 81
                                                                                            81,, 92
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                                                                                                        99,, 113
                                                                                                              113,,
          121
          121,, 137
                 137,, 140
                        140,, 151
                               151,, 152
                                      152,, 155
                                              155,, 158
                                                     158,, 165
                                                             165,, 91
                                                                    91,, 83
                                                                          83,, 81
                                                                                81,, 81
                                                                                      81,, 88
                                                                                            88,, 95
                                                                                                  95,, 107
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          115
          115,, 127
                 127,, 140
                        140,, 151
                               151,, 159
                                      159,, 166
                                              166,, 169
                                                     169,, 173
                                                             173,, 179
                                                                    179,, 9797,, 90
                                                                                  90,, 86
                                                                                        86,, 84
                                                                                              84,, 91
                                                                                                    91,, 100
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          108
          108,, 116
                 116,, 130
                        130,, 143
                               143,, 152
                                      152,, 166
                                              166,, 174
                                                     174,, 182
                                                             182,, 189
                                                                    189,, 193
                                                                            193,, 104
                                                                                   104,, 9797,, 93
                                                                                                 93,, 90
                                                                                                       90,, 96
                                                                                                             96,,
          102
          102,, 111
                 111,, 122
                        122,, 134
                               134,, 144
                                      144,, 155
                                              155,, 169
                                                     169,, 182
                                                             182,, 191
                                                                    191,, 200
                                                                            200,, 210
                                                                                   210,, 111
                                                                                           111,, 104
                                                                                                  104,, 100
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          97
          97,, 102
                102,, 109
                      109,, 117
                             117,, 125
                                     125,, 135
                                            135,, 146
                                                    146,, 158
                                                           158,, 173
                                                                   173,, 189
                                                                          189,, 200
                                                                                  200,, 210
                                                                                         210,, 220
                                                                                                 220,, 119
                                                                                                        119,,
          112
          112,, 107
                 107,, 105
                        105,, 105
                               105,, 112
                                      112,, 120
                                              120,, 130
                                                     130,, 140
                                                             140,, 152
                                                                    152,, 165
                                                                            165,, 179
                                                                                   179,, 193
                                                                                           193,, 210
                                                                                                  210,, 220
                                                                                                          220,,
          231
          231,,
          /* Size 32x32 */
          32
          32,, 31
                31,, 31
                     31,, 31
                          31,, 31
                                31,, 32
                                      32,, 34
                                            34,, 35
                                                  35,, 36
                                                        36,, 39
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                                                                                                        65,, 71
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          80
          80,, 81
                81,, 83
                     83,, 88
                          88,, 91
                                91,, 94
                                      94,, 97
                                            97,, 101
                                                  101,, 104
                                                          104,, 107
                                                                 107,, 111
                                                                         111,, 115
                                                                                115,, 119
                                                                                        119,, 123
                                                                                               123,, 3131,, 32
                                                                                                             32,,
          32
          32,, 32
                32,, 32
                     32,, 32
                          32,, 34
                                34,, 34
                                      34,, 35
                                            35,, 38
                                                  38,, 42
                                                        42,, 44
                                                              44,, 46
                                                                    46,, 51
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                                                                                      59,, 62
                                                                                            62,, 68
                                                                                                  68,, 76
                                                                                                        76,, 77
                                                                                                              77,,
          78
          78,, 84
                84,, 86
                     86,, 89
                          89,, 92
                                92,, 95
                                      95,, 99
                                            99,, 102
                                                  102,, 105
                                                          105,, 109
                                                                 109,, 113
                                                                         113,, 116
                                                                                116,, 3131,, 32
                                                                                              32,, 32
                                                                                                    32,, 32
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                                                                                                                32,,
          32
          32,, 33
                33,, 34
                     34,, 34
                          34,, 37
                                37,, 41
                                      41,, 42
                                            42,, 44
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                                                              54,, 56
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          86
          86,, 90
                90,, 93
                     93,, 97
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                                101,, 104
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                                               108,, 112
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                                                              116,, 3131,, 32
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                     41,, 43
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          94
          94,, 97
                97,, 101
                     101,, 104
                            104,, 107
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                                           111,, 31
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          44
          44,, 45
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                     50,, 54
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                                      59,, 64
                                            64,, 71
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          104
          104,, 107
                 107,, 111
                        111,, 32
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          53
          53,, 55
                55,, 58
                     58,, 63
                          63,, 69
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                                            72,, 76
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          109
          109,, 34
                 34,, 34
                      34,, 33
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                                              37,, 39
                                                    39,, 41
                                                          41,, 42
                                                                42,, 45
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          68
          68,, 74
                74,, 75
                     75,, 76
                          76,, 80
                                80,, 81
                                      81,, 82
                                            82,, 84
                                                  84,, 87
                                                        87,, 90
                                                              90,, 93
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            /* Size 4x16 */
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            /* Size 16x4 */
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           /* Size 32x8 */
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         { /* Chroma */
           /* Size 4x4 */
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           35,, 46
                46,, 57
                     57,, 66
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           /* Size 16x16 */
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            /* Size 4x8 */
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            31,, 47
                 47,, 60
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 16x8 */
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            /* Size 32x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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            /* Size 8x8 */
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            /* Size 16x16 */
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            /* Size 16x4 */
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Section: Additional tables                                                                                               Page 525 of 669
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            /* Size 8x16 */
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            /* Size 4x16 */
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                 100,, 65
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            /* Size 16x4 */
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            31,, 32
                 32,, 36
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            /* Size 8x32 */
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            32,, 35
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            /* Size 32x8 */
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          { /* Luma */
            /* Size 4x4 */
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            /* Size 8x8 */
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            80,, 93
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            /* Size 16x16 */
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            /* Size 4x8 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 16x8 */
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            /* Size 16x32 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 16x4 */
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            /* Size 32x8 */
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            /* Size 8x8 */
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            /* Size 16x16 */
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            /* Size 32x32 */
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            /* Size 4x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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         { /* Chroma */
           /* Size 4x4 */
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           /* Size 8x8 */
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           /* Size 16x16 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 16x8 */
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            /* Size 32x16 */
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            /* Size 4x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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          { /* Luma */
            /* Size 4x4 */
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            /* Size 8x8 */
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            80,, 80
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            /* Size 4x8 */
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            32,, 35
                 35,, 51
                      51,, 77
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            80,, 103
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                                                                  135,, 8181,, 86
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            /* Size 8x4 */
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            /* Size 8x16 */
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            52,, 62
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            84,, 89
                 89,, 44
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            60,, 63
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            82,, 80
                 80,, 90
                      90,, 103
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            /* Size 16x8 */
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            32,, 31
                 31,, 31
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            111,, 118
                  118,, 126
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            /* Size 16x32 */
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            /* Size 32x16 */
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            /* Size 4x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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            /* Size 32x8 */
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                                                             #:1809        AV1 Bitstream & Decoding Process Specification



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           /* Size 16x16 */
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           /* Size 32x32 */
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            /* Size 32x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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Section: Additional tables                                                                               Page 553 of 669
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                                                                   #:1813        AV1 Bitstream & Decoding Process Specification



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            /* Size 4x4 */
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            /* Size 8x8 */
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            /* Size 16x16 */
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Section: Additional tables                                                                                             Page 556 of 669
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            /* Size 32x16 */
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            132,, 132
                  132,, 141
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            /* Size 4x16 */
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                 36,, 53
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            45,, 56
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            73,, 97
                 97,, 125
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                                  79,, 104
                                       104,, 133
                                              133,, 75
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            /* Size 16x4 */
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            31,, 32
                 32,, 32
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            /* Size 8x32 */
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            32,, 31
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                111,, 125
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                 118,, 133
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           /* Size 32x8 */
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           118,, 125
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         { /* Chroma */
           /* Size 4x4 */
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           32,, 46
                46,, 47
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           /* Size 8x8 */
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           /* Size 16x16 */
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            /* Size 4x8 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 16x8 */
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            /* Size 32x16 */
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Section: Additional tables                                                                               Page 561 of 669
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            /* Size 8x8 */
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                86,, 90
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           /* Size 4x16 */
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           /* Size 16x4 */
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           /* Size 8x32 */
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            /* Size 16x16 */
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            /* Size 4x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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            /* Size 32x8 */
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Section: Additional tables                                                                               Page 570 of 669
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                                                              #:1830        AV1 Bitstream & Decoding Process Specification



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          { /* Luma */
            /* Size 4x4 */
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            /* Size 8x8 */
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            /* Size 16x16 */
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            /* Size 32x32 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 16x8 */
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            /* Size 16x32 */
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            /* Size 32x16 */
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                 31,, 31
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            /* Size 4x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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         { /* Chroma */
           /* Size 4x4 */
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           31,, 41
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           /* Size 8x8 */
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            /* Size 4x8 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 8x8 */
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Section: Additional tables                                                                                Page 579 of 669
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                                                             #:1839        AV1 Bitstream & Decoding Process Specification



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            /* Size 4x8 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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            /* Size 32x16 */
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            /* Size 4x16 */
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Section: Additional tables                                                                               Page 583 of 669
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            /* Size 4x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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            /* Size 32x8 */
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            /* Size 16x16 */




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            /* Size 4x8 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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Section: Additional tables                                                                               Page 589 of 669
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                                                             #:1849        AV1 Bitstream & Decoding Process Specification



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            /* Size 32x16 */
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           /* Size 4x16 */
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           /* Size 8x32 */
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            /* Size 8x8 */
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Section: Additional tables                                                                               Page 594 of 669
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            /* Size 4x8 */
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            /* Size 8x4 */
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            /* Size 8x16 */
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           /* Size 8x8 */
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Section: Additional tables                                                                               Page 601 of 669
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            /* Size 16x4 */
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Section: Additional tables                                                                               Page 603 of 669
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                                                              #:1863        AV1 Bitstream & Decoding Process Specification



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            /* Size 8x8 */
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            /* Size 16x16 */
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            /* Size 4x8 */
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            /* Size 8x4 */
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Section: Additional tables                                                                               Page 606 of 669
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                                                             #:1866        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                               Page 607 of 669
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                                                             #:1867        AV1 Bitstream & Decoding Process Specification



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            /* Size 8x4 */
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Section: Additional tables                                                                               Page 610 of 669
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Section: Additional tables                                                                               Page 611 of 669
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                                                              #:1871        AV1 Bitstream & Decoding Process Specification



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            /* Size 4x16 */
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            /* Size 16x4 */
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Section: Additional tables                                                                                Page 612 of 669
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                                                             #:1872        AV1 Bitstream & Decoding Process Specification



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            /* Size 4x8 */
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            /* Size 8x4 */
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Section: Additional tables                                                                               Page 615 of 669
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                                                             #:1875        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                               Page 616 of 669
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                                                             #:1876        AV1 Bitstream & Decoding Process Specification



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            /* Size 16x4 */
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Section: Additional tables                                                                               Page 620 of 669
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                                                              #:1880        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                                Page 621 of 669
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                                                             #:1881        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                               Page 624 of 669
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                                                             #:1884        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                               Page 625 of 669
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                                                             #:1885        AV1 Bitstream & Decoding Process Specification



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            /* Size 8x4 */
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Section: Additional tables                                                                               Page 628 of 669
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                                                              #:1888        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                                Page 629 of 669
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                                                             #:1889        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                               Page 630 of 669
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                                                             #:1890        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                               Page 633 of 669
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                                                             #:1893        AV1 Bitstream & Decoding Process Specification



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Section: Additional tables                                                                               Page 634 of 669
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                                                             #:1894        AV1 Bitstream & Decoding Process Specification



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            /* Size 4x16 */
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            /* Size 16x4 */
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            /* Size 8x32 */
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Section: Additional tables                                                                               Page 637 of 669
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Annex A: Profiles and levels
A.1. General
Profiles and levels specify restrictions on the capabilities needed to decode the bitstreams.

The profile specifies the bit depth and subsampling formats supported, while the level defines resolution and performance
characteristics.


A.2. Profiles
There are three named profiles:

        • “Main” compliant decoders must be able to decode streams with seq_profile equal to 0.

        • “High” compliant decoders must be able to decode streams with seq_profile less than or equal to 1.

        • “Professional” compliant decoders must be able to decode streams with seq_profile less than or equal to 2.


     Note: The Main profile supports YUV 4:2:0 or monochrome bitstreams with bit depth equal to 8 or 10. The High
     profile further adds support for 4:4:4 bitstreams with the same bit depth constraints. Finally, the Professional profile
     extends support over the High profile to also bitstreams with bit depth equal to 12, and also adds support for the
     4:2:2 video format.



A.3. Levels
Each operating point contains a syntax element seq_level_idx.

The following table defines the mapping from the syntax element (which takes integer values) to the defined levels:


 Value of seq_level_idx                                              Level

 0                                                                   2.0

 1                                                                   2.1

 2                                                                   2.2

 3                                                                   2.3

 4                                                                   3.0

 5                                                                   3.1

 6                                                                   3.2

 7                                                                   3.3

 8                                                                   4.0



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 Value of seq_level_idx                                             Level

 9                                                                  4.1

 10                                                                 4.2

 11                                                                 4.3

 12                                                                 5.0

 13                                                                 5.1

 14                                                                 5.2

 15                                                                 5.3

 16                                                                 6.0

 17                                                                 6.1

 18                                                                 6.2

 19                                                                 6.3

 20                                                                 7.0

 21                                                                 7.1

 22                                                                 7.2

 23                                                                 7.3

 24-30                                                              Reserved

 31                                                                 Maximum parameters



      Note: The level uses a X.Y format. X is equal to 2 + (seq_level_idx >> 2). Y is given by (seq_level_idx & 3).


The level defines variables as specified in the following tables:


 Level        MaxPicSize          MaxHSize           MaxVSize             MaxDisplayRate           MaxDecodeRate

              (Samples)           (Samples)          (Samples)            (Samples/sec)            (Samples/sec)

 2.0          147456              2048               1152                 4,423,680                5,529,600

 2.1          278784              2816               1584                 8,363,520                10,454,400

 3.0          665856              4352               2448                 19,975,680               24,969,600

 3.1          1065024             5504               3096                 31,950,720               39,938,400

 4.0          2359296             6144               3456                 70,778,880               77,856,768

 4.1          2359296             6144               3456                 141,557,760              155,713,536


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Level      MaxPicSize             MaxHSize           MaxVSize         MaxDisplayRate             MaxDecodeRate

           (Samples)              (Samples)          (Samples)        (Samples/sec)              (Samples/sec)

5.0        8912896                8192               4352             267,386,880                273,715,200

5.1        8912896                8192               4352             534,773,760                547,430,400

5.2        8912896                8192               4352             1,069,547,520              1,094,860,800

5.3        8912896                8192               4352             1,069,547,520              1,176,502,272

6.0        35651584               16384              8704             1,069,547,520              1,176,502,272

6.1        35651584               16384              8704             2,139,095,040              2,189,721,600

6.2        35651584               16384              8704             4,278,190,080              4,379,443,200

6.3        35651584               16384              8704             4,278,190,080              4,706,009,088



   Note: The missing entries in these tables (for example level 2.2 and 7.0) represent levels that are not yet defined.



Level MaxHeaderRate MainMbps               HighMbps     MainCR HighCR MaxTiles MaxTileCols Example

                           (MBits/         (MBits/
        (/sec)             sec)            sec)

2.0     150                1.5             -            2         -         8          4              426x240@30fps

2.1     150                3.0             -            2         -         8          4              640x360@30fps

3.0     150                6.0             -            2         -         16         6              854x480@30fps

3.1     150                10.0            -            2         -         16         6              1280x720@30fps

4.0     300                12.0            30.0         4         4         32         8              1920x1080@30fps

4.1     300                20.0            50.0         4         4         32         8              1920x1080@60fps

5.0     300                30.0            100.0        6         4         64         8              3840x2160@30fps

5.1     300                40.0            160.0        8         4         64         8              3840x2160@60fps

5.2     300                60.0            240.0        8         4         64         8              3840x2160@120fps

5.3     300                60.0            240.0        8         4         64         8              3840x2160@120fps

6.0     300                60.0            240.0        8         4         128        16             7680x4320@30fps

6.1     300                100.0           480.0        8         4         128        16             7680x4320@60fps

6.2     300                160.0           800.0        8         4         128        16             7680x4320@120fps

6.3     300                160.0           800.0        8         4         128        16             7680x4320@120fps




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   Note: Examples are given for non-scalable cases, but the constraints also apply to each operating point of a
   scalable stream. For example, consider a 60fps spatial scalable stream with a base layer at 960x540, and an
   enhancement layer at 1920x1080. The operating point containing just the base layer may be labelled as level 3.0,
   while the operating point containing both the base and enhancement layer may be labelled as level 4.1.



   Note: HighMbps and HighCR values are not defined for levels below level 4.0. seq_tier equal to 1 can only be
   signaled for level 4.0 and above.


The bitstream constraints depend on the variables in the table, and additional variables derived as follows:

      • TileWidth is defined as (MiColEnd - MiColStart) * MI_SIZE

      • TileHeight is defined as (MiRowEnd - MiRowStart) * MI_SIZE

      • RightMostTile is defined as MiColEnd == MiCols

      • CroppedTileWidth is defined as FrameWidth - MiColStart * MI_SIZE

      • CroppedTileHeight is defined as FrameHeight - MiRowStart * MI_SIZE

      • MaxTileSizeInLumaSamples is defined as the largest product of TileWidth * TileHeight for all tiles within the
        coded video sequence

      • showCount for a particular frame is defined as the number of times the frame is shown (either due to
        show_frame equal to 1, or via the show_existing_frame mechanism)

      • TotalDisplayLumaSampleRate is defined as the sum of the UpscaledWidth * FrameHeight * showCount of all
        frames that belong to the temporal unit that belongs to the operating point, divided by the time difference
        between the display time of the first frame of the current temporal unit and the display time of the first frame of
        the next temporal unit (if present). For the last temporal unit in the bitstream, the time difference from the
        previous temporal unit is used. In particular, for spatial and quality scalability, this limit applies to output pictures
        that belong to this particular layer. For temporal scalability, this restriction applies to the output pictures that
        belong to the indicated scalability layer and to the layers below.

      • TotalDecodedLumaSampleRate is defined as the sum of the UpscaledWidth * FrameHeight of all frames with
        show_existing_frame equal to 0 that belong to the temporal unit that belongs to the operating point, divided by
        the time difference between the decoding time of the first frame of the current temporal unit and the decoding
        time of the first frame of the next temporal unit (if present). For the last temporal unit in the bitstream, the time
        difference from the previous temporal unit is used.

      • NumFrameHeadersSec is defined as the number of OBU_FRAME and OBU_FRAME_HEADER OBUs received
        per second (this number does not include duplicate frame headers or frame headers with show_existing_frame
        equal to 1)




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      • CompressedSize is defined for each frame as the total bytes in the OBUs related to this frame (OBU_FRAME,
        OBU_FRAME_HEADER, OBU_METADATA, OBU_TILE_GROUP), minus 128 (to allow for overhead of
        metadata and header data)

      • If seq_profile is equal to 0, PicSizeProfileFactor is set equal to 15, else if seq_profile is equal to 1,
        PicSizeProfileFactor is set equal to 30, otherwise PicSizeProfileFactor is set equal to 36

      • UnCompressedSize is defined for each frame as ( UpscaledWidth * FrameHeight * PicSizeProfileFactor ) » 3

      • SpeedAdj is defined as TotalDecodedLumaSampleRate ÷ MaxDisplayRate

      • If seq_tier is equal to 0, MinCompBasis is set equal to MainCR, otherwise MinCompBasis is set equal to HighCR

      • If still_picture is equal to 0, MinPicCompressRatio is set equal to Max( 0.8, MinCompBasis * SpeedAdj ),
        otherwise MinPicCompressRatio is set equal to 0.8

      • CompressedRatio is defined as UnCompressedSize ÷ CompressedSize


   Note: The ÷ operator represents standard mathematical division (in contrast to the / operator which represents
   integer division).


If scalability_mode_idc is not present or equal to a reserved value, then TemporalParallelNum and TemporalParallelDen
are defined to be equal to 1.

Otherwise, if scalability_mode_idc is not equal to SCALABILITY_SS, TemporalParallelDen is defined as 1 and
TemporalParallelNum is defined as (1 << ( TemporalLayers - 1 )) where TemporalLayers is the number of temporal layers
as defined in the semantics for scalability_mode_idc.

Otherwise (scalability_mode_idc is equal to SCALABILITY_SS), TemporalParallelNum and TemporalParallelDen are
defined as follows:


  NumIndependent = 0
  for ( i = 0; i < temporal_group_size;; i++
                                          ++ ) {
    if ( temporal_group_temporal_id[[ i ] ) {
      independent = 1
      for ( j = 0; j < temporal_group_ref_cnt[[ i ]; j++
                                                      ++ ) {
        ref = (i - temporal_group_ref_pic_diff[[ i ][ j ] + temporal_group_size)) % temporal_group_size
        if ( temporal_group_temporal_id[[ ref ] == temporal_group_temporal_id[[ i ] )
          independent = 0
      }
      NumIndependent += independent
    }
  }
  TemporalParallelNum = temporal_group_size
  TemporalParallelDen = temporal_group_size - NumIndependent




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When the mapped level is contained in the tables above, it is a requirement of bitstream conformance that the following
constraints hold:

      • UpscaledWidth * FrameHeight is less than or equal to MaxPicSize

      • UpscaledWidth is less than or equal to MaxHSize

      • FrameHeight is less than or equal to MaxVSize

      • TotalDisplayLumaSampleRate is less than or equal to MaxDisplayRate

      • TotalDecodedLumaSampleRate is less than or equal to MaxDecodeRate

      • NumFrameHeadersSec is less than or equal to MaxHeaderRate

      • The number of tiles per second is less than or equal to MaxTiles * 120

      • NumTiles is less than or equal to MaxTiles

      • TileCols is less than or equal to MaxTileCols

      • CompressedRatio is greater than or equal to MinPicCompressRatio

      • ( TileWidth * SuperresDenom / SUPERRES_NUM ) is less than or equal to MAX_TILE_WIDTH for each tile

      • For each tile, if use_superres is equal to 0 and RightMostTile is equal to 0, then TileWidth is greater than or
        equal to 64

      • For each tile, if use_superres is equal to 1 and RightMostTile is equal to 0, then TileWidth is greater than or
        equal to 128

      • TileWidth * TileHeight is less than or equal to 4096 * 2304 for each tile

      • FrameWidth is greater than or equal to 16

      • FrameHeight is greater than or equal to 16

      • CroppedTileWidth is greater than or equal to 8 for each tile

      • CroppedTileHeight is greater than or equal to 8 for each tile

      • MaxTileSizeInLumaSamples * NumFrameHeadersSec * TemporalParallelDen/TemporalParallelNum is less than
        or equal to 588,251,136 (where this number is the decode luma sample rate of 4096x2176 * 60fps * 1.1)


   Note: The purpose of this constraint is to ensure that for decode luma sample rates above 4K60 there is sufficient
   parallelism for decoder implementations. Parallelism can be chosen by the encoder as either tile level parallelism
   or temporal layer parallelism or a combination provided the above constraint holds. The constraint has no effect on
   levels 5.1 and below.



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If seq_level_idx is equal to 31 (indicating the maximum parameters level), then there are no level-based constraints on the
bitstream.


   Note: The maximum parameters level should only be set for bitstreams that do not conform to any other level.
   Typically this would be used for large resolution still images.


The buffer model is used to define additional conformance requirements.

These requirements depend on the following level, tier, and profile dependent variables:

      • If seq_tier is equal to 0, MaxBitrate is equal to MainMbps multiplied by 1,000,000

      • Otherwise (seq_tier is equal to 1), MaxBitrate is equal to HighMbps multiplied by 1,000,000

      • MaxBufferSize is equal to MaxBitrate multiplied by 1 second

      • If seq_profile is equal to 0, BitrateProfileFactor is equal to 1.0

      • If seq_profile is equal to 1, BitrateProfileFactor is equal to 2.0

      • If seq_profile is equal to 2, BitrateProfileFactor is equal to 3.0


A.4. Decoder Conformance
A level X.Y compliant decoder must be able to decode all bitstreams (that can be decoded by the general decoding
process) that conform to that level.

When doing that, the decoder must be able to display output frames according to the display schedule if such is indicated
by the bitstream.


   Note: If the level of a bitstream is equal to 31 (indicating the maximum parameters level), the decoder should
   examine the properties of the bitstream and decide whether to decode it or not. There is no assurance that all
   pictures will be decoded. A decoder would typically decode pictures up to a certain maximum uncompressed
   picture size (or maximum compressed picture size or maximum width or maximum tile size) that the decoder
   maker considers sufficiently extreme for their use case, and not decode anything bigger than that.


A level X.Y compliant decoder should be able to decode tile list OBUs (via the large scale tile decoding process) at a rate
of 180 tile list OBUs per second subject to the following level-dependent constraints:

      • UpscaledWidth * FrameHeight is less than or equal to MaxPicSize

      • UpscaledWidth is less than or equal to MaxHSize

      • FrameHeight is less than or equal to MaxVSize

      • TileWidth * TileHeight * ( tile_count_minus_1 + 1 ) * 180 is less than or equal to ( MaxDecodeRate / 2 )


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      • For each tile list OBU, BytesPerTileList * 8 * 180 is less than or equal to MaxBitrate

Where BytesPerTileList is defined as the sum of (coded_tile_data_size_minus_1 + 1) for each tile list entry in the tile list
OBU.




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Annex B: Length delimited bitstream format
B.1. Overview
Section 5 defines the syntax for OBUs. Section 5.2 defines the low-overhead bitstream format. This annex defines a
length-delimited format for packing OBUs into a format that enables skipping through temporal units and frames more
easily.


B.2. Length delimited bitstream syntax
 bitstream( ) {                                                                                          Type
    while ( more_data_in_bitstream() ) {
        temporal_unit_size                                                                             leb128()
        temporal_unit( temporal_unit_size )
    }
 }

 temporal_unit( sz ) {                                                                                   Type
    while ( sz > 0 ) {
        frame_unit_size                                                                                leb128()
        sz -= Leb128Bytes
        frame_unit( frame_unit_size )
        sz -= frame_unit_size
    }
 }

 frame_unit( sz ) {                                                                                      Type
    while ( sz > 0 ) {
        obu_length                                                                                     leb128()
        sz -= Leb128Bytes
        open_bitstream_unit( obu_length )
        sz -= obu_length
    }
 }


B.3. Length delimited bitstream semantics
more_data_in_bitstream() is a system-dependent method of determining whether the end of the bitstream has been
reached. It returns 1 when there is more data to be read, or 0 when the end of the bitstream has been reached.

temporal_unit_size specifies the length in bytes of the next temporal unit.

frame_unit_size specifies the length in bytes of the next frame unit.

obu_length specifies the length in bytes of the next OBU.




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   Note: It is allowed for the OBU to set obu_has_size_field equal to 1 to indicate that the obu_size syntax element is
   present. In this case, the decoding process assumes that obu_size and obu_length are set consistently. If
   obu_size and obu_length are both present, but inconsistent, then the packed bitstream is deemed invalid.


The first OBU in the first frame_unit of each temporal_unit must be a temporal delimiter OBU (and this is the only place
temporal delimiter OBUs can appear).

All the frame header and tile group OBUs required for decoding a single frame must be within the same frame_unit (and a
frame_unit must not contain frame headers for more than one frame).




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Annex C: Error resilience behavior (informative)
C.1. General
This annex defines additional starting points for decoding.

It is recommended that decoders should support these starting points. (This annex is marked as informative because it is
not mandatory for a conformant decoder to support these starting points.)

The intention is to allow decoders to start even when the decoded output may be corrupted.

A property of a bitstream is defined in section C.2.

The recommendations are expressed in section C.3.

The consequences for encoders are specified in section C.4.

The consequences for decoders are specified in section C.5.


C.2. Definition of processable frames
This section defines a property of frames that is called being “processable”.

Informally, a frame is processable if it is certain (based on the current state and information in the frame header) that
everything other than the sample values can be decoded correctly.

In particular, a frame that is processable will have correct values for:

      • All syntax elements

      • The size, bitdepth, subsampling structure of any output frames

      • All values written in the reference frame update process specified in section 7.20, except for the contents of
        FrameStore (which may or may not be correct).

In most codecs, this concept is unnecessary because it is trivial to determine if frames are processable (either because all
frames are automatically processable, or because the conditions are straightforward). However, AV1 makes greater use
of state in the reference frames and so the condition for being processable is more complicated.

Formally, the property of being processable is defined as follows.

A frame with show_existing_frame equal to 0 is defined to be processable if the following conditions are met:

      • Either primary_ref_frame is equal to PRIMARY_REF_NONE or ref_frame_idx[ primary_ref_frame ] indicates a
        frame that has been processed

      • Either use_ref_frame_mvs is equal to 0, or ref_frame_idx[ i ] indicates a frame that has been processed for all i =
        0..REFS_PER_FRAME-1



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      • Either allow_warped_motion is equal to 0, or ref_frame_idx[ i ] indicates a frame that has been processed for all i
        = 0..REFS_PER_FRAME-1 (this is necessary because the motion_mode syntax parsing depends on whether the
        reference frame has been scaled - but this is not known unless the frame has been processed)

      • The decoding process for the frame does not use values in RefOrderHint before they have been written (written
        either by the decoding process for the current frame, or written when a previous frame was processed)

      • If the syntax element found_ref is equal to 1, ref_frame_idx[ i ] indicates a frame that has been processed (this is
        necessary because the frame dimensions are only correct for processed frames)

A frame with show_existing_frame equal to 1 is processable if the following condition is met:

      • frame_to_show_map_idx indicates a frame that has been processed

(A frame being “processed” means that the frame was processable and has been decoded.)


C.3. Recommendation for processable frames
It is recommended that decoders should support decoding bitstreams if the first temporal unit contains a sequence header
and all frames contained in the bitstream are processable according to the definition above.

As the inter prediction may depend on missing reference frames, there is not a requirement that exactly the same output
samples as the reference code are produced.

In certain cases (e.g. when the first frame only contains intra coded blocks), it is possible that correct output is produced,
but, in general, error concealment techniques may be required.


C.4. Encoder consequences of processable frames
If an application chooses to use a non-key frame starting point, then the encoder needs to be careful that the resulting
bitstream is processable.

There are some features of the bitstream specification that make this easier to achieve:

      • primary_ref_frame, use_ref_frame_mvs, and allow_warped_motion can be controlled at a frame level to satisfy
        the corresponding conditions

      • setting error_resilient_mode equal to 1 causes the order hints to be transmitted if necessary

      • found_ref can be cleared to allow the frame resolution to be sent explicitly


C.5. Decoder consequences of processable frames
For the decoding process to handle this mode of operation, the following modifications should be used:

      • RefValid[ i ] should be set equal to 0 for i = 0..NUM_REF_FRAMES-1 before the decoding process begins




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      • If frame_id_numbers_present_flag is equal to 1, for the first frame current_frame_id should not be compared to
        PrevFrameID (because PrevFrameID is uninitialized).

      • When the syntax element ref_order_hint[ i ] is read, RefOrderHint[ i ] is set equal to ref_order_hint[ i ].

      • The requirement for bitstream conformance described in the semantics for ref_frame_idx[ i ] (that uses RefValid
        to check that the reference frames are available) should be ignored

      • When using the inter prediction process, if RefValid[ refIdx ] is equal to 0, then the motion vector scaling and
        block inter prediction processes are not followed. Instead, preds[ refList ] should be generated using an
        alternative approach. For conformance testing, it may help to define the predicted samples in a standard way.
        The suggested approach is to fill preds[ refList ] with neutral gray samples, i.e. all values equal to 1 << ( BitDepth
        -1).




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Annex D: Large scale tile use case (informative)
One potential use-case for this process is the representation and rendering of a 3-dimensional environment as seen
through an array of cameras that together capture a 360 degree view of the surrounding environment. One such
arrangement of cameras is shown in the figure below where each small rectangle represents a full frame captured by a
camera placed at a given latitude (row in the diagram) or longitude (column in the diagram), but other variants are
possible.




 Example array of 15x20 "camera" frames partitioned into 5x5 sub-arrays, where each sub-array has a central "anchor" frame (in red).
                                            Each small rectangle represents a frame.


In order to create a rendered view in an arbitrary direction in the 3-D scene the decoder will potentially need a small
number of pixels from many of these frames. Providing a process to decode only a sparsely distributed subset of small
regions, each defined as an AV1 tile, can significantly improve efficiency.

The algorithm for constructing the 3-dimensional view from the set of decoded tiles is beyond the scope of this
specification; two possible schemes can be found in [8][9].

To reduce the amount of memory required and to improve decoder efficiency, a certain subset of the frames are denoted
as “Anchor Frames” and it is assumed that the application makes these frames available to the decoder in uncompressed
form. The example presented in the figure above highlights anchor frames in red.




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The other (non-anchor) frames are referred to as “Camera Frames” and each one is encoded using only the nearest
anchor frame as a reference. Camera frames are highlighted in gray in the figure above, and are shown clustered into 5x5
groups to indicate which anchor fame each uses for prediction.

The application is required to render a new 3-dimensional view at a rate of 90 fps. Each rendered frame may require at
most two tile list OBU as defined in section 5.12 to be decoded, resulting in a maximum decode rate of 180 tile list OBU
per second. Each decoded tile list OBU produces one output frame.




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Annex E: Decoder model
E.1. General
The decoder model is used to verify that a bitstream can be decoded within the constraints imposed by one of the coding
levels defined in section A.3. The decoder model is also used to verify conformance for a decoder that claims
conformance to a certain coding level.

A set of decoder model parameters may be optionally specified for zero or more operating points. If the new Sequence
Header OBU does not signal decoder model parameters for a given operating point the previous set of decoder model
parameters does not persist.

The decoder model describes the smoothing buffer, decoding process, operation of the frame buffers and the frame
output process.

The decoder model is applied to an operating point of a bitstream. Different operating points can have different decoder
models that specify conformance to the levels signaled for these operating points.

The decoder model defines two modes of operation. A conformant bitstream shall satisfy constraints imposed by one of
these two modes of the decoder model depending on which mode is applicable.

Section E.2 defines additional concepts used by the decoder model.

Section E.3 defines the operating modes.

Section E.4 specifies how the frame timings can be computed in the different operating modes.

Section E.5 specifies the decoder model process.

Section E.6 specifies the conformance requirements.


E.2. Decoder model definitions
The decoder model uses the following elements to verify bitstream conformance that are not part of the decoding process
specified in section 7.


   Note: The elements defined in this section do not have to be present in a conformant decoder implementation.
   These elements may be considered examples of elements of a conformant decoder, although the actual decoder
   implementation may differ.


BufferPool is a storage area for a set of frame buffers. Buffer pool area allocated for storing separate frames is defined
as BufferPool[ i ], where i takes values from 0 to BUFFER_POOL_MAX_SIZE - 1. When a frame buffer is used for storing
a decoded frame, it is indicated by a VBI slot that points to this frame buffer.

VBI (virtual buffer index) is an array of indices of the frame areas in the BufferPool. VBI elements which do not point to
any slot in the VBI are set to -1. VBI array size is equal to 8, with the indices taking values from 0 to 7.



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cfbi (current frame buffer index) is the variable that contains the index to the area in the BufferPool that contains the
current frame.

DecoderRefCount[ i ] is a variable associated with a frame buffer i. DecoderRefCount[ i ] is initialized to 0, and
incremented by 1 each time the decoder adds the buffer i to a VBI index slot. It is decremented by 1 each time the
decoder removes the buffer from a VBI index slot i. The decoder may update multiple VBI index slots with the same frame
buffer, as specified by refresh_frame_flags, so the counter may be incremented several times. The counter is only
modified in this way when refresh_frame_flags is used to update the VBI index once the frame has been fully decoded.
The decoder also increments the counter as it begins the decode process and decrements it again once complete. When
the counter is 0 the pixel data becomes permanently invalid and shall not be used by the decode process.

PlayerRefCount[ i ] is a variable associated with a frame buffer i. PlayerRefCount[ i ] is initialized to 0, incremented by 1
each time the decoder determines that the frame is a presentation frame. It is reset to 0 after the last time the frame is
presented.

PresentationTimes[ i ] is an array corresponding to the BufferPool [ i ] that holds the last presentation time for the
decoded frame that is kept in the BufferPool [ i ].




  Example of how the coded frame buffer fullness varies as data arrives from the stream, and is subsequently removed for decoding.
                                          Relevant timing points and values are indicated.




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Coded frames arrive at the decoder smoothing buffer of the size BufferSize at a rate defined by BitRate. The following
variables are used in this section and below:

BitRate is set to a value equal to MaxBitrate * BitrateProfileFactor specified for the level signaled for the operating point
that is being decoded.

BufferSize is set to a value equal to MaxBufferSize * BitrateProfileFactor value specified for the level signaled for the
operating point that is being decoded.

Decodable Frame Group i (DFG i) consists of all OBUs, including headers, between the end of the last OBU associated
with the previous frame with show_existing_frame flag equal to 0 (frame k), and the end of the last OBU associated with
the current frame with show_existing_frame flag equal to 0 (frame p). This comprises the OBUs that make up frame p,
plus any additional OBUs present in the bitstream that belong to frame p (such as the metadata OBU), and OBU that
belong to frames with show_existing_frame flag equal to 1 which are located between frame k and frame p. The decoder
model assumes that the decoding time for processing a frame with show_existing_frame flag equal to 1, a header, or a
metadata OBU is 0, hence the smoothing buffer operates in the units of DFG.

CodedBits[ i ] is the amount of data, in bits, that belongs to DFG i. Note that the index i of the DFG only increases with
frames with show_existing_frame flag equal to 0, i.e. frames that need to be decoded by the decoding process.

FirstBitArrival[ i ] is the time when the first bit of the i-th DFG starts entering the decoder smoothing buffer. For the first
coded DFG in the sequence, DFG 0 (or after updating decoder model parameters at RAP), FirstBitArrival[ 0 ] = 0.

LastBitArrival[ i ] is the time when the last bit of DFG i finishes entering the smoothing buffer.

Each shown frame j has a scheduled presentation time, PresentationTime[ j ], defined to be a multiple of the display
clock tick DispCT.

DispCT represents the expected time interval between displaying two consecutive frames, or a common divisor of the
expected times between displaying two consecutive frames if the encoded bitstream has a variable display frame rate.


E.3. Operating modes
E.3.1. Resource availability mode
In this mode the model simulates the operation of the decoder under the assumption that the complete coded frame is
available in the smoothing buffer when decoding of that frame begins. In addition, it is assumed that the decoder will begin
to decode a frame immediately after it finishes decoding the previous frame or when a frame buffer becomes available,
whichever is later. This model uses the generated time moment, when the decoding of a frame begins, as times when the
data is removed from the smoothing buffer to check the conformance of a bitstream to the bitrate specified for a level
signaled for the Operating Point of a bitstream.

To verify that a bitstream can be decoded by a decoder under the constraints of a particular level it is assumed that the
decoder performs the decoding operations at maximum speed (the minimum time interval) specified for that level in
section A.3.

To use Resource Availability mode, the following parameters should be set in the encoded video bitstream:



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      • timing_info_present_flag equal to 1

      • decoder_model_info_present_flag equal to 0

      • equal_picture_interval equal to 1

If the parameters listed above are not specified by the bitstream, the parameters necessary to input into this model can be
signaled by the application or some other means. If the parameters necessary to run this model are not signaled, it is not
possible to check the conformance of the stream to the claimed level.

In this mode of operation, the decoder model parameters below take the following (default) values:

      • encoder_buffer_delay = 20 000

      • decoder_buffer_delay = 70 000

      • low_delay_mode_flag[ op ] = 0

The decoder writes the decoded frame into one of the 10 available frame buffers. Decoding must be delayed until a frame
buffer becomes available.


E.3.2. Decoding schedule mode
This mode imposes additional constraints relating to the operation of the smoothing buffer and the timing points, specified
for each frame, defining exactly when the decoder should start decoding a frame and when that frame should be
presented.

To use Decoding Schedule Mode, the following parameters should be signaled by the encoded video bitstream:

      • timing_info_present_flag equal to 1

      • decoder_model_info_present_flag equal to 1

      • decoder_model_present_for_this_op[ op ] equal to 1

When these flags are signaled, the bitstream should provide the associated information specified in decoder_model_info(
), operating_parameters_info( ) and initial_display_delay_minus_1[ op ].

In addition each frame must specify, for operating point op, the following parameters:

      • buffer_removal_time[ op ]

      • frame_presentation_time

If the parameters listed above are not specified by the bitstream, the parameters necessary to input into this model can be
signaled by the application or some other means. If the parameters necessary to run this model are not signaled, it is not
possible to check the conformance of the stream to the claimed level with this model.




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E.3.3. When timing information is not present in the bitstream
When the timing_info(), and other info necessary as the input to one of the decoder models and associated information is
not present in the bitstream, it is impossible to verify whether the bitstream satisfy the levels constraints according to
either of the decoder models. In order to enable the verification of the decoder conformance, the equivalent information
necessary to verify the bitstream compliance can be provided by some external means.


E.4. Frame timing definitions
E.4.1. Start of DFG bits arrival
The bits arrive in the smoothing buffer at a constant bitrate BitRate or the bitrate equal to 0. Hence, the average bitrate
can be lower than the bitrate BitRate specified in the level definition, which, in this case, represents a peak bitrate. The
first bit of DFG i is expected to arrive by the latest time that would guarantee timely reception of the entire DFG by the
time when the decodable frame in the DFG i is due to be decoded:


   FirstBitArrival[[ i ] = max ( LastBitArrival[[ i - 1 ], LatestArrivalTime[[ i ] ),


where LatestArrivalTime[ i ] is the latest time when the first bit of DFG i must arrive in the smoothing buffer to ensure that
the complete DFG is available at the scheduled removal time, ScheduledRemoval [ i ], in units of seconds, unless the new
set of decoding model parameters is received. In its turn, the latest time the DFG data should start being received is
determined as follows:


   LatestArrivalTime[[ i ] = ScheduledRemoval[[ i ] - ( encoder_buffer_delay                  + decoder_buffer_delay )
   ÷ 90 000



E.4.2. End of DFG bits arrival
For the bits that belong to the DFG i, the time of arrival of the last bit of the DFG i is determined as follows:


   LastBitArrival[[ i ] = FirstBitArrival[[ i ] + CodedBits[[ i ] ÷ BitRate



E.4.3. Scheduled removal times
The decoder starts to decode a frame exactly at the moment when the data corresponding to its DFG is removed from the
smoothing buffer. Each DFG has a scheduled removal time and an actual removal time. Under certain circumstances
these times may be different.

The ScheduledRemoval[ i ] time is determined differently in the resource availability and the decoding schedule mode.

When the decoder model operates in the decoding schedule mode




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   ScheduledRemoval[[ i ] = ScheduledRemovalTiming[[ i ]


When the decoder model operates in the resource availability mode


   ScheduledRemoval[[ i ] = ScheduledRemovalResource[[ i ]


Derivation of ScheduledRemovalTiming[ i ] in the decoding schedule mode is described in section E.4.4, and derivation of
ScheduledRemovalResource[ i ] in the resource availability mode is described in section E.4.5.


E.4.4. Removal times in decoding schedule mode
DFG i is scheduled for removal from the smoothing buffer at time ScheduledRemovalTiming [ i ] which is defined as an
offset, buffer_removal_time[ i ], signaled for the frame of the DFG with show_existing_frame flag equal to 0, relative to the
moment of time when the first DFG is removed from the smoothing buffer, decoder_buffer_delay:


   ScheduledRemovalTiming[[ 0 ] = decoder_buffer_delay ÷ 90 000

   ScheduledRemovalTiming[[ i ] = ScheduledRemovalTiming[[ 0 ] + buffer_removal_time[[ i ] * DecCT


DFG i is removed from the smoothing buffer at time Removal[ i ].

There are two modes of operation of a decoder which determine whether the actual DFG removal time Removal[ i ] may
be different from the scheduled DFG removal timing ScheduledRemovalTiming [ i ]. As was mentioned earlier, the
decoder starts decoding a frame instantaneously when the data that belongs to its DFG is removed from the smoothing
buffer.

In this mode, frame decoding start times / DFG removal times are determined by the buffer_removal_time [ i ] for the
chosen operating point, op.

If low_delay_mode_flag[ op ] is equal to 0 the decoder operates in Strict Arrival Mode, and DFG is removed from the
smoothing buffer at the scheduled time, that is:


   Removal[[ i ] = ScheduledRemovalTiming[[ i ]


Otherwise, low_delay_mode_flag[ op ] is equal to 1 and the decoder operates in Low-Delay Mode, where the DFG data
may not be available in the smoothing buffer at the scheduled removal time, i.e. ScheduledRemovalTiming[ i ] <
LastBitArrival[ i ]. In that case the removal of the DFG is deferred until the first decode clock tick after the complete DFG is
present in the smoothing buffer, that is:


   Removal[[ i ] = ceil ( LastBitArrival[[ i ] ÷ DecCT ) * DecCT




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If the entire DFG is available in the smoothing buffer at the scheduled removal time, i.e. ScheduledRemovalTiming[ i ] >=
LastBitArrival[ i ], then it is removed at the scheduled time, that is:


  Removal[[ i ] = ScheduledRemovalTiming[[ i ]



E.4.5. Removal times in resource availability mode
In the resource availability mode, buffer_removal_time[ i ] are not signaled for the chosen operating point. In this mode,
timing of the decoder model is driven by the availability of the resources in the decoder, in particular, by times when the
decoding of the previous frame with show_existing_frame flag equal to 0 has been completed and a free frame buffer is
available.

In particular, ScheduledRemovalResource [ i ] times are generated as the earliest time that a non-assigned frame buffer
becomes available for decoding of the frame i. In this mode, the decoder starts to decode a frame as fast as it can after
completing decoding of the previous frame and a free frame buffer is available. A frame buffer is defined as being
available if it is no longer being used and its content can be overwritten.

Removal times in the resource availability mode are produced by the decode process in section E.5.2

The following function, time_next_buffer_is_free, is used by the decode process to determine the Removal[ i ] time for the
next DFG and generate the value of ScheduledRemovalResource[ i ].


  time_next_buffer_is_free ( i,, time ) {
      if ( i == 0 ) {
          time = decoder_buffer_delay ÷ 90000
      }
      foundBuffer = 0
      for ( k = 0; k < BUFFER_POOL_MAX_SIZE;; k++
                                               ++ ) {
          if ( DecoderRefCount[[ k ] == 0 ) {
              if ( PlayerRefCount[[ k ] == 0 ) {
                  ScheduledRemovalResource[[ i ] = time
                  return time
              }
              if ( !foundBuffer || PresentationTimes[[ k ] < bufFreeTime ) {
                  bufFreeTime = PresentationTimes[[ k ]
                  foundBuffer = 1
              }
          }
      }
      ScheduledRemovalResource[[ i ] = bufFreeTime
      return bufFreeTime
  }




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E.4.6. Frame decode timing
The time required to decode a frame (i.e. to process the decodable frame’s DFG), TimeToDecode [ i ], is calculated based
on the frame type, a maximum number of luma pixels for the frame, and the throughput of the decoder as specified in the
definition of the level assigned to the operating point that the frame belongs.

The time that it takes the decoder to decode a frame according to the decoder model is estimated by using the function
time_to_decode_frame( ) as follows.


   time_to_decode_frame(( ) {
       if ( show_existing_frame == 1 ) {
           lumaSamples = 0
       } else if ( frame_type == KEY_FRAME ||
                   frame_type == INTRA_ONLY ) {
           lumaSamples = UpscaledWidth * FrameHeight
       } else {
           if ( spatial_layer_dimensions_present_flag )
                lumaSamples = (spatial_layer_max_width[[ spatial_id ]) *
                                       (spatial_layer_max_height[[ spatial_id ])
           else
                lumaSamples = (max_frame_width_minus_1 + 1) *
                                       (max_frame_height_minus_1 + 1)
       }
       return lumaSamples ÷ MaxDecodeRate
   }


If the spatial_layer_dimensions_present_flag syntax element is not present in the coded video sequence, it is taken to be
equal to 0.

The MaxDecodeRate value is defined in section A.3 for the level signaled for the operating point the decoder has chosen
to decode.


E.4.7. Frame presentation timing
Initial presentation delay is determined as follows:


   InitialPresentationDelay = Removal [ initial_display_delay_minus_1 ] + TimeToDecode [
   initial_display_delay_minus_1 ]


When equal_picture_interval is equal to 0, the decoder operates in variable frame rate mode, the frame presentation time
is defined as follows:




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   PresentationTime[[ 0 ] = InitialPresentationDelay

   PresentationTime[[ j ] = InitialPresentationDelay + ( frame_presentation_time[[ j ] -
   frame_presentation_time[[ 0 ] ) * DispCT


When equal_picture_interval is equal to 1, the decoder operates in the constant frame rate mode, and the frame
presentation time is defined as follows:


   PresentationTime[[ 0 ] = InitialPresentationDelay

   PresentationTime[[ j ] = PresentationTime[[ j - 1 ] + ( num_ticks_per_picture_minus_1 + 1 ) * DispCT


where PresentationTime[ j - 1 ] refers to the previous frame in presentation order.

The presentation interval, i.e. the time interval between the display of consecutive frames j and j + 1 in presentation order,
is defined as follows:


   PresentationInterval[[ j ] = PresentationTime[[ j + 1 ] - PresentationTime[[ j ]



E.5. Decoder model
E.5.1. Decoder model functions
This section defines the buffer management functions invoked by the decoder model process.

The free_buffer function clears the variables for a particular index in the BufferPool.


   free_buffer(( idx ) {
       DecoderRefCount[[ idx ] = 0
       PlayerRefCount[[ idx ] = 0
       PresentationTimes[[ idx ] = -1
   }


The initialize_buffer_pool function resets the BufferPool and the VBI.


   initialize_buffer_pool(( ) {
       for ( i = 0; i < BUFFER_POOL_MAX_SIZE;; i++
                                                ++ )
           free_buffer(( i )
       for ( i = 0; i < 8; i++
                             ++ )
           VBI[[ i ] = -1
   }




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The get_free_buffer function searches for an un-assigned frame in the BufferPool. (The decoder needs an un-assigned
frame buffer from the BufferPool for each frame that it decodes.)


  get_free_buffer(( ) {
      for ( i = 0; i < BUFFER_POOL_MAX_SIZE;; i++
                                               ++ ) {
          if ( DecoderRefCount[[ i ] == 0 &&
                PlayerRefCount[[ i ] == 0 )
              return i
      }
      return -1
  }


Once decoded, frames may update one or more of the VBI index slots, as defined by refresh_frame_flags. Each time a
VBI index slot is updated the decoder reference count is incremented by 1 for the corresponding frame buffer. If the VBI
index slot being updated is currently occupied, the decoder reference count for the frame buffer being displaced must be
decremented by 1.

The update_ref_buffers function updates the VBI and reference counts when the reference frames are updated.


  update_ref_buffers ( idx,, refresh_frame_flags ) {
      for ( i = 0; i < 8; i++
                            ++ ) {
          if ( refresh_frame_flags & ( 1 << i ) ) {
              if ( VBI[[ i ] != -1 )
                   DecoderRefCount[[ VBI[[ i ] ] --
              VBI[[ i ] = idx
              DecoderRefCount[[ idx ] ++
          }
      }
  }


In decoding schedule mode the decoder only starts to decode a frame at the time designated by a Removal time
associated with that frame, and expects a free frame buffer to be immediately available.

In resource availability mode the decoder may start to decode the next frame as soon as a free reference buffer is
available. If a free frame buffer is not available immediately, the PresentationTimes[ i ] may be used to compute the time
when such a buffer will become available.

The function start_decode_at_removal_time returns buffers to the BufferPool when they are no longer required for decode
or display.




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   start_decode_at_removal_time(( removal ) {
       for ( i = 0; i < BUFFER_POOL_MAX_SIZE;; i++
                                                 ++ ) {
           if ( PlayerRefCount[[ i ] > 0) {
               if ( PresentationTimes[[ i ] < removal ) {
                     PlayerRefCount[[ i ] = 0
                     if ( DecoderRefCount[[ i ] == 0 )
                         free_buffer(( i )
               }
               break
           }
       }
       return removal
   }


The decoder needs to know the number of decoded frames in the BufferPool in order to determine the presentation delay
for the first frame. A buffer is un-assigned if both DecoderRefCount[ i ] is equal to 0, and PlayerRefCount[ i ] is equal to 0.

The function frames_in_buffer_pool returns the number of assigned frames in the BufferPool.


   frames_in_buffer_pool(( ) {
       framesInPool = 0
       for ( i = 0; i < BUFFER_POOL_MAX_SIZE;; i++
                                                ++ )
           if ( DecoderRefCount[[ i ] != 0 || PlayerRefCount[[ i ] != 0 )
               framesInPool++
                            ++
       return framesInPool
   }


The function get_next_frame switches to decoding the next frame in decoding order for the operating point. Variable
DfgNum increments with each frame that needs decoding and corresponds to the DFG index. Variable ShownFrameNum
increments with each shown frame read from the bitstream.


   get_next_frame(( frameNum )
   {
       if ( read_frame_header(( ) ) {
           frameNum++
                    ++
           if ( !show_existing_frame ) {
                DfgNum++
                       ++
           }
           if ( show_frame || show_existing_frame)) {
                ShownFrameNum++
                             ++
           }
           return frameNum
       } else {
           return -1
       }
   }



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When the function read_frame_header() is invoked, the syntax elements and variables are set to the values at the
conceptual point (in the decoding process specified in section 7) when the next uncompressed header has just been
parsed. If there are no more frame headers in the bitstream, then a value of 0 is returned. Otherwise, a value of 1 is
returned.


E.5.2. Decoder model process
The decoder model process simulates the values of selected timing points as successive frames are decoded. This timing
incorporates the time that the decoder has to wait for a free frame buffer, the time required to decode the frame and
various basic checks to make sure that buffer slots are occupied when they are supposed to be. Non-conformance is
signaled by a call to the function bitstream_non_conformant; the various error codes are tabulated below.




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  decode_process ( ) {
      initialize_buffer_pool(( )
      time = 0
      frameNum = -1
      DfgNum = -1
      ShownFrameNum = -1
      cfbi = -1
      InitialPresentationDelay = 0
      while
      while(( (frameNum = get_next_frame(( frameNum ) ) != - 1) {
          // Decode.
          if ( !show_existing_frame ) {
               if ( UsingResourceAvailabilityMode )
                   Removal [ DfgNum ] = time_next_buffer_is_free(( DfgNum,, time )
               time = start_decode_at_removal_time(( Removal[[ DfgNum ] )
               if ( show_frame == 1 && time > PresentationTime[[ ShownFrameNum ] )
                   bitstream_non_conformant(( DECODE_BUFFER_AVAILABLE_LATE )
               cfbi = get_free_buffer(( )
               if ( cfbi == -1 )
                   bitstream_non_conformant(( DECODE_FRAME_BUF_UNAVAILABLE )
               time += time_to_decode_frame ( )
               update_ref_buffers ( cfbi,, refresh_frame_flags )
               displayIdx = cfbi
               if ( InitialPresentationDelay == 0 &&
                    ( frames_in_buffer_pool(( ) >= initial_display_delay_minus_1[[ operatingPoint ] + 1 ) )
                   InitialPresentationDelay = time
          } else {
               displayIdx = VBI[[ frame_to_show_map_idx ]
               if ( displayIdx == -1 )
                   bitstream_non_conformant(( DECODE_EXISTING_FRAME_BUF_EMPTY )
               if ( RefFrameType[[ frame_to_show_map_idx ] == KEY_FRAME )
                   update_ref_buffers(( displayIdx,, 0xFF )
          }
          // Display.
          if ( InitialPresentationDelay != 0 &&
               ( show_existing_frame == 1 || show_frame == 1 )) {
               // Presentation frame.
               if ( time > PresentationTime[[ ShownFrameNum ] )
                   bitstream_non_conformant(( DISPLAY_FRAME_LATE )
               PresentationTimes[[ displayIdx ]= PresentationTime[[ ShownFrameNum ]
               PlayerRefCount[[ displayIdx ] ++
          }
      }
  }


where UsingResourceAvailabilityMode is a variable that is set to 1 when using resource availability mode, or 0 when using
decoding schedule mode.

The various non-conformant error codes are:




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 Error Type                                        Description

 DECODE_BUFFER_AVAILABLE_LATE                      A free frame buffer only became available to the decoder after the time
                                                   that the frame should have been displayed.

 DECODE_FRAME_BUF_UNAVAILABLE                      All the frame buffers were in use.

 DECODE_EXISTING_FRAME_BUF_EMPTY The index of the frame designated for display by a frame with
                                 show_existing_frame = 1 was empty.

 DISPLAY_FRAME_LATE                                The frame was decoded too late for timely display, i.e. by the
                                                   PresentationTime[ i ] time associated with the frame.



E.6. Bitstream conformance
E.6.1. General
A conformant coded bitstream shall satisfy the following set of constraints.

For the decoder model a DFG shall be available in the smoothing buffer at the scheduled removal time, i.e.
ScheduledRemoval[ i ] >= LastBitArrival[ i ].

It is a requirement of the bitstream conformance that after each RAP, the PresentationTime[ j ], where j corresponds to the
frame decoding order is strictly increasing until the next RAP or the end of the coded video sequence, i.e.
PresentationTime[ j + 1] > PresentationTime[ j ].

When buffer_removal_time[ i ] is not present in the bitstream, a bitstream is conformant if the decoder model in resource
availability mode can decode pictures successfully before they are scheduled for presentation.

If buffer_removal_time[ i ] is signaled, it shall have a value greater or equal than the equivalent value that would have
been assigned if the decoder model was decoding frames in the resource availability mode.

Conformance requirements based on a decoder model are not applicable to a bitstream with seq_level_idx equal to 31.

In addition to these, a conformant bitstream shall satisfy the constraints specified in the following sections.


E.6.2. Decoder buffer delay consistency across RAP (applies to
decoding schedule mode)
For frame i, where i > 0, TimeDelta[ i ] is defined as follows:


   TimeDelta[[ i ] = ( ScheduledRemoval[[ i ] - LastBitArrival[[ i -1 ] ) * 90 000


For the video sequence that includes one or more random access points, for each key frame, where the
decoder_buffer_delay is signaled, the following expression should hold to provide smooth playback without the need to
rebuffer.




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   decoder_buffer_delay <= ceil(( TimeDelta[[ i ] )



E.6.3. Smoothing buffer overflow
Smoothing buffer overflow is defined as the state where the total number of bits in the smoothing buffer exceeds the size
of the smoothing buffer BufferSize. The smoothing buffer shall never overflow.


E.6.4. Smoothing buffer underflow
Smoothing buffer underflow is defined as the state where a complete DFG is not present in the smoothing buffer at the
scheduled removal time, ScheduledRemoval [ i ]:


   ScheduledRemoval[[ i ] < LastBitArrival[[ i ]


When the low_delay_mode_flag[ op ] is equal to 0, the smoothing buffer shall never underflow.


E.6.5. Minimum decode time (applies to decoding schedule mode)
There must be enough time between a DFG being removed from the smoothing buffer, Removal[ i ], and the scheduled
removal of the next DFG, ScheduledRemoval[ i + 1 ]:


   ScheduledRemoval[[ i + 1] - Removal[[ i ] >= Max(( TimeToDecode[[ i ], 1 ÷ MaxNumFrameHeadersPerSec ),


where MaxNumFrameHeadersPerSec is defined in the level constraints.


E.6.6. Minimum presentation Interval
The difference between presentation times for consecutive shown frames, shall satisfy the following constraint:


   MinFrameTime = MaxTotalDecodedSampleRate ÷ ( MaxNumFrameHeadersSec * MaxTotalDisplaySampleRate )

   PresentationInterval[[ j ] >= Max(( LumaPels ÷ MaxTotalDisplaySampleRate,, MinFrameTime )


Where MaxTotalDecodedSampleRate, MaxNumFrameHeadersPerSec, and MaxTotalDisplaySampleRate are defined in
the level constraints.


E.6.7. Decode deadline
It is a requirement of the bitstream conformance that each frame shall be fully decoded at, or before, the time that it is
scheduled for presentation:




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  Removal[[ i ] + TimeToDecode[[ i ] <= PresentationTime[[ i ]



E.6.8. Level imposed constraints
When operating in the decoding schedule mode mode, decoder_buffer_delay shall not be equal to 0 and shall not exceed
90000 * ( BufferSize ÷ BitRate).


   Note: It is common to choose ( ( encoder_buffer_delay + decoder_buffer_delay ) ÷ 90000 ) * BitRate equal to a
   constant within a coded video sequence, and for this constant to be equal to BufferSize, but these are not strict
   requirements for bitstream conformance.



E.6.9. Decode Process constraints
It is a requirement of bitstream conformance that the decoder model process can be invoked with the bitstream data for
any signaled operating point without triggering a call to the bitstream_non_conformant function.




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